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                    Thomas-Jensen
                     Affirmation
                      (redacted)


                       Exhibit # 56
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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND


   STATE OF ILLINOIS,

                   Plaintiffs,

           v.
                                                        C.A. No. 25-cv-39-JJM-PAS
   DONALD TRUMP, in his Official Capacity
   as President of the United States,

                   Defendants.


                                 DECLARATION OF LAURA ROCHE

         I, Laura Roche, hereby depose and state as follows:

         1.       I am a resident of Illinois and over 18 years of age. If called as a witness herein,

  I could and would competently testify to the matters set forth below.

         2.       I am the Chief of Staff at the Illinois Environmental Protection Agency (“IEPA”).

  I have held this position since June 1, 2019. I make this declaration as a representative of the

  State of Illinois, in part based on IEPA’s business records and in part based on my personal

  knowledge and experience. In my official capacity and based on my personal knowledge and

  other sources of information I have obtained and reviewed in that official capacity, I am familiar

  with, and if called upon to do so, would be competent to testify to the facts and circumstances set

  forth herein.

         U.S. EPA Has Awarded IIJA Grants to IEPA

         3.       After Congress passed the Infrastructure Investment and Jobs Act (“IIJA”), IEPA

  applied to the United States Environmental Protection Agency (“U.S. EPA”) for grants to fund a




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  variety of different programs aimed at protecting the environment and improving human health

  for Illinois citizens.

          4.       U.S. EPA then confirmed that IEPA had been approved for these grants. True and

  accurate copies of the grant award documents, including the terms and conditions applicable to

  the grant awards, are attached hereto as Exhibit A.

          5.      U.S. EPA awarded these grants to IEPA for projects including to protect clean

  drinking water; to ensure that Illinois’ rivers, streams, and lakes are suitable for recreational

  activities and aquatic life; to clean up polluted sites for redevelopment; and to improve

  infrastructure for post-consumer recycling.

          U.S. EPA Has Awarded IRA Grants to IEPA

          6.      After Congress passed the Inflation Reduction Act (“IRA”), IEPA applied to U.S.

  EPA for grants under the new law.

          7.      U.S. EPA subsequently confirmed that IEPA had been approved for these grants.

  True and accurate copies of the grant award documents, including the terms and conditions

  applicable to the grant awards, are attached hereto as Exhibit B.

          8.      U.S. EPA awarded these grants to IEPA for projects including to reduce air

  pollution from the transportation sector, expand the clean energy workforce pipeline, retrofit

  homes and commercial buildings to decrease energy usage and lower utility bills, and install

  energy efficient appliances.

          Funding from IRA Grants Remains Frozen

          9.      Currently, IEPA remains unable to draw money from grants under the IRA to fund

  continued operation of its work.




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          10.    On January 28, 2025, my staff accessed the website operated by the United States

  Department of the Treasury called Automated Standard Application for Payments (“ASAP”),

  which IEPA uses to draw down funds from federal awards for the projects described above. On

  January 28, ASAP listed over $1 billion of funds set aside for IEPA. True and accurate copies of

  ASAP records that my staff accessed are attached hereto as Exhibit C.

          11.    On January 29, 2025, my staff again accessed ASAP, which then listed a balance

  of $52 million set aside for IEPA. Many accounts that had appeared in ASAP on January 28

  were entirely deleted and unable to be accessed. True and accurate copies of ASAP records that

  my staff accessed on January 29 are attached hereto as Exhibit D.

          12.    Grants awarded to IEPA by U.S. EPA under the IIJA are currently accessible in

  ASAP and IEPA’s ability to draw down funds from these accounts was restored as of February 5,

  2025.

          13.    All accounts associated with grants to IEPA by U.S. EPA under the IRA remain

  deleted from ASAP and are not visible to my staff. For example, my staff still cannot view any

  information about IRA-approved funding under U.S. EPA’s Climate Pollution Reduction Grants.

  These U.S. EPA-approved grants have been deleted from the ASAP system and remain

  completely inaccessible by my staff, even just to view. True and accurate copies of ASAP

  records that my staff accessed on February 5, 2025 are attached hereto as Exhibit E.

          14.    Without supplemental State financial support, cancellation or delayed payment of

  funds obligated pursuant to the IIJA and IRA will have the consequence of endangering human

  health and the environment in Illinois. Without these additional funds, IEPA could become

  unable to fulfill important federal and state mandates such as ensuring safe drinking water for all

  Illinois citizens, reducing air pollution, and remediating contaminated sites.



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         U.S. EPA Staff Have Instructed IEPA Not to Draw Down Funding Essential to Treat
         a Polluted Groundwater Aquifer

         15.     IEPA oversees a corrective action contractor that conducts groundwater treatment

  in the area of Rockford, Illinois, in an area polluted by volatile organic compounds (“VOCs”).

  The contamination is near several homes and a public park, presenting a significant risk to

  human health and the environment if left untreated. IEPA and U.S. EPA have worked

  collaboratively to address groundwater contamination at this site for over twenty years.

         16.     Since 2020, U.S. EPA has approved funding for IEPA to use to pay for the

  operation of the groundwater treatment system, more recently approving IIJA funding for the

  treatment. True and accurate copies of funding agreements, including the terms and conditions

  applicable to the funding, are attached hereto as Exhibit F. IEPA currently has unpaid costs

  allowable under its funding. No other available funding sources are presently adequate to

  continue this work.

         17.     On January 30, 2025, U.S. EPA Region 5 staff notified IEPA staff by email that

  IEPA should not draw down its funding supporting the groundwater treatment system, because it

  was funded by IIJA. A true and accurate copy of this email is attached hereto as Exhibit G.

         18.     On February 4, 2025, IEPA staff called U.S. EPA Region 5 staff to ask whether

  IIJA funding for groundwater treatment in Rockford would be available in light of this court’s

  Temporary Restraining Order. U.S. EPA Region 5 staff stated that the matter had been conveyed

  to U.S. EPA’s Office of Land and Emergency Management in Washington D.C.




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                        EXHIBIT A
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                                                      EPA Funding Information
            FUNDS                                      FORMER AWARD                              THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                   $0                        $94,270,000                               $94,270,000
EPA In-Kind Amount                                                       $0                                  $0                                        $0
Unexpended Prior Year Balance                                            $0                                  $0                                        $0
Other Federal Funds                                                      $0                                  $0                                        $0
Recipient Contribution                                                   $0                                  $0                                        $0
State Contribution                                                       $0                         $9,427,000                                $9,427,000
Local Contribution                                                       $0                                  $0                                        $0
Other Contribution                                                       $0                                  $0                                        $0
Allowable Project Cost                                                   $0                       $103,697,000                              $103,697,000



Assistance Program (CFDA)                        Statutory Authority                                Regulatory Authority
66.458 - Capitalization Grants for Clean Water   Clean Water Act: Title VI & Infrastructure         2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR 35
State Revolving Funds                            Investment and Jobs Act (IIJA)(PL 117-58)          Subpart K




                                                                        Fiscal
           Site Name                  Req No     FY     Approp.          Budget        PRC       Object   Site/Project      Cost            Obligation /
                                                         Code          Oganization               Class                   Organization       Deobligation
-                                  2305PWX033     23        E2SD              05P1   000B80X70    4111            23CA                  -    $94,270,000
                                                                                                                                             $94,270,000
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                                 Administrative Conditions
NATIONAL ADMINISTRATIVE TERMS AND CONDITIONS
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2022-or-later.

These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at:
https://www.epa.gov/grants/grant-terms-and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent
to the following email addresses:

Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and tukes.michael@epa.gov
MBE/WBE reports (EPA Form 5700-52A): Michael Tukes – DBE Coordinator at
tukes.michael@epa.gov and region5closeouts@epa.gov.
All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of
the Budget and Project Period, Amendment Requests, Requests for other Prior Approvals, updates
to recipient information (including email addresses, changes in contact information or changes in
authorized representatives) and other notifications: Andrew Bielanski at bielanski.andrew@epa.gov
and Michael Tukes at tukes.michael@epa.gov.
Payment requests (if applicable): Andrew Bielanski at bielanski.andrew@epa.gov
Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
deliverables: Andrew Bielanski at bielanski.andrew@epa.gov


B. Pre-award Costs

In accordance with 2 CFR 1500.9, the grantee may charge pre-award costs (both Federal and non-
Federal matching shares) incurred from 7/1/2023 to the actual award date provided that such costs
were contained in the approved application and all costs are incurred within the approved budget
period.



                                 Programmatic Conditions
            FFY 2023 BIL/IIJA CWSRF General Supplemental Programmatic Terms and Conditions

A. Payment Schedule
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The recipient agrees to accept grant funds that will be released by EPA utilizing the ASAP payment method.

B. State Match

The recipient agrees to deposit into its State Revolving Fund (SRF) a match equal to at least 10 percent of the amount
awarded in the capitalization grant.

C. Intended Use Plan and Operating Agreement

The entire contents of the Bipartisan Infrastructure Law (BIL)/Infrastructure Investments and Jobs Act (IIJA) SFY 2023
Intended Use Plan (IUP) and (if applicable) the Operating Agreement (OA) are incorporated hereto by reference and made
a part of this Assistance Agreement.

D. Amended Cash Draw Proportionality

As of November 18, 2022, recipients are no longer required to comply with the cash draw rules in the Clean Water State
Revolving Fund (CWSRF) regulations at 40 CFR 35.3155(d)(5)(i) and (ii) and 40 CFR 35.3160(b)(2)-(4) and Drinking Water
State Revolving Fund (DWSRF) regulations at 40 CFR 35.3560(f) and (g) and 40 CFR 35.3565(b). For further details on
this change, see the linked notification memo from Division Directors Raffael Stein and Anita Maria Thompkins dated
November 30, 2022.

E. Travel

EPA approves the use of Federal funds for travel budgeted in capitalization grants for implementing the Clean Water SRF
(CWSRF) program. The recipient agrees to use CWSRF funds to participate in training and professional development
activities integral to the effective implementation and management of the CWSRF program.

F. SRF Data System and Environmental Benefits Reporting

The recipient agrees to input data, as required by EPA, into the SRF Data System. The recipient of funds for the State
Revolving Funds (SRF) from the BIL, also known as the IIJA, 2021, P.L. 117-58, agrees to comply with all requests for data
related to the use of the funds under Title VI of the Clean Water Act (CWA), and to report all uses of the funds no less than
quarterly, as the Environmental Protection Agency specifies for the SRF Data System. This reporting shall include, but not
be limited to, data with respect to compliance with the Green Project Reserve and additional subsidization requirements as
specified in P.L. 117-328 (the Consolidated Appropriations Act, 2023), and P.L. 117-58, respectively. EPA agrees to
provide technical assistance to the state in its use of the SRF Data System.

G. Annual Reporting

In accordance with 2 CFR 200.328 and 40 CFR 35.3165 the recipient agrees to provide in its Annual Report information
regarding key project characteristics, milestones, and environmental/public health protection results in the following areas:
1) achievement of the outputs and outcomes established in the IUP; 2) the reasons for delays if established outputs or
outcomes were not met; 3) any additional pertinent information on environmental results; 4) compliance with the Green
Project Reserve requirement; and 5) use of additional subsidization.

H. Program Income from Administrative Fees

Program income earned during the grant period may be used for the specific purposes identified in 2 CFR 200.307 and 2
CFR 1500-7. The recipient agrees to comply with EPA's "Guidance on Fees Charged by States to Recipients of Clean
Water State Revolving Fund Program Assistance" issued October 20, 2005, as amended by subsequent guidance.
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Specifically, the State has agreed: 1) to maintain records which account for fees separate from the CWSRF project fund, 2)
to identify in the IUP all types of fees charged on loans, including the fee rate, and the amount of fees available, and 3) to
include in the annual report the types of fees charged on loans, the amount of fees collected, and how those amounts were
used.

I. SIGNAGE

1. Signage Requirements

a. Investing in America Emblem: The recipient will ensure that a sign is placed at construction sites supported in whole or in
part by this award displaying the official Investing in America emblem and must identify the project as a “project funded by
President Biden’s Bipartisan Infrastructure Law” or “project funded by President Biden’s Inflation Reduction Act” as
applicable. The sign must be placed at construction sites in an easily visible location that can be directly linked to the work
taking place and must be maintained in good condition throughout the construction period.

The recipient will ensure compliance with the guidelines and design specifications provided by EPA for using the official
Investing in America emblem available at: https://www.epa.gov/invest/investing-america-signage.

b. Procuring Signs: Consistent with section 6002 of RCRA, 42 U.S.C. 6962, and 2 CFR 200.323, recipients are encouraged
to use recycled or recovered materials when procuring signs. Signage costs are considered an allowable cost under this
assistance agreement provided that the costs associated with signage are reasonable. Additionally, to increase public
awareness of projects serving communities where English is not the predominant language, recipients are encouraged to
translate the language on signs (excluding the official Investing in America emblem or EPA logo or seal) into the
appropriate non-English language(s). The costs of such translation are allowable, provided the costs are reasonable.

2. Public or Media Events

EPA encourages the recipient to notify the EPA Project Officer listed in this award document of public or media events
publicizing the accomplishment of significant events related to construction projects as a result of this agreement and
provide the opportunity for attendance and participation by federal representatives with at least ten (10) working days’
notice.

J. Green Project Reserve

The recipient agrees to make a timely and concerted good faith solicitation for projects that address green infrastructure,
water or energy efficiency improvements, or other environmentally innovative activities. A good faith solicitation must be
open to all GPR eligible projects in each of the four GPR categories. The State’s annual open solicitation for projects will be
deemed sufficient for these purposes as long as that solicitation was open to all GPR eligible projects in each of the four
GPR categories. The recipient agrees to include in its IUP such qualified projects, or components of projects, that total an
amount equal to at least 10 percent of its capitalization grant. The state must document the GPR solicitation process in its
IUP and Annual Report and explain, if applicable, why GPR projects totaling at least 10 percent of the capitalization grant
were not able to be funded. Any State not meeting the 10 percent requirement must outline in the Annual Report how they
will expand their GPR solicitation for the following year.

K. Additional Subsidization

The recipient agrees to use 49 percent of the funds made available in the capitalization grant to provide additional subsidy
to eligible recipients or project types as described in section 603(i) of the CWA in the form of forgiveness of principal or
grants (or any combination of these), which shall be used only where such funds are provided as initial financing for an
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eligible recipient or to buy, refinance, or restructure the debt obligations of eligible recipients only where such debt was
incurred after November 15, 2021.

L. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC) endorsed standards.
Information on these standards may be found at www.fgdc.gov.

M. American Iron and Steel (AIS)

(a) Definitions. As used in this award term and condition—

         (1) “iron and steel products” mean the following products made primarily of iron or steel: lined or unlined pipes and
         fittings, manhole covers and other municipal castings, hydrants, tanks, flanges, pipe clamps and restraints, valves,
         structural steel, reinforced precast concrete, and construction materials.

         (2) “steel” means an alloy that includes at least 50 percent iron, between .02 and 2 percent carbon, and may
         include other elements.

(b) Domestic preference.

       (1) This award term and condition implements Title VI of the CWA by requiring that all iron and steel products used
       for a project for the construction, alteration, maintenance or repair of a public water system or treatment work are
       produced in the United States except as provided in paragraph (b)(2) of this section and condition.

       (2) This requirement shall not apply in any case or category of cases in which the Administrator of the
       Environmental Protection Agency finds that—

               (i) applying the requirement would be inconsistent with the public interest;

               (ii) iron and steel products are not produced in the United States in sufficient and reasonably available
               quantities and of a satisfactory quality; or

               (iii) inclusion of iron and steel products produced in the United States will increase the cost of the overall
               project by more than 25 percent.

       (3) The Build America, Buy America (BABA) Act requirement does not supersede the AIS requirement, and both
       provisions still apply and work in conjunction.

(c) Request for a Waiver under (b)(2) of this section

       (1) Any recipient request to use foreign iron or steel products in accordance with paragraph (b)(2) of this section
       shall include adequate information for Federal Government evaluation of the request, including—

               (A) A description of the foreign and domestic iron, steel, and/or manufactured goods;

               (B) Unit of measure;

               (C) Quantity;

               (D) Cost;
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               (E) Time of delivery or availability;

               (F) Location of the project;

               (G) Name and address of the proposed supplier; and

               (H) A detailed justification of the reason for use of foreign iron or steel products cited in accordance with
               paragraph (b)(2) of this section.

       (2) If the Administrator receives a request for a waiver under this section, the waiver request shall be made
       available to the public for at least 15 days prior to making a finding based on the request.

       (3) Unless the Administrator issues a waiver of this term, use of foreign iron and steel products is noncompliant with
       Title VI of the CWA.

(d) This term and condition shall be applied in a manner consistent with United States obligations under international
agreements.

N. State Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance agreement, it will
protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient’s network or information system and EPA networks
used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an Agency IT system and
an external IT system for the purpose of transferring information. Transitory, user-controlled connections such as website
browsing are excluded from this definition.

If the recipient’s connections as defined above do not go through the Environmental Information Exchange Network or
EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project Officer (PO) and work with the designated
Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security requirements,
including entering into Interconnection Service Agreements as appropriate. This condition does not apply to manual entry of
data by the recipient into systems operated and used by EPA’s regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any sub-awards it makes under this agreement will require the subrecipient to comply with the
requirements in (b)(1) if the sub-recipient’s network or information system is connected to EPA networks to transfer data to
the Agency using systems other than the Environmental Information Exchange Network or EPA’s Central Data Exchange.
The recipient will be in compliance with this condition: by including this requirement in sub-award agreements; and during
subrecipient monitoring deemed necessary by the recipient under 2 CFR 200.331(d), by inquiring whether the subrecipient
has contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA Project Officer on
behalf of a subrecipient or to be involved in the negotiation of an Interconnection Service Agreement between the
subrecipient and EPA.

O. Internal Controls for Financial Transactions

The recipient agrees to use procedures consistent with “zero-trust” (never trust, always verify) for all financial transactions
with SRF funds. These procedures must include verbal verification with a trusted recipient representative of all financial
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account information both initially and prior to any changes in financial account information.

P. Wage Rate Requirements

The recipient agrees to include in all agreements to provide assistance for the construction of treatment works carried out in
whole or in part with such assistance made available by a State water pollution control revolving fund as authorized by Title
VI of the Federal Water Pollution Control Act, also known as the CWA, (33 U.S.C. 1381 et seq.), or with such assistance
made available under section 205(m) of that Act (33 U.S.C. 1285(m)), or both, a term and condition requiring compliance
with the requirements of section 513 of that Act (33 U.S.C. 1372) in all procurement contracts and sub-grants, and require
that loan recipients, procurement contractors and sub-grantees include such a term and condition in subcontracts and other
lower tiered transactions. All contracts and subcontracts for the construction of treatment works carried out in whole or in
part with assistance made available as stated herein shall insert in full in any contract in excess of $2,000 the contract
clauses as attached hereto entitled “Wage Rate Requirements Under The Clean Water Act, Section 513.” This term and
condition applies to all agreements to provide assistance under the authorities referenced herein, whether in the form of a
loan, bond purchase, grant, or any other vehicle to provide financing for a project, where such agreements are executed on
or after October 30, 2009.

Preamble

With respect to the CWSRF program, EPA provides capitalization grants to each State which in turn provides sub grants or
loans to eligible entities within the State. Typically, the sub recipients are municipal or other local governmental entities that
manage the funds. For these types of recipients, the provisions set forth under Roman numeral I, below, shall apply.
Although EPA and the State remain responsible for ensuring sub recipients’ compliance with the wage rate requirements
set forth herein, those sub recipients shall have the primary responsibility to maintain payroll records as described in
Section I-3(ii)(A), below and for compliance as described in Section I-5.

Occasionally, the sub recipient may be a private for profit or not for profit entity. For these types of recipients, the
provisions set forth in Roman Numeral II, below, shall apply. Although EPA and the State remain responsible for ensuring
sub recipients’ compliance with the wage rate requirements set forth herein, those sub recipients shall have the primary
responsibility to maintain payroll records as described in Section II-3(ii)(A), below and for compliance as described in
Section II-5.
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                                                        ATTACHMENT 1

I. Requirements Under Title VI of the Clean Water Act (CWA) For Sub recipients That Are Governmental Entities:

The following terms and conditions specify how recipients will assist EPA in meeting its Davis-Bacon (DB) responsibilities
when DB applies to EPA awards of financial assistance under Title VI of the CWA - with respect to State recipients and sub
recipients that are governmental entities. If a sub recipient has questions regarding when DB applies, obtaining the correct
DB wage determinations, DB provisions, or compliance monitoring, it may contact the State recipient. If a state recipient
needs guidance, the recipient may contact EPA’s Office of Grants and Debarment for guidance at
EPA_Grants_Info@epa.gov. The recipient or sub recipient may also obtain additional guidance from the U.S. Department
of Labor’s (DOL) website at http://www.dol.gov/whd/.

1. Applicability of the DB prevailing wage requirements.

Under Title VI of the CWA, DB prevailing wage requirements apply to the construction, alteration, and repair of treatment
works carried out in whole or in part with assistance made available by a State water pollution control revolving fund. If a
sub recipient encounters a unique situation at a site that presents uncertainties regarding DB applicability, the sub recipient
must discuss the situation with the recipient State before authorizing work on that site.

2. Obtaining Wage Determinations.

(a) Sub recipients shall obtain the wage determination for the locality in which a covered activity subject to DB will take
place prior to issuing requests for bids, proposals, quotes or other methods for soliciting contracts (solicitation) for activities
subject to DB. These wage determinations shall be incorporated into solicitations and any subsequent contracts. Prime
contracts must contain a provision requiring that subcontractors follow the wage determination incorporated into the prime
contract.

    (i) While the solicitation remains open, the sub recipient shall monitor https://sam.gov/ weekly to ensure that the wage
    determination contained in the solicitation remains current. The sub recipients shall amend the solicitation if DOL
    issues a modification more than 10 days prior to the closing date (i.e. bid opening) for the solicitation. If DOL modifies
    or supersedes the applicable wage determination less than 10 days prior to the closing date, the sub recipients may
    request a finding from the State recipient that there is not a reasonable time to notify interested contractors of the
    modification of the wage determination. The State recipient will provide a report of its findings to the sub recipient.

    (ii) If the sub recipient does not award the contract within 90 days of the closure of the solicitation, any modifications or
    supersedes DOL makes to the wage determination contained in the solicitation shall be effective unless the State
    recipient, at the request of the sub recipient, obtains an extension of the 90-day period from DOL pursuant to 29 CFR
    1.6(c)(3)(iv). The sub recipient shall monitor https://sam.gov/ on a weekly basis if it does not award the contract within
    90 days of closure of the solicitation to ensure that wage determinations contained in the solicitation remain current.

(b) If the sub recipient carries out activity subject to DB by issuing a task order, work assignment or similar instrument to an
existing contractor (ordering instrument) rather than by publishing a solicitation, the sub recipient shall insert the appropriate
DOL wage determination from https://sam.gov/ into the ordering instrument.

(c) Sub recipients shall review all subcontracts subject to DB entered into by prime contractors to verify that the prime
contractor has required its subcontractors to include the applicable wage determinations.
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(d) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to a sub recipient’s contract after
the award of a contract or the issuance of an ordering instrument if DOL determines that the sub recipient has failed to
incorporate a wage determination or has used a wage determination that clearly does not apply to the contract or ordering
instrument. If this occurs, the sub recipient shall either terminate the contract or ordering instrument and issue a revised
solicitation or ordering instrument or incorporate DOL’s wage determination retroactive to the beginning of the contract or
ordering instrument by change order. The sub recipient’s contractor must be compensated for any increases in wages
resulting from the use of DOL’s revised wage determination.

3. Contract and Subcontract provisions.

(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in excess of $2,000 which is entered
into for the actual construction, alteration and/or repair, including painting and decorating, of a treatment work under the
CWSRF - financed in whole or in part from Federal funds or in accordance with guarantees of a Federal agency or financed
from funds obtained by pledge of any contract of a Federal agency to make a loan, grant or annual contribution (except
where a different meaning is expressly indicated), and which is subject to the labor standards provisions of any of the acts
listed in § 5.1 or Title VI of the CWA, the following clauses:

(1) Minimum wages.

(i) All laborers and mechanics employed or working upon the site of the work will be paid unconditionally and not less often
than once a week, and without subsequent deduction or rebate on any account (except such payroll deductions as are
permitted by regulations issued by the Secretary of Labor under the Copeland Act (29 CFR part 3)), the full amount of
wages and bona fide fringe benefits (or cash equivalents thereof) due at time of payment computed at rates not less than
those contained in the wage determination of the Secretary of Labor which is attached hereto and made a part hereof,
regardless of any contractual relationship which may be alleged to exist between the contractor and such laborers and
mechanics.

Contributions made or costs reasonably anticipated for bona fide fringe benefits under section 1(b)(2) of the DB Act on
behalf of laborers or mechanics are considered wages paid to such laborers or mechanics, subject to the provisions of
paragraph (a)(1)(iv) of this section; also, regular contributions made or costs incurred for more than a weekly period (but not
less often than quarterly) under plans, funds, or programs which cover the particular weekly period, are deemed to be
constructively made or incurred during such weekly period. Such laborers and mechanics shall be paid the appropriate
wage rate and fringe benefits on the wage determination for the classification of work actually performed, without regard to
skill, except as provided in § 5.5(a)(4). Laborers or mechanics performing work in more than one classification may be
compensated at the rate specified for each classification for the time actually worked therein: Provided that the employer's
payroll records accurately set forth the time spent in each classification in which work is performed. The wage
determination (including any additional classification and wage rates conformed under paragraph (a)(1)(ii) of this section)
and the DB poster (WH-1321) shall be posted at all times by the contractor and its subcontractors at the site of the work in
a prominent and accessible place where it can be easily seen by the workers.

Sub recipients may obtain wage determinations from DOL’s website, https://sam.gov/.

(ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or mechanics, including helpers, which
is not listed in the wage determination and which is to be employed under the contract shall be classified in conformance
with the wage determination. The State award official shall approve a request for an additional classification and wage rate
and fringe benefits therefore only when the following criteria have been met:
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        (1) The work to be performed by the classification requested is not performed by a classification in the wage
        determination; and

        (2) The classification is utilized in the area by the construction industry; and

        (3) The proposed wage rate, including any bona fide fringe benefits, bears a reasonable relationship to the wage
        rates contained in the wage determination.

(B) If the contractor and the laborers and mechanics to be employed in the classification (if known), or their representatives,
and the sub recipient(s) agree on the classification and wage rate (including the amount designated for fringe benefits
where appropriate), documentation of the action taken and the request, including the local wage determination shall be sent
by the sub recipient (s) to the State award official. The State award official will transmit a completed conformance request
form (SF-1444 or similar) and supporting materials to WHD-CBACONFORMANCE_INCOMING@dol.gov and to the EPA
DB Regional Coordinator concurrently. The DOL Administrator, or an authorized representative, will approve, modify, or
disapprove every additional classification request within 30 days of receipt and so advise the State award official or will
notify the State award official within the 30-day period that additional time is necessary.

(C) In the event the contractor, the laborers or mechanics to be employed in the classification or their representatives, and
the sub recipient(s) do not agree on the proposed classification and wage rate (including the amount designated for fringe
benefits, where appropriate), documentation of the action taken and the request, including the local wage determination
shall be sent by the sub recipient (s) to the State award official. The State award official will transmit a completed
conformance request form (SF-1444 or similar) which indicates the State award official’s disagreement and supporting
materials to WHD-CBACONFORMANCE_INCOMING@dol.gov, and to the EPA DB Regional Coordinator concurrently.
The DOL Administrator, or an authorized representative, will issue a determination within 30 days of receipt of the request
and so advise the contracting officer or will notify the contracting officer within the 30-day period that additional time is
necessary.

(D) The wage rate (including fringe benefits where appropriate) determined pursuant to paragraphs (a)(1)(ii)(B) or (C) of
this section, shall be paid to all workers performing work in the classification under this contract from the first day on which
work is performed in the classification.

(iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers or mechanics includes a fringe
benefit which is not expressed as an hourly rate, the contractor shall either pay the benefit as stated in the wage
determination or shall pay another bona fide fringe benefit or an hourly cash equivalent thereof.

(iv) If the contractor does not make payments to a trustee or other third person, the contractor may consider as part of the
wages of any laborer or mechanic the amount of any costs reasonably anticipated in providing bona fide fringe benefits
under a plan or program, Provided, That the Secretary of Labor has found, upon the written request of the contractor, that
the applicable standards of the DB Act have been met. The Secretary of Labor may require the contractor to set aside
assets in a separate account for the meeting of obligations under the plan or program.

(2) Withholding. The sub recipient(s), shall upon written request of the EPA Award Official or an authorized representative
of the DOL, withhold or cause to be withheld from the contractor under this contract or any other Federal contract with the
same prime contractor, or any other federally-assisted contract subject to DB prevailing wage requirements, which is held
by the same prime contractor, so much of the accrued payments or advances as may be considered necessary to pay
laborers and mechanics, including apprentices, trainees, and helpers, employed by the contractor or any subcontractor the
full amount of wages required by the contract. In the event of failure to pay any laborer or mechanic, including any
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apprentice, trainee, or helper, employed or working on the site of the work, all or part of the wages required by the contract,
the EPA may, after written notice to the contractor, sponsor, applicant, or owner, take such action as may be necessary to
cause the suspension of any further payment, advance, or guarantee of funds until such violations have ceased.

(3) Payrolls and basic records.

(i) Payrolls and basic records relating thereto shall be maintained by the contractor during the course of the work and
preserved for a period of three years thereafter for all laborers and mechanics working at the site of the work. Such records
shall contain the name, address, and social security number of each such worker, his or her correct classification, hourly
rates of wages paid (including rates of contributions or costs anticipated for bona fide fringe benefits or cash equivalents
thereof of the types described in section 1(b)(2)(B) of the DB Act), daily and weekly number of hours worked, deductions
made and actual wages paid. Whenever the Secretary of Labor has found under 29 CFR 5.5(a)(1)(iv) that the wages of any
laborer or mechanic include the amount of any costs reasonably anticipated in providing benefits under a plan or program
described in section 1(b)(2)(B) of the DB Act, the contractor shall maintain records which show that the commitment to
provide such benefits is enforceable, that the plan or program is financially responsible, and that the plan or program has
been communicated in writing to the laborers or mechanics affected, and records which show the costs anticipated or the
actual cost incurred in providing such benefits. Contractors employing apprentices or trainees under approved programs
shall maintain written evidence of the registration of apprenticeship programs and certification of trainee programs, the
registration of the apprentices and trainees, and the ratios and wage rates prescribed in the applicable programs.

(ii)(A) The contractor shall submit weekly, for each week in which any contract work is performed, a copy of all payrolls to
the sub recipient, that is, the entity that receives the sub-grant or loan from the State capitalization grant recipient. Such
documentation shall be available on request of the State recipient or EPA. As to each payroll copy received, the sub
recipient shall provide written confirmation in a form satisfactory to the State indicating whether or not the project is in
compliance with the requirements of 29 CFR 5.5(a)(1) based on the most recent payroll copies for the specified week. The
payrolls shall set out accurately and completely all of the information required to be maintained under 29 CFR 5.5(a)(3)(i),
except that full social security numbers and home addresses shall not be included on the weekly payrolls. Instead, the
payrolls shall only need to include an individually identifying number for each employee (e.g., the last four digits of the
employee's social security number). The required weekly payroll information may be submitted in any form desired.
Optional Form WH-347 is available for this purpose from the Wage and Hour Division website at
http://www.dol.gov/whd/forms/wh347instr.htm or its successor site.

The prime contractor is responsible for the submission of copies of payrolls by all subcontractors. Contractors and
subcontractors shall maintain the full social security number and current address of each covered worker and shall provide
them upon request to the sub recipient(s) for transmission to the State or EPA if requested by EPA, the State, the
contractor, or the Wage and Hour Division of the DOL for purposes of an investigation or audit of compliance with prevailing
wage requirements. It is not a violation of this section for a prime contractor to require a subcontractor to provide addresses
and social security numbers to the prime contractor for its own records, without weekly submission to the sub recipient(s).

(B) Each payroll submitted shall be accompanied by a “Statement of Compliance,” signed by the contractor or
subcontractor or his or her agent who pays or supervises the payment of the persons employed under the contract and
shall certify the following:

        (1) That the payroll for the payroll period contains the information required to be provided under § 5.5 (a)(3)(ii) of
        Regulations, 29 CFR part 5, the appropriate information is being maintained under § 5.5 (a)(3)(i) of Regulations, 29
        CFR part 5, and that such information is correct and complete;
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        (2) That each laborer or mechanic (including each helper, apprentice, and trainee) employed on the contract during
        the payroll period has been paid the full weekly wages earned, without rebate, either directly or indirectly, and that
        no deductions have been made either directly or indirectly from the full wages earned, other than permissible
        deductions as set forth in Regulations, 29 CFR part 3;

        (3) That each laborer or mechanic has been paid not less than the applicable wage rates and fringe benefits or cash
        equivalents for the classification of work performed, as specified in the applicable wage determination incorporated
        into the contract.

(C) The weekly submission of a properly executed certification set forth on the reverse side of Optional Form WH-347 shall
satisfy the requirement for submission of the “Statement of Compliance” required by paragraph (a)(3)(ii)(B) of this section.

(D) The falsification of any of the above certifications may subject the contractor or subcontractor to civil or criminal
prosecution under section 1001 of title 18 and section 231 of title 31 of the United States Code.

(iii) The contractor or subcontractor shall make the records required under paragraph (a)(3)(i) of this section available for
inspection, copying, or transcription by authorized representatives of the State, EPA or the DOL, and shall permit such
representatives to interview employees during working hours on the job. If the contractor or subcontractor fails to submit the
required records or to make them available, the EPA or State may, after written notice to the contractor, sponsor, applicant,
or owner, take such action as may be necessary to cause the suspension of any further payment, advance, or guarantee of
funds. Furthermore, failure to submit the required records upon request or to make such records available may be grounds
for debarment action pursuant to 29 CFR 5.12.

(4) Apprentices and trainees

(i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate for the work they performed when
they are employed pursuant to and individually registered in a bona fide apprenticeship program registered with the DOL,
Employment and Training Administration, Office of Apprenticeship Training, Employer and Labor Services, or with a State
Apprenticeship Agency recognized by the Office, or if a person is employed in his or her first 90 days of probationary
employment as an apprentice in such an apprenticeship program, who is not individually registered in the program, but who
has been certified by the Office of Apprenticeship Training, Employer and Labor Services or a State Apprenticeship Agency
(where appropriate) to be eligible for probationary employment as an apprentice. The allowable ratio of apprentices to
journeymen on the job site in any craft classification shall not be greater than the ratio permitted to the contractor as to the
entire work force under the registered program. Any worker listed on a payroll at an apprentice wage rate, who is not
registered or otherwise employed as stated above, shall be paid not less than the applicable wage rate on the wage
determination for the classification of work actually performed. In addition, any apprentice performing work on the job site in
excess of the ratio permitted under the registered program shall be paid not less than the applicable wage rate on the wage
determination for the work actually performed. Where a contractor is performing construction on a project in a locality other
than that in which its program is registered, the ratios and wage rates (expressed in percentages of the journeyman's hourly
rate) specified in the contractor's or subcontractor's registered program shall be observed. Every apprentice must be paid at
not less than the rate specified in the registered program for the apprentice's level of progress, expressed as a percentage
of the journeymen hourly rate specified in the applicable wage determination. Apprentices shall be paid fringe benefits in
accordance with the provisions of the apprenticeship program. If the apprenticeship program does not specify fringe
benefits, apprentices must be paid the full amount of fringe benefits listed on the wage determination for the applicable
classification. If the Administrator determines that a different practice prevails for the applicable apprentice classification,
fringes shall be paid in accordance with that determination. In the event the Office of Apprenticeship Training, Employer
and Labor Services, or a State Apprenticeship Agency recognized by the Office, withdraws approval of an apprenticeship
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program, the contractor will no longer be permitted to utilize apprentices at less than the applicable predetermined rate for
the work performed until an acceptable program is approved.

(ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at less than the predetermined rate
for the work performed unless they are employed pursuant to and individually registered in a program which has received
prior approval, evidenced by formal certification by the DOL, Employment and Training Administration. The ratio of trainees
to journeymen on the job site shall not be greater than permitted under the plan approved by the Employment and Training
Administration. Every trainee must be paid at not less than the rate specified in the approved program for the trainee's level
of progress, expressed as a percentage of the journeyman hourly rate specified in the applicable wage determination.
Trainees shall be paid fringe benefits in accordance with the provisions of the trainee program. If the trainee program does
not mention fringe benefits, trainees shall be paid the full amount of fringe benefits listed on the wage determination unless
the Administrator of the Wage and Hour Division determines that there is an apprenticeship program associated with the
corresponding journeyman wage rate on the wage determination which provides for less than full fringe benefits for
apprentices. Any employee listed on the payroll at a trainee rate who is not registered and participating in a training plan
approved by the Employment and Training Administration shall be paid not less than the applicable wage rate on the wage
determination for the classification of work actually performed. In addition, any trainee performing work on the job site in
excess of the ratio permitted under the registered program shall be paid not less than the applicable wage rate on the wage
determination for the work actually performed. In the event the Employment and Training Administration withdraws approval
of a training program, the contractor will no longer be permitted to utilize trainees at less than the applicable predetermined
rate for the work performed until an acceptable program is approved.

(iii) Equal employment opportunity. The utilization of apprentices, trainees and journeymen under this part shall be in
conformity with the equal employment opportunity requirements of Executive Order 11246, as amended and 29 CFR part
30.

(5) Compliance with Copeland Act requirements. The contractor shall comply with the requirements of 29 CFR part 3, which
are incorporated by reference in this contract.

(6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses contained in 29 CFR 5.5(a)(1)
through (10) and such other clauses as the EPA determines may by appropriate, and also a clause requiring the
subcontractors to include these clauses in any lower tier subcontracts. The prime contractor shall be responsible for the
compliance by any subcontractor or lower tier subcontractor with all the contract clauses in 29 CFR 5.5.

(7) Contract termination; debarment. A breach of the contract clauses in 29 CFR 5.5 may be grounds for termination of the
contract, and for debarment as a contractor and a subcontractor as provided in 29 CFR 5.12.

(8) Compliance with DB and Related Act requirements. All rulings and interpretations of the DB and Related Acts contained
in 29 CFR parts 1, 3, and 5 are herein incorporated by reference in this contract.

(9) Disputes concerning labor standards. Disputes arising out of the labor standards provisions of this contract shall not be
subject to the general disputes clause of this contract. Such disputes shall be resolved in accordance with the procedures
of the DOL set forth in 29 CFR parts 5, 6, and 7. Disputes within the meaning of this clause include disputes between the
contractor (or any of its subcontractors) and sub recipient(s), State, EPA, DOL, or the employees or their representatives.

(10) Certification of eligibility.

(i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor any person or firm who has an
interest in the contractor's firm is a person or firm ineligible to be awarded Government contracts by virtue of section 3(a) of
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the DB Act or 29 CFR 5.12(a)(1).

(ii) No part of this contract shall be subcontracted to any person or firm ineligible for award of a Government contract by
virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).

(iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18 U.S.C. 1001.

4. Contract Provision for Contracts in Excess of $100,000.

(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the following clauses set forth in
paragraphs (a)(1), (2), (3), and (4) of this section in full in any contract in an amount in excess of $100,000 and subject to
the overtime provisions of the Contract Work Hours and Safety Standards Act. These clauses shall be inserted in addition
to the clauses required by Item 3, above or 29 CFR 4.6. As used in this paragraph, the terms laborers and mechanics
include watchmen and guards.

(1) Overtime requirements. No contractor or subcontractor contracting for any part of the contract work which may require
or involve the employment of laborers or mechanics shall require or permit any such laborer or mechanic in any workweek
in which he or she is employed on such work to work in excess of forty hours in such workweek unless such laborer or
mechanic receives compensation at a rate not less than one and one-half times the basic rate of pay for all hours worked in
excess of forty hours in such workweek.

(2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of the clause set forth in paragraph
(a)(1) of this section the contractor and any subcontractor responsible therefore shall be liable for the unpaid wages. In
addition, such contractor and subcontractor shall be liable to the United States (in the case of work done under contract for
the District of Columbia or a territory, to such District or to such territory), for liquidated damages. Such liquidated damages
shall be computed with respect to each individual laborer or mechanic, including watchmen and guards, employed in
violation of the clause set forth in paragraph (a)(1) of this section, in the sum of $29 for each calendar day on which such
individual was required or permitted to work in excess of the standard workweek of forty hours without payment of the
overtime wages required by the clause set forth in paragraph (a)(1) of this section.

(3) Withholding for unpaid wages and liquidated damages. The sub recipient, upon written request of the EPA Award
Official or an authorized representative of the DOL, shall withhold or cause to be withheld, from any moneys payable on
account of work performed by the contractor or subcontractor under any such contract or any other Federal contract with
the same prime contractor, or any other federally-assisted contract subject to the Contract Work Hours and Safety
Standards Act, which is held by the same prime contractor, such sums as may be determined to be necessary to satisfy
any liabilities of such contractor or subcontractor for unpaid wages and liquidated damages as provided in the clause set
forth in paragraph (a)(2) of this section.

(4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses set forth in paragraph (a)(1)
through (4) of this section and also a clause requiring the subcontractors to include these clauses in any lower tier
subcontracts. The prime contractor shall be responsible for compliance by any subcontractor or lower tier subcontractor
with the clauses set forth in paragraphs (a)(1) through (4) of this section.
(b) In addition to the clauses contained in Item 3, above, in any contract subject only to the Contract Work Hours and Safety
Standards Act and not to any of the other statutes cited in 29 CFR 5.1, the Sub recipient shall insert a clause requiring that
the contractor or subcontractor shall maintain payrolls and basic payroll records during the course of the work and shall
preserve them for a period of three years from the completion of the contract for all laborers and mechanics, including
guards and watchmen, working on the contract. Such records shall contain the name and address of each such employee,
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social security number, correct classifications, hourly rates of wages paid, daily and weekly number of hours worked,
deductions made, and actual wages paid. Further, the Sub recipient shall insert in any such contract a clause providing that
the records to be maintained under this paragraph shall be made available by the contractor or subcontractor for inspection,
copying, or transcription by authorized representatives of the EPA and the DOL, and the contractor or subcontractor will
permit such representatives to interview employees during working hours on the job.

5. Compliance Verification

(a) The sub recipient shall periodically interview a sufficient number of employees entitled to DB prevailing wages (covered
employees) to verify that contractors or subcontractors are paying the appropriate wage rates. As provided in 29 CFR
5.6(a)(3), all interviews must be conducted in confidence. The sub recipient must use Standard Form 1445 (SF 1445) or
equivalent documentation to memorialize the interviews. Copies of the SF 1445 are available from EPA on request.

(b) The sub recipient shall establish and follow an interview schedule based on its assessment of the risks of
noncompliance with DB posed by contractors or subcontractors and the duration of the contract or subcontract. Sub
recipients must conduct more frequent interviews if the initial interviews or other information indicated that there is a risk
that the contractor or subcontractor is not complying with DB.

Sub recipients shall immediately conduct interviews in response to an alleged violation of the prevailing wage requirements.
All interviews shall be conducted in confidence.

(c) The sub recipient shall periodically conduct spot checks of a representative sample of weekly payroll data to verify that
contractors or subcontractors are paying the appropriate wage rates. The sub recipient shall establish and follow a spot
check schedule based on its assessment of the risks of noncompliance with DB posed by contractors or subcontractors and
the duration of the contract or subcontract. At a minimum, if practicable, the sub recipient should spot check payroll data
within two weeks of each contractor or subcontractor’s submission of its initial payroll data and two weeks prior to the
completion date the contract or subcontract. Sub recipients must conduct more frequent spot checks if the initial spot check
or other information indicates that there is a risk that the contractor or subcontractor is not complying with DB. In addition,
during the examinations the sub recipient shall verify evidence of fringe benefit plans and payments there under by
contractors and subcontractors who claim credit for fringe benefit contributions.

(d) The sub recipient shall periodically review contractor’s and subcontractor’s use of apprentices and trainees to verify
registration and certification with respect to apprenticeship and training programs approved by either the U.S DOL or a
state, as appropriate, and that contractors and subcontractors are not using disproportionate numbers of, laborers, trainees
and apprentices. These reviews shall be conducted in accordance with the schedules for spot checks and interviews
described in Item 5(b) and (c) above.

(e) Sub recipients must immediately report potential violations of the DB prevailing wage requirements to the EPA DB
contact listed above and to the appropriate DOL Wage and Hour District Office listed at
https://www.dol.gov/agencies/whd/contact/local-offices.

II. Requirements Under Title VI of the CWA - For Sub recipients That Are Not Governmental Entities:

The following terms and conditions specify how recipients will assist EPA in meeting its DB responsibilities when DB
applies to EPA awards of financial assistance under Title VI of the CWA with respect to sub recipients that are not
governmental entities. If a sub recipient has questions regarding when DB applies, obtaining the correct DB wage
determinations, DB provisions, or compliance monitoring, it may contact the State recipient for guidance. If a state recipient
needs guidance, the recipient may contact EPA’s Office of Grants and Debarment for guidance at
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EPA_Grants_Info@epa.gov. The recipient or sub recipient may also obtain additional guidance from DOL’s website at
http://www.dol.gov/whd/

Under these terms and conditions, the sub recipient must submit its proposed DB wage determinations to the
State recipient for approval prior to including the wage determination in any solicitation, contract task orders,
work assignments, or similar instruments to existing contractors.

1. Applicability of the DB prevailing wage requirements.

Under Title VI of the CWA, DB prevailing wage requirements apply to the construction, alteration, and repair of treatment
works carried out in whole or in part with assistance made available by a State water pollution control revolving fund. If a
sub recipient encounters a unique situation at a site that presents uncertainties regarding DB applicability, the sub recipient
must discuss the situation with the recipient State before authorizing work on that site.

2. Obtaining Wage Determinations.

(a) Sub recipients must obtain proposed wage determinations for specific localities at https://sam.gov/. After the sub
recipient obtains its proposed wage determination, it must submit the wage determination to IEPA for approval prior to
inserting the wage determination into a solicitation, contract or issuing task orders, work assignments or similar instruments
to existing contractors (ordering instruments unless subsequently directed otherwise by the State recipient Award Official.)

(b) Sub recipients shall obtain the wage determination for the locality in which a covered activity subject to DB will take
place prior to issuing requests for bids, proposals, quotes or other methods for soliciting contracts (solicitation) for activities
subject to DB. These wage determinations shall be incorporated into solicitations and any subsequent contracts. Prime
contracts must contain a provision requiring that subcontractors follow the wage determination incorporated into the prime
contract.

    (i) While the solicitation remains open, the sub recipient shall monitor https://sam.gov/. on a weekly basis to ensure that
    the wage determination contained in the solicitation remains current. The sub recipients shall amend the solicitation if
    DOL issues a modification more than 10 days prior to the closing date (i.e. bid opening) for the solicitation. If DOL
    modifies or supersedes the applicable wage determination less than 10 days prior to the closing date, the sub
    recipients may request a finding from the State recipient that there is not a reasonable time to notify interested
    contractors of the modification of the wage determination. The State recipient will provide a report of its findings to the
    sub recipient.

    (ii) If the sub recipient does not award the contract within 90 days of the closure of the solicitation, any modifications or
    supersedes DOL makes to the wage determination contained in the solicitation shall be effective unless the State
    recipient, at the request of the sub recipient, obtains an extension of the 90-day period from DOL pursuant to 29 CFR
    1.6(c)(3)(iv). The sub recipient shall monitor https://sam.gov/ on a weekly basis if it does not award the contract within
    90 days of closure of the solicitation to ensure that wage determinations contained in the solicitation remain current.

(c) If the sub recipient carries out activity subject to DB by issuing a task order, work assignment or similar instrument to an
existing contractor (ordering instrument) rather than by publishing a solicitation, the sub recipient shall insert the appropriate
DOL wage determination from sam.gov into the ordering instrument.

(d) Sub recipients shall review all subcontracts subject to DB entered into by prime contractors to verify that the prime
contractor has required its subcontractors to include the applicable wage determinations.

(e) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to a sub recipient’s contract after
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the award of a contract or the issuance of an ordering instrument if DOL determines that the sub recipient has failed to
incorporate a wage determination or has used a wage determination that clearly does not apply to the contract or ordering
instrument. If this occurs, the sub recipient shall either terminate the contract or ordering instrument and issue a revised
solicitation or ordering instrument or incorporate DOL’s wage determination retroactive to the beginning of the contract or
ordering instrument by change order. The sub recipient’s contractor must be compensated for any increases in wages
resulting from the use of DOL’s revised wage determination.

3. Contract and Subcontract provisions.

(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in excess of $2,000 which is entered
into for the actual construction, alteration and/or repair, including painting and decorating, of a treatment work under the
CWSRF - or in accordance with guarantees of a Federal agency or financed from funds obtained by pledge of any contract
of a Federal agency to make a loan, grant or annual contribution (except where a different meaning is expressly indicated),
and which is subject to the labor standards provisions of any of the acts listed in § 5.1 or Title VI of the CWA, the following
clauses:

(1) Minimum wages.

(i) All laborers and mechanics employed or working upon the site of the work, will be paid unconditionally and not less often
than once a week, and without subsequent deduction or rebate on any account (except such payroll deductions as are
permitted by regulations issued by the Secretary of Labor under the Copeland Act (29 CFR part 3) ), the full amount of
wages and bona fide fringe benefits (or cash equivalents thereof) due at time of payment computed at rates not less than
those contained in the wage determination of the Secretary of Labor which is attached hereto and made a part hereof,
regardless of any contractual relationship which may be alleged to exist between the contractor and such laborers and
mechanics.

Contributions made or costs reasonably anticipated for bona fide fringe benefits under section 1(b)(2) of the DB Act on
behalf of laborers or mechanics are considered wages paid to such laborers or mechanics, subject to the provisions of
paragraph (a)(1)(iv) of this section; also, regular contributions made or costs incurred for more than a weekly period (but not
less often than quarterly) under plans, funds, or programs which cover the particular weekly period, are deemed to be
constructively made or incurred during such weekly period. Such laborers and mechanics shall be paid the appropriate
wage rate and fringe benefits on the wage determination for the classification of work actually performed, without regard to
skill, except as provided in § 5.5(a)(4). Laborers or mechanics performing work in more than one classification may be
compensated at the rate specified for each classification for the time actually worked therein: Provided, that the employer's
payroll records accurately set forth the time spent in each classification in which work is performed. The wage
determination (including any additional classification and wage rates conformed under paragraph (a)(1)(ii) of this section)
and the DB poster (WH-1321) shall be posted at all times by the contractor and its subcontractors at the site of the work in
a prominent and accessible place where it can be easily seen by the workers.

Sub recipients may obtain wage determinations from DOL’s website, https://sam.gov/.

(ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or mechanics, including helpers, which
is not listed in the wage determination and which is to be employed under the contract shall be classified in conformance
with the wage determination. The State award official shall approve a request for an additional classification and wage rate
and fringe benefits therefore only when the following criteria have been met:

       (1) The work to be performed by the classification requested is not performed by a classification in the wage
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        determination; and

        (2) The classification is utilized in the area by the construction industry; and

        (3) The proposed wage rate, including any bona fide fringe benefits, bears a reasonable relationship to the wage
        rates contained in the wage determination.

(B) If the contractor and the laborers and mechanics to be employed in the classification (if known), or their representatives,
and the sub recipient(s) agree on the classification and wage rate (including the amount designated for fringe benefits
where appropriate), documentation of the action taken and the request, including the local wage determination shall be sent
by the sub recipient(s) to the State award official. The State award official will transmit a completed conformance request
form (SF-1444 or similar) and supporting materials to WHD-CBACONFORMANCE_INCOMING@dol.gov and to the EPA
DB Regional Coordinator concurrently. The DOL Administrator, or an authorized representative, will approve, modify, or
disapprove every additional classification request within 30 days of receipt and so advise the State award official or will
notify the State award official within the 30-day period that additional time is necessary.

(C) In the event the contractor, the laborers or mechanics to be employed in the classification or their representatives, and
the sub recipient(s) do not agree on the proposed classification and wage rate (including the amount designated for fringe
benefits, where appropriate), documentation of the action taken and the request, including the local wage determination
shall be sent by the sub recipient (s) to the State award official. The State award official will transmit a completed
conformance request form (SF-1444 or similar) which indicates the State award official’s disagreement and supporting
materials to WHD-CBACONFORMANCE INCOMING@dol.gov and to the EPA DB Regional Coordinator concurrently. The
DOL Administrator, or an authorized representative, will issue a determination within 30 days of receipt of the request and
so advise the contracting officer or will notify the contracting officer within the 30-day period that additional time is
necessary.

(D) The wage rate (including fringe benefits where appropriate) determined pursuant to paragraphs (a)(1)(ii)(B) or (C) of
this section, shall be paid to all workers performing work in the classification under this contract from the first day on which
work is performed in the classification.

(iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers or mechanics includes a fringe
benefit which is not expressed as an hourly rate, the contractor shall either pay the benefit as stated in the wage
determination or shall pay another bona fide fringe benefit or an hourly cash equivalent thereof.

(iv) If the contractor does not make payments to a trustee or other third person, the contractor may consider as part of the
wages of any laborer or mechanic the amount of any costs reasonably anticipated in providing bona fide fringe benefits
under a plan or program, Provided, That the Secretary of Labor has found, upon the written request of the contractor, that
the applicable standards of the DB Act have been met. The Secretary of Labor may require the contractor to set aside
assets in a separate account for the meeting of obligations under the plan or program.

(2) Withholding. The sub recipient(s) shall upon written request of the EPA Award Official or an authorized representative of
the DOL, withhold or cause to be withheld from the contractor under this contract or any other Federal contract with the
same prime contractor, or any other federally-assisted contract subject to DOL prevailing wage requirements, which is held
by the same prime contractor, so much of the accrued payments or advances as may be considered necessary to pay
laborers and mechanics, including apprentices, trainees, and helpers, employed by the contractor or any subcontractor the
full amount of wages required by the contract. In the event of failure to pay any laborer or mechanic, including any
apprentice, trainee, or helper, employed or working on the site of the work, all or part of the wages required by the contract,
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the EPA may, after written notice to the contractor, sponsor, applicant, or owner, take such action as may be necessary to
cause the suspension of any further payment, advance, or guarantee of funds until such violations have ceased.

(3) Payrolls and basic records.

(i) Payrolls and basic records relating thereto shall be maintained by the contractor during the course of the work and
preserved for a period of three years thereafter for all laborers and mechanics working at the site of the work. Such records
shall contain the name, address, and social security number of each such worker, his or her correct classification, hourly
rates of wages paid (including rates of contributions or costs anticipated for bona fide fringe benefits or cash equivalents
thereof of the types described in section 1(b)(2)(B) of the DB Act), daily and weekly number of hours worked, deductions
made and actual wages paid. Whenever the Secretary of Labor has found under 29 CFR 5.5(a)(1)(iv) that the wages of any
laborer or mechanic include the amount of any costs reasonably anticipated in providing benefits under a plan or program
described in section 1(b)(2)(B) of the DB Act, the contractor shall maintain records which show that the commitment to
provide such benefits is enforceable, that the plan or program is financially responsible, and that the plan or program has
been communicated in writing to the laborers or mechanics affected, and records which show the costs anticipated or the
actual cost incurred in providing such benefits. Contractors employing apprentices or trainees under approved programs
shall maintain written evidence of the registration of apprenticeship programs and certification of trainee programs, the
registration of the apprentices and trainees, and the ratios and wage rates prescribed in the applicable programs.

(ii)(A) The contractor shall submit weekly, for each week in which any contract work is performed, a copy of all payrolls to
the sub recipient, that is, the entity that receives the sub-grant or loan from the State capitalization grant recipient. Such
documentation shall be available on request of the State recipient or EPA. As to each payroll copy received, the sub
recipient shall provide written confirmation in a form satisfactory to the State indicating whether or not the project is in
compliance with the requirements of 29 CFR 5.5(a)(1) based on the most recent payroll copies for the specified week. The
payrolls shall set out accurately and completely all of the information required to be maintained under 29 CFR 5.5(a)(3)(i),
except that full social security numbers and home addresses shall not be included on the weekly payrolls. Instead, the
payrolls shall only need to include an individually identifying number for each employee (e.g., the last four digits of the
employee's social security number). The required weekly payroll information may be submitted in any form desired.
Optional Form WH-347 is available for this purpose from the Wage and Hour Division website at
http://www.dol.gov/whd/forms/wh347instr.htm or its successor site.

The prime contractor is responsible for the submission of copies of payrolls by all subcontractors. Contractors and
subcontractors shall maintain the full social security number and current address of each covered worker and shall provide
them upon request to the sub recipient(s) for transmission to the State or EPA if requested by EPA, the State, the
contractor, or the Wage and Hour Division of the DOL for purposes of an investigation or audit of compliance with prevailing
wage requirements. It is not a violation of this section for a prime contractor to require a subcontractor to provide addresses
and social security numbers to the prime contractor for its own records, without weekly submission to the sub recipient(s).

(B) Each payroll submitted shall be accompanied by a “Statement of Compliance,” signed by the contractor or
subcontractor or his or her agent who pays or supervises the payment of the persons employed under the contract and
shall certify the following:

        (1) That the payroll for the payroll period contains the information required to be provided under § 5.5 (a)(3)(ii) of
        Regulations, 29 CFR part 5, the appropriate information is being maintained under § 5.5 (a)(3)(i) of Regulations, 29
        CFR part 5, and that such information is correct and complete;

        (2) That each laborer or mechanic (including each helper, apprentice, and trainee) employed on the contract during
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        the payroll period has been paid the full weekly wages earned, without rebate, either directly or indirectly, and that
        no deductions have been made either directly or indirectly from the full wages earned, other than permissible
        deductions as set forth in Regulations, 29 CFR part 3;

        (3) That each laborer or mechanic has been paid not less than the applicable wage rates and fringe benefits or cash
        equivalents for the classification of work performed, as specified in the applicable wage determination incorporated
        into the contract.

(C) The weekly submission of a properly executed certification set forth on the reverse side of Optional Form WH-347 shall
satisfy the requirement for submission of the “Statement of Compliance” required by paragraph (a)(3)(ii)(B) of this section.

(D) The falsification of any of the above certifications may subject the contractor or subcontractor to civil or criminal
prosecution under section 1001 of title 18 and section 231 of title 31 of the United States Code.

(iii) The contractor or subcontractor shall make the records required under paragraph (a)(3)(i) of this section available for
inspection, copying, or transcription by authorized representatives of the State, EPA or the DOL, and shall permit such
representatives to interview employees during working hours on the job. If the contractor or subcontractor fails to submit the
required records or to make them available, the EPA or State may, after written notice to the contractor, sponsor, applicant,
or owner, take such action as may be necessary to cause the suspension of any further payment, advance, or guarantee of
funds. Furthermore, failure to submit the required records upon request or to make such records available may be grounds
for debarment action pursuant to 29 CFR 5.12.

(4) Apprentices and trainees--

(i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate for the work they performed when
they are employed pursuant to and individually registered in a bona fide apprenticeship program registered with the DOL,
Employment and Training Administration, Office of Apprenticeship Training, Employer and Labor Services, or with a State
Apprenticeship Agency recognized by the Office, or if a person is employed in his or her first 90 days of probationary
employment as an apprentice in such an apprenticeship program, who is not individually registered in the program, but who
has been certified by the Office of Apprenticeship Training, Employer and Labor Services or a State Apprenticeship Agency
(where appropriate) to be eligible for probationary employment as an apprentice. The allowable ratio of apprentices to
journeymen on the job site in any craft classification shall not be greater than the ratio permitted to the contractor as to the
entire work force under the registered program. Any worker listed on a payroll at an apprentice wage rate, who is not
registered or otherwise employed as stated above, shall be paid not less than the applicable wage rate on the wage
determination for the classification of work actually performed. In addition, any apprentice performing work on the job site in
excess of the ratio permitted under the registered program shall be paid not less than the applicable wage rate on the wage
determination for the work actually performed. Where a contractor is performing construction on a project in a locality other
than that in which its program is registered, the ratios and wage rates (expressed in percentages of the journeyman's hourly
rate) specified in the contractor's or subcontractors registered program shall be observed. Every apprentice must be paid at
not less than the rate specified in the registered program for the apprentice's level of progress, expressed as a percentage
of the journeymen hourly rate specified in the applicable wage determination. Apprentices shall be paid fringe benefits in
accordance with the provisions of the apprenticeship program. If the apprenticeship program does not specify fringe
benefits, apprentices must be paid the full amount of fringe benefits listed on the wage determination for the applicable
classification. If the Administrator determines that a different practice prevails for the applicable apprentice classification,
fringes shall be paid in accordance with that determination. In the event the Office of Apprenticeship Training, Employer
and Labor Services, or a State Apprenticeship Agency recognized by the Office, withdraws approval of an apprenticeship
program, the contractor will no longer be permitted to utilize apprentices at less than the applicable predetermined rate for
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the work performed until an acceptable program is approved.

(ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at less than the predetermined rate
for the work performed unless they are employed pursuant to and individually registered in a program which has received
prior approval, evidenced by formal certification by the DOL, Employment and Training Administration. The ratio of trainees
to journeymen on the job site shall not be greater than permitted under the plan approved by the Employment and Training
Administration. Every trainee must be paid at not less than the rate specified in the approved program for the trainee's level
of progress, expressed as a percentage of the journeyman hourly rate specified in the applicable wage determination.
Trainees shall be paid fringe benefits in accordance with the provisions of the trainee program. If the trainee program does
not mention fringe benefits, trainees shall be paid the full amount of fringe benefits listed on the wage determination unless
the Administrator of the Wage and Hour Division determines that there is an apprenticeship program associated with the
corresponding journeyman wage rate on the wage determination which provides for less than full fringe benefits for
apprentices. Any employee listed on the payroll at a trainee rate who is not registered and participating in a training plan
approved by the Employment and Training Administration shall be paid not less than the applicable wage rate on the wage
determination for the classification of work actually performed. In addition, any trainee performing work on the job site in
excess of the ratio permitted under the registered program shall be paid not less than the applicable wage rate on the wage
determination for the work actually performed. In the event the Employment and Training Administration withdraws approval
of a training program, the contractor will no longer be permitted to utilize trainees at less than the applicable predetermined
rate for the work performed until an acceptable program is approved.

(iii) Equal employment opportunity. The utilization of apprentices, trainees and journeymen under this part shall be in
conformity with the equal employment opportunity requirements of Executive Order 11246, as amended and 29 CFR part
30.

(5) Compliance with Copeland Act requirements. The contractor shall comply with the requirements of 29 CFR part 3, which
are incorporated by reference in this contract.

(6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses contained in 29 CFR 5.5(a)(1)
through (10) and such other clauses as the EPA determines may by appropriate, and also a clause requiring the
subcontractors to include these clauses in any lower tier subcontracts. The prime contractor shall be responsible for the
compliance by any subcontractor or lower tier subcontractor with all the contract clauses in 29 CFR 5.5.

(7) Contract termination: debarment. A breach of the contract clauses in 29 CFR 5.5 may be grounds for termination of the
contract, and for debarment as a contractor and a subcontractor as provided in 29 CFR 5.12.

(8) Compliance with DB and Related Act requirements. All rulings and interpretations of the DB and Related Acts contained
in 29 CFR parts 1, 3, and 5 are herein incorporated by reference in this contract.

(9) Disputes concerning labor standards. Disputes arising out of the labor standards provisions of this contract shall not be
subject to the general disputes clause of this contract. Such disputes shall be resolved in accordance with the procedures
of the DOL set forth in 29 CFR parts 5, 6, and 7. Disputes within the meaning of this clause include disputes between the
contractor (or any of its subcontractors) and Sub recipient(s), State, EPA, DOL, or the employees or their representatives.

(10) Certification of eligibility.

(i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor any person or firm who has an
interest in the contractor's firm is a person or firm ineligible to be awarded Government contracts by virtue of section 3(a) of
the DB Act or 29 CFR 5.12(a)(1).
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(ii) No part of this contract shall be subcontracted to any person or firm ineligible for award of a Government contract by
virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).

(iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18 U.S.C. 1001.

4. Contract Provision for Contracts in Excess of $100,000.

(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the following clauses set forth in
paragraphs (a)(1), (2), (3), and (4) of this section in full in any contract in an amount in excess of $100,000 and subject to
the overtime provisions of the Contract Work Hours and Safety Standards Act. These clauses shall be inserted in addition
to the clauses required by Item 3, above or 29 CFR 4.6. As used in this paragraph, the terms laborers and mechanics
include watchmen and guards.

(1) Overtime requirements. No contractor or subcontractor contracting for any part of the contract work which may require
or involve the employment of laborers or mechanics shall require or permit any such laborer or mechanic in any workweek
in which he or she is employed on such work to work in excess of forty hours in such workweek unless such laborer or
mechanic receives compensation at a rate not less than one and one-half times the basic rate of pay for all hours worked in
excess of forty hours in such workweek.

(2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of the clause set forth in paragraph
(b)(1) of this section the contractor and any subcontractor responsible therefore shall be liable for the unpaid wages. In
addition, such contractor and subcontractor shall be liable to the United States (in the case of work done under contract for
the District of Columbia or a territory, to such District or to such territory), for liquidated damages. Such liquidated damages
shall be computed with respect to each individual laborer or mechanic, including watchmen and guards, employed in
violation of the clause set forth in paragraph (b)(1) of this section, in the sum of $29 for each calendar day on which such
individual was required or permitted to work in excess of the standard workweek of forty hours without payment of the
overtime wages required by the clause set forth in paragraph (b)(1) of this section.

(3) Withholding for unpaid wages and liquidated damages. The sub recipient shall upon the request of the EPA Award
Official or an authorized representative of the DOL, withhold or cause to be withheld, from any moneys payable on account
of work performed by the contractor or subcontractor under any such contract or any other Federal contract with the same
prime contractor, or any other federally-assisted contract subject to the Contract Work Hours and Safety Standards Act,
which is held by the same prime contractor, such sums as may be determined to be necessary to satisfy any liabilities of
such contractor or subcontractor for unpaid wages and liquidated damages as provided in the clause set forth in paragraph
(a)(2) of this section.

(4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses set forth in paragraph (a)(1)
through (4) of this section and also a clause requiring the subcontractors to include these clauses in any lower tier
subcontracts. The prime contractor shall be responsible for compliance by any subcontractor or lower tier subcontractor
with the clauses set forth in paragraphs (a)(1) through (4) of this section.
(c) In addition to the clauses contained in Item 3, above, in any contract subject only to the Contract Work Hours and Safety
Standards Act and not to any of the other statutes cited in 29 CFR 5.1, the Sub recipient shall insert a clause requiring that
the contractor or subcontractor shall maintain payrolls and basic payroll records during the course of the work and shall
preserve them for a period of three years from the completion of the contract for all laborers and mechanics, including
guards and watchmen, working on the contract. Such records shall contain the name and address of each such employee,
social security number, correct classifications, hourly rates of wages paid, daily and weekly number of hours worked,
deductions made, and actual wages paid. Further, the Sub recipient shall insert in any such contract a clause providing that
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the records to be maintained under this paragraph shall be made available by the contractor or subcontractor for inspection,
copying, or transcription by authorized representatives of the EPA and the DOL, and the contractor or subcontractor will
permit such representatives to interview employees during working hours on the job.

5. Compliance Verification

(a) The sub recipient shall periodically interview a sufficient number of employees entitled to DB prevailing wages (covered
employees) to verify that contractors or subcontractors are paying the appropriate wage rates. As provided in 29 CFR
5.6(a)(3), all interviews must be conducted in confidence. The sub recipient must use Standard Form 1445 (SF 1445) or
equivalent documentation to memorialize the interviews. Copies of the SF 1445 are available from EPA on request.

(b) The sub recipient shall establish and follow an interview schedule based on its assessment of the risks of
noncompliance with DB posed by contractors or subcontractors and the duration of the contract or subcontract. Sub
recipients must conduct more frequent interviews if the initial interviews or other information indicated that there is a risk
that the contractor or subcontractor is not complying with DB. Sub recipients shall immediately conduct interviews in
response to an alleged violation of the prevailing wage requirements. All interviews shall be conducted in confidence.

(c) The sub recipient shall periodically conduct spot checks of a representative sample of weekly payroll data to verify that
contractors or subcontractors are paying the appropriate wage rates. The sub recipient shall establish and follow a spot
check schedule based on its assessment of the risks of noncompliance with DB posed by contractors or subcontractors and
the duration of the contract or subcontract. At a minimum, if practicable the sub recipient should spot check payroll data
within two weeks of each contractor or subcontractor’s submission of its initial payroll data and two weeks prior to the
completion date the contract or subcontract. Sub recipients must conduct more frequent spot checks if the initial spot check
or other information indicates that there is a risk that the contractor or subcontractor is not complying with DB. In addition,
during the examinations the sub recipient shall verify evidence of fringe benefit plans and payments there under by
contractors and subcontractors who claim credit for fringe benefit contributions.

(d) The sub recipient shall periodically review contractors and subcontractors use of apprentices and trainees to verify
registration and certification with respect to apprenticeship and training programs approved by either the U.S DOL or a
state, as appropriate, and that contractors and subcontractors are not using disproportionate numbers of, laborers, trainees
and apprentices. These reviews shall be conducted in accordance with the schedules for spot checks and interviews
described in Item 5(b) and (c) above.

(e) Sub recipients must immediately report potential violations of the DB prevailing wage requirements to the EPA DB
contact listed above and to the appropriate DOL Wage and Hour District Office listed at
https://www.dol.gov/agencies/whd/contact/local-offices.
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                                                   EPA Funding Information
              FUNDS                                FORMER AWARD                                THIS ACTION                       AMENDED TOTAL
EPA Amount This Action                                               $0                        $ 102,852,000                          $ 102,852,000
EPA In-Kind Amount                                                   $0                                   $0                                    $0
Unexpended Prior Year Balance                                        $0                                   $0                                    $0
Other Federal Funds                                                  $0                                   $0                                    $0
Recipient Contribution                                               $0                         $ 20,570,400                           $ 20,570,400
State Contribution                                                   $0                                   $0                                    $0
Local Contribution                                                   $0                                   $0                                    $0
Other Contribution                                                   $0                                   $0                                    $0
Allowable Project Cost                                               $0                        $ 123,422,400                          $ 123,422,400



Assistance Program (CFDA)                     Statutory Authority                                 Regulatory Authority
66.458 - Clean Water State Revolving Fund     Clean Water Act: Title VI & Infrastructure          2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR
                                              Investment and Jobs Act (IIJA) (PL 117-58)          35 Subpart K




                                                                      Fiscal
                                                     Approp.          Budget                   Object                     Cost        Obligation /
          Site Name                Req No     FY                                     PRC                Site/Project
                                                      Code          Organization               Class                   Organization   Deobligation
-                               2405PWX025   24     E2SD            05P1           000B80X70   4111     24CA           -              $ 102,852,000
                                                                                                                                      $ 102,852,000
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Budget Summary Page
                                       Table A - Object Class Category                                 Total Approved Allowable
                                             (Non-Construction)                                           Budget Period Cost
 1. Personnel                                                                                                                         $0
 2. Fringe Benefits                                                                                                                   $0
 3. Travel                                                                                                                            $0
 4. Equipment                                                                                                                         $0
 5. Supplies                                                                                                                          $0
 6. Contractual                                                                                                                       $0
 7. Construction                                                                                                                      $0
 8. Other                                                                                                                  $ 123,422,400
 9. Total Direct Charges                                                                                                   $ 123,422,400
 10. Indirect Costs: 0.00 % Base                                                                                                      $0
 11. Total (Share: Recipient ______
                               16.67 % Federal ______
                                                 83.33 %)                                                                  $ 123,422,400
 12. Total Approved Assistance Amount                                                                                      $ 102,852,000
 13. Program Income                                                                                                                   $0
 14. Total EPA Amount Awarded This Action                                                                                  $ 102,852,000
 15. Total EPA Amount Awarded To Date                                                                                      $ 102,852,000
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                                          Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available
at: https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2023-or-
later.

These terms and conditions are in addition to the assurances and certifications made as a part of
the award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.
epa.gov/grants/grant-terms-and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for approval, or
notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the following email
addresses:

        Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and young.robert@epa.gov
        MBE/WBE reports (EPA Form 5700-52A): region5closeouts@epa.gov and Robert Young at young.
        robert@epa.gov
        All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the
        Budget and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to
        recipient information (including email addresses, changes in contact information or changes in authorized
        representatives) and other notifications: Isaiah Sattlefield at Sattlefield.Isaiah@epa.gov and Robert Young
        at young.robert@epa.gov
        Payment requests (if applicable): Isaiah Sattlefield at Sattlefield.Isaiah@epa.gov
        Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
        deliverables: Isaiah Sattlefield at Sattlefield.Isaiah@epa.gov


B. Pre-award Costs

In accordance with 2 CFR 1500.9, the grantee may charge pre-award costs (both Federal and non-Federal
matching shares) incurred from 7/1/24 to the actual award date provided that such costs were contained in the
approved application and all costs are incurred within the approved budget period.
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                                      Programmatic Conditions
        FFY 2024 BIL/IIJA CWSRF General Supplemental Programmatic Terms and Conditions



A. Payment Schedule

The recipient agrees to accept grant funds that will be released by EPA utilizing the ASAP payment
method.

B. State Match

The recipient agrees to deposit into its State Revolving Fund (SRF) a match equal to at least 20 percent
of the amount awarded in the capitalization grant.

C. Intended Use Plan and Operating Agreement

The entire contents of the Bipartisan Infrastructure Law (BIL)/Infrastructure Investments and Jobs Act
(IIJA) SFY 2024 Intended Use Plan (IUP) and (if applicable) the Operating Agreement (OA) are
incorporated hereto by reference and made a part of this Assistance Agreement.

D. Amended Cash Draw Proportionality

As of November 18, 2022, recipients are no longer required to comply with the cash draw rules in the
Clean Water State Revolving Fund (CWSRF) regulations at 40 CFR 35.3155(d)(5)(i) and (ii) and 40 CFR
35.3160(b)(2)-(4) and Drinking Water State Revolving Fund (DWSRF) regulations at 40 CFR 35.3560(f)
and (g) and 40 CFR 35.3565(b). For further details on this change, see the linked notification memo from
Division Directors Raffael Stein and Anita Maria Thompkins dated November 30, 2022.

E. Travel

EPA approves the use of Federal funds for travel budgeted in capitalization grants for implementing the
Clean Water SRF (CWSRF) program. The recipient agrees to use CWSRF funds to participate in training
and professional development activities integral to the effective implementation and management of the
CWSRF program.

F. SRF Data System and Environmental Benefits Reporting

The recipient agrees to input data, as required by EPA, into the SRF Data System. The recipient of funds
for the State Revolving Funds (SRF) from the BIL, also known as the IIJA, 2021, P.L. 117-58, agrees to
comply with all requests for data related to the use of the funds under Title VI of the Clean Water Act
(CWA), and to report all uses of the funds no less than quarterly, as the Environmental Protection
Agency specifies for the SRF Data System. This reporting shall include, but not be limited to, data with
respect to compliance with the Green Project Reserve and additional subsidization requirements as
specified in P.L. 118-42) (the Consolidated Appropriations Act, 2024), and P.L. 117-58, respectively.
EPA agrees to provide technical assistance to the state in its use of the SRF Data System.

G. Annual Reporting
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In accordance with 2 CFR 200.329 and 40 CFR 35.3165 the recipient agrees to provide in its Annual
Report information regarding key project characteristics, milestones, and environmental/public health
protection results in the following areas: 1) achievement of the outputs and outcomes established in the
IUP; 2) the reasons for delays if established outputs or outcomes were not met; 3) any additional
pertinent information on environmental results; 4) compliance with the Green Project Reserve
requirement; and 5) use of additional subsidization.

H. Program Income from Administrative Fees

Program income earned during the grant period may be used for the specific purposes identified in 2
CFR 200.307 and 2 CFR 1500.8. The recipient agrees to comply with EPA's "Guidance on Fees
Charged by States to Recipients of Clean Water State Revolving Fund Program Assistance" issued
October 20, 2005, as amended by subsequent guidance. Specifically, the State has agreed: 1) to
maintain records which account for fees separate from the CWSRF project fund, 2) to identify in the IUP
all types of fees charged on loans, including the fee rate, and the amount of fees available, and 3) to
include in the annual report the types of fees charged on loans, the amount of fees collected, and how
those amounts were used.

I. Signage Required

1. Signage Requirements

a. Investing in America Emblem: The recipient will ensure that a sign is placed at construction sites
supported in whole or in part by this award displaying the official Investing in America emblem and must
identify the project as a “project funded by President Biden's Bipartisan Infrastructure Law” or “project
funded by President Biden's Inflation Reduction Act” as applicable. The sign must be placed at
construction sites in an easily visible location that can be directly linked to the work taking place and
must be maintained in good condition throughout the construction period.

The recipient will ensure compliance with the guidelines and design specifications provided by EPA for
using the official Investing in America emblem available at: https://www.epa.gov/invest/investing-
america-signage.

b. Procuring Signs: Consistent with section 6002 of RCRA, 42 U.S.C. 6962, and 2 CFR 200.323,
recipients are encouraged to use recycled or recovered materials when procuring signs. Signage costs
are considered an allowable cost under this assistance agreement provided that the costs associated
with signage are reasonable. Additionally, to increase public awareness of projects serving communities
where English is not the predominant language, recipients are encouraged to translate the language on
signs (excluding the official Investing in America emblem or EPA logo or seal) into the appropriate non-
English language(s). The costs of such translation are allowable, provided the costs are reasonable.

2. Public or Media Events

EPA encourages the recipient to notify the EPA Project Officer listed in this award document of public or
media events publicizing the accomplishment of significant events related to construction projects as a
result of this agreement and provide the opportunity for attendance and participation by federal
representatives with at least ten (10) working days' notice.

J. Green Project Reserve
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The recipient agrees to make a timely and concerted good faith solicitation for projects that address
green infrastructure, water or energy efficiency improvements, or other environmentally innovative
activities. A good faith solicitation must be open to all GPR eligible projects in each of the four GPR
categories. The State's annual open solicitation for projects will be deemed sufficient for these purposes
as long as that solicitation was open to all GPR eligible projects in each of the four GPR categories. The
recipient agrees to include in its IUP such qualified projects, or components of projects, that total an
amount equal to at least 10 percent of its capitalization grant. The state must document the GPR
solicitation process in its IUP and Annual Report and explain, if applicable, why GPR projects totaling at
least 10 percent of the capitalization grant were not able to be funded. Any State not meeting the 10
percent requirement must outline in the Annual Report how they will expand their GPR solicitation for the
following year.

K. Additional Subsidization

The recipient agrees to use 49 percent of the funds made available in the capitalization grant to provide
additional subsidy to eligible recipients or project types as described in section 603(i) of the CWA in the
form of forgiveness of principal or grants (or any combination of these), which shall be used only where
such funds are provided as initial financing for an eligible recipient or to buy, refinance, or restructure the
debt obligations of eligible recipients only where such debt was incurred after November 15, 2021.

L. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at www.fgdc.gov.

M. American Iron and Steel (AIS)

(a) Definitions. As used in this award term and condition—

(1) “iron and steel products” mean the following products made primarily of iron or steel: lined or unlined
pipes and fittings, manhole covers and other municipal castings, hydrants, tanks, flanges, pipe clamps
and restraints, valves, structural steel, reinforced precast concrete, and construction materials.

(2) “steel” means an alloy that includes at least 50 percent iron, between .02 and 2 percent carbon, and
may include other elements.

(b) Domestic preference.

(1) This award term and condition implements Title VI of the CWA by requiring that all iron and steel
products used for a project for the construction, alteration, maintenance or repair of a public water
system or treatment work are produced in the United States except as provided in paragraph (b)(2) of
this section and condition.

(2) This requirement shall not apply in any case or category of cases in which the Administrator of the
Environmental Protection Agency finds that—

        (i) applying the requirement would be inconsistent with the public interest;

        (ii) iron and steel products are not produced in the United States in sufficient and reasonably
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       available quantities and of a satisfactory quality; or

       (iii) inclusion of iron and steel products produced in the United States will increase the cost of the
       overall project by more than 25 percent.

(3) The Build America, Buy America (BABA) Act requirement does not supersede the AIS requirement,
and both provisions still apply and work in conjunction.

(c) Request for a Waiver under (b)(2) of this section

(1) Any recipient request to use foreign iron or steel products in accordance with paragraph

(b)(2) of this section shall include adequate information for Federal Government evaluation of the
request, including—

       (A) A description of the foreign and domestic iron, steel, and/or manufactured goods;

       (B) Unit of measure;

       (C) Quantity;

       (D) Cost;

       (E) Time of delivery or availability;

       (F) Location of the project;

       (G) Name and address of the proposed supplier; and

       (H) A detailed justification of the reason for use of foreign iron or steel products cited in
       accordance with paragraph (b)(2) of this section.

(2) If the Administrator receives a request for a waiver under this section, the waiver request shall be
made available to the public for at least 15 days prior to making a finding based on the request.

(3) Unless the Administrator issues a waiver of this term, use of foreign iron and steel products is
noncompliant with Title VI of the CWA.

(d) This term and condition shall be applied in a manner consistent with United States obligations under
international agreements.

N. State Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient's network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure.
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For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to ensure
that the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by EPA's regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any sub-awards it makes under this agreement will require the subrecipient
to comply with the requirements in (b)(1) if the sub-recipient's network or information system is
connected to EPA networks to transfer data to the Agency using systems other than the Environmental
Information Exchange Network or EPA's Central Data Exchange. The recipient will be in compliance with
this condition: by including this requirement in sub-award agreements; and during subrecipient
monitoring deemed necessary by the recipient under 2 CFR 200.331(d), by inquiring whether the
subrecipient has contacted the EPA Project Officer. Nothing in this condition requires the recipient to
contact the EPA Project Officer on behalf of a subrecipient or to be involved in the negotiation of an
Interconnection Service Agreement between the subrecipient and EPA.

O. Internal Controls for Financial Transactions

The recipient agrees to use procedures consistent with “zero-trust” (never trust, always verify) for all
financial transactions with SRF funds. These procedures must include verbal verification with a trusted
recipient representative of all financial account information both initially and prior to any changes in
financial account information.

P. Davis-Bacon Labor Standards

1. Program Applicability

a. Program Name: Clean Water State Revolving Fund

b. Statute requiring compliance with Davis-Bacon: Section 602(b)(6) of the Clean Water Act

c. Activities subject to Davis-Bacon: Treatment works constructed in whole or in part with assistance
made available by a state water pollution control revolving fund authorized under Title VI of the Clean
Water Act.

d. The recipient must work with the appropriate authorities to determine wage classifications for the
specific project(s) or activities subject to Davis Bacon under this grant (or cooperative agreement).

2. Davis-Bacon and Related Acts

Davis-Bacon and Related Acts (DBRA) is a collection of labor standards provisions administered by the
Department of Labor, that are applicable to grants involving construction. These labor standards include
the:
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       Davis-Bacon Act, which requires payment of prevailing wage rates for laborers and mechanics
       on construction contracts of $2,000 or more

       Copeland “Anti-Kickback” Act, which prohibits a contractor or subcontractor from inducing an
       employee into giving up any part of the compensation to which he or she is entitled; and

       Contract Work Hours and Safety Standards Act, which requires overtime wages to be paid for
       over 40 hours of work per week, under contracts in excess of $100,000

3. Recipient Responsibilities When Entering Into and Managing Contracts:

a. Solicitation and Contract Requirements:

       i. Include the Correct Wage Determinations in Bid Solicitations and Contracts: Recipients are
       responsible for complying with the procedures provided in 29 CFR 1.6 when soliciting bids and
       awarding contracts.

       ii. Include DBRA Requirements in All Contracts: Include the following text on all contracts under
       this grant:

       “By accepting this contract, the contractor acknowledges and agrees to the terms provided in the
       DBRA Requirements for Contractors and Subcontractors Under EPA Grants.”

b. After Award of Contract:

       i. Approve and Submit Requests for Additional Wages Rates: Work with contractors to request
       additional wage rates if required for contracts under this grant, as provided in 29 CFR 5.5(a)(1)
       (iii).

       ii. Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure
       contractor compliance with the terms of the contract, as required by 29 CFR 5.6.

4. Recipient Responsibilities When Establishing and Managing Additional Subawards:

a. Include DBRA Requirements in All Subawards (including Loans):

       Include the following text on all subawards under this grant:

       “By accepting this award, the EPA subrecipient acknowledges and agrees to the terms and
       conditions provided in the DBRA Requirements for EPA Subrecipients.”

b. Provide Oversight to Ensure Compliance with DBRA Provisions: Recipients are responsible for
oversight of subrecipients and must ensure subrecipients comply with the requirements in 29 CFR 5.6.

5. The contract clauses set forth in this Term & Condition, along with the correct wage determinations,
will be considered to be a part of every prime contract covered by Davis-Bacon and Related Acts (see 29
CFR 5.1), and will be effective by operation of law, whether or not they are included or incorporated by
reference into such contract, unless the Department of Labor grants a variance, tolerance, or exemption.
Where the clauses and applicable wage determinations are effective by operation of law under this
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paragraph, the prime contractor must be compensated for any resulting increase in wages in accordance
with applicable law.
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                                                         EPA Funding Information
            FUNDS                                         FORMER AWARD                                  THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                      $0                            $67,885,000                               $67,885,000
EPA In-Kind Amount                                                          $0                                      $0                                        $0
Unexpended Prior Year Balance                                               $0                                      $0                                        $0
Other Federal Funds                                                         $0                                      $0                                        $0
Recipient Contribution                                                      $0                             $6,788,500                                $6,788,500
State Contribution                                                          $0                                      $0                                        $0
Local Contribution                                                          $0                                      $0                                        $0
Other Contribution                                                          $0                                      $0                                        $0
Allowable Project Cost                                                      $0                            $74,673,500                               $74,673,500



Assistance Program (CFDA)                           Statutory Authority                                    Regulatory Authority
66.468 - Capitalization Grants for Drinking Water   Safe Drinking Water Act: Sec. 1452 &                   2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR 35
State Revolving Funds                               Infrastructure Investment and Jobs Act (IIJA) (PL      Subpart L
                                                    117-58)




                                                                           Fiscal
           Site Name                   Req No       FY     Approp.          Budget        PRC           Object   Site/Project      Cost            Obligation /
                                                            Code          Oganization                   Class                   Organization       Deobligation
-                                   2205PWX014       22        E3SD              05P1   000B81X70        4109            22DD                  -     $2,715,400
-                                   2205PWX014       22        E3SD              05P1   000B81X70        4109            22DA                  -    $65,169,600
                                                                                                                                                    $67,885,000
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                         Attachment 1 - Project Description
Section 1452 of the Safe Drinking Water Act (SDWA) authorizes the state to utilize funds to
further the health protection objectives of SDWA. This agreement will provide funds,
authorized by the Infrastructure Investment and Jobs Act (IIJA) (PL 117-58), to capitalize the
recipient’s Drinking Water State Revolving Fund (DWSRF) to provide low interest financing
for costs associated with the planning, design and construction of eligible drinking water
improvement projects and activities to protect human health. As part of this agreement, the
recipient ensures compliance with federal and state regulations, which are designed to
protect public health. The bulk of the SRF will be used for loans and other authorized
assistance to public water systems for eligible projects, including improving drinking water
treatment, fixing leaky or old pipes (water distribution), improving source of water supply,
replacing or constructing finished water storage tanks, and other infrastructure projects
needed to protect public health. The recipient may also use some of the funding for specific
"set-asides"; to provide technical assistance to small systems, program administration, state
program management and other allowable uses. The benefits of this grant will be to
capitalize the recipient’s DWSRF. The Fund can then be used to increase technical, financial
and managerial capacity of public water systems, and provide assurance of a cleaner and
safer potable water supply by funding improvements to multiple water infrastructure projects.
These public health benefits will be statewide. DWSRF loans made under this grant will fund
a variety of eligible drinking water projects.
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                                         Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2021-or-later. These terms and
conditions are in addition to the assurances and certifications made as a part of the award and the terms, conditions, or
restrictions cited throughout the award. The EPA repository for the general terms and conditions by year can be found at:
https://www.epa.gov/grants/grant-terms-and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for approval, or notifications
to EPA. Unless otherwise noted, all such correspondence should be sent to the following email addresses:

   ●   Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and Dianne Reyes at reyes.dianne@epa.gov;
   ●   MBE/WBE reports (EPA Form 5700-52A): region5closeouts@epa.gov and DBE Coordinator, Dianne Reyes at
       reyes.dianne@epa.gov;
   ●   All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the Budget and
       Project Period, Amendment Requests, Requests for other Prior Approvals, updates to recipient information (including
       email addresses, changes in contact information or changes in authorized representatives) and other notifications:
       Project Officer, Andrew Bielanski at bielanski.andrew@epa.gov and Grants Specialist, Dianne Reyes at
       reyes.dianne@epa.gov;
   ●   Payment requests (if applicable): Project Officer, Andrew Bielanski at bielanski.andrew@epa.gov and Grants
       Specialist, Dianne Reyes at reyes.dianne@epa.gov;
   ●   Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and deliverables: Project
       Officer, Andrew Bielanski at bielanski.andrew@epa.gov

B. Pre-Award Costs

In accordance with 2 CFR 1500.9, the recipient may charge otherwise allowable pre-award costs (both Federal and non-
Federal matching shares) incurred from 07/01/2022 to the actual award date provided that such costs were contained in the
approved application and all costs are incurred within the approved budget period.




                                          Programmatic Conditions
   FFY 2022 BIL/IIJA DWSRF General Supplemental Programmatic Terms
                            and Conditions


A. Payment Schedule

The recipient agrees to accept grant funds that will be released by EPA utilizing the ASAP payment
method. Access to these funds will be in accordance with the following schedule:
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Payment Quarter         Payment Date Payment Amount

FFY2023/Quarter 1        10/1/2022        $67,885,000

B. State Match

The recipient agrees to deposit into its State Revolving Fund (SRF) a match equal to at least 10
percent of the amount awarded in the capitalization grant.

C. Intended Use Plan and Operating Agreement

The entire contents of the Bipartisan Infrastructure Law (BIL)/Infrastructure Investments and Jobs Act
(IIJA) SFY 2022 Intended Use Plan (IUP) and (if applicable) the Operating Agreement (OA) are
incorporated hereto by reference and made a part of this Assistance Agreement.

D. Set-Aside Work Plan

The recipient agrees to perform the activities identified and specified in the work program plan, which
is made part of this Assistance Agreement.

E. Set-Aside Sub-Grants and Contracts

The recipient shall provide or make available to the Region 5 Project Officer copies of the work plans
associated with grants and contracts that it may enter into with other agencies and organizations
related to activities conducted under this grant. In its semi-annual report, the grant recipient shall
include a summary description of activities completed under grants and contracts entered into with
funds made available under the grant.

F. Travel

EPA approves the use of Federal funds for travel budgeted in capitalization grants for implementing
the Drinking Water SRF (DWSRF) program. The recipient agrees to use Federal funds to participate
in training and professional development activities integral to the effective implementation and
management of the DWSRF program.

G. SRF Data System and Public Health Benefits Reporting

The recipient agrees to input data, as required by EPA, into the SRF Data System. The recipient of
funds for the State Revolving Funds (SRF) from the BIL, also known as the IIJA, 2021, P.L. 117-58,
agrees to comply with all requests for data related to the use of the funds under Section 1452 of the
Safe Drinking Water Act (SDWA), and to report all uses of the funds no less than quarterly, as the
Environmental Protection Agency specifies for the SRF Data System. This reporting shall include but
not be limited to data with respect to compliance with the DWSRF discretionary Green Project
Reserve and additional subsidization requirements as specified in P.L. 117-103 (the Consolidated
Appropriations Act, 2022), and P.L. 117-58, respectively. EPA agrees to provide technical assistance
to the state in its use of the SRF Data System.

H. Annual Reporting

In accordance with 2 CFR 200.328 and 40 CFR 35.3570, the recipient agrees to provide in its Annual
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Report information regarding key project characteristics, milestones, and environmental/public health
protection results in the following areas: 1) achievement of the outputs and outcomes established in
the IUP; 2) the reasons for delays if established outputs or outcomes were not met; 3) any additional
pertinent information on environmental/public health results; 4) compliance with the Green Project
Reserve discretionary requirement; and 5) use of additional subsidization.

I. Set-Aside Reporting

The recipient agrees to provide to the Region 5 Project Officer an annual report on the set-aside
activities funded under this grant. These reports shall be provided on September 30th of each year
the grant is in effect.

J. Program Income from Administrative Fees

The recipient agrees to maintain program income resulting from program operations generated
during the project period (e.g., administrative fees collected from DWSRF project loan recipients) in
an account separate from the DWSRF project loan fund. In addition, the recipient agrees that such
program income shall be used only for purposes related to the administration of the DWSRF program
or other purposes authorized pursuant to EPA regulations.

K. Signage

The recipient agrees to comply with the SRF Signage Guidelines in order to enhance public
awareness of EPA assistance agreements nationwide. (See “Guidelines for Enhancing Public
Awareness of SRF Assistance Agreements,” June 3, 2015.)

L. Full Lead Service Line Replacement

The recipient agrees to ensure that any project funded in whole or in part under this capitalization
grant involving lead service line replacement must replace the entire lead service line, not just a
portion, unless a portion has already been replaced or is concurrently being replaced with another
funding source.

M. Additional Subsidization

The recipient agrees to use 49 percent of the funds made available in the capitalization grant to
provide additional subsidy to disadvantaged communities as described in section 1452(d) of the Safe
Drinking Water Act (SDWA) in the form of forgiveness of principal or as grants (or any combination of
these), which shall be used only where such funds are provided as initial financing for an eligible
recipient or to buy, refinance, or restructure the debt obligations of eligible recipients only where such
debt was incurred after November 15, 2021.

N. Green Project Reserve

The recipient agrees that the funds provided by this capitalization grant may, at the discretion of the
recipient, be used for projects to address green infrastructure, water or energy efficiency
improvements, or other environmentally innovative activities.

O. Geospatial Data Standards
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All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at www.fgdc.gov.

P. American Iron and Steel (AIS)

   a. Definitions. As used in this award term and condition—
   (1) “iron and steel products” means the following products made primarily of iron or steel: lined or
   unlined pipes and fittings, manhole covers and other municipal castings, hydrants, tanks, flanges,
   pipe clamps and restraints, valves, structural steel, reinforced precast concrete, and construction
   materials.

   (2) “steel” means an alloy that includes at least 50 percent iron, between .02 and 2 percent
   carbon, and may include other elements.

(b) Domestic preference.

   (1) This award term and condition implements the Safe Drinking Water Act, section 1452(a)(4),
   by requiring that all iron and steel products used for a project for the construction, alteration,
   maintenance or repair of a public water system are produced in the United States except as
   provided in paragraph (b)(2) of this section and condition.

   (2) This requirement shall not apply in any case or category of cases in which the Administrator
   of the Environmental Protection Agency finds that—

(i) applying the requirement would be inconsistent with the public interest;

       (ii) iron and steel products are not produced in the United States in sufficient and reasonably
       available quantities and of a satisfactory quality; or

       (iii) inclusion of iron and steel products produced in the United States will increase the cost
       of the overall project by more than 25 percent.

    (3) The Build America, Buy America (BABA) Act requirement does not supersede the AIS
    requirement, and both provisions still apply and work in conjunction.

(c) Request for a Waiver under (b)(2) of this section

   (1) Any recipient request to use foreign iron or steel products in accordance with paragraph (b)(2)
   of this section shall include adequate information for Federal Government evaluation of the
   request, including—

      (A) A description of the foreign and domestic iron, steel, and/or manufactured goods;

      (B) Unit of measure;

      (C) Quantity;

      (D) Cost;

      (E) Time of delivery or availability;
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      (F) Location of the project;

      (G) Name and address of the proposed supplier; and

      (H) A detailed justification of the reason for use of foreign iron or steel products cited in
      accordance with paragraph (b)(2) of this section.

   (2) If the Administrator receives a request for a waiver under this section, the waiver request shall
   be made available to the public for at least 15 days prior to making a finding based on the
   request.

   (3) Unless the Administrator issues a waiver of this term, use of foreign iron and steel products is
   noncompliant with the Safe Drinking Water Act, section 1452(a)(4).

(d) This term and condition shall be applied in a manner consistent with United States obligations
under international agreements.

Q. State Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this
assistance agreement, it will protect the data by following all applicable State law cybersecurity
requirements.

(b) (1) EPA must ensure that any connections between the recipient’s network or information system
and EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory,
user-controlled connections such as website browsing are excluded from this definition.

If the recipient’s connections as defined above do not go through the Environmental Information
Exchange Network or EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to
ensure that the connections meet EPA security requirements, including entering into Interconnection
Service Agreements as appropriate. This condition does not apply to manual entry of data by the
recipient into systems operated and used by EPA’s regulatory programs for the submission of
reporting and/or compliance data.

(2) The recipient agrees that any sub-awards it makes under this agreement will require the
subrecipient to comply with the requirements in (b)(1) if the sub-recipient’s network or information
system is connected to EPA networks to transfer data to the Agency using systems other than the
Environmental Information Exchange Network or EPA’s Central Data Exchange. The recipient will be
in compliance with this condition: by including this requirement in sub-award agreements; and during
subrecipient monitoring deemed necessary by the recipient under 2 CFR 200.331(d), by inquiring
whether the subrecipient has contacted the EPA Project Officer. Nothing in this condition requires the
recipient to contact the EPA Project Officer on behalf of a subrecipient or to be involved in the
negotiation of an Interconnection Service Agreement between the subrecipient and EPA.

R. Internal Controls for Financial Transactions
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The recipient agrees to use procedures consistent with “zero-trust” (never trust, always verify) for all
financial transactions with SRF funds. These procedures must include verbal verification with a
trusted recipient representative of all financial account information both initially and prior to any
changes in financial account information.

S. Wage Rate Requirements

The recipient agrees to include in all agreements to provide assistance for any construction project
carried out in whole or in part with such assistance made available by a drinking water revolving loan
fund as authorized by section 1452 of the Safe Drinking Water Act (42 U.S.C. 300j-12), a term and
condition requiring compliance with the requirements of section 1450(e) of the Safe Drinking Water
Act (42 U.S.C.300j-9(e)) in all procurement contracts and sub-grants, and require that loan
recipients, procurement contractors and sub-grantees include such a term and condition in
subcontracts and other lower tiered transactions. All contracts and subcontracts for any construction
project carried out in whole or in part with assistance made available as stated herein shall insert in
full in any contract in excess of $2,000 the contract clauses as attached hereto entitled “Wage Rate
Requirements Under The Clean Water Act, Section 513 and the Safe Drinking Water Act, Section
1450(e).” This term and condition applies to all agreements to provide assistance under the
authorities referenced herein, whether in the form of a loan, bond purchase, grant, or any other
vehicle to provide financing for a project, where such agreements are executed on or after October
30, 2009.



Preamble

With respect to the DWSRF program, EPA provides capitalization grants to each State which in turn
provides sub grants or loans to eligible entities within the State. Typically, the sub recipients are
municipal or other local governmental entities that manage the funds. For these types of recipients,
the provisions set forth under Roman numeral I, below, shall apply. Although EPA and the State
remain responsible for ensuring sub recipients’ compliance with the wage rate requirements set forth
herein, those sub recipients shall have the primary responsibility to maintain payroll records as
described in Section I-3(ii)(A), below and for compliance as described in Section I-5.

Occasionally, the sub recipient may be a private for profit or not for profit entity. For these types of
recipients, the provisions set forth in Roman Numeral II, below, shall apply. Although EPA and the
State remain responsible for ensuring sub recipients’ compliance with the wage rate requirements
set forth herein, those sub recipients shall have the primary responsibility to maintain payroll records
as described in Section II-3(ii)(A), below and for compliance as described in Section II-5.
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                                           ATTACHMENT 1

I. Requirements Under Section 1452(a)(5) of the Safe Drinking Water Act For Sub recipients
That Are Governmental Entities:

The following terms and conditions specify how recipients will assist EPA in meeting its Davis-Bacon
(DB) responsibilities when DB applies to EPA awards of financial assistance with respect to State
recipients and sub recipients that are governmental entities. If a sub recipient has questions
regarding when DB applies, obtaining the correct DB wage determinations, DB provisions, or
compliance monitoring, it may contact the State recipient. If a State recipient needs guidance, the
recipient may contact EPA’s Suzanne Hersh at Hersh.Suzanne@epa.gov or 202-564-3361 for
guidance. The recipient or sub recipient may also obtain additional guidance from the U.S.
Department of Labor’s (DOL) website at http://www.dol.gov/whd/



1. Applicability of the DB prevailing wage requirements.

DB prevailing wage requirements apply to the construction, alteration, and repair of treatment works
carried out in whole or in part with assistance made available by a State water pollution control
revolving fund and to any construction project carried out in whole or in part by assistance made
available by a drinking water treatment revolving loan fund. If a sub recipient encounters a unique
situation at a site that presents uncertainties regarding DB applicability, the sub recipient must
discuss the situation with the recipient State before authorizing work on that site.

2. Obtaining Wage Determinations.

(a) Sub recipients shall obtain the wage determination for the locality in which a covered activity
subject to DB will take place prior to issuing requests for bids, proposals, quotes or other methods for
soliciting contracts (solicitation) for activities subject to DB. These wage determinations shall be
incorporated into solicitations and any subsequent contracts. Prime contracts must contain a
provision requiring that subcontractors follow the wage determination incorporated into the prime
contract.

           (i)        While the solicitation remains open, the sub recipient shall monitor
           https://sam.gov/ weekly to ensure that the wage determination contained in the solicitation
           remains current. The sub recipients shall amend the solicitation if DOL issues a
           modification more than 10 days prior to the closing date (i.e. bid opening) for the
           solicitation. If DOL modifies or supersedes the applicable wage determination less than
           10 days prior to the closing date, the sub recipients may request a finding from the State
           recipient that there is not a reasonable time to notify interested contractors of the
           modification of the wage determination. The State recipient will provide a report of its
           findings to the sub recipient.

           (ii)      If the sub recipient does not award the contract within 90 days of the closure of
           the solicitation, any modifications or supersedes DOL makes to the wage determination
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           contained in the solicitation shall be effective unless the State recipient, at the request of
           the sub recipient, obtains an extension of the 90-day period from DOL pursuant to 29
           CFR 1.6(c)(3)(iv). The sub recipient shall monitor https://sam.gov/ on a weekly basis if it
           does not award the contract within 90 days of closure of the solicitation to ensure that
           wage determinations contained in the solicitation remain current.

(b) If the sub recipient carries out activity subject to DB by issuing a task order, work assignment or
similar instrument to an existing contractor (ordering instrument) rather than by publishing a
solicitation, the sub recipient shall insert the appropriate DOL wage determination from
https://sam.gov/ into the ordering instrument.

(c) Sub recipients shall review all subcontracts subject to DB entered into by prime contractors to
verify that the prime contractor has required its subcontractors to include the applicable wage
determinations.

(d) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to a sub
recipient’s contract after the award of a contract or the issuance of an ordering instrument if DOL
determines that the sub recipient has failed to incorporate a wage determination or has used a wage
determination that clearly does not apply to the contract or ordering instrument. If this occurs, the
sub recipient shall either terminate the contract or ordering instrument and issue a revised solicitation
or ordering instrument or incorporate DOL’s wage determination retroactive to the beginning of the
contract or ordering instrument by change order. The sub recipient’s contractor must be
compensated for any increases in wages resulting from the use of DOL’s revised wage
determination.

3. Contract and Subcontract provisions.

(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in excess of
$2,000 which is entered into for the actual construction, alteration and/or repair, including painting
and decorating, of a treatment work under the CWSRF or a construction project carried out in whole
or in part with assistance made available by the DWSRF, and which is subject to the labor standards
provisions of any of the acts listed in § 5.1 or the Safe Drinking Water Act, Section 1452(a)(5), the
following clauses:

      (1) Minimum wages.

             (i) All laborers and mechanics employed or working upon the site of the work will be paid
             unconditionally and not less often than once a week, and without subsequent deduction
             or rebate on any account (except such payroll deductions as are permitted by
             regulations issued by the Secretary of Labor under the Copeland Act (29 CFR part 3)),
             the full amount of wages and bona fide fringe benefits (or cash equivalents thereof) due
             at time of payment computed at rates not less than those contained in the wage
             determination of the Secretary of Labor which is attached hereto and made a part
             hereof, regardless of any contractual relationship which may be alleged to exist between
             the contractor and such laborers and mechanics.

             Contributions made or costs reasonably anticipated for bona fide fringe benefits under
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      section 1(b)(2) of the DB Act on behalf of laborers or mechanics are considered wages
      paid to such laborers or mechanics, subject to the provisions of paragraph (a)(1)(iv) of
      this section; also, regular contributions made or costs incurred for more than a weekly
      period (but not less often than quarterly) under plans, funds, or programs which cover
      the particular weekly period, are deemed to be constructively made or incurred during
      such weekly period. Such laborers and mechanics shall be paid the appropriate wage
      rate and fringe benefits on the wage determination for the classification of work actually
      performed, without regard to skill, except as provided in § 5.5(a)(4). Laborers or
      mechanics performing work in more than one classification may be compensated at the
      rate specified for each classification for the time actually worked therein: Provided that
      the employer's payroll records accurately set forth the time spent in each classification in
      which work is performed. The wage determination (including any additional classification
      and wage rates conformed under paragraph (a)(1)(ii) of this section) and the DB poster
      (WH-1321) shall be posted at all times by the contractor and its subcontractors at the
      site of the work in a prominent and accessible place where it can be easily seen by the
      workers.

      Sub recipients may obtain wage determinations from the U.S. Department of Labor’s
      website, https://sam.gov/.

      (ii) (A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or
      mechanics, including helpers, which is not listed in the wage determination and which is
      to be employed under the contract shall be classified in conformance with the wage
      determination. The State award official shall approve a request for an additional
      classification and wage rate and fringe benefits therefore only when the following criteria
      have been met:

                  (1) The work to be performed by the classification requested is not
                  performed by a classification in the wage determination; and

                  (2) The classification is utilized in the area by the construction industry; and

                  (3) The proposed wage rate, including any bona fide fringe benefits, bears a
                  reasonable relationship to the wage rates contained in the wage
                  determination.

            (B) If the contractor and the laborers and mechanics to be employed in the
            classification (if known), or their representatives, and the sub recipient(s) agree on
            the classification and wage rate (including the amount designated for fringe
            benefits where appropriate), documentation of the action taken and the request,
            including the local wage determination shall be sent by the sub recipient (s) to the
            State award official. The State award official will transmit a completed
            conformance request form (SF-1444 or similar) and supporting materials to WHD-
            CBACONFORMANCE INCOMING@dol.gov and to the EPA DB Regional
            Coordinator concurrently. The Department of Labor Administrator, or an
            authorized representative, will approve, modify, or disapprove every additional
            classification request within 30 days of receipt and so advise the State award
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              official or will notify the State award official within the 30-day period that additional
              time is necessary.

              (C) In the event the contractor, the laborers or mechanics to be employed in the
              classification or their representatives, and the sub recipient(s) do not agree on the
              proposed classification and wage rate (including the amount designated for fringe
              benefits, where appropriate), documentation of the action taken and the request,
              including the local wage determination shall be sent by the sub recipient (s) to the
              State award official. The State award official will transmit a completed
              conformance request form (SF-1444 or similar) which indicates the State award
              official’s disagreement and supporting materials to WHD-
              CBACONFORMANCE INCOMING@dol.gov and to the EPA DB Regional
              Coordinator concurrently. The Department of Labor Administrator, or an
              authorized representative, will issue a determination within 30 days of receipt of
              the request and so advise the contracting officer or will notify the contracting
              officer within the 30-day period that additional time is necessary.

              (D) The wage rate (including fringe benefits where appropriate) determined
              pursuant to paragraphs (a)(1)(ii)(B) or (C) of this section, shall be paid to all
              workers performing work in the classification under this contract from the first day
              on which work is performed in the classification.

        (iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers
        or mechanics includes a fringe benefit which is not expressed as an hourly rate, the
        contractor shall either pay the benefit as stated in the wage determination or shall pay
        another bona fide fringe benefit or an hourly cash equivalent thereof.

        (iv) If the contractor does not make payments to a trustee or other third person, the
        contractor may consider as part of the wages of any laborer or mechanic the amount of
        any costs reasonably anticipated in providing bona fide fringe benefits under a plan or
        program, Provided, That the Secretary of Labor has found, upon the written request of
        the contractor, that the applicable standards of the DB Act have been met. The
        Secretary of Labor may require the contractor to set aside assets in a separate account
        for the meeting of obligations under the plan or program.

  (2) Withholding. The sub recipient(s), shall upon written request of the EPA Award Official or
  an authorized representative of the Department of Labor, withhold or cause to be withheld
  from the contractor under this contract or any other Federal contract with the same prime
  contractor, or any other federally-assisted contract subject to DB prevailing wage
  requirements, which is held by the same prime contractor, so much of the accrued payments
  or advances as may be considered necessary to pay laborers and mechanics, including
  apprentices, trainees, and helpers, employed by the contractor or any subcontractor the full
  amount of wages required by the contract. In the event of failure to pay any laborer or
  mechanic, including any apprentice, trainee, or helper, employed or working on the site of the
  work, all or part of the wages required by the contract, the EPA may, after written notice to the
  contractor, sponsor, applicant, or owner, take such action as may be necessary to cause the
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  suspension of any further payment, advance, or guarantee of funds until such violations have
  ceased.

  (3) Payrolls and basic records.

        (i) Payrolls and basic records relating thereto shall be maintained by the contractor
        during the course of the work and preserved for a period of three years thereafter for all
        laborers and mechanics working at the site of the work. Such records shall contain the
        name, address, and social security number of each such worker, his or her correct
        classification, hourly rates of wages paid (including rates of contributions or costs
        anticipated for bona fide fringe benefits or cash equivalents thereof of the types
        described in section 1(b)(2)(B) of the DB Act), daily and weekly number of hours worked,
        deductions made and actual wages paid. Whenever the Secretary of Labor has found
        under 29 CFR 5.5(a)(1)(iv) that the wages of any laborer or mechanic include the
        amount of any costs reasonably anticipated in providing benefits under a plan or
        program described in section 1(b)(2)(B) of the DB Act, the contractor shall maintain
        records which show that the commitment to provide such benefits is enforceable, that
        the plan or program is financially responsible, and that the plan or program has been
        communicated in writing to the laborers or mechanics affected, and records which show
        the costs anticipated or the actual cost incurred in providing such benefits. Contractors
        employing apprentices or trainees under approved programs shall maintain written
        evidence of the registration of apprenticeship programs and certification of trainee
        programs, the registration of the apprentices and trainees, and the ratios and wage rates
        prescribed in the applicable programs.

        (ii)(A) The contractor shall submit weekly, for each week in which any contract work is
        performed, a copy of all payrolls to the sub recipient, that is, the entity that receives the
        sub-grant or loan from the State capitalization grant recipient. Such documentation shall
        be available on request of the State recipient or EPA. As to each payroll copy received,
        the sub recipient shall provide written confirmation in a form satisfactory to the State
        indicating whether or not the project is in compliance with the requirements of 29 CFR
        5.5(a)(1) based on the most recent payroll copies for the specified week. The payrolls
        shall set out accurately and completely all of the information required to be maintained
        under 29 CFR 5.5(a)(3)(i), except that full social security numbers and home addresses
        shall not be included on the weekly payrolls. Instead, the payrolls shall only need to
        include an individually identifying number for each employee (e.g., the last four digits of
        the employee's social security number). The required weekly payroll information may be
        submitted in any form desired. Optional Form WH-347 is available for this purpose from
        the Wage and Hour Division website at http://www.dol.gov/whd/forms/wh347instr.htm or
        its successor site.

        The prime contractor is responsible for the submission of copies of payrolls by all
        subcontractors. Contractors and subcontractors shall maintain the full social security
        number and current address of each covered worker and shall provide them upon
        request to the sub recipient(s) for transmission to the State or EPA if requested by EPA,
        the State, the contractor, or the Wage and Hour Division of the Department of Labor for
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      purposes of an investigation or audit of compliance with prevailing wage requirements. It
      is not a violation of this section for a prime contractor to require a subcontractor to
      provide addresses and social security numbers to the prime contractor for its own
      records, without weekly submission to the sub recipient(s).

            (B) Each payroll submitted shall be accompanied by a “Statement of Compliance,”
            signed by the contractor or subcontractor or his or her agent who pays or
            supervises the payment of the persons employed under the contract and shall
            certify the following:

                  (1) That the payroll for the payroll period contains the information required to
                  be provided under § 5.5 (a)(3)(ii) of Regulations, 29 CFR part 5, the
                  appropriate information is being maintained under § 5.5 (a)(3)(i) of
                  Regulations, 29 CFR part 5, and that such information is correct and
                  complete;

                  (2) That each laborer or mechanic (including each helper, apprentice, and
                  trainee) employed on the contract during the payroll period has been paid
                  the full weekly wages earned, without rebate, either directly or indirectly, and
                  that no deductions have been made either directly or indirectly from the full
                  wages earned, other than permissible deductions as set forth in
                  Regulations, 29 CFR part 3;

                  (3) That each laborer or mechanic has been paid not less than the
                  applicable wage rates and fringe benefits or cash equivalents for the
                  classification of work performed, as specified in the applicable wage
                  determination incorporated into the contract.

            (C) The weekly submission of a properly executed certification set forth on the
            reverse side of Optional Form WH-347 shall satisfy the requirement for
            submission of the “Statement of Compliance” required by paragraph (a)(3)(ii)(B) of
            this section.

            (D) The falsification of any of the above certifications may subject the contractor or
            subcontractor to civil or criminal prosecution under section 1001 of title 18 and
            section 231 of title 31 of the United States Code.

      (iii) The contractor or subcontractor shall make the records required under paragraph
      (a)(3)(i) of this section available for inspection, copying, or transcription by authorized
      representatives of the State, EPA or the Department of Labor, and shall permit such
      representatives to interview employees during working hours on the job. If the contractor
      or subcontractor fails to submit the required records or to make them available, the EPA
      or State may, after written notice to the contractor, sponsor, applicant, or owner, take
      such action as may be necessary to cause the suspension of any further payment,
      advance, or guarantee of funds. Furthermore, failure to submit the required records upon
      request or to make such records available may be grounds for debarment action
      pursuant to 29 CFR 5.12.
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  (4) Apprentices and trainees

        (i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate
        for the work they performed when they are employed pursuant to and individually
        registered in a bona fide apprenticeship program registered with the U.S. Department of
        Labor, Employment and Training Administration, Office of Apprenticeship Training,
        Employer and Labor Services, or with a State Apprenticeship Agency recognized by the
        Office, or if a person is employed in his or her first 90 days of probationary employment
        as an apprentice in such an apprenticeship program, who is not individually registered in
        the program, but who has been certified by the Office of Apprenticeship Training,
        Employer and Labor Services or a State Apprenticeship Agency (where appropriate) to
        be eligible for probationary employment as an apprentice. The allowable ratio of
        apprentices to journeymen on the job site in any craft classification shall not be greater
        than the ratio permitted to the contractor as to the entire work force under the registered
        program. Any worker listed on a payroll at an apprentice wage rate, who is not registered
        or otherwise employed as stated above, shall be paid not less than the applicable wage
        rate on the wage determination for the classification of work actually performed. In
        addition, any apprentice performing work on the job site in excess of the ratio permitted
        under the registered program shall be paid not less than the applicable wage rate on the
        wage determination for the work actually performed. Where a contractor is performing
        construction on a project in a locality other than that in which its program is registered,
        the ratios and wage rates (expressed in percentages of the journeyman's hourly rate)
        specified in the contractor's or subcontractor's registered program shall be observed.
        Every apprentice must be paid at not less than the rate specified in the registered
        program for the apprentice's level of progress, expressed as a percentage of the
        journeymen hourly rate specified in the applicable wage determination. Apprentices shall
        be paid fringe benefits in accordance with the provisions of the apprenticeship program.
        If the apprenticeship program does not specify fringe benefits, apprentices must be paid
        the full amount of fringe benefits listed on the wage determination for the applicable
        classification. If the Administrator determines that a different practice prevails for the
        applicable apprentice classification, fringes shall be paid in accordance with that
        determination. In the event the Office of Apprenticeship Training, Employer and Labor
        Services, or a State Apprenticeship Agency recognized by the Office, withdraws
        approval of an apprenticeship program, the contractor will no longer be permitted to
        utilize apprentices at less than the applicable predetermined rate for the work performed
        until an acceptable program is approved.

        (ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at
        less than the predetermined rate for the work performed unless they are employed
        pursuant to and individually registered in a program which has received prior approval,
        evidenced by formal certification by the U.S. Department of Labor, Employment and
        Training Administration. The ratio of trainees to journeymen on the job site shall not be
        greater than permitted under the plan approved by the Employment and Training
        Administration. Every trainee must be paid at not less than the rate specified in the
        approved program for the trainee's level of progress, expressed as a percentage of the
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         journeyman hourly rate specified in the applicable wage determination. Trainees shall be
         paid fringe benefits in accordance with the provisions of the trainee program. If the
         trainee program does not mention fringe benefits, trainees shall be paid the full amount
         of fringe benefits listed on the wage determination unless the Administrator of the Wage
         and Hour Division determines that there is an apprenticeship program associated with
         the corresponding journeyman wage rate on the wage determination which provides for
         less than full fringe benefits for apprentices. Any employee listed on the payroll at a
         trainee rate who is not registered and participating in a training plan approved by the
         Employment and Training Administration shall be paid not less than the applicable wage
         rate on the wage determination for the classification of work actually performed. In
         addition, any trainee performing work on the job site in excess of the ratio permitted
         under the registered program shall be paid not less than the applicable wage rate on the
         wage determination for the work actually performed. In the event the Employment and
         Training Administration withdraws approval of a training program, the contractor will no
         longer be permitted to utilize trainees at less than the applicable predetermined rate for
         the work performed until an acceptable program is approved.

         (iii) Equal employment opportunity. The utilization of apprentices, trainees and
         journeymen under this part shall be in conformity with the equal employment opportunity
         requirements of Executive Order 11246, as amended and 29 CFR part 30.

  (5) Compliance with Copeland Act requirements. The contractor shall comply with the
  requirements of 29 CFR part 3, which are incorporated by reference in this contract.

  (6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses
  contained in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA determines
  may by appropriate, and also a clause requiring the subcontractors to include these clauses in
  any lower tier subcontracts. The prime contractor shall be responsible for the compliance by
  any subcontractor or lower tier subcontractor with all the contract clauses in 29 CFR 5.5.

  (7) Contract termination; debarment. A breach of the contract clauses in 29 CFR 5.5 may be
  grounds for termination of the contract, and for debarment as a contractor and a subcontractor
  as provided in 29 CFR 5.12.

  (8) Compliance with DB and Related Act requirements. All rulings and interpretations of the DB
  and Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by reference
  in this contract.

  (9) Disputes concerning labor standards. Disputes arising out of the labor standards provisions
  of this contract shall not be subject to the general disputes clause of this contract. Such
  disputes shall be resolved in accordance with the procedures of the Department of Labor set
  forth in 29 CFR parts 5, 6, and 7. Disputes within the meaning of this clause include disputes
  between the contractor (or any of its subcontractors) and sub recipient(s), State, EPA, the U.S.
  Department of Labor, or the employees or their representatives.

  (10) Certification of eligibility.
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            (i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor
            any person or firm who has an interest in the contractor's firm is a person or firm
            ineligible to be awarded Government contracts by virtue of section 3(a) of the DB Act or
            29 CFR 5.12(a)(1).

            (ii) No part of this contract shall be subcontracted to any person or firm ineligible for
            award of a Government contract by virtue of section 3(a) of the DB Act or 29 CFR
            5.12(a)(1).

            (iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18
            U.S.C. 1001.

4. Contract Provision for Contracts in Excess of $100,000.

(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the following
clauses set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any contract in an
amount in excess of $100,000 and subject to the overtime provisions of the Contract Work Hours
and Safety Standards Act. These clauses shall be inserted in addition to the clauses required by Item
3, above or 29 CFR 4.6. As used in this paragraph, the terms laborers and mechanics include
watchmen and guards.

      (1) Overtime requirements. No contractor or subcontractor contracting for any part of the
      contract work which may require or involve the employment of laborers or mechanics shall
      require or permit any such laborer or mechanic in any workweek in which he or she is
      employed on such work to work in excess of forty hours in such workweek unless such laborer
      or mechanic receives compensation at a rate not less than one and one-half times the basic
      rate of pay for all hours worked in excess of forty hours in such workweek.

      (2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of the
      clause set forth in paragraph (a)(1) of this section the contractor and any subcontractor
      responsible therefore shall be liable for the unpaid wages. In addition, such contractor and
      subcontractor shall be liable to the United States (in the case of work done under contract for
      the District of Columbia or a territory, to such District or to such territory), for liquidated
      damages. Such liquidated damages shall be computed with respect to each individual laborer
      or mechanic, including watchmen and guards, employed in violation of the clause set forth in
      paragraph (a)(1) of this section, in the sum of $29 for each calendar day on which such
      individual was required or permitted to work in excess of the standard workweek of forty hours
      without payment of the overtime wages required by the clause set forth in paragraph (a)(1) of
      this section.

      (3) Withholding for unpaid wages and liquidated damages. The sub recipient, upon written
      request of the EPA Award Official or an authorized representative of the Department of Labor,
      shall withhold or cause to be withheld, from any moneys payable on account of work
      performed by the contractor or subcontractor under any such contract or any other Federal
      contract with the same prime contractor, or any other federally-assisted contract subject to the
      Contract Work Hours and Safety Standards Act, which is held by the same prime contractor,
      such sums as may be determined to be necessary to satisfy any liabilities of such contractor or
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      subcontractor for unpaid wages and liquidated damages as provided in the clause set forth in
      paragraph (a)(2) of this section.

      (4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses
      set forth in paragraph (a)(1) through (4) of this section and also a clause requiring the
      subcontractors to include these clauses in any lower tier subcontracts. The prime contractor
      shall be responsible for compliance by any subcontractor or lower tier subcontractor with the
      clauses set forth in paragraphs (a)(1) through (4) of this section.

(b) In addition to the clauses contained in Item 3, above, in any contract subject only to the Contract
Work Hours and Safety Standards Act and not to any of the other statutes cited in 29 CFR 5.1, the
Sub recipient shall insert a clause requiring that the contractor or subcontractor shall maintain
payrolls and basic payroll records during the course of the work and shall preserve them for a period
of three years from the completion of the contract for all laborers and mechanics, including guards
and watchmen, working on the contract. Such records shall contain the name and address of each
such employee, social security number, correct classifications, hourly rates of wages paid, daily and
weekly number of hours worked, deductions made, and actual wages paid. Further, the Sub recipient
shall insert in any such contract a clause providing that the records to be maintained under this
paragraph shall be made available by the contractor or subcontractor for inspection, copying, or
transcription by authorized representatives of the EPA and the Department of Labor, and the
contractor or subcontractor will permit such representatives to interview employees during working
hours on the job.

5. Compliance Verification

(a) The sub recipient shall periodically interview a sufficient number of employees entitled to DB
prevailing wages (covered employees) to verify that contractors or subcontractors are paying the
appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be conducted in
confidence. The sub recipient must use Standard Form 1445 (SF 1445) or equivalent documentation
to memorialize the interviews. Copies of the SF 1445 are available from EPA on request.

(b) The sub recipient shall establish and follow an interview schedule based on its assessment of the
risks of noncompliance with DB posed by contractors or subcontractors and the duration of the
contract or subcontract. Sub recipients must conduct more frequent interviews if the initial interviews
or other information indicated that there is a risk that the contractor or subcontractor is not complying
with DB.

Sub recipients shall immediately conduct interviews in response to an alleged violation of the
prevailing wage requirements. All interviews shall be conducted in confidence.

(c) The sub recipient shall periodically conduct spot checks of a representative sample of weekly
payroll data to verify that contractors or subcontractors are paying the appropriate wage rates. The
sub recipient shall establish and follow a spot check schedule based on its assessment of the risks of
noncompliance with DB posed by contractors or subcontractors and the duration of the contract or
subcontract. At a minimum, if practicable, the sub recipient should spot check payroll data within two
weeks of each contractor or subcontractor’s submission of its initial payroll data and two weeks prior
to the completion date the contract or subcontract. Sub recipients must conduct more frequent spot
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checks if the initial spot check or other information indicates that there is a risk that the contractor or
subcontractor is not complying with DB. In addition, during the examinations the sub recipient shall
verify evidence of fringe benefit plans and payments there under by contractors and subcontractors
who claim credit for fringe benefit contributions.

(d) The sub recipient shall periodically review contractor’s and subcontractor’s use of apprentices
and trainees to verify registration and certification with respect to apprenticeship and training
programs approved by either the U.S Department of Labor or a state, as appropriate, and that
contractors and subcontractors are not using disproportionate numbers of, laborers, trainees and
apprentices. These reviews shall be conducted in accordance with the schedules for spot checks
and interviews described in Item 5(b) and (c) above.

(e) Sub recipients must immediately report potential violations of the DB prevailing wage
requirements to the EPA DB contact listed above and to the appropriate DOL Wage and Hour District
Office listed at https://www.dol.gov/agencies/whd/contact/local-offices.



II. Requirements Under Section 1452(a)(5) of the Safe Drinking Water Act For Sub recipients
That Are Not Governmental Entities:

The following terms and conditions specify how recipients will assist EPA in meeting its DB
responsibilities when DB applies to EPA awards of financial assistance under the Safe Drinking
Water Act, Section 1452(a)(5) with respect to sub recipients that are not governmental entities. If a
sub recipient has questions regarding when DB applies, obtaining the correct DB wage
determinations, DB provisions, or compliance monitoring, it may contact the State recipient for
guidance. If a State recipient needs guidance, the recipient may contact Suzanne Hersh at
Hersh.Suzanne@epa.gov or 202-564-3361, EPA Office of Grants and Debarment for guidance.
The recipient or sub recipient may also obtain additional guidance from DOL’s website at
http://www.dol.gov/whd/

Under these terms and conditions, the sub recipient must submit its proposed DB wage
determinations to the State recipient for approval prior to including the wage determination in
any solicitation, contract task orders, work assignments, or similar instruments to existing
contractors.

1. Applicability of the Davis- Bacon (DB) prevailing wage requirements.

Under the Safe Drinking Water Act, Section 1452(a)(5), DB prevailing wage requirements apply to
the construction, alteration, and repair of treatment works carried out in whole or in part with
assistance made available by a State water pollution control revolving fund and to any construction
project carried out in whole or in part by assistance made available by a drinking water treatment
revolving loan fund. If a sub recipient encounters a unique situation at a site that presents
uncertainties regarding DB applicability, the sub recipient must discuss the situation with the recipient
State before authorizing work on that site.

2. Obtaining Wage Determinations.
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(a) Sub recipients must obtain proposed wage determinations for specific localities at
https://sam.gov/. After the sub recipient obtains its proposed wage determination, it must submit the
wage determination to the State recipient for approval prior to inserting the wage determination into a
solicitation, contract or issuing task orders, work assignments or similar instruments to existing
contractors (ordering instruments unless subsequently directed otherwise by the State recipient
Award Official.)

(b) Sub recipients shall obtain the wage determination for the locality in which a covered activity
subject to DB will take place prior to issuing requests for bids, proposals, quotes or other methods for
soliciting contracts (solicitation) for activities subject to DB. These wage determinations shall be
incorporated into solicitations and any subsequent contracts. Prime contracts must contain a
provision requiring that subcontractors follow the wage determination incorporated into the prime
contract.

           (i)        While the solicitation remains open, the sub recipient shall monitor
           https://sam.gov/ on a weekly basis to ensure that the wage determination contained in the
           solicitation remains current. The sub recipients shall amend the solicitation if DOL issues
           a modification more than 10 days prior to the closing date (i.e. bid opening) for the
           solicitation. If DOL modifies or supersedes the applicable wage determination less than
           10 days prior to the closing date, the sub recipients may request a finding from the State
           recipient that there is not a reasonable time to notify interested contractors of the
           modification of the wage determination. The State recipient will provide a report of its
           findings to the sub recipient.

           (ii)      If the sub recipient does not award the contract within 90 days of the closure of
           the solicitation, any modifications or supersedes DOL makes to the wage determination
           contained in the solicitation shall be effective unless the State recipient, at the request of
           the sub recipient, obtains an extension of the 90-day period from DOL pursuant to 29
           CFR 1.6(c)(3)(iv). The sub recipient shall monitor https://sam.gov/ on a weekly basis if it
           does not award the contract within 90 days of closure of the solicitation to ensure that
           wage determinations contained in the solicitation remain current.

(c) If the sub recipient carries out activity subject to DB by issuing a task order, work assignment or
similar instrument to an existing contractor (ordering instrument) rather than by publishing a
solicitation, the sub recipient shall insert the appropriate DOL wage determination from
https://sam.gov/ into the ordering instrument.

(d) Sub recipients shall review all subcontracts subject to DB entered into by prime contractors to
verify that the prime contractor has required its subcontractors to include the applicable wage
determinations.

(e) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to a sub
recipient’s contract after the award of a contract or the issuance of an ordering instrument if DOL
determines that the sub recipient has failed to incorporate a wage determination or has used a wage
determination that clearly does not apply to the contract or ordering instrument. If this occurs, the
sub recipient shall either terminate the contract or ordering instrument and issue a revised solicitation
or ordering instrument or incorporate DOL’s wage determination retroactive to the beginning of the
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contract or ordering instrument by change order. The sub recipient’s contractor must be
compensated for any increases in wages resulting from the use of DOL’s revised wage
determination.

3. Contract and Subcontract provisions.

(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in excess of
$2,000 which is entered into for the actual construction, alteration and/or repair, including painting
and decorating, of a treatment work under the CWSRF or a construction project carried out in whole
or in part with assistance made available by the DWSRF, and which is subject to the labor standards
provisions of any of the acts listed in § 5.1 or the Safe Drinking Water Act, Section 1452(a)(5), the
following clauses:

      (1) Minimum wages.

             (i) All laborers and mechanics employed or working upon the site of the work, will be
             paid unconditionally and not less often than once a week, and without subsequent
             deduction or rebate on any account (except such payroll deductions as are permitted by
             regulations issued by the Secretary of Labor under the Copeland Act (29 CFR part 3) ),
             the full amount of wages and bona fide fringe benefits (or cash equivalents thereof) due
             at time of payment computed at rates not less than those contained in the wage
             determination of the Secretary of Labor which is attached hereto and made a part
             hereof, regardless of any contractual relationship which may be alleged to exist between
             the contractor and such laborers and mechanics.

             Contributions made or costs reasonably anticipated for bona fide fringe benefits under
             section 1(b)(2) of the DB Act on behalf of laborers or mechanics are considered wages
             paid to such laborers or mechanics, subject to the provisions of paragraph (a)(1)(iv) of
             this section; also, regular contributions made or costs incurred for more than a weekly
             period (but not less often than quarterly) under plans, funds, or programs which cover
             the particular weekly period, are deemed to be constructively made or incurred during
             such weekly period. Such laborers and mechanics shall be paid the appropriate wage
             rate and fringe benefits on the wage determination for the classification of work actually
             performed, without regard to skill, except as provided in § 5.5(a)(4). Laborers or
             mechanics performing work in more than one classification may be compensated at the
             rate specified for each classification for the time actually worked therein: Provided, that
             the employer's payroll records accurately set forth the time spent in each classification in
             which work is performed. The wage determination (including any additional classification
             and wage rates conformed under paragraph (a)(1)(ii) of this section) and the DB poster
             (WH-1321) shall be posted at all times by the contractor and its subcontractors at the
             site of the work in a prominent and accessible place where it can be easily seen by the
             workers.

             Sub recipients may obtain wage determinations from DOL’s website, https://sam.gov/.
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      (ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or
      mechanics, including helpers, which is not listed in the wage determination and which is
      to be employed under the contract shall be classified in conformance with the wage
      determination. The State award official shall approve a request for an additional
      classification and wage rate and fringe benefits therefore only when the following criteria
      have been met:

                  (1) The work to be performed by the classification requested is not
                  performed by a classification in the wage determination; and

                  (2) The classification is utilized in the area by the construction industry; and

                  (3) The proposed wage rate, including any bona fide fringe benefits, bears a
                  reasonable relationship to the wage rates contained in the wage
                  determination.

            (B) If the contractor and the laborers and mechanics to be employed in the
            classification (if known), or their representatives, and the sub recipient(s) agree on
            the classification and wage rate (including the amount designated for fringe
            benefits where appropriate), documentation of the action taken and the request,
            including the local wage determination shall be sent by the sub recipient(s) to the
            State award official. The State award official will transmit a completed
            conformance request form (SF-1444 or similar) and supporting materials to WHD-
            CBACONFORMANCE INCOMING@dol.gov and to the EPA DB Regional
            Coordinator concurrently. The Department of Labor Administrator, or an
            authorized representative, will approve, modify, or disapprove every additional
            classification request within 30 days of receipt and so advise the State award
            official or will notify the State award official within the 30-day period that additional
            time is necessary.

            (C) In the event the contractor, the laborers or mechanics to be employed in the
            classification or their representatives, and the sub recipient(s) do not agree on the
            proposed classification and wage rate (including the amount designated for fringe
            benefits, where appropriate), documentation of the action taken and the request,
            including the local wage determination shall be sent by the sub recipient (s) to the
            State award official. The State award official will transmit a completed
            conformance request form (SF-1444 or similar) which indicates the State award
            official’s disagreement and supporting materials to WHD-
            CBACONFORMANCE INCOMING@dol.gov, and to the EPA DB Regional
            Coordinator concurrently. The Department of Labor Administrator, or an
            authorized representative, will issue a determination within 30 days of receipt of
            the request and so advise the contracting officer or will notify the contracting
            officer within the 30-day period that additional time is necessary.

            (D) The wage rate (including fringe benefits where appropriate) determined
            pursuant to paragraphs (a)(1)(ii)(B) or (C) of this section, shall be paid to all
            workers performing work in the classification under this contract from the first day
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              on which work is performed in the classification.

        (iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers
        or mechanics includes a fringe benefit which is not expressed as an hourly rate, the
        contractor shall either pay the benefit as stated in the wage determination or shall pay
        another bona fide fringe benefit or an hourly cash equivalent thereof.

        (iv) If the contractor does not make payments to a trustee or other third person, the
        contractor may consider as part of the wages of any laborer or mechanic the amount of
        any costs reasonably anticipated in providing bona fide fringe benefits under a plan or
        program, Provided, That the Secretary of Labor has found, upon the written request of
        the contractor, that the applicable standards of the DB Act have been met. The
        Secretary of Labor may require the contractor to set aside assets in a separate account
        for the meeting of obligations under the plan or program.

  (2) Withholding. The sub recipient(s) shall upon written request of the EPA Award Official or an
  authorized representative of the Department of Labor, withhold or cause to be withheld from
  the contractor under this contract or any other Federal contract with the same prime contractor,
  or any other federally-assisted contract subject to DB prevailing wage requirements, which is
  held by the same prime contractor, so much of the accrued payments or advances as may be
  considered necessary to pay laborers and mechanics, including apprentices, trainees, and
  helpers, employed by the contractor or any subcontractor the full amount of wages required by
  the contract. In the event of failure to pay any laborer or mechanic, including any apprentice,
  trainee, or helper, employed or working on the site of the work, all or part of the wages
  required by the contract, the EPA may, after written notice to the contractor, sponsor,
  applicant, or owner, take such action as may be necessary to cause the suspension of any
  further payment, advance, or guarantee of funds until such violations have ceased.

  (3) Payrolls and basic records.

        (i) Payrolls and basic records relating thereto shall be maintained by the contractor
        during the course of the work and preserved for a period of three years thereafter for all
        laborers and mechanics working at the site of the work. Such records shall contain the
        name, address, and social security number of each such worker, his or her correct
        classification, hourly rates of wages paid (including rates of contributions or costs
        anticipated for bona fide fringe benefits or cash equivalents thereof of the types
        described in section 1(b)(2)(B) of the DB Act), daily and weekly number of hours worked,
        deductions made and actual wages paid. Whenever the Secretary of Labor has found
        under 29 CFR 5.5(a)(1)(iv) that the wages of any laborer or mechanic include the
        amount of any costs reasonably anticipated in providing benefits under a plan or
        program described in section 1(b)(2)(B) of the DB Act, the contractor shall maintain
        records which show that the commitment to provide such benefits is enforceable, that
        the plan or program is financially responsible, and that the plan or program has been
        communicated in writing to the laborers or mechanics affected, and records which show
        the costs anticipated or the actual cost incurred in providing such benefits. Contractors
        employing apprentices or trainees under approved programs shall maintain written
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      evidence of the registration of apprenticeship programs and certification of trainee
      programs, the registration of the apprentices and trainees, and the ratios and wage rates
      prescribed in the applicable programs.



      (ii)(A) The contractor shall submit weekly, for each week in which any contract work is
      performed, a copy of all payrolls to the sub recipient, that is, the entity that receives the
      sub-grant or loan from the State capitalization grant recipient. Such documentation shall
      be available on request of the State recipient or EPA. As to each payroll copy received,
      the sub recipient shall provide written confirmation in a form satisfactory to the State
      indicating whether or not the project is in compliance with the requirements of 29 CFR
      5.5(a)(1) based on the most recent payroll copies for the specified week. The payrolls
      shall set out accurately and completely all of the information required to be maintained
      under 29 CFR 5.5(a)(3)(i), except that full social security numbers and home addresses
      shall not be included on the weekly payrolls. Instead, the payrolls shall only need to
      include an individually identifying number for each employee (e.g., the last four digits of
      the employee's social security number). The required weekly payroll information may be
      submitted in any form desired. Optional Form WH-347 is available for this purpose from
      the Wage and Hour Division website at http://www.dol.gov/whd/forms/wh347instr.htm or
      its successor site.

      The prime contractor is responsible for the submission of copies of payrolls by all
      subcontractors. Contractors and subcontractors shall maintain the full social security
      number and current address of each covered worker and shall provide them upon
      request to the sub recipient(s) for transmission to the State or EPA if requested by EPA,
      the State, the contractor, or the Wage and Hour Division of the Department of Labor for
      purposes of an investigation or audit of compliance with prevailing wage requirements. It
      is not a violation of this section for a prime contractor to require a subcontractor to
      provide addresses and social security numbers to the prime contractor for its own
      records, without weekly submission to the sub recipient(s).

            (B) Each payroll submitted shall be accompanied by a “Statement of Compliance,”
            signed by the contractor or subcontractor or his or her agent who pays or
            supervises the payment of the persons employed under the contract and shall
            certify the following:

                  (1) That the payroll for the payroll period contains the information required to
                  be provided under § 5.5 (a)(3)(ii) of Regulations, 29 CFR part 5, the
                  appropriate information is being maintained under § 5.5 (a)(3)(i) of
                  Regulations, 29 CFR part 5, and that such information is correct and
                  complete;

                  (2) That each laborer or mechanic (including each helper, apprentice, and
                  trainee) employed on the contract during the payroll period has been paid
                  the full weekly wages earned, without rebate, either directly or indirectly, and
                  that no deductions have been made either directly or indirectly from the full
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                    wages earned, other than permissible deductions as set forth in
                    Regulations, 29 CFR part 3;

                    (3) That each laborer or mechanic has been paid not less than the
                    applicable wage rates and fringe benefits or cash equivalents for the
                    classification of work performed, as specified in the applicable wage
                    determination incorporated into the contract.

              (C) The weekly submission of a properly executed certification set forth on the
              reverse side of Optional Form WH-347 shall satisfy the requirement for
              submission of the “Statement of Compliance” required by paragraph (a)(3)(ii)(B) of
              this section.

              (D) The falsification of any of the above certifications may subject the contractor or
              subcontractor to civil or criminal prosecution under section 1001 of title 18 and
              section 231 of title 31 of the United States Code.

        (iii) The contractor or subcontractor shall make the records required under paragraph
        (a)(3)(i) of this section available for inspection, copying, or transcription by authorized
        representatives of the State, EPA or the Department of Labor, and shall permit such
        representatives to interview employees during working hours on the job. If the contractor
        or subcontractor fails to submit the required records or to make them available, the EPA
        or State may, after written notice to the contractor, sponsor, applicant, or owner, take
        such action as may be necessary to cause the suspension of any further payment,
        advance, or guarantee of funds. Furthermore, failure to submit the required records upon
        request or to make such records available may be grounds for debarment action
        pursuant to 29 CFR 5.12.

  (4) Apprentices and trainees--

        (i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate
        for the work they performed when they are employed pursuant to and individually
        registered in a bona fide apprenticeship program registered with the DOL, Employment
        and Training Administration, Office of Apprenticeship Training, Employer and Labor
        Services, or with a State Apprenticeship Agency recognized by the Office, or if a person
        is employed in his or her first 90 days of probationary employment as an apprentice in
        such an apprenticeship program, who is not individually registered in the program, but
        who has been certified by the Office of Apprenticeship Training, Employer and Labor
        Services or a State Apprenticeship Agency (where appropriate) to be eligible for
        probationary employment as an apprentice. The allowable ratio of apprentices to
        journeymen on the job site in any craft classification shall not be greater than the ratio
        permitted to the contractor as to the entire work force under the registered program. Any
        worker listed on a payroll at an apprentice wage rate, who is not registered or otherwise
        employed as stated above, shall be paid not less than the applicable wage rate on the
        wage determination for the classification of work actually performed. In addition, any
        apprentice performing work on the job site in excess of the ratio permitted under the
        registered program shall be paid not less than the applicable wage rate on the wage
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      determination for the work actually performed. Where a contractor is performing
      construction on a project in a locality other than that in which its program is registered,
      the ratios and wage rates (expressed in percentages of the journeyman's hourly rate)
      specified in the contractor's or subcontractors registered program shall be observed.
      Every apprentice must be paid at not less than the rate specified in the registered
      program for the apprentice's level of progress, expressed as a percentage of the
      journeymen hourly rate specified in the applicable wage determination. Apprentices shall
      be paid fringe benefits in accordance with the provisions of the apprenticeship program.
      If the apprenticeship program does not specify fringe benefits, apprentices must be paid
      the full amount of fringe benefits listed on the wage determination for the applicable
      classification. If the Administrator determines that a different practice prevails for the
      applicable apprentice classification, fringes shall be paid in accordance with that
      determination. In the event the Office of Apprenticeship Training, Employer and Labor
      Services, or a State Apprenticeship Agency recognized by the Office, withdraws
      approval of an apprenticeship program, the contractor will no longer be permitted to
      utilize apprentices at less than the applicable predetermined rate for the work performed
      until an acceptable program is approved.

      (ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at
      less than the predetermined rate for the work performed unless they are employed
      pursuant to and individually registered in a program which has received prior approval,
      evidenced by formal certification by the DOL, Employment and Training Administration.
      The ratio of trainees to journeymen on the job site shall not be greater than permitted
      under the plan approved by the Employment and Training Administration. Every trainee
      must be paid at not less than the rate specified in the approved program for the trainee's
      level of progress, expressed as a percentage of the journeyman hourly rate specified in
      the applicable wage determination. Trainees shall be paid fringe benefits in accordance
      with the provisions of the trainee program. If the trainee program does not mention fringe
      benefits, trainees shall be paid the full amount of fringe benefits listed on the wage
      determination unless the Administrator of the Wage and Hour Division determines that
      there is an apprenticeship program associated with the corresponding journeyman wage
      rate on the wage determination which provides for less than full fringe benefits for
      apprentices. Any employee listed on the payroll at a trainee rate who is not registered
      and participating in a training plan approved by the Employment and Training
      Administration shall be paid not less than the applicable wage rate on the wage
      determination for the classification of work actually performed. In addition, any trainee
      performing work on the job site in excess of the ratio permitted under the registered
      program shall be paid not less than the applicable wage rate on the wage determination
      for the work actually performed. In the event the Employment and Training
      Administration withdraws approval of a training program, the contractor will no longer be
      permitted to utilize trainees at less than the applicable predetermined rate for the work
      performed until an acceptable program is approved.

      (iii) Equal employment opportunity. The utilization of apprentices, trainees and
      journeymen under this part shall be in conformity with the equal employment opportunity
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             requirements of Executive Order 11246, as amended and 29 CFR part 30.

      (5) Compliance with Copeland Act requirements. The contractor shall comply with the
      requirements of 29 CFR part 3, which are incorporated by reference in this contract.

      (6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses
      contained in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA determines
      may by appropriate, and also a clause requiring the subcontractors to include these clauses in
      any lower tier subcontracts. The prime contractor shall be responsible for the compliance by
      any subcontractor or lower tier subcontractor with all the contract clauses in 29 CFR 5.5.

      (7) Contract termination: debarment. A breach of the contract clauses in 29 CFR 5.5 may be
      grounds for termination of the contract, and for debarment as a contractor and a subcontractor
      as provided in 29 CFR 5.12.

      (8) Compliance with DB and Related Act requirements. All rulings and interpretations of the DB
      and Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by reference
      in this contract.

      (9) Disputes concerning labor standards. Disputes arising out of the labor standards provisions
      of this contract shall not be subject to the general disputes clause of this contract. Such
      disputes shall be resolved in accordance with the procedures of the Department of Labor set
      forth in 29 CFR parts 5, 6, and 7. Disputes within the meaning of this clause include disputes
      between the contractor (or any of its subcontractors) and Sub recipient(s), State, EPA, DOL, or
      the employees or their representatives.

      (10) Certification of eligibility.

             (i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor
             any person or firm who has an interest in the contractor's firm is a person or firm
             ineligible to be awarded Government contracts by virtue of section 3(a) of the DB Act or
             29 CFR 5.12(a)(1).

             (ii) No part of this contract shall be subcontracted to any person or firm ineligible for
             award of a Government contract by virtue of section 3(a) of the DB Act or 29 CFR
             5.12(a)(1).

             (iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18
             U.S.C. 1001.

4. Contract Provision for Contracts in Excess of $100,000.

(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the following
clauses set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any contract in an
amount in excess of $100,000 and subject to the overtime provisions of the Contract Work Hours
and Safety Standards Act. These clauses shall be inserted in addition to the clauses required by Item
3, above or 29 CFR 4.6. As used in this paragraph, the terms laborers and mechanics include
watchmen and guards.
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      (1) Overtime requirements. No contractor or subcontractor contracting for any part of the
      contract work which may require or involve the employment of laborers or mechanics shall
      require or permit any such laborer or mechanic in any workweek in which he or she is
      employed on such work to work in excess of forty hours in such workweek unless such laborer
      or mechanic receives compensation at a rate not less than one and one-half times the basic
      rate of pay for all hours worked in excess of forty hours in such workweek.

      (2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of the
      clause set forth in paragraph (b)(1) of this section the contractor and any subcontractor
      responsible therefore shall be liable for the unpaid wages. In addition, such contractor and
      subcontractor shall be liable to the United States (in the case of work done under contract for
      the District of Columbia or a territory, to such District or to such territory), for liquidated
      damages. Such liquidated damages shall be computed with respect to each individual laborer
      or mechanic, including watchmen and guards, employed in violation of the clause set forth in
      paragraph (b)(1) of this section, in the sum of $29 for each calendar day on which such
      individual was required or permitted to work in excess of the standard workweek of forty hours
      without payment of the overtime wages required by the clause set forth in paragraph (b)(1) of
      this section.

      (3) Withholding for unpaid wages and liquidated damages. The sub recipient shall upon the
      request of the EPA Award Official or an authorized representative of the Department of Labor,
      withhold or cause to be withheld, from any moneys payable on account of work performed by
      the contractor or subcontractor under any such contract or any other Federal contract with the
      same prime contractor, or any other federally-assisted contract subject to the Contract Work
      Hours and Safety Standards Act, which is held by the same prime contractor, such sums as
      may be determined to be necessary to satisfy any liabilities of such contractor or subcontractor
      for unpaid wages and liquidated damages as provided in the clause set forth in paragraph
      (a)(2) of this section.

      (4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses
      set forth in paragraph (a)(1) through (4) of this section and also a clause requiring the
      subcontractors to include these clauses in any lower tier subcontracts. The prime contractor
      shall be responsible for compliance by any subcontractor or lower tier subcontractor with the
      clauses set forth in paragraphs (a)(1) through (4) of this section.


(b) In addition to the clauses contained in Item 3, above, in any contract subject only to the Contract
Work Hours and Safety Standards Act and not to any of the other statutes cited in 29 CFR 5.1, the
Sub recipient shall insert a clause requiring that the contractor or subcontractor shall maintain
payrolls and basic payroll records during the course of the work and shall preserve them for a period
of three years from the completion of the contract for all laborers and mechanics, including guards
and watchmen, working on the contract. Such records shall contain the name and address of each
such employee, social security number, correct classifications, hourly rates of wages paid, daily and
weekly number of hours worked, deductions made, and actual wages paid. Further, the Sub recipient
shall insert in any such contract a clause providing that the records to be maintained under this
paragraph shall be made available by the contractor or subcontractor for inspection, copying, or
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transcription by authorized representatives of the EPA and the Department of Labor, and the
contractor or subcontractor will permit such representatives to interview employees during working
hours on the job.

5. Compliance Verification

(a) The sub recipient shall periodically interview a sufficient number of employees entitled to DB
prevailing wages (covered employees) to verify that contractors or subcontractors are paying the
appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be conducted in
confidence. The sub recipient must use Standard Form 1445 (SF 1445) or equivalent documentation
to memorialize the interviews. Copies of the SF 1445 are available from EPA on request.

(b) The sub recipient shall establish and follow an interview schedule based on its assessment of the
risks of noncompliance with DB posed by contractors or subcontractors and the duration of the
contract or subcontract. Sub recipients must conduct more frequent interviews if the initial interviews
or other information indicated that there is a risk that the contractor or subcontractor is not complying
with DB. Sub recipients shall immediately conduct interviews in response to an alleged violation of
the prevailing wage requirements. All interviews shall be conducted in confidence.

(c). The sub recipient shall periodically conduct spot checks of a representative sample of weekly
payroll data to verify that contractors or subcontractors are paying the appropriate wage rates. The
sub recipient shall establish and follow a spot check schedule based on its assessment of the risks of
noncompliance with DB posed by contractors or subcontractors and the duration of the contract or
subcontract. At a minimum, if practicable the sub recipient should spot check payroll data within two
weeks of each contractor or subcontractor’s submission of its initial payroll data and two weeks prior
to the completion date the contract or subcontract. Sub recipients must conduct more frequent spot
checks if the initial spot check or other information indicates that there is a risk that the contractor or
subcontractor is not complying with DB. In addition, during the examinations the sub recipient shall
verify evidence of fringe benefit plans and payments there under by contractors and subcontractors
who claim credit for fringe benefit contributions.

(d). The sub recipient shall periodically review contractors and subcontractors use of apprentices
and trainees to verify registration and certification with respect to apprenticeship and training
programs approved by either the U.S Department of Labor or a state, as appropriate, and that
contractors and subcontractors are not using disproportionate numbers of, laborers, trainees and
apprentices. These reviews shall be conducted in accordance with the schedules for spot checks
and interviews described in Item 5(b) and (c) above.

(e) Sub recipients must immediately report potential violations of the DB prevailing wage
requirements to the EPA DB contact listed above and to the appropriate DOL Wage and Hour District
Office listed at https://www.dol.gov/agencies/whd/contact/local-offices.
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                                                         EPA Funding Information
            FUNDS                                         FORMER AWARD                                  THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                      $0                            $63,895,000                               $63,895,000
EPA In-Kind Amount                                                          $0                                      $0                                        $0
Unexpended Prior Year Balance                                               $0                                      $0                                        $0
Other Federal Funds                                                         $0                                      $0                                        $0
Recipient Contribution                                                      $0                             $6,389,500                                $6,389,500
State Contribution                                                          $0                                      $0                                        $0
Local Contribution                                                          $0                                      $0                                        $0
Other Contribution                                                          $0                                      $0                                        $0
Allowable Project Cost                                                      $0                            $70,284,500                               $70,284,500



Assistance Program (CFDA)                           Statutory Authority                                    Regulatory Authority
66.468 - Capitalization Grants for Drinking Water   Safe Drinking Water Act: Sec. 1452 &                   2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR 35
State Revolving Funds                               Infrastructure Investment and Jobs Act (IIJA) (PL      Subpart L
                                                    117-58)




                                                                           Fiscal
           Site Name                   Req No       FY     Approp.          Budget        PRC           Object   Site/Project      Cost            Obligation /
                                                            Code          Oganization                   Class                   Organization       Deobligation
-                                   2305PWX032       23        E3SD              05P1   000B81X70        4109            23DD                  -     $2,555,800
-                                   2305PWX032       23        E3SD              05P1   000B81X70        4109            23DA                  -    $61,339,200
                                                                                                                                                    $63,895,000
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                          Attachment 1 - Project Description
This agreement provides funding to Illinois EPA. Section 1452 of the Safe Drinking Water
Act (SDWA) and Infrastructure Investment and Jobs Act (IIJA) PL 117-58 authorizes the
state to utilize funds to further the health protection objectives of SDWA. This agreement will
provide funds to capitalize the recipient’s Drinking Water State Revolving Fund (DWSRF).
As part of this agreement, the state ensures compliance with federal and state regulations,
which are designed to protect public health.
The bulk of the State Revolving Fund (SRF) will be used for loans and other authorized
assistance to public water systems for eligible projects, including improving drinking water
treatment, water distribution, improving source of water supply, replacing or constructing
finished water storage tanks, and other infrastructure projects needed to protect public
health. The recipient may also use some of the funding for specific "set-asides"; to provide
technical assistance to small systems, program administration, state program management
and other allowable uses. The benefits of this grant will be to capitalize the recipient’s
DWSRF. The fund can then be used to increase technical, financial and managerial capacity
of public water systems, and provide assurance of a cleaner and safer potable water supply
by funding improvements to multiple water infrastructure projects. These public health
benefits will be statewide. The Drinking Water SRF program is exempt from 2 CFR 200.332
subrecipient management requirements for sub-awards as provided in 2 CFR 1500. The
program provides assistance in the form of loans. Of this grant amount, IEPA will fund
$61,339,200 in loans in their Intended Use Plan, with the remaining $2,555,800 used for
program administration.
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                               Administrative Conditions
General Terms and Conditions
The recipient agrees to comply with the current EPA general terms and conditions available
at: https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2022-
or-later.
These terms and conditions are in addition to the assurances and certifications made as a
part of the award and the terms, conditions, or restrictions cited throughout the award.
The EPA repository for the general terms and conditions by year can be found at:
https://www.epa.gov/grants/grant-terms-and-conditions#general.
A. Correspondence Condition
The terms and conditions of this agreement require the submittal of reports, specific
requests for approval, or notifications to EPA. Unless otherwise noted, all such
correspondence should be sent to the following email addresses:

Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and tukes.michael@epa.gov
MBE/WBE reports (EPA Form 5700-52A): Michael Tukes – DBE Coordinator at
tukes.michael@epa.gov and region5closeouts@epa.gov.
All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for
Extensions of the Budget and Project Period, Amendment Requests, Requests for other
Prior Approvals, updates to recipient information (including email addresses, changes in
contact information or changes in authorized representatives) and other notifications:
Andrew Bielanski at bielanski.andrew@epa.gov and Michael Tukes at
tukes.michael@epa.gov.
Payment requests (if applicable): Andrew Bielanski at bielanski.andrew@epa.gov
Quality Assurance documents, workplan revisions, equipment lists, programmatic reports
and deliverables: Andrew Bielanski at bielanski.andrew@epa.gov
B. Pre-award Costs
In accordance with 2 CFR 1500.9, the grantee may charge pre-award costs (both Federal
and non-Federal matching shares) incurred from 7/1/2023 to the actual award date provided
that such costs were contained in the approved application and all costs are incurred within
the approved budget period.



                               Programmatic Conditions
FFY 2023 BIL/IIJA DWSRF General Supplemental Programmatic Terms and
Conditions
A. Payment Schedule
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The recipient agrees to accept grant funds that will be released by EPA utilizing the ASAP
payment method.
B. State Match
The recipeint agrees to deposit into its State Revolving Fund (SRF) a match equal to at 10
percent of the amount awarded in the capitalization grant.
C. Intended Use Plan and Operating Agreement
The entire contents of the Bipartisan Infrastructure Law (BIL)/Infrastructure Investments and
Jobs Act (IIJA) SFY 2023 Intended Use Plan (IUP) and (if applicable) the Operating
Agreement (OA) are incorporated hereto by reference and made a part of this Assistance
Agreement.
D. Amended Cash Draw Proportionality
As of November 18, 2022, recipients are no longer required to comply with the cash draw
rules in the Clean Water State Revolving Fund (CWSRF) regulations at 40 CFR
35.3155(d)(5)(i) and (ii) and 40 CFR 35.3160(b)(2)-(4) and Drinking Water State Revolving
Fund (DWSRF) regulations at 40 CFR 35.3560(f) and (g) and 40 CFR 35.3565(b). For
further details on this change, see the linked notification memo from Division Directors
Raffael Stein and Anita Maria Thompkins dated November 30, 2022.
E. Set-Aside Work Plan
The recipient agrees to perform the activities identified and specified in the work program
plan, which is made part of this Assistance Agreement.
F. Set-Aside Sub-Grants and Contracts
The recipient shall provide or make available to the EPA copies of the work plans associated
with grants and contracts that it may enter into with other agencies and organizations related
to activities conducted under this grant. In its semi-annual report, the grant recipient shall
include a summary description of activities completed under grants and contracts entered
into with funds made available under the grant.
G. Travel
EPA approves the use of Federal funds for travel budgeted in capitalization grants for
implementing the Drinking Water SRF (DWSRF) program. The recipient agrees to use
Federal funds to participate in training and professional development activities integral to the
effective implementation and management of the DWSRF program.
H. SRF Data System and Public Health Benefits Reporting
The recipient agrees to input data, as required by EPA, into the SRF Data System. The
recipient of funds for the State Revolving Funds (SRF) from the BIL, also known as the IIJA,
2021, P.L. 117-58, agrees to comply with all requests for data related to the use of the funds
under Section 1452 of the Safe Drinking Water Act (SDWA), and to report all uses of the
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funds no less than quarterly, as the Environmental Protection Agency specifies for the SRF
Data System. This reporting shall include but not be limited to data with respect to
compliance with the DWSRF discretionary Green Project Reserve and additional
subsidization requirements as specified in P.L. 117-328 (the Consolidated Appropriations
Act, 2023), and P.L. 117-58, respectively. EPA agrees to provide technical assistance to the
state in its use of the SRF Data System.
I. Annual Reporting
In accordance with 2 CFR 200.328 and 40 CFR 35.3570, the recipient agrees to provide in
its Annual Report information regarding key project characteristics, milestones, and
environmental/public health protection results in the following areas: 1) achievement of the
outputs and outcomes established in the IUP; 2) the reasons for delays if established
outputs or outcomes were not met; 3) any additional pertinent information on
environmental/public health results; 4) compliance with the Green Project Reserve
discretionary requirement; and 5) use of additional subsidization.
J. Set-Aside Reporting
The recipient agrees to provide to the EPA an annual report on the set-aside activities
funded under this grant. These reports shall be provided 90 days after the state fiscal
year of each year the grant is in effect.
K. Program Income from Administrative Fees
The recipient agrees to maintain program income resulting from program operations
generated during the project period (e.g., administrative fees collected from DWSRF project
loan recipients) in an account separate from the DWSRF project loan fund. In addition, the
recipient agrees that such program income shall be used only for purposes related to the
administration of the DWSRF program or other purposes authorized pursuant to EPA
regulations.
L. SIGNAGE
1. Signage Requirements
a. Investing in America Emblem: The recipient will ensure that a sign is placed at
construction sites supported in whole or in part by this award displaying the official Investing
in America emblem and must identify the project as a “project funded by President Biden’s
Bipartisan Infrastructure Law” or “project funded by President Biden’s Inflation Reduction
Act” as applicable. The sign must be placed at construction sites in an easily visible location
that can be directly linked to the work taking place and must be maintained in good condition
throughout the construction period.
The recipient will ensure compliance with the guidelines and design specifications provided
by EPA for using the official Investing in America emblem available at:
https://www.epa.gov/invest/investing-america-signage.
b. Procuring Signs: Consistent with section 6002 of RCRA, 42 U.S.C. 6962, and 2 CFR
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200.323, recipients are encouraged to use recycled or recovered materials when procuring
signs. Signage costs are considered an allowable cost under this assistance agreement
provided that the costs associated with signage are reasonable. Additionally, to increase
public awareness of projects serving communities where English is not the predominant
language, recipients are encouraged to translate the language on signs (excluding the
official Investing in America emblem or EPA logo or seal) into the appropriate non-English
language(s). The costs of such translation are allowable, provided the costs are reasonable.
2. Public or Media Events
EPA encourages the recipient to notify the EPA Project Officer listed in this award document
of public or media events publicizing the accomplishment of significant events related to
construction projects as a result of this agreement and provide the opportunity for
attendance and participation by federal representatives with at least ten (10) working days’
notice.
M. Full Lead Service Line Replacement
The recipient agrees to ensure that any project funded in whole or in part under this
capitalization grant involving lead service line replacement must replace the entire lead
service line, not just a portion, unless a portion has already been replaced or is concurrently
being replaced with another funding source.
N. Additional Subsidization
The recipient agrees to use 49 percent of the funds made available in the capitalization grant
to provide additional subsidy to disadvantaged communities as described in section 1452(d)
of the Safe Drinking Water Act (SDWA) in the form of forgiveness of principal or as grants
(or any combination of these), which shall be used only where such funds are provided as
initial financing for an eligible recipient or to buy, refinance, or restructure the debt
obligations of eligible recipients only where such debt was incurred after November 15,
2021.
O. Green Project Reserve
The recipient agrees that the funds provided by this capitalization grant may, at the
discretion of the recipient, be used for projects to address green infrastructure, water or
energy efficiency improvements, or other environmentally innovative activities.
P. Geospatial Data Standards
All geospatial data created must be consistent with Federal Geographic Data Committee
(FGDC) endorsed standards. Information on these standards may be found at
www.fgdc.gov.
Q. American Iron and Steel (AIS)
(a) Definitions. As used in this award term and condition—
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(1) “iron and steel products” means the following products made primarily of iron or steel:
lined or unlined pipes and fittings, manhole covers and other municipal castings, hydrants,
tanks, flanges, pipe clamps and restraints, valves, structural steel, reinforced precast
concrete, and construction materials.
(2) “steel” means an alloy that includes at least 50 percent iron, between .02 and 2 percent
carbon, and may include other elements.
(b) Domestic preference.
(1) This award term and condition implements the Safe Drinking Water Act, section
1452(a)(4), by requiring that all iron and steel products used for a project for the
construction, alteration, maintenance or repair of a public water system are produced in the
United States except as provided in paragraph (b)(2) of this section and condition.
(2) This requirement shall not apply in any case or category of cases in which the
Administrator of the Environmental Protection Agency finds that—
(i) applying the requirement would be inconsistent with the public interest;
(ii) iron and steel products are not produced in the United States in sufficient and
reasonably available quantities and of a satisfactory quality; or
(iii) inclusion of iron and steel products produced in the United States will increase the cost
of the overall project by more than 25 percent.
(3) The Build America, Buy America (BABA) Act requirement does not supersede the AIS
requirement, and both provisions still apply and work in conjunction.
(c) Request for a Waiver under (b)(2) of this section
(1) Any recipient request to use foreign iron or steel products in accordance with paragraph
(b)(2) of this section shall include adequate information for Federal Government evaluation
of the request, including—
(A) A description of the foreign and domestic iron, steel, and/or manufactured goods;
(B) Unit of measure;
(C) Quantity;
(D) Cost;
(E) Time of delivery or availability;
(F) Location of the project;
(G) Name and address of the proposed supplier; and
(H) A detailed justification of the reason for use of foreign iron or steel products cited in
accordance with paragraph (b)(2) of this section.
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(2) If the Administrator receives a request for a waiver under this section, the waiver request
shall be made available to the public for at least 15 days prior to making a finding based on
the request.
(3) Unless the Administrator issues a waiver of this term, use of foreign iron and steel
products is noncompliant with the Safe Drinking Water Act, section 1452(a)(4).
(d) This term and condition shall be applied in a manner consistent with United States
obligations under international agreements.
R. State Cybersecurity
(a) The recipient agrees that when collecting and managing environmental data under this
assistance agreement, it will protect the data by following all applicable State law
cybersecurity requirements.
(b) (1) EPA must ensure that any connections between the recipient’s network or information
system and EPA networks used by the recipient to transfer data under this agreement, are
secure.
For purposes of this Section, a connection is defined as a dedicated persistent interface
between an Agency IT system and an external IT system for the purpose of transferring
information. Transitory, user-controlled connections such as website browsing are excluded
from this definition.
If the recipient’s connections as defined above do not go through the Environmental
Information Exchange Network or EPA’s Central Data Exchange, the recipient agrees to
contact the EPA Project Officer (PO) and work with the designated Regional/Headquarters
Information Security Officer to ensure that the connections meet EPA security requirements,
including entering into Interconnection Service Agreements as appropriate. This condition
does not apply to manual entry of data by the recipient into systems operated and used by
EPA’s regulatory programs for the submission of reporting and/or compliance data.
(2) The recipient agrees that any sub-awards it makes under this agreement will require the
subrecipient to comply with the requirements in (b)(1) if the sub-recipient’s network or
information system is connected to EPA networks to transfer data to the Agency using
systems other than the Environmental Information Exchange Network or EPA’s Central Data
Exchange. The recipient will be in compliance with this condition: by including this
requirement in sub-award agreements; and during subrecipient monitoring deemed
necessary by the recipient under 2 CFR 200.331(d), by inquiring whether the subrecipient
has contacted the EPA Project Officer. Nothing in this condition requires the recipient to
contact the EPA Project Officer on behalf of a subrecipient or to be involved in the
negotiation of an Interconnection Service Agreement between the subrecipient and EPA.
S. Internal Controls for Financial Transactions
The recipient agrees to use procedures consistent with “zero-trust” (never trust, always
verify) for all financial transactions with SRF funds. These procedures must include verbal
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verification with a trusted recipient representative of all financial account information both
initially and prior to any changes in financial account information.
T. Wage Rate Requirements
The recipient agrees to include in all agreements to provide assistance for any construction
project carried out in whole or in part with such assistance made available by a drinking
water revolving loan fund as authorized by section 1452 of the Safe Drinking Water Act (42
U.S.C. 300j-12), a term and condition requiring compliance with the requirements of section
1450(e) of the Safe Drinking Water Act (42 U.S.C.300j-9(e)) in all procurement contracts and
sub-grants, and require that loan recipients, procurement contractors and sub-grantees
include such a term and condition in subcontracts and other lower tiered transactions. All
contracts and subcontracts for any construction project carried out in whole or in part with
assistance made available as stated herein shall insert in full in any contract in excess of
$2,000 the contract clauses as attached hereto entitled “Wage Rate Requirements Under
The Clean Water Act, Section 513 and the Safe Drinking Water Act, Section 1450(e).” This
term and condition applies to all agreements to provide assistance under the authorities
referenced herein, whether in the form of a loan, bond purchase, grant, or any other vehicle
to provide financing for a project, where such agreements are executed on or after October
30, 2009.
Preamble
With respect to the DWSRF program, EPA provides capitalization grants to each State
which in turn provides sub grants or loans to eligible entities within the State. Typically, the
sub recipients are municipal or other local governmental entities that manage the funds. For
these types of recipients, the provisions set forth under Roman numeral I, below, shall
apply. Although EPA and the State remain responsible for ensuring sub recipients’
compliance with the wage rate requirements set forth herein, those sub recipients shall have
the primary responsibility to maintain payroll records as described in Section I-3(ii)(A), below
and for compliance as described in Section I-5.
Occasionally, the sub recipient may be a private for profit or not for profit entity. For these
types of recipients, the provisions set forth in Roman Numeral II, below, shall apply.
Although EPA and the State remain responsible for ensuring sub recipients’ compliance with
the wage rate requirements set forth herein, those sub recipients shall have the primary
responsibility to maintain payroll records as described in Section II-3(ii)(A), below and for
compliance as described in Section II-5.


ATTACHMENT 1
I. Requirements Under Section 1452(a)(5) of the Safe Drinking Water Act For Sub
recipients That Are Governmental Entities:
The following terms and conditions specify how recipients will assist EPA in meeting its
Davis-Bacon (DB) responsibilities when DB applies to EPA awards of financial assistance
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with respect to State recipients and sub recipients that are governmental entities. If a sub
recipient has questions regarding when DB applies, obtaining the correct DB wage
determinations, DB provisions, or compliance monitoring, it may contact the State recipient.
If a State recipient needs guidance, the recipient may contact EPA’s Office of Grants and
Debarment for guidance at EPA_Grants_Info@epa.gov. The recipient or sub recipient may
also obtain additional guidance from the U.S. Department of Labor’s (DOL) website at
http://www dol gov/whd/
1. Applicability of the DB prevailing wage requirements.
DB prevailing wage requirements apply to the construction, alteration, and repair of
treatment works carried out in whole or in part with assistance made available by a State
water pollution control revolving fund and to any construction project carried out in whole or
in part by assistance made available by a drinking water treatment revolving loan fund. If a
sub recipient encounters a unique situation at a site that presents uncertainties regarding DB
applicability, the sub recipient must discuss the situation with the recipient State before
authorizing work on that site.
2. Obtaining Wage Determinations.
(a) Sub recipients shall obtain the wage determination for the locality in which a covered
activity subject to DB will take place prior to issuing requests for bids, proposals, quotes or
other methods for soliciting contracts (solicitation) for activities subject to DB. These wage
determinations shall be incorporated into solicitations and any subsequent contracts. Prime
contracts must contain a provision requiring that subcontractors follow the wage
determination incorporated into the prime contract.
(i) While the solicitation remains open, the sub recipient shall monitor https://sam.gov/
weekly to ensure that the wage determination contained in the solicitation remains current.
The sub recipients shall amend the solicitation if DOL issues a modification more than 10
days prior to the closing date (i.e. bid opening) for the solicitation. If DOL modifies or
supersedes the applicable wage determination less than 10 days prior to the closing date,
the sub recipients may request a finding from the State recipient that there is not a
reasonable time to notify interested contractors of the modification of the wage
determination. The State recipient will provide a report of its findings to the sub recipient.
(ii) If the sub recipient does not award the contract within 90 days of the closure of the
solicitation, any modifications or supersedes DOL makes to the wage determination
contained in the solicitation shall be effective unless the State recipient, at the request of the
sub recipient, obtains an extension of the 90-day period from DOL pursuant to 29 CFR
1.6(c)(3)(iv). The sub recipient shall monitor https://sam.gov/ on a weekly basis if it does not
award the contract within 90 days of closure of the solicitation to ensure that wage
determinations contained in the solicitation remain current.
(b) If the sub recipient carries out activity subject to DB by issuing a task order, work
assignment or similar instrument to an existing contractor (ordering instrument) rather than
by publishing a solicitation, the sub recipient shall insert the appropriate DOL wage
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determination from https://sam.gov/ into the ordering instrument.
(c) Sub recipients shall review all subcontracts subject to DB entered into by prime
contractors to verify that the prime contractor has required its subcontractors to include the
applicable wage determinations.
(d) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to
a sub recipient’s contract after the award of a contract or the issuance of an ordering
instrument if DOL determines that the sub recipient has failed to incorporate a wage
determination or has used a wage determination that clearly does not apply to the contract
or ordering instrument. If this occurs, the sub recipient shall either terminate the contract or
ordering instrument and issue a revised solicitation or ordering instrument or incorporate
DOL’s wage determination retroactive to the beginning of the contract or ordering instrument
by change order. The sub recipient’s contractor must be compensated for any increases in
wages resulting from the use of DOL’s revised wage determination.
3. Contract and Subcontract provisions.
(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in
excess of $2,000 which is entered into for the actual construction, alteration and/or repair,
including painting and decorating, of a treatment work under the CWSRF or a construction
project carried out in whole or in part with assistance made available by the DWSRF, and
which is subject to the labor standards provisions of any of the acts listed in § 5.1 or the Safe
Drinking Water Act, Section 1452(a)(5), the following clauses:
(1) Minimum wages.
(i) All laborers and mechanics employed or working upon the site of the work will be paid
unconditionally and not less often than once a week, and without subsequent deduction or
rebate on any account (except such payroll deductions as are permitted by regulations
issued by the Secretary of Labor under the Copeland Act (29 CFR part 3)), the full amount of
wages and bona fide fringe benefits (or cash equivalents thereof) due at time of payment
computed at rates not less than those contained in the wage determination of the Secretary
of Labor which is attached hereto and made a part hereof, regardless of any contractual
relationship which may be alleged to exist between the contractor and such laborers and
mechanics.
Contributions made or costs reasonably anticipated for bona fide fringe benefits under
section 1(b)(2) of the DB Act on behalf of laborers or mechanics are considered wages paid
to such laborers or mechanics, subject to the provisions of paragraph (a)(1)(iv) of this
section; also, regular contributions made or costs incurred for more than a weekly period
(but not less often than quarterly) under plans, funds, or programs which cover the particular
weekly period, are deemed to be constructively made or incurred during such weekly period.
Such laborers and mechanics shall be paid the appropriate wage rate and fringe benefits on
the wage determination for the classification of work actually performed, without regard to
skill, except as provided in § 5.5(a)(4). Laborers or mechanics performing work in more than
one classification may be compensated at the rate specified for each classification for the
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time actually worked therein: Provided that the employer's payroll records accurately set
forth the time spent in each classification in which work is performed. The wage
determination (including any additional classification and wage rates conformed under
paragraph (a)(1)(ii) of this section) and the DB poster (WH-1321) shall be posted at all times
by the contractor and its subcontractors at the site of the work in a prominent and accessible
place where it can be easily seen by the workers.
Sub recipients may obtain wage determinations from DOL’s website, https://sam gov/.
(ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or
mechanics, including helpers, which is not listed in the wage determination and which is to
be employed under the contract shall be classified in conformance with the wage
determination. The State award official shall approve a request for an additional
classification and wage rate and fringe benefits therefore only when the following criteria
have been met:
(1) The work to be performed by the classification requested is not performed by a
classification in the wage determination; and
(2) The classification is utilized in the area by the construction industry; and
(3) The proposed wage rate, including any bona fide fringe benefits, bears a reasonable
relationship to the wage rates contained in the wage determination.
(B) If the contractor and the laborers and mechanics to be employed in the classification (if
known), or their representatives, and the sub recipient(s) agree on the classification and
wage rate (including the amount designated for fringe benefits where appropriate),
documentation of the action taken and the request, including the local wage determination
shall be sent by the sub recipient (s) to the State award official. The State award official will
transmit a completed conformance request form (SF-1444 or similar) and supporting
materials to WHD-CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional
Coordinator concurrently. The DOL Administrator, or an authorized representative, will
approve, modify, or disapprove every additional classification request within 30 days of
receipt and so advise the State award official or will notify the State award official within the
30-day period that additional time is necessary.
(C) In the event the contractor, the laborers or mechanics to be employed in the
classification or their representatives, and the sub recipient(s) do not agree on the proposed
classification and wage rate (including the amount designated for fringe benefits, where
appropriate), documentation of the action taken and the request, including the local wage
determination shall be sent by the sub recipient (s) to the State award official. The State
award official will transmit a completed conformance request form (SF-1444 or similar) which
indicates the State award official’s disagreement and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will issue a
determination within 30 days of receipt of the request and so advise the contracting officer or
will notify the contracting officer within the 30-day period that additional time is necessary.
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(D) The wage rate (including fringe benefits where appropriate) determined pursuant to
paragraphs (a)(1)(ii)(B) or (C) of this section, shall be paid to all workers performing work in
the classification under this contract from the first day on which work is performed in the
classification.
(iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers or
mechanics includes a fringe benefit which is not expressed as an hourly rate, the contractor
shall either pay the benefit as stated in the wage determination or shall pay another bona
fide fringe benefit or an hourly cash equivalent thereof.
(iv) If the contractor does not make payments to a trustee or other third person, the
contractor may consider as part of the wages of any laborer or mechanic the amount of any
costs reasonably anticipated in providing bona fide fringe benefits under a plan or program,
Provided, That the Secretary of Labor has found, upon the written request of the contractor,
that the applicable standards of the DB Act have been met. The Secretary of Labor may
require the contractor to set aside assets in a separate account for the meeting of
obligations under the plan or program.
(2) Withholding. The sub recipient(s), shall upon written request of the EPA Award Official or
an authorized representative of the DOL, withhold or cause to be withheld from the
contractor under this contract or any other Federal contract with the same prime contractor,
or any other federally-assisted contract subject to DB prevailing wage requirements, which is
held by the same prime contractor, so much of the accrued payments or advances as may
be considered necessary to pay laborers and mechanics, including apprentices, trainees,
and helpers, employed by the contractor or any subcontractor the full amount of wages
required by the contract. In the event of failure to pay any laborer or mechanic, including any
apprentice, trainee, or helper, employed or working on the site of the work, all or part of the
wages required by the contract, the EPA may, after written notice to the contractor, sponsor,
applicant, or owner, take such action as may be necessary to cause the suspension of any
further payment, advance, or guarantee of funds until such violations have ceased.
(3) Payrolls and basic records.
(i) Payrolls and basic records relating thereto shall be maintained by the contractor during
the course of the work and preserved for a period of three years thereafter for all laborers
and mechanics working at the site of the work. Such records shall contain the name,
address, and social security number of each such worker, his or her correct classification,
hourly rates of wages paid (including rates of contributions or costs anticipated for bona fide
fringe benefits or cash equivalents thereof of the types described in section 1(b)(2)(B) of the
DB Act), daily and weekly number of hours worked, deductions made and actual wages
paid. Whenever the Secretary of Labor has found under 29 CFR 5.5(a)(1)(iv) that the wages
of any laborer or mechanic include the amount of any costs reasonably anticipated in
providing benefits under a plan or program described in section 1(b)(2)(B) of the DB Act, the
contractor shall maintain records which show that the commitment to provide such benefits
is enforceable, that the plan or program is financially responsible, and that the plan or
program has been communicated in writing to the laborers or mechanics affected, and
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records which show the costs anticipated or the actual cost incurred in providing such
benefits. Contractors employing apprentices or trainees under approved programs shall
maintain written evidence of the registration of apprenticeship programs and certification of
trainee programs, the registration of the apprentices and trainees, and the ratios and wage
rates prescribed in the applicable programs.
(ii)(A) The contractor shall submit weekly, for each week in which any contract work is
performed, a copy of all payrolls to the sub recipient, that is, the entity that receives the sub-
grant or loan from the State capitalization grant recipient. Such documentation shall be
available on request of the State recipient or EPA. As to each payroll copy received, the sub
recipient shall provide written confirmation in a form satisfactory to the State indicating
whether or not the project is in compliance with the requirements of 29 CFR 5.5(a)(1) based
on the most recent payroll copies for the specified week. The payrolls shall set out
accurately and completely all of the information required to be maintained under 29 CFR
5.5(a)(3)(i), except that full social security numbers and home addresses shall not be
included on the weekly payrolls. Instead, the payrolls shall only need to include an
individually identifying number for each employee (e.g., the last four digits of the employee's
social security number). The required weekly payroll information may be submitted in any
form desired. Optional Form WH-347 is available for this purpose from the Wage and Hour
Division website at http://www.dol.gov/whd/forms/wh347instr.htm or its successor site.
The prime contractor is responsible for the submission of copies of payrolls by all
subcontractors. Contractors and subcontractors shall maintain the full social security number
and current address of each covered worker and shall provide them upon request to the sub
recipient(s) for transmission to the State or EPA if requested by EPA, the State, the
contractor, or the Wage and Hour Division of the DOL for purposes of an investigation or
audit of compliance with prevailing wage requirements. It is not a violation of this section for
a prime contractor to require a subcontractor to provide addresses and social security
numbers to the prime contractor for its own records, without weekly submission to the sub
recipient(s).
(B) Each payroll submitted shall be accompanied by a “Statement of Compliance,” signed by
the contractor or subcontractor or his or her agent who pays or supervises the payment of
the persons employed under the contract and shall certify the following:
(1) That the payroll for the payroll period contains the information required to be provided
under § 5.5 (a)(3)(ii) of Regulations, 29 CFR part 5, the appropriate information is being
maintained under § 5.5 (a)(3)(i) of Regulations, 29 CFR part 5, and that such information is
correct and complete;
(2) That each laborer or mechanic (including each helper, apprentice, and trainee) employed
on the contract during the payroll period has been paid the full weekly wages earned,
without rebate, either directly or indirectly, and that no deductions have been made either
directly or indirectly from the full wages earned, other than permissible deductions as set
forth in Regulations, 29 CFR part 3;
(3) That each laborer or mechanic has been paid not less than the applicable wage rates
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and fringe benefits or cash equivalents for the classification of work performed, as specified
in the applicable wage determination incorporated into the contract.
(C) The weekly submission of a properly executed certification set forth on the reverse side
of Optional Form WH-347 shall satisfy the requirement for submission of the “Statement of
Compliance” required by paragraph (a)(3)(ii)(B) of this section.
(D) The falsification of any of the above certifications may subject the contractor or
subcontractor to civil or criminal prosecution under section 1001 of title 18 and section 231
of title 31 of the United States Code.
(iii) The contractor or subcontractor shall make the records required under paragraph
(a)(3)(i) of this section available for inspection, copying, or transcription by authorized
representatives of the State, EPA or the DOL, and shall permit such representatives to
interview employees during working hours on the job. If the contractor or subcontractor fails
to submit the required records or to make them available, the EPA or State may, after written
notice to the contractor, sponsor, applicant, or owner, take such action as may be necessary
to cause the suspension of any further payment, advance, or guarantee of funds.
Furthermore, failure to submit the required records upon request or to make such records
available may be grounds for debarment action pursuant to 29 CFR 5.12.
(4) Apprentices and trainees
(i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate for
the work they performed when they are employed pursuant to and individually registered in a
bona fide apprenticeship program registered with the DOL, Employment and Training
Administration, Office of Apprenticeship Training, Employer and Labor Services, or with a
State Apprenticeship Agency recognized by the Office, or if a person is employed in his or
her first 90 days of probationary employment as an apprentice in such an apprenticeship
program, who is not individually registered in the program, but who has been certified by the
Office of Apprenticeship Training, Employer and Labor Services or a State Apprenticeship
Agency (where appropriate) to be eligible for probationary employment as an apprentice.
The allowable ratio of apprentices to journeymen on the job site in any craft classification
shall not be greater than the ratio permitted to the contractor as to the entire work force
under the registered program. Any worker listed on a payroll at an apprentice wage rate,
who is not registered or otherwise employed as stated above, shall be paid not less than the
applicable wage rate on the wage determination for the classification of work actually
performed. In addition, any apprentice performing work on the job site in excess of the ratio
permitted under the registered program shall be paid not less than the applicable wage rate
on the wage determination for the work actually performed. Where a contractor is performing
construction on a project in a locality other than that in which its program is registered, the
ratios and wage rates (expressed in percentages of the journeyman's hourly rate) specified
in the contractor's or subcontractor's registered program shall be observed. Every apprentice
must be paid at not less than the rate specified in the registered program for the apprentice's
level of progress, expressed as a percentage of the journeymen hourly rate specified in the
applicable wage determination. Apprentices shall be paid fringe benefits in accordance with
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the provisions of the apprenticeship program. If the apprenticeship program does not specify
fringe benefits, apprentices must be paid the full amount of fringe benefits listed on the wage
determination for the applicable classification. If the Administrator determines that a different
practice prevails for the applicable apprentice classification, fringes shall be paid in
accordance with that determination. In the event the Office of Apprenticeship Training,
Employer and Labor Services, or a State Apprenticeship Agency recognized by the Office,
withdraws approval of an apprenticeship program, the contractor will no longer be permitted
to utilize apprentices at less than the applicable predetermined rate for the work performed
until an acceptable program is approved.
(ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at
less than the predetermined rate for the work performed unless they are employed pursuant
to and individually registered in a program which has received prior approval, evidenced by
formal certification by the DOL, Employment and Training Administration. The ratio of
trainees to journeymen on the job site shall not be greater than permitted under the plan
approved by the Employment and Training Administration. Every trainee must be paid at not
less than the rate specified in the approved program for the trainee's level of progress,
expressed as a percentage of the journeyman hourly rate specified in the applicable wage
determination. Trainees shall be paid fringe benefits in accordance with the provisions of the
trainee program. If the trainee program does not mention fringe benefits, trainees shall be
paid the full amount of fringe benefits listed on the wage determination unless the
Administrator of the Wage and Hour Division determines that there is an apprenticeship
program associated with the corresponding journeyman wage rate on the wage
determination which provides for less than full fringe benefits for apprentices. Any employee
listed on the payroll at a trainee rate who is not registered and participating in a training plan
approved by the Employment and Training Administration shall be paid not less than the
applicable wage rate on the wage determination for the classification of work actually
performed. In addition, any trainee performing work on the job site in excess of the ratio
permitted under the registered program shall be paid not less than the applicable wage rate
on the wage determination for the work actually performed. In the event the Employment
and Training Administration withdraws approval of a training program, the contractor will no
longer be permitted to utilize trainees at less than the applicable predetermined rate for the
work performed until an acceptable program is approved.
(iii) Equal employment opportunity. The utilization of apprentices, trainees and journeymen
under this part shall be in conformity with the equal employment opportunity requirements of
Executive Order 11246, as amended and 29 CFR part 30.
(5) Compliance with Copeland Act requirements. The contractor shall comply with the
requirements of 29 CFR part 3, which are incorporated by reference in this contract.
(6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the
clauses contained in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA
determines may by appropriate, and also a clause requiring the subcontractors to include
these clauses in any lower tier subcontracts. The prime contractor shall be responsible for
the compliance by any subcontractor or lower tier subcontractor with all the contract clauses
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in 29 CFR 5.5.
(7) Contract termination; debarment. A breach of the contract clauses in 29 CFR 5.5 may be
grounds for termination of the contract, and for debarment as a contractor and a
subcontractor as provided in 29 CFR 5.12.
(8) Compliance with DB and Related Act requirements. All rulings and interpretations of the
DB and Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by
reference in this contract.
(9) Disputes concerning labor standards. Disputes arising out of the labor standards
provisions of this contract shall not be subject to the general disputes clause of this contract.
Such disputes shall be resolved in accordance with the procedures of the DOL set forth in
29 CFR parts 5, 6, and 7. Disputes within the meaning of this clause include disputes
between the contractor (or any of its subcontractors) and sub recipient(s), State, EPA, DOL,
or the employees or their representatives.
(10) Certification of eligibility.
(i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor any
person or firm who has an interest in the contractor's firm is a person or firm ineligible to be
awarded Government contracts by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).
(ii) No part of this contract shall be subcontracted to any person or firm ineligible for award of
a Government contract by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).
(iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18
U.S.C. 1001.
4. Contract Provision for Contracts in Excess of $100,000.
(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the
following clauses set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any
contract in an amount in excess of $100,000 and subject to the overtime provisions of the
Contract Work Hours and Safety Standards Act. These clauses shall be inserted in addition
to the clauses required by Item 3, above or 29 CFR 4.6. As used in this paragraph, the terms
laborers and mechanics include watchmen and guards.
(1) Overtime requirements. No contractor or subcontractor contracting for any part of the
contract work which may require or involve the employment of laborers or mechanics shall
require or permit any such laborer or mechanic in any workweek in which he or she is
employed on such work to work in excess of forty hours in such workweek unless such
laborer or mechanic receives compensation at a rate not less than one and one-half times
the basic rate of pay for all hours worked in excess of forty hours in such workweek.
(2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of
the clause set forth in paragraph (a)(1) of this section the contractor and any subcontractor
responsible therefore shall be liable for the unpaid wages. In addition, such contractor and
subcontractor shall be liable to the United States (in the case of work done under contract
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for the District of Columbia or a territory, to such District or to such territory), for liquidated
damages. Such liquidated damages shall be computed with respect to each individual
laborer or mechanic, including watchmen and guards, employed in violation of the clause set
forth in paragraph (a)(1) of this section, in the sum of $29 for each calendar day on which
such individual was required or permitted to work in excess of the standard workweek of
forty hours without payment of the overtime wages required by the clause set forth in
paragraph (a)(1) of this section.
(3) Withholding for unpaid wages and liquidated damages. The sub recipient, upon written
request of the EPA Award Official or an authorized representative of the DOL, shall withhold
or cause to be withheld, from any moneys payable on account of work performed by the
contractor or subcontractor under any such contract or any other Federal contract with the
same prime contractor, or any other federally-assisted contract subject to the Contract Work
Hours and Safety Standards Act, which is held by the same prime contractor, such sums as
may be determined to be necessary to satisfy any liabilities of such contractor or
subcontractor for unpaid wages and liquidated damages as provided in the clause set forth
in paragraph (a)(2) of this section.
(4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the
clauses set forth in paragraph (a)(1) through (4) of this section and also a clause requiring
the subcontractors to include these clauses in any lower tier subcontracts. The prime
contractor shall be responsible for compliance by any subcontractor or lower tier
subcontractor with the clauses set forth in paragraphs (a)(1) through (4) of this section.
(b) In addition to the clauses contained in Item 3, above, in any contract subject only to the
Contract Work Hours and Safety Standards Act and not to any of the other statutes cited in
29 CFR 5.1, the Sub recipient shall insert a clause requiring that the contractor or
subcontractor shall maintain payrolls and basic payroll records during the course of the work
and shall preserve them for a period of three years from the completion of the contract for all
laborers and mechanics, including guards and watchmen, working on the contract. Such
records shall contain the name and address of each such employee, social security number,
correct classifications, hourly rates of wages paid, daily and weekly number of hours worked,
deductions made, and actual wages paid. Further, the Sub recipient shall insert in any such
contract a clause providing that the records to be maintained under this paragraph shall be
made available by the contractor or subcontractor for inspection, copying, or transcription by
authorized representatives of the EPA and the DOL, and the contractor or subcontractor will
permit such representatives to interview employees during working hours on the job.
5. Compliance Verification
(a) The sub recipient shall periodically interview a sufficient number of employees entitled to
DB prevailing wages (covered employees) to verify that contractors or subcontractors are
paying the appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be
conducted in confidence. The sub recipient must use Standard Form 1445 (SF 1445) or
equivalent documentation to memorialize the interviews. Copies of the SF 1445 are
available from EPA on request.
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(b) The sub recipient shall establish and follow an interview schedule based on its
assessment of the risks of noncompliance with DB posed by contractors or subcontractors
and the duration of the contract or subcontract. Sub recipients must conduct more frequent
interviews if the initial interviews or other information indicated that there is a risk that the
contractor or subcontractor is not complying with DB.
Sub recipients shall immediately conduct interviews in response to an alleged violation of the
prevailing wage requirements. All interviews shall be conducted in confidence.
(c) The sub recipient shall periodically conduct spot checks of a representative sample of
weekly payroll data to verify that contractors or subcontractors are paying the appropriate
wage rates. The sub recipient shall establish and follow a spot check schedule based on its
assessment of the risks of noncompliance with DB posed by contractors or subcontractors
and the duration of the contract or subcontract. At a minimum, if practicable, the sub
recipient should spot check payroll data within two weeks of each contractor or
subcontractor’s submission of its initial payroll data and two weeks prior to the completion
date the contract or subcontract. Sub recipients must conduct more frequent spot checks if
the initial spot check or other information indicates that there is a risk that the contractor or
subcontractor is not complying with DB. In addition, during the examinations the sub
recipient shall verify evidence of fringe benefit plans and payments there under by
contractors and subcontractors who claim credit for fringe benefit contributions.
(d) The sub recipient shall periodically review contractor’s and subcontractor’s use of
apprentices and trainees to verify registration and certification with respect to apprenticeship
and training programs approved by either the U.S DOL or a state, as appropriate, and that
contractors and subcontractors are not using disproportionate numbers of, laborers, trainees
and apprentices. These reviews shall be conducted in accordance with the schedules for
spot checks and interviews described in Item 5(b) and (c) above.
(e) Sub recipients must immediately report potential violations of the DB prevailing wage
requirements to the EPA DB contact listed above and to the appropriate DOL Wage and
Hour District Office listed at https://www.dol.gov/agencies/whd/contact/local-offices.
II. Requirements Under the Safe Drinking Water Act, Section 1452(a)(5) For Sub
recipients That Are Not Governmental Entities:
The following terms and conditions specify how recipients will assist EPA in meeting its DB
responsibilities when DB applies to EPA awards of financial assistance under the Safe
Drinking Water Act, Section 1452(a)(5) with respect to sub recipients that are not
governmental entities. If a sub recipient has questions regarding when DB applies,
obtaining the correct DB wage determinations, DB provisions, or compliance monitoring, it
may contact the State recipient for guidance. If a State recipient needs guidance, the
recipient may contact EPA’s Office of Grants and Debarment for guidance at
EPA_Grants_Info@epa.gov The recipient or sub recipient may also obtain additional
guidance from DOL’s website at http://www.dol.gov/whd/
Under these terms and conditions, the sub recipient must submit its proposed DB
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wage determinations to the State recipient for approval prior to including the wage
determination in any solicitation, contract task orders, work assignments, or similar
instruments to existing contractors.
1. Applicability of the Davis- Bacon (DB) prevailing wage requirements.
Under the Safe Drinking Water Act, Section 1452(a)(5), DB prevailing wage requirements
apply to the construction, alteration, and repair of treatment works carried out in whole or in
part with assistance made available by a State water pollution control revolving fund and to
any construction project carried out in whole or in part by assistance made available by a
drinking water treatment revolving loan fund. If a sub recipient encounters a unique
situation at a site that presents uncertainties regarding DB applicability, the sub recipient
must discuss the situation with the recipient State before authorizing work on that site.
2. Obtaining Wage Determinations.
(a) Sub recipients must obtain proposed wage determinations for specific localities at
https://sam.gov/. After the sub recipient obtains its proposed wage determination, it must
submit the wage determination to IEPA for approval prior to inserting the wage determination
into a solicitation, contract or issuing task orders, work assignments or similar instruments to
existing contractors (ordering instruments unless subsequently directed otherwise by the
State recipient Award Official.)
(b) Sub recipients shall obtain the wage determination for the locality in which a covered
activity subject to DB will take place prior to issuing requests for bids, proposals, quotes or
other methods for soliciting contracts (solicitation) for activities subject to DB. These wage
determinations shall be incorporated into solicitations and any subsequent contracts. Prime
contracts must contain a provision requiring that subcontractors follow the wage
determination incorporated into the prime contract.
(i) While the solicitation remains open, the sub recipient shall monitor https://sam.gov/ on a
weekly basis to ensure that the wage determination contained in the solicitation remains
current. The sub recipients shall amend the solicitation if DOL issues a modification more
than 10 days prior to the closing date (i.e. bid opening) for the solicitation. If DOL modifies
or supersedes the applicable wage determination less than 10 days prior to the closing date,
the sub recipients may request a finding from the State recipient that there is not a
reasonable time to notify interested contractors of the modification of the wage
determination. The State recipient will provide a report of its findings to the sub recipient.
(ii) If the sub recipient does not award the contract within 90 days of the closure of the
solicitation, any modifications or supersedes DOL makes to the wage determination
contained in the solicitation shall be effective unless the State recipient, at the request of the
sub recipient, obtains an extension of the 90-day period from DOL pursuant to 29 CFR
1.6(c)(3)(iv). The sub recipient shall monitor https://sam gov/ on a weekly basis if it does not
award the contract within 90 days of closure of the solicitation to ensure that wage
determinations contained in the solicitation remain current.
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(c) If the sub recipient carries out activity subject to DB by issuing a task order, work
assignment or similar instrument to an existing contractor (ordering instrument) rather than
by publishing a solicitation, the sub recipient shall insert the appropriate DOL wage
determination from https://sam.gov/ into the ordering instrument.
(d) Sub recipients shall review all subcontracts subject to DB entered into by prime
contractors to verify that the prime contractor has required its subcontractors to include the
applicable wage determinations.
(e) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to
a sub recipient’s contract after the award of a contract or the issuance of an ordering
instrument if DOL determines that the sub recipient has failed to incorporate a wage
determination or has used a wage determination that clearly does not apply to the contract
or ordering instrument. If this occurs, the sub recipient shall either terminate the contract or
ordering instrument and issue a revised solicitation or ordering instrument or incorporate
DOL’s wage determination retroactive to the beginning of the contract or ordering instrument
by change order. The sub recipient’s contractor must be compensated for any increases in
wages resulting from the use of DOL’s revised wage determination.
3. Contract and Subcontract provisions.
(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in
excess of $2,000 which is entered into for the actual construction, alteration and/or repair,
including painting and decorating, of a treatment work under the CWSRF or a construction
project carried out in whole or in part with assistance made available by the DWSRF, and
which is subject to the labor standards provisions of any of the acts listed in § 5.1 or the Safe
Drinking Water Act, Section 1452(a)(5), the following clauses:
(1) Minimum wages.
(i) All laborers and mechanics employed or working upon the site of the work, will be paid
unconditionally and not less often than once a week, and without subsequent deduction or
rebate on any account (except such payroll deductions as are permitted by regulations
issued by the Secretary of Labor under the Copeland Act (29 CFR part 3) ), the full amount
of wages and bona fide fringe benefits (or cash equivalents thereof) due at time of payment
computed at rates not less than those contained in the wage determination of the Secretary
of Labor which is attached hereto and made a part hereof, regardless of any contractual
relationship which may be alleged to exist between the contractor and such laborers and
mechanics.
Contributions made or costs reasonably anticipated for bona fide fringe benefits under
section 1(b)(2) of the DB Act on behalf of laborers or mechanics are considered wages paid
to such laborers or mechanics, subject to the provisions of paragraph (a)(1)(iv) of this
section; also, regular contributions made or costs incurred for more than a weekly period
(but not less often than quarterly) under plans, funds, or programs which cover the particular
weekly period, are deemed to be constructively made or incurred during such weekly period.
Such laborers and mechanics shall be paid the appropriate wage rate and fringe benefits on
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the wage determination for the classification of work actually performed, without regard to
skill, except as provided in § 5.5(a)(4). Laborers or mechanics performing work in more than
one classification may be compensated at the rate specified for each classification for the
time actually worked therein: Provided, that the employer's payroll records accurately set
forth the time spent in each classification in which work is performed. The wage
determination (including any additional classification and wage rates conformed under
paragraph (a)(1)(ii) of this section) and the DB poster (WH-1321) shall be posted at all times
by the contractor and its subcontractors at the site of the work in a prominent and accessible
place where it can be easily seen by the workers.
Sub recipients may obtain wage determinations from DOL’s website, https://sam.gov/.
(ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or
mechanics, including helpers, which is not listed in the wage determination and which is to
be employed under the contract shall be classified in conformance with the wage
determination. The State award official shall approve a request for an additional
classification and wage rate and fringe benefits therefore only when the following criteria
have been met:
(1) The work to be performed by the classification requested is not performed by a
classification in the wage determination; and
(2) The classification is utilized in the area by the construction industry; and
(3) The proposed wage rate, including any bona fide fringe benefits, bears a reasonable
relationship to the wage rates contained in the wage determination.
(B) If the contractor and the laborers and mechanics to be employed in the classification (if
known), or their representatives, and the sub recipient(s) agree on the classification and
wage rate (including the amount designated for fringe benefits where appropriate),
documentation of the action taken and the request, including the local wage determination
shall be sent by the sub recipient(s) to the State award official. The State award official will
transmit a completed conformance request form (SF-1444 or similar) and supporting
materials to WHD-CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional
Coordinator concurrently. The DOL Administrator, or an authorized representative, will
approve, modify, or disapprove every additional classification request within 30 days of
receipt and so advise the State award official or will notify the State award official within the
30-day period that additional time is necessary.
(C) In the event the contractor, the laborers or mechanics to be employed in the
classification or their representatives, and the sub recipient(s) do not agree on the proposed
classification and wage rate (including the amount designated for fringe benefits, where
appropriate), documentation of the action taken and the request, including the local wage
determination shall be sent by the sub recipient (s) to the State award official. The State
award official will transmit a completed conformance request form (SF-1444 or similar) which
indicates the State award official’s disagreement and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional Coordinator
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concurrently. The DOL Administrator, or an authorized representative, will issue a
determination within 30 days of receipt of the request and so advise the contracting officer or
will notify the contracting officer within the 30-day period that additional time is necessary.
(D) The wage rate (including fringe benefits where appropriate) determined pursuant to
paragraphs (a)(1)(ii)(B) or (C) of this section, shall be paid to all workers performing work in
the classification under this contract from the first day on which work is performed in the
classification.
(iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers or
mechanics includes a fringe benefit which is not expressed as an hourly rate, the contractor
shall either pay the benefit as stated in the wage determination or shall pay another bona
fide fringe benefit or an hourly cash equivalent thereof.
(iv) If the contractor does not make payments to a trustee or other third person, the
contractor may consider as part of the wages of any laborer or mechanic the amount of any
costs reasonably anticipated in providing bona fide fringe benefits under a plan or program,
Provided, That the Secretary of Labor has found, upon the written request of the contractor,
that the applicable standards of the DB Act have been met. The Secretary of Labor may
require the contractor to set aside assets in a separate account for the meeting of
obligations under the plan or program.
(2) Withholding. The sub recipient(s) shall upon written request of the EPA Award Official or
an authorized representative of the DOL, withhold or cause to be withheld from the
contractor under this contract or any other Federal contract with the same prime contractor,
or any other federally-assisted contract subject to DB prevailing wage requirements, which is
held by the same prime contractor, so much of the accrued payments or advances as may
be considered necessary to pay laborers and mechanics, including apprentices, trainees,
and helpers, employed by the contractor or any subcontractor the full amount of wages
required by the contract. In the event of failure to pay any laborer or mechanic, including any
apprentice, trainee, or helper, employed or working on the site of the work, all or part of the
wages required by the contract, the EPA may, after written notice to the contractor, sponsor,
applicant, or owner, take such action as may be necessary to cause the suspension of any
further payment, advance, or guarantee of funds until such violations have ceased.
(3) Payrolls and basic records.
(i) Payrolls and basic records relating thereto shall be maintained by the contractor during
the course of the work and preserved for a period of three years thereafter for all laborers
and mechanics working at the site of the work. Such records shall contain the name,
address, and social security number of each such worker, his or her correct classification,
hourly rates of wages paid (including rates of contributions or costs anticipated for bona fide
fringe benefits or cash equivalents thereof of the types described in section 1(b)(2)(B) of the
DB Act), daily and weekly number of hours worked, deductions made and actual wages
paid. Whenever the Secretary of Labor has found under 29 CFR 5.5(a)(1)(iv) that the wages
of any laborer or mechanic include the amount of any costs reasonably anticipated in
providing benefits under a plan or program described in section 1(b)(2)(B) of the DB Act, the
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contractor shall maintain records which show that the commitment to provide such benefits
is enforceable, that the plan or program is financially responsible, and that the plan or
program has been communicated in writing to the laborers or mechanics affected, and
records which show the costs anticipated or the actual cost incurred in providing such
benefits. Contractors employing apprentices or trainees under approved programs shall
maintain written evidence of the registration of apprenticeship programs and certification of
trainee programs, the registration of the apprentices and trainees, and the ratios and wage
rates prescribed in the applicable programs.
(ii)(A) The contractor shall submit weekly, for each week in which any contract work is
performed, a copy of all payrolls to the sub recipient, that is, the entity that receives the sub-
grant or loan from the State capitalization grant recipient. Such documentation shall be
available on request of the State recipient or EPA. As to each payroll copy received, the sub
recipient shall provide written confirmation in a form satisfactory to the State indicating
whether or not the project is in compliance with the requirements of 29 CFR 5.5(a)(1) based
on the most recent payroll copies for the specified week. The payrolls shall set out
accurately and completely all of the information required to be maintained under 29 CFR
5.5(a)(3)(i), except that full social security numbers and home addresses shall not be
included on the weekly payrolls. Instead, the payrolls shall only need to include an
individually identifying number for each employee (e.g., the last four digits of the employee's
social security number). The required weekly payroll information may be submitted in any
form desired. Optional Form WH-347 is available for this purpose from the Wage and Hour
Division website at http://www dol gov/whd/forms/wh347instr htm or its successor site.
The prime contractor is responsible for the submission of copies of payrolls by all
subcontractors. Contractors and subcontractors shall maintain the full social security number
and current address of each covered worker and shall provide them upon request to the sub
recipient(s) for transmission to the State or EPA if requested by EPA, the State, the
contractor, or the Wage and Hour Division of the DOL for purposes of an investigation or
audit of compliance with prevailing wage requirements. It is not a violation of this section for
a prime contractor to require a subcontractor to provide addresses and social security
numbers to the prime contractor for its own records, without weekly submission to the sub
recipient(s).
(B) Each payroll submitted shall be accompanied by a “Statement of Compliance,” signed by
the contractor or subcontractor or his or her agent who pays or supervises the payment of
the persons employed under the contract and shall certify the following:
(1) That the payroll for the payroll period contains the information required to be provided
under § 5.5 (a)(3)(ii) of Regulations, 29 CFR part 5, the appropriate information is being
maintained under § 5.5 (a)(3)(i) of Regulations, 29 CFR part 5, and that such information is
correct and complete;
(2) That each laborer or mechanic (including each helper, apprentice, and trainee) employed
on the contract during the payroll period has been paid the full weekly wages earned,
without rebate, either directly or indirectly, and that no deductions have been made either
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directly or indirectly from the full wages earned, other than permissible deductions as set
forth in Regulations, 29 CFR part 3;
(3) That each laborer or mechanic has been paid not less than the applicable wage rates
and fringe benefits or cash equivalents for the classification of work performed, as specified
in the applicable wage determination incorporated into the contract.
(C) The weekly submission of a properly executed certification set forth on the reverse side
of Optional Form WH-347 shall satisfy the requirement for submission of the “Statement of
Compliance” required by paragraph (a)(3)(ii)(B) of this section.
(D) The falsification of any of the above certifications may subject the contractor or
subcontractor to civil or criminal prosecution under section 1001 of title 18 and section 231
of title 31 of the United States Code.
(iii) The contractor or subcontractor shall make the records required under paragraph
(a)(3)(i) of this section available for inspection, copying, or transcription by authorized
representatives of the State, EPA or the DOL, and shall permit such representatives to
interview employees during working hours on the job. If the contractor or subcontractor fails
to submit the required records or to make them available, the EPA or State may, after written
notice to the contractor, sponsor, applicant, or owner, take such action as may be necessary
to cause the suspension of any further payment, advance, or guarantee of funds.
Furthermore, failure to submit the required records upon request or to make such records
available may be grounds for debarment action pursuant to 29 CFR 5.12.
(4) Apprentices and trainees--
(i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate for
the work they performed when they are employed pursuant to and individually registered in a
bona fide apprenticeship program registered with the DOL, Employment and Training
Administration, Office of Apprenticeship Training, Employer and Labor Services, or with a
State Apprenticeship Agency recognized by the Office, or if a person is employed in his or
her first 90 days of probationary employment as an apprentice in such an apprenticeship
program, who is not individually registered in the program, but who has been certified by the
Office of Apprenticeship Training, Employer and Labor Services or a State Apprenticeship
Agency (where appropriate) to be eligible for probationary employment as an apprentice.
The allowable ratio of apprentices to journeymen on the job site in any craft classification
shall not be greater than the ratio permitted to the contractor as to the entire work force
under the registered program. Any worker listed on a payroll at an apprentice wage rate,
who is not registered or otherwise employed as stated above, shall be paid not less than the
applicable wage rate on the wage determination for the classification of work actually
performed. In addition, any apprentice performing work on the job site in excess of the ratio
permitted under the registered program shall be paid not less than the applicable wage rate
on the wage determination for the work actually performed. Where a contractor is performing
construction on a project in a locality other than that in which its program is registered, the
ratios and wage rates (expressed in percentages of the journeyman's hourly rate) specified
in the contractor's or subcontractors registered program shall be observed. Every apprentice
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must be paid at not less than the rate specified in the registered program for the apprentice's
level of progress, expressed as a percentage of the journeymen hourly rate specified in the
applicable wage determination. Apprentices shall be paid fringe benefits in accordance with
the provisions of the apprenticeship program. If the apprenticeship program does not specify
fringe benefits, apprentices must be paid the full amount of fringe benefits listed on the wage
determination for the applicable classification. If the Administrator determines that a different
practice prevails for the applicable apprentice classification, fringes shall be paid in
accordance with that determination. In the event the Office of Apprenticeship Training,
Employer and Labor Services, or a State Apprenticeship Agency recognized by the Office,
withdraws approval of an apprenticeship program, the contractor will no longer be permitted
to utilize apprentices at less than the applicable predetermined rate for the work performed
until an acceptable program is approved.
(ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at
less than the predetermined rate for the work performed unless they are employed pursuant
to and individually registered in a program which has received prior approval, evidenced by
formal certification by the DOL, Employment and Training Administration. The ratio of
trainees to journeymen on the job site shall not be greater than permitted under the plan
approved by the Employment and Training Administration. Every trainee must be paid at not
less than the rate specified in the approved program for the trainee's level of progress,
expressed as a percentage of the journeyman hourly rate specified in the applicable wage
determination. Trainees shall be paid fringe benefits in accordance with the provisions of the
trainee program. If the trainee program does not mention fringe benefits, trainees shall be
paid the full amount of fringe benefits listed on the wage determination unless the
Administrator of the Wage and Hour Division determines that there is an apprenticeship
program associated with the corresponding journeyman wage rate on the wage
determination which provides for less than full fringe benefits for apprentices. Any employee
listed on the payroll at a trainee rate who is not registered and participating in a training plan
approved by the Employment and Training Administration shall be paid not less than the
applicable wage rate on the wage determination for the classification of work actually
performed. In addition, any trainee performing work on the job site in excess of the ratio
permitted under the registered program shall be paid not less than the applicable wage rate
on the wage determination for the work actually performed. In the event the Employment
and Training Administration withdraws approval of a training program, the contractor will no
longer be permitted to utilize trainees at less than the applicable predetermined rate for the
work performed until an acceptable program is approved.
(iii) Equal employment opportunity. The utilization of apprentices, trainees and journeymen
under this part shall be in conformity with the equal employment opportunity requirements of
Executive Order 11246, as amended and 29 CFR part 30.
(5) Compliance with Copeland Act requirements. The contractor shall comply with the
requirements of 29 CFR part 3, which are incorporated by reference in this contract.
(6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the
clauses contained in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA
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determines may by appropriate, and also a clause requiring the subcontractors to include
these clauses in any lower tier subcontracts. The prime contractor shall be responsible for
the compliance by any subcontractor or lower tier subcontractor with all the contract clauses
in 29 CFR 5.5.
(7) Contract termination: debarment. A breach of the contract clauses in 29 CFR 5.5 may be
grounds for termination of the contract, and for debarment as a contractor and a
subcontractor as provided in 29 CFR 5.12.
(8) Compliance with DB and Related Act requirements. All rulings and interpretations of the
DB and Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by
reference in this contract.
(9) Disputes concerning labor standards. Disputes arising out of the labor standards
provisions of this contract shall not be subject to the general disputes clause of this contract.
Such disputes shall be resolved in accordance with the procedures of the DOL set forth in
29 CFR parts 5, 6, and 7. Disputes within the meaning of this clause include disputes
between the contractor (or any of its subcontractors) and Sub recipient(s), State, EPA, DOL,
or the employees or their representatives.
(10) Certification of eligibility.
(i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor any
person or firm who has an interest in the contractor's firm is a person or firm ineligible to be
awarded Government contracts by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).
(ii) No part of this contract shall be subcontracted to any person or firm ineligible for award of
a Government contract by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).
(iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18
U.S.C. 1001.
4. Contract Provision for Contracts in Excess of $100,000.
(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the
following clauses set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any
contract in an amount in excess of $100,000 and subject to the overtime provisions of the
Contract Work Hours and Safety Standards Act. These clauses shall be inserted in addition
to the clauses required by Item 3, above or 29 CFR 4.6. As used in this paragraph, the terms
laborers and mechanics include watchmen and guards.
(1) Overtime requirements. No contractor or subcontractor contracting for any part of the
contract work which may require or involve the employment of laborers or mechanics shall
require or permit any such laborer or mechanic in any workweek in which he or she is
employed on such work to work in excess of forty hours in such workweek unless such
laborer or mechanic receives compensation at a rate not less than one and one-half times
the basic rate of pay for all hours worked in excess of forty hours in such workweek.
(2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of
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the clause set forth in paragraph (b)(1) of this section the contractor and any subcontractor
responsible therefore shall be liable for the unpaid wages. In addition, such contractor and
subcontractor shall be liable to the United States (in the case of work done under contract
for the District of Columbia or a territory, to such District or to such territory), for liquidated
damages. Such liquidated damages shall be computed with respect to each individual
laborer or mechanic, including watchmen and guards, employed in violation of the clause set
forth in paragraph (b)(1) of this section, in the sum of $29 for each calendar day on which
such individual was required or permitted to work in excess of the standard workweek of
forty hours without payment of the overtime wages required by the clause set forth in
paragraph (b)(1) of this section.
(3) Withholding for unpaid wages and liquidated damages. The sub recipient shall upon the
request of the EPA Award Official or an authorized representative of the DOL, withhold or
cause to be withheld, from any moneys payable on account of work performed by the
contractor or subcontractor under any such contract or any other Federal contract with the
same prime contractor, or any other federally-assisted contract subject to the Contract Work
Hours and Safety Standards Act, which is held by the same prime contractor, such sums as
may be determined to be necessary to satisfy any liabilities of such contractor or
subcontractor for unpaid wages and liquidated damages as provided in the clause set forth
in paragraph (a)(2) of this section.
(4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the
clauses set forth in paragraph (a)(1) through (4) of this section and also a clause requiring
the subcontractors to include these clauses in any lower tier subcontracts. The prime
contractor shall be responsible for compliance by any subcontractor or lower tier
subcontractor with the clauses set forth in paragraphs (a)(1) through (4) of this section.
(b) In addition to the clauses contained in Item 3, above, in any contract subject only to the
Contract Work Hours and Safety Standards Act and not to any of the other statutes cited in
29 CFR 5.1, the Sub recipient shall insert a clause requiring that the contractor or
subcontractor shall maintain payrolls and basic payroll records during the course of the work
and shall preserve them for a period of three years from the completion of the contract for all
laborers and mechanics, including guards and watchmen, working on the contract. Such
records shall contain the name and address of each such employee, social security number,
correct classifications, hourly rates of wages paid, daily and weekly number of hours worked,
deductions made, and actual wages paid. Further, the Sub recipient shall insert in any such
contract a clause providing that the records to be maintained under this paragraph shall be
made available by the contractor or subcontractor for inspection, copying, or transcription by
authorized representatives of the EPA and the DOL, and the contractor or subcontractor will
permit such representatives to interview employees during working hours on the job.
5. Compliance Verification
(a) The sub recipient shall periodically interview a sufficient number of employees entitled to
DB prevailing wages (covered employees) to verify that contractors or subcontractors are
paying the appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be
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conducted in confidence. The sub recipient must use Standard Form 1445 (SF 1445) or
equivalent documentation to memorialize the interviews. Copies of the SF 1445 are
available from EPA on request.
(b) The sub recipient shall establish and follow an interview schedule based on its
assessment of the risks of noncompliance with DB posed by contractors or subcontractors
and the duration of the contract or subcontract. Sub recipients must conduct more frequent
interviews if the initial interviews or other information indicated that there is a risk that the
contractor or subcontractor is not complying with DB. Sub recipients shall immediately
conduct interviews in response to an alleged violation of the prevailing wage requirements.
All interviews shall be conducted in confidence.
(c) The sub recipient shall periodically conduct spot checks of a representative sample of
weekly payroll data to verify that contractors or subcontractors are paying the appropriate
wage rates. The sub recipient shall establish and follow a spot check schedule based on its
assessment of the risks of noncompliance with DB posed by contractors or subcontractors
and the duration of the contract or subcontract. At a minimum, if practicable the sub
recipient should spot check payroll data within two weeks of each contractor or
subcontractor’s submission of its initial payroll data and two weeks prior to the completion
date the contract or subcontract. Sub recipients must conduct more frequent spot checks if
the initial spot check or other information indicates that there is a risk that the contractor or
subcontractor is not complying with DB. In addition, during the examinations the sub
recipient shall verify evidence of fringe benefit plans and payments there under by
contractors and subcontractors who claim credit for fringe benefit contributions.
(d) The sub recipient shall periodically review contractors and subcontractors use of
apprentices and trainees to verify registration and certification with respect to apprenticeship
and training programs approved by either the U.S DOL or a state, as appropriate, and that
contractors and subcontractors are not using disproportionate numbers of, laborers, trainees
and apprentices. These reviews shall be conducted in accordance with the schedules for
spot checks and interviews described in Item 5(b) and (c) above.
(e) Sub recipients must immediately report potential violations of the DB prevailing wage
requirements to the EPA DB contact listed above and to the appropriate DOL Wage and
Hour District Office listed at https://www.dol.gov/agencies/whd/contact/local-offices.
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                                                     EPA Funding Information
              FUNDS                                  FORMER AWARD                                THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                 $0                         $ 69,753,000                           $ 69,753,000
EPA In-Kind Amount                                                     $0                                    $0                                    $0
Unexpended Prior Year Balance                                          $0                                    $0                                    $0
Other Federal Funds                                                    $0                                    $0                                    $0
Recipient Contribution                                                 $0                         $ 13,950,600                           $ 13,950,600
State Contribution                                                     $0                                    $0                                    $0
Local Contribution                                                     $0                                    $0                                    $0
Other Contribution                                                     $0                                    $0                                    $0
Allowable Project Cost                                                 $0                         $ 83,703,600                           $ 83,703,600



Assistance Program (CFDA)                       Statutory Authority                                   Regulatory Authority
66.468 - Drinking Water State Revolving Fund    Safe Drinking Water Act: Sec. 1452 & Infrastructure   2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR
                                                Investment and Jobs Act (IIJA) (PL 117-58)            35 Subpart L




                                                                        Fiscal
                                                       Approp.          Budget                   Object                      Cost        Obligation /
          Site Name                 Req No      FY                                     PRC                 Site/Project
                                                        Code          Organization               Class                    Organization   Deobligation
-                                2405PWX026    24     E3SD            05P1           000B81X70   4109     24DA            -              $ 66,962,880
-                                2405PWX026    24     E3SD            05P1           000B81X70   4109     24DD            -               $ 2,790,120
                                                                                                                                         $ 69,753,000
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Budget Summary Page
                                       Table A - Object Class Category                             Total Approved Allowable
                                             (Non-Construction)                                       Budget Period Cost
 1. Personnel                                                                                                                   $0
 2. Fringe Benefits                                                                                                             $0
 3. Travel                                                                                                                      $0
 4. Equipment                                                                                                                   $0
 5. Supplies                                                                                                                    $0
 6. Contractual                                                                                                                 $0
 7. Construction                                                                                                                 $0
 8. Other                                                                                                              $ 83,703,600
 9. Total Direct Charges                                                                                               $ 83,703,600
 10. Indirect Costs: 0.00 % Base N/A                                                                                             $0
 11. Total (Share: Recipient ______
                               16.67 % Federal ______
                                                 83.33 %)                                                              $ 83,703,600
 12. Total Approved Assistance Amount                                                                                  $ 69,753,000
 13. Program Income                                                                                                              $0
 14. Total EPA Amount Awarded This Action                                                                              $ 69,753,000
 15. Total EPA Amount Awarded To Date                                                                                  $ 69,753,000
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                                                 Administrative Conditions
General Terms and Conditions

Use for All New Awards

The recipient agrees to comply with the current EPA general terms and conditions available at: https:
//www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2023-or-later.

These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.epa.
gov/grants/grant-terms-and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the
following email addresses:

• Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and Kimberly Houston houston-williams.
kimberly@epa.gov

• MBE/WBE reports (EPA Form 5700-52A): region5closeouts@epa.gov and sykes.karen@epa. gov

• All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of
the Budget and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to
recipient information (including email addresses, changes in contact information or changes in authorized
representatives) and other notifications: sattlefield.isaiah@epa.gov and houston-williams.kimberly@epa.
gov

• Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
deliverables: Isaiah Sattlefield sattlefield.isaiah@epa.gov

B. Pre-award Costs

In accordance with 2 CFR 1500.9, the grantee may charge pre-award costs (both Federal and non-Federal matching shares) incurred from
7/1/24 to the actual award date provided that such costs were contained in the approved application and all costs are incurred within the
approved budget period.
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                                      Programmatic Conditions
FFY 2024 BIL/IIJA DWSRF General Supplemental Programmatic Terms and Conditions

A. Payment Schedule

The recipient agrees to accept grant funds that will be released by EPA utilizing the ASAP payment
method.

B. State Match

The recipient agrees to deposit into its State Revolving Fund (SRF) a match equal to at least 20 percent
of the amount awarded in the capitalization grant.

C. Intended Use Plan and Operating Agreement

The entire contents of the Bipartisan Infrastructure Law (BIL)/Infrastructure Investments and Jobs Act
(IIJA) SFY 2024 Intended Use Plan (IUP) and (if applicable) the Operating Agreement (OA) are
incorporated hereto by reference and made a part of this Assistance Agreement.

D. Amended Cash Draw Proportionality

As of November 18, 2022, recipients are no longer required to comply with the cash draw rules in the
Clean Water State Revolving Fund (CWSRF) regulations at 40 CFR 35.3155(d)(5)(i) and (ii) and 40 CFR
35.3160(b)(2)-(4) and Drinking Water State Revolving Fund (DWSRF) regulations at 40 CFR 35.3560(f)
and (g) and 40 CFR 35.3565(b). For further details on this change, see the linked notification memo from
Division Directors Raffael Stein and Anita Maria Thompkins dated November 30, 2022.

E. Set-Asides

The recipient agrees to perform the activities identified and specified in the Set-Aside Work Plan, which
is made part of this Assistance Agreement. The recipient shall provide or make available to the Region 5
Drinking Water Project Officer copies of the work plans associated with grants and contracts that it may
enter into with other agencies and organizations related to activities conducted under this grant. The
recipient agrees to provide to the Region 5 Drinking Water Project Officer an annual report on the set-
aside activities funded under this grant. In its annual report, the grant recipient shall include a summary
description of activities completed under grants and contracts entered into with funds made available
under the grant. These annual set aside reports shall be provided with the SRF Annual Report each year
the grant is in effect.

F. Travel

EPA approves the use of Federal funds for travel budgeted in capitalization grants for implementing the
Drinking Water SRF (DWSRF) program. The recipient agrees to use Federal funds to participate in
training and professional development activities integral to the effective implementation and management
of the DWSRF program.

G. SRF Data System and Public Health Benefits Reporting
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The recipient agrees to input data, as required by EPA, into the SRF Data System. The recipient of
funds for the State Revolving Funds (SRF) from the BIL, also known as the IIJA, 2021, P.L. 117-58,
agrees to comply with all requests for data related to the use of the funds under Section 1452 of the Safe
Drinking Water Act (SDWA), and to report all uses of the funds no less than quarterly, as the
Environmental Protection Agency specifies for the SRF Data System. This reporting shall include but not
be limited to data with respect to compliance with the DWSRF discretionary Green Project Reserve and
additional subsidization requirements as specified in P.L. 118-42 (the Consolidated Appropriations Act,
2024), and P.L. 117-58, respectively. EPA agrees to provide technical assistance to the state in its use of
the SRF Data System.

H. Annual Reporting

In accordance with 2 CFR 200.329 and 40 CFR 35.3570, the recipient agrees to provide in its
Annual information regarding key project characteristics, milestones, and environmental/public health
protection results in the following areas: 1) achievement of the outputs and outcomes established in the
IUP; 2) the reasons for delays if established outputs or outcomes were not met; 3) any additional
pertinent information on environmental/public health results; 4) compliance with the Green Project
Reserve discretionary requirement; and 5) use of additional subsidization.

I. Program Income from Administrative Fees

The recipient agrees to maintain program income resulting from program operations generated during
the project period (e.g., administrative fees collected from DWSRF project loan recipients) in an account
separate from the DWSRF project loan fund. In addition, the recipient agrees that such program income
shall be used only for purposes related to the administration of the DWSRF program or other purposes
authorized pursuant to EPA regulations.

J. Signage Required

1. Signage Requirements

       a. Investing in America Emblem: The recipient will ensure that a sign is placed at construction
       sites supported in whole or in part by this award displaying the official Investing in America
       emblem and must identify the project as a “project funded by President Biden's Bipartisan
       Infrastructure Law” or “project funded by President Biden's Inflation Reduction Act” as applicable.
       The sign must be placed at construction sites in an easily visible location that can be directly
       linked to the work taking place and must be maintained in good condition throughout the
       construction period.

       The recipient will ensure compliance with the guidelines and design specifications provided by
       EPA for using the official Investing in America emblem available at: https://www.epa.
       gov/invest/investing-america-signage.

       b. Procuring Signs: Consistent with section 6002 of RCRA, 42 U.S.C. 6962, and 2 CFR 200.323,
       recipients are encouraged to use recycled or recovered materials when procuring signs. Signage
       costs are considered an allowable cost under this assistance agreement provided that the costs
       associated with signage are reasonable. Additionally, to increase public awareness of projects
       serving communities where English is not the predominant language, recipients are encouraged
       to translate the language on signs (excluding the official Investing in America emblem or EPA
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       logo or seal) into the appropriate non-English language(s). The costs of such translation are
       allowable, provided the costs are reasonable.

2. Public or Media Events

EPA encourages the recipient to notify the EPA Project Officer listed in this award document of public or
media events publicizing the accomplishment of significant events related to construction projects as a
result of this agreement and provide the opportunity for attendance and participation by federal
representatives with at least ten (10) working days' notice.

K. Lead Service Line Replacement

The following terms and conditions apply to all assistance agreements signed on or after August 1, 2024
involving lead service line replacement. At the discretion of State DWSRF programs these requirements
may be applied to assistance agreements signed prior to this effective date.

(a) Stand-alone Lead Service Line Replacement

       (1) The recipient agrees to ensure that stand-alone LSLR projects funded either in whole or in
       part under this capitalization grant must replace the entire lead service line, not just a portion,
       unless a portion has already been replaced or is concurrently being replaced with another funding
       source.

       (2) The recipient agrees the time between starting and completing full LSLR for individual service
       lines should be as short as possible and should not exceed three months.

(b) Lead Service Line Replacement Performed in Conjunction with Planned Infrastructure Projects

       (1) While full LSLR is the desired outcome of all DWSRF assistance for LSLR, the logistics
       involved with coordinating LSLR with planned infrastructure projects may dictate that partial
       replacement of a service line is necessary if disturbance to the service line is unavoidable and the
       water system cannot gain access to conduct a full lead service line replacement (e.g., a customer
       refuses to allow replacement of the customer-owned portion of the service line). In the event a
       water system cannot gain access to conduct full LSLR because of a customer refusal, borrowers
       receiving assistance under the DWSRF assistance agreement may conduct partial LSLR in
       conjunction with planned infrastructure work. For the purposes of oversight and confirming
       eligibility, state programs must require borrowers to document customer refusals, which could
       consist of any of the following: a refusal signed by the customer, documentation of a verbal
       statement refusing replacement, or documentation of no response after multiple attempts to
       reach the customer regarding full LSLR. State programs must record the number of partial
       replacements and the methods for documenting customer refusals in the SRF data system. Even
       if these requirements for conducting partial LSLR in conjunction with planned infrastructure
       projects are satisfied, a state, in its discretion, can still choose to fund only full LSLR.

(c) Lead Service Line Replacement Performed in Conjunction with Emergency Infrastructure Repair or
Replacement

       (1) Under emergency circumstances, a PWS may use DWSRF funding to pay for partial LSLR if
       full replacement is not possible due to customer refusal. For the purposes of oversight and
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       confirming eligibility, state programs must require borrowers to document customer refusals in a
       manner determined by the state. Best practices consist of any of the following: a refusal signed
       by the customer, documentation of a verbal statement refusing replacement, or documentation of
       no response after multiple attempts to reach the customer regarding full LSLR. State programs
       must record the number of partial replacements and the methods for documenting customer
       refusals in the SRF data system. Even if these requirements for conducting partial LSLR in
       emergency circumstances are satisfied, a state, in its discretion, can still choose to fund only full
       LSLR.

L. Green Project Reserve

The recipient agrees that the funds provided by this capitalization grant may, at the discretion of the
recipient, be used for projects to address green infrastructure, water or energy efficiency improvements,
or other environmentally innovative activities.

M. Additional Subsidization

The recipient agrees to use 49 percent of the funds made available in the capitalization grant to provide
additional subsidy to disadvantaged communities as described in section 1452(d) of the Safe Drinking
Water Act (SDWA) in the form of forgiveness of principal or as grants (or any combination of these),
which shall be used only where such funds are provided as initial financing for an eligible recipient or to
buy, refinance, or restructure the debt obligations of eligible recipients only where such debt was incurred
after November 15, 2021.

N. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at www.fgdc.gov.

O. American Iron and Steel (AIS)

(a) Definitions. As used in this award term and condition—

(1) “iron and steel products” means the following products made primarily of iron or steel: lined or unlined
pipes and fittings, manhole covers and other municipal castings, hydrants, tanks, flanges, pipe clamps
and restraints, valves, structural steel, reinforced precast concrete, and construction materials.

(2) “steel” means an alloy that includes at least 50 percent iron, between .02 and 2 percent carbon, and
may include other elements.

(b) Domestic preference.

(1) This award term and condition implements the Safe Drinking Water Act, section 1452(a)(4), by
requiring that all iron and steel products used for a project for the construction, alteration, maintenance or
repair of a public water system are produced in the United States except as provided in paragraph (b)(2)
of this section and condition.

(2) This requirement shall not apply in any case or category of cases in which the Administrator of the
Environmental Protection Agency finds that—
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       (i) applying the requirement would be inconsistent with the public interest;

       (ii) iron and steel products are not produced in the United States in sufficient and reasonably
       available quantities and of a satisfactory quality; or

       (iii) inclusion of iron and steel products produced in the United States will increase the cost of the
       overall project by more than 25 percent.

(3) The Build America, Buy America (BABA) Act requirement does not supersede the AIS requirement,
and both provisions still apply and work in conjunction.

(c) Request for a Waiver under (b)(2) of this section

(1) Any recipient request to use foreign iron or steel products in accordance with paragraph (b)(2) of this
section shall include adequate information for Federal Government evaluation of the request, including—

       (A) A description of the foreign and domestic iron, steel, and/or manufactured goods;

       (B) Unit of measure;

       (C) Quantity;

       (D) Cost;

       (E) Time of delivery or availability;

       (F) Location of the project;

       (G) Name and address of the proposed supplier; and

       (H) A detailed justification of the reason for use of foreign iron or steel products cited in
       accordance with paragraph (b)(2) of this section.

(2) If the Administrator receives a request for a waiver under this section, the waiver request shall be
made available to the public for at least 15 days prior to making a finding based on the request.

(3) Unless the Administrator issues a waiver of this term, use of foreign iron and steel products is
noncompliant with the Safe Drinking Water Act, section 1452(a)(4).

(d) This term and condition shall be applied in a manner consistent with United States obligations under
international agreements.



P. State Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.
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(b) (1) EPA must ensure that any connections between the recipient's network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to ensure
that the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by EPA's regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any sub-awards it makes under this agreement will require the subrecipient
to comply with the requirements in (b)(1) if the sub-recipient's network or information system is
connected to EPA networks to transfer data to the Agency using systems other than the Environmental
Information Exchange Network or EPA's Central Data Exchange. The recipient will be in compliance with
this condition: by including this requirement in sub-award agreements; and during subrecipient
monitoring deemed necessary by the recipient under 2 CFR 200.331(d), by inquiring whether the
subrecipient has contacted the EPA Project Officer. Nothing in this condition requires the recipient to
contact the EPA Project Officer on behalf of a subrecipient or to be involved in the negotiation of an
Interconnection Service Agreement between the subrecipient and EPA.

Q. Internal Controls for Financial Transactions

The recipient agrees to use procedures consistent with “zero-trust” (never trust, always verify) for all
financial transactions with SRF funds. These procedures must include verbal verification with a trusted
recipient representative of all financial account information both initially and prior to any changes in
financial account information.

R. Davis-Bacon Labor Standards

1. Program Applicability

a. Program Name: Drinking Water State Revolving Fund

b. Statute requiring compliance with Davis-Bacon: Section 1452(a)(5) of the Safe Drinking Water Act

c. Activities subject to Davis-Bacon: Any project for construction, alteration, or repair carried out in whole
or part with assistance made available by the drinking water state revolving loan fund under Section
1452 of the Safe Drinking Water Act. This applies to all projects whether equivalency or not.

d. The recipient must work with the appropriate authorities to determine wage classifications for the
specific project(s) or activities subject to Davis Bacon under this grant (or cooperative agreement).

2. Davis-Bacon and Related Acts
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Davis-Bacon and Related Acts (DBRA) is a collection of labor standards provisions administered by the
Department of Labor, that are applicable to grants involving construction. These labor standards include
the:

       Davis-Bacon Act, which requires payment of prevailing wage rates for laborers and mechanics
       on construction contracts of $2,000 or more

       Copeland “Anti-Kickback” Act, which prohibits a contractor or subcontractor from inducing an
       employee into giving up any part of the compensation to which he or she is entitled; and

       Contract Work Hours and Safety Standards Act, which requires overtime wages to be paid for
       over 40 hours of work per week, under contracts in excess of $100,000

3. Recipient Responsibilities When Entering Into and Managing Contracts:

a. Solicitation and Contract Requirements:

       i. Include the Correct Wage Determinations in Bid Solicitations and Contracts: Recipients are
       responsible for complying with the procedures provided in 29 CFR 1.6 when soliciting bids and
       awarding contracts.

       ii. Include DBRA Requirements in All Contracts: Include the following text on all contracts under
       this grant:

       “By accepting this contract, the contractor acknowledges and agrees to the terms provided in the
       DBRA Requirements for Contractors and Subcontractors Under EPA Grants.”

b. After Award of Contract:

       i. Approve and Submit Requests for Additional Wages Rates: Work with contractors to request
       additional wage rates if required for contracts under this grant, as provided in 29 CFR 5.5(a)(1)
       (iii).

       ii. Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure
       contractor compliance with the terms of the contract, as required by 29 CFR 5.6.

4. Recipient Responsibilities When Establishing and Managing Additional Subawards:

a. Include DBRA Requirements in All Subawards (including Loans):

       Include the following text on all subawards under this grant:

       “By accepting this award, the EPA subrecipient acknowledges and agrees to the terms and
       conditions provided in the DBRA Requirements for EPA Subrecipients.”

b. Provide Oversight to Ensure Compliance with DBRA Provisions: Recipients are responsible for
oversight of subrecipients and must ensure subrecipients comply with the requirements in 29 CFR 5.6.

5. The contract clauses set forth in this Term & Condition, along with the correct wage determinations,
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will be considered to be a part of every prime contract covered by Davis-Bacon and Related Acts (see 29
CFR 5.1), and will be effective by operation of law, whether or not they are included or incorporated by
reference into such contract, unless the Department of Labor grants a variance, tolerance, or exemption.
Where the clauses and applicable wage determinations are effective by operation of law under this
paragraph, the prime contractor must be compensated for any resulting increase in wages in accordance
with applicable law.
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                                                         EPA Funding Information
            FUNDS                                         FORMER AWARD                                  THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                      $0                            $32,734,000                               $32,734,000
EPA In-Kind Amount                                                          $0                                      $0                                        $0
Unexpended Prior Year Balance                                               $0                                      $0                                        $0
Other Federal Funds                                                         $0                                      $0                                        $0
Recipient Contribution                                                      $0                                      $0                                        $0
State Contribution                                                          $0                                      $0                                        $0
Local Contribution                                                          $0                                      $0                                        $0
Other Contribution                                                          $0                                      $0                                        $0
Allowable Project Cost                                                      $0                            $32,734,000                               $32,734,000



Assistance Program (CFDA)                           Statutory Authority                                    Regulatory Authority
66.468 - Capitalization Grants for Drinking Water   Safe Drinking Water Act: Sec. 1452 &                   2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR 35
State Revolving Funds                               Infrastructure Investment and Jobs Act (IIJA) (PL      Subpart L
                                                    117-58)




                                                                           Fiscal
           Site Name                   Req No       FY     Approp.          Budget        PRC           Object   Site/Project      Cost            Obligation /
                                                            Code          Oganization                   Class                   Organization       Deobligation
-                                   2305PWX052       22        E3SD              05P1   000B81X72        4109            22DA                  -    $32,734,000
                                                                                                                                                    $32,734,000
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                          Attachment 1 - Project Description
The primary purpose/objective of this program is to capitalization Illinois's DWSRF program
for funding Emerging Contaminants (EC) projects consistent with the Infrastructure
Investment and Jobs Act DW Emerging Contaminants appropriation. In addition, the Illinois
Environmental Protection Agency has provided a request and all the necessary
documentation to transfer the full CWSRF EC grant to DWSRF EC. The CWSRF EC funds
of $4,229,000 are awarded as EPA In-kind in (4X-00E03525-0) and will be awarded to
Illinois in this, the DWSRF Emerging Contaminants grant. The Illinois Environmental
Protection Agency will provide the funds in Illinois entirely as additional subsidy, consistent
with the law, to protect water quality and public health in Illinois and to vitalize the economy
through the creation of jobs. This process satisfies the statutory requirement that the
CWSRF award be made prior to the funds transfer. Section 1452 of the Safe Drinking Water
Act (SDWA) authorizes the state to utilize funds to further the health protection objectives of
SDWA. The state has submitted an Intended Use Plan (IUP) as part of the application
package for this capitalization grant . This IUP contains a list of the capital projects that
address emerging contaminants that may receive funding from this grant. The recipient may
also use some of the funding for specific "set-asides" to provide technical assistance to
small systems, program administration, state program management and other allowable
uses. The benefits of this grant will be to capitalize the recipient’s DWSRF with primary
purpose to address emerging contaminants in drinking water with a focus on projects
addressing PFAS. The Fund can then be used to increase technical, financial and
managerial capacity of public water systems, and provide assurance of a cleaner and safer
potable water supply by funding improvements to multiple water infrastructure projects.
These public health benefits will be statewide.
The Drinking Water State Revolving Fund Program is exempt from 2 CFR 200.332
subrecipient management requirements for subawards as provided in 2CFR 1500. Program
provides assistance in the form of loans. The Illinois Environmental Protection Agency will
fund $32,734,000 toward loans in their Intended Use Plan (Site Project Code DA).
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                               Administrative Conditions
General Terms and Conditions
The recipient agrees to comply with the current EPA general terms and conditions available
at: https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2022-
or-later.
These terms and conditions are in addition to the assurances and certifications made as a
part of the award and the terms, conditions, or restrictions cited throughout the award.
The EPA repository for the general terms and conditions by year can be found at:
https://www.epa.gov/grants/grant-terms-and-conditions#general.
A. Correspondence Condition
The terms and conditions of this agreement require the submittal of reports, specific
requests for approval, or notifications to EPA. Unless otherwise noted, all such
correspondence should be sent to the following email addresses:

Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and tukes.michael@epa.gov
MBE/WBE reports (EPA Form 5700-52A): Michael Tukes – DBE Coordinator at
tukes.michael@epa.gov and region5closeouts@epa.gov.
All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for
Extensions of the Budget and Project Period, Amendment Requests, Requests for other
Prior Approvals, updates to recipient information (including email addresses, changes in
contact information or changes in authorized representatives) and other notifications:
Andrew Bielanski at Bielanski.andrew@epa.gov and Michael Tukes at
tukes.michael@epa.gov.
Payment requests (if applicable): Andrew Bielanski at Bielanski.andrew@epa.gov
Quality Assurance documents, workplan revisions, equipment lists, programmatic reports
and deliverables: Andrew Bielanski at Bielanski.andrew@epa.gov.
B. Pre-award Costs
In accordance with 2 CFR 1500.9, the grantee may charge pre-award costs (both Federal
and non-Federal matching shares) incurred from 7/1/23 to the actual award date provided
that such costs were contained in the approved application and all costs are incurred within
the approved budget period.



                               Programmatic Conditions
 FFY 2022 BIL/IIJA DWSRF Emerging Contaminant Programmatic Terms
                          and Conditions
A. Explanation of Transfer
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This action approves the full FFY 20222 CWSRF BIL Emerging Contaminants (EC) allotment inter-
SRF transfer of $4,229,000 to the FFY 2022 DWSRF BIL EC capitalization grant award as
authorized under Section 302 of the Safe Drinking Water Act Amendments of 1996, 42 U.S.C. 300j-
12, and subsequent Pub. L. 109-54, Title II, August 2, 2005, 119 Stat. 530. The FFY 2022/SFY 2024
Illinois DWSRF IUP and PPL which contains the EC identified projects eligibel to receive these funds
is attached in Section M.

B. Payment Schedule

The recipient agrees to accept grant funds that will be released by EPA utilizing the ASAP payment
method.

C. Intended Use Plan and Operating Agreement

The entire contents of the Bipartisan Infrastructure Law (BIL)/Infrastructure Investment and Jobs Act
(IIJA) Emerging Contaminant SFY 2022 Intended Use Plan (IUP) and (if applicable) the Operating
Agreement (OA) are incorporated hereto by reference and made a part of this Assistance
Agreement. For a project or activity to be eligible for funding under this appropriation, it must be
otherwise Drinking Water State Revolving Fund (DWSRF)-eligible, and the primary purpose must be
to address emerging contaminants in drinking water.

D. Set-Aside Work Plan

The recipient agrees to perform the activities identified and specified in the work program plan, which
is made part of this Assistance Agreement. Set-asides under this appropriation must be used to
either administer this capitalization grant or meet the statutory purpose of these funds: “to address
emerging contaminants in drinking water with a focus on perfluoroalkyl and polyfluoroalkyl
substances.”

E. Amended Cash Draw Proportionality

As of November 18, 2022, recipients are no longer required to comply with the cash draw rules in the
Clean Water State Revolving Fund (CWSRF) regulations at 40 CFR 35.3155(d)(5)(i) and (ii) and 40
CFR 35.3160(b)(2)-(4) and Drinking Water State Revolving Fund (DWSRF) regulations at 40 CFR
35.3560(f) and (g) and 40 CFR 35.3565(b). For further details on this change, see the linked
notification memo rom Division Directors Raffael Stein and Anita Maria Thompkins dated [November
30, 2022].

F. Set-Aside Sub-Grants and Contracts

The recipient shall provide or make available to the Project Officer copies of the work plans
associated with grants and contracts that it may enter into with other agencies and organizations
related to activities conducted under this grant. In its semi-annual report, the grant recipient shall
include a summary description of activities completed under grants and contracts entered into with
funds made available under the grant.

G. Travel

EPA approves the use of Federal funds for travel budgeted in capitalization grants for implementing
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the DWSRF program. The recipient agrees to use Federal funds to participate in training and
professional development activities integral to the effective implementation and management of the
DWSRF program.

H. SRF Data System and Public Health Benefits Reporting

The recipient agrees to input data, as required by EPA, into the SRF Data System. The recipient of
funds for the SRF from the BIL, also known as the IIJA, 2021, P.L. 117-58, agrees to comply with all
requests for data related to the use of the funds under Section 1452 of the Safe Drinking Water Act
(SDWA), and to report all uses of the funds no less than quarterly, as the Environmental Protection
Agency specifies for the SRF Data System. This reporting shall include but not be limited to data
with respect to compliance with the DWSRF discretionary Green Project Reserve and additional
subsidization requirements as specified in P.L. 117-103 (the Consolidated Appropriations Act, 2022),
and P.L. 117-58, respectively.

EPA agrees to provide technical assistance to the State in its use of the SRF Data System.

I. Annual Reporting

In accordance with 2 CFR 200.328 and 40 CFR 35.3570, the recipient agrees to provide in its Annual
Report information regarding key project characteristics, milestones, and environmental/public health
protection results in the following areas: 1) achievement of the outputs and outcomes established in
the Intended Use Plan; 2) the reasons for delays if established outputs or outcomes were not met; 3)
any additional pertinent information on environmental/public health results; 4) compliance with the
Green Project Reserve discretionary requirement; and 5) use of additional subsidization.

J. Set-Aside Reporting

The recipient agrees to provide to the Project Officer an annual report on the set-aside activities
funded under this grant. These reports shall be provided on September 30th of each year the grant
is in effect.

K. Program Income from Administrative Fees

The recipient agrees to maintain program income resulting from program operations generated
during the project period (e.g., administrative fees collected from DWSRF project loan recipients) in
an account separate from the DWSRF project loan fund. In addition, the recipient agrees that such
program income shall be used only for purposes related to the administration of the DWSRF program
or other purposes authorized pursuant to EPA regulations.

L. Additional Subsidization

The recipient agrees to use 100 percent of the funds made available in the capitalization grant, net of
set-asides taken, to provide additional subsidy in the form of forgiveness of principal or as grants (or
any combination of these). The recipient must direct at least 25 percent of these additional subsidy
funds to disadvantaged communities (as defined by the state under SDWA 1452(d)) or public water
systems serving fewer than 25,000 persons. The recipient agrees to provide these funds only as
initial financing for an eligible recipient or to buy, refinance, or restructure the debt obligations of
eligible recipients only where such debt was incurred after November 15, 2021.
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M. Green Project Reserve

The recipient agrees that the funds provided by this capitalization grant may, at the discretion of the
recipient, be used for projects to address green infrastructure, water or energy efficiency
improvements, or other environmentally innovative activities.

N. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at www.fgdc.gov.

O. American Iron and Steel (AIS)
(a)Definitions. As used in this award term and condition—

   (1) “iron and steel products” mean the following products made primarily of iron or steel: lined or
   unlined pipes and fittings, manhole covers and other municipal castings, hydrants, tanks, flanges,
   pipe clamps and restraints, valves, structural steel, reinforced precast concrete, and construction
   materials.

   (2) “steel” means an alloy that includes at least 50 percent iron, between .02 and 2 percent
   carbon, and may include other elements.

(b) Domestic preference.

   (1) This award term and condition implements the Safe Drinking Water Act, section 1452(a)(4),
   by requiring that all iron and steel products used for a project for the construction, alteration,
   maintenance or repair of a public water system are produced in the United States except as
   provided in paragraph (b)(2) of this section and condition.

   (2) This requirement shall not apply in any case or category of cases in which the Administrator
   of the Environmental Protection Agency finds that—

      (i) applying the requirement would be inconsistent with the public interest;

      (ii) iron and steel products are not produced in the United States in sufficient and reasonably
      available quantities and of a satisfactory quality; or

      (iii) inclusion of iron and steel products produced in the United States will increase the cost of
      the overall project by more than 25 percent.

    (3) The Build America, Buy America (BABA) Act requirement does not supersede the AIS
    requirement, and both provisions still apply and work in conjunction.

(c) Request for a Waiver under (b)(2) of this section

   (1) Any recipient request to use foreign iron or steel products in accordance with paragraph (b)(2)
   of this section shall include adequate information for Federal Government evaluation of the
   request, including—

      (A) A description of the foreign and domestic iron, steel, and/or manufactured goods;
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      (B) Unit of measure;

      (C) Quantity;

      (D) Cost;

      (E) Time of delivery or availability;

      (F) Location of the project;

      (G) Name and address of the proposed supplier; and

      (H) A detailed justification of the reason for use of foreign iron or steel products cited in
      accordance with paragraph (b)(2) of this section.

   (2) If the Administrator receives a request for a waiver under this section, the waiver request shall
   be made available to the public for at least 15 days prior to making a finding based on the
   request.

   (3) Unless the Administrator issues a waiver of this term, use of foreign iron and steel products is
   noncompliant with the Safe Drinking Water Act, section 1452(a)(4).

(d) This term and condition shall be applied in a manner consistent with United States obligations
under international agreements.

P. State Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this
assistance agreement, it will protect the data by following all applicable State law cybersecurity
requirements.

(b) (1) EPA must ensure that any connections between the recipient’s network or information system
and EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory,
user-controlled connections such as website browsing are excluded from this definition.

If the recipient’s connections as defined above do not go through the Environmental Information
Exchange Network or EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to
ensure that the connections meet EPA security requirements, including entering into Interconnection
Service Agreements as appropriate. This condition does not apply to manual entry of data by the
recipient into systems operated and used by EPA’s regulatory programs for the submission of
reporting and/or compliance data.

(2) The recipient agrees that any sub-awards it makes under this agreement will require the
subrecipient to comply with the requirements in (b)(1) if the sub-recipient’s network or information
system is connected to EPA networks to transfer data to the Agency using systems other than the
Environmental Information Exchange Network or EPA’s Central Data Exchange. The recipient will be
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in compliance with this condition: by including this requirement in sub-award agreements; and during
subrecipient monitoring deemed necessary by the recipient under 2 CFR 200.331(d), by inquiring
whether the subrecipient has contacted the EPA Project Officer. Nothing in this condition requires the
recipient to contact the EPA Project Officer on behalf of a subrecipient or to be involved in the
negotiation of an Interconnection Service Agreement between the subrecipient and EPA.

Q. Internal Controls for Financial Transactions

The recipient agrees to use procedures consistent with “zero-trust” (never trust, always verify) for all
financial transactions with SRF funds. These procedures must include verbal verification with a
trusted recipient representative of all financial account information both initially and prior to any
changes in financial account information.

R. Wage Rate Requirements

The recipient agrees to include in all agreements to provide assistance for any construction project
carried out in whole or in part with such assistance made available by a drinking water revolving loan
fund as authorized by section 1452 of the Safe Drinking Water Act (42 U.S.C. 300j-12), a term and
condition requiring compliance with the requirements of section 1450(e) of the Safe Drinking Water
Act (42 U.S.C.300j-9(e)) in all procurement contracts and sub-grants, and require that loan
recipients, procurement contractors and sub-grantees include such a term and condition in
subcontracts and other lower tiered transactions. All contracts and subcontracts for any construction
project carried out in whole or in part with assistance made available as stated herein shall insert in
full in any contract in excess of $2,000 the contract clauses as attached hereto entitled “Wage Rate
Requirements Under The Clean Water Act, Section 513 and the Safe Drinking Water Act, Section
1450(e).” This term and condition applies to all agreements to provide assistance under the
authorities referenced herein, whether in the form of a loan, bond purchase, grant, or any other
vehicle to provide financing for a project, where such agreements are executed on or after October
30, 2009.

Preamble

With respect to the DWSRF program, EPA provides capitalization grants to each State which in turn
provides sub grants or loans to eligible entities within the State. Typically, the sub recipients are
municipal or other local governmental entities that manage the funds. For these types of recipients,
the provisions set forth under Roman numeral I, below, shall apply. Although EPA and the State
remain responsible for ensuring sub recipients’ compliance with the wage rate requirements set forth
herein, those sub recipients shall have the primary responsibility to maintain payroll records as
described in Section I-3(ii)(A), below and for compliance as described in Section I-5.

Occasionally, the sub recipient may be a private for profit or not for profit entity. For these types of
recipients, the provisions set forth in Roman Numeral II, below, shall apply. Although EPA and the
State remain responsible for ensuring sub recipients’ compliance with the wage rate requirements
set forth herein, those sub recipients shall have the primary responsibility to maintain payroll records
as described in Section II-3(ii)(A), below and for compliance as described in Section II-5.
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                                           ATTACHMENT 1

I. Requirements Under Section 1452(a)(5) of the Safe Drinking Water Act For Sub recipients
That Are Governmental Entities:

The following terms and conditions specify how recipients will assist EPA in meeting its Davis-Bacon
(DB) responsibilities when DB applies to EPA awards of financial assistance with respect to State
recipients and sub recipients that are governmental entities. If a sub recipient has questions
regarding when DB applies, obtaining the correct DB wage determinations, DB provisions, or
compliance monitoring, it may contact the State recipient. If a State recipient needs guidance, the
recipient may contact EPA’s Suzanne Hersh at Hersh.Suzanne@epa.gov or 202-564-3361 for
guidance. The recipient or sub recipient may also obtain additional guidance from the U.S.
Department of Labor’s (DOL) website at http://www.dol.gov/whd/



1. Applicability of the DB prevailing wage requirements.

DB prevailing wage requirements apply to the construction, alteration, and repair of treatment works
carried out in whole or in part with assistance made available by a State water pollution control
revolving fund and to any construction project carried out in whole or in part by assistance made
available by a drinking water treatment revolving loan fund. If a sub recipient encounters a unique
situation at a site that presents uncertainties regarding DB applicability, the sub recipient must
discuss the situation with the recipient State before authorizing work on that site.

2. Obtaining Wage Determinations.

(a) Sub recipients shall obtain the wage determination for the locality in which a covered activity
subject to DB will take place prior to issuing requests for bids, proposals, quotes or other methods for
soliciting contracts (solicitation) for activities subject to DB. These wage determinations shall be
incorporated into solicitations and any subsequent contracts. Prime contracts must contain a
provision requiring that subcontractors follow the wage determination incorporated into the prime
contract.

           (i)        While the solicitation remains open, the sub recipient shall monitor
           https://sam.gov/ weekly to ensure that the wage determination contained in the solicitation
           remains current. The sub recipients shall amend the solicitation if DOL issues a
           modification more than 10 days prior to the closing date (i.e. bid opening) for the
           solicitation. If DOL modifies or supersedes the applicable wage determination less than
           10 days prior to the closing date, the sub recipients may request a finding from the State
           recipient that there is not a reasonable time to notify interested contractors of the
           modification of the wage determination. The State recipient will provide a report of its
           findings to the sub recipient.

           (ii)      If the sub recipient does not award the contract within 90 days of the closure of
           the solicitation, any modifications or supersedes DOL makes to the wage determination
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           contained in the solicitation shall be effective unless the State recipient, at the request of
           the sub recipient, obtains an extension of the 90-day period from DOL pursuant to 29
           CFR 1.6(c)(3)(iv). The sub recipient shall monitor https://sam.gov/ on a weekly basis if it
           does not award the contract within 90 days of closure of the solicitation to ensure that
           wage determinations contained in the solicitation remain current.

(b) If the sub recipient carries out activity subject to DB by issuing a task order, work assignment or
similar instrument to an existing contractor (ordering instrument) rather than by publishing a
solicitation, the sub recipient shall insert the appropriate DOL wage determination from
https://sam.gov/ into the ordering instrument.

(c) Sub recipients shall review all subcontracts subject to DB entered into by prime contractors to
verify that the prime contractor has required its subcontractors to include the applicable wage
determinations.

(d) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to a sub
recipient’s contract after the award of a contract or the issuance of an ordering instrument if DOL
determines that the sub recipient has failed to incorporate a wage determination or has used a wage
determination that clearly does not apply to the contract or ordering instrument. If this occurs, the
sub recipient shall either terminate the contract or ordering instrument and issue a revised solicitation
or ordering instrument or incorporate DOL’s wage determination retroactive to the beginning of the
contract or ordering instrument by change order. The sub recipient’s contractor must be
compensated for any increases in wages resulting from the use of DOL’s revised wage
determination.

3. Contract and Subcontract provisions.

(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in excess of
$2,000 which is entered into for the actual construction, alteration and/or repair, including painting
and decorating, of a treatment work under the CWSRF or a construction project carried out in whole
or in part with assistance made available by the DWSRF, and which is subject to the labor standards
provisions of any of the acts listed in § 5.1 or the Safe Drinking Water Act, Section 1452(a)(5), the
following clauses:

      (1) Minimum wages.

             (i) All laborers and mechanics employed or working upon the site of the work will be paid
             unconditionally and not less often than once a week, and without subsequent deduction
             or rebate on any account (except such payroll deductions as are permitted by
             regulations issued by the Secretary of Labor under the Copeland Act (29 CFR part 3)),
             the full amount of wages and bona fide fringe benefits (or cash equivalents thereof) due
             at time of payment computed at rates not less than those contained in the wage
             determination of the Secretary of Labor which is attached hereto and made a part
             hereof, regardless of any contractual relationship which may be alleged to exist between
             the contractor and such laborers and mechanics.

             Contributions made or costs reasonably anticipated for bona fide fringe benefits under
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       section 1(b)(2) of the DB Act on behalf of laborers or mechanics are considered wages
       paid to such laborers or mechanics, subject to the provisions of paragraph (a)(1)(iv) of
       this section; also, regular contributions made or costs incurred for more than a weekly
       period (but not less often than quarterly) under plans, funds, or programs which cover
       the particular weekly period, are deemed to be constructively made or incurred during
       such weekly period. Such laborers and mechanics shall be paid the appropriate wage
       rate and fringe benefits on the wage determination for the classification of work actually
       performed, without regard to skill, except as provided in § 5.5(a)(4). Laborers or
       mechanics performing work in more than one classification may be compensated at the
       rate specified for each classification for the time actually worked therein: Provided that
       the employer's payroll records accurately set forth the time spent in each classification in
       which work is performed. The wage determination (including any additional classification
       and wage rates conformed under paragraph (a)(1)(ii) of this section) and the DB poster
       (WH-1321) shall be posted at all times by the contractor and its subcontractors at the
       site of the work in a prominent and accessible place where it can be easily seen by the
       workers.

       Sub recipients may obtain wage determinations from the U.S. Department of Labor’s
       website, https://sam.gov/.

       (ii) (A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or
       mechanics, including helpers, which is not listed in the wage determination and which is
       to be employed under the contract shall be classified in conformance with the wage
       determination. The State award official shall approve a request for an additional
       classification and wage rate and fringe benefits therefore only when the following criteria
       have been met:

                   (1) The work to be performed by the classification requested is not
                   performed by a classification in the wage determination; and

                   (2) The classification is utilized in the area by the construction industry; and

                   (3) The proposed wage rate, including any bona fide fringe benefits, bears a
                   reasonable relationship to the wage rates contained in the wage
                   determination.

             (B) If the contractor and the laborers and mechanics to be employed in the
             classification (if known), or their representatives, and the sub recipient(s) agree on
             the classification and wage rate (including the amount designated for fringe
             benefits where appropriate), documentation of the action taken and the request,
             including the local wage determination shall be sent by the sub recipient (s) to the
             State award official. The State award official will transmit a completed
             conformance request form (SF-1444 or similar) and supporting materials to WHD-
             CBACONFORMANCE INCOMING@dol.gov and to the EPA DB Regional
             Coordinator concurrently. The Department of Labor Administrator, or an
             authorized representative, will approve, modify, or disapprove every additional
             classification request within 30 days of receipt and so advise the State award
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              official or will notify the State award official within the 30-day period that additional
              time is necessary.

              (C) In the event the contractor, the laborers or mechanics to be employed in the
              classification or their representatives, and the sub recipient(s) do not agree on the
              proposed classification and wage rate (including the amount designated for fringe
              benefits, where appropriate), documentation of the action taken and the request,
              including the local wage determination shall be sent by the sub recipient (s) to the
              State award official. The State award official will transmit a completed
              conformance request form (SF-1444 or similar) which indicates the State award
              official’s disagreement and supporting materials to WHD-
              CBACONFORMANCE INCOMING@dol.gov and to the EPA DB Regional
              Coordinator concurrently. The Department of Labor Administrator, or an
              authorized representative, will issue a determination within 30 days of receipt of
              the request and so advise the contracting officer or will notify the contracting
              officer within the 30-day period that additional time is necessary.

              (D) The wage rate (including fringe benefits where appropriate) determined
              pursuant to paragraphs (a)(1)(ii)(B) or (C) of this section, shall be paid to all
              workers performing work in the classification under this contract from the first day
              on which work is performed in the classification.

        (iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers
        or mechanics includes a fringe benefit which is not expressed as an hourly rate, the
        contractor shall either pay the benefit as stated in the wage determination or shall pay
        another bona fide fringe benefit or an hourly cash equivalent thereof.

        (iv) If the contractor does not make payments to a trustee or other third person, the
        contractor may consider as part of the wages of any laborer or mechanic the amount of
        any costs reasonably anticipated in providing bona fide fringe benefits under a plan or
        program, Provided, That the Secretary of Labor has found, upon the written request of
        the contractor, that the applicable standards of the DB Act have been met. The
        Secretary of Labor may require the contractor to set aside assets in a separate account
        for the meeting of obligations under the plan or program.

  (2) Withholding. The sub recipient(s), shall upon written request of the EPA Award Official or
  an authorized representative of the Department of Labor, withhold or cause to be withheld
  from the contractor under this contract or any other Federal contract with the same prime
  contractor, or any other federally-assisted contract subject to DB prevailing wage
  requirements, which is held by the same prime contractor, so much of the accrued payments
  or advances as may be considered necessary to pay laborers and mechanics, including
  apprentices, trainees, and helpers, employed by the contractor or any subcontractor the full
  amount of wages required by the contract. In the event of failure to pay any laborer or
  mechanic, including any apprentice, trainee, or helper, employed or working on the site of the
  work, all or part of the wages required by the contract, the EPA may, after written notice to the
  contractor, sponsor, applicant, or owner, take such action as may be necessary to cause the
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  suspension of any further payment, advance, or guarantee of funds until such violations have
  ceased.

  (3) Payrolls and basic records.

        (i) Payrolls and basic records relating thereto shall be maintained by the contractor
        during the course of the work and preserved for a period of three years thereafter for all
        laborers and mechanics working at the site of the work. Such records shall contain the
        name, address, and social security number of each such worker, his or her correct
        classification, hourly rates of wages paid (including rates of contributions or costs
        anticipated for bona fide fringe benefits or cash equivalents thereof of the types
        described in section 1(b)(2)(B) of the DB Act), daily and weekly number of hours worked,
        deductions made and actual wages paid. Whenever the Secretary of Labor has found
        under 29 CFR 5.5(a)(1)(iv) that the wages of any laborer or mechanic include the
        amount of any costs reasonably anticipated in providing benefits under a plan or
        program described in section 1(b)(2)(B) of the DB Act, the contractor shall maintain
        records which show that the commitment to provide such benefits is enforceable, that
        the plan or program is financially responsible, and that the plan or program has been
        communicated in writing to the laborers or mechanics affected, and records which show
        the costs anticipated or the actual cost incurred in providing such benefits. Contractors
        employing apprentices or trainees under approved programs shall maintain written
        evidence of the registration of apprenticeship programs and certification of trainee
        programs, the registration of the apprentices and trainees, and the ratios and wage rates
        prescribed in the applicable programs.

        (ii)(A) The contractor shall submit weekly, for each week in which any contract work is
        performed, a copy of all payrolls to the sub recipient, that is, the entity that receives the
        sub-grant or loan from the State capitalization grant recipient. Such documentation shall
        be available on request of the State recipient or EPA. As to each payroll copy received,
        the sub recipient shall provide written confirmation in a form satisfactory to the State
        indicating whether or not the project is in compliance with the requirements of 29 CFR
        5.5(a)(1) based on the most recent payroll copies for the specified week. The payrolls
        shall set out accurately and completely all of the information required to be maintained
        under 29 CFR 5.5(a)(3)(i), except that full social security numbers and home addresses
        shall not be included on the weekly payrolls. Instead, the payrolls shall only need to
        include an individually identifying number for each employee (e.g., the last four digits of
        the employee's social security number). The required weekly payroll information may be
        submitted in any form desired. Optional Form WH-347 is available for this purpose from
        the Wage and Hour Division website at http://www.dol.gov/whd/forms/wh347instr.htm or
        its successor site.

        The prime contractor is responsible for the submission of copies of payrolls by all
        subcontractors. Contractors and subcontractors shall maintain the full social security
        number and current address of each covered worker and shall provide them upon
        request to the sub recipient(s) for transmission to the State or EPA if requested by EPA,
        the State, the contractor, or the Wage and Hour Division of the Department of Labor for
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       purposes of an investigation or audit of compliance with prevailing wage requirements. It
       is not a violation of this section for a prime contractor to require a subcontractor to
       provide addresses and social security numbers to the prime contractor for its own
       records, without weekly submission to the sub recipient(s).

             (B) Each payroll submitted shall be accompanied by a “Statement of Compliance,”
             signed by the contractor or subcontractor or his or her agent who pays or
             supervises the payment of the persons employed under the contract and shall
             certify the following:

                   (1) That the payroll for the payroll period contains the information required to
                   be provided under § 5.5 (a)(3)(ii) of Regulations, 29 CFR part 5, the
                   appropriate information is being maintained under § 5.5 (a)(3)(i) of
                   Regulations, 29 CFR part 5, and that such information is correct and
                   complete;

                   (2) That each laborer or mechanic (including each helper, apprentice, and
                   trainee) employed on the contract during the payroll period has been paid
                   the full weekly wages earned, without rebate, either directly or indirectly, and
                   that no deductions have been made either directly or indirectly from the full
                   wages earned, other than permissible deductions as set forth in
                   Regulations, 29 CFR part 3;

                   (3) That each laborer or mechanic has been paid not less than the
                   applicable wage rates and fringe benefits or cash equivalents for the
                   classification of work performed, as specified in the applicable wage
                   determination incorporated into the contract.

             (C) The weekly submission of a properly executed certification set forth on the
             reverse side of Optional Form WH-347 shall satisfy the requirement for
             submission of the “Statement of Compliance” required by paragraph (a)(3)(ii)(B) of
             this section.

             (D) The falsification of any of the above certifications may subject the contractor or
             subcontractor to civil or criminal prosecution under section 1001 of title 18 and
             section 231 of title 31 of the United States Code.

       (iii) The contractor or subcontractor shall make the records required under paragraph
       (a)(3)(i) of this section available for inspection, copying, or transcription by authorized
       representatives of the State, EPA or the Department of Labor, and shall permit such
       representatives to interview employees during working hours on the job. If the contractor
       or subcontractor fails to submit the required records or to make them available, the EPA
       or State may, after written notice to the contractor, sponsor, applicant, or owner, take
       such action as may be necessary to cause the suspension of any further payment,
       advance, or guarantee of funds. Furthermore, failure to submit the required records upon
       request or to make such records available may be grounds for debarment action
       pursuant to 29 CFR 5.12.
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  (4) Apprentices and trainees

        (i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate
        for the work they performed when they are employed pursuant to and individually
        registered in a bona fide apprenticeship program registered with the U.S. Department of
        Labor, Employment and Training Administration, Office of Apprenticeship Training,
        Employer and Labor Services, or with a State Apprenticeship Agency recognized by the
        Office, or if a person is employed in his or her first 90 days of probationary employment
        as an apprentice in such an apprenticeship program, who is not individually registered in
        the program, but who has been certified by the Office of Apprenticeship Training,
        Employer and Labor Services or a State Apprenticeship Agency (where appropriate) to
        be eligible for probationary employment as an apprentice. The allowable ratio of
        apprentices to journeymen on the job site in any craft classification shall not be greater
        than the ratio permitted to the contractor as to the entire work force under the registered
        program. Any worker listed on a payroll at an apprentice wage rate, who is not registered
        or otherwise employed as stated above, shall be paid not less than the applicable wage
        rate on the wage determination for the classification of work actually performed. In
        addition, any apprentice performing work on the job site in excess of the ratio permitted
        under the registered program shall be paid not less than the applicable wage rate on the
        wage determination for the work actually performed. Where a contractor is performing
        construction on a project in a locality other than that in which its program is registered,
        the ratios and wage rates (expressed in percentages of the journeyman's hourly rate)
        specified in the contractor's or subcontractor's registered program shall be observed.
        Every apprentice must be paid at not less than the rate specified in the registered
        program for the apprentice's level of progress, expressed as a percentage of the
        journeymen hourly rate specified in the applicable wage determination. Apprentices shall
        be paid fringe benefits in accordance with the provisions of the apprenticeship program.
        If the apprenticeship program does not specify fringe benefits, apprentices must be paid
        the full amount of fringe benefits listed on the wage determination for the applicable
        classification. If the Administrator determines that a different practice prevails for the
        applicable apprentice classification, fringes shall be paid in accordance with that
        determination. In the event the Office of Apprenticeship Training, Employer and Labor
        Services, or a State Apprenticeship Agency recognized by the Office, withdraws
        approval of an apprenticeship program, the contractor will no longer be permitted to
        utilize apprentices at less than the applicable predetermined rate for the work performed
        until an acceptable program is approved.

        (ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at
        less than the predetermined rate for the work performed unless they are employed
        pursuant to and individually registered in a program which has received prior approval,
        evidenced by formal certification by the U.S. Department of Labor, Employment and
        Training Administration. The ratio of trainees to journeymen on the job site shall not be
        greater than permitted under the plan approved by the Employment and Training
        Administration. Every trainee must be paid at not less than the rate specified in the
        approved program for the trainee's level of progress, expressed as a percentage of the
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         journeyman hourly rate specified in the applicable wage determination. Trainees shall be
         paid fringe benefits in accordance with the provisions of the trainee program. If the
         trainee program does not mention fringe benefits, trainees shall be paid the full amount
         of fringe benefits listed on the wage determination unless the Administrator of the Wage
         and Hour Division determines that there is an apprenticeship program associated with
         the corresponding journeyman wage rate on the wage determination which provides for
         less than full fringe benefits for apprentices. Any employee listed on the payroll at a
         trainee rate who is not registered and participating in a training plan approved by the
         Employment and Training Administration shall be paid not less than the applicable wage
         rate on the wage determination for the classification of work actually performed. In
         addition, any trainee performing work on the job site in excess of the ratio permitted
         under the registered program shall be paid not less than the applicable wage rate on the
         wage determination for the work actually performed. In the event the Employment and
         Training Administration withdraws approval of a training program, the contractor will no
         longer be permitted to utilize trainees at less than the applicable predetermined rate for
         the work performed until an acceptable program is approved.

         (iii) Equal employment opportunity. The utilization of apprentices, trainees and
         journeymen under this part shall be in conformity with the equal employment opportunity
         requirements of Executive Order 11246, as amended and 29 CFR part 30.

  (5) Compliance with Copeland Act requirements. The contractor shall comply with the
  requirements of 29 CFR part 3, which are incorporated by reference in this contract.

  (6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses
  contained in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA determines
  may by appropriate, and also a clause requiring the subcontractors to include these clauses in
  any lower tier subcontracts. The prime contractor shall be responsible for the compliance by
  any subcontractor or lower tier subcontractor with all the contract clauses in 29 CFR 5.5.

  (7) Contract termination; debarment. A breach of the contract clauses in 29 CFR 5.5 may be
  grounds for termination of the contract, and for debarment as a contractor and a subcontractor
  as provided in 29 CFR 5.12.

  (8) Compliance with DB and Related Act requirements. All rulings and interpretations of the DB
  and Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by reference
  in this contract.

  (9) Disputes concerning labor standards. Disputes arising out of the labor standards provisions
  of this contract shall not be subject to the general disputes clause of this contract. Such
  disputes shall be resolved in accordance with the procedures of the Department of Labor set
  forth in 29 CFR parts 5, 6, and 7. Disputes within the meaning of this clause include disputes
  between the contractor (or any of its subcontractors) and sub recipient(s), State, EPA, the U.S.
  Department of Labor, or the employees or their representatives.

  (10) Certification of eligibility.
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            (i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor
            any person or firm who has an interest in the contractor's firm is a person or firm
            ineligible to be awarded Government contracts by virtue of section 3(a) of the DB Act or
            29 CFR 5.12(a)(1).

            (ii) No part of this contract shall be subcontracted to any person or firm ineligible for
            award of a Government contract by virtue of section 3(a) of the DB Act or 29 CFR
            5.12(a)(1).

            (iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18
            U.S.C. 1001.

4. Contract Provision for Contracts in Excess of $100,000.

(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the following
clauses set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any contract in an
amount in excess of $100,000 and subject to the overtime provisions of the Contract Work Hours
and Safety Standards Act. These clauses shall be inserted in addition to the clauses required by Item
3, above or 29 CFR 4.6. As used in this paragraph, the terms laborers and mechanics include
watchmen and guards.

      (1) Overtime requirements. No contractor or subcontractor contracting for any part of the
      contract work which may require or involve the employment of laborers or mechanics shall
      require or permit any such laborer or mechanic in any workweek in which he or she is
      employed on such work to work in excess of forty hours in such workweek unless such laborer
      or mechanic receives compensation at a rate not less than one and one-half times the basic
      rate of pay for all hours worked in excess of forty hours in such workweek.

      (2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of the
      clause set forth in paragraph (a)(1) of this section the contractor and any subcontractor
      responsible therefore shall be liable for the unpaid wages. In addition, such contractor and
      subcontractor shall be liable to the United States (in the case of work done under contract for
      the District of Columbia or a territory, to such District or to such territory), for liquidated
      damages. Such liquidated damages shall be computed with respect to each individual laborer
      or mechanic, including watchmen and guards, employed in violation of the clause set forth in
      paragraph (a)(1) of this section, in the sum of $29 for each calendar day on which such
      individual was required or permitted to work in excess of the standard workweek of forty hours
      without payment of the overtime wages required by the clause set forth in paragraph (a)(1) of
      this section.

      (3) Withholding for unpaid wages and liquidated damages. The sub recipient, upon written
      request of the EPA Award Official or an authorized representative of the Department of Labor,
      shall withhold or cause to be withheld, from any moneys payable on account of work
      performed by the contractor or subcontractor under any such contract or any other Federal
      contract with the same prime contractor, or any other federally-assisted contract subject to the
      Contract Work Hours and Safety Standards Act, which is held by the same prime contractor,
      such sums as may be determined to be necessary to satisfy any liabilities of such contractor or
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      subcontractor for unpaid wages and liquidated damages as provided in the clause set forth in
      paragraph (a)(2) of this section.

      (4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses
      set forth in paragraph (a)(1) through (4) of this section and also a clause requiring the
      subcontractors to include these clauses in any lower tier subcontracts. The prime contractor
      shall be responsible for compliance by any subcontractor or lower tier subcontractor with the
      clauses set forth in paragraphs (a)(1) through (4) of this section.

(b) In addition to the clauses contained in Item 3, above, in any contract subject only to the Contract
Work Hours and Safety Standards Act and not to any of the other statutes cited in 29 CFR 5.1, the
Sub recipient shall insert a clause requiring that the contractor or subcontractor shall maintain
payrolls and basic payroll records during the course of the work and shall preserve them for a period
of three years from the completion of the contract for all laborers and mechanics, including guards
and watchmen, working on the contract. Such records shall contain the name and address of each
such employee, social security number, correct classifications, hourly rates of wages paid, daily and
weekly number of hours worked, deductions made, and actual wages paid. Further, the Sub recipient
shall insert in any such contract a clause providing that the records to be maintained under this
paragraph shall be made available by the contractor or subcontractor for inspection, copying, or
transcription by authorized representatives of the EPA and the Department of Labor, and the
contractor or subcontractor will permit such representatives to interview employees during working
hours on the job.

5. Compliance Verification

(a) The sub recipient shall periodically interview a sufficient number of employees entitled to DB
prevailing wages (covered employees) to verify that contractors or subcontractors are paying the
appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be conducted in
confidence. The sub recipient must use Standard Form 1445 (SF 1445) or equivalent documentation
to memorialize the interviews. Copies of the SF 1445 are available from EPA on request.

(b) The sub recipient shall establish and follow an interview schedule based on its assessment of the
risks of noncompliance with DB posed by contractors or subcontractors and the duration of the
contract or subcontract. Sub recipients must conduct more frequent interviews if the initial interviews
or other information indicated that there is a risk that the contractor or subcontractor is not complying
with DB.

Sub recipients shall immediately conduct interviews in response to an alleged violation of the
prevailing wage requirements. All interviews shall be conducted in confidence.

(c) The sub recipient shall periodically conduct spot checks of a representative sample of weekly
payroll data to verify that contractors or subcontractors are paying the appropriate wage rates. The
sub recipient shall establish and follow a spot check schedule based on its assessment of the risks of
noncompliance with DB posed by contractors or subcontractors and the duration of the contract or
subcontract. At a minimum, if practicable, the sub recipient should spot check payroll data within two
weeks of each contractor or subcontractor’s submission of its initial payroll data and two weeks prior
to the completion date the contract or subcontract. Sub recipients must conduct more frequent spot
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checks if the initial spot check or other information indicates that there is a risk that the contractor or
subcontractor is not complying with DB. In addition, during the examinations the sub recipient shall
verify evidence of fringe benefit plans and payments there under by contractors and subcontractors
who claim credit for fringe benefit contributions.

(d) The sub recipient shall periodically review contractor’s and subcontractor’s use of apprentices
and trainees to verify registration and certification with respect to apprenticeship and training
programs approved by either the U.S Department of Labor or a state, as appropriate, and that
contractors and subcontractors are not using disproportionate numbers of, laborers, trainees and
apprentices. These reviews shall be conducted in accordance with the schedules for spot checks
and interviews described in Item 5(b) and (c) above.

(e) Sub recipients must immediately report potential violations of the DB prevailing wage
requirements to the EPA DB contact listed above and to the appropriate DOL Wage and Hour District
Office listed at https://www.dol.gov/agencies/whd/contact/local-offices.



II. Requirements Under Section 1452(a)(5) of the Safe Drinking Water Act For Sub recipients
That Are Not Governmental Entities:

The following terms and conditions specify how recipients will assist EPA in meeting its DB
responsibilities when DB applies to EPA awards of financial assistance under the Safe Drinking
Water Act, Section 1452(a)(5) with respect to sub recipients that are not governmental entities. If a
sub recipient has questions regarding when DB applies, obtaining the correct DB wage
determinations, DB provisions, or compliance monitoring, it may contact the State recipient for
guidance. If a State recipient needs guidance, the recipient may contact Suzanne Hersh at
Hersh.Suzanne@epa.gov or 202-564-3361, EPA Office of Grants and Debarment for guidance.
The recipient or sub recipient may also obtain additional guidance from DOL’s website at
http://www.dol.gov/whd/

Under these terms and conditions, the sub recipient must submit its proposed DB wage
determinations to the State recipient for approval prior to including the wage determination in
any solicitation, contract task orders, work assignments, or similar instruments to existing
contractors.

1. Applicability of the Davis- Bacon (DB) prevailing wage requirements.

Under the Safe Drinking Water Act, Section 1452(a)(5), DB prevailing wage requirements apply to
the construction, alteration, and repair of treatment works carried out in whole or in part with
assistance made available by a State water pollution control revolving fund and to any construction
project carried out in whole or in part by assistance made available by a drinking water treatment
revolving loan fund. If a sub recipient encounters a unique situation at a site that presents
uncertainties regarding DB applicability, the sub recipient must discuss the situation with the recipient
State before authorizing work on that site.

2. Obtaining Wage Determinations.
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(a) Sub recipients must obtain proposed wage determinations for specific localities at
https://sam.gov/. After the sub recipient obtains its proposed wage determination, it must submit the
wage determination to the Illinois Environmental Protection Agency for approval prior to inserting the
wage determination into a solicitation, contract or issuing task orders, work assignments or similar
instruments to existing contractors (ordering instruments unless subsequently directed otherwise by
the State recipient Award Official.)

(b) Sub recipients shall obtain the wage determination for the locality in which a covered activity
subject to DB will take place prior to issuing requests for bids, proposals, quotes or other methods for
soliciting contracts (solicitation) for activities subject to DB. These wage determinations shall be
incorporated into solicitations and any subsequent contracts. Prime contracts must contain a
provision requiring that subcontractors follow the wage determination incorporated into the prime
contract.

           (i)        While the solicitation remains open, the sub recipient shall monitor
           https://sam.gov/ on a weekly basis to ensure that the wage determination contained in the
           solicitation remains current. The sub recipients shall amend the solicitation if DOL issues
           a modification more than 10 days prior to the closing date (i.e. bid opening) for the
           solicitation. If DOL modifies or supersedes the applicable wage determination less than
           10 days prior to the closing date, the sub recipients may request a finding from the State
           recipient that there is not a reasonable time to notify interested contractors of the
           modification of the wage determination. The State recipient will provide a report of its
           findings to the sub recipient.

           (ii)      If the sub recipient does not award the contract within 90 days of the closure of
           the solicitation, any modifications or supersedes DOL makes to the wage determination
           contained in the solicitation shall be effective unless the State recipient, at the request of
           the sub recipient, obtains an extension of the 90-day period from DOL pursuant to 29
           CFR 1.6(c)(3)(iv). The sub recipient shall monitor https://sam.gov/ on a weekly basis if it
           does not award the contract within 90 days of closure of the solicitation to ensure that
           wage determinations contained in the solicitation remain current.

(c) If the sub recipient carries out activity subject to DB by issuing a task order, work assignment or
similar instrument to an existing contractor (ordering instrument) rather than by publishing a
solicitation, the sub recipient shall insert the appropriate DOL wage determination from
https://sam.gov/ into the ordering instrument.

(d) Sub recipients shall review all subcontracts subject to DB entered into by prime contractors to
verify that the prime contractor has required its subcontractors to include the applicable wage
determinations.

(e) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to a sub
recipient’s contract after the award of a contract or the issuance of an ordering instrument if DOL
determines that the sub recipient has failed to incorporate a wage determination or has used a wage
determination that clearly does not apply to the contract or ordering instrument. If this occurs, the
sub recipient shall either terminate the contract or ordering instrument and issue a revised solicitation
or ordering instrument or incorporate DOL’s wage determination retroactive to the beginning of the
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contract or ordering instrument by change order. The sub recipient’s contractor must be
compensated for any increases in wages resulting from the use of DOL’s revised wage
determination.

3. Contract and Subcontract provisions.

(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in excess of
$2,000 which is entered into for the actual construction, alteration and/or repair, including painting
and decorating, of a treatment work under the CWSRF or a construction project carried out in whole
or in part with assistance made available by the DWSRF, and which is subject to the labor standards
provisions of any of the acts listed in § 5.1 or the Safe Drinking Water Act, Section 1452(a)(5), the
following clauses:

      (1) Minimum wages.

             (i) All laborers and mechanics employed or working upon the site of the work, will be
             paid unconditionally and not less often than once a week, and without subsequent
             deduction or rebate on any account (except such payroll deductions as are permitted by
             regulations issued by the Secretary of Labor under the Copeland Act (29 CFR part 3) ),
             the full amount of wages and bona fide fringe benefits (or cash equivalents thereof) due
             at time of payment computed at rates not less than those contained in the wage
             determination of the Secretary of Labor which is attached hereto and made a part
             hereof, regardless of any contractual relationship which may be alleged to exist between
             the contractor and such laborers and mechanics.

             Contributions made or costs reasonably anticipated for bona fide fringe benefits under
             section 1(b)(2) of the DB Act on behalf of laborers or mechanics are considered wages
             paid to such laborers or mechanics, subject to the provisions of paragraph (a)(1)(iv) of
             this section; also, regular contributions made or costs incurred for more than a weekly
             period (but not less often than quarterly) under plans, funds, or programs which cover
             the particular weekly period, are deemed to be constructively made or incurred during
             such weekly period. Such laborers and mechanics shall be paid the appropriate wage
             rate and fringe benefits on the wage determination for the classification of work actually
             performed, without regard to skill, except as provided in § 5.5(a)(4). Laborers or
             mechanics performing work in more than one classification may be compensated at the
             rate specified for each classification for the time actually worked therein: Provided, that
             the employer's payroll records accurately set forth the time spent in each classification in
             which work is performed. The wage determination (including any additional classification
             and wage rates conformed under paragraph (a)(1)(ii) of this section) and the DB poster
             (WH-1321) shall be posted at all times by the contractor and its subcontractors at the
             site of the work in a prominent and accessible place where it can be easily seen by the
             workers.

             Sub recipients may obtain wage determinations from DOL’s website, https://sam.gov/.
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       (ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or
       mechanics, including helpers, which is not listed in the wage determination and which is
       to be employed under the contract shall be classified in conformance with the wage
       determination. The State award official shall approve a request for an additional
       classification and wage rate and fringe benefits therefore only when the following criteria
       have been met:

                   (1) The work to be performed by the classification requested is not
                   performed by a classification in the wage determination; and

                   (2) The classification is utilized in the area by the construction industry; and

                   (3) The proposed wage rate, including any bona fide fringe benefits, bears a
                   reasonable relationship to the wage rates contained in the wage
                   determination.

             (B) If the contractor and the laborers and mechanics to be employed in the
             classification (if known), or their representatives, and the sub recipient(s) agree on
             the classification and wage rate (including the amount designated for fringe
             benefits where appropriate), documentation of the action taken and the request,
             including the local wage determination shall be sent by the sub recipient(s) to the
             State award official. The State award official will transmit a completed
             conformance request form (SF-1444 or similar) and supporting materials to WHD-
             CBACONFORMANCE INCOMING@dol.gov and to the EPA DB Regional
             Coordinator concurrently. The Department of Labor Administrator, or an
             authorized representative, will approve, modify, or disapprove every additional
             classification request within 30 days of receipt and so advise the State award
             official or will notify the State award official within the 30-day period that additional
             time is necessary.

             (C) In the event the contractor, the laborers or mechanics to be employed in the
             classification or their representatives, and the sub recipient(s) do not agree on the
             proposed classification and wage rate (including the amount designated for fringe
             benefits, where appropriate), documentation of the action taken and the request,
             including the local wage determination shall be sent by the sub recipient (s) to the
             State award official. The State award official will transmit a completed
             conformance request form (SF-1444 or similar) which indicates the State award
             official’s disagreement and supporting materials to WHD-
             CBACONFORMANCE INCOMING@dol.gov, and to the EPA DB Regional
             Coordinator concurrently. The Department of Labor Administrator, or an
             authorized representative, will issue a determination within 30 days of receipt of
             the request and so advise the contracting officer or will notify the contracting
             officer within the 30-day period that additional time is necessary.

             (D) The wage rate (including fringe benefits where appropriate) determined
             pursuant to paragraphs (a)(1)(ii)(B) or (C) of this section, shall be paid to all
             workers performing work in the classification under this contract from the first day
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              on which work is performed in the classification.

        (iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers
        or mechanics includes a fringe benefit which is not expressed as an hourly rate, the
        contractor shall either pay the benefit as stated in the wage determination or shall pay
        another bona fide fringe benefit or an hourly cash equivalent thereof.

        (iv) If the contractor does not make payments to a trustee or other third person, the
        contractor may consider as part of the wages of any laborer or mechanic the amount of
        any costs reasonably anticipated in providing bona fide fringe benefits under a plan or
        program, Provided, That the Secretary of Labor has found, upon the written request of
        the contractor, that the applicable standards of the DB Act have been met. The
        Secretary of Labor may require the contractor to set aside assets in a separate account
        for the meeting of obligations under the plan or program.

  (2) Withholding. The sub recipient(s) shall upon written request of the EPA Award Official or an
  authorized representative of the Department of Labor, withhold or cause to be withheld from
  the contractor under this contract or any other Federal contract with the same prime contractor,
  or any other federally-assisted contract subject to DB prevailing wage requirements, which is
  held by the same prime contractor, so much of the accrued payments or advances as may be
  considered necessary to pay laborers and mechanics, including apprentices, trainees, and
  helpers, employed by the contractor or any subcontractor the full amount of wages required by
  the contract. In the event of failure to pay any laborer or mechanic, including any apprentice,
  trainee, or helper, employed or working on the site of the work, all or part of the wages
  required by the contract, the EPA may, after written notice to the contractor, sponsor,
  applicant, or owner, take such action as may be necessary to cause the suspension of any
  further payment, advance, or guarantee of funds until such violations have ceased.

  (3) Payrolls and basic records.

        (i) Payrolls and basic records relating thereto shall be maintained by the contractor
        during the course of the work and preserved for a period of three years thereafter for all
        laborers and mechanics working at the site of the work. Such records shall contain the
        name, address, and social security number of each such worker, his or her correct
        classification, hourly rates of wages paid (including rates of contributions or costs
        anticipated for bona fide fringe benefits or cash equivalents thereof of the types
        described in section 1(b)(2)(B) of the DB Act), daily and weekly number of hours worked,
        deductions made and actual wages paid. Whenever the Secretary of Labor has found
        under 29 CFR 5.5(a)(1)(iv) that the wages of any laborer or mechanic include the
        amount of any costs reasonably anticipated in providing benefits under a plan or
        program described in section 1(b)(2)(B) of the DB Act, the contractor shall maintain
        records which show that the commitment to provide such benefits is enforceable, that
        the plan or program is financially responsible, and that the plan or program has been
        communicated in writing to the laborers or mechanics affected, and records which show
        the costs anticipated or the actual cost incurred in providing such benefits. Contractors
        employing apprentices or trainees under approved programs shall maintain written
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       evidence of the registration of apprenticeship programs and certification of trainee
       programs, the registration of the apprentices and trainees, and the ratios and wage rates
       prescribed in the applicable programs.



       (ii)(A) The contractor shall submit weekly, for each week in which any contract work is
       performed, a copy of all payrolls to the sub recipient, that is, the entity that receives the
       sub-grant or loan from the State capitalization grant recipient. Such documentation shall
       be available on request of the State recipient or EPA. As to each payroll copy received,
       the sub recipient shall provide written confirmation in a form satisfactory to the State
       indicating whether or not the project is in compliance with the requirements of 29 CFR
       5.5(a)(1) based on the most recent payroll copies for the specified week. The payrolls
       shall set out accurately and completely all of the information required to be maintained
       under 29 CFR 5.5(a)(3)(i), except that full social security numbers and home addresses
       shall not be included on the weekly payrolls. Instead, the payrolls shall only need to
       include an individually identifying number for each employee (e.g., the last four digits of
       the employee's social security number). The required weekly payroll information may be
       submitted in any form desired. Optional Form WH-347 is available for this purpose from
       the Wage and Hour Division website at http://www.dol.gov/whd/forms/wh347instr.htm or
       its successor site.

       The prime contractor is responsible for the submission of copies of payrolls by all
       subcontractors. Contractors and subcontractors shall maintain the full social security
       number and current address of each covered worker and shall provide them upon
       request to the sub recipient(s) for transmission to the State or EPA if requested by EPA,
       the State, the contractor, or the Wage and Hour Division of the Department of Labor for
       purposes of an investigation or audit of compliance with prevailing wage requirements. It
       is not a violation of this section for a prime contractor to require a subcontractor to
       provide addresses and social security numbers to the prime contractor for its own
       records, without weekly submission to the sub recipient(s).

             (B) Each payroll submitted shall be accompanied by a “Statement of Compliance,”
             signed by the contractor or subcontractor or his or her agent who pays or
             supervises the payment of the persons employed under the contract and shall
             certify the following:

                   (1) That the payroll for the payroll period contains the information required to
                   be provided under § 5.5 (a)(3)(ii) of Regulations, 29 CFR part 5, the
                   appropriate information is being maintained under § 5.5 (a)(3)(i) of
                   Regulations, 29 CFR part 5, and that such information is correct and
                   complete;

                   (2) That each laborer or mechanic (including each helper, apprentice, and
                   trainee) employed on the contract during the payroll period has been paid
                   the full weekly wages earned, without rebate, either directly or indirectly, and
                   that no deductions have been made either directly or indirectly from the full
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                    wages earned, other than permissible deductions as set forth in
                    Regulations, 29 CFR part 3;

                    (3) That each laborer or mechanic has been paid not less than the
                    applicable wage rates and fringe benefits or cash equivalents for the
                    classification of work performed, as specified in the applicable wage
                    determination incorporated into the contract.

              (C) The weekly submission of a properly executed certification set forth on the
              reverse side of Optional Form WH-347 shall satisfy the requirement for
              submission of the “Statement of Compliance” required by paragraph (a)(3)(ii)(B) of
              this section.

              (D) The falsification of any of the above certifications may subject the contractor or
              subcontractor to civil or criminal prosecution under section 1001 of title 18 and
              section 231 of title 31 of the United States Code.

        (iii) The contractor or subcontractor shall make the records required under paragraph
        (a)(3)(i) of this section available for inspection, copying, or transcription by authorized
        representatives of the State, EPA or the Department of Labor, and shall permit such
        representatives to interview employees during working hours on the job. If the contractor
        or subcontractor fails to submit the required records or to make them available, the EPA
        or State may, after written notice to the contractor, sponsor, applicant, or owner, take
        such action as may be necessary to cause the suspension of any further payment,
        advance, or guarantee of funds. Furthermore, failure to submit the required records upon
        request or to make such records available may be grounds for debarment action
        pursuant to 29 CFR 5.12.

  (4) Apprentices and trainees--

        (i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate
        for the work they performed when they are employed pursuant to and individually
        registered in a bona fide apprenticeship program registered with the DOL, Employment
        and Training Administration, Office of Apprenticeship Training, Employer and Labor
        Services, or with a State Apprenticeship Agency recognized by the Office, or if a person
        is employed in his or her first 90 days of probationary employment as an apprentice in
        such an apprenticeship program, who is not individually registered in the program, but
        who has been certified by the Office of Apprenticeship Training, Employer and Labor
        Services or a State Apprenticeship Agency (where appropriate) to be eligible for
        probationary employment as an apprentice. The allowable ratio of apprentices to
        journeymen on the job site in any craft classification shall not be greater than the ratio
        permitted to the contractor as to the entire work force under the registered program. Any
        worker listed on a payroll at an apprentice wage rate, who is not registered or otherwise
        employed as stated above, shall be paid not less than the applicable wage rate on the
        wage determination for the classification of work actually performed. In addition, any
        apprentice performing work on the job site in excess of the ratio permitted under the
        registered program shall be paid not less than the applicable wage rate on the wage
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       determination for the work actually performed. Where a contractor is performing
       construction on a project in a locality other than that in which its program is registered,
       the ratios and wage rates (expressed in percentages of the journeyman's hourly rate)
       specified in the contractor's or subcontractors registered program shall be observed.
       Every apprentice must be paid at not less than the rate specified in the registered
       program for the apprentice's level of progress, expressed as a percentage of the
       journeymen hourly rate specified in the applicable wage determination. Apprentices shall
       be paid fringe benefits in accordance with the provisions of the apprenticeship program.
       If the apprenticeship program does not specify fringe benefits, apprentices must be paid
       the full amount of fringe benefits listed on the wage determination for the applicable
       classification. If the Administrator determines that a different practice prevails for the
       applicable apprentice classification, fringes shall be paid in accordance with that
       determination. In the event the Office of Apprenticeship Training, Employer and Labor
       Services, or a State Apprenticeship Agency recognized by the Office, withdraws
       approval of an apprenticeship program, the contractor will no longer be permitted to
       utilize apprentices at less than the applicable predetermined rate for the work performed
       until an acceptable program is approved.

       (ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at
       less than the predetermined rate for the work performed unless they are employed
       pursuant to and individually registered in a program which has received prior approval,
       evidenced by formal certification by the DOL, Employment and Training Administration.
       The ratio of trainees to journeymen on the job site shall not be greater than permitted
       under the plan approved by the Employment and Training Administration. Every trainee
       must be paid at not less than the rate specified in the approved program for the trainee's
       level of progress, expressed as a percentage of the journeyman hourly rate specified in
       the applicable wage determination. Trainees shall be paid fringe benefits in accordance
       with the provisions of the trainee program. If the trainee program does not mention fringe
       benefits, trainees shall be paid the full amount of fringe benefits listed on the wage
       determination unless the Administrator of the Wage and Hour Division determines that
       there is an apprenticeship program associated with the corresponding journeyman wage
       rate on the wage determination which provides for less than full fringe benefits for
       apprentices. Any employee listed on the payroll at a trainee rate who is not registered
       and participating in a training plan approved by the Employment and Training
       Administration shall be paid not less than the applicable wage rate on the wage
       determination for the classification of work actually performed. In addition, any trainee
       performing work on the job site in excess of the ratio permitted under the registered
       program shall be paid not less than the applicable wage rate on the wage determination
       for the work actually performed. In the event the Employment and Training
       Administration withdraws approval of a training program, the contractor will no longer be
       permitted to utilize trainees at less than the applicable predetermined rate for the work
       performed until an acceptable program is approved.

       (iii) Equal employment opportunity. The utilization of apprentices, trainees and
       journeymen under this part shall be in conformity with the equal employment opportunity
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             requirements of Executive Order 11246, as amended and 29 CFR part 30.

      (5) Compliance with Copeland Act requirements. The contractor shall comply with the
      requirements of 29 CFR part 3, which are incorporated by reference in this contract.

      (6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses
      contained in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA determines
      may by appropriate, and also a clause requiring the subcontractors to include these clauses in
      any lower tier subcontracts. The prime contractor shall be responsible for the compliance by
      any subcontractor or lower tier subcontractor with all the contract clauses in 29 CFR 5.5.

      (7) Contract termination: debarment. A breach of the contract clauses in 29 CFR 5.5 may be
      grounds for termination of the contract, and for debarment as a contractor and a subcontractor
      as provided in 29 CFR 5.12.

      (8) Compliance with DB and Related Act requirements. All rulings and interpretations of the DB
      and Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by reference
      in this contract.

      (9) Disputes concerning labor standards. Disputes arising out of the labor standards provisions
      of this contract shall not be subject to the general disputes clause of this contract. Such
      disputes shall be resolved in accordance with the procedures of the Department of Labor set
      forth in 29 CFR parts 5, 6, and 7. Disputes within the meaning of this clause include disputes
      between the contractor (or any of its subcontractors) and Sub recipient(s), State, EPA, DOL, or
      the employees or their representatives.

      (10) Certification of eligibility.

             (i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor
             any person or firm who has an interest in the contractor's firm is a person or firm
             ineligible to be awarded Government contracts by virtue of section 3(a) of the DB Act or
             29 CFR 5.12(a)(1).

             (ii) No part of this contract shall be subcontracted to any person or firm ineligible for
             award of a Government contract by virtue of section 3(a) of the DB Act or 29 CFR
             5.12(a)(1).

             (iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18
             U.S.C. 1001.

4. Contract Provision for Contracts in Excess of $100,000.

(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the following
clauses set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any contract in an
amount in excess of $100,000 and subject to the overtime provisions of the Contract Work Hours
and Safety Standards Act. These clauses shall be inserted in addition to the clauses required by Item
3, above or 29 CFR 4.6. As used in this paragraph, the terms laborers and mechanics include
watchmen and guards.
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      (1) Overtime requirements. No contractor or subcontractor contracting for any part of the
      contract work which may require or involve the employment of laborers or mechanics shall
      require or permit any such laborer or mechanic in any workweek in which he or she is
      employed on such work to work in excess of forty hours in such workweek unless such laborer
      or mechanic receives compensation at a rate not less than one and one-half times the basic
      rate of pay for all hours worked in excess of forty hours in such workweek.

      (2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of the
      clause set forth in paragraph (b)(1) of this section the contractor and any subcontractor
      responsible therefore shall be liable for the unpaid wages. In addition, such contractor and
      subcontractor shall be liable to the United States (in the case of work done under contract for
      the District of Columbia or a territory, to such District or to such territory), for liquidated
      damages. Such liquidated damages shall be computed with respect to each individual laborer
      or mechanic, including watchmen and guards, employed in violation of the clause set forth in
      paragraph (b)(1) of this section, in the sum of $29 for each calendar day on which such
      individual was required or permitted to work in excess of the standard workweek of forty hours
      without payment of the overtime wages required by the clause set forth in paragraph (b)(1) of
      this section.

      (3) Withholding for unpaid wages and liquidated damages. The sub recipient shall upon the
      request of the EPA Award Official or an authorized representative of the Department of Labor,
      withhold or cause to be withheld, from any moneys payable on account of work performed by
      the contractor or subcontractor under any such contract or any other Federal contract with the
      same prime contractor, or any other federally-assisted contract subject to the Contract Work
      Hours and Safety Standards Act, which is held by the same prime contractor, such sums as
      may be determined to be necessary to satisfy any liabilities of such contractor or subcontractor
      for unpaid wages and liquidated damages as provided in the clause set forth in paragraph
      (a)(2) of this section.

      (4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses
      set forth in paragraph (a)(1) through (4) of this section and also a clause requiring the
      subcontractors to include these clauses in any lower tier subcontracts. The prime contractor
      shall be responsible for compliance by any subcontractor or lower tier subcontractor with the
      clauses set forth in paragraphs (a)(1) through (4) of this section.


(b) In addition to the clauses contained in Item 3, above, in any contract subject only to the Contract
Work Hours and Safety Standards Act and not to any of the other statutes cited in 29 CFR 5.1, the
Sub recipient shall insert a clause requiring that the contractor or subcontractor shall maintain
payrolls and basic payroll records during the course of the work and shall preserve them for a period
of three years from the completion of the contract for all laborers and mechanics, including guards
and watchmen, working on the contract. Such records shall contain the name and address of each
such employee, social security number, correct classifications, hourly rates of wages paid, daily and
weekly number of hours worked, deductions made, and actual wages paid. Further, the Sub recipient
shall insert in any such contract a clause providing that the records to be maintained under this
paragraph shall be made available by the contractor or subcontractor for inspection, copying, or
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transcription by authorized representatives of the EPA and the Department of Labor, and the
contractor or subcontractor will permit such representatives to interview employees during working
hours on the job.

5. Compliance Verification

(a) The sub recipient shall periodically interview a sufficient number of employees entitled to DB
prevailing wages (covered employees) to verify that contractors or subcontractors are paying the
appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be conducted in
confidence. The sub recipient must use Standard Form 1445 (SF 1445) or equivalent documentation
to memorialize the interviews. Copies of the SF 1445 are available from EPA on request.

(b) The sub recipient shall establish and follow an interview schedule based on its assessment of the
risks of noncompliance with DB posed by contractors or subcontractors and the duration of the
contract or subcontract. Sub recipients must conduct more frequent interviews if the initial interviews
or other information indicated that there is a risk that the contractor or subcontractor is not complying
with DB. Sub recipients shall immediately conduct interviews in response to an alleged violation of
the prevailing wage requirements. All interviews shall be conducted in confidence.

(c). The sub recipient shall periodically conduct spot checks of a representative sample of weekly
payroll data to verify that contractors or subcontractors are paying the appropriate wage rates. The
sub recipient shall establish and follow a spot check schedule based on its assessment of the risks of
noncompliance with DB posed by contractors or subcontractors and the duration of the contract or
subcontract. At a minimum, if practicable the sub recipient should spot check payroll data within two
weeks of each contractor or subcontractor’s submission of its initial payroll data and two weeks prior
to the completion date the contract or subcontract. Sub recipients must conduct more frequent spot
checks if the initial spot check or other information indicates that there is a risk that the contractor or
subcontractor is not complying with DB. In addition, during the examinations the sub recipient shall
verify evidence of fringe benefit plans and payments there under by contractors and subcontractors
who claim credit for fringe benefit contributions.

(d). The sub recipient shall periodically review contractors and subcontractors use of apprentices
and trainees to verify registration and certification with respect to apprenticeship and training
programs approved by either the U.S Department of Labor or a state, as appropriate, and that
contractors and subcontractors are not using disproportionate numbers of, laborers, trainees and
apprentices. These reviews shall be conducted in accordance with the schedules for spot checks
and interviews described in Item 5(b) and (c) above.

(e) Sub recipients must immediately report potential violations of the DB prevailing wage
requirements to the EPA DB contact listed above and to the appropriate DOL Wage and Hour District
Office listed at https://www.dol.gov/agencies/whd/contact/local-offices.
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                                                          EPA Funding Information
              FUNDS                                       FORMER AWARD                                THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                      $0                         $ 32,999,000                           $ 32,999,000
EPA In-Kind Amount                                                          $0                                    $0                                    $0
Unexpended Prior Year Balance                                               $0                                    $0                                    $0
Other Federal Funds                                                         $0                                    $0                                    $0
Recipient Contribution                                                      $0                                    $0                                    $0
State Contribution                                                          $0                                    $0                                    $0
Local Contribution                                                          $0                                    $0                                    $0
Other Contribution                                                          $0                                    $0                                    $0
Allowable Project Cost                                                      $0                         $ 32,999,000                           $ 32,999,000



Assistance Program (CFDA)                            Statutory Authority                                   Regulatory Authority
66.468 - Capitalization Grants for Drinking Water    Safe Drinking Water Act: Sec. 1452 & Infrastructure   2 CFR 200, 2 CFR 1500 and 40 CFR 33
State Revolving Funds                                Investment and Jobs Act (IIJA) (PL 117-58)




                                                                             Fiscal
                                                            Approp.          Budget                   Object                      Cost        Obligation /
          Site Name                   Req No         FY                                     PRC                 Site/Project
                                                             Code          Organization               Class                    Organization   Deobligation
-                                  2405PWX027       22     E3SD            05P1           000B81X72   4109     22DA            -                 $ 196,000
-                                  2405PWX027       23     E3SD            05P1           000B81X72   4109     23DA            -              $ 32,803,000
                                                                                                                                              $ 32,999,000
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Budget Summary Page
                                       Table A - Object Class Category                             Total Approved Allowable
                                             (Non-Construction)                                       Budget Period Cost
 1. Personnel                                                                                                                   $0
 2. Fringe Benefits                                                                                                             $0
 3. Travel                                                                                                                      $0
 4. Equipment                                                                                                                   $0
 5. Supplies                                                                                                                    $0
 6. Contractual                                                                                                                 $0
 7. Construction                                                                                                                 $0
 8. Other                                                                                                              $ 32,999,000
 9. Total Direct Charges                                                                                               $ 32,999,000
 10. Indirect Costs: 0.00 % Base                                                                                                 $0
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                              $ 32,999,000
 12. Total Approved Assistance Amount                                                                                  $ 32,999,000
 13. Program Income                                                                                                              $0
 14. Total EPA Amount Awarded This Action                                                                              $ 32,999,000
 15. Total EPA Amount Awarded To Date                                                                                  $ 32,999,000
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                                  Attachment 1 - Project Description
This agreement provides funding to Illinois Environmental Protection Agency under the Safe Drinking
Act: Section 1452 and Infrastructure Investment and Jobs Act (IIJA) PL117-58. The purpose of this
agreement is for a capitalization grant which provides funds for the recipient’s Drinking Water State
Revolving Fund (DWSRF) program with the primary purpose to address emerging contaminants in
drinking water with a focus on projects addressing perfluoroalkyl and polyfluoroalkyl substances (PFAS).
Emerging contaminants refer to substances and microorganisms, including manufactured or naturally
occurring physical, chemical, biological, radiological, or nuclear materials, which are known or anticipated
in the environment, that may pose newly identified or re-emerging risks to human health, aquatic life, or
the environment. These substances, microorganisms or materials can include many different types of
natural or manufactured chemicals and substances – such as those in some compounds of personal
care products, pharmaceuticals, industrial chemicals, pesticides, and microplastics.

In addition, the Illinois Environmental Protection Agency has provided a request and all the necessary
documentation to transfer the full CWSRF EC grant to DWSRF EC. The CWSRF EC funds of $9,617,000
are awarded as EPA In-kind in (4X-01E03525-0) and will be awarded to Illinois in this, the DWSRF
Emerging Contaminants grant. The Illinois Environmental Protection Agency will provide the funds in
Illinois entirely as additional subsidy, consistent with the law, to protect water quality and public health in
Illinois and to vitalize the economy through the creation of jobs. This process satisfies the statutory
requirement that the CWSRF award be made prior to the funds transfer.

In addition, the Illinois Environmental Protection Agency has provided a request and all the necessary
documentation to include the full reallotment FFY 2022 BIL Emerging Contamination Reallotment of
$196,000 to be added to the DWSRF BIL Emerging Contamination allocation.Section 1452 of the Safe
Drinking Water Act (SDWA) authorizes the state to utilize funds to further the health protection objectives
of SDWA. The state has submitted an Intended Use Plan (IUP) as part of the application package for this
capitalization grant. This IUP contains a list of the capital projects that address emerging contaminants
that may receive funding from this grant. The recipient may also use some of the funding for specific "set-
asides" to provide technical assistance to small systems, program administration, state program
management and other allowable uses.The benefits of this grant will be to capitalize the recipient’s
DWSRF with primary purpose to address emerging contaminants in drinking water with a focus on
projects addressing PFAS. The fund can be used for eligible set-aside activities related to PFAS and
other emerging contaminants. These public health benefits will be statewide.

The DWSRF FR program is exempt from the 2 CFR 200.332 subrecipient management requirements for
sub-awards as provided in 2 CFR 1500. The program provides assistance in the form of loans. Of this
grant amount, Illinois EPA will fund $32,999,000 in loans in their Intended Use Plan.
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                                                 Administrative
                                                              e Conditions
Generall Termss and
                  d Conditions

The recipient agrees to comply with the current EPA general terms and conditions available
at: https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2023-or-
later.

These terms and conditions are in addition to the assurances and certifications made as a part of
the award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.
epa.gov/grants/grant-terms-and-conditions#general.

A.. Correspondence
                 e Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be
sent to the following email addresses:

         Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and young.robert@epa.gov
         MBE/WBE reports (EPA Form 5700-52A): region5closeouts@epa.gov and                   d Robertt Young
         att young.robert@epa.gov
         All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for
         Extensions of the Budget and Project Period, Amendment Requests, Requests for other
         Prior Approvals, updates to recipient information (including email addresses, changes in
         contact information or changes in authorized representatives) and other notifications:
         Isaiahh att Sattlefield.Isaiah@epa.gov and     d Robertt Young   g att young.robert@epa.gov
         Payment requests (if applicable): Isaiah      h att Sattlefield.Isaiah@epa.gov
         Quality Assurance documents, workplan revisions, equipment lists, programmatic reports
         and deliverables: Isaiah   h att Sattlefield.Isaiah@epa.gov



B.. Pre-award
            d Costs

In accordance with 2 CFR 1500.9, the grantee may charge pre-award costs (both Federal and non-Federal matching shares) incurred from
7/1/24 to the actual award date provided that such costs were contained in the approved application and all costs are incurred within the
approved budget period.
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                                                Programmatic Conditions
          FFY 2023 BIL/IIJA DWSRF Emerging Contaminant Programmatic Terms and Conditions



A. Explanation of Transfer

This action approves the full FFY 2023 CWSRF BIL Emerging Contaminants (EC) allotment inter-SRF transfer of $9,617,000 to the FFY
2023 DWSRF BIL EC capitalization grant award as authorized under Section 302 of the Safe Drinking Water Act Amendments of 1996, 42
U.S.C. 300j-12, and subsequent Pub. L. 109-54, Title II, August 2, 2005, 119 Stat. 530. The FFY 2023/SFY 2025 Illinois DWSRF IUP and
PPL which contains the EC identified projects eligible to receive these funds is attached in Section M.


B. Payment Schedule

The recipient agrees to accept grant funds that will be released by EPA utilizing the ASAP payment
method. Access to these funds will be in accordance with the following schedule:

C. Intended Use Plan and Operating Agreement

The entire contents of the Bipartisan Infrastructure Law (BIL)/Infrastructure Investment and Jobs Act
(IIJA) Emerging Contaminant SFY 2023 Intended Use Plan (IUP) and (if applicable) the Operating
Agreement (OA) are incorporated hereto by reference and made a part of this Assistance Agreement.
For a project or activity to be eligible for funding under this appropriation, it must be otherwise Drinking
Water State Revolving Fund (DWSRF)-eligible, and the primary purpose must be to address emerging
contaminants in drinking water.

D. Amended Cash Draw Proportionality

As of November 18, 2022, recipients are no longer required to comply with the cash draw rules in the
Clean Water State Revolving Fund (CWSRF) regulations at 40 CFR 35.3155(d)(5)(i) and (ii) and 40 CFR
35.3160(b)(2)-(4) and Drinking Water State Revolving Fund (DWSRF) regulations at 40 CFR 35.3560(f)
and (g) and 40 CFR 35.3565(b). For further details on this change, see the linked notification memo from
Division Directors Raffael Stein and Anita Maria Thompkins dated November 30, 2022.

E. Set-Aside Work Plan

The recipient agrees to perform the activities identified and specified in the work program plan, which is
made part of this Assistance Agreement. Set-asides under this appropriation must be used to either
administer this capitalization grant or meet the statutory purpose of these funds: “to address emerging

contaminants in drinking water with a focus on perfluoroalkyl and polyfluoroalkyl substances.”

F. Set-Aside Sub-Grants and Contracts

The recipient shall provide or make available to the Region 5 Project Officer copies of the work plans
associated with grants and contracts that it may enter into with other agencies and organizations related
to activities conducted under this grant. In its semi-annual report, the grant recipient shall include a
summary description of activities completed under grants and contracts entered into with funds made
available under the grant.
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G. Travel

EPA approves the use of Federal funds for travel budgeted in capitalization grants for implementing the
DWSRF program. The recipient agrees to use Federal funds to participate in training and professional
development activities integral to the effective implementation and management of the DWSRF program.

H. SRF Data System and Public Health Benefits Reporting

The recipient agrees to input data, as required by EPA, into the SRF Data System. The recipient of
funds for the SRF from the BIL, also known as the IIJA, 2021, P.L. 117-58, agrees to comply with all
requests for data related to the use of the funds under Section 1452 of the Safe Drinking Water Act
(SDWA), and to report all uses of the funds no less than quarterly, as the Environmental Protection
Agency specifies for the SRF Data System. This reporting shall include but not be limited to data with
respect to compliance with the DWSRF discretionary Green Project Reserve and additional subsidization
requirements as specified in P.L. 117-328 (the Consolidated Appropriations Act, 2023), and P.L. 117-58,
respectively.

EPA agrees to provide technical assistance to the State in its use of the SRF Data System.

I. Annual Reporting

In accordance with 2 CFR 200.328 and 40 CFR 35.3570, the recipient agrees to provide in its
Biennial/Annual Report information regarding key project characteristics, milestones, and
environmental/public health protection results in the following areas: 1) achievement of the outputs and
outcomes established in the Intended Use Plan; 2) the reasons for delays if established outputs or
outcomes were not met; 3) any additional pertinent information on environmental/public health results; 4)
compliance with the Green Project Reserve discretionary requirement; and 5) use of additional
subsidization.

J. Set-Aside Reporting

The recipient agrees to perform the activities identified and specified in the Set-Aside Work Plan, which is made part of this Assistance
Agreement. The recipient shall provide or make available to the Region 5 Project Officer copies of the work plans associated with grants
and contracts that it may enter into with other agencies and organizations related to activities conducted under this grant. The recipient
agrees to provide to the Region 5 Project Officer an annual report on the set-aside activities funded under this grant. In its annual report, the
grant recipient shall include a summary description of activities completed under grants and contracts entered into with funds made
available under the grant. These annual set-aside reports shall be provided with the SRF Annual Report of each year the grant is in effect.


K. Program Income from Administrative Fees

The recipient agrees to maintain program income resulting from program operations generated during
the project period (e.g., administrative fees collected from DWSRF project loan recipients) in an account
separate from the DWSRF project loan fund. In addition, the recipient agrees that such program income
shall be used only for purposes related to the administration of the DWSRF program or other purposes
authorized pursuant to EPA regulations.

L. SIGNAGE REQUIRED

1. Signage Requirements

          a. Investing in America Emblem: The recipient will ensure that a sign is placed at construction
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          sites supported in whole or in part by this award displaying the official Investing in America
          emblem and must identify the project as a “project funded by President Biden's Bipartisan
          Infrastructure Law” or “project funded by President Biden's Inflation Reduction Act” as applicable.
          The sign must be placed at construction sites in an easily visible location that can be directly
          linked to the work taking place and must be maintained in good condition throughout the
          construction period.

          The recipient will ensure compliance with the guidelines and design specifications provided by
          EPA for using the official Investing in America emblem available at: https://www.epa.
          gov/invest/investing-america-signage.

          b. Procuring Signs: Consistent with section 6002 of RCRA, 42 U.S.C. 6962, and 2 CFR 200.323,
          recipients are encouraged to use recycled or recovered materials when procuring signs. Signage
          costs are considered an allowable cost under this assistance agreement provided that the costs
          associated with signage are reasonable. Additionally, to increase public awareness of projects
          serving communities where English is not the predominant language, recipients are encouraged
          to translate the language on signs (excluding the official Investing in America emblem or EPA
          logo or seal) into the appropriate non-English language(s). The costs of such translation are
          allowable, provided the costs are reasonable.

2. Public or Media Events

EPA encourages the recipient to notify the EPA Project Officer listed in this award document of public or
media events publicizing the accomplishment of significant events related to construction projects as a
result of this agreement and provide the opportunity for attendance and participation by federal
representatives with at least ten (10) working days' notice.

M. Additional Subsidization

The recipient agrees to use 100 percent of the funds made available in the capitalization grant, net of
set-asides taken, to provide additional subsidy in the form of forgiveness of principal or as grants (or any
combination of these). The recipient must direct at least 25 percent of these additional subsidy funds to
disadvantaged communities (as defined by the state under SDWA 1452(d)) or public water systems
serving fewer than 25,000 persons. The recipient agrees to provide these funds only as initial financing
for an eligible recipient or to buy, refinance, or restructure the debt obligations of eligible recipients only
where such debt was incurred after November 15, 2021.

N. Lead Service Line Replacement

The following terms and conditions apply to all assistance agreements signed on or after August 1, 2024 involving lead service line
replacement. At the discretion of State DWSRF programs these requirements may be applied to assistance agreements signed prior to this
effective date.

(a) Stand-alone Lead Service Line Replacement

(1) The recipient agrees to ensure that stand-alone LSLR projects funded either in whole or in part under this capitalization grant must
replace the entire lead service line, not just a portion, unless a portion has already been replaced or is concurrently being replaced with
another funding source.

(2) The recipient agrees the time between starting and completing full LSLR for individual service lines should be as short as possible and
should not exceed three months.
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(b) Lead Service Line Replacement Performed in Conjunction with Planned Infrastructure Projects

(1) While full LSLR is the desired outcome of all DWSRF assistance for LSLR, the logistics involved with coordinating LSLR with planned
infrastructure projects may dictate that partial replacement of a service line is necessary if disturbance to the service line is unavoidable and
the water system cannot gain access to conduct a full lead service line replacement (e.g., a customer refuses to allow replacement of the
customer-owned portion of the service line). In the event a water system cannot gain access to conduct full LSLR because of a customer
refusal, borrowers receiving assistance under the DWSRF assistance agreement may conduct partial LSLR in conjunction with planned
infrastructure work. For the purposes of oversight and confirming eligibility, state programs must require borrowers to document customer
refusals, which could consist of any of the following: a refusal signed by the customer, documentation of a verbal statement refusing
replacement, or documentation of no response after multiple attempts to reach the customer regarding full LSLR. State programs must
record the number of partial replacements and the methods for documenting customer refusals in the SRF data system. Even if these
requirements for conducting partial LSLR in conjunction with planned infrastructure projects are satisfied, a state, in its discretion, can still
choose to fund only full LSLR.

(c) Lead Service Line Replacement Performed in Conjunction with Emergency Infrastructure Repair or Replacement

(1) Under emergency circumstances, a PWS may use DWSRF funding to pay for partial LSLR if full replacement is not possible due to
customer refusal. For the purposes of oversight and confirming eligibility, state programs must require borrowers to document customer
refusals in a manner determined by the state. Best practices consist of any of the following: a refusal signed by the customer,
documentation of a verbal statement refusing replacement, or documentation of no response after multiple attempts to reach the customer
regarding full LSLR. State programs must record the number of partial replacements and the methods for documenting customer refusals in
the SRF data system. Even if these requirements for conducting partial LSLR in emergency circumstances are satisfied, a state, in its
discretion, can still choose to fund only full LSLR.


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O. Green Project Reserve

The recipient agrees that the funds provided by this capitalization grant may, at the discretion of the
recipient, be used for projects to address green infrastructure, water or energy efficiency improvements,
or other environmentally innovative activities.

P. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at www.fgdc.gov.

Q. American Iron and Steel (AIS)

(a) Definitions. As used in this award term and condition—

          (1) “iron and steel products” mean the following products made primarily of iron or steel: lined or
          unlined pipes and fittings, manhole covers and other municipal castings, hydrants, tanks, flanges,
          pipe clamps and restraints, valves, structural steel, reinforced precast concrete, and construction
          materials.

          (2) “steel” means an alloy that includes at least 50 percent iron, between .02 and 2 percent
          carbon, and may include other elements.

(b) Domestic preference.

          (1) This award term and condition implements the Safe Drinking Water Act, section 1452(a)(4),
          by requiring that all iron and steel products used for a project for the construction, alteration,
          maintenance or repair of a public water system are produced in the United States except as
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       provided in paragraph (b)(2) of this section and condition.

       (2) This requirement shall not apply in any case or category of cases in which the Administrator of
       the Environmental Protection Agency finds that—

               (i) applying the requirement would be inconsistent with the public interest;

               (ii) iron and steel products are not produced in the United States in sufficient and
               reasonably available quantities and of a satisfactory quality; or

               (iii) inclusion of iron and steel products produced in the United States will increase the
               cost of the overall project by more than 25 percent.

       (3) The Build America, Buy America (BABA) Act requirement does not supersede the AIS
       requirement, and both provisions still apply and work in conjunction.

(c) Request for a Waiver under (b)(2) of this section

       (1) Any recipient request to use foreign iron or steel products in accordance with paragraph (b)(2)
       of this section shall include adequate information for Federal Government evaluation of the
       request, including—

               (A) A description of the foreign and domestic iron, steel, and/or manufactured goods;

               (B) Unit of measure;

               (C) Quantity;

               (D) Cost;

               (E) Time of delivery or availability;

               (F) Location of the project;

               (G) Name and address of the proposed supplier; and

               (H) A detailed justification of the reason for use of foreign iron or steel products cited in
               accordance with paragraph (b)(2) of this section.

       (2) If the Administrator receives a request for a waiver under this section, the waiver request shall
       be made available to the public for at least 15 days prior to making a finding based on the
       request.

       (3) Unless the Administrator issues a waiver of this term, use of foreign iron and steel products is
       noncompliant with the Safe Drinking Water Act, section 1452(a)(4).

(d) This term and condition shall be applied in a manner consistent with United States obligations under
international agreements.
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R. State Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient's network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to ensure
that the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by EPA's regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any sub-awards it makes under this agreement will require the subrecipient
to comply with the requirements in (b)(1) if the sub-recipient's network or information system is
connected to EPA networks to transfer data to the Agency using systems other than the Environmental
Information Exchange Network or EPA's Central Data Exchange. The recipient will be in compliance with
this condition: by including this requirement in sub-award agreements; and during subrecipient
monitoring deemed necessary by the recipient under 2 CFR 200.331(d), by inquiring whether the
subrecipient has contacted the EPA Project Officer. Nothing in this condition requires the recipient to
contact the EPA Project Officer on behalf of a subrecipient or to be involved in the negotiation of an
Interconnection Service Agreement between the subrecipient and EPA.

S. Internal Controls for Financial Transactions

The recipient agrees to use procedures consistent with “zero-trust” (never trust, always verify) for all
financial transactions with SRF funds. These procedures must include verbal verification with a trusted
recipient representative of all financial account information both initially and prior to any changes in
financial account information.

T. Wage Rate Requirements

The recipient agrees to include in all agreements to provide assistance for any construction project
carried out in whole or in part with such assistance made available by a drinking water revolving loan
fund as authorized by section 1452 of the Safe Drinking Water Act (42 U.S.C. 300j-12), a term and
condition requiring compliance with the requirements of section 1450(e) of the Safe Drinking Water Act
(42 U.S.C.300j-9(e)) in all procurement contracts and sub-grants, and require that loan recipients,
procurement contractors and sub-grantees include such a term and condition in subcontracts and other
lower tiered transactions. All contracts and subcontracts for any construction project carried out in whole
or in part with assistance made available as stated herein shall insert in full in any contract in excess of
$2,000 the contract clauses as attached hereto entitled “Wage Rate Requirements Under The Clean
Water Act, Section 513 and the Safe Drinking Water Act, Section 1450(e).” This term and condition
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applies to all agreements to provide assistance under the authorities referenced herein, whether in the
form of a loan, bond purchase, grant, or any other vehicle to provide financing for a project, where such
agreements are executed on or after October 30, 2009.

Preamble

With respect to the DWSRF program, EPA provides capitalization grants to each State which in turn
provides sub grants or loans to eligible entities within the State. Typically, the sub recipients are
municipal or other local governmental entities that manage the funds. For these types of recipients, the
provisions set forth under Roman numeral I, below, shall apply. Although EPA and the State remain
responsible for ensuring sub recipients' compliance with the wage rate requirements set forth herein,
those sub recipients shall have the primary responsibility to maintain payroll records as described in
Section I-3(ii)(A), below and for compliance as described in Section I-5.

Occasionally, the sub recipient may be a private for profit or not for profit entity. For these types of
recipients, the provisions set forth in Roman Numeral II, below, shall apply. Although EPA and the State
remain responsible for ensuring sub recipients' compliance with the wage rate requirements set forth
herein, those sub recipients shall have the primary responsibility to maintain payroll records as described
in Section II-3(ii)(A), below and for compliance as described in Section II-5.
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                                             ATTACHMENT 1

I. Requirements Under Section 1452(a)(5) of the Safe Drinking Water Act For Sub recipients That Are
Governmental Entities:

The following terms and conditions specify how recipients will assist EPA in meeting its Davis-Bacon
(DB) responsibilities when DB applies to EPA awards of financial assistance with respect to State
recipients and sub recipients that are governmental entities. If a sub recipient has questions regarding
when DB applies, obtaining the correct DB wage determinations, DB provisions, or compliance
monitoring, it may contact the State recipient. If a State recipient needs guidance, the recipient may
contact EPA's Office of Grants and Debarment for guidance at EPA_Grants_Info@epa.gov. The
recipient or sub recipient may also obtain additional guidance from the U.S. Department of Labor's (DOL)
website at http://www.dol.gov/whd/

1. Applicability of the DB prevailing wage requirements.

DB prevailing wage requirements apply to the construction, alteration, and repair of treatment works
carried out in whole or in part with assistance made available by a State water pollution control revolving
fund and to any construction project carried out in whole or in part by assistance made available by a
drinking water treatment revolving loan fund. If a sub recipient encounters a unique situation at a site that
presents uncertainties regarding DB applicability, the sub recipient must discuss the situation with the
recipient State before authorizing work on that site.

2. Obtaining Wage Determinations.

(a) Sub recipients shall obtain the wage determination for the locality in which a covered activity subject
to DB will take place prior to issuing requests for bids, proposals, quotes or other methods for soliciting
contracts (solicitation) for activities subject to DB. These wage determinations shall be incorporated into
solicitations and any subsequent contracts. Prime contracts must contain a provision requiring that
subcontractors follow the wage determination incorporated into the prime contract.

       (i) While the solicitation remains open, the sub recipient shall monitor https://sam.gov/ weekly to
       ensure that the wage determination contained in the solicitation remains current. The sub
       recipients shall amend the solicitation if DOL issues a modification more than 10 days prior to the
       closing date (i.e. bid opening) for the solicitation. If DOL modifies or supersedes the applicable
       wage determination less than 10 days prior to the closing date, the sub recipients may request a
       finding from the State recipient that there is not a reasonable time to notify interested contractors
       of the modification of the wage determination. The State recipient will provide a report of its
       findings to the sub recipient.

       (ii) If the sub recipient does not award the contract within 90 days of the closure of the solicitation,
       any modifications or supersedes DOL makes to the wage determination contained in the
       solicitation shall be effective unless the State recipient, at the request of the sub recipient, obtains
       an extension of the 90-day period from DOL pursuant to 29 CFR 1.6(c)(3)(iv). The sub recipient
       shall monitor https://sam.gov/ on a weekly basis if it does not award the contract within 90 days of
       closure of the solicitation to ensure that wage determinations contained in the solicitation remain
       current.
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(b) If the sub recipient carries out activity subject to DB by issuing a task order, work assignment or
similar instrument to an existing contractor (ordering instrument) rather than by publishing a solicitation,
the sub recipient shall insert the appropriate DOL wage determination from https://sam.gov/ into the
ordering
instrument.
(c) Sub recipients shall review all subcontracts subject to DB entered into by prime contractors to verify
that the prime contractor has required its subcontractors to include the applicable wage determinations.

(d) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to a sub
recipient's contract after the award of a contract or the issuance of an ordering instrument if DOL
determines that the sub recipient has failed to incorporate a wage determination or has used a wage
determination that clearly does not apply to the contract or ordering instrument. If this occurs, the sub
recipient shall either terminate the contract or ordering instrument and issue a revised solicitation or
ordering instrument or incorporate DOL's wage determination retroactive to the beginning of the contract
or ordering instrument by change order. The sub recipient's contractor must be compensated for any
increases in wages resulting from the use of DOL's revised wage determination.

3. Contract and Subcontract provisions.

(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in excess of
$2,000 which is entered into for the actual construction, alteration and/or repair, including painting and
decorating, of a treatment work under the CWSRF or a construction project carried out in whole or in part
with assistance made available by the DWSRF, and which is subject to the labor standards provisions of
any of the acts listed in § 5.1 or the Safe Drinking Water Act, Section 1452(a)(5), the following clauses:

(1) Minimum wages.

       (i) All laborers and mechanics employed or working upon the site of the work will be paid
       unconditionally and not less often than once a week, and without subsequent deduction or rebate
       on any account (except such payroll deductions as are permitted by regulations issued by the
       Secretary of Labor under the Copeland Act (29 CFR part 3)), the full amount of wages and bona
       fide fringe benefits (or cash equivalents thereof) due at time of payment computed at rates not
       less than those contained in the wage determination of the Secretary of Labor which is attached
       hereto and made a part hereof, regardless of any contractual relationship which may be alleged
       to exist between the contractor and such laborers and mechanics.

       Contributions made or costs reasonably anticipated for bona fide fringe benefits under section 1
       (b)(2) of the DB Act on behalf of laborers or mechanics are considered wages paid to such
       laborers or mechanics, subject to the provisions of paragraph (a)(1)(iv) of this section; also,
       regular contributions made or costs incurred for more than a weekly period (but not less often
       than quarterly) under plans, funds, or programs which cover the particular weekly period, are
       deemed to be constructively made or incurred during such weekly period. Such laborers and
       mechanics shall be paid the appropriate wage rate and fringe benefits on the wage determination
       for the classification of work actually performed, without regard to skill, except as provided in §
       5.5(a)(4). Laborers or mechanics performing work in more than one classification may be
       compensated at the rate specified for each classification for the time actually worked therein:
       Provided that the employer's payroll records accurately set forth the time spent in each
       classification in which work is performed. The wage determination (including any additional
       classification and wage rates conformed under paragraph (a)(1)(ii) of this section) and the DB
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poster (WH-1321) shall be posted at all times by the contractor and its subcontractors at the site
of the work in a prominent and accessible place where it can be easily seen by the workers.

Sub recipients may obtain wage determinations from DOL's website, https://sam.gov/.

(ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or
mechanics, including helpers, which is not listed in the wage determination and which is to be
employed under the contract shall be classified in conformance with the wage determination. The
State award official shall approve a request for an additional classification and wage rate and
fringe benefits therefore only when the following criteria have been met:

       (1) The work to be performed by the classification requested is not performed by a
       classification in the wage determination; and

       (2) The classification is utilized in the area by the construction industry; and

       (3) The proposed wage rate, including any bona fide fringe benefits, bears a reasonable
       relationship to the wage rates contained in the wage determination.

(B) If the contractor and the laborers and mechanics to be employed in the classification (if
known), or their representatives, and the sub recipient(s) agree on the classification and wage
rate (including the amount designated for fringe benefits where appropriate), documentation of
the action taken and the request, including the local wage determination shall be sent by the sub
recipient (s) to the State award official. The State award official will transmit a completed
conformance request form (SF-1444 or similar) and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will approve, modify, or
disapprove every additional classification request within 30 days of receipt and so advise the
State award official or will notify the State award official within the 30-day period that additional
time is necessary.

(C) In the event the contractor, the laborers or mechanics to be employed in the classification or
their representatives, and the sub recipient(s) do not agree on the proposed classification and
wage rate (including the amount designated for fringe benefits, where appropriate),
documentation of the action taken and the request, including the local wage determination shall
be sent by the sub recipient (s) to the State award official. The State award official will transmit a
completed conformance request form (SF-1444 or similar) which indicates the State award
official's disagreement and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will issue a determination
within 30 days of receipt of the request and so advise the contracting officer or will notify the
contracting officer within the 30-day period that additional time is necessary.

(D) The wage rate (including fringe benefits where appropriate) determined pursuant to
paragraphs (a)(1)(ii)(B) or (C) of this section, shall be paid to all workers performing work in the
classification under this contract from the first day on which work is performed in the
classification.

(iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers or
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       mechanics includes a fringe benefit which is not expressed as an hourly rate, the contractor shall
       either pay the benefit as stated in the wage determination or shall pay another bona fide fringe
       benefit or an hourly cash equivalent thereof.

       (iv) If the contractor does not make payments to a trustee or other third person, the contractor
       may consider as part of the wages of any laborer or mechanic the amount of any costs
       reasonably anticipated in providing bona fide fringe benefits under a plan or program, Provided,
       That the Secretary of Labor has found, upon the written request of the contractor, that the
       applicable standards of the DB Act have been met. The Secretary of Labor may require the
       contractor to set aside assets in a separate account for the meeting of obligations under the plan
       or program.

(2) Withholding. The sub recipient(s), shall upon written request of the EPA Award Official or an
authorized representative of the DOL, withhold or cause to be withheld from the contractor under this
contract or any other Federal contract with the same prime contractor, or any other federally-assisted
contract subject to DB prevailing wage requirements, which is held by the same prime contractor, so
much of the accrued payments or advances as may be considered necessary to pay laborers and
mechanics, including apprentices, trainees, and helpers, employed by the contractor or any
subcontractor the full amount of wages required by the contract. In the event of failure to pay any laborer
or mechanic, including any apprentice, trainee, or helper, employed or working on the site of the work, all
or part of the wages required by the contract, the EPA may, after written notice to the contractor,
sponsor, applicant, or owner, take such action as may be necessary to cause the suspension of any
further payment, advance, or guarantee of funds until such violations have ceased.

(3) Payrolls and basic records.

       (i) Payrolls and basic records relating thereto shall be maintained by the contractor during the
       course of the work and preserved for a period of three years thereafter for all laborers and
       mechanics working at the site of the work. Such records shall contain the name, address, and
       social security number of each such worker, his or her correct classification, hourly rates of
       wages paid (including rates of contributions or costs anticipated for bona fide fringe benefits or
       cash equivalents thereof of the types described in section 1(b)(2)(B) of the DB Act), daily and
       weekly number of hours worked, deductions made and actual wages paid. Whenever the
       Secretary of Labor has found under 29 CFR 5.5(a)(1)(iv) that the wages of any laborer or
       mechanic include the amount of any costs reasonably anticipated in providing benefits under a
       plan or program described in section 1(b)(2)(B) of the DB Act, the contractor shall maintain
       records which show that the commitment to provide such benefits is enforceable, that the plan or
       program is financially responsible, and that the plan or program has been communicated in
       writing to the laborers or mechanics affected, and records which show the costs anticipated or the
       actual cost incurred in providing such benefits. Contractors employing apprentices or trainees
       under approved programs shall maintain written evidence of the registration of apprenticeship
       programs and certification of trainee programs, the registration of the apprentices and trainees,
       and the ratios and wage rates prescribed in the applicable programs.

       (ii)(A) The contractor shall submit weekly, for each week in which any contract work is performed,
       a copy of all payrolls to the sub recipient, that is, the entity that receives the sub-grant or loan
       from the State capitalization grant recipient. Such documentation shall be available on request of
       the State recipient or EPA. As to each payroll copy received, the sub recipient shall provide
       written confirmation in a form satisfactory to the State indicating whether or not the project is in
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compliance with the requirements of 29 CFR 5.5(a)(1) based on the most recent payroll copies
for the specified week. The payrolls shall set out accurately and completely all of the information
required to be maintained under 29 CFR 5.5(a)(3)(i), except that full social security numbers and
home addresses shall not be included on the weekly payrolls. Instead, the payrolls shall only
need to include an individually identifying number for each employee (e.g., the last four digits of
the employee's social security number). The required weekly payroll information may be
submitted in any form desired. Optional Form WH-347 is available for this purpose from the
Wage and Hour Division website at http://www.dol.gov/whd/forms/wh347instr.htm or its
successor site.

The prime contractor is responsible for the submission of copies of payrolls by all subcontractors.
Contractors and subcontractors shall maintain the full social security number and current address
of each covered worker and shall provide them upon request to the sub recipient(s) for
transmission to the State or EPA if requested by EPA, the State, the contractor, or the Wage and
Hour Division of the DOL for purposes of an investigation or audit of compliance with prevailing
wage requirements. It is not a violation of this section for a prime contractor to require a
subcontractor to provide addresses and social security numbers to the prime contractor for its
own records, without weekly submission to the sub recipient(s).

(B) Each payroll submitted shall be accompanied by a “Statement of Compliance,” signed by the
contractor or subcontractor or his or her agent who pays or supervises the payment of the
persons employed under the contract and shall certify the following:

       (1) That the payroll for the payroll period contains the information required to be provided
       under § 5.5 (a)(3)(ii) of Regulations, 29 CFR part 5, the appropriate information is being
       maintained under § 5.5 (a)(3)(i) of Regulations, 29 CFR part 5, and that such information
       is correct and complete;

       (2) That each laborer or mechanic (including each helper, apprentice, and trainee)
       employed on the contract during the payroll period has been paid the full weekly wages
       earned, without rebate, either directly or indirectly, and that no deductions have been
       made either directly or indirectly from the full wages earned, other than permissible
       deductions as set forth in Regulations, 29 CFR part 3;

       (3) That each laborer or mechanic has been paid not less than the applicable wage rates
       and fringe benefits or cash equivalents for the classification of work performed, as
       specified in the applicable wage determination incorporated into the contract.

(C) The weekly submission of a properly executed certification set forth on the reverse side of
Optional Form WH-347 shall satisfy the requirement for submission of the “Statement of
Compliance” required by paragraph (a)(3)(ii)(B) of this section.

(D) The falsification of any of the above certifications may subject the contractor or subcontractor
to civil or criminal prosecution under section 1001 of title 18 and section 231 of title 31 of the
United States Code.

(iii) The contractor or subcontractor shall make the records required under paragraph (a)(3)(i) of
this section available for inspection, copying, or transcription by authorized representatives of the
State, EPA or the DOL, and shall permit such representatives to interview employees during
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       working hours on the job. If the contractor or subcontractor fails to submit the required records or
       to make them available, the EPA or State may, after written notice to the contractor, sponsor,
       applicant, or owner, take such action as may be necessary to cause the suspension of any
       further payment, advance, or guarantee of funds. Furthermore, failure to submit the required
       records upon request or to make such records available may be grounds for debarment action
       pursuant to 29 CFR 5.12.

(4) Apprentices and trainees

       (i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate for the
       work they performed when they are employed pursuant to and individually registered in a bona
       fide apprenticeship program registered with the DOL, Employment and Training Administration,
       Office of Apprenticeship Training, Employer and Labor Services, or with a State Apprenticeship
       Agency recognized by the Office, or if a person is employed in his or her first 90 days of
       probationary employment as an apprentice in such an apprenticeship program, who is not
       individually registered in the program, but who has been certified by the Office of Apprenticeship
       Training, Employer and Labor Services or a State Apprenticeship Agency (where appropriate) to
       be eligible for probationary employment as an apprentice. The allowable ratio of apprentices to
       journeymen on the job site in any craft classification shall not be greater than the ratio permitted
       to the contractor as to the entire work force under the registered program. Any worker listed on a
       payroll at an apprentice wage rate, who is not registered or otherwise employed as stated above,
       shall be paid not less than the applicable wage rate on the wage determination for the
       classification of work actually performed. In addition, any apprentice performing work on the job
       site in excess of the ratio permitted under the registered program shall be paid not less than the
       applicable wage rate on the wage determination for the work actually performed. Where a
       contractor is performing construction on a project in a locality other than that in which its program
       is registered, the ratios and wage rates (expressed in percentages of the journeyman's hourly
       rate) specified in the contractor's or subcontractor's registered program shall be observed. Every
       apprentice must be paid at not less than the rate specified in the registered program for the
       apprentice's level of progress, expressed as a percentage of the journeymen hourly rate specified
       in the applicable wage determination. Apprentices shall be paid fringe benefits in accordance with
       the provisions of the apprenticeship program. If the apprenticeship program does not specify
       fringe benefits, apprentices must be paid the full amount of fringe benefits listed on the wage
       determination for the applicable classification. If the Administrator determines that a different
       practice prevails for the applicable apprentice classification, fringes shall be paid in accordance
       with that determination. In the event the Office of Apprenticeship Training, Employer and Labor
       Services, or a State Apprenticeship Agency recognized by the Office, withdraws approval of an
       apprenticeship program, the contractor will no longer be permitted to utilize apprentices at less
       than the applicable predetermined rate for the work performed until an acceptable program is
       approved.

       (ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at less
       than the predetermined rate for the work performed unless they are employed pursuant to and
       individually registered in a program which has received prior approval, evidenced by formal
       certification by the DOL, Employment and Training Administration. The ratio of trainees to
       journeymen on the job site shall not be greater than permitted under the plan approved by the
       Employment and Training Administration. Every trainee must be paid at not less than the rate
       specified in the approved program for the trainee's level of progress, expressed as a percentage
       of the journeyman hourly rate specified in the applicable wage determination. Trainees shall be
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        paid fringe benefits in accordance with the provisions of the trainee program. If the trainee
        program does not mention fringe benefits, trainees shall be paid the full amount of fringe benefits
        listed on the wage determination unless the Administrator of the Wage and Hour Division
        determines that there is an apprenticeship program associated with the corresponding
        journeyman wage rate on the wage determination which provides for less than full fringe benefits
        for apprentices. Any employee listed on the payroll at a trainee rate who is not registered and
        participating in a training plan approved by the Employment and Training Administration shall be
        paid not less than the applicable wage rate on the wage determination for the classification of
        work actually performed. In addition, any trainee performing work on the job site in excess of the
        ratio permitted under the registered program shall be paid not less than the applicable wage rate
        on the wage determination for the work actually performed. In the event the Employment and
        Training Administration withdraws approval of a training program, the contractor will no longer be
        permitted to utilize trainees at less than the applicable predetermined rate for the work performed
        until an acceptable program is approved.

        (iii) Equal employment opportunity. The utilization of apprentices, trainees and journeymen under
        this part shall be in conformity with the equal employment opportunity requirements of Executive
        Order 11246, as amended and 29 CFR part 30.

(5) Compliance with Copeland Act requirements. The contractor shall comply with the requirements of 29
CFR part 3, which are incorporated by reference in this contract.

(6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses contained
in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA determines may by appropriate, and
also a clause requiring the subcontractors to include these clauses in any lower tier subcontracts. The
prime contractor shall be responsible for the compliance by any subcontractor or lower tier subcontractor
with all the contract clauses in 29 CFR 5.5.

(7) Contract termination; debarment. A breach of the contract clauses in 29 CFR 5.5 may be grounds for
termination of the contract, and for debarment as a contractor and a subcontractor as provided in 29
CFR 5.12.

(8) Compliance with DB and Related Act requirements. All rulings and interpretations of the DB and
Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by reference in this contract.

(9) Disputes concerning labor standards. Disputes arising out of the labor standards provisions of this
contract shall not be subject to the general disputes clause of this contract. Such disputes shall be
resolved in accordance with the procedures of the DOL set forth in 29 CFR parts 5, 6, and 7. Disputes
within the meaning of this clause include disputes between the contractor (or any of its subcontractors)
and sub recipient(s), State, EPA, DOL, or the employees or their representatives.

(10) Certification of eligibility.

        (i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor any
        person or firm who has an interest in the contractor's firm is a person or firm ineligible to be
        awarded Government contracts by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).

        (ii) No part of this contract shall be subcontracted to any person or firm ineligible for award of a
        Government contract by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).
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        (iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18 U.S.C.
        1001.

4. Contract Provision for Contracts in Excess of $100,000.

(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the following clauses
set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any contract in an amount in excess
of $100,000 and subject to the overtime provisions of the Contract Work Hours and Safety Standards
Act. These clauses shall be inserted in addition to the clauses required by Item 3, above or 29 CFR 4.6.
As used in this paragraph, the terms laborers and mechanics include watchmen and guards.

        (1) Overtime requirements. No contractor or subcontractor contracting for any part of the contract
        work which may require or involve the employment of laborers or mechanics shall require or
        permit any such laborer or mechanic in any workweek in which he or she is employed on such
        work to work in excess of forty hours in such workweek unless such laborer or mechanic receives
        compensation at a rate not less than one and one-half times the basic rate of pay for all hours
        worked in excess of forty hours in such workweek.

        (2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of the
        clause set forth in paragraph (a)(1) of this section the contractor and any subcontractor
        responsible therefore shall be liable for the unpaid wages. In addition, such contractor and
        subcontractor shall be liable to the United States (in the case of work done under contract for the
        District of Columbia or a territory, to such District or to such territory), for liquidated damages.
        Such liquidated damages shall be computed with respect to each individual laborer or mechanic,
        including watchmen and guards, employed in violation of the clause set forth in paragraph (a)(1)
        of this section, in the sum of $29 for each calendar day on which such individual was required or
        permitted to work in excess of the standard workweek of forty hours without payment of the
        overtime wages required by the clause set forth in paragraph (a)(1) of this section.

        (3) Withholding for unpaid wages and liquidated damages. The sub recipient,, upon written
        request of the EPA Award Official or an authorized representative of the DOL, shall withhold or
        cause to be withheld, from any moneys payable on account of work performed by the contractor
        or subcontractor under any such contract or any other Federal contract with the same prime
        contractor, or any other federally-assisted contract subject to the Contract Work Hours and Safety
        Standards Act, which is held by the same prime contractor, such sums as may be determined to
        be necessary to satisfy any liabilities of such contractor or subcontractor for unpaid wages and
        liquidated damages as provided in the clause set forth in paragraph (a)(2) of this section.

        (4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses set
        forth in paragraph (a)(1) through (4) of this section and also a clause requiring the subcontractors
        to include these clauses in any lower tier subcontracts. The prime contractor shall be responsible
        for compliance by any subcontractor or lower tier subcontractor with the clauses set forth in
        paragraphs (a)(1) through (4) of this section.
        (b) In addition to the clauses contained in Item 3, above, in any contract subject only to the
        Contract Work Hours and Safety Standards Act and not to any of the other statutes cited in 29
        CFR 5.1, the Sub recipient shall insert a clause requiring that the contractor or subcontractor
        shall maintain payrolls and basic payroll records during the course of the work and shall preserve
        them for a period of three years from the completion of the contract for all laborers and
        mechanics, including guards and watchmen, working on the contract. Such records shall contain
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       the name and address of each such employee, social security number, correct classifications,
       hourly rates of wages paid, daily and weekly number of hours worked, deductions made, and
       actual wages paid. Further, the Sub recipient shall insert in any such contract a clause providing
       that the records to be maintained under this paragraph shall be made available by the contractor
       or subcontractor for inspection, copying, or transcription by authorized representatives of the EPA
       and the DOL, and the contractor or subcontractor will permit such representatives to interview
       employees during working hours on the job.

5. Compliance Verification

(a) The sub recipient shall periodically interview a sufficient number of employees entitled to DB
prevailing wages (covered employees) to verify that contractors or subcontractors are paying the
appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be conducted in
confidence. The sub recipient must use Standard Form 1445 (SF 1445) or equivalent documentation to
memorialize the interviews. Copies of the SF 1445 are available from EPA on request.

(b) The sub recipient shall establish and follow an interview schedule based on its assessment of the
risks of noncompliance with DB posed by contractors or subcontractors and the duration of the contract
or subcontract. Sub recipients must conduct more frequent interviews if the initial interviews or other
information indicated that there is a risk that the contractor or subcontractor is not complying with DB.

Sub recipients shall immediately conduct interviews in response to an alleged violation of the prevailing
wage requirements. All interviews shall be conducted in confidence.

(c) The sub recipient shall periodically conduct spot checks of a representative sample of weekly payroll
data to verify that contractors or subcontractors are paying the appropriate wage rates. The sub recipient
shall establish and follow a spot check schedule based on its assessment of the risks of noncompliance
with DB posed by contractors or subcontractors and the duration of the contract or subcontract. At a
minimum, if practicable, the sub recipient should spot check payroll data within two weeks of each
contractor or subcontractor's submission of its initial payroll data and two weeks prior to the completion
date the contract or subcontract. Sub recipients must conduct more frequent spot checks if the initial spot
check or other information indicates that there is a risk that the contractor or subcontractor is not
complying with DB. In addition, during the examinations the sub recipient shall verify evidence of fringe
benefit plans and payments there under by contractors and subcontractors who claim credit for fringe
benefit contributions.

(d) The sub recipient shall periodically review contractor's and subcontractor's use of apprentices and
trainees to verify registration and certification with respect to apprenticeship and training programs
approved by either DOL or a state, as appropriate, and that contractors and subcontractors are not using
disproportionate numbers of, laborers, trainees and apprentices. These reviews shall be conducted in
accordance with the schedules for spot checks and interviews described in Item 5(b) and (c) above.

(e) Sub recipients must immediately report potential violations of the DB prevailing wage requirements to
the EPA DB contact listed above and to the appropriate DOL Wage and Hour District Office listed at
https://www.dol.gov/agencies/whd/contact/local-offices.

II. Requirements Under Section 1452(a)(5) of the Safe Drinking Water Act For Sub recipients That Are
Not Governmental Entities:
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The following terms and conditions specify how recipients will assist EPA in meeting its DB
responsibilities when DB applies to EPA awards of financial assistance under the Safe Drinking Water
Act, Section 1452(a)(5) with respect to sub recipients that are not governmental entities. If a sub
recipient has questions regarding when DB applies, obtaining the correct DB wage determinations, DB
provisions, or compliance monitoring, it may contact the State recipient for guidance. If a State recipient
needs guidance, the recipient may contact EPA's Office of Grants and Debarment for guidance at
EPA_Grants_Info@epa.gov The recipient or sub recipient may also obtain additional guidance from
DOL's website at http://www.dol.gov/whd/

Under these terms and conditions, the sub recipient must submit its proposed DB wage determinations
to the State recipient for approval prior to including the wage determination in any solicitation, contract
task orders, work assignments, or similar instruments to existing contractors.

1. Applicability of the Davis- Bacon (DB) prevailing wage requirements.

Under the Safe Drinking Water Act, Section 1452(a)(5), DB prevailing wage requirements apply to the
construction, alteration, and repair of treatment works carried out in whole or in part with assistance
made available by a State water pollution control revolving fund and to any construction project carried
out in whole or in part by assistance made available by a drinking water treatment revolving loan fund. If
a sub recipient encounters a unique situation at a site that presents uncertainties regarding DB
applicability, the sub recipient must discuss the situation with the recipient State before authorizing work
on that site.

2. Obtaining Wage Determinations.

(a) Sub recipients must obtain proposed wage determinations for specific localities at https://sam.
gov/. After the sub recipient obtains its proposed wage determination, it must submit the wage
determination to IEPA for approval prior to inserting the wage determination into a solicitation, contract or
issuing task orders, work assignments or similar instruments to existing contractors (ordering instruments
unless subsequently directed otherwise by the State recipient Award Official.)

(b) Sub recipients shall obtain the wage determination for the locality in which a covered activity subject
to DB will take place prior to issuing requests for bids, proposals, quotes or other methods for soliciting
contracts (solicitation) for activities subject to DB. These wage determinations shall be incorporated into
solicitations and any subsequent contracts. Prime contracts must contain a provision requiring that
subcontractors follow the wage determination incorporated into the prime contract.

       (i) While the solicitation remains open, the sub recipient shall monitor https://sam.gov/ on a
       weekly basis to ensure that the wage determination contained in the solicitation remains
       current. The sub recipients shall amend the solicitation if DOL issues a modification more than
       10 days prior to the closing date (i.e. bid opening) for the solicitation. If DOL modifies or
       supersedes the applicable wage determination less than 10 days prior to the closing date, the
       sub recipients may request a finding from the State recipient that there is not a reasonable time to
       notify interested contractors of the modification of the wage determination. The State recipient
       will provide a report of its findings to the sub recipient.

       (ii) If the sub recipient does not award the contract within 90 days of the closure of the solicitation,
       any modifications or supersedes DOL makes to the wage determination contained in the
       solicitation shall be effective unless the State recipient, at the request of the sub recipient, obtains
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       an extension of the 90-day period from DOL pursuant to 29 CFR 1.6(c)(3)(iv). The sub recipient
       shall monitor https://sam.gov/ on a weekly basis if it does not award the contract within 90 days of
       closure of the solicitation to ensure that wage determinations contained in the solicitation remain
       current.

(c) If the sub recipient carries out activity subject to DB by issuing a task order, work assignment or
similar instrument to an existing contractor (ordering instrument) rather than by publishing a solicitation,
the sub recipient shall insert the appropriate DOL wage determination from https://sam.gov/ into the
ordering instrument.

(d) Sub recipients shall review all subcontracts subject to DB entered into by prime contractors to verify
that the prime contractor has required its subcontractors to include the applicable wage determinations.

(e) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to a sub
recipient's contract after the award of a contract or the issuance of an ordering instrument if DOL
determines that the sub recipient has failed to incorporate a wage determination or has used a wage
determination that clearly does not apply to the contract or ordering instrument. If this occurs, the sub
recipient shall either terminate the contract or ordering instrument and issue a revised solicitation or
ordering instrument or incorporate DOL's wage determination retroactive to the beginning of the contract
or ordering instrument by change order. The sub recipient's contractor must be compensated for any
increases in wages resulting from the use of DOL's revised wage determination.

3. Contract and Subcontract provisions.

(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in excess of
$2,000 which is entered into for the actual construction, alteration and/or repair, including painting and
decorating, of a treatment work under the CWSRF or a construction project carried out in whole or in part
with assistance made available by the DWSRF, and which is subject to the labor standards provisions of
any of the acts listed in § 5.1 or the Safe Drinking Water Act, Section 1452(a)(5), the following clauses:

(1) Minimum wages.

       (i) All laborers and mechanics employed or working upon the site of the work, will be paid
       unconditionally and not less often than once a week, and without subsequent deduction or rebate
       on any account (except such payroll deductions as are permitted by regulations issued by the
       Secretary of Labor under the Copeland Act (29 CFR part 3) ), the full amount of wages and bona
       fide fringe benefits (or cash equivalents thereof) due at time of payment computed at rates not
       less than those contained in the wage determination of the Secretary of Labor which is attached
       hereto and made a part hereof, regardless of any contractual relationship which may be alleged
       to exist between the contractor and such laborers and mechanics.

       Contributions made or costs reasonably anticipated for bona fide fringe benefits under section 1
       (b)(2) of the DB Act on behalf of laborers or mechanics are considered wages paid to such
       laborers or mechanics, subject to the provisions of paragraph (a)(1)(iv) of this section; also,
       regular contributions made or costs incurred for more than a weekly period (but not less often
       than quarterly) under plans, funds, or programs which cover the particular weekly period, are
       deemed to be constructively made or incurred during such weekly period. Such laborers and
       mechanics shall be paid the appropriate wage rate and fringe benefits on the wage determination
       for the classification of work actually performed, without regard to skill, except as provided in §
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5.5(a)(4). Laborers or mechanics performing work in more than one classification may be
compensated at the rate specified for each classification for the time actually worked
therein: Provided, that the employer's payroll records accurately set forth the time spent in each
classification in which work is performed. The wage determination (including any additional
classification and wage rates conformed under paragraph (a)(1)(ii) of this section) and the DB
poster (WH-1321) shall be posted at all times by the contractor and its subcontractors at the site
of the work in a prominent and accessible place where it can be easily seen by the workers.

Sub recipients may obtain wage determinations from DOL's website, https://sam.gov/.

(ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or
mechanics, including helpers, which is not listed in the wage determination and which is to be
employed under the contract shall be classified in conformance with the wage determination. The
State award official shall approve a request for an additional classification and wage rate and
fringe benefits therefore only when the following criteria have been met:

       (1) The work to be performed by the classification requested is not performed by a
       classification in the wage determination; and

       (2) The classification is utilized in the area by the construction industry; and

       (3) The proposed wage rate, including any bona fide fringe benefits, bears a reasonable
       relationship to the wage rates contained in the wage determination.

(B) If the contractor and the laborers and mechanics to be employed in the classification (if
known), or their representatives, and the sub recipient(s) agree on the classification and wage
rate (including the amount designated for fringe benefits where appropriate), documentation of
the action taken and the request, including the local wage determination shall be sent by the sub
recipient(s) to the State award official. The State award official will transmit a completed
conformance request form (SF-1444 or similar) and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will approve, modify, or
disapprove every additional classification request within 30 days of receipt and so advise the
State award official or will notify the State award official within the 30-day period that additional
time is necessary.

(C) In the event the contractor, the laborers or mechanics to be employed in the classification or
their representatives, and the sub recipient(s) do not agree on the proposed classification and
wage rate (including the amount designated for fringe benefits, where appropriate),
documentation of the action taken and the request, including the local wage determination shall
be sent by the sub recipient (s) to the State award official. The State award official will transmit a
completed conformance request form (SF-1444 or similar) which indicates the State award
official's disagreement and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will issue a determination
within 30 days of receipt of the request and so advise the contracting officer or will notify the
contracting officer within the 30-day period that additional time is necessary.

(D) The wage rate (including fringe benefits where appropriate) determined pursuant to
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       paragraphs (a)(1)(ii)(B) or (C) of this section, shall be paid to all workers performing work in the
       classification under this contract from the first day on which work is performed in the
       classification.

       (iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers or
       mechanics includes a fringe benefit which is not expressed as an hourly rate, the contractor shall
       either pay the benefit as stated in the wage determination or shall pay another bona fide fringe
       benefit or an hourly cash equivalent thereof.

       (iv) If the contractor does not make payments to a trustee or other third person, the contractor
       may consider as part of the wages of any laborer or mechanic the amount of any costs
       reasonably anticipated in providing bona fide fringe benefits under a plan or program, Provided,
       That the Secretary of Labor has found, upon the written request of the contractor, that the
       applicable standards of the DB Act have been met. The Secretary of Labor may require the
       contractor to set aside assets in a separate account for the meeting of obligations under the plan
       or program.

(2) Withholding. The sub recipient(s) shall upon written request of the EPA Award Official or an
authorized representative of the DOL, withhold or cause to be withheld from the contractor under this
contract or any other Federal contract with the same prime contractor, or any other federally-assisted
contract subject to DB prevailing wage requirements, which is held by the same prime contractor, so
much of the accrued payments or advances as may be considered necessary to pay laborers and
mechanics, including apprentices, trainees, and helpers, employed by the contractor or any
subcontractor the full amount of wages required by the contract. In the event of failure to pay any laborer
or mechanic, including any apprentice, trainee, or helper, employed or working on the site of the work, all
or part of the wages required by the contract, the EPA may, after written notice to the contractor,
sponsor, applicant, or owner, take such action as may be necessary to cause the suspension of any
further payment, advance, or guarantee of funds until such violations have ceased.

(3) Payrolls and basic records.

       (i) Payrolls and basic records relating thereto shall be maintained by the contractor during the
       course of the work and preserved for a period of three years thereafter for all laborers and
       mechanics working at the site of the work. Such records shall contain the name, address, and
       social security number of each such worker, his or her correct classification, hourly rates of
       wages paid (including rates of contributions or costs anticipated for bona fide fringe benefits or
       cash equivalents thereof of the types described in section 1(b)(2)(B) of the DB Act), daily and
       weekly number of hours worked, deductions made and actual wages paid. Whenever the
       Secretary of Labor has found under 29 CFR 5.5(a)(1)(iv) that the wages of any laborer or
       mechanic include the amount of any costs reasonably anticipated in providing benefits under a
       plan or program described in section 1(b)(2)(B) of the DB Act, the contractor shall maintain
       records which show that the commitment to provide such benefits is enforceable, that the plan or
       program is financially responsible, and that the plan or program has been communicated in
       writing to the laborers or mechanics affected, and records which show the costs anticipated or the
       actual cost incurred in providing such benefits. Contractors employing apprentices or trainees
       under approved programs shall maintain written evidence of the registration of apprenticeship
       programs and certification of trainee programs, the registration of the apprentices and trainees,
       and the ratios and wage rates prescribed in the applicable programs.
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(ii)(A) The contractor shall submit weekly, for each week in which any contract work is performed,
a copy of all payrolls to the sub recipient, that is, the entity that receives the sub-grant or loan
from the State capitalization grant recipient. Such documentation shall be available on request of
the State recipient or EPA. As to each payroll copy received, the sub recipient shall provide
written confirmation in a form satisfactory to the State indicating whether or not the project is in
compliance with the requirements of 29 CFR 5.5(a)(1) based on the most recent payroll copies
for the specified week. The payrolls shall set out accurately and completely all of the information
required to be maintained under 29 CFR 5.5(a)(3)(i), except that full social security numbers and
home addresses shall not be included on the weekly payrolls. Instead, the payrolls shall only
need to include an individually identifying number for each employee (e.g., the last four digits of
the employee's social security number). The required weekly payroll information may be
submitted in any form desired. Optional Form WH-347 is available for this purpose from the
Wage and Hour Division website at http://www.dol.gov/whd/forms/wh347instr.htm or its
successor site.

The prime contractor is responsible for the submission of copies of payrolls by all subcontractors.
Contractors and subcontractors shall maintain the full social security number and current address
of each covered worker and shall provide them upon request to the sub recipient(s) for
transmission to the State or EPA if requested by EPA, the State, the contractor, or the Wage and
Hour Division of the DOL for purposes of an investigation or audit of compliance with prevailing
wage requirements. It is not a violation of this section for a prime contractor to require a
subcontractor to provide addresses and social security numbers to the prime contractor for its
own records, without weekly submission to the sub recipient(s).

(B) Each payroll submitted shall be accompanied by a “Statement of Compliance,” signed by the
contractor or subcontractor or his or her agent who pays or supervises the payment of the
persons employed under the contract and shall certify the following:

(1) That the payroll for the payroll period contains the information required to be provided under §
5.5 (a)(3)(ii) of Regulations, 29 CFR part 5, the appropriate information is being maintained under
§ 5.5 (a)(3)(i) of Regulations, 29 CFR part 5, and that such information is correct and complete;

(2) That each laborer or mechanic (including each helper, apprentice, and trainee) employed on
the contract during the payroll period has been paid the full weekly wages earned, without rebate,
either directly or indirectly, and that no deductions have been made either directly or indirectly
from the full wages earned, other than permissible deductions as set forth in Regulations, 29 CFR
part 3;

(3) That each laborer or mechanic has been paid not less than the applicable wage rates and
fringe benefits or cash equivalents for the classification of work performed, as specified in the
applicable wage determination incorporated into the contract.

(C) The weekly submission of a properly executed certification set forth on the reverse side of
Optional Form WH-347 shall satisfy the requirement for submission of the “Statement of
Compliance” required by paragraph (a)(3)(ii)(B) of this section.

(D) The falsification of any of the above certifications may subject the contractor or subcontractor
to civil or criminal prosecution under section 1001 of title 18 and section 231 of title 31 of the
United States Code.
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       (iii) The contractor or subcontractor shall make the records required under paragraph (a)(3)(i) of
       this section available for inspection, copying, or transcription by authorized representatives of the
       State, EPA or the DOL, and shall permit such representatives to interview employees during
       working hours on the job. If the contractor or subcontractor fails to submit the required records or
       to make them available, the EPA or State may, after written notice to the contractor, sponsor,
       applicant, or owner, take such action as may be necessary to cause the suspension of any
       further payment, advance, or guarantee of funds. Furthermore, failure to submit the required
       records upon request or to make such records available may be grounds for debarment action
       pursuant to 29 CFR 5.12.

(4) Apprentices and trainees--

       (i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate for the
       work they performed when they are employed pursuant to and individually registered in a bona
       fide apprenticeship program registered with the DOL, Employment and Training Administration,
       Office of Apprenticeship Training, Employer and Labor Services, or with a State Apprenticeship
       Agency recognized by the Office, or if a person is employed in his or her first 90 days of
       probationary employment as an apprentice in such an apprenticeship program, who is not
       individually registered in the program, but who has been certified by the Office of Apprenticeship
       Training, Employer and Labor Services or a State Apprenticeship Agency (where appropriate) to
       be eligible for probationary employment as an apprentice. The allowable ratio of apprentices to
       journeymen on the job site in any craft classification shall not be greater than the ratio permitted
       to the contractor as to the entire work force under the registered program. Any worker listed on a
       payroll at an apprentice wage rate, who is not registered or otherwise employed as stated above,
       shall be paid not less than the applicable wage rate on the wage determination for the
       classification of work actually performed. In addition, any apprentice performing work on the job
       site in excess of the ratio permitted under the registered program shall be paid not less than the
       applicable wage rate on the wage determination for the work actually performed. Where a
       contractor is performing construction on a project in a locality other than that in which its program
       is registered, the ratios and wage rates (expressed in percentages of the journeyman's hourly
       rate) specified in the contractor's or subcontractors registered program shall be observed. Every
       apprentice must be paid at not less than the rate specified in the registered program for the
       apprentice's level of progress, expressed as a percentage of the journeymen hourly rate specified
       in the applicable wage determination. Apprentices shall be paid fringe benefits in accordance with
       the provisions of the apprenticeship program. If the apprenticeship program does not specify
       fringe benefits, apprentices must be paid the full amount of fringe benefits listed on the wage
       determination for the applicable classification. If the Administrator determines that a different
       practice prevails for the applicable apprentice classification, fringes shall be paid in accordance
       with that determination. In the event the Office of Apprenticeship Training, Employer and Labor
       Services, or a State Apprenticeship Agency recognized by the Office, withdraws approval of an
       apprenticeship program, the contractor will no longer be permitted to utilize apprentices at less
       than the applicable predetermined rate for the work performed until an acceptable program is
       approved.

       (ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at less
       than the predetermined rate for the work performed unless they are employed pursuant to and
       individually registered in a program which has received prior approval, evidenced by formal
       certification by the DOL, Employment and Training Administration. The ratio of trainees to
       journeymen on the job site shall not be greater than permitted under the plan approved by the
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        Employment and Training Administration. Every trainee must be paid at not less than the rate
        specified in the approved program for the trainee's level of progress, expressed as a percentage
        of the journeyman hourly rate specified in the applicable wage determination. Trainees shall be
        paid fringe benefits in accordance with the provisions of the trainee program. If the trainee
        program does not mention fringe benefits, trainees shall be paid the full amount of fringe benefits
        listed on the wage determination unless the Administrator of the Wage and Hour Division
        determines that there is an apprenticeship program associated with the corresponding
        journeyman wage rate on the wage determination which provides for less than full fringe benefits
        for apprentices. Any employee listed on the payroll at a trainee rate who is not registered and
        participating in a training plan approved by the Employment and Training Administration shall be
        paid not less than the applicable wage rate on the wage determination for the classification of
        work actually performed. In addition, any trainee performing work on the job site in excess of the
        ratio permitted under the registered program shall be paid not less than the applicable wage rate
        on the wage determination for the work actually performed. In the event the Employment and
        Training Administration withdraws approval of a training program, the contractor will no longer be
        permitted to utilize trainees at less than the applicable predetermined rate for the work performed
        until an acceptable program is approved.

        (iii) Equal employment opportunity. The utilization of apprentices, trainees and journeymen under
        this part shall be in conformity with the equal employment opportunity requirements of Executive
        Order 11246, as amended and 29 CFR part 30.

(5) Compliance with Copeland Act requirements. The contractor shall comply with the requirements of 29
CFR part 3, which are incorporated by reference in this contract.

(6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses contained
in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA determines may by appropriate, and
also a clause requiring the subcontractors to include these clauses in any lower tier subcontracts. The
prime contractor shall be responsible for the compliance by any subcontractor or lower tier subcontractor
with all the contract clauses in 29 CFR 5.5.

(7) Contract termination: debarment. A breach of the contract clauses in 29 CFR 5.5 may be grounds for
termination of the contract, and for debarment as a contractor and a subcontractor as provided in 29
CFR 5.12.

(8) Compliance with DB and Related Act requirements. All rulings and interpretations of the DB and
Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by reference in this contract.

(9) Disputes concerning labor standards. Disputes arising out of the labor standards provisions of this
contract shall not be subject to the general disputes clause of this contract. Such disputes shall be
resolved in accordance with the procedures of the DOL set forth in 29 CFR parts 5, 6, and 7. Disputes
within the meaning of this clause include disputes between the contractor (or any of its subcontractors)
and Sub recipient(s), State, EPA, DOL, or the employees or their representatives.

(10) Certification of eligibility.

        (i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor any
        person or firm who has an interest in the contractor's firm is a person or firm ineligible to be
        awarded Government contracts by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).
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        (ii) No part of this contract shall be subcontracted to any person or firm ineligible for award of a
        Government contract by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).

        (iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18 U.S.C.
        1001.

4. Contract Provision for Contracts in Excess of $100,000.

(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the following clauses
set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any contract in an amount in excess
of $100,000 and subject to the overtime provisions of the Contract Work Hours and Safety Standards
Act. These clauses shall be inserted in addition to the clauses required by Item 3, above or 29 CFR 4.6.
As used in this paragraph, the terms laborers and mechanics include watchmen and guards.

        (1) Overtime requirements. No contractor or subcontractor contracting for any part of the contract
        work which may require or involve the employment of laborers or mechanics shall require or
        permit any such laborer or mechanic in any workweek in which he or she is employed on such
        work to work in excess of forty hours in such workweek unless such laborer or mechanic receives
        compensation at a rate not less than one and one-half times the basic rate of pay for all hours
        worked in excess of forty hours in such workweek.

        (2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of the
        clause set forth in paragraph (b)(1) of this section the contractor and any subcontractor
        responsible therefore shall be liable for the unpaid wages. In addition, such contractor and
        subcontractor shall be liable to the United States (in the case of work done under contract for the
        District of Columbia or a territory, to such District or to such territory), for liquidated damages.
        Such liquidated damages shall be computed with respect to each individual laborer or mechanic,
        including watchmen and guards, employed in violation of the clause set forth in paragraph (b)(1)
        of this section, in the sum of $29 for each calendar day on which such individual was required or
        permitted to work in excess of the standard workweek of forty hours without payment of the
        overtime wages required by the clause set forth in paragraph (b)(1) of this section.

        (3) Withholding for unpaid wages and liquidated damages. The sub recipient shall upon the
        request of the EPA Award Official or an authorized representative of the DOL, withhold or cause
        to be withheld, from any moneys payable on account of work performed by the contractor or
        subcontractor under any such contract or any other Federal contract with the same prime
        contractor, or any other federally-assisted contract subject to the Contract Work Hours and Safety
        Standards Act, which is held by the same prime contractor, such sums as may be determined to
        be necessary to satisfy any liabilities of such contractor or subcontractor for unpaid wages and
        liquidated damages as provided in the clause set forth in paragraph (a)(2) of this section.

        (4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses set
        forth in paragraph (a)(1) through (4) of this section and also a clause requiring the subcontractors
        to include these clauses in any lower tier subcontracts. The prime contractor shall be responsible
        for compliance by any subcontractor or lower tier subcontractor with the clauses set forth in
        paragraphs (a)(1) through (4) of this section.

(b) In addition to the clauses contained in Item 3, above, in any contract subject only to the Contract
Work Hours and Safety Standards Act and not to any of the other statutes cited in 29 CFR 5.1, the Sub
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recipient shall insert a clause requiring that the contractor or subcontractor shall maintain payrolls and
basic payroll records during the course of the work and shall preserve them for a period of three years
from the completion of the contract for all laborers and mechanics, including guards and watchmen,
working on the contract. Such records shall contain the name and address of each such employee,
social security number, correct classifications, hourly rates of wages paid, daily and weekly number of
hours worked, deductions made, and actual wages paid. Further, the Sub recipient shall insert in any
such contract a clause providing that the records to be maintained under this paragraph shall be made
available by the contractor or subcontractor for inspection, copying, or transcription by authorized
representatives of the EPA and the DOL, and the contractor or subcontractor will permit such
representatives to interview employees during working hours on the job.

5. Compliance Verification

(a) The sub recipient shall periodically interview a sufficient number of employees entitled to DB
prevailing wages (covered employees) to verify that contractors or subcontractors are paying the
appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be conducted in
confidence. The sub recipient must use Standard Form 1445 (SF 1445) or equivalent documentation to
memorialize the interviews. Copies of the SF 1445 are available from EPA on request.

(b) The sub recipient shall establish and follow an interview schedule based on its assessment of the
risks of noncompliance with DB posed by contractors or subcontractors and the duration of the contract
or subcontract. Sub recipients must conduct more frequent interviews if the initial interviews or other
information indicated that there is a risk that the contractor or subcontractor is not complying with DB.
Sub recipients shall immediately conduct interviews in response to an alleged violation of the prevailing
wage requirements. All interviews shall be conducted in confidence.

(c) The sub recipient shall periodically conduct spot checks of a representative sample of weekly payroll
data to verify that contractors or subcontractors are paying the appropriate wage rates. The sub recipient
shall establish and follow a spot check schedule based on its assessment of the risks of noncompliance
with DB posed by contractors or subcontractors and the duration of the contract or subcontract. At a
minimum, if practicable the sub recipient should spot check payroll data within two weeks of each
contractor or subcontractor's submission of its initial payroll data and two weeks prior to the completion
date the contract or subcontract. Sub recipients must conduct more frequent spot checks if the initial spot
check or other information indicates that there is a risk that the contractor or subcontractor is not
complying with DB. In addition, during the examinations the sub recipient shall verify evidence of fringe
benefit plans and payments there under by contractors and subcontractors who claim credit for fringe
benefit contributions.

(d) The sub recipient shall periodically review contractors and subcontractors use of apprentices and
trainees to verify registration and certification with respect to apprenticeship and training programs
approved by either the U.S DOL or a state, as appropriate, and that contractors and subcontractors are
not using disproportionate numbers of, laborers, trainees and apprentices. These reviews shall be
conducted in accordance with the schedules for spot checks and interviews described in Item 5(b) and
(c) above.

(e) Sub recipients must immediately report potential violations of the DB prevailing wage requirements to
the EPA DB contact listed above and to the appropriate DOL Wage and Hour District Office listed at
https://www.dol.gov/agencies/whd/contact/local-offices.
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                                                          EPA Funding Information
            FUNDS                                          FORMER AWARD                                  THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                       $0                               $965,000                                  $965,000
EPA In-Kind Amount                                                           $0                                      $0                                        $0
Unexpended Prior Year Balance                                                $0                                      $0                                        $0
Other Federal Funds                                                          $0                                      $0                                        $0
Recipient Contribution                                                       $0                                      $0                                        $0
State Contribution                                                           $0                                      $0                                        $0
Local Contribution                                                           $0                                      $0                                        $0
Other Contribution                                                           $0                                      $0                                        $0
Allowable Project Cost                                                       $0                               $965,000                                  $965,000



Assistance Program (CFDA)                            Statutory Authority                                    Regulatory Authority
66.485 - State Support for the Gulf Hypoxia Action   Infrastructure Investment and Jobs Act (IIJA) (PL      2 CFR 200, 2 CFR 1500 and 40 CFR 33
Plan                                                 117-58)




                                                                            Fiscal
           Site Name                  Req No         FY     Approp.          Budget        PRC           Object   Site/Project      Cost            Obligation /
                                                             Code          Oganization                   Class                   Organization       Deobligation
-                                   2205PRX002        22         BSD              05P1   000B89X77        4183               -                  -       $965,000
                                                                                                                                                        $965,000
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                          Attachment 1 - Project Description
The purpose of this agreement is to support and advance the Gulf Hypoxia Action Plan
through implementation of Illinois EPA's nutrient reduction strategy. The Illinois workplan
includes seven projects that will advance the implementation of the Illinois Nutrient Loss
Reduction Strategy by creating new initiatives and scaling up existing programs. Projects
include water quality monitoring in surface and groundwater, agriculture conservation
practice implementation, watershed education and outreach, data metrics collection, and
nutrient strategy update and reporting, with an emphasis on benefiting disadvantaged
communities.
This agreement is supported by funding provided under the Infrastructure Investment and
Jobs Act (IIJA) (PL 117-58).
The activities to be performed include the following: conduct watershed outreach and
education, nutrient monitoring at eight USGS continuous monitoring stations in Illinois,
annual planting of 130,000140,000 acres of cover crops, purchasing of nitrate analysis
equipment, development of Nutrient Loss Reduction Strategy (NLRS) biennial report, collect
data on the implementation of nutrient management practices, and ongoing implementation
of nonpoint source best management practices recommended in the NLRS. The
deliverables to be provided under this agreement are: agronomic research results specific to
nutrient reduction, data generated from Continuous Nutrient Monitoring Network and
Groundwater Nitrate Monitoring Analysis, Nutrient Loss Reduction Strategy 2023 Biennial
Report, survey results with information on statewide and regional implementation of 4R
nutrient management adoption in Illinois,
The expected outcomes resulting from these efforts include decreased nutrient loads to the
Gulf of Mexico as well as improvements to local water quality, including drinking water
sources. Climate resilience and mitigation will also be achieved by certain projects.
The intended beneficiaries include residents of Illinois.
Subaward activities are as follows: technical assistance/outreach, nutrient monitoring at
eight USGS continuous monitoring stations in Illinois, annual planting of 130,000140,000
acres of cover crops, purchasing of nitrate analysis equipment, development of Nutrient
Loss Reduction Strategy (NLRS) biennial report, collect data on the implementation of
nutrient management practices, and ongoing implementation of nonpoint source best
management practices recommended in the NLRS.
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                                        Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2021-or-
later

These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at:
https://www.epa.gov/grants/grant-terms-and-conditions#general.

    A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent
to the following email addresses:

                 ·Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and Kimberly Houston
                 houston-williams.kimberly@epa.gov

                 ·MBE/WBE reports (EPA Form 5700-52A): Dianne Reyes-reyes.dianne@epa.gov-
                 DBE coordinator and region5closeouts@epa.gov

                 ·All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests
                 for Extensions of the Budget and Project Period, Amendment Requests, Requests for
                 other Prior Approvals, updates to recipient information (including email addresses,
                 changes in contact information or changes in authorized representatives) and other
                 notifications: phan.lee@epa.gov and houston-williams.kimberly@epa.gov

                 ·Quality Assurance documents, workplan revisions, equipment lists, programmatic
                 reports and deliverables: Lee Phan phan.lee@epa.gov




                                        Programmatic Conditions
Grant-Specific Programmatic Terms and Conditions

A. PERFORMANCE REPORTING AND FINAL PERFORMANCE REPORT

Performance Reports – Content

In accordance with 2 CFR 200.329, the recipient agrees to submit performance reports that include a summary file and
data entry.

The summary file shall include brief information on each of the following areas: 1) A comparison of actual accomplishments
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to the outputs/outcomes established in the assistance agreement work plan for the period; 2) The reasons why established
outputs/outcomes were not met; and 3) Additional pertinent information, including, when appropriate, analysis and
explanation of cost overruns or high-unit costs.

The data entry shall include information in the Nonpoint Source Program Grants Reporting and Tracking System (GRTS)
and in EPA's Water Quality Exchange (WQX). The recipient agrees to report in GRTS all data types described in the Office
of Water June 10, 2022, Memorandum: Bipartisan Infrastructure Law: Gulf Hypoxia Program FY 22 Guidance for State
Cooperative Agreements. The recipient agrees to enter water quality monitoring data, for data collected in a waterbody
pursuant to the implementation of a GHP project, into EPA's Water Quality Exchange (WQX) system. All water quality data
generated with GHP funding, either directly or by sub-award, are required to be transmitted into the WQX system using
either the WQX or WQXweb. When uploading data through WQX or WQXweb, data should be identified as GHP grant
related by providing project ID GHP in the data submission. If the recipient has an existing project ID, please include this in
addition to the GHP project ID. Please contact the WQX helpdesk (wqx@epa.gov) if you need assistance assigning
multiple project IDs to a dataset.

Additionally, the recipient agrees to inform EPA as soon as problems, delays, or adverse conditions which will materially
impair the ability to meet the outputs/outcomes specified in the assistance agreement work plan are known.

Performance Reports - Frequency

The recipient agrees to submit annual performance reports electronically to the EPA Project Officer within 90 days after the
annual reporting period ends on September 30, starting in 2023, throughout the life of the cooperative agreement. The
recipient must submit the final performance report no later than 120 calendar days after the end date of the period of
performance.

Subaward Performance Reporting

 The recipient must report on its subaward monitoring activities under 2 CFR 200.332(d). Examples of items that must be
 reported if the pass-through entity has the information available are:

1. Summaries of results of reviews of financial and programmatic reports.

2. Summaries of findings from site visits and/or desk reviews to ensure effective subrecipient performance.

3. Environmental results the subrecipient achieved.

4. Summaries of audit findings and related pass-through entity management decisions.

5. Actions the pass-through entity has taken to correct deficiencies such as those specified at 2 CFR 200.332(e), 2 CFR
200.208 and the 2 CFR Part 200.339 Remedies for Noncompliance.

Note: EPA Project Officers may customize this reporting requirement based on programmatic information needs.

B. Cybersecurity Condition

State Grant Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance agreement, it will
protect the data by following all applicable State law cybersecurity requirements.
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(b) (1) EPA must ensure that any connections between the recipient’s network or information system and EPA networks
used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an Agency IT system and
an external IT system for the purpose of transferring information. Transitory, user-controlled connections such as website
browsing are excluded from this definition.

If the recipient’s connections as defined above do not go through the Environmental Information Exchange Network or
EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project Officer (PO) and work with the designated
Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security requirements,
including entering into Interconnection Service Agreements as appropriate. This condition does not apply to manual entry of
data by the recipient into systems operated and used by EPA’s regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient to comply with the
requirements in (b)(1) if the subrecipient’s network or information system is connected to EPA networks to transfer data to
the Agency using systems other than the Environmental Information Exchange Network or EPA’s Central Data Exchange.
The recipient will be in compliance with this condition: by including this requirement in subaward agreements; and during
subrecipient monitoring deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the subrecipient
has contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA Project Officer on
behalf of a subrecipient or to be involved in the negotiation of an Interconnection Service Agreement between the
subrecipient and EPA.

C. Substantial Involvement

EPA will be substantially involved in this agreement. Substantial involvement by the EPA Project Officer may include:

1. monthly telephone calls and other monitoring,

2. reviewing project phases and providing approval to continue to the next phase,

3. reviewing and commenting on any documents, web content, or other materials developed under this agreement (the
recipient will make final decisions on these matters),

4. approving substantive terms included in contracts or subawards (EPA’s Project Officer will not suggest, recommend or
direct the recipient to select any particular contractor or subrecipient except to the extent permitted in Section 10 of EPA’s
Subaward Policy).

5. reviewing and commenting on the programmatic progress reports

6. Consultation with EPA regarding the selection of key personnel (EPA’s involvement is limited to reviewing the technical
qualifications of key personnel and the recipient will make the final decisions on selection. EPA’s Project Officer will not
suggest, recommend or direct the recipient to select any individual).

7. Joint operational involvement, participation, and/or collaboration between EPA and the recipient.

E. Competency Policy

Competency of Organizations Generating Environmental Measurement Data
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In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of Organizations
Generating Environmental Measurement Data under Agency-Funded Assistance Agreements,

Recipient agrees, by entering into this agreement, that it has demonstrated competency prior to award, or alternatively,
where a pre-award demonstration of competency is not practicable, Recipient agrees to demonstrate competency prior to
carrying out any activities under the award involving the generation or use of environmental data. Recipient shall maintain
competency for the duration of the project period of this agreement and this will be documented during the annual reporting
process. A copy of the Policy is available online at https://www.epa.gov/sites/production/files/2015-
03/documents/competency-policy-aaia-new.pdf or a copy may also be requested by contacting the EPA Project Officer for
this award.

J. QUALITY ASSURANCE

Authority: Quality Assurance applies to all assistance agreements involving environmental information as defined in 2
C.F.R. § 1500.12 Quality Assurance.

The recipient shall ensure that subawards involving environmental information issued under this agreement include
appropriate quality requirements for the work. The recipient shall ensure sub-award recipients develop and implement
a Quality Assurance (QA) planning document in accordance with this term and condition; and/or ensure sub-award
recipients implement all applicable approved QA planning documents.

1. Quality Management Plan (QMP)

a. Prior to beginning environmental information operations, the recipient must:

         i. Submit a previously EPA-approved and current QMP,

         ii. The EPA Quality Assurance Manager or designee (hereafter referred to as QAM) will notify the recipient and
         EPA Project Officer (PO) in writing if the QMP is acceptable for this agreement.

b. The recipient must submit the QMP within 60 days after grant award.

c. The recipient must review their approved QMP at least annually. The results of the QMP review and any revisions must
be submitted to the PO and the QAM at least annually and may also be submitted when changes occur

For Reference:

• EPA QA/R-2: EPA Requirements for Quality Management Plans and EPA QA/R-5: EPA Requirements for Quality
Assurance Project Plans; contain quality specifications for EPA and non-EPA organizations and definitions applicable to
these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans, Appendix C provides a QAPP Checklist.

• EPA’s Quality Program website has a list of QA managers, and Quality Specifications for non-EPA Organizations to do
business with EPA.

• The Office of Grants and Debarment Quality Assurance Requirements.
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Environmental Standards

By signing the agreement or accepting funds under this agreement, the recipient agrees to:

Identify to the awarding agency all impact this award may have on:

The quality of the human environment, and provide help the agency may need to comply with the National Environmental
Policy Act (NEPA, at 42 U.S.C. 4321, et. seq.) and to prepare Environmental Impact Statements or other required
environmental documentation. In such cases, the recipient agrees to take no action that will have an adverse environmental
impact (e.g., physical disturbance of a site such as breaking of ground) until the agency provides written notification of
compliance with the environmental impact analysis process.

NSF at 45 CFR Part 640

DOE at 10 CFR Part 1021

NASA at 14 CFR Part 1216

USDA at 7 CFR Part 3407




Endangered Species Act

By signing or accepting funds under the agreement, the recipient agrees to comply with applicable provisions of the
following national policies concerning live organisms:

Rules of the Departments of Interior (50 CFR Parts 10-24) and Commerce (50 CFR Parts 217-227) implementing laws and
conventions on the taking, possession, transport, purchase, sale, export, or import of wildlife and plants, including the:
Endangered Species Act of 1973 (16 U.S.C. 1531-1543); Marine Mammal Protection Act (16 U.S.C. 1361-1384); Lacey Act
(18 U.S.C. 42); and Convention on International Trade in Endangered Species of Wild Fauna and Flora.

National Historic Preservation

The recipient agrees to identify to the awarding agency all property listed or eligible for listing on the National Register of
Historic Places that will be affected by this award, and to provide all the help the awarding agency may need, with respect
to the award.

16 USC 470f




Native American Graves Protection and Repatriation

By signing or accepting funds under the agreement, the recipient agrees that will comply with the following general national
policy requirements:

25 USC 3001-3013
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                                                          EPA Funding Information
            FUNDS                                          FORMER AWARD                                  THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                              $965,000                                  $748,333                                $1,713,333
EPA In-Kind Amount                                                           $0                                      $0                                        $0
Unexpended Prior Year Balance                                                $0                                      $0                                        $0
Other Federal Funds                                                          $0                                      $0                                        $0
Recipient Contribution                                                       $0                                      $0                                        $0
State Contribution                                                           $0                                      $0                                        $0
Local Contribution                                                           $0                                      $0                                        $0
Other Contribution                                                           $0                                      $0                                        $0
Allowable Project Cost                                              $965,000                                  $748,333                                $1,713,333



Assistance Program (CFDA)                            Statutory Authority                                    Regulatory Authority
66.485 - State Support for the Gulf Hypoxia Action   Infrastructure Investment and Jobs Act (IIJA) (PL      2 CFR 200, 2 CFR 1500 and 40 CFR 33
Plan                                                 117-58)




                                                                            Fiscal
           Site Name                  Req No         FY     Approp.          Budget        PRC           Object   Site/Project      Cost            Obligation /
                                                             Code          Oganization                   Class                   Organization       Deobligation
-                                   2305PRX005        23         BSD              05P1   000B89X77        4183               -                  -       $748,333
                                                                                                                                                        $748,333
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                                         Administrative Conditions
THE FOLLOWING TERM AND CONDITION(S) ARE UPDATED:




General Terms and Conditions




The General Terms and Conditions of this agreement are updated in accordance with the link below. However, these
updated conditions apply solely to the funds added with this amendment and any previously awarded funds not yet
disbursed by the recipient as of the award date of this amendment. The General Terms and Conditions cited in the original
award or prior funded amendments remain in effect for funds disbursed by the recipient prior to the award date of this
amendment.




The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2022-or-later




These terms and conditions are binding for disbursements and are in addition to or modify the assurances and certifications
made as a part of the award and the terms, conditions, or restrictions cited throughout the award.




The EPA repository for the general terms and conditions by year can be found at: https://www.epa.gov/grants/grant-terms-
and-conditions#general.




Correspondence Condition




The terms and conditions of this agreement require the submittal of reports, specific requests for approval, or notifications
to EPA. Unless otherwise noted, all such correspondence should be sent to the following email addresses:




·Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and Kimberly Houston houston-
williams.kimberly@epa.gov




·MBE/WBE reports (EPA Form 5700-52A): Dianne Reyes-reyes.dianne@epa.gov-DBE coordinator and
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region5closeouts@epa.gov




·All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the Budget and
Project Period, Amendment Requests, Requests for other Prior Approvals, updates to recipient information (including email
addresses, changes in contact information or changes in authorized representatives) and other notifications:
marko.katharine@epa.gov and houston-williams.kimberly@epa.gov




·Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and deliverables: Katharine
Marko marko.katharine@epa.gov




ALL OTHER ADMINISTRATIVE TERMS AND CONDITIONS REMAIN UNCHANGED.




                                         Programmatic Conditions
ALL PROGRAMMATIC TERMS AND CONDITIONS REMAIN THE SAME.
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                                                        EPA Funding Information
              FUNDS                                       FORMER AWARD                                   THIS ACTION                      AMENDED TOTAL
EPA Amount This Action                                           $ 1,713,333                                      $0                           $ 1,713,333
EPA In-Kind Amount                                                         $0                                     $0                                   $0
Unexpended Prior Year Balance                                              $0                                     $0                                   $0
Other Federal Funds                                                        $0                                     $0                                   $0
Recipient Contribution                                                     $0                                     $0                                   $0
State Contribution                                                         $0                                     $0                                   $0
Local Contribution                                                         $0                                     $0                                   $0
Other Contribution                                                         $0                                     $0                                   $0
Allowable Project Cost                                           $ 1,713,333                                      $0                           $ 1,713,333



Assistance Program (CFDA)                            Statutory Authority                                   Regulatory Authority
66.485 - State Support for the Gulf Hypoxia Action   Infrastructure Investment and Jobs Act (IIJA) (PL     2 CFR 200, 2 CFR 1500 and 40 CFR 33
Plan                                                 117-58)
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Budget Summary Page
                                       Table A - Object Class Category                             Total Approved Allowable
                                             (Non-Construction)                                       Budget Period Cost
 1. Personnel                                                                                                                    $0
 2. Fringe Benefits                                                                                                              $0
 3. Travel                                                                                                                       $0
 4. Equipment                                                                                                                    $0
 5. Supplies                                                                                                                     $0
 6. Contractual                                                                                                                  $0
 7. Construction                                                                                                                 $0
 8. Other                                                                                                               $ 1,713,333
 9. Total Direct Charges                                                                                                $ 1,713,333
 10. Indirect Costs: 0.00 % Base N/A                                                                                             $0
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                               $ 1,713,333
 12. Total Approved Assistance Amount                                                                                   $ 1,713,333
 13. Program Income                                                                                                              $0
 14. Total EPA Amount Awarded This Action                                                                                        $0
 15. Total EPA Amount Awarded To Date                                                                                   $ 1,713,333
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                                                                                                       4F - 00E03273 - 2   Page 4

                                                   Administrative Conditions
THE FOLLOWING TERM AND CONDITION(S) ARE UPDATED:

General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at: https://www.epa.gov/grants/epa-general-
terms-and-conditions-effective-october-1-2023-or-later

These terms and conditions are in addition to the assurances and certifications made as a part of the award and the terms, conditions, or
restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.epa.gov/grants/grant-terms-and-
conditions#general.

Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for approval, or notifications to EPA. Unless
otherwise noted, all such correspondence should be sent to the following email addresses:

·Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and Kimberly Houston houston-williams.kimberly@epa.gov

·MBE/WBE reports (EPA Form 5700-52A): region5closeouts@epa.gov and sykes.karen@epa.gov

·All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the Budget and Project Period,
Amendment Requests, Requests for other Prior Approvals, updates to recipient information (including email addresses, changes in contact
information or changes in authorized representatives) and other notifications: bozio.christina@epa.gov and houston-williams.kimberly@epa.
gov

·Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and deliverables: Christina Bozio bozio.
christina@epa.gov

ALL OTHER ADMINISTRATIVE TERMS AND CONDTIONS REAMIN UNCHANGED.
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                              Programmatic Conditions
ALL PROGRAMMATIC TERM AND CONDITONS REMAIN THE SAME.
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                                                           EPA Funding Information
              FUNDS                                        FORMER AWARD                                   THIS ACTION                          AMENDED TOTAL
EPA Amount This Action                                                       $0                               $ 584,116                                $ 584,116
EPA In-Kind Amount                                                           $0                                        $0                                     $0
Unexpended Prior Year Balance                                                $0                                        $0                                     $0
Other Federal Funds                                                          $0                                        $0                                     $0
Recipient Contribution                                                       $0                                        $0                                     $0
State Contribution                                                           $0                               $ 130,000                                $ 130,000
Local Contribution                                                           $0                                        $0                                     $0
Other Contribution                                                           $0                                        $0                                     $0
Allowable Project Cost                                                       $0                               $ 714,116                                $ 714,116



Assistance Program (CFDA)                             Statutory Authority                                    Regulatory Authority
66.485 - State Support for the Gulf Hypoxia Action    Infrastructure Investment and Jobs Act (IIJA) (PL      2 CFR 200, 2 CFR 1500 and 40 CFR 33
Plan                                                  117-58)




                                                                              Fiscal
                                                             Approp.          Budget                      Object                       Cost         Obligation /
          Site Name                   Req No          FY                                     PRC                   Site/Project
                                                              Code          Organization                  Class                     Organization    Deobligation
-                                 2505PRX001         24     BSD             05P1           000B89X77      4183     -                -                  $ 584,116
                                                                                                                                                       $ 584,116
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Budget Summary Page
                                       Table A - Object Class Category                             Total Approved Allowable
                                             (Non-Construction)                                       Budget Period Cost
 1. Personnel                                                                                                                    $0
 2. Fringe Benefits                                                                                                              $0
 3. Travel                                                                                                                       $0
 4. Equipment                                                                                                                    $0
 5. Supplies                                                                                                                     $0
 6. Contractual                                                                                                                  $0
 7. Construction                                                                                                                 $0
 8. Other                                                                                                               $ 2,644,116
 9. Total Direct Charges                                                                                                $ 2,644,116
 10. Indirect Costs: 0.00 % Base                                                                                                 $0
 11. Total (Share: Recipient ______
                                4.92 % Federal ______
                                                 95.08 %)                                                               $ 2,644,116
 12. Total Approved Assistance Amount                                                                                   $ 2,514,115
 13. Program Income                                                                                                              $0
 14. Total EPA Amount Awarded This Action                                                                                 $ 584,116
 15. Total EPA Amount Awarded To Date                                                                                     $ 584,116
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                                 Attachment 1 - Project Description
This agreement provides funding under the Infrastructure Investment and Jobs Act (IIJA) to Illinois
Environmental Protection Agency (IEPA). The purpose of this agreement is to support and advance the
Gulf Hypoxia Action Plan through implementation of the recipient's nutrient reduction strategy. IEPA
plans to continue four projects from their FFY22/23 Gulf Hypoxia Program Grant (Continuous Nutrient
Monitoring Network, Cover Crop Premium Discount Program, Ag Retailer 4RNutrient Management
Metrics Survey, NLRS Implementation in Priority Watersheds). Continuation of these projects is
necessary to further the collection of water quality metrics, agriculture metrics, and implementation of
practices to reduce nutrient loss.

The activities include the following: nutrient monitoring at eight USGS continuous monitoring stations in
Illinois, annual planting of 190,000 acres of cover crops, collect data on the implementation of nutrient
management practices, and ongoing implementation of nonpoint source best management practices
recommended in the Nutrient Loss Reduction Strategy.

The anticipated deliverables include water quality data generated from Continuous Nutrient Monitoring
Network, agronomic research results specific to nutrient reduction, and survey results with information on
statewide and regional implementation of 4R nutrient management adoption in Illinois. The expected
outcomes include decreased nutrient loads to the Gulf of Mexico as well as improvement to local water
quality and drinking water sources. Climate resilience and mitigation will also be achieved by certain
projects. The intended beneficiaries include residents of Illinois and expands to the Gulf of Mexico
through the Mississippi-Atchafalaya River Basin.

Activities include: nutrient monitoring at eight USGS continuous monitoring stations in Illinois, annual
planting of 190,000 acres of cover crops, collect data on the implementation of nutrient management
practices, and ongoing implementation of nonpoint source best management practices recommended in
the Nutrient Loss Reduction Strategy.
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                                           Administrative Conditions

General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available
at: https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2024-or-
later.

These terms and conditions are in addition to the assurances and certifications made as a part of
the award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.
epa.gov/grants/grant-terms-and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for approval, or
notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the following email
addresses:

        Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and young.robert@epa.gov
        MBE/WBE reports (EPA Form 5700-52A): region5closeouts@epa.gov and Robert Young at young.
        robert@epa.gov
        All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the
        Budget and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to
        recipient information (including email addresses, changes in contact information or changes in authorized
        representatives) and other notifications: Christina Bozio at Bozio.Christina@epa.gov and Robert Young at
        young.robert@epa.gov
        Payment requests (if applicable): Christina Bozio at Bozio.Christina@epa.gov
        Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
        deliverables: Christina Bozio at Bozio.Christina@epa.gov


B. Contingent Funding

EPA is funding this agreement incrementally. There is no guarantee of funding beyond the first year. The Total
Approved Assistance Amount identified on Line 12 of the budget table of this award is contingent upon the
availability of appropriated funds, EPA funding priorities, and satisfactory progress in carrying out the activities
described in the scope of work. If EPA informs the recipient that the amount on Line 12 will be reduced, the
recipient agrees to provide an updated workplan and budget information, as needed, to amend the agreement.
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                                      Programmatic Conditions
Support for the Gulf Hypoxia Action Plan – BIL Programmatic Terms and Conditions

A. PERFORMANCE REPORTING AND FINAL PERFORMANCE REPORT

Performance Reports – Content

In accordance with 2 CFR 200.329, the recipient agrees to submit performance reports that include a
summary file and data entry.

The summary file shall include brief information on each of the following areas: 1) A comparison of
actual accomplishments to the outputs/outcomes established in the assistance agreement work plan for
the period; 2) The reasons why established outputs/outcomes were not met; and 3) Additional pertinent
information, including, when appropriate, analysis and explanation of cost overruns or high-unit costs.

The data entry shall include information in the Nonpoint Source Program Grants Reporting and Tracking
System (GRTS) and in EPA's Water Quality Exchange (WQX). The recipient agrees to report in GRTS all
data types described in the Office of Water July 10, 2024, Memorandum: Bipartisan Infrastructure Law:
Gulf Hypoxia Program FY 24 Guidance for State Cooperative Agreements. The recipient agrees to enter
water quality monitoring data, for data collected in a waterbody pursuant to the implementation of a GHP
project, into EPA's WQX system. All water quality data generated with GHP funding, either directly or by
sub-award, are required to be transmitted into the WQX system using either the WQX or WQXweb.
When uploading data through WQX or WQXweb, data should be identified as GHP grant related by
providing project ID GHP in the data submission. If the recipient has an existing project ID, please
include this in addition to the GHP project ID. Please contact the WQX helpdesk (wqx@epa.gov) if you
need assistance assigning multiple project IDs to a dataset.

Additionally, the recipient agrees to notify the Environmental Protection Agency when a significant
development occurs that could impact the award. Significant developments include events that enable
meeting milestones and objectives sooner or at less cost than anticipated or that produce different
beneficial results than originally planned. Significant developments also include problems, delays, or
adverse conditions which will impact the ability to meet the milestones or objectives of the award,
including outputs/outcomes specified in the assistance agreement work plan. If the significant
developments negatively impact the award, the recipient must include information on their plan for
corrective action and any assistance needed to resolve the situation.

Performance Reports - Frequency

The recipient agrees to submit annual performance reports electronically to the EPA Project Officer
annually from the time of award, throughout the life of the cooperative agreement. The recipient must
submit the final performance report no later than 120 calendar days after the end date of the period of
performance.

Subaward Performance Reporting

The recipient must report on its subaward monitoring activities under 2 CFR 200.332(e). Examples of
items that must be reported if the pass-through entity has the information available are:
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1. Summaries of results of reviews of financial and programmatic reports.

2. Summaries of findings from site visits and/or desk reviews to ensure effective subrecipient
performance.

3. Environmental results the subrecipient achieved.

4. Summaries of audit findings and related pass-through entity management decisions.

5. Actions the pass-through entity has taken to correct deficiencies such as those specified at 2 CFR
200.332(f), 2 CFR 200.208 and the 2 CFR Part 200.339 Remedies for Noncompliance.

Note: EPA Project Officers may customize this reporting requirement based on programmatic information
needs.

B. Cybersecurity Condition

State Grant Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient's network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to ensure
that the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by EPA's regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient
to comply with the requirements in (b)(1) if the subrecipient's network or information system is connected
to EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA's Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring
deemed necessary by the recipient under 2 CFR 200.332(e), by inquiring whether the subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA
Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the subrecipient and EPA.

C. Substantial Involvement
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EPA will be substantially involved in this agreement. Substantial involvement by EPA may include:

1. monthly telephone calls and other monitoring,

2. reviewing project phases and providing approval to continue to the next phase,

3. reviewing and commenting on any documents, web content, or other materials developed under this
agreement (the recipient will make final decisions on these matters),

4. approving substantive terms included in contracts or subawards (EPA's Project Officer will not
suggest, recommend or direct the recipient to select any particular contractor or subrecipient except to
the extent permitted in Section 10 of EPA's Subaward Policy).

5. reviewing and commenting on the programmatic progress reports

6. Consultation with EPA regarding the selection of key personnel (EPA's involvement is limited to
reviewing the technical qualifications of key personnel and the recipient will make the final decisions on
selection. EPA's Project Officer will not suggest, recommend or direct the recipient to select any
individual).

7. Joint operational involvement, participation, and/or collaboration between EPA and the recipient.

D. Required Terms and Conditions for Federal Review

1. Environmental Standards

The recipient agrees to Identify to the awarding agency all impact this award may have on:

The quality of the human environment, and provide help the agency may need to comply with the
National Environmental Policy Act (NEPA, at 42 U.S.C. 4321, et. seq.) and to prepare Environmental
Impact Statements or other required environmental documentation. In such cases, the recipient agrees
to take no action that will have an adverse environmental impact (e.g., physical disturbance of a site such
as breaking of ground) until the agency provides written notification of compliance with the environmental
impact analysis process.

       NSF at 45 CFR Part 640

       DOE at 10 CFR Part 1021

       NASA at 14 CFR Part 1216

       USDA at 7 CFR Part 3407

2. Endangered Species Act

The recipient agrees to comply with applicable provisions of the following national policies concerning
live organisms:

Rules of the Departments of Interior (50 CFR Parts 10-24) and Commerce (50 CFR Parts 217-227)
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implementing laws and conventions on the taking, possession, transport, purchase, sale, export, or
import of wildlife and plants, including the: Endangered Species Act of 1973 (16 U.S.C. 1531-1543);
Marine Mammal Protection Act (16 U.S.C. 1361-1384); Lacey Act (18 U.S.C. 42); and Convention on
International Trade in Endangered Species of Wild Fauna and Flora.

3. National Historic Preservation

The recipient agrees to identify to the awarding agency all property listed or eligible for listing on the
National Register of Historic Places that will be affected by this award, and to provide all the help the
awarding agency may need, with respect to the award. 16 U.S.C. 470f

4. Native American Graves Protection and Repatriation

The recipient agrees that it will comply with the following general national policy requirements: 25 U.S.C.
3001-3013

E. Competency Policy

Competency of Organizations Generating Environmental Measurement Data

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements,

Recipient agrees, by entering into this agreement, that it has demonstrated competency prior to award,
or alternatively, where a pre-award demonstration of competency is not practicable, Recipient agrees to
demonstrate competency prior to carrying out any activities under the award involving the generation or
use of environmental data. Recipient shall maintain competency for the duration of the project period of
this agreement and this will be documented during the annual reporting process. A copy of the Policy is
available online at https://www.epa.gov/sites/production/files/2015-03/documents/competency-policy-
aaia-new.pdf or a copy may also be requested by contacting the EPA Project Officer for this award.

F. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at https://www.fgdc.gov/.

G. QUALITY ASSURANCE

Authority: Quality Assurance applies to all assistance agreements involving environmental information as
defined in 2 C.F.R. § 1500.12 Quality Assurance.

The recipient shall ensure that subawards involving environmental information issued under this
agreement include appropriate quality requirements for the work. The recipient shall ensure sub-award
recipients develop and implement Quality Assurance (QA) planning documents in accordance with this
term and condition; and/or ensure sub-award recipients implement all applicable approved QA planning
documents.

1. Quality Management Plan (QMP)
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a. Prior to beginning environmental information operations, the recipient must:

i. Submit a previously EPA-approved and current QMP,

ii. The EPA Quality Assurance Manager or designee (hereafter referred to as QAM) will notify the
recipient and EPA Project Officer (PO) in writing if the QMP is acceptable for this agreement.

b. The recipient must submit the QMP within 30 days after grant award.

c. The recipient must review their approved QMP at least annually. These documented reviews shall be
made available to the sponsoring EPA organization if requested. When necessary, the recipient shall
revise its QMP to incorporate minor changes and notify the EPA PO and QAM of the changes. If
significant changes have been made to the Quality Program that affect the performance of environmental
information operations, it may be necessary to re-submit the entire QMP for re-approval. In general, a
copy of any QMP revision(s) made during the year should be submitted to the EPA PO and QAM in
writing when such changes occur. Conditions requiring the revision and resubmittal of an approved QMP
can be found in section 6 of EPA's Quality Management Plan (QMP) Standard.

2. Quality Assurance Project Plan (QAPP)

a. Prior to beginning environmental information operations, the recipient must:

i. Provide EPA a copy of the recipient-approved QAPP if the recipient has an EPA-approved Quality
Management Plan and a current EPA delegation to review and approve QAPPs.

b. The recipient must submit the QAPP 90 days after grant award.

c. The recipient shall notify the PO and QAM when substantive changes are needed to the QAPP. EPA
may require the QAPP be updated and re-submitted for approval.

d. The recipient must review their approved QAPP at least annually. The results of the QAPP review and
any revisions must be submitted to the PO and the QAM at least annually and may also be submitted
when changes occur.

For Reference:

• Quality Management Plan (QMP) Standard and EPA's Quality Assurance Project Plan (QAPP)
Standard; EPA Requirements for Quality Assurance Project Plans; contain quality specifications for EPA
and non-EPA organizations and definitions applicable to these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans, Appendix C provides a QAPP Checklist.

• (QAM and/or PO may insert QA references that inform or assist the recipient here).

• EPA's Quality Program website has a list of QA managers, and Non-EPA Organizations Quality
Specifications.

• The Office of Grants and Debarment Implementation of Quality Assurance Requirements for
Organizations Receiving EPA Financial Assistance.
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H. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach
materials, or reports, it must not be prominently displayed to imply that any of the recipient or
subrecipient's activities are being conducted by the EPA. Instead, the EPA logo should be accompanied
with a statement indicating that the Illinois Environmental Protection Agency received financial support from the
EPA under an Assistance Agreement. More information is available at: https://www.epa.
gov/stylebook/using-epa-seal-and-logo#policy

I. Paperwork Reduction Act

The scope of work for this cooperative agreement includes a survey or other information collection of
identical information from 10 or more parties. As provided by 5 CFR 1320.3(d), EPA is a sponsor of the
information collection for purposes of obtaining approval from the Office of Management and Budget for
collecting information. The recipient agrees to assist EPA in complying with OMB procedures at 5 CFR
Part 1320 for obtaining Information Collection Request authorization. The recipient may not collect
information until EPA obtains OMB approval.
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                                                         EPA Funding Information
            FUNDS                                         FORMER AWARD                                  THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                      $0                           $106,964,000                              $106,964,000
EPA In-Kind Amount                                                          $0                                      $0                                        $0
Unexpended Prior Year Balance                                               $0                                      $0                                        $0
Other Federal Funds                                                         $0                                      $0                                        $0
Recipient Contribution                                                      $0                                      $0                                        $0
State Contribution                                                          $0                                      $0                                        $0
Local Contribution                                                          $0                                      $0                                        $0
Other Contribution                                                          $0                                      $0                                        $0
Allowable Project Cost                                                      $0                           $106,964,000                              $106,964,000



Assistance Program (CFDA)                           Statutory Authority                                    Regulatory Authority
66.468 - Capitalization Grants for Drinking Water   Safe Drinking Water Act: Sec. 1452 &                   2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR 35
State Revolving Funds                               Infrastructure Investment and Jobs Act (IIJA) (PL      Subpart L
                                                    117-58)




                                                                           Fiscal
           Site Name                   Req No       FY     Approp.          Budget        PRC           Object   Site/Project      Cost            Obligation /
                                                            Code          Oganization                   Class                   Organization       Deobligation
-                                   2305PWX034       22        E3SD              05P1   000B81X71        4109            22DG                  -    $10,000,000
-                                   2305PWX034       22        E3SD              05P1   000B81X71        4109            22DA                  -    $96,964,000
                                                                                                                                                   $106,964,000
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                          Attachment 1 - Project Description
This agreement provides funding to the Illinois Environmental Protection Agency. Safe
Drinking Water Act (SDWA): Section 1452 and Infrastructure Investment and Jobs Act (IIJA)
PL 117-58 authorizes the state to utilize funds to further the health protection objectives of
SDWA. This agreement will provide funds to capitalize the recipient’s DWSRF with an
emphasis on lead service line replacement and associated activities directly connected to
the identification, planning, design, and replacement of lead service lines. As part of this
agreement, the state ensures compliance with federal and state regulations, which are
designed to protect public health. The state has submitted an Intended Use Plan (IUP) as
part of the application package for this capitalization grant. This agreement will provide funds
to capitalize the recipient’s DWSRF with an emphasis on lead service line replacement and
associated activities directly connected to the identification, planning, design, and
replacement of lead service lines. This IUP contains a list of the capital projects that may
receive funding from this grant and a description of the eligible activities funded by the set-
asides.
The benefits of this grant will be to capitalize the recipient’s DWSRF with an emphasis on
lead service line replacement and associated activities directly connected to the
identification, planning, design, and replacement of lead service lines. The fund can be used
to develop or update lead service line inventories and provide technical assistance to small
water systems undertaking lead service line inventories or construction projects. These
public health benefits will be statewide.
The Drinking Water SRF program is exempt from 2 CFR 200.332 subrecipient management
requirements for sub-awards as provided in 2 CFR 1500. The program provides assistance
in the form of loans. Of this grant amount, IEPA will fund $96,964,000.00 in loans (23DA) in
their Intended Use Plan. The remaining $10,000,000 will be used to assist in the
development and implementation of local drinking water protection initiatives and other State
programs under the Local Assistance and Other State Programs Set Aside (23DG).
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                               Administrative Conditions
General Terms and Conditions
The recipient agrees to comply with the current EPA general terms and conditions available
at: https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2022-
or-later.
These terms and conditions are in addition to the assurances and certifications made as a
part of the award and the terms, conditions, or restrictions cited throughout the award.
The EPA repository for the general terms and conditions by year can be found at:
https://www.epa.gov/grants/grant-terms-and-conditions#general.
A. Correspondence Condition
The terms and conditions of this agreement require the submittal of reports, specific
requests for approval, or notifications to EPA. Unless otherwise noted, all such
correspondence should be sent to the following email addresses:

Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and tukes.michael@epa.gov
MBE/WBE reports (EPA Form 5700-52A): Michael Tukes – DBE Coordinator at
tukes.michael@epa.gov and region5closeouts@epa.gov.
All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for
Extensions of the Budget and Project Period, Amendment Requests, Requests for other
Prior Approvals, updates to recipient information (including email addresses, changes in
contact information or changes in authorized representatives) and other notifications:
Andrew Bielanski at Bielanski.andrew@epa.gov and Michael Tukes at
tukes.michael@epa.gov.
Payment requests (if applicable): Andrew Bielanski at Bielanski.andrew@epa.gov
Quality Assurance documents, workplan revisions, equipment lists, programmatic reports
and deliverables: Andrew Bielanski at Bielanski.andrew@epa.gov.
B. Pre-award Costs
In accordance with 2 CFR 1500.9, the grantee may charge pre-award costs (both Federal
and non-Federal matching shares) incurred from 7/1/23 to the actual award date provided
that such costs were contained in the approved application and all costs are incurred within
the approved budget period.



                               Programmatic Conditions
FFY 2023 BIL/IIJA DWSRF General Supplemental Programmatic Terms and
Conditions
A. Payment Schedule
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The recipient agrees to accept grant funds that will be released by EPA utilizing the ASAP
payment method..
B. Intended Use Plan and Operating Agreement
The entire contents of the Bipartisan Infrastructure Law (BIL)/Infrastructure Investments and
Jobs Act (IIJA) SFY 2023 Intended Use Plan (IUP) and (if applicable) the Operating
Agreement (OA) are incorporated hereto by reference and made a part of this Assistance
Agreement.
C. Amended Cash Draw Proportionality
As of November 18, 2022, recipients are no longer required to comply with the cash draw
rules in the Clean Water State Revolving Fund (CWSRF) regulations at 40 CFR
35.3155(d)(5)(i) and (ii) and 40 CFR 35.3160(b)(2)-(4) and Drinking Water State Revolving
Fund (DWSRF) regulations at 40 CFR 35.3560(f) and (g) and 40 CFR 35.3565(b). For
further details on this change, see the linked notification memo from Division Directors
Raffael Stein and Anita Maria Thompkins dated November 30, 2022.
D. Set-Aside Work Plan
The recipient agrees to perform the activities identified and specified in the work program
plan, which is made part of this Assistance Agreement.
E. Set-Aside Sub-Grants and Contracts
The recipient shall provide or make available to the EPA copies of the work plans associated
with grants and contracts that it may enter into with other agencies and organizations related
to activities conducted under this grant. In its semi-annual report, the grant recipient shall
include a summary description of activities completed under grants and contracts entered
into with funds made available under the grant.
F. Travel
EPA approves the use of Federal funds for travel budgeted in capitalization grants for
implementing the Drinking Water SRF (DWSRF) program. The recipient agrees to use
Federal funds to participate in training and professional development activities integral to the
effective implementation and management of the DWSRF program.
G. SRF Data System and Public Health Benefits Reporting
The recipient agrees to input data, as required by EPA, into the SRF Data System. The
recipient of funds for the State Revolving Funds (SRF) from the BIL, also known as the IIJA,
2021, P.L. 117-58, agrees to comply with all requests for data related to the use of the funds
under Section 1452 of the Safe Drinking Water Act (SDWA), and to report all uses of the
funds no less than quarterly, as the Environmental Protection Agency specifies for the SRF
Data System. This reporting shall include but not be limited to data with respect to
compliance with the DWSRF discretionary Green Project Reserve and additional
subsidization requirements as specified in P.L. 117-328 (the Consolidated Appropriations
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Act, 2023), and P.L. 117-58, respectively. EPA agrees to provide technical assistance to the
state in its use of the SRF Data System.
H. Annual Reporting
In accordance with 2 CFR 200.328 and 40 CFR 35.3570, the recipient agrees to provide in
its Annual Report information regarding key project characteristics, milestones, and
environmental/public health protection results in the following areas: 1) achievement of the
outputs and outcomes established in the IUP; 2) the reasons for delays if established
outputs or outcomes were not met; 3) any additional pertinent information on
environmental/public health results; 4) compliance with the Green Project Reserve
discretionary requirement; and 5) use of additional subsidization.
I. Set-Aside Reporting
The recipient agrees to provide to the EPA an annual report on the set-aside activities
funded under this grant. These reports shall be provided 90 days after the state fiscal
year of each year the grant is in effect.
J. Program Income from Administrative Fees
The recipient agrees to maintain program income resulting from program operations
generated during the project period (e.g., administrative fees collected from DWSRF project
loan recipients) in an account separate from the DWSRF project loan fund. In addition, the
recipient agrees that such program income shall be used only for purposes related to the
administration of the DWSRF program or other purposes authorized pursuant to EPA
regulations.
K. SIGNAGE
1. Signage Requirements
a. Investing in America Emblem: The recipient will ensure that a sign is placed at
construction sites supported in whole or in part by this award displaying the official Investing
in America emblem and must identify the project as a “project funded by President Biden’s
Bipartisan Infrastructure Law” or “project funded by President Biden’s Inflation Reduction
Act” as applicable. The sign must be placed at construction sites in an easily visible location
that can be directly linked to the work taking place and must be maintained in good condition
throughout the construction period.
The recipient will ensure compliance with the guidelines and design specifications provided
by EPA for using the official Investing in America emblem available at:
https://www.epa.gov/invest/investing-america-signage.
b. Procuring Signs: Consistent with section 6002 of RCRA, 42 U.S.C. 6962, and 2 CFR
200.323, recipients are encouraged to use recycled or recovered materials when procuring
signs. Signage costs are considered an allowable cost under this assistance agreement
provided that the costs associated with signage are reasonable. Additionally, to increase
public awareness of projects serving communities where English is not the predominant
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language, recipients are encouraged to translate the language on signs (excluding the
official Investing in America emblem or EPA logo or seal) into the appropriate non-English
language(s). The costs of such translation are allowable, provided the costs are reasonable.
2. Public or Media Events
EPA encourages the recipient to notify the EPA Project Officer listed in this award document
of public or media events publicizing the accomplishment of significant events related to
construction projects as a result of this agreement and provide the opportunity for
attendance and participation by federal representatives with at least ten (10) working days’
notice.
L. Full Lead Service Line Replacement
The recipient agrees to ensure that any project funded in whole or in part under this
capitalization grant involving lead service line replacement must replace the entire lead
service line, not just a portion, unless a portion has already been replaced or is concurrently
being replaced with another funding source.
M. Additional Subsidization
The recipient agrees to use 49 percent of the funds made available in the capitalization grant
to provide additional subsidy to disadvantaged communities as described in section 1452(d)
of the Safe Drinking Water Act (SDWA) in the form of forgiveness of principal or as grants
(or any combination of these), which shall be used only where such funds are provided as
initial financing for an eligible recipient or to buy, refinance, or restructure the debt
obligations of eligible recipients only where such debt was incurred after November 15,
2021.
N. Green Project Reserve
The recipient agrees that the funds provided by this capitalization grant may, at the
discretion of the recipient, be used for projects to address green infrastructure, water or
energy efficiency improvements, or other environmentally innovative activities.
O. Geospatial Data Standards
All geospatial data created must be consistent with Federal Geographic Data Committee
(FGDC) endorsed standards. Information on these standards may be found at
www.fgdc.gov.
P. American Iron and Steel (AIS)
(a) Definitions. As used in this award term and condition—
(1) “iron and steel products” means the following products made primarily of iron or steel:
lined or unlined pipes and fittings, manhole covers and other municipal castings, hydrants,
tanks, flanges, pipe clamps and restraints, valves, structural steel, reinforced precast
concrete, and construction materials.
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(2) “steel” means an alloy that includes at least 50 percent iron, between .02 and 2 percent
carbon, and may include other elements.
(b) Domestic preference.
(1) This award term and condition implements the Safe Drinking Water Act, section
1452(a)(4), by requiring that all iron and steel products used for a project for the
construction, alteration, maintenance or repair of a public water system are produced in the
United States except as provided in paragraph (b)(2) of this section and condition.
(2) This requirement shall not apply in any case or category of cases in which the
Administrator of the Environmental Protection Agency finds that—
(i) applying the requirement would be inconsistent with the public interest;
(ii) iron and steel products are not produced in the United States in sufficient and
reasonably available quantities and of a satisfactory quality; or
(iii) inclusion of iron and steel products produced in the United States will increase the cost
of the overall project by more than 25 percent.
(3) The Build America, Buy America (BABA) Act requirement does not supersede the AIS
requirement, and both provisions still apply and work in conjunction.
(c) Request for a Waiver under (b)(2) of this section
(1) Any recipient request to use foreign iron or steel products in accordance with paragraph
(b)(2) of this section shall include adequate information for Federal Government evaluation
of the request, including—
(A) A description of the foreign and domestic iron, steel, and/or manufactured goods;
(B) Unit of measure;
(C) Quantity;
(D) Cost;
(E) Time of delivery or availability;
(F) Location of the project;
(G) Name and address of the proposed supplier; and
(H) A detailed justification of the reason for use of foreign iron or steel products cited in
accordance with paragraph (b)(2) of this section.
(2) If the Administrator receives a request for a waiver under this section, the waiver request
shall be made available to the public for at least 15 days prior to making a finding based on
the request.
(3) Unless the Administrator issues a waiver of this term, use of foreign iron and steel
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products is noncompliant with the Safe Drinking Water Act, section 1452(a)(4).
(d) This term and condition shall be applied in a manner consistent with United States
obligations under international agreements.
Q. State Cybersecurity
(a) The recipient agrees that when collecting and managing environmental data under this
assistance agreement, it will protect the data by following all applicable State law
cybersecurity requirements.
(b) (1) EPA must ensure that any connections between the recipient’s network or information
system and EPA networks used by the recipient to transfer data under this agreement, are
secure.
For purposes of this Section, a connection is defined as a dedicated persistent interface
between an Agency IT system and an external IT system for the purpose of transferring
information. Transitory, user-controlled connections such as website browsing are excluded
from this definition.
If the recipient’s connections as defined above do not go through the Environmental
Information Exchange Network or EPA’s Central Data Exchange, the recipient agrees to
contact the EPA Project Officer (PO) and work with the designated Regional/Headquarters
Information Security Officer to ensure that the connections meet EPA security requirements,
including entering into Interconnection Service Agreements as appropriate. This condition
does not apply to manual entry of data by the recipient into systems operated and used by
EPA’s regulatory programs for the submission of reporting and/or compliance data.
(2) The recipient agrees that any sub-awards it makes under this agreement will require the
subrecipient to comply with the requirements in (b)(1) if the sub-recipient’s network or
information system is connected to EPA networks to transfer data to the Agency using
systems other than the Environmental Information Exchange Network or EPA’s Central Data
Exchange. The recipient will be in compliance with this condition: by including this
requirement in sub-award agreements; and during subrecipient monitoring deemed
necessary by the recipient under 2 CFR 200.331(d), by inquiring whether the subrecipient
has contacted the EPA Project Officer. Nothing in this condition requires the recipient to
contact the EPA Project Officer on behalf of a subrecipient or to be involved in the
negotiation of an Interconnection Service Agreement between the subrecipient and EPA.
R. Internal Controls for Financial Transactions
The recipient agrees to use procedures consistent with “zero-trust” (never trust, always
verify) for all financial transactions with SRF funds. These procedures must include verbal
verification with a trusted recipient representative of all financial account information both
initially and prior to any changes in financial account information.
S. Wage Rate Requirements
The recipient agrees to include in all agreements to provide assistance for any construction
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project carried out in whole or in part with such assistance made available by a drinking
water revolving loan fund as authorized by section 1452 of the Safe Drinking Water Act (42
U.S.C. 300j-12), a term and condition requiring compliance with the requirements of section
1450(e) of the Safe Drinking Water Act (42 U.S.C.300j-9(e)) in all procurement contracts and
sub-grants, and require that loan recipients, procurement contractors and sub-grantees
include such a term and condition in subcontracts and other lower tiered transactions. All
contracts and subcontracts for any construction project carried out in whole or in part with
assistance made available as stated herein shall insert in full in any contract in excess of
$2,000 the contract clauses as attached hereto entitled “Wage Rate Requirements Under
The Clean Water Act, Section 513 and the Safe Drinking Water Act, Section 1450(e).” This
term and condition applies to all agreements to provide assistance under the authorities
referenced herein, whether in the form of a loan, bond purchase, grant, or any other vehicle
to provide financing for a project, where such agreements are executed on or after October
30, 2009.
Preamble
With respect to the DWSRF program, EPA provides capitalization grants to each State
which in turn provides sub grants or loans to eligible entities within the State. Typically, the
sub recipients are municipal or other local governmental entities that manage the funds. For
these types of recipients, the provisions set forth under Roman numeral I, below, shall
apply. Although EPA and the State remain responsible for ensuring sub recipients’
compliance with the wage rate requirements set forth herein, those sub recipients shall have
the primary responsibility to maintain payroll records as described in Section I-3(ii)(A), below
and for compliance as described in Section I-5.
Occasionally, the sub recipient may be a private for profit or not for profit entity. For these
types of recipients, the provisions set forth in Roman Numeral II, below, shall apply.
Although EPA and the State remain responsible for ensuring sub recipients’ compliance with
the wage rate requirements set forth herein, those sub recipients shall have the primary
responsibility to maintain payroll records as described in Section II-3(ii)(A), below and for
compliance as described in Section II-5.


ATTACHMENT 1
I. Requirements Under Section 1452(a)(5) of the Safe Drinking Water Act For Sub
recipients That Are Governmental Entities:
The following terms and conditions specify how recipients will assist EPA in meeting its
Davis-Bacon (DB) responsibilities when DB applies to EPA awards of financial assistance
with respect to State recipients and sub recipients that are governmental entities. If a sub
recipient has questions regarding when DB applies, obtaining the correct DB wage
determinations, DB provisions, or compliance monitoring, it may contact the State recipient.
If a State recipient needs guidance, the recipient may contact EPA’s Office of Grants and
Debarment for guidance at EPA_Grants_Info@epa.gov. The recipient or sub recipient may
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also obtain additional guidance from the U.S. Department of Labor’s (DOL) website at
http://www dol gov/whd/
1. Applicability of the DB prevailing wage requirements.
DB prevailing wage requirements apply to the construction, alteration, and repair of
treatment works carried out in whole or in part with assistance made available by a State
water pollution control revolving fund and to any construction project carried out in whole or
in part by assistance made available by a drinking water treatment revolving loan fund. If a
sub recipient encounters a unique situation at a site that presents uncertainties regarding DB
applicability, the sub recipient must discuss the situation with the recipient State before
authorizing work on that site.
2. Obtaining Wage Determinations.
(a) Sub recipients shall obtain the wage determination for the locality in which a covered
activity subject to DB will take place prior to issuing requests for bids, proposals, quotes or
other methods for soliciting contracts (solicitation) for activities subject to DB. These wage
determinations shall be incorporated into solicitations and any subsequent contracts. Prime
contracts must contain a provision requiring that subcontractors follow the wage
determination incorporated into the prime contract.
(i) While the solicitation remains open, the sub recipient shall monitor https://sam.gov/
weekly to ensure that the wage determination contained in the solicitation remains current.
The sub recipients shall amend the solicitation if DOL issues a modification more than 10
days prior to the closing date (i.e. bid opening) for the solicitation. If DOL modifies or
supersedes the applicable wage determination less than 10 days prior to the closing date,
the sub recipients may request a finding from the State recipient that there is not a
reasonable time to notify interested contractors of the modification of the wage
determination. The State recipient will provide a report of its findings to the sub recipient.
(ii) If the sub recipient does not award the contract within 90 days of the closure of the
solicitation, any modifications or supersedes DOL makes to the wage determination
contained in the solicitation shall be effective unless the State recipient, at the request of the
sub recipient, obtains an extension of the 90-day period from DOL pursuant to 29 CFR
1.6(c)(3)(iv). The sub recipient shall monitor https://sam.gov/ on a weekly basis if it does not
award the contract within 90 days of closure of the solicitation to ensure that wage
determinations contained in the solicitation remain current.
(b) If the sub recipient carries out activity subject to DB by issuing a task order, work
assignment or similar instrument to an existing contractor (ordering instrument) rather than
by publishing a solicitation, the sub recipient shall insert the appropriate DOL wage
determination from https://sam.gov/ into the ordering instrument.
(c) Sub recipients shall review all subcontracts subject to DB entered into by prime
contractors to verify that the prime contractor has required its subcontractors to include the
applicable wage determinations.
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(d) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to
a sub recipient’s contract after the award of a contract or the issuance of an ordering
instrument if DOL determines that the sub recipient has failed to incorporate a wage
determination or has used a wage determination that clearly does not apply to the contract
or ordering instrument. If this occurs, the sub recipient shall either terminate the contract or
ordering instrument and issue a revised solicitation or ordering instrument or incorporate
DOL’s wage determination retroactive to the beginning of the contract or ordering instrument
by change order. The sub recipient’s contractor must be compensated for any increases in
wages resulting from the use of DOL’s revised wage determination.
3. Contract and Subcontract provisions.
(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in
excess of $2,000 which is entered into for the actual construction, alteration and/or repair,
including painting and decorating, of a treatment work under the CWSRF or a construction
project carried out in whole or in part with assistance made available by the DWSRF, and
which is subject to the labor standards provisions of any of the acts listed in § 5.1 or the Safe
Drinking Water Act, Section 1452(a)(5), the following clauses:
(1) Minimum wages.
(i) All laborers and mechanics employed or working upon the site of the work will be paid
unconditionally and not less often than once a week, and without subsequent deduction or
rebate on any account (except such payroll deductions as are permitted by regulations
issued by the Secretary of Labor under the Copeland Act (29 CFR part 3)), the full amount of
wages and bona fide fringe benefits (or cash equivalents thereof) due at time of payment
computed at rates not less than those contained in the wage determination of the Secretary
of Labor which is attached hereto and made a part hereof, regardless of any contractual
relationship which may be alleged to exist between the contractor and such laborers and
mechanics.
Contributions made or costs reasonably anticipated for bona fide fringe benefits under
section 1(b)(2) of the DB Act on behalf of laborers or mechanics are considered wages paid
to such laborers or mechanics, subject to the provisions of paragraph (a)(1)(iv) of this
section; also, regular contributions made or costs incurred for more than a weekly period
(but not less often than quarterly) under plans, funds, or programs which cover the particular
weekly period, are deemed to be constructively made or incurred during such weekly period.
Such laborers and mechanics shall be paid the appropriate wage rate and fringe benefits on
the wage determination for the classification of work actually performed, without regard to
skill, except as provided in § 5.5(a)(4). Laborers or mechanics performing work in more than
one classification may be compensated at the rate specified for each classification for the
time actually worked therein: Provided that the employer's payroll records accurately set
forth the time spent in each classification in which work is performed. The wage
determination (including any additional classification and wage rates conformed under
paragraph (a)(1)(ii) of this section) and the DB poster (WH-1321) shall be posted at all times
by the contractor and its subcontractors at the site of the work in a prominent and accessible
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place where it can be easily seen by the workers.
Sub recipients may obtain wage determinations from DOL’s website, https://sam gov/.
(ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or
mechanics, including helpers, which is not listed in the wage determination and which is to
be employed under the contract shall be classified in conformance with the wage
determination. The State award official shall approve a request for an additional
classification and wage rate and fringe benefits therefore only when the following criteria
have been met:
(1) The work to be performed by the classification requested is not performed by a
classification in the wage determination; and
(2) The classification is utilized in the area by the construction industry; and
(3) The proposed wage rate, including any bona fide fringe benefits, bears a reasonable
relationship to the wage rates contained in the wage determination.
(B) If the contractor and the laborers and mechanics to be employed in the classification (if
known), or their representatives, and the sub recipient(s) agree on the classification and
wage rate (including the amount designated for fringe benefits where appropriate),
documentation of the action taken and the request, including the local wage determination
shall be sent by the sub recipient (s) to the State award official. The State award official will
transmit a completed conformance request form (SF-1444 or similar) and supporting
materials to WHD-CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional
Coordinator concurrently. The DOL Administrator, or an authorized representative, will
approve, modify, or disapprove every additional classification request within 30 days of
receipt and so advise the State award official or will notify the State award official within the
30-day period that additional time is necessary.
(C) In the event the contractor, the laborers or mechanics to be employed in the
classification or their representatives, and the sub recipient(s) do not agree on the proposed
classification and wage rate (including the amount designated for fringe benefits, where
appropriate), documentation of the action taken and the request, including the local wage
determination shall be sent by the sub recipient (s) to the State award official. The State
award official will transmit a completed conformance request form (SF-1444 or similar) which
indicates the State award official’s disagreement and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will issue a
determination within 30 days of receipt of the request and so advise the contracting officer or
will notify the contracting officer within the 30-day period that additional time is necessary.
(D) The wage rate (including fringe benefits where appropriate) determined pursuant to
paragraphs (a)(1)(ii)(B) or (C) of this section, shall be paid to all workers performing work in
the classification under this contract from the first day on which work is performed in the
classification.
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(iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers or
mechanics includes a fringe benefit which is not expressed as an hourly rate, the contractor
shall either pay the benefit as stated in the wage determination or shall pay another bona
fide fringe benefit or an hourly cash equivalent thereof.
(iv) If the contractor does not make payments to a trustee or other third person, the
contractor may consider as part of the wages of any laborer or mechanic the amount of any
costs reasonably anticipated in providing bona fide fringe benefits under a plan or program,
Provided, That the Secretary of Labor has found, upon the written request of the contractor,
that the applicable standards of the DB Act have been met. The Secretary of Labor may
require the contractor to set aside assets in a separate account for the meeting of
obligations under the plan or program.
(2) Withholding. The sub recipient(s), shall upon written request of the EPA Award Official or
an authorized representative of the DOL, withhold or cause to be withheld from the
contractor under this contract or any other Federal contract with the same prime contractor,
or any other federally-assisted contract subject to DB prevailing wage requirements, which is
held by the same prime contractor, so much of the accrued payments or advances as may
be considered necessary to pay laborers and mechanics, including apprentices, trainees,
and helpers, employed by the contractor or any subcontractor the full amount of wages
required by the contract. In the event of failure to pay any laborer or mechanic, including any
apprentice, trainee, or helper, employed or working on the site of the work, all or part of the
wages required by the contract, the EPA may, after written notice to the contractor, sponsor,
applicant, or owner, take such action as may be necessary to cause the suspension of any
further payment, advance, or guarantee of funds until such violations have ceased.
(3) Payrolls and basic records.
(i) Payrolls and basic records relating thereto shall be maintained by the contractor during
the course of the work and preserved for a period of three years thereafter for all laborers
and mechanics working at the site of the work. Such records shall contain the name,
address, and social security number of each such worker, his or her correct classification,
hourly rates of wages paid (including rates of contributions or costs anticipated for bona fide
fringe benefits or cash equivalents thereof of the types described in section 1(b)(2)(B) of the
DB Act), daily and weekly number of hours worked, deductions made and actual wages
paid. Whenever the Secretary of Labor has found under 29 CFR 5.5(a)(1)(iv) that the wages
of any laborer or mechanic include the amount of any costs reasonably anticipated in
providing benefits under a plan or program described in section 1(b)(2)(B) of the DB Act, the
contractor shall maintain records which show that the commitment to provide such benefits
is enforceable, that the plan or program is financially responsible, and that the plan or
program has been communicated in writing to the laborers or mechanics affected, and
records which show the costs anticipated or the actual cost incurred in providing such
benefits. Contractors employing apprentices or trainees under approved programs shall
maintain written evidence of the registration of apprenticeship programs and certification of
trainee programs, the registration of the apprentices and trainees, and the ratios and wage
rates prescribed in the applicable programs.
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(ii)(A) The contractor shall submit weekly, for each week in which any contract work is
performed, a copy of all payrolls to the sub recipient, that is, the entity that receives the sub-
grant or loan from the State capitalization grant recipient. Such documentation shall be
available on request of the State recipient or EPA. As to each payroll copy received, the sub
recipient shall provide written confirmation in a form satisfactory to the State indicating
whether or not the project is in compliance with the requirements of 29 CFR 5.5(a)(1) based
on the most recent payroll copies for the specified week. The payrolls shall set out
accurately and completely all of the information required to be maintained under 29 CFR
5.5(a)(3)(i), except that full social security numbers and home addresses shall not be
included on the weekly payrolls. Instead, the payrolls shall only need to include an
individually identifying number for each employee (e.g., the last four digits of the employee's
social security number). The required weekly payroll information may be submitted in any
form desired. Optional Form WH-347 is available for this purpose from the Wage and Hour
Division website at http://www.dol.gov/whd/forms/wh347instr.htm or its successor site.
The prime contractor is responsible for the submission of copies of payrolls by all
subcontractors. Contractors and subcontractors shall maintain the full social security number
and current address of each covered worker and shall provide them upon request to the sub
recipient(s) for transmission to the State or EPA if requested by EPA, the State, the
contractor, or the Wage and Hour Division of the DOL for purposes of an investigation or
audit of compliance with prevailing wage requirements. It is not a violation of this section for
a prime contractor to require a subcontractor to provide addresses and social security
numbers to the prime contractor for its own records, without weekly submission to the sub
recipient(s).
(B) Each payroll submitted shall be accompanied by a “Statement of Compliance,” signed by
the contractor or subcontractor or his or her agent who pays or supervises the payment of
the persons employed under the contract and shall certify the following:
(1) That the payroll for the payroll period contains the information required to be provided
under § 5.5 (a)(3)(ii) of Regulations, 29 CFR part 5, the appropriate information is being
maintained under § 5.5 (a)(3)(i) of Regulations, 29 CFR part 5, and that such information is
correct and complete;
(2) That each laborer or mechanic (including each helper, apprentice, and trainee) employed
on the contract during the payroll period has been paid the full weekly wages earned,
without rebate, either directly or indirectly, and that no deductions have been made either
directly or indirectly from the full wages earned, other than permissible deductions as set
forth in Regulations, 29 CFR part 3;
(3) That each laborer or mechanic has been paid not less than the applicable wage rates
and fringe benefits or cash equivalents for the classification of work performed, as specified
in the applicable wage determination incorporated into the contract.
(C) The weekly submission of a properly executed certification set forth on the reverse side
of Optional Form WH-347 shall satisfy the requirement for submission of the “Statement of
Compliance” required by paragraph (a)(3)(ii)(B) of this section.
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(D) The falsification of any of the above certifications may subject the contractor or
subcontractor to civil or criminal prosecution under section 1001 of title 18 and section 231
of title 31 of the United States Code.
(iii) The contractor or subcontractor shall make the records required under paragraph
(a)(3)(i) of this section available for inspection, copying, or transcription by authorized
representatives of the State, EPA or the DOL, and shall permit such representatives to
interview employees during working hours on the job. If the contractor or subcontractor fails
to submit the required records or to make them available, the EPA or State may, after written
notice to the contractor, sponsor, applicant, or owner, take such action as may be necessary
to cause the suspension of any further payment, advance, or guarantee of funds.
Furthermore, failure to submit the required records upon request or to make such records
available may be grounds for debarment action pursuant to 29 CFR 5.12.
(4) Apprentices and trainees
(i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate for
the work they performed when they are employed pursuant to and individually registered in a
bona fide apprenticeship program registered with the DOL, Employment and Training
Administration, Office of Apprenticeship Training, Employer and Labor Services, or with a
State Apprenticeship Agency recognized by the Office, or if a person is employed in his or
her first 90 days of probationary employment as an apprentice in such an apprenticeship
program, who is not individually registered in the program, but who has been certified by the
Office of Apprenticeship Training, Employer and Labor Services or a State Apprenticeship
Agency (where appropriate) to be eligible for probationary employment as an apprentice.
The allowable ratio of apprentices to journeymen on the job site in any craft classification
shall not be greater than the ratio permitted to the contractor as to the entire work force
under the registered program. Any worker listed on a payroll at an apprentice wage rate,
who is not registered or otherwise employed as stated above, shall be paid not less than the
applicable wage rate on the wage determination for the classification of work actually
performed. In addition, any apprentice performing work on the job site in excess of the ratio
permitted under the registered program shall be paid not less than the applicable wage rate
on the wage determination for the work actually performed. Where a contractor is performing
construction on a project in a locality other than that in which its program is registered, the
ratios and wage rates (expressed in percentages of the journeyman's hourly rate) specified
in the contractor's or subcontractor's registered program shall be observed. Every apprentice
must be paid at not less than the rate specified in the registered program for the apprentice's
level of progress, expressed as a percentage of the journeymen hourly rate specified in the
applicable wage determination. Apprentices shall be paid fringe benefits in accordance with
the provisions of the apprenticeship program. If the apprenticeship program does not specify
fringe benefits, apprentices must be paid the full amount of fringe benefits listed on the wage
determination for the applicable classification. If the Administrator determines that a different
practice prevails for the applicable apprentice classification, fringes shall be paid in
accordance with that determination. In the event the Office of Apprenticeship Training,
Employer and Labor Services, or a State Apprenticeship Agency recognized by the Office,
withdraws approval of an apprenticeship program, the contractor will no longer be permitted
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to utilize apprentices at less than the applicable predetermined rate for the work performed
until an acceptable program is approved.
(ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at
less than the predetermined rate for the work performed unless they are employed pursuant
to and individually registered in a program which has received prior approval, evidenced by
formal certification by the DOL, Employment and Training Administration. The ratio of
trainees to journeymen on the job site shall not be greater than permitted under the plan
approved by the Employment and Training Administration. Every trainee must be paid at not
less than the rate specified in the approved program for the trainee's level of progress,
expressed as a percentage of the journeyman hourly rate specified in the applicable wage
determination. Trainees shall be paid fringe benefits in accordance with the provisions of the
trainee program. If the trainee program does not mention fringe benefits, trainees shall be
paid the full amount of fringe benefits listed on the wage determination unless the
Administrator of the Wage and Hour Division determines that there is an apprenticeship
program associated with the corresponding journeyman wage rate on the wage
determination which provides for less than full fringe benefits for apprentices. Any employee
listed on the payroll at a trainee rate who is not registered and participating in a training plan
approved by the Employment and Training Administration shall be paid not less than the
applicable wage rate on the wage determination for the classification of work actually
performed. In addition, any trainee performing work on the job site in excess of the ratio
permitted under the registered program shall be paid not less than the applicable wage rate
on the wage determination for the work actually performed. In the event the Employment
and Training Administration withdraws approval of a training program, the contractor will no
longer be permitted to utilize trainees at less than the applicable predetermined rate for the
work performed until an acceptable program is approved.
(iii) Equal employment opportunity. The utilization of apprentices, trainees and journeymen
under this part shall be in conformity with the equal employment opportunity requirements of
Executive Order 11246, as amended and 29 CFR part 30.
(5) Compliance with Copeland Act requirements. The contractor shall comply with the
requirements of 29 CFR part 3, which are incorporated by reference in this contract.
(6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the
clauses contained in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA
determines may by appropriate, and also a clause requiring the subcontractors to include
these clauses in any lower tier subcontracts. The prime contractor shall be responsible for
the compliance by any subcontractor or lower tier subcontractor with all the contract clauses
in 29 CFR 5.5.
(7) Contract termination; debarment. A breach of the contract clauses in 29 CFR 5.5 may be
grounds for termination of the contract, and for debarment as a contractor and a
subcontractor as provided in 29 CFR 5.12.
(8) Compliance with DB and Related Act requirements. All rulings and interpretations of the
DB and Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by
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reference in this contract.
(9) Disputes concerning labor standards. Disputes arising out of the labor standards
provisions of this contract shall not be subject to the general disputes clause of this contract.
Such disputes shall be resolved in accordance with the procedures of the DOL set forth in
29 CFR parts 5, 6, and 7. Disputes within the meaning of this clause include disputes
between the contractor (or any of its subcontractors) and sub recipient(s), State, EPA, DOL,
or the employees or their representatives.
(10) Certification of eligibility.
(i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor any
person or firm who has an interest in the contractor's firm is a person or firm ineligible to be
awarded Government contracts by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).
(ii) No part of this contract shall be subcontracted to any person or firm ineligible for award of
a Government contract by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).
(iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18
U.S.C. 1001.
4. Contract Provision for Contracts in Excess of $100,000.
(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the
following clauses set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any
contract in an amount in excess of $100,000 and subject to the overtime provisions of the
Contract Work Hours and Safety Standards Act. These clauses shall be inserted in addition
to the clauses required by Item 3, above or 29 CFR 4.6. As used in this paragraph, the terms
laborers and mechanics include watchmen and guards.
(1) Overtime requirements. No contractor or subcontractor contracting for any part of the
contract work which may require or involve the employment of laborers or mechanics shall
require or permit any such laborer or mechanic in any workweek in which he or she is
employed on such work to work in excess of forty hours in such workweek unless such
laborer or mechanic receives compensation at a rate not less than one and one-half times
the basic rate of pay for all hours worked in excess of forty hours in such workweek.
(2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of
the clause set forth in paragraph (a)(1) of this section the contractor and any subcontractor
responsible therefore shall be liable for the unpaid wages. In addition, such contractor and
subcontractor shall be liable to the United States (in the case of work done under contract
for the District of Columbia or a territory, to such District or to such territory), for liquidated
damages. Such liquidated damages shall be computed with respect to each individual
laborer or mechanic, including watchmen and guards, employed in violation of the clause set
forth in paragraph (a)(1) of this section, in the sum of $29 for each calendar day on which
such individual was required or permitted to work in excess of the standard workweek of
forty hours without payment of the overtime wages required by the clause set forth in
paragraph (a)(1) of this section.
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(3) Withholding for unpaid wages and liquidated damages. The sub recipient, upon written
request of the EPA Award Official or an authorized representative of the DOL, shall withhold
or cause to be withheld, from any moneys payable on account of work performed by the
contractor or subcontractor under any such contract or any other Federal contract with the
same prime contractor, or any other federally-assisted contract subject to the Contract Work
Hours and Safety Standards Act, which is held by the same prime contractor, such sums as
may be determined to be necessary to satisfy any liabilities of such contractor or
subcontractor for unpaid wages and liquidated damages as provided in the clause set forth
in paragraph (a)(2) of this section.
(4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the
clauses set forth in paragraph (a)(1) through (4) of this section and also a clause requiring
the subcontractors to include these clauses in any lower tier subcontracts. The prime
contractor shall be responsible for compliance by any subcontractor or lower tier
subcontractor with the clauses set forth in paragraphs (a)(1) through (4) of this section.
(b) In addition to the clauses contained in Item 3, above, in any contract subject only to the
Contract Work Hours and Safety Standards Act and not to any of the other statutes cited in
29 CFR 5.1, the Sub recipient shall insert a clause requiring that the contractor or
subcontractor shall maintain payrolls and basic payroll records during the course of the work
and shall preserve them for a period of three years from the completion of the contract for all
laborers and mechanics, including guards and watchmen, working on the contract. Such
records shall contain the name and address of each such employee, social security number,
correct classifications, hourly rates of wages paid, daily and weekly number of hours worked,
deductions made, and actual wages paid. Further, the Sub recipient shall insert in any such
contract a clause providing that the records to be maintained under this paragraph shall be
made available by the contractor or subcontractor for inspection, copying, or transcription by
authorized representatives of the EPA and the DOL, and the contractor or subcontractor will
permit such representatives to interview employees during working hours on the job.
5. Compliance Verification
(a) The sub recipient shall periodically interview a sufficient number of employees entitled to
DB prevailing wages (covered employees) to verify that contractors or subcontractors are
paying the appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be
conducted in confidence. The sub recipient must use Standard Form 1445 (SF 1445) or
equivalent documentation to memorialize the interviews. Copies of the SF 1445 are
available from EPA on request.
(b) The sub recipient shall establish and follow an interview schedule based on its
assessment of the risks of noncompliance with DB posed by contractors or subcontractors
and the duration of the contract or subcontract. Sub recipients must conduct more frequent
interviews if the initial interviews or other information indicated that there is a risk that the
contractor or subcontractor is not complying with DB.
Sub recipients shall immediately conduct interviews in response to an alleged violation of the
prevailing wage requirements. All interviews shall be conducted in confidence.
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(c) The sub recipient shall periodically conduct spot checks of a representative sample of
weekly payroll data to verify that contractors or subcontractors are paying the appropriate
wage rates. The sub recipient shall establish and follow a spot check schedule based on its
assessment of the risks of noncompliance with DB posed by contractors or subcontractors
and the duration of the contract or subcontract. At a minimum, if practicable, the sub
recipient should spot check payroll data within two weeks of each contractor or
subcontractor’s submission of its initial payroll data and two weeks prior to the completion
date the contract or subcontract. Sub recipients must conduct more frequent spot checks if
the initial spot check or other information indicates that there is a risk that the contractor or
subcontractor is not complying with DB. In addition, during the examinations the sub
recipient shall verify evidence of fringe benefit plans and payments there under by
contractors and subcontractors who claim credit for fringe benefit contributions.
(d) The sub recipient shall periodically review contractor’s and subcontractor’s use of
apprentices and trainees to verify registration and certification with respect to apprenticeship
and training programs approved by either the U.S DOL or a state, as appropriate, and that
contractors and subcontractors are not using disproportionate numbers of, laborers, trainees
and apprentices. These reviews shall be conducted in accordance with the schedules for
spot checks and interviews described in Item 5(b) and (c) above.
(e) Sub recipients must immediately report potential violations of the DB prevailing wage
requirements to the EPA DB contact listed above and to the appropriate DOL Wage and
Hour District Office listed at https://www.dol.gov/agencies/whd/contact/local-offices.
II. Requirements Under the Safe Drinking Water Act, Section 1452(a)(5) For Sub
recipients That Are Not Governmental Entities:
The following terms and conditions specify how recipients will assist EPA in meeting its DB
responsibilities when DB applies to EPA awards of financial assistance under the Safe
Drinking Water Act, Section 1452(a)(5) with respect to sub recipients that are not
governmental entities. If a sub recipient has questions regarding when DB applies,
obtaining the correct DB wage determinations, DB provisions, or compliance monitoring, it
may contact the State recipient for guidance. If a State recipient needs guidance, the
recipient may contact EPA’s Office of Grants and Debarment for guidance at
EPA_Grants_Info@epa.gov The recipient or sub recipient may also obtain additional
guidance from DOL’s website at http://www dol gov/whd/
Under these terms and conditions, the sub recipient must submit its proposed DB
wage determinations to the State recipient for approval prior to including the wage
determination in any solicitation, contract task orders, work assignments, or similar
instruments to existing contractors.
1. Applicability of the Davis- Bacon (DB) prevailing wage requirements.
Under the Safe Drinking Water Act, Section 1452(a)(5), DB prevailing wage requirements
apply to the construction, alteration, and repair of treatment works carried out in whole or in
part with assistance made available by a State water pollution control revolving fund and to
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any construction project carried out in whole or in part by assistance made available by a
drinking water treatment revolving loan fund. If a sub recipient encounters a unique
situation at a site that presents uncertainties regarding DB applicability, the sub recipient
must discuss the situation with the recipient State before authorizing work on that site.
2. Obtaining Wage Determinations.
(a) Sub recipients must obtain proposed wage determinations for specific localities at
https://sam gov/. After the sub recipient obtains its proposed wage determination, it must
submit the wage determination to IEPA for approval prior to inserting the wage determination
into a solicitation, contract or issuing task orders, work assignments or similar instruments to
existing contractors (ordering instruments unless subsequently directed otherwise by the
State recipient Award Official.)
(b) Sub recipients shall obtain the wage determination for the locality in which a covered
activity subject to DB will take place prior to issuing requests for bids, proposals, quotes or
other methods for soliciting contracts (solicitation) for activities subject to DB. These wage
determinations shall be incorporated into solicitations and any subsequent contracts. Prime
contracts must contain a provision requiring that subcontractors follow the wage
determination incorporated into the prime contract.
(i) While the solicitation remains open, the sub recipient shall monitor https://sam.gov/ on a
weekly basis to ensure that the wage determination contained in the solicitation remains
current. The sub recipients shall amend the solicitation if DOL issues a modification more
than 10 days prior to the closing date (i.e. bid opening) for the solicitation. If DOL modifies
or supersedes the applicable wage determination less than 10 days prior to the closing date,
the sub recipients may request a finding from the State recipient that there is not a
reasonable time to notify interested contractors of the modification of the wage
determination. The State recipient will provide a report of its findings to the sub recipient.
(ii) If the sub recipient does not award the contract within 90 days of the closure of the
solicitation, any modifications or supersedes DOL makes to the wage determination
contained in the solicitation shall be effective unless the State recipient, at the request of the
sub recipient, obtains an extension of the 90-day period from DOL pursuant to 29 CFR
1.6(c)(3)(iv). The sub recipient shall monitor https://sam.gov/ on a weekly basis if it does not
award the contract within 90 days of closure of the solicitation to ensure that wage
determinations contained in the solicitation remain current.
(c) If the sub recipient carries out activity subject to DB by issuing a task order, work
assignment or similar instrument to an existing contractor (ordering instrument) rather than
by publishing a solicitation, the sub recipient shall insert the appropriate DOL wage
determination from https://sam.gov/ into the ordering instrument.
(d) Sub recipients shall review all subcontracts subject to DB entered into by prime
contractors to verify that the prime contractor has required its subcontractors to include the
applicable wage determinations.
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(e) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to
a sub recipient’s contract after the award of a contract or the issuance of an ordering
instrument if DOL determines that the sub recipient has failed to incorporate a wage
determination or has used a wage determination that clearly does not apply to the contract
or ordering instrument. If this occurs, the sub recipient shall either terminate the contract or
ordering instrument and issue a revised solicitation or ordering instrument or incorporate
DOL’s wage determination retroactive to the beginning of the contract or ordering instrument
by change order. The sub recipient’s contractor must be compensated for any increases in
wages resulting from the use of DOL’s revised wage determination.
3. Contract and Subcontract provisions.
(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in
excess of $2,000 which is entered into for the actual construction, alteration and/or repair,
including painting and decorating, of a treatment work under the CWSRF or a construction
project carried out in whole or in part with assistance made available by the DWSRF, and
which is subject to the labor standards provisions of any of the acts listed in § 5.1 or the Safe
Drinking Water Act, Section 1452(a)(5), the following clauses:
(1) Minimum wages.
(i) All laborers and mechanics employed or working upon the site of the work, will be paid
unconditionally and not less often than once a week, and without subsequent deduction or
rebate on any account (except such payroll deductions as are permitted by regulations
issued by the Secretary of Labor under the Copeland Act (29 CFR part 3) ), the full amount
of wages and bona fide fringe benefits (or cash equivalents thereof) due at time of payment
computed at rates not less than those contained in the wage determination of the Secretary
of Labor which is attached hereto and made a part hereof, regardless of any contractual
relationship which may be alleged to exist between the contractor and such laborers and
mechanics.
Contributions made or costs reasonably anticipated for bona fide fringe benefits under
section 1(b)(2) of the DB Act on behalf of laborers or mechanics are considered wages paid
to such laborers or mechanics, subject to the provisions of paragraph (a)(1)(iv) of this
section; also, regular contributions made or costs incurred for more than a weekly period
(but not less often than quarterly) under plans, funds, or programs which cover the particular
weekly period, are deemed to be constructively made or incurred during such weekly period.
Such laborers and mechanics shall be paid the appropriate wage rate and fringe benefits on
the wage determination for the classification of work actually performed, without regard to
skill, except as provided in § 5.5(a)(4). Laborers or mechanics performing work in more than
one classification may be compensated at the rate specified for each classification for the
time actually worked therein: Provided, that the employer's payroll records accurately set
forth the time spent in each classification in which work is performed. The wage
determination (including any additional classification and wage rates conformed under
paragraph (a)(1)(ii) of this section) and the DB poster (WH-1321) shall be posted at all times
by the contractor and its subcontractors at the site of the work in a prominent and accessible
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place where it can be easily seen by the workers.
Sub recipients may obtain wage determinations from DOL’s website, https://sam gov/.
(ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or
mechanics, including helpers, which is not listed in the wage determination and which is to
be employed under the contract shall be classified in conformance with the wage
determination. The State award official shall approve a request for an additional
classification and wage rate and fringe benefits therefore only when the following criteria
have been met:
(1) The work to be performed by the classification requested is not performed by a
classification in the wage determination; and
(2) The classification is utilized in the area by the construction industry; and
(3) The proposed wage rate, including any bona fide fringe benefits, bears a reasonable
relationship to the wage rates contained in the wage determination.
(B) If the contractor and the laborers and mechanics to be employed in the classification (if
known), or their representatives, and the sub recipient(s) agree on the classification and
wage rate (including the amount designated for fringe benefits where appropriate),
documentation of the action taken and the request, including the local wage determination
shall be sent by the sub recipient(s) to the State award official. The State award official will
transmit a completed conformance request form (SF-1444 or similar) and supporting
materials to WHD-CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional
Coordinator concurrently. The DOL Administrator, or an authorized representative, will
approve, modify, or disapprove every additional classification request within 30 days of
receipt and so advise the State award official or will notify the State award official within the
30-day period that additional time is necessary.
(C) In the event the contractor, the laborers or mechanics to be employed in the
classification or their representatives, and the sub recipient(s) do not agree on the proposed
classification and wage rate (including the amount designated for fringe benefits, where
appropriate), documentation of the action taken and the request, including the local wage
determination shall be sent by the sub recipient (s) to the State award official. The State
award official will transmit a completed conformance request form (SF-1444 or similar) which
indicates the State award official’s disagreement and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will issue a
determination within 30 days of receipt of the request and so advise the contracting officer or
will notify the contracting officer within the 30-day period that additional time is necessary.
(D) The wage rate (including fringe benefits where appropriate) determined pursuant to
paragraphs (a)(1)(ii)(B) or (C) of this section, shall be paid to all workers performing work in
the classification under this contract from the first day on which work is performed in the
classification.
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(iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers or
mechanics includes a fringe benefit which is not expressed as an hourly rate, the contractor
shall either pay the benefit as stated in the wage determination or shall pay another bona
fide fringe benefit or an hourly cash equivalent thereof.
(iv) If the contractor does not make payments to a trustee or other third person, the
contractor may consider as part of the wages of any laborer or mechanic the amount of any
costs reasonably anticipated in providing bona fide fringe benefits under a plan or program,
Provided, That the Secretary of Labor has found, upon the written request of the contractor,
that the applicable standards of the DB Act have been met. The Secretary of Labor may
require the contractor to set aside assets in a separate account for the meeting of
obligations under the plan or program.
(2) Withholding. The sub recipient(s) shall upon written request of the EPA Award Official or
an authorized representative of the DOL, withhold or cause to be withheld from the
contractor under this contract or any other Federal contract with the same prime contractor,
or any other federally-assisted contract subject to DB prevailing wage requirements, which is
held by the same prime contractor, so much of the accrued payments or advances as may
be considered necessary to pay laborers and mechanics, including apprentices, trainees,
and helpers, employed by the contractor or any subcontractor the full amount of wages
required by the contract. In the event of failure to pay any laborer or mechanic, including any
apprentice, trainee, or helper, employed or working on the site of the work, all or part of the
wages required by the contract, the EPA may, after written notice to the contractor, sponsor,
applicant, or owner, take such action as may be necessary to cause the suspension of any
further payment, advance, or guarantee of funds until such violations have ceased.
(3) Payrolls and basic records.
(i) Payrolls and basic records relating thereto shall be maintained by the contractor during
the course of the work and preserved for a period of three years thereafter for all laborers
and mechanics working at the site of the work. Such records shall contain the name,
address, and social security number of each such worker, his or her correct classification,
hourly rates of wages paid (including rates of contributions or costs anticipated for bona fide
fringe benefits or cash equivalents thereof of the types described in section 1(b)(2)(B) of the
DB Act), daily and weekly number of hours worked, deductions made and actual wages
paid. Whenever the Secretary of Labor has found under 29 CFR 5.5(a)(1)(iv) that the wages
of any laborer or mechanic include the amount of any costs reasonably anticipated in
providing benefits under a plan or program described in section 1(b)(2)(B) of the DB Act, the
contractor shall maintain records which show that the commitment to provide such benefits
is enforceable, that the plan or program is financially responsible, and that the plan or
program has been communicated in writing to the laborers or mechanics affected, and
records which show the costs anticipated or the actual cost incurred in providing such
benefits. Contractors employing apprentices or trainees under approved programs shall
maintain written evidence of the registration of apprenticeship programs and certification of
trainee programs, the registration of the apprentices and trainees, and the ratios and wage
rates prescribed in the applicable programs.
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(ii)(A) The contractor shall submit weekly, for each week in which any contract work is
performed, a copy of all payrolls to the sub recipient, that is, the entity that receives the sub-
grant or loan from the State capitalization grant recipient. Such documentation shall be
available on request of the State recipient or EPA. As to each payroll copy received, the sub
recipient shall provide written confirmation in a form satisfactory to the State indicating
whether or not the project is in compliance with the requirements of 29 CFR 5.5(a)(1) based
on the most recent payroll copies for the specified week. The payrolls shall set out
accurately and completely all of the information required to be maintained under 29 CFR
5.5(a)(3)(i), except that full social security numbers and home addresses shall not be
included on the weekly payrolls. Instead, the payrolls shall only need to include an
individually identifying number for each employee (e.g., the last four digits of the employee's
social security number). The required weekly payroll information may be submitted in any
form desired. Optional Form WH-347 is available for this purpose from the Wage and Hour
Division website at http://www.dol.gov/whd/forms/wh347instr.htm or its successor site.
The prime contractor is responsible for the submission of copies of payrolls by all
subcontractors. Contractors and subcontractors shall maintain the full social security number
and current address of each covered worker and shall provide them upon request to the sub
recipient(s) for transmission to the State or EPA if requested by EPA, the State, the
contractor, or the Wage and Hour Division of the DOL for purposes of an investigation or
audit of compliance with prevailing wage requirements. It is not a violation of this section for
a prime contractor to require a subcontractor to provide addresses and social security
numbers to the prime contractor for its own records, without weekly submission to the sub
recipient(s).
(B) Each payroll submitted shall be accompanied by a “Statement of Compliance,” signed by
the contractor or subcontractor or his or her agent who pays or supervises the payment of
the persons employed under the contract and shall certify the following:
(1) That the payroll for the payroll period contains the information required to be provided
under § 5.5 (a)(3)(ii) of Regulations, 29 CFR part 5, the appropriate information is being
maintained under § 5.5 (a)(3)(i) of Regulations, 29 CFR part 5, and that such information is
correct and complete;
(2) That each laborer or mechanic (including each helper, apprentice, and trainee) employed
on the contract during the payroll period has been paid the full weekly wages earned,
without rebate, either directly or indirectly, and that no deductions have been made either
directly or indirectly from the full wages earned, other than permissible deductions as set
forth in Regulations, 29 CFR part 3;
(3) That each laborer or mechanic has been paid not less than the applicable wage rates
and fringe benefits or cash equivalents for the classification of work performed, as specified
in the applicable wage determination incorporated into the contract.
(C) The weekly submission of a properly executed certification set forth on the reverse side
of Optional Form WH-347 shall satisfy the requirement for submission of the “Statement of
Compliance” required by paragraph (a)(3)(ii)(B) of this section.
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(D) The falsification of any of the above certifications may subject the contractor or
subcontractor to civil or criminal prosecution under section 1001 of title 18 and section 231
of title 31 of the United States Code.
(iii) The contractor or subcontractor shall make the records required under paragraph
(a)(3)(i) of this section available for inspection, copying, or transcription by authorized
representatives of the State, EPA or the DOL, and shall permit such representatives to
interview employees during working hours on the job. If the contractor or subcontractor fails
to submit the required records or to make them available, the EPA or State may, after written
notice to the contractor, sponsor, applicant, or owner, take such action as may be necessary
to cause the suspension of any further payment, advance, or guarantee of funds.
Furthermore, failure to submit the required records upon request or to make such records
available may be grounds for debarment action pursuant to 29 CFR 5.12.
(4) Apprentices and trainees--
(i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate for
the work they performed when they are employed pursuant to and individually registered in a
bona fide apprenticeship program registered with the DOL, Employment and Training
Administration, Office of Apprenticeship Training, Employer and Labor Services, or with a
State Apprenticeship Agency recognized by the Office, or if a person is employed in his or
her first 90 days of probationary employment as an apprentice in such an apprenticeship
program, who is not individually registered in the program, but who has been certified by the
Office of Apprenticeship Training, Employer and Labor Services or a State Apprenticeship
Agency (where appropriate) to be eligible for probationary employment as an apprentice.
The allowable ratio of apprentices to journeymen on the job site in any craft classification
shall not be greater than the ratio permitted to the contractor as to the entire work force
under the registered program. Any worker listed on a payroll at an apprentice wage rate,
who is not registered or otherwise employed as stated above, shall be paid not less than the
applicable wage rate on the wage determination for the classification of work actually
performed. In addition, any apprentice performing work on the job site in excess of the ratio
permitted under the registered program shall be paid not less than the applicable wage rate
on the wage determination for the work actually performed. Where a contractor is performing
construction on a project in a locality other than that in which its program is registered, the
ratios and wage rates (expressed in percentages of the journeyman's hourly rate) specified
in the contractor's or subcontractors registered program shall be observed. Every apprentice
must be paid at not less than the rate specified in the registered program for the apprentice's
level of progress, expressed as a percentage of the journeymen hourly rate specified in the
applicable wage determination. Apprentices shall be paid fringe benefits in accordance with
the provisions of the apprenticeship program. If the apprenticeship program does not specify
fringe benefits, apprentices must be paid the full amount of fringe benefits listed on the wage
determination for the applicable classification. If the Administrator determines that a different
practice prevails for the applicable apprentice classification, fringes shall be paid in
accordance with that determination. In the event the Office of Apprenticeship Training,
Employer and Labor Services, or a State Apprenticeship Agency recognized by the Office,
withdraws approval of an apprenticeship program, the contractor will no longer be permitted
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to utilize apprentices at less than the applicable predetermined rate for the work performed
until an acceptable program is approved.
(ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at
less than the predetermined rate for the work performed unless they are employed pursuant
to and individually registered in a program which has received prior approval, evidenced by
formal certification by the DOL, Employment and Training Administration. The ratio of
trainees to journeymen on the job site shall not be greater than permitted under the plan
approved by the Employment and Training Administration. Every trainee must be paid at not
less than the rate specified in the approved program for the trainee's level of progress,
expressed as a percentage of the journeyman hourly rate specified in the applicable wage
determination. Trainees shall be paid fringe benefits in accordance with the provisions of the
trainee program. If the trainee program does not mention fringe benefits, trainees shall be
paid the full amount of fringe benefits listed on the wage determination unless the
Administrator of the Wage and Hour Division determines that there is an apprenticeship
program associated with the corresponding journeyman wage rate on the wage
determination which provides for less than full fringe benefits for apprentices. Any employee
listed on the payroll at a trainee rate who is not registered and participating in a training plan
approved by the Employment and Training Administration shall be paid not less than the
applicable wage rate on the wage determination for the classification of work actually
performed. In addition, any trainee performing work on the job site in excess of the ratio
permitted under the registered program shall be paid not less than the applicable wage rate
on the wage determination for the work actually performed. In the event the Employment
and Training Administration withdraws approval of a training program, the contractor will no
longer be permitted to utilize trainees at less than the applicable predetermined rate for the
work performed until an acceptable program is approved.
(iii) Equal employment opportunity. The utilization of apprentices, trainees and journeymen
under this part shall be in conformity with the equal employment opportunity requirements of
Executive Order 11246, as amended and 29 CFR part 30.
(5) Compliance with Copeland Act requirements. The contractor shall comply with the
requirements of 29 CFR part 3, which are incorporated by reference in this contract.
(6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the
clauses contained in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA
determines may by appropriate, and also a clause requiring the subcontractors to include
these clauses in any lower tier subcontracts. The prime contractor shall be responsible for
the compliance by any subcontractor or lower tier subcontractor with all the contract clauses
in 29 CFR 5.5.
(7) Contract termination: debarment. A breach of the contract clauses in 29 CFR 5.5 may be
grounds for termination of the contract, and for debarment as a contractor and a
subcontractor as provided in 29 CFR 5.12.
(8) Compliance with DB and Related Act requirements. All rulings and interpretations of the
DB and Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by
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reference in this contract.
(9) Disputes concerning labor standards. Disputes arising out of the labor standards
provisions of this contract shall not be subject to the general disputes clause of this contract.
Such disputes shall be resolved in accordance with the procedures of the DOL set forth in
29 CFR parts 5, 6, and 7. Disputes within the meaning of this clause include disputes
between the contractor (or any of its subcontractors) and Sub recipient(s), State, EPA, DOL,
or the employees or their representatives.
(10) Certification of eligibility.
(i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor any
person or firm who has an interest in the contractor's firm is a person or firm ineligible to be
awarded Government contracts by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).
(ii) No part of this contract shall be subcontracted to any person or firm ineligible for award of
a Government contract by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).
(iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18
U.S.C. 1001.
4. Contract Provision for Contracts in Excess of $100,000.
(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the
following clauses set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any
contract in an amount in excess of $100,000 and subject to the overtime provisions of the
Contract Work Hours and Safety Standards Act. These clauses shall be inserted in addition
to the clauses required by Item 3, above or 29 CFR 4.6. As used in this paragraph, the terms
laborers and mechanics include watchmen and guards.
(1) Overtime requirements. No contractor or subcontractor contracting for any part of the
contract work which may require or involve the employment of laborers or mechanics shall
require or permit any such laborer or mechanic in any workweek in which he or she is
employed on such work to work in excess of forty hours in such workweek unless such
laborer or mechanic receives compensation at a rate not less than one and one-half times
the basic rate of pay for all hours worked in excess of forty hours in such workweek.
(2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of
the clause set forth in paragraph (b)(1) of this section the contractor and any subcontractor
responsible therefore shall be liable for the unpaid wages. In addition, such contractor and
subcontractor shall be liable to the United States (in the case of work done under contract
for the District of Columbia or a territory, to such District or to such territory), for liquidated
damages. Such liquidated damages shall be computed with respect to each individual
laborer or mechanic, including watchmen and guards, employed in violation of the clause set
forth in paragraph (b)(1) of this section, in the sum of $29 for each calendar day on which
such individual was required or permitted to work in excess of the standard workweek of
forty hours without payment of the overtime wages required by the clause set forth in
paragraph (b)(1) of this section.
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(3) Withholding for unpaid wages and liquidated damages. The sub recipient shall upon the
request of the EPA Award Official or an authorized representative of the DOL, withhold or
cause to be withheld, from any moneys payable on account of work performed by the
contractor or subcontractor under any such contract or any other Federal contract with the
same prime contractor, or any other federally-assisted contract subject to the Contract Work
Hours and Safety Standards Act, which is held by the same prime contractor, such sums as
may be determined to be necessary to satisfy any liabilities of such contractor or
subcontractor for unpaid wages and liquidated damages as provided in the clause set forth
in paragraph (a)(2) of this section.
(4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the
clauses set forth in paragraph (a)(1) through (4) of this section and also a clause requiring
the subcontractors to include these clauses in any lower tier subcontracts. The prime
contractor shall be responsible for compliance by any subcontractor or lower tier
subcontractor with the clauses set forth in paragraphs (a)(1) through (4) of this section.
(b) In addition to the clauses contained in Item 3, above, in any contract subject only to the
Contract Work Hours and Safety Standards Act and not to any of the other statutes cited in
29 CFR 5.1, the Sub recipient shall insert a clause requiring that the contractor or
subcontractor shall maintain payrolls and basic payroll records during the course of the work
and shall preserve them for a period of three years from the completion of the contract for all
laborers and mechanics, including guards and watchmen, working on the contract. Such
records shall contain the name and address of each such employee, social security number,
correct classifications, hourly rates of wages paid, daily and weekly number of hours worked,
deductions made, and actual wages paid. Further, the Sub recipient shall insert in any such
contract a clause providing that the records to be maintained under this paragraph shall be
made available by the contractor or subcontractor for inspection, copying, or transcription by
authorized representatives of the EPA and the DOL, and the contractor or subcontractor will
permit such representatives to interview employees during working hours on the job.
5. Compliance Verification
(a) The sub recipient shall periodically interview a sufficient number of employees entitled to
DB prevailing wages (covered employees) to verify that contractors or subcontractors are
paying the appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be
conducted in confidence. The sub recipient must use Standard Form 1445 (SF 1445) or
equivalent documentation to memorialize the interviews. Copies of the SF 1445 are
available from EPA on request.
(b) The sub recipient shall establish and follow an interview schedule based on its
assessment of the risks of noncompliance with DB posed by contractors or subcontractors
and the duration of the contract or subcontract. Sub recipients must conduct more frequent
interviews if the initial interviews or other information indicated that there is a risk that the
contractor or subcontractor is not complying with DB. Sub recipients shall immediately
conduct interviews in response to an alleged violation of the prevailing wage requirements.
All interviews shall be conducted in confidence.
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(c) The sub recipient shall periodically conduct spot checks of a representative sample of
weekly payroll data to verify that contractors or subcontractors are paying the appropriate
wage rates. The sub recipient shall establish and follow a spot check schedule based on its
assessment of the risks of noncompliance with DB posed by contractors or subcontractors
and the duration of the contract or subcontract. At a minimum, if practicable the sub
recipient should spot check payroll data within two weeks of each contractor or
subcontractor’s submission of its initial payroll data and two weeks prior to the completion
date the contract or subcontract. Sub recipients must conduct more frequent spot checks if
the initial spot check or other information indicates that there is a risk that the contractor or
subcontractor is not complying with DB. In addition, during the examinations the sub
recipient shall verify evidence of fringe benefit plans and payments there under by
contractors and subcontractors who claim credit for fringe benefit contributions.
(d) The sub recipient shall periodically review contractors and subcontractors use of
apprentices and trainees to verify registration and certification with respect to apprenticeship
and training programs approved by either the U.S DOL or a state, as appropriate, and that
contractors and subcontractors are not using disproportionate numbers of, laborers, trainees
and apprentices. These reviews shall be conducted in accordance with the schedules for
spot checks and interviews described in Item 5(b) and (c) above.
(e) Sub recipients must immediately report potential violations of the DB prevailing wage
requirements to the EPA DB contact listed above and to the appropriate DOL Wage and
Hour District Office listed at https://www.dol.gov/agencies/whd/contact/local-offices.
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                                                     EPA Funding Information
              FUNDS                                  FORMER AWARD                                THIS ACTION                         AMENDED TOTAL
EPA Amount This Action                                                 $0                        $ 239,745,000                            $ 239,745,000
EPA In-Kind Amount                                                     $0                                    $0                                     $0
Unexpended Prior Year Balance                                          $0                                    $0                                     $0
Other Federal Funds                                                    $0                                    $0                                     $0
Recipient Contribution                                                 $0                                    $0                                     $0
State Contribution                                                     $0                                    $0                                     $0
Local Contribution                                                     $0                                    $0                                     $0
Other Contribution                                                     $0                                    $0                                     $0
Allowable Project Cost                                                 $0                        $ 239,745,000                            $ 239,745,000



Assistance Program (CFDA)                       Statutory Authority                                   Regulatory Authority
66.468 - Drinking Water State Revolving Fund    Safe Drinking Water Act: Sec. 1452 & Infrastructure   2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR
                                                Investment and Jobs Act (IIJA) (PL 117-58)            35 Subpart L




                                                                        Fiscal
                                                       Approp.          Budget                   Object                      Cost         Obligation /
          Site Name                 Req No      FY                                     PRC                 Site/Project
                                                        Code          Organization               Class                    Organization    Deobligation
-                                2405PWX028    23     E3SD            05P1           000B81X71   4109     23DA            -               $ 230,177,000
-                                2405PWX028    22     E3SD            05P1           000B81X71   4109     22DA            -                 $ 9,568,000
                                                                                                                                          $ 239,745,000
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Budget Summary Page
                                       Table A - Object Class Category                             Total Approved Allowable
                                             (Non-Construction)                                       Budget Period Cost
 1. Personnel                                                                                                                     $0
 2. Fringe Benefits                                                                                                               $0
 3. Travel                                                                                                                        $0
 4. Equipment                                                                                                                     $0
 5. Supplies                                                                                                                      $0
 6. Contractual                                                                                                                   $0
 7. Construction                                                                                                                  $0
 8. Other                                                                                                              $ 239,745,000
 9. Total Direct Charges                                                                                               $ 239,745,000
 10. Indirect Costs: 0.00 % Base                                                                                                  $0
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                              $ 239,745,000
 12. Total Approved Assistance Amount                                                                                  $ 239,745,000
 13. Program Income                                                                                                               $0
 14. Total EPA Amount Awarded This Action                                                                              $ 239,745,000
 15. Total EPA Amount Awarded To Date                                                                                  $ 239,745,000
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                                  Attachment 1 - Project Description
This agreement provides funding to Illinois Environmental Protection Agency Safe Drinking Water Act
(SDWA): Section 1452 and Infrastructure Investment and Jobs Act (IIJA) PL 117-58 authorizes the state
to utilize funds to further the health protection objectives of SDWA. This agreement will provide funds to
capitalize the recipient’s DWSRF with an emphasis on lead service line replacement and associated
activities directly connected to the identification, planning, design, and replacement of lead service lines.
As part of this agreement, the state ensures compliance with federal and state regulations, which are
designed to protect public health.The state has submitted an Intended Use Plan (IUP) as part of the
application package for this capitalization grant. This agreement will provide funds to capitalize the
recipient’s DWSRF with an emphasis on lead service line replacement and associated activities directly
connected to the identification, planning, design, and replacement of lead service lines. This IUP
contains a list of the capital projects that may receive funding from this grant and a description of the
eligible activities funded by the set-asides.

The benefits of this grant will be to capitalize the recipient’s DWSRF with an emphasis on lead service
line replacement and associated activities directly connected to the identification, planning, design, and
replacement of lead service lines. The fund can be used to develop or update lead service line
inventories and provide technical assistance to small water systems undertaking lead service line
inventories or construction projects. These public health benefits will be statewide.

The Drinking Water State Revolving Fund Program is exempt from 2 CFR 200.332 subrecipient
monitoring requirements as provided in 2 CFR 1500. The program is providing $239,745,000 in the form
of loans.
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                                   Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available
at: https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2023-or-
later.

These terms and conditions are in addition to the assurances and certifications made as a part of
the award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.
epa.gov/grants/grant-terms-and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be
sent to the following email addresses:

       Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and young.robert@epa.gov
       MBE/WBE reports (EPA Form 5700-52A): region5closeouts@epa.gov and Robert Young
       at young.robert@epa.gov
       All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for
       Extensions of the Budget and Project Period, Amendment Requests, Requests for other
       Prior Approvals, updates to recipient information (including email addresses, changes in
       contact information or changes in authorized representatives) and other notifications:
       Isaiah Sattlefield at Sattlefield.Isaiah@epa.gov and Robert Young at young.robert@epa.
       gov
       Payment requests (if applicable): Isaiah Sattlefield at Sattlefield.Isaiah@epa.gov
       Quality Assurance documents, workplan revisions, equipment lists, programmatic reports
       and deliverables: Isaiah Sattlefield at Sattlefield.Isaiah@epa.gov

B. Pre-award Costs

In accordance with 2 CFR 1500.9, the grantee may charge pre-award costs (both Federal and
non-Federal matching shares) incurred from 7/1/24 to the actual award date provided that such
costs were contained in the approved application and all costs are incurred within the approved
budget period.
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                                      Programmatic Conditions
   FFY 2023 BIL/IIJA DWSRF Lead Service Line Replacement Programmatic Terms and Conditions



A. Payment Schedule

The recipient agrees to accept grant funds that will be released by EPA utilizing the ASAP payment
method. Access to these funds will be in accordance with the following schedule:

B. Intended Use Plan and Operating Agreement

The entire contents of the Bipartisan Infrastructure Law (BIL)/Infrastructure Investment and Jobs Act
(IIJA) Lead Service Line Replacement SFY 2023 Intended Use Plan (IUP) and (if applicable) the
Operating Agreement (OA) are incorporated hereto by reference and made a part of this Assistance
Agreement. For a project or activity to be eligible for funding under this appropriation, it must be
otherwise be eligible under the Drinking Water State Revolving Fund (DWSRF) program and be a lead
service line replacement (LSLR) project or associated activity directly connected to the identification,
planning, design, and replacement of lead service lines.

C. Amended Cash Draw Proportionality

As of November 18, 2022, recipients are no longer required to comply with the cash draw rules in the
Clean Water State Revolving Fund (CWSRF) regulations at 40 CFR 35.3155(d)(5)(i) and (ii) and 40 CFR
35.3160(b)(2)-(4) and Drinking Water State Revolving Fund (DWSRF) regulations at 40 CFR 35.3560(f)
and (g) and 40 CFR 35.3565(b). For further details on this change, see the linked notification memo from
Division Directors Raffael Stein and Anita Maria Thompkins dated November 30, 2022.

D. Set-Aside Work Plan

The recipient agrees to perform the activities identified and specified in the work program plan, which is
made part of this Assistance Agreement. Set-asides under this appropriation must be used to either
administer this capitalization grant or meet the statutory purpose of these funds: “for lead service line

replacement projects and associated activities directly connected to the identification, planning, design,
and replacement of lead service lines.”

E. Set-Aside Sub-Grants and Contracts

The recipient shall provide or make available to the Region 5 Project Officer copies of the work plans
associated with grants and contracts that it may enter into with other agencies and organizations related
to activities conducted under this grant.

F. Travel

EPA approves the use of Federal funds for travel budgeted in capitalization grants for implementing the
Drinking Water SRF (DWSRF) program. The recipient agrees to use Federal funds to participate in
training and professional development activities integral to the effective implementation and management
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of the DWSRF program.

G. SRF Data System and Public Health Benefits Reporting

The recipient agrees to input data, as required by EPA, into the SRF Data System. The recipient of
funds for the SRF BIL, also known as the IIJA, 2021, P.L. 117-58, agrees to comply with all requests for
data related to the use of the funds under Section 1452 of the Safe Drinking Water Act (SDWA), and to
report all uses of the funds no less than quarterly, as the Environmental Protection Agency specifies for
the SRF Data System. This reporting shall include but not be limited to data with respect to compliance
with the DWSRF discretionary Green Project Reserve and additional subsidization requirements as
specified in P.L. 117-328 (the Consolidated Appropriations Act, 2023), and P.L. 117-58, respectively.
EPA agrees to provide technical assistance to the State in its use of the SRF Data System.

H. Annual Reporting

In accordance with 2 CFR 200.328 and 40 CFR 35.3570, the recipient agrees to provide in its
Biennial/Annual Report information regarding key project characteristics, milestones, and
environmental/public health protection results in the following areas: 1) achievement of the outputs and
outcomes established in the IUP; 2) the reasons for delays if established outputs or outcomes were not
met; 3) any additional pertinent information on environmental/public health results; 4) compliance with
the Green Project Reserve discretionary requirement; and 5) use of additional subsidization.

I. Set-Aside Reporting

The recipient agrees to perform the activities identified and specified in the Set-Aside Work Plan, which is made part of this Assistance
Agreement. The recipient shall provide or make available to the Region 5 Project Officer copies of the work plans associated with grants
and contracts that it may enter into with other agencies and organizations related to activities conducted under this grant. The recipient
agrees to provide to the Region 5 Project Officer an annual report on the set-aside activities funded under this grant. In its annual report, the
grant recipient shall include a summary description of activities completed under grants and contracts entered into with funds made
available under the grant. These annual set-aside reports shall be provided with the SRF Annual Report of each year the grant is in effect.


J. Program Income from Administrative Fees

The recipient agrees to maintain program income resulting from program operations generated during
the project period (e.g., administrative fees collected from DWSRF project loan recipients) in an account
separate from the DWSRF project loan fund. In addition, the recipient agrees that such program income
shall be used only for purposes related to the administration of the DWSRF program or other purposes
authorized pursuant to EPA regulations.

K. SIGNAGE REQUIRED

1. Signage Requirements

          a. Investing in America Emblem: The recipient will ensure that a sign is placed at construction
          sites supported in whole or in part by this award displaying the official Investing in America
          emblem and must identify the project as a “project funded by President Biden's Bipartisan
          Infrastructure Law” or “project funded by President Biden's Inflation Reduction Act” as applicable.
          The sign must be placed at construction sites in an easily visible location that can be directly
          linked to the work taking place and must be maintained in good condition throughout the
          construction period.
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          The recipient will ensure compliance with the guidelines and design specifications provided by
          EPA for using the official Investing in America emblem available at: https://www.epa.
          gov/invest/investing-america-signage.

          b. Procuring Signs: Consistent with section 6002 of RCRA, 42 U.S.C. 6962, and 2 CFR 200.323,
          recipients are encouraged to use recycled or recovered materials when procuring signs. Signage
          costs are considered an allowable cost under this assistance agreement provided that the costs
          associated with signage are reasonable. Additionally, to increase public awareness of projects
          serving communities where English is not the predominant language, recipients are encouraged
          to translate the language on signs (excluding the official Investing in America emblem or EPA
          logo or seal) into the appropriate non-English language(s). The costs of such translation are
          allowable, provided the costs are reasonable.

2. Public or Media Events

EPA encourages the recipient to notify the EPA Project Officer listed in this award document of public or
media events publicizing the accomplishment of significant events related to construction projects as a
result of this agreement and provide the opportunity for attendance and participation by federal
representatives with at least ten (10) working days' notice.

L. Additional Subsidization

The recipient agrees to use 49 percent of the funds made available in the capitalization grant to provide
additional subsidy to disadvantaged communities as described in section 1452(d) of the Safe Drinking
Water Act (SDWA) in the form of forgiveness of principal or grants (or any combination of these), which
shall be used only where such funds are provided as initial financing for an eligible recipient or to buy,
refinance, or restructure the debt obligations of eligible recipients only where such debt was incurred
after November 15, 2021.

M. Lead Service Line Replacement

The following terms and conditions apply to all assistance agreements signed on or after August 1, 2024 involving lead service line
replacement. At the discretion of State DWSRF programs these requirements may be applied to assistance agreements signed prior to this
effective date.

(a) Stand-alone Lead Service Line Replacement

(1) The recipient agrees to ensure that stand-alone LSLR projects funded either in whole or in part under this capitalization grant must
replace the entire lead service line, not just a portion, unless a portion has already been replaced or is concurrently being replaced with
another funding source.

(2) The recipient agrees the time between starting and completing full LSLR for individual service lines should be as short as possible and
should not exceed three months.

(b) Lead Service Line Replacement Performed in Conjunction with Planned Infrastructure Projects

(1) While full LSLR is the desired outcome of all DWSRF assistance for LSLR, the logistics involved with coordinating LSLR with planned
infrastructure projects may dictate that partial replacement of a service line is necessary if disturbance to the service line is unavoidable and
the water system cannot gain access to conduct a full lead service line replacement (e.g., a customer refuses to allow replacement of the
customer-owned portion of the service line). In the event a water system cannot gain access to conduct full LSLR because of a customer
refusal, borrowers receiving assistance under the DWSRF assistance agreement may conduct partial LSLR in conjunction with planned
infrastructure work. For the purposes of oversight and confirming eligibility, state programs must require borrowers to document customer
refusals, which could consist of any of the following: a refusal signed by the customer, documentation of a verbal statement refusing
replacement, or documentation of no response after multiple attempts to reach the customer regarding full LSLR. State programs must
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record the number of partial replacements and the methods for documenting customer refusals in the SRF data system. Even if these
requirements for conducting partial LSLR in conjunction with planned infrastructure projects are satisfied, a state, in its discretion, can still
choose to fund only full LSLR.

(c) Lead Service Line Replacement Performed in Conjunction with Emergency Infrastructure Repair or Replacement

(1) Under emergency circumstances, a PWS may use DWSRF funding to pay for partial LSLR if full replacement is not possible due to
customer refusal. For the purposes of oversight and confirming eligibility, state programs must require borrowers to document customer
refusals in a manner determined by the state. Best practices consist of any of the following: a refusal signed by the customer,
documentation of a verbal statement refusing replacement, or documentation of no response after multiple attempts to reach the customer
regarding full LSLR. State programs must record the number of partial replacements and the methods for documenting customer refusals in
the SRF data system. Even if these requirements for conducting partial LSLR in emergency circumstances are satisfied, a state, in its
discretion, can still choose to fund only full LSLR.


N. Green Project Reserve

The recipient agrees that the funds provided by this capitalization grant may, at the discretion of the
recipient, be used for projects to address green infrastructure, water or energy efficiency improvements,
or other environmentally innovative activities.

O. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at www.fgdc.gov.

P. American Iron and Steel (AIS)

(a) Definitions. As used in this award term and condition—

          (1) “iron and steel products” mean the following products made primarily of iron or steel: lined or
          unlined pipes and fittings, manhole covers and other municipal castings, hydrants, tanks, flanges,
          pipe clamps and restraints, valves, structural steel, reinforced precast concrete, and construction
          materials.

          (2) “steel” means an alloy that includes at least 50 percent iron, between .02 and 2 percent
          carbon, and may include other elements.

(b) Domestic preference.

          (1) This award term and condition implements the Safe Drinking Water Act, section 1452(a)(4),
          by requiring that all iron and steel products used for a project for the construction, alteration,
          maintenance or repair of a public water system are produced in the United States except as
          provided in paragraph (b)(2) of this section and condition.

          (2) This requirement shall not apply in any case or category of cases in which the Administrator of
          the Environmental Protection Agency finds that—

                     (i) applying the requirement would be inconsistent with the public interest;

                     (ii) iron and steel products are not produced in the United States in sufficient and
                     reasonably available quantities and of a satisfactory quality; or
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               (iii) inclusion of iron and steel products produced in the United States will increase the
               cost of the overall project by more than 25 percent.

       (3) The Build America, Buy America (BABA) Act requirement does not supersede the AIS
       requirement, and both provisions still apply and work in conjunction.

(c) Request for a Waiver under (b)(2) of this section

       (1) Any recipient request to use foreign iron or steel products in accordance with paragraph (b)(2)
       of this section shall include adequate information for Federal Government evaluation of the
       request, including—

               (A) A description of the foreign and domestic iron, steel, and/or manufactured goods;

               (B) Unit of measure;

               (C) Quantity;

               (D) Cost;

               (E) Time of delivery or availability;

               (F) Location of the project;

               (G) Name and address of the proposed supplier; and

               (H) A detailed justification of the reason for use of foreign iron or steel products cited in
               accordance with paragraph (b)(2) of this section.

       (2) If the Administrator receives a request for a waiver under this section, the waiver request shall
       be made available to the public for at least 15 days prior to making a finding based on the
       request.

       (3) Unless the Administrator issues a waiver of this term, use of foreign iron and steel products is
       noncompliant with the Safe Drinking Water Act, section 1452(a)(4).

(d) This term and condition shall be applied in a manner consistent with United States obligations under
international agreements.

Q. State Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient's network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
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controlled connections such as website browsing are excluded from this definition.

If the recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to ensure
that the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by EPA's regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any sub-awards it makes under this agreement will require the subrecipient
to comply with the requirements in (b)(1) if the sub-recipient's network or information system is
connected to EPA networks to transfer data to the Agency using systems other than the Environmental
Information Exchange Network or EPA's Central Data Exchange. The recipient will be in compliance with
this condition: by including this requirement in sub-award agreements; and during subrecipient
monitoring deemed necessary by the recipient under 2 CFR 200.331(d), by inquiring whether the
subrecipient has contacted the EPA Project Officer. Nothing in this condition requires the recipient to
contact the EPA Project Officer on behalf of a subrecipient or to be involved in the negotiation of an
Interconnection Service Agreement between the subrecipient and EPA.

R. Internal Controls for Financial Transactions

The recipient agrees to use procedures consistent with “zero-trust” (never trust, always verify) for all
financial transactions with SRF funds. These procedures must include verbal verification with a trusted
recipient representative of all financial account information both initially and prior to any changes in
financial account information.

S. Wage Rate Requirements

The recipient agrees to include in all agreements to provide assistance for any construction project
carried out in whole or in part with such assistance made available by a drinking water revolving loan
fund as authorized by Section 1452 of the Safe Drinking Water Act (42 U.S.C. 300j-12), a term and
condition requiring compliance with the requirements of Section 1450(e) of the Safe Drinking Water Act
(42 U.S.C.300j-9(e)) in all procurement contracts and sub-grants, and require that loan recipients,
procurement contractors and sub-grantees include such a term and condition in subcontracts and other
lower tiered transactions. All contracts and subcontracts for any construction project carried out in whole
or in part with assistance made available as stated herein shall insert in full in any contract in excess of
$2,000 the contract clauses as attached hereto entitled “Wage Rate Requirements Under The Clean
Water Act, Section 513 and the Safe Drinking Water Act, Section 1450(e).” This term and condition
applies to all agreements to provide assistance under the authorities referenced herein, whether in the
form of a loan, bond purchase, grant, or any other vehicle to provide financing for a project, where such
agreements are executed on or after October 30, 2009.

Preamble

With respect to the DWSRF program, EPA provides capitalization grants to each State which in turn
provides sub grants or loans to eligible entities within the State. Typically, the sub recipients are
municipal or other local governmental entities that manage the funds. For these types of recipients, the
provisions set forth under Roman numeral I, below, shall apply. Although EPA and the State remain
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responsible for ensuring sub recipients' compliance with the wage rate requirements set forth herein,
those sub recipients shall have the primary responsibility to maintain payroll records as described in
Section I-3(ii)(A), below and for compliance as described in Section I-5.

Occasionally, the sub recipient may be a private for profit or not for profit entity. For these types of
recipients, the provisions set forth in Roman Numeral II, below, shall apply. Although EPA and the State
remain responsible for ensuring sub recipients' compliance with the wage rate requirements set forth
herein, those sub recipients shall have the primary responsibility to maintain payroll records as described
in Section II-3(ii)(A), below and for compliance as described in Section II-5.
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                                             ATTACHMENT 1

I. Requirements Under Section 1452(a)(5) of the Safe Drinking Water Act For Sub recipients That Are
Governmental Entities:

The following terms and conditions specify how recipients will assist EPA in meeting its Davis-Bacon
(DB) responsibilities when DB applies to EPA awards of financial assistance with respect to State
recipients and sub recipients that are governmental entities. If a sub recipient has questions regarding
when DB applies, obtaining the correct DB wage determinations, DB provisions, or compliance
monitoring, it may contact the State recipient. If a State recipient needs guidance, the recipient may
contact EPA's Office of Grants and Debarment for guidance at EPA_Grants_Info@epa.gov. The
recipient or sub recipient may also obtain additional guidance from U.S. Department of Labor's (DOL)
website at http://www.dol.gov/whd/

1. Applicability of the DB prevailing wage requirements.

DB prevailing wage requirements apply to the construction, alteration, and repair of treatment works
carried out in whole or in part with assistance made available by a State water pollution control revolving
fund and to any construction project carried out in whole or in part by assistance made available by a
drinking water treatment revolving loan fund. If a sub recipient encounters a unique situation at a site that
presents uncertainties regarding DB applicability, the sub recipient must discuss the situation with the
recipient State before authorizing work on that site.

2. Obtaining Wage Determinations.

(a) Sub recipients shall obtain the wage determination for the locality in which a covered activity subject
to DB will take place prior to issuing requests for bids, proposals, quotes or other methods for soliciting
contracts (solicitation) for activities subject to DB. These wage determinations shall be incorporated into
solicitations and any subsequent contracts. Prime contracts must contain a provision requiring that
subcontractors follow the wage determination incorporated into the prime contract.

       (i) While the solicitation remains open, the sub recipient shall monitor https://sam.gov/ weekly to
       ensure that the wage determination contained in the solicitation remains current. The sub
       recipients shall amend the solicitation if DOL issues a modification more than 10 days prior to the
       closing date (i.e. bid opening) for the solicitation. If DOL modifies or supersedes the applicable
       wage determination less than 10 days prior to the closing date, the sub recipients may request a
       finding from the State recipient that there is not a reasonable time to notify interested contractors
       of the modification of the wage determination. The State recipient will provide a report of its
       findings to the sub recipient.

       (ii) If the sub recipient does not award the contract within 90 days of the closure of the solicitation,
       any modifications or supersedes DOL makes to the wage determination contained in the
       solicitation shall be effective unless the State recipient, at the request of the sub recipient, obtains
       an extension of the 90-day period from DOL pursuant to 29 CFR 1.6(c)(3)(iv). The sub recipient
       shall monitor https://sam.gov/ on a weekly basis if it does not award the contract within 90 days of
       closure of the solicitation to ensure that wage determinations contained in the solicitation remain
       current.
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(b) If the sub recipient carries out activity subject to DB by issuing a task order, work assignment or
similar instrument to an existing contractor (ordering instrument) rather than by publishing a solicitation,
the sub recipient shall insert the appropriate DOL wage determination from https://sam.gov/ into the
ordering
instrument.
(c) Sub recipients shall review all subcontracts subject to DB entered into by prime contractors to verify
that the prime contractor has required its subcontractors to include the applicable wage determinations.

(d) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to a sub
recipient's contract after the award of a contract or the issuance of an ordering instrument if DOL
determines that the sub recipient has failed to incorporate a wage determination or has used a wage
determination that clearly does not apply to the contract or ordering instrument. If this occurs, the sub
recipient shall either terminate the contract or ordering instrument and issue a revised solicitation or
ordering instrument or incorporate DOL's wage determination retroactive to the beginning of the contract
or ordering instrument by change order. The sub recipient's contractor must be compensated for any
increases in wages resulting from the use of DOL's revised wage determination.

3. Contract and Subcontract provisions.

(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in excess of
$2,000 which is entered into for the actual construction, alteration and/or repair, including painting and
decorating, of a treatment work under the CWSRF or a construction project carried out in whole or in part
with assistance made available by the DWSRF, and which is subject to the labor standards provisions of
any of the acts listed in § 5.1 or the Safe Drinking Water Act, Section 1452(a)(5), the following clauses:

(1) Minimum wages.

       (i) All laborers and mechanics employed or working upon the site of the work will be paid
       unconditionally and not less often than once a week, and without subsequent deduction or rebate
       on any account (except such payroll deductions as are permitted by regulations issued by the
       Secretary of Labor under the Copeland Act (29 CFR part 3)), the full amount of wages and bona
       fide fringe benefits (or cash equivalents thereof) due at time of payment computed at rates not
       less than those contained in the wage determination of the Secretary of Labor which is attached
       hereto and made a part hereof, regardless of any contractual relationship which may be alleged
       to exist between the contractor and such laborers and mechanics.

       Contributions made or costs reasonably anticipated for bona fide fringe benefits under section 1
       (b)(2) of the DB Act on behalf of laborers or mechanics are considered wages paid to such
       laborers or mechanics, subject to the provisions of paragraph (a)(1)(iv) of this section; also,
       regular contributions made or costs incurred for more than a weekly period (but not less often
       than quarterly) under plans, funds, or programs which cover the particular weekly period, are
       deemed to be constructively made or incurred during such weekly period. Such laborers and
       mechanics shall be paid the appropriate wage rate and fringe benefits on the wage determination
       for the classification of work actually performed, without regard to skill, except as provided in §
       5.5(a)(4). Laborers or mechanics performing work in more than one classification may be
       compensated at the rate specified for each classification for the time actually worked therein:
       Provided that the employer's payroll records accurately set forth the time spent in each
       classification in which work is performed. The wage determination (including any additional
       classification and wage rates conformed under paragraph (a)(1)(ii) of this section) and the DB
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poster (WH-1321) shall be posted at all times by the contractor and its subcontractors at the site
of the work in a prominent and accessible place where it can be easily seen by the workers.

Sub recipients may obtain wage determinations from DOL's website, https://sam.gov/.

(ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or
mechanics, including helpers, which is not listed in the wage determination and which is to be
employed under the contract shall be classified in conformance with the wage determination. The
State award official shall approve a request for an additional classification and wage rate and
fringe benefits therefore only when the following criteria have been met:

       (1) The work to be performed by the classification requested is not performed by a
       classification in the wage determination; and

       (2) The classification is utilized in the area by the construction industry; and

       (3) The proposed wage rate, including any bona fide fringe benefits, bears a reasonable
       relationship to the wage rates contained in the wage determination.

(B) If the contractor and the laborers and mechanics to be employed in the classification (if
known), or their representatives, and the sub recipient(s) agree on the classification and wage
rate (including the amount designated for fringe benefits where appropriate), documentation of
the action taken and the request, including the local wage determination shall be sent by the sub
recipient (s) to the State award official. The State award official will transmit a completed
conformance request form (SF-1444 or similar) and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will approve, modify, or
disapprove every additional classification request within 30 days of receipt and so advise the
State award official or will notify the State award official within the 30-day period that additional
time is necessary.

(C) In the event the contractor, the laborers or mechanics to be employed in the classification or
their representatives, and the sub recipient(s) do not agree on the proposed classification and
wage rate (including the amount designated for fringe benefits, where appropriate),
documentation of the action taken and the request, including the local wage determination shall
be sent by the sub recipient (s) to the State award official. The State award official will transmit a
completed conformance request form (SF-1444 or similar) which indicates the State award
official's disagreement and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will issue a determination
within 30 days of receipt of the request and so advise the contracting officer or will notify the
contracting officer within the 30-day period that additional time is necessary.

(D) The wage rate (including fringe benefits where appropriate) determined pursuant to
paragraphs (a)(1)(ii)(B) or (C) of this section, shall be paid to all workers performing work in the
classification under this contract from the first day on which work is performed in the
classification.

(iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers or
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       mechanics includes a fringe benefit which is not expressed as an hourly rate, the contractor shall
       either pay the benefit as stated in the wage determination or shall pay another bona fide fringe
       benefit or an hourly cash equivalent thereof.

       (iv) If the contractor does not make payments to a trustee or other third person, the contractor
       may consider as part of the wages of any laborer or mechanic the amount of any costs
       reasonably anticipated in providing bona fide fringe benefits under a plan or program, Provided,
       That the Secretary of Labor has found, upon the written request of the contractor, that the
       applicable standards of the DB Act have been met. The Secretary of Labor may require the
       contractor to set aside assets in a separate account for the meeting of obligations under the plan
       or program.

(2) Withholding. The sub recipient(s), shall upon written request of the EPA Award Official or an
authorized representative of the DOL, withhold or cause to be withheld from the contractor under this
contract or any other Federal contract with the same prime contractor, or any other federally-assisted
contract subject to DB prevailing wage requirements, which is held by the same prime contractor, so
much of the accrued payments or advances as may be considered necessary to pay laborers and
mechanics, including apprentices, trainees, and helpers, employed by the contractor or any
subcontractor the full amount of wages required by the contract. In the event of failure to pay any laborer
or mechanic, including any apprentice, trainee, or helper, employed or working on the site of the work, all
or part of the wages required by the contract, the EPA may, after written notice to the contractor,
sponsor, applicant, or owner, take such action as may be necessary to cause the suspension of any
further payment, advance, or guarantee of funds until such violations have ceased.

(3) Payrolls and basic records.

       (i) Payrolls and basic records relating thereto shall be maintained by the contractor during the
       course of the work and preserved for a period of three years thereafter for all laborers and
       mechanics working at the site of the work. Such records shall contain the name, address, and
       social security number of each such worker, his or her correct classification, hourly rates of
       wages paid (including rates of contributions or costs anticipated for bona fide fringe benefits or
       cash equivalents thereof of the types described in section 1(b)(2)(B) of the DB Act), daily and
       weekly number of hours worked, deductions made and actual wages paid. Whenever the
       Secretary of Labor has found under 29 CFR 5.5(a)(1)(iv) that the wages of any laborer or
       mechanic include the amount of any costs reasonably anticipated in providing benefits under a
       plan or program described in section 1(b)(2)(B) of the DB Act, the contractor shall maintain
       records which show that the commitment to provide such benefits is enforceable, that the plan or
       program is financially responsible, and that the plan or program has been communicated in
       writing to the laborers or mechanics affected, and records which show the costs anticipated or the
       actual cost incurred in providing such benefits. Contractors employing apprentices or trainees
       under approved programs shall maintain written evidence of the registration of apprenticeship
       programs and certification of trainee programs, the registration of the apprentices and trainees,
       and the ratios and wage rates prescribed in the applicable programs.

       (ii)(A) The contractor shall submit weekly, for each week in which any contract work is performed,
       a copy of all payrolls to the sub recipient, that is, the entity that receives the sub-grant or loan
       from the State capitalization grant recipient. Such documentation shall be available on request of
       the State recipient or EPA. As to each payroll copy received, the sub recipient shall provide
       written confirmation in a form satisfactory to the State indicating whether or not the project is in
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compliance with the requirements of 29 CFR 5.5(a)(1) based on the most recent payroll copies
for the specified week. The payrolls shall set out accurately and completely all of the information
required to be maintained under 29 CFR 5.5(a)(3)(i), except that full social security numbers and
home addresses shall not be included on the weekly payrolls. Instead, the payrolls shall only
need to include an individually identifying number for each employee (e.g., the last four digits of
the employee's social security number). The required weekly payroll information may be
submitted in any form desired. Optional Form WH-347 is available for this purpose from the
Wage and Hour Division website at http://www.dol.gov/whd/forms/wh347instr.htm or its
successor site.

The prime contractor is responsible for the submission of copies of payrolls by all subcontractors.
Contractors and subcontractors shall maintain the full social security number and current address
of each covered worker and shall provide them upon request to the sub recipient(s) for
transmission to the State or EPA if requested by EPA, the State, the contractor, or the Wage and
Hour Division of the DOL for purposes of an investigation or audit of compliance with prevailing
wage requirements. It is not a violation of this section for a prime contractor to require a
subcontractor to provide addresses and social security numbers to the prime contractor for its
own records, without weekly submission to the sub recipient(s).

(B) Each payroll submitted shall be accompanied by a “Statement of Compliance,” signed by the
contractor or subcontractor or his or her agent who pays or supervises the payment of the
persons employed under the contract and shall certify the following:

       (1) That the payroll for the payroll period contains the information required to be provided
       under § 5.5 (a)(3)(ii) of Regulations, 29 CFR part 5, the appropriate information is being
       maintained under § 5.5 (a)(3)(i) of Regulations, 29 CFR part 5, and that such information
       is correct and complete;

       (2) That each laborer or mechanic (including each helper, apprentice, and trainee)
       employed on the contract during the payroll period has been paid the full weekly wages
       earned, without rebate, either directly or indirectly, and that no deductions have been
       made either directly or indirectly from the full wages earned, other than permissible
       deductions as set forth in Regulations, 29 CFR part 3;

       (3) That each laborer or mechanic has been paid not less than the applicable wage rates
       and fringe benefits or cash equivalents for the classification of work performed, as
       specified in the applicable wage determination incorporated into the contract.

(C) The weekly submission of a properly executed certification set forth on the reverse side of
Optional Form WH-347 shall satisfy the requirement for submission of the “Statement of
Compliance” required by paragraph (a)(3)(ii)(B) of this section.

(D) The falsification of any of the above certifications may subject the contractor or subcontractor
to civil or criminal prosecution under section 1001 of title 18 and section 231 of title 31 of the
United States Code.

(iii) The contractor or subcontractor shall make the records required under paragraph (a)(3)(i) of
this section available for inspection, copying, or transcription by authorized representatives of the
State, EPA or the DOL, and shall permit such representatives to interview employees during
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       working hours on the job. If the contractor or subcontractor fails to submit the required records or
       to make them available, the EPA or State may, after written notice to the contractor, sponsor,
       applicant, or owner, take such action as may be necessary to cause the suspension of any
       further payment, advance, or guarantee of funds. Furthermore, failure to submit the required
       records upon request or to make such records available may be grounds for debarment action
       pursuant to 29 CFR 5.12.

(4) Apprentices and trainees

       (i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate for the
       work they performed when they are employed pursuant to and individually registered in a bona
       fide apprenticeship program registered with the DOL, Employment and Training Administration,
       Office of Apprenticeship Training, Employer and Labor Services, or with a State Apprenticeship
       Agency recognized by the Office, or if a person is employed in his or her first 90 days of
       probationary employment as an apprentice in such an apprenticeship program, who is not
       individually registered in the program, but who has been certified by the Office of Apprenticeship
       Training, Employer and Labor Services or a State Apprenticeship Agency (where appropriate) to
       be eligible for probationary employment as an apprentice. The allowable ratio of apprentices to
       journeymen on the job site in any craft classification shall not be greater than the ratio permitted
       to the contractor as to the entire work force under the registered program. Any worker listed on a
       payroll at an apprentice wage rate, who is not registered or otherwise employed as stated above,
       shall be paid not less than the applicable wage rate on the wage determination for the
       classification of work actually performed. In addition, any apprentice performing work on the job
       site in excess of the ratio permitted under the registered program shall be paid not less than the
       applicable wage rate on the wage determination for the work actually performed. Where a
       contractor is performing construction on a project in a locality other than that in which its program
       is registered, the ratios and wage rates (expressed in percentages of the journeyman's hourly
       rate) specified in the contractor's or subcontractor's registered program shall be observed. Every
       apprentice must be paid at not less than the rate specified in the registered program for the
       apprentice's level of progress, expressed as a percentage of the journeymen hourly rate specified
       in the applicable wage determination. Apprentices shall be paid fringe benefits in accordance with
       the provisions of the apprenticeship program. If the apprenticeship program does not specify
       fringe benefits, apprentices must be paid the full amount of fringe benefits listed on the wage
       determination for the applicable classification. If the Administrator determines that a different
       practice prevails for the applicable apprentice classification, fringes shall be paid in accordance
       with that determination. In the event the Office of Apprenticeship Training, Employer and Labor
       Services, or a State Apprenticeship Agency recognized by the Office, withdraws approval of an
       apprenticeship program, the contractor will no longer be permitted to utilize apprentices at less
       than the applicable predetermined rate for the work performed until an acceptable program is
       approved.

       (ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at less
       than the predetermined rate for the work performed unless they are employed pursuant to and
       individually registered in a program which has received prior approval, evidenced by formal
       certification by the DOL, Employment and Training Administration. The ratio of trainees to
       journeymen on the job site shall not be greater than permitted under the plan approved by the
       Employment and Training Administration. Every trainee must be paid at not less than the rate
       specified in the approved program for the trainee's level of progress, expressed as a percentage
       of the journeyman hourly rate specified in the applicable wage determination. Trainees shall be
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        paid fringe benefits in accordance with the provisions of the trainee program. If the trainee
        program does not mention fringe benefits, trainees shall be paid the full amount of fringe benefits
        listed on the wage determination unless the Administrator of the Wage and Hour Division
        determines that there is an apprenticeship program associated with the corresponding
        journeyman wage rate on the wage determination which provides for less than full fringe benefits
        for apprentices. Any employee listed on the payroll at a trainee rate who is not registered and
        participating in a training plan approved by the Employment and Training Administration shall be
        paid not less than the applicable wage rate on the wage determination for the classification of
        work actually performed. In addition, any trainee performing work on the job site in excess of the
        ratio permitted under the registered program shall be paid not less than the applicable wage rate
        on the wage determination for the work actually performed. In the event the Employment and
        Training Administration withdraws approval of a training program, the contractor will no longer be
        permitted to utilize trainees at less than the applicable predetermined rate for the work performed
        until an acceptable program is approved.

        (iii) Equal employment opportunity. The utilization of apprentices, trainees and journeymen under
        this part shall be in conformity with the equal employment opportunity requirements of Executive
        Order 11246, as amended and 29 CFR part 30.

(5) Compliance with Copeland Act requirements. The contractor shall comply with the requirements of 29
CFR part 3, which are incorporated by reference in this contract.

(6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses contained
in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA determines may by appropriate, and
also a clause requiring the subcontractors to include these clauses in any lower tier subcontracts. The
prime contractor shall be responsible for the compliance by any subcontractor or lower tier subcontractor
with all the contract clauses in 29 CFR 5.5.

(7) Contract termination; debarment. A breach of the contract clauses in 29 CFR 5.5 may be grounds for
termination of the contract, and for debarment as a contractor and a subcontractor as provided in 29
CFR 5.12.

(8) Compliance with DB and Related Act requirements. All rulings and interpretations of the DB and
Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by reference in this contract.

(9) Disputes concerning labor standards. Disputes arising out of the labor standards provisions of this
contract shall not be subject to the general disputes clause of this contract. Such disputes shall be
resolved in accordance with the procedures of the DOL set forth in 29 CFR parts 5, 6, and 7. Disputes
within the meaning of this clause include disputes between the contractor (or any of its subcontractors)
and sub recipient(s), State, EPA, DOL, or the employees or their representatives.

(10) Certification of eligibility.

        (i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor any
        person or firm who has an interest in the contractor's firm is a person or firm ineligible to be
        awarded Government contracts by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).

        (ii) No part of this contract shall be subcontracted to any person or firm ineligible for award of a
        Government contract by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).
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        (iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18 U.S.C.
        1001.

4. Contract Provision for Contracts in Excess of $100,000.

(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the following clauses
set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any contract in an amount in excess
of $100,000 and subject to the overtime provisions of the Contract Work Hours and Safety Standards
Act. These clauses shall be inserted in addition to the clauses required by Item 3, above or 29 CFR 4.6.
As used in this paragraph, the terms laborers and mechanics include watchmen and guards.

        (1) Overtime requirements. No contractor or subcontractor contracting for any part of the contract
        work which may require or involve the employment of laborers or mechanics shall require or
        permit any such laborer or mechanic in any workweek in which he or she is employed on such
        work to work in excess of forty hours in such workweek unless such laborer or mechanic receives
        compensation at a rate not less than one and one-half times the basic rate of pay for all hours
        worked in excess of forty hours in such workweek.

        (2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of the
        clause set forth in paragraph (a)(1) of this section the contractor and any subcontractor
        responsible therefore shall be liable for the unpaid wages. In addition, such contractor and
        subcontractor shall be liable to the United States (in the case of work done under contract for the
        District of Columbia or a territory, to such District or to such territory), for liquidated damages.
        Such liquidated damages shall be computed with respect to each individual laborer or mechanic,
        including watchmen and guards, employed in violation of the clause set forth in paragraph (a)(1)
        of this section, in the sum of $29 for each calendar day on which such individual was required or
        permitted to work in excess of the standard workweek of forty hours without payment of the
        overtime wages required by the clause set forth in paragraph (a)(1) of this section.

        (3) Withholding for unpaid wages and liquidated damages. The sub recipient, upon written
        request of the EPA Award Official or an authorized representative of the DOL, shall withhold or
        cause to be withheld, from any moneys payable on account of work performed by the contractor
        or subcontractor under any such contract or any other Federal contract with the same prime
        contractor, or any other federally-assisted contract subject to the Contract Work Hours and Safety
        Standards Act, which is held by the same prime contractor, such sums as may be determined to
        be necessary to satisfy any liabilities of such contractor or subcontractor for unpaid wages and
        liquidated damages as provided in the clause set forth in paragraph (a)(2) of this section.

        (4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses set
        forth in paragraph (a)(1) through (4) of this section and also a clause requiring the subcontractors
        to include these clauses in any lower tier subcontracts. The prime contractor shall be responsible
        for compliance by any subcontractor or lower tier subcontractor with the clauses set forth in
        paragraphs (a)(1) through (4) of this section.

(b) In addition to the clauses contained in Item 3, above, in any contract subject only to the Contract
Work Hours and Safety Standards Act and not to any of the other statutes cited in 29 CFR 5.1, the Sub
recipient shall insert a clause requiring that the contractor or subcontractor shall maintain payrolls and
basic payroll records during the course of the work and shall preserve them for a period of three years
from the completion of the contract for all laborers and mechanics, including guards and watchmen,
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working on the contract. Such records shall contain the name and address of each such employee,
social security number, correct classifications, hourly rates of wages paid, daily and weekly number of
hours worked, deductions made, and actual wages paid. Further, the Sub recipient shall insert in any
such contract a clause providing that the records to be maintained under this paragraph shall be made
available by the contractor or subcontractor for inspection, copying, or transcription by authorized
representatives of the EPA and the DOL, and the contractor or subcontractor will permit such
representatives to interview employees during working hours on the job.

5. Compliance Verification

(a) The sub recipient shall periodically interview a sufficient number of employees entitled to DB
prevailing wages (covered employees) to verify that contractors or subcontractors are paying the
appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be conducted in
confidence. The sub recipient must use Standard Form 1445 (SF 1445) or equivalent documentation to
memorialize the interviews. Copies of the SF 1445 are available from EPA on request.

(b) The sub recipient shall establish and follow an interview schedule based on its assessment of the
risks of noncompliance with DB posed by contractors or subcontractors and the duration of the contract
or subcontract. Sub recipients must conduct more frequent interviews if the initial interviews or other
information indicated that there is a risk that the contractor or subcontractor is not complying with DB.

Sub recipients shall immediately conduct interviews in response to an alleged violation of the prevailing
wage requirements. All interviews shall be conducted in confidence.

(c) The sub recipient shall periodically conduct spot checks of a representative sample of weekly payroll
data to verify that contractors or subcontractors are paying the appropriate wage rates. The sub recipient
shall establish and follow a spot check schedule based on its assessment of the risks of noncompliance
with DB posed by contractors or subcontractors and the duration of the contract or subcontract. At a
minimum, if practicable, the sub recipient should spot check payroll data within two weeks of each
contractor or subcontractor's submission of its initial payroll data and two weeks prior to the completion
date the contract or subcontract. Sub recipients must conduct more frequent spot checks if the initial spot
check or other information indicates that there is a risk that the contractor or subcontractor is not
complying with DB. In addition, during the examinations the sub recipient shall verify evidence of fringe
benefit plans and payments there under by contractors and subcontractors who claim credit for fringe
benefit contributions.

(d) The sub recipient shall periodically review contractor's and subcontractor's use of apprentices and
trainees to verify registration and certification with respect to apprenticeship and training programs
approved by either the U.S DOL or a state, as appropriate, and that contractors and subcontractors are
not using disproportionate numbers of, laborers, trainees and apprentices. These reviews shall be
conducted in accordance with the schedules for spot checks and interviews described in Item 5(b) and
(c) above.

(e) Sub recipients must immediately report potential violations of the DB prevailing wage requirements to
the EPA DB contact listed above and to the appropriate DOL Wage and Hour District Office listed at
https://www.dol.gov/agencies/whd/contact/local-offices.

II. Requirements Under Section 1452(a)(5) of the Safe Drinking Water Act For Sub recipients That Are
Not Governmental Entities:
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The following terms and conditions specify how recipients will assist EPA in meeting its DB
responsibilities when DB applies to EPA awards of financial assistance under the Safe Drinking Water
Act, Section 1452(a)(5) with respect to sub recipients that are not governmental entities. If a sub
recipient has questions regarding when DB applies, obtaining the correct DB wage determinations, DB
provisions, or compliance monitoring, it may contact the State recipient for guidance. If a State recipient
needs guidance, the recipient may contact EPA's Office of Grants and Debarment for guidance at
EPA_Grants_Info@epa.gov The recipient or sub recipient may also obtain additional guidance from
DOL's website at http://www.dol.gov/whd/

Under these terms and conditions, the sub recipient must submit its proposed DB wage determinations
to the State recipient for approval prior to including the wage determination in any solicitation, contract
task orders, work assignments, or similar instruments to existing contractors.

1. Applicability of the Davis- Bacon (DB) prevailing wage requirements.

Under the Safe Drinking Water Act, Section 1452(a)(5), DB prevailing wage requirements apply to the
construction, alteration, and repair of treatment works carried out in whole or in part with assistance
made available by a State water pollution control revolving fund and to any construction project carried
out in whole or in part by assistance made available by a drinking water treatment revolving loan fund. If
a sub recipient encounters a unique situation at a site that presents uncertainties regarding DB
applicability, the sub recipient must discuss the situation with the recipient State before authorizing work
on that site.

2. Obtaining Wage Determinations.

(a) Sub recipients must obtain proposed wage determinations for specific localities at https://sam.
gov/. After the sub recipient obtains its proposed wage determination, it must submit the wage
determination to Illinois Environmental Protection Agency for approval prior to inserting the wage
determination into a solicitation, contract or issuing task orders, work assignments or similar instruments
to existing contractors (ordering instruments unless subsequently directed otherwise by the State
recipient Award Official.)

(b) Sub recipients shall obtain the wage determination for the locality in which a covered activity subject
to DB will take place prior to issuing requests for bids, proposals, quotes or other methods for soliciting
contracts (solicitation) for activities subject to DB. These wage determinations shall be incorporated into
solicitations and any subsequent contracts. Prime contracts must contain a provision requiring that
subcontractors follow the wage determination incorporated into the prime contract.

       (i) While the solicitation remains open, the sub recipient shall monitor https://sam.gov/ on a
       weekly basis to ensure that the wage determination contained in the solicitation remains
       current. The sub recipients shall amend the solicitation if DOL issues a modification more than
       10 days prior to the closing date (i.e. bid opening) for the solicitation. If DOL modifies or
       supersedes the applicable wage determination less than 10 days prior to the closing date, the
       sub recipients may request a finding from the State recipient that there is not a reasonable time to
       notify interested contractors of the modification of the wage determination. The State recipient
       will provide a report of its findings to the sub recipient.

       (ii) If the sub recipient does not award the contract within 90 days of the closure of the solicitation,
       any modifications or supersedes DOL makes to the wage determination contained in the
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       solicitation shall be effective unless the State recipient, at the request of the sub recipient, obtains
       an extension of the 90-day period from DOL pursuant to 29 CFR 1.6(c)(3)(iv). The sub recipient
       shall monitor https://sam.gov/ on a weekly basis if it does not award the contract within 90 days of
       closure of the solicitation to ensure that wage determinations contained in the solicitation remain
       current.

(c) If the sub recipient carries out activity subject to DB by issuing a task order, work assignment or
similar instrument to an existing contractor (ordering instrument) rather than by publishing a solicitation,
the sub recipient shall insert the appropriate DOL wage determination from https://sam.gov/ into the
ordering instrument.

(d) Sub recipients shall review all subcontracts subject to DB entered into by prime contractors to verify
that the prime contractor has required its subcontractors to include the applicable wage determinations.

(e) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to a sub
recipient's contract after the award of a contract or the issuance of an ordering instrument if DOL
determines that the sub recipient has failed to incorporate a wage determination or has used a wage
determination that clearly does not apply to the contract or ordering instrument. If this occurs, the sub
recipient shall either terminate the contract or ordering instrument and issue a revised solicitation or
ordering instrument or incorporate DOL's wage determination retroactive to the beginning of the contract
or ordering instrument by change order. The sub recipient's contractor must be compensated for any
increases in wages resulting from the use of DOL's revised wage determination.

3. Contract and Subcontract provisions.

(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in excess of
$2,000 which is entered into for the actual construction, alteration and/or repair, including painting and
decorating, of a treatment work under the CWSRF or a construction project carried out in whole or in part
with assistance made available by the DWSRF, and which is subject to the labor standards provisions of
any of the acts listed in § 5.1 or the Safe Drinking Water Act, Section 1452(a)(5), the following clauses:

(1) Minimum wages.

       (i) All laborers and mechanics employed or working upon the site of the work, will be paid
       unconditionally and not less often than once a week, and without subsequent deduction or rebate
       on any account (except such payroll deductions as are permitted by regulations issued by the
       Secretary of Labor under the Copeland Act (29 CFR part 3) ), the full amount of wages and bona
       fide fringe benefits (or cash equivalents thereof) due at time of payment computed at rates not
       less than those contained in the wage determination of the Secretary of Labor which is attached
       hereto and made a part hereof, regardless of any contractual relationship which may be alleged
       to exist between the contractor and such laborers and mechanics.

       Contributions made or costs reasonably anticipated for bona fide fringe benefits under section 1
       (b)(2) of the DB Act on behalf of laborers or mechanics are considered wages paid to such
       laborers or mechanics, subject to the provisions of paragraph (a)(1)(iv) of this section; also,
       regular contributions made or costs incurred for more than a weekly period (but not less often
       than quarterly) under plans, funds, or programs which cover the particular weekly period, are
       deemed to be constructively made or incurred during such weekly period. Such laborers and
       mechanics shall be paid the appropriate wage rate and fringe benefits on the wage determination
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for the classification of work actually performed, without regard to skill, except as provided in §
5.5(a)(4). Laborers or mechanics performing work in more than one classification may be
compensated at the rate specified for each classification for the time actually worked
therein: Provided, that the employer's payroll records accurately set forth the time spent in each
classification in which work is performed. The wage determination (including any additional
classification and wage rates conformed under paragraph (a)(1)(ii) of this section) and the DB
poster (WH-1321) shall be posted at all times by the contractor and its subcontractors at the site
of the work in a prominent and accessible place where it can be easily seen by the workers.

Sub recipients may obtain wage determinations from DOL's website, https://sam.gov/.

(ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or
mechanics, including helpers, which is not listed in the wage determination and which is to be
employed under the contract shall be classified in conformance with the wage determination. The
State award official shall approve a request for an additional classification and wage rate and
fringe benefits therefore only when the following criteria have been met:

       (1) The work to be performed by the classification requested is not performed by a
       classification in the wage determination; and

       (2) The classification is utilized in the area by the construction industry; and

       (3) The proposed wage rate, including any bona fide fringe benefits, bears a reasonable
       relationship to the wage rates contained in the wage determination.

(B) If the contractor and the laborers and mechanics to be employed in the classification (if
known), or their representatives, and the sub recipient(s) agree on the classification and wage
rate (including the amount designated for fringe benefits where appropriate), documentation of
the action taken and the request, including the local wage determination shall be sent by the sub
recipient(s) to the State award official. The State award official will transmit a completed
conformance request form (SF-1444 or similar) and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will approve, modify, or
disapprove every additional classification request within 30 days of receipt and so advise the
State award official or will notify the State award official within the 30-day period that additional
time is necessary.

(C) In the event the contractor, the laborers or mechanics to be employed in the classification or
their representatives, and the sub recipient(s) do not agree on the proposed classification and
wage rate (including the amount designated for fringe benefits, where appropriate),
documentation of the action taken and the request, including the local wage determination shall
be sent by the sub recipient (s) to the State award official. The State award official will transmit a
completed conformance request form (SF-1444 or similar) which indicates the State award
official's disagreement and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will issue a determination
within 30 days of receipt of the request and so advise the contracting officer or will notify the
contracting officer within the 30-day period that additional time is necessary.
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       (D) The wage rate (including fringe benefits where appropriate) determined pursuant to
       paragraphs (a)(1)(ii)(B) or (C) of this section, shall be paid to all workers performing work in the
       classification under this contract from the first day on which work is performed in the
       classification.

       (iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers or
       mechanics includes a fringe benefit which is not expressed as an hourly rate, the contractor shall
       either pay the benefit as stated in the wage determination or shall pay another bona fide fringe
       benefit or an hourly cash equivalent thereof.

       (iv) If the contractor does not make payments to a trustee or other third person, the contractor
       may consider as part of the wages of any laborer or mechanic the amount of any costs
       reasonably anticipated in providing bona fide fringe benefits under a plan or program, Provided,
       That the Secretary of Labor has found, upon the written request of the contractor, that the
       applicable standards of the DB Act have been met. The Secretary of Labor may require the
       contractor to set aside assets in a separate account for the meeting of obligations under the plan
       or program.

(2) Withholding. The sub recipient(s) shall upon written request of the EPA Award Official or an
authorized representative of the DOL, withhold or cause to be withheld from the contractor under this
contract or any other Federal contract with the same prime contractor, or any other federally-assisted
contract subject to DB prevailing wage requirements, which is held by the same prime contractor, so
much of the accrued payments or advances as may be considered necessary to pay laborers and
mechanics, including apprentices, trainees, and helpers, employed by the contractor or any
subcontractor the full amount of wages required by the contract. In the event of failure to pay any laborer
or mechanic, including any apprentice, trainee, or helper, employed or working on the site of the work, all
or part of the wages required by the contract, the EPA may, after written notice to the contractor,
sponsor, applicant, or owner, take such action as may be necessary to cause the suspension of any
further payment, advance, or guarantee of funds until such violations have ceased.

(3) Payrolls and basic records.

       (i) Payrolls and basic records relating thereto shall be maintained by the contractor during the
       course of the work and preserved for a period of three years thereafter for all laborers and
       mechanics working at the site of the work. Such records shall contain the name, address, and
       social security number of each such worker, his or her correct classification, hourly rates of
       wages paid (including rates of contributions or costs anticipated for bona fide fringe benefits or
       cash equivalents thereof of the types described in section 1(b)(2)(B) of the DB Act), daily and
       weekly number of hours worked, deductions made and actual wages paid. Whenever the
       Secretary of Labor has found under 29 CFR 5.5(a)(1)(iv) that the wages of any laborer or
       mechanic include the amount of any costs reasonably anticipated in providing benefits under a
       plan or program described in section 1(b)(2)(B) of the DB Act, the contractor shall maintain
       records which show that the commitment to provide such benefits is enforceable, that the plan or
       program is financially responsible, and that the plan or program has been communicated in
       writing to the laborers or mechanics affected, and records which show the costs anticipated or the
       actual cost incurred in providing such benefits. Contractors employing apprentices or trainees
       under approved programs shall maintain written evidence of the registration of apprenticeship
       programs and certification of trainee programs, the registration of the apprentices and trainees,
       and the ratios and wage rates prescribed in the applicable programs.
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(ii)(A) The contractor shall submit weekly, for each week in which any contract work is performed,
a copy of all payrolls to the sub recipient, that is, the entity that receives the sub-grant or loan
from the State capitalization grant recipient. Such documentation shall be available on request of
the State recipient or EPA. As to each payroll copy received, the sub recipient shall provide
written confirmation in a form satisfactory to the State indicating whether or not the project is in
compliance with the requirements of 29 CFR 5.5(a)(1) based on the most recent payroll copies
for the specified week. The payrolls shall set out accurately and completely all of the information
required to be maintained under 29 CFR 5.5(a)(3)(i), except that full social security numbers and
home addresses shall not be included on the weekly payrolls. Instead, the payrolls shall only
need to include an individually identifying number for each employee (e.g., the last four digits of
the employee's social security number). The required weekly payroll information may be
submitted in any form desired. Optional Form WH-347 is available for this purpose from the
Wage and Hour Division website at http://www.dol.gov/whd/forms/wh347instr.htm or its
successor site.

The prime contractor is responsible for the submission of copies of payrolls by all subcontractors.
Contractors and subcontractors shall maintain the full social security number and current address
of each covered worker and shall provide them upon request to the sub recipient(s) for
transmission to the State or EPA if requested by EPA, the State, the contractor, or the Wage and
Hour Division of the DOL for purposes of an investigation or audit of compliance with prevailing
wage requirements. It is not a violation of this section for a prime contractor to require a
subcontractor to provide addresses and social security numbers to the prime contractor for its
own records, without weekly submission to the sub recipient(s).

(B) Each payroll submitted shall be accompanied by a “Statement of Compliance,” signed by the
contractor or subcontractor or his or her agent who pays or supervises the payment of the
persons employed under the contract and shall certify the following:

       (1) That the payroll for the payroll period contains the information required to be provided
       under § 5.5 (a)(3)(ii) of Regulations, 29 CFR part 5, the appropriate information is being
       maintained under § 5.5 (a)(3)(i) of Regulations, 29 CFR part 5, and that such information
       is correct and complete;

       (2) That each laborer or mechanic (including each helper, apprentice, and trainee)
       employed on the contract during the payroll period has been paid the full weekly wages
       earned, without rebate, either directly or indirectly, and that no deductions have been
       made either directly or indirectly from the full wages earned, other than permissible
       deductions as set forth in Regulations, 29 CFR part 3;

       (3) That each laborer or mechanic has been paid not less than the applicable wage rates
       and fringe benefits or cash equivalents for the classification of work performed, as
       specified in the applicable wage determination incorporated into the contract.

(C) The weekly submission of a properly executed certification set forth on the reverse side of
Optional Form WH-347 shall satisfy the requirement for submission of the “Statement of
Compliance” required by paragraph (a)(3)(ii)(B) of this section.

(D) The falsification of any of the above certifications may subject the contractor or subcontractor
to civil or criminal prosecution under section 1001 of title 18 and section 231 of title 31 of the
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       United States Code.

       (iii) The contractor or subcontractor shall make the records required under paragraph (a)(3)(i) of
       this section available for inspection, copying, or transcription by authorized representatives of the
       State, EPA or the DOL, and shall permit such representatives to interview employees during
       working hours on the job. If the contractor or subcontractor fails to submit the required records or
       to make them available, the EPA or State may, after written notice to the contractor, sponsor,
       applicant, or owner, take such action as may be necessary to cause the suspension of any
       further payment, advance, or guarantee of funds. Furthermore, failure to submit the required
       records upon request or to make such records available may be grounds for debarment action
       pursuant to 29 CFR 5.12.

(4) Apprentices and trainees--

       (i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate for the
       work they performed when they are employed pursuant to and individually registered in a bona
       fide apprenticeship program registered with the DOL, Employment and Training Administration,
       Office of Apprenticeship Training, Employer and Labor Services, or with a State Apprenticeship
       Agency recognized by the Office, or if a person is employed in his or her first 90 days of
       probationary employment as an apprentice in such an apprenticeship program, who is not
       individually registered in the program, but who has been certified by the Office of Apprenticeship
       Training, Employer and Labor Services or a State Apprenticeship Agency (where appropriate) to
       be eligible for probationary employment as an apprentice. The allowable ratio of apprentices to
       journeymen on the job site in any craft classification shall not be greater than the ratio permitted
       to the contractor as to the entire work force under the registered program. Any worker listed on a
       payroll at an apprentice wage rate, who is not registered or otherwise employed as stated above,
       shall be paid not less than the applicable wage rate on the wage determination for the
       classification of work actually performed. In addition, any apprentice performing work on the job
       site in excess of the ratio permitted under the registered program shall be paid not less than the
       applicable wage rate on the wage determination for the work actually performed. Where a
       contractor is performing construction on a project in a locality other than that in which its program
       is registered, the ratios and wage rates (expressed in percentages of the journeyman's hourly
       rate) specified in the contractor's or subcontractors registered program shall be observed. Every
       apprentice must be paid at not less than the rate specified in the registered program for the
       apprentice's level of progress, expressed as a percentage of the journeymen hourly rate specified
       in the applicable wage determination. Apprentices shall be paid fringe benefits in accordance with
       the provisions of the apprenticeship program. If the apprenticeship program does not specify
       fringe benefits, apprentices must be paid the full amount of fringe benefits listed on the wage
       determination for the applicable classification. If the Administrator determines that a different
       practice prevails for the applicable apprentice classification, fringes shall be paid in accordance
       with that determination. In the event the Office of Apprenticeship Training, Employer and Labor
       Services, or a State Apprenticeship Agency recognized by the Office, withdraws approval of an
       apprenticeship program, the contractor will no longer be permitted to utilize apprentices at less
       than the applicable predetermined rate for the work performed until an acceptable program is
       approved.

       (ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at less
       than the predetermined rate for the work performed unless they are employed pursuant to and
       individually registered in a program which has received prior approval, evidenced by formal
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        certification by the DOL, Employment and Training Administration. The ratio of trainees to
        journeymen on the job site shall not be greater than permitted under the plan approved by the
        Employment and Training Administration. Every trainee must be paid at not less than the rate
        specified in the approved program for the trainee's level of progress, expressed as a percentage
        of the journeyman hourly rate specified in the applicable wage determination. Trainees shall be
        paid fringe benefits in accordance with the provisions of the trainee program. If the trainee
        program does not mention fringe benefits, trainees shall be paid the full amount of fringe benefits
        listed on the wage determination unless the Administrator of the Wage and Hour Division
        determines that there is an apprenticeship program associated with the corresponding
        journeyman wage rate on the wage determination which provides for less than full fringe benefits
        for apprentices. Any employee listed on the payroll at a trainee rate who is not registered and
        participating in a training plan approved by the Employment and Training Administration shall be
        paid not less than the applicable wage rate on the wage determination for the classification of
        work actually performed. In addition, any trainee performing work on the job site in excess of the
        ratio permitted under the registered program shall be paid not less than the applicable wage rate
        on the wage determination for the work actually performed. In the event the Employment and
        Training Administration withdraws approval of a training program, the contractor will no longer be
        permitted to utilize trainees at less than the applicable predetermined rate for the work performed
        until an acceptable program is approved.

        (iii) Equal employment opportunity. The utilization of apprentices, trainees and journeymen under
        this part shall be in conformity with the equal employment opportunity requirements of Executive
        Order 11246, as amended and 29 CFR part 30.

(5) Compliance with Copeland Act requirements. The contractor shall comply with the requirements of 29
CFR part 3, which are incorporated by reference in this contract.

(6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses contained
in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA determines may by appropriate, and
also a clause requiring the subcontractors to include these clauses in any lower tier subcontracts. The
prime contractor shall be responsible for the compliance by any subcontractor or lower tier subcontractor
with all the contract clauses in 29 CFR 5.5.

(7) Contract termination: debarment. A breach of the contract clauses in 29 CFR 5.5 may be grounds for
termination of the contract, and for debarment as a contractor and a subcontractor as provided in 29
CFR 5.12.

(8) Compliance with DB and Related Act requirements. All rulings and interpretations of the DB and
Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by reference in this contract.

(9) Disputes concerning labor standards. Disputes arising out of the labor standards provisions of this
contract shall not be subject to the general disputes clause of this contract. Such disputes shall be
resolved in accordance with the procedures of the DOL set forth in 29 CFR parts 5, 6, and 7. Disputes
within the meaning of this clause include disputes between the contractor (or any of its subcontractors)
and Sub recipient(s), State, EPA, DOL, or the employees or their representatives.

(10) Certification of eligibility.

        (i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor any
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        person or firm who has an interest in the contractor's firm is a person or firm ineligible to be
        awarded Government contracts by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).

        (ii) No part of this contract shall be subcontracted to any person or firm ineligible for award of a
        Government contract by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).

        (iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18 U.S.C.
        1001.

4. Contract Provision for Contracts in Excess of $100,000.

(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the following clauses
set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any contract in an amount in excess
of $100,000 and subject to the overtime provisions of the Contract Work Hours and Safety Standards
Act. These clauses shall be inserted in addition to the clauses required by Item 3, above or 29 CFR 4.6.
As used in this paragraph, the terms laborers and mechanics include watchmen and guards.

        (1) Overtime requirements. No contractor or subcontractor contracting for any part of the contract
        work which may require or involve the employment of laborers or mechanics shall require or
        permit any such laborer or mechanic in any workweek in which he or she is employed on such
        work to work in excess of forty hours in such workweek unless such laborer or mechanic receives
        compensation at a rate not less than one and one-half times the basic rate of pay for all hours
        worked in excess of forty hours in such workweek.

        (2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of the
        clause set forth in paragraph (b)(1) of this section the contractor and any subcontractor
        responsible therefore shall be liable for the unpaid wages. In addition, such contractor and
        subcontractor shall be liable to the United States (in the case of work done under contract for the
        District of Columbia or a territory, to such District or to such territory), for liquidated damages.
        Such liquidated damages shall be computed with respect to each individual laborer or mechanic,
        including watchmen and guards, employed in violation of the clause set forth in paragraph (b)(1)
        of this section, in the sum of $29 for each calendar day on which such individual was required or
        permitted to work in excess of the standard workweek of forty hours without payment of the
        overtime wages required by the clause set forth in paragraph (b)(1) of this section.

        (3) Withholding for unpaid wages and liquidated damages. The sub recipient shall upon the
        request of the EPA Award Official or an authorized representative of the DOL, withhold or cause
        to be withheld, from any moneys payable on account of work performed by the contractor or
        subcontractor under any such contract or any other Federal contract with the same prime
        contractor, or any other federally-assisted contract subject to the Contract Work Hours and Safety
        Standards Act, which is held by the same prime contractor, such sums as may be determined to
        be necessary to satisfy any liabilities of such contractor or subcontractor for unpaid wages and
        liquidated damages as provided in the clause set forth in paragraph (a)(2) of this section.

        (4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses set
        forth in paragraph (a)(1) through (4) of this section and also a clause requiring the subcontractors
        to include these clauses in any lower tier subcontracts. The prime contractor shall be responsible
        for compliance by any subcontractor or lower tier subcontractor with the clauses set forth in
        paragraphs (a)(1) through (4) of this section.
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(b) In addition to the clauses contained in Item 3, above, in any contract subject only to the Contract
Work Hours and Safety Standards Act and not to any of the other statutes cited in 29 CFR 5.1, the Sub
recipient shall insert a clause requiring that the contractor or subcontractor shall maintain payrolls and
basic payroll records during the course of the work and shall preserve them for a period of three years
from the completion of the contract for all laborers and mechanics, including guards and watchmen,
working on the contract. Such records shall contain the name and address of each such employee,
social security number, correct classifications, hourly rates of wages paid, daily and weekly number of
hours worked, deductions made, and actual wages paid. Further, the Sub recipient shall insert in any
such contract a clause providing that the records to be maintained under this paragraph shall be made
available by the contractor or subcontractor for inspection, copying, or transcription by authorized
representatives of the EPA and the DOL, and the contractor or subcontractor will permit such
representatives to interview employees during working hours on the job.

5. Compliance Verification

(a) The sub recipient shall periodically interview a sufficient number of employees entitled to DB
prevailing wages (covered employees) to verify that contractors or subcontractors are paying the
appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be conducted in
confidence. The sub recipient must use Standard Form 1445 (SF 1445) or equivalent documentation to
memorialize the interviews. Copies of the SF 1445 are available from EPA on request.

(b) The sub recipient shall establish and follow an interview schedule based on its assessment of the
risks of noncompliance with DB posed by contractors or subcontractors and the duration of the contract
or subcontract. Sub recipients must conduct more frequent interviews if the initial interviews or other
information indicated that there is a risk that the contractor or subcontractor is not complying with DB.
Sub recipients shall immediately conduct interviews in response to an alleged violation of the prevailing
wage requirements. All interviews shall be conducted in confidence.

(c) The sub recipient shall periodically conduct spot checks of a representative sample of weekly payroll
data to verify that contractors or subcontractors are paying the appropriate wage rates. The sub recipient
shall establish and follow a spot check schedule based on its assessment of the risks of noncompliance
with DB posed by contractors or subcontractors and the duration of the contract or subcontract. At a
minimum, if practicable the sub recipient should spot check payroll data within two weeks of each
contractor or subcontractor's submission of its initial payroll data and two weeks prior to the completion
date the contract or subcontract. Sub recipients must conduct more frequent spot checks if the initial spot
check or other information indicates that there is a risk that the contractor or subcontractor is not
complying with DB. In addition, during the examinations the sub recipient shall verify evidence of fringe
benefit plans and payments there under by contractors and subcontractors who claim credit for fringe
benefit contributions.

(d) The sub recipient shall periodically review contractors and subcontractors use of apprentices and
trainees to verify registration and certification with respect to apprenticeship and training programs
approved by either the U.S DOL or a state, as appropriate, and that contractors and subcontractors are
not using disproportionate numbers of, laborers, trainees and apprentices. These reviews shall be
conducted in accordance with the schedules for spot checks and interviews described in Item 5(b) and
(c) above.

(e) Sub recipients must immediately report potential violations of the DB prevailing wage requirements to
the EPA DB contact listed above and to the appropriate DOL Wage and Hour District Office listed at
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https://www.dol.gov/agencies/whd/contact/local-offices.
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                                                   EPA Funding Information
            FUNDS                                   FORMER AWARD                              THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                $0                         $1,114,000                                $1,114,000
EPA In-Kind Amount                                                    $0                                  $0                                        $0
Unexpended Prior Year Balance                                         $0                                  $0                                        $0
Other Federal Funds                                                   $0                                  $0                                        $0
Recipient Contribution                                                $0                                  $0                                        $0
State Contribution                                                    $0                                  $0                                        $0
Local Contribution                                                    $0                                  $0                                        $0
Other Contribution                                                    $0                                  $0                                        $0
Allowable Project Cost                                                $0                         $1,114,000                                $1,114,000



Assistance Program (CFDA)                     Statutory Authority                                Regulatory Authority
66.817 - State and Tribal Response Program    CERCLA: Sec. 128(a) & Infrastructure               2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR 35
Grants                                        Investment and Jobs Act (IIJA) (PL 117-58)         Subpart A




                                                                     Fiscal
           Site Name                Req No    FY     Approp.          Budget        PRC       Object   Site/Project      Cost            Obligation /
                                                      Code          Oganization               Class                   Organization       Deobligation
-                                2305QEX016    22        E1SD              05Q1   000D24X90    4113     G525HC00                     -     $1,114,000
                                                                                                                                           $1,114,000
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                                          Administrative Conditions
The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2022-or-later

These terms and conditions are in addition to the assurances and certifications made as a part of the award and the terms,
conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.epa.gov/grants/grant-terms-
and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for approval, or notifications
to EPA. Unless otherwise noted, all such correspondence should be sent to the following email addresses:

                  ·Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and Kimberly Houston houston-
                  williams.kimberly@epa.gov

                  ·MBE/WBE reports (EPA Form 5700-52A): Dianne Reyes-reyes.dianne@epa.gov-DBE coordinator
                  and region5closeouts@epa.gov

                  ·All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the
                  Budget and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to
                  recipient information (including email addresses, changes in contact information or changes in authorized
                  representatives) and other notifications: cragan.keary@epa.gov and houston-
                  williams.kimberly@epa.gov

                  ·Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
                  deliverables: Keary Cragan cragan.keary@epa.gov

    B. Pre-Award Costs

In accordance with 2 CFR 1500.9, the recipient may charge otherwise allowable pre-award costs (both Federal and non-
Federal matching shares) incurred from 10/1/2022 to the actual award date provided that such costs were contained in the
approved application and all costs are incurred within the approved budget period.




                                          Programmatic Conditions
                         CERCLA SECTION 128(a) STATE AND TRIBAL RESPONSE PROGRAM

                      FY22 INFRASTRUCTURE INVESTMENT AND JOBS ACT (“IIJA”) FUNDING




                                           GRANT-SPECIFIC PROGRAMMATIC

                                                 TERMS AND CONDITIONS
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Due to the budget accounting, tracking, and reporting requirements for the Infrastructure Investment and Jobs Act
(“IIJA”) funding, Section 128(a) cooperative agreements funded with IIJA money must be awarded separately from
Section 128(a) cooperative agreements with annual appropriated funds. In the same vein, Section 128(a) IIJA funds
are not eligible to be included in Performance Partnership Grants (“PPGs”) under 40 CFR Part 35 Subparts A and
B. This restriction is intended to ensure that Section 128 Cooperative Agreement Recipients (“CARs”) can
effectively track, account for, and report on the use of IIJA funding.




If a CAR has two FY22 Section 128(a) Cooperative Agreements (one with annual appropriated funds and one with
IIJA funds), the two awards must clearly delineate what activities will utilize annual appropriation funds versus IIJA
funds. CARs must work closely with EPA Project Officers to ensure that there is no duplication of work funded by
the two sources of funding.

I. Response Program Elements: Throughout the duration of this agreement the CAR must remain a party to the
Voluntary Response Program Memorandum of Agreement with EPA, dated 4/6/1995.




II. Substantial Involvement: This is a cooperative agreement that will entail substantial involvement by EPA to the extent
Agency resources permit. Substantial EPA involvement includes:




A. Consultation and collaboration on technical and policy matters at the CAR’s request. EPA’s Project Officer or designee
may provide data, advice, and information that will help the CAR carry out the agreement effectively;




B. EPA’s Project Officer may review the substantive terms of professional services contracts or subawards the CAR enters
into to carry out specific elements of the scope of work. Neither EPA’s Project Officer nor any other EPA employee will
direct, recommend, or suggest that the CAR enter into a contract or subaward with a specific entity. EPA approval is not
required for contracts for supplies, equipment, information technology and other administrative support services;




C. EPA’s Project Officer may review the qualifications of key staff hired by the CAR or consultants with whom the CAR
contracts to carry out specific elements of the scope of work when those staff or contractors are paid by the grant funds.
Neither EPA’s Project Officer nor any other EPA employee will direct, recommend, or suggest that the CAR hire a particular
individual or enter into a consulting contract with a specific entity;




D. Monitoring by EPA of the CAR's performance under the agreement; and




(NOTE: EPA’s Project Officer may waive or modify its substantial involvement on any particular matter or classes of matters
through written advice to the CAR.)
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III. Public Record System: The CAR must establish a public record system pursuant to CERCLA Section 128(b)(1)(C).
The public record must be maintained and updated at least annually and include the requirements listed below.




A. For sites where response actions were completed in the previous grant project year, include the following:




         1. Date the response action was completed;




         2. Site name, name of owner at time of cleanup, and type of site (e.g., petroleum, methamphetamine laboratory,
         mine scarred lands);




         3. Location of the site (street address, latitude and longitude);




         4. Explanation of whether or not the site will be suitable for unrestricted use upon completion of the response
         action. If not, the public record must identify and describe the institutional control(s) in place or relied on for the
         remedy (e.g., deed restriction);




         5. Nature of the contamination at the site (e.g., hazardous substances, contaminants, pollutants, petroleum
         contamination, etc.); and




         6. Size of the site in acres.




B. A list of sites planned to be addressed in the next year by the state or tribal response program including:




         1. Site name, name of owner at time of cleanup, and type of site (e.g., petroleum, methamphetamine laboratory,
         mine scarred lands);




         2. Location of the site (street address, latitude and longitude);




         3. To the extent known, whether an institutional control is in place. If so, describe the type of institutional control in
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         place (e.g., deed restriction);




         4. To the extent known, the nature of the contamination at the site (e.g., hazardous substances, contaminants,
         pollutants, petroleum contamination, etc.); and




         5. Size of the site in acres.




C. Once a public record is established in a manner consistent with CERCLA Section 128(b)(1)(C), CARs must maintain the
public record throughout the duration of this agreement.




IV. Site-Specific Assessment and Cleanup Activities:




A. Consistent with CERCLA Section 128(a)(2)(C)(iii), EPA guidance, and to the extent authorized by the scope of work for
this agreement, the CAR may conduct assessments or cleanups at sites that meet the definition of a brownfield site at
CERCLA Section 101(39) in response to a request by a person who is or may be affected by a release or threatened
release of a hazardous substance, pollutant, contaminant, or petroleum at a brownfield located in the community in which
the person works or resides. Assessments and cleanups must comply with all applicable laws and are subject to the
following restrictions:




         1. Absent approval by EPA’s Project Officer, no more than $250,000 per site can be funded for assessments, and
         no more than $250,000 per brownfield site can be funded for cleanups. This per-site cap includes the FY22
         funding that a CAR has already been allocated from FY22 Section 128(a) Annual Appropriation funds; it does not
         add an additional $250,000 on top of the $200,000 cap from the previous award. If the CAR’s FY22 workplan for a
         CERCLA 128 grant funded with annual appropriated funds addresses a site assessment or cleanup and has
         reached the previous cap of $200,000, the CAR may add $50,000.




         2. Absent approval by EPA’s Project Officer, the CAR may not use funds awarded under this agreement to
         assess and/or cleanup brownfields owned by the CAR or held in trust by the United States Government for the
         CAR.




         3. Assessments and cleanups may not be conducted at brownfields where the CAR is a potentially responsible
         party (“PRP”) pursuant to CERCLA Section 107, except when the CAR acquired the property before January 11,
         2002, and has not caused or contributed to a release or threatened release of a hazardous substance at the
         property.
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B. Consistent with CERCLA Section 128(a)(2)(B)(ii), and to the extent authorized by the scope of work for this agreement,
the CAR may use funds awarded under this agreement to complete the necessary response activities, including
assessments and cleanups, if the person conducting a response action overseen by the CAR fails to complete the
necessary response activities, including operation and maintenance or long-term monitoring activities. Assessments and
cleanups under this provision must comply with all applicable laws and are subject to the following restrictions:




         1. Absent approval by EPA’s Project Officer, the CAR may not use funds awarded under this agreement to
         assess and cleanup sites owned by the CAR.




         2. The CAR may not use funds awarded under this agreement to assess or cleanup sites for which the CAR is a
         potentially responsible party (pursuant to CERCLA Section 107), with the exception of sites contaminated by a
         controlled substance as defined in CERCLA Section 101(39)(D)(ii)(I).




C. For the site-specific activities under paragraphs III.A. and III.B., the CAR must maintain documentation supporting the
CAR’s conclusion that the site meets the brownfield definition in CERCLA Section 101(39). For those sites which are
excluded from the brownfield definition, pursuant to CERCLA Section 101(39)(B), but are eligible for a property-specific
funding determination pursuant to CERCLA Section 101(39)(C), the CAR must comply with paragraph IV below. NOTE: To
the extent authorized in the scope of work for this agreement, the CAR may conduct oversight of cleanups at sites other
than brownfields. Records must be maintained per 2 CFR 200.334.




D. For site-specific activities at petroleum-only brownfields sites (CERCLA Section 101(39)(D)(ii)(II)), the requirements
listed below apply.




         1. The CAR must determine maintain supporting documentation that:




                           a) There is no viable responsible party for the site;




                           b) The site will not be assessed, investigated, or cleaned up by a person that is potentially liable
                           for cleaning up the site; and




                           c) The site is not subject to any order issued under Section 9003(h) of the Solid Waste Disposal
                           Act.
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         2. The supporting documentation must identify the state who made the determinations identified in D.1., the date
         the CAR obtained the determinations, and a summary of each conclusion.




E. Site-specific Activity Funding Limit: The amount requested for site-specific assessments and cleanups may not
exceed 75% of the total amount of Section 128(a) funding awarded to the CAR during FY 2022. This 75% cap includes the
FY22 funding that the CAR received from the FY22 Section 128(a) Annual Appropriation funds plus the FY22 funding that
the CAR is receiving in FY22 IIJA funds. [Note: Oversight of assessment and cleanup activities performed by responsible
parties (other than the state or tribe) does not count toward the 75% limit. The 75% cap also does not include personnel or
supplies/equipment purchased in support of site-specific work.]




A CAR may submit to the EPA Project Officer a written request for a waiver to exceed the 75% of annual funding for site-
specific activities, as described under Section III A-D. The EPA Project Officer will review the waiver request and make a
recommendation to EPA’s Office of Brownfields and Land Revitalization, who will determine if the requested waiver is
approved. The EPA Project Officer will notify the CAR of EPA’s determination.




The CAR’s written waiver request submitted to the EPA Project Officer must include a brief justification describing the
reason(s) for spending more than 75% of their FY22 total allocation [which includes the FY22 funding that the CAR
received from the FY22 Section 128(a) Annual Appropriation funds plus the FY22 funding that the CAR is receiving in FY22
IIJA funds] on site-specific activities and must include the following information:




         1. Provide the percentage of the eligible brownfield site-specific activities (assuming waiver is approved) in the
         CAR’s total FY22 budget;




         2. List all site-specific activities that will be covered by this funding. If known, provide site-specific information and
         a description of how work on each site contributes to the establishment or enhancement of your state/tribal
         response program. EPA encourages states and tribes to use site-specific funding to perform assessment and
         cleanup activities that will expedite the reuse and redevelopment of sites, and prioritize sites based on need.
         Further explain how the community will be (or has been) involved in prioritization of site work and especially those
         sites where there is a potential or known significant environmental impact to the community;




         3. Explain how this shift in funding will not negatively impact the core programmatic capacity (i.e., the ability to
         establish/enhance four elements of a response program) and how it will be maintained in spite of an increase in
         site-specific work. Grantees must demonstrate that they have adequate funding from other sources to effectively
         carry out work on the four elements for EPA to grant a waiver of the 75% limit on using 128(a) funds for site-
         specific activities;
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         4. Describe how this shift in funding towards site-specific work is appropriate for your response program; and




         5. Explain whether the sites to be addressed are those for which the affected community/ies has/have requested
         work be conducted.




V. Property-Specific Funding Determinations:




A. If a CAR plans to use funds for site-specific activities at a site that is excluded from the definition of a brownfield in
CERCLA Section 101(39)(A) and (B) but is eligible for a property-specific funding determination, then the CAR must
provide information sufficient for EPA’s Regional Approval Official, as delegated by Delegation 14-44 and 14-45, to make a
property-specific funding determination. Sites eligible for property-specific funding are defined in CERCLA Section
101(39)(C). The CAR must comply with the following requirements:




         1. The CAR must not incur any site-specific costs for those sites which require a property-specific funding
         determination under this agreement (other than those necessary to provide information to EPA) until EPA’s
         Approval Official makes a property-specific funding determination.




         2. The CAR must submit to EPA’s Project Officer a written request for a property-specific funding determination.
         The request must include information about the site (e.g., name, location, owners) and explain how the financial
         assistance will:




                   a) Protect human health and the environment, and




                   b) Either promote economic development or enable the creation of, preservation of, or addition to parks,
                   greenways, undeveloped property, other recreational property or other property used for nonprofit
                   purposes.




B. Any property-specific funding determination granted by EPA does not obviate the CAR’s responsibility to incur only
costs that meet the terms and conditions of the agreement and are allowable under 2 CFR Parts 200 and 1500 for
governmental entities.




VI. Institutional Controls: To the extent authorized by the scope of work for this agreement, the CAR may use funding
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under this agreement to maintain and monitor institutional controls.




VII. Grant Performance Reporting Requirements:




   A. Performance Reporting Requirements for Program Activity Levels (“PALs”)


CARs must report Program Activity Levels (“PALs”) once annually when the Section 128(a) funding request is due to the
appropriate EPA Regional Office in mid-December. CARS are not required to provide two separate PALs reports for FY22.
PALs summarize the work from the previous federal fiscal year, therefore, CAR’s responses to the PALs questions should
reflect activities for the period covering the last federal fiscal year (October 1 – September 30), including:




         1. Environmental programs where CERCLA 128(a) funds are used to support capacity building [general program
         support, non-site-specific work]. Specify which programs were supported with 128(a) funds from the following:
         Brownfields, Underground Storage Tanks/Leaking Underground Storage Tanks, Federal Facilities, Solid Waste
         Superfund, Hazardous Waste Facilities, VCP (Voluntary Cleanup Program, Independent Cleanup Program, etc.),
         and Other;




         2. Number of properties (or sites) enrolled in a response program during previous federal fiscal year;




         3. Number of properties (or sites) where documentation indicates that cleanup work is complete AND either (a) all
         required institutional controls (IC’s) are in place, or (b) the cleanup does not require ICs;




         4. Total number of acres associated with properties (or sites) in the previous question (Question #3);




         5. OPTIONAL: Number of properties (or sites) where assistance was provided, but the property was not enrolled
         in a response program;




         6. Date that the public record was last updated;




         7. Number of audits/inspections/reviews/other conducted to ensure engineering controls and institutional controls
         are still protective; and
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         8. Did you develop or revise legislation, regulations, codes, guidance documents or policies related to establishing
         or enhancing your Voluntary Cleanup Program/Response Program during FY21? If yes, please indicate the type
         and whether it was new or revised.




For FY22, CARs must report PALs information either directly in EPA’s Assessment, Cleanup and Redevelopment
Exchange System (“ACRES”) database OR by filling out the form found at
https://www.epa.gov/brownfields/program-activity-levels-pals-reporting-form and providing it to the appropriate
EPA Regional Office along with the CAR’s FY23 funding request in mid-December.




Beginning in FY23, CARs will only be able to provide PALs information directly into ACRES.




For detailed instructions on how to report PALs in ACRES, please see the quick reference guide at
https://www.epa.gov/brownfields/brownfields-grantee-reporting-using-assessment-cleanup-and-redevelopment-
exchange.




B. Semi-Annual Performance Reporting Requirements: CAR agrees to provide performance reports semi-annually. The
reports will be due no later than 30 calendar days after the reporting period.




         1. All interim and final progress reports must prominently display the following three relevant Essential Elements
         as reflected in the current EPA strategic plan:

                    a) Strategic Plan Goal 6: Safeguard and Revitalize Communities




                    b) Strategic Plan Objective 6.1: Clean Up and Restore Land for Productive Uses and Healthy
                    Communities




                    c) Work plan Commitments and Timeframes: See work plan for specifics.




         2. The CAR will report on milestones, activities, and outputs achieved under this agreement. Examples of items to
         include:




                    a) The completion of significant site planning, assessment, cleanup, or redevelopment activities,
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            including any relevant information regarding whether such activities anticipated or otherwise considered
            the impacts of climate change and/or benefited a community with environmental justice concerns. [The
            EPA describes environmental justice (“EJ”) as the fair treatment and meaningful involvement of all people
            regardless of race, color, national origin, or income with respect to the development, implementation and
            enforcement of environmental laws, regulations, and policies. For example, an “underserved community”
            refers to a community with environmental justice concerns and/or vulnerable populations, including low-
            income citizens, communities of color, and tribal and Indigenous peoples.];




            b) Information regarding significant outreach, meeting, or training events, including whether such
            outreach engaged communities with environmental justice concerns;




            c) Significant updates to a website or tracking system or improvements to the process;




            d) For site-specific work, details such as where and when the activity was conducted and why, who was
            involved or impacted, and what was accomplished, including whether site-specific work anticipated or
            otherwise considered the impacts of climate change and/or benefited a community with environmental
            justice concerns. The narrative may range in length between a paragraph and one page in length for a
            specific site. Provide before and after photos of site work and photos of events, unless the site
            assessment report already has been provided to EPA as a deliverable.




            e) A budget summary table which may include the following information: current approved project
            budget; costs incurred during the reporting quarter; costs incurred to date (cumulative expenditures); and
            total remaining funds.




   3. All CARs must report information relating to establishing and maintaining the public record described in
   paragraph II above and provide the date of the last update. (NOTE: For this requirement, CARs can refer to their
   already existing public record, such as a website or other public database).




   4. CARs with work plans that include funding for other site-related activities must include a description of the
   activities and provide the number of sites at which the activities were conducted. For example:




            a) Number and frequency of oversight reviews (internal audits) of licensed site professional certified
            cleanups.
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                  b) Number and frequency of state/tribal oversight reviews (internal audits) conducted.




                  c) Number of sites where staff conducted reviews (internal audits), provided technical assistance, or
                  conducted other oversight activities.




                  d) Number of staff conducting oversight reviews (internal audits), providing technical assistance, or
                  conducting other oversight activities.




C. Significant Developments: As required by 2 CFR 200.329(e), the CAR must inform EPA and report on significant
impacts to grant-supported activities when they occur between the scheduled reporting dates. Significant developments to
report may include problems or delays (such as staff vacancies or travel restrictions) as well as favorable developments or
successes associated with milestones and activities as listed under section VII.B above.




D. Reporting Requirements Related to Site Assessment and Cleanup Work: The CARs must report on interim
progress (e.g., assessment started) and any final accomplishments (e.g., assessment completed, cleanup required,
contaminants, Institutional Controls, Engineering Controls) by submitting information into the Brownfields online reporting
system, known as the Assessment, Cleanup and Redevelopment Exchange System (“ACRES”). The CAR must enter this
data into ACRES within 30 days of the end of the next reporting period or sooner at EPA’s request. EPA will provide the
CARs with training, which is required to obtain access to ACRES.




E. Final Report: The CAR must submit a final performance report at the end of the period of performance in order to
finalize the closeout of the grant. This final report must capture the work that was performed during the period of
performance, explain how the funding was utilized, and may include a summary of activities as is listed under VI.B. above.
The final report is due within 120 days of the end of the period of performance and, with approval from the EPA Project
Officer, may be submitted in lieu of a final quarterly or semi-annual report.




F. Updating the State Brownfields and Voluntary Response Programs Report in ACRES




State CARs must update their state response program information in ACRES at least once a year (and may update more
frequently if changes in their response program warrant an additional update), so that EPA has accurate, up-to-date
information to share with the public in the form of a State Brownfields and Voluntary Response Program Report. EPA
expects that this annual update will occur when states are already in the ACRES database performing other required
ACRES reporting, thereby reducing the administrative burden.
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For detailed instructions on how to update your state brownfields information in ACRES, please see the quick reference
guide at https://www.epa.gov/brownfields/brownfields-grantee-reporting-using-assessment-cleanup-and-redevelopment-
exchange.




G. This is an interim term and condition for management of funding provided under the IIJA. EPA’s Award Official
or Grants Management Officer may amend this agreement to specify additional requirements applicable to IIJA
funding as information becomes available. In the interim, the recipient agrees to have financial management and
programmatic management systems in place to:




a. Track and report on expenditures of IIJA funds.




b. Track and report outputs and outcomes achieved with IIJA funds.




VIII. General Federal Requirements: The CAR must comply with federal cross-cutting requirements. These requirements
include, but are not limited to, minority business enterprise (MBE)/women’s business enterprise (WBE) requirements found
at 40 CFR Part 33; nondiscrimination statutes, including Title VI of the Civil Rights Act of 1964, and EPA’s implementing
regulations found at 40 C.F.R. Parts 5 and 7; OSHA Worker Health & Safety Standards in 29 CFR 1910.120; the Uniform
Relocation Act; National Historic Preservation Act; Endangered Species Act; Permits required by Section 404 of the Clean
Water Act; Executive Order 11246, Equal Employment Opportunity, and implementing regulations at 41 CFR 60-4; Contract
Work Hours and Safety Standards Act, as amended (40 USC 327-333); the Anti-Kickback Act (40 USC 276c); and Section
504 of the Rehabilitation Act of 1973, as implemented by Executive Orders 11914 and 11250. EPA provides additional
information on cross-cutting requirements in EPA Subaward Cross Cutter Requirements.




IX. Program Income: In accordance with 2 CFR 1500.8, the CAR is authorized to add program income generated under
this agreement to the funds committed by EPA. The CAR can use this program income to carry out activities described in
the scope of work for this agreement and under the same terms and conditions of the agreement. Program income is
defined generally at 2 CFR 200.1. For the purposes of this agreement, program income includes fees charged participants
in the CAR's voluntary cleanup program or other fees for services (only to the extent that these fees recover costs charged
to this agreement). Costs the CAR recovers for cleanups and site assessments are program income to the same extent that
the recovered costs represent costs charged to this agreement. The CAR must provide as part of its semi-annual
performance report, a description of how program income is being used. In addition, a report on the amount of program
income earned during the award period must be submitted with the Semi-annual Federal Financial Report, Standard Form
425.




The CAR will maintain records adequate to document the extent to which transactions generate program income and the
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disposition of program income. As required by 2 CFR 200.305(b)(5), tribal CARs will disburse program income before
requesting additional payments under this agreement. State CARs are subject to 2 CFR 200.305(a).




X. Quality Assurance




Authority: Quality Assurance applies to all assistance agreements involving environmental information (including
environmental data collection, production, or use) as defined in 2 C.F.R. § 1500.12 Quality Assurance.




The CAR shall ensure that subawards involving environmental information issued under this agreement include appropriate
quality requirements for the work. The CAR shall ensure sub-award recipients develop and implement Quality Assurance
(“QA”) planning documents in accordance with this term and condition; and/or ensure sub-award recipients implement all
applicable approved QA planning documents.




A. QUALITY MANAGEMENT PLAN (“QMP”)

1. Prior to beginning environmental information operations, the CAR must:

   a. Submit a previously EPA-approved and current QMP,
   b. The EPA Quality Assurance Manager or designee (hereafter referred to as “QAM”) will notify the CAR and EPA
       Project Officer (“PO”) in writing if the QMP is acceptable for this agreement.

         2. The QMP must be submitted to the EPA Project Officer within 90 days after grant award, and/or no more than
         180 days after grant award




         3. The CAR must review their approved QMP at least annually. The results of the QMP review and any revisions
         must be submitted to the PO and the QAM at least annually and may also be submitted when changes occur.




         B. QUALITY ASSURANCE PROJECT PLAN (“QAPP”)




   1. Prior to beginning environmental information operations, the CAR must:



   a. Submit a previously EPA-approved QAPP proposed to ensure the collected, produced, evaluated, or used
       environmental information is of known and documented quality for the intended use(s).
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                  b. The EPA Quality Assurance Manager or designee (hereafter referred to as “QAM”) will notify the CAR
                  and EPA Project Officer (“PO”) in writing if the previously EPA-approved QAPP is acceptable for this
                  agreement.




For Reference:




   ●   EPA QA/R-2: EPA Requirements for Quality Management Plans and EPA QA/R-5: EPA Requirements for
       Quality Assurance Project Plans; contain quality specifications for EPA and non-EPA organizations and
       definitions applicable to these terms and conditions.
   ●   EPA QA/G-5: Guidance for Quality Assurance Project Plans, Appendix C provides a QAPP Checklist.
   ●   (QAM and/or PO may insert QA references that inform or assist the recipient here).
   ●   EPA’s Quality Program website has a list of QA managers, and Quality Specifications for non-EPA
       Organizations to do business with EPA.
   ●   The Office of Grants and Debarment Quality Assurance Requirements.




XI. Competency of Organizations Generating Environmental Measurement Data: In accordance with Agency Policy
Directive Number FEM-2012-02, Policy to Assure the Competency of Organizations Generating Environmental
Measurement Data under Agency-Funded Assistance Agreements, CAR agrees, by entering into this agreement, that it has
demonstrated competency prior to award, or alternatively, where a pre-award demonstration of competency is not
practicable, the CAR agrees to demonstrate competency prior to carrying out any activities under the award involving the
generation or use of environmental data. The CAR shall maintain competency for the duration of the agreement’s period of
performance, and this will be documented during the annual reporting process. A copy of the Policy is available online at
http://www.epa.gov/fem/lab_comp.htm, or a copy may also be requested by contacting the EPA project officer for this
award.




XII. Geospatial Data Standards: All geospatial data created must be consistent with Federal Geographic Data
Committee (“FGDC”) endorsed standards. Information on these standards may be found at https://www.fgdc.gov/.




XIII. Cybersecurity Grant Condition




A. The CAR agrees that when collecting and managing environmental data under this assistance agreement, it will protect
the data by following all applicable State law cybersecurity requirements.
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B. (1) EPA must ensure that any connections between the CAR’s network or information system and EPA networks used
by the CAR to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an Agency IT system and
an external IT system for the purpose of transferring information. Transitory, user-controlled connections such as website
browsing are excluded from this definition.




If the CAR’s connections, as defined above, do not go through the Environmental Information Exchange Network or EPA’s
Central Data Exchange, the CAR agrees to contact the EPA Project Officer (PO) and work with the designated
Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security requirements,
including entering into Interconnection Service Agreements as appropriate. This condition does not apply to manual entry of
data by the CAR into systems operated and used by EPA’s regulatory programs for the submission of reporting and/or
compliance data.

(2) The CAR agrees that any subawards it makes under this agreement will require the subrecipient to comply with the
requirements in (b)(1) if the subrecipient’s network or information system is connected to EPA networks to transfer data to
the Agency using systems other than the Environmental Information Exchange Network or EPA’s Central Data Exchange.
The CAR will be in compliance with this condition: by including this requirement in subaward agreements; and during
subrecipient monitoring deemed necessary by the CAR under 2 CFR 200.332(d), by inquiring whether the subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the CAR to contact the EPA Project Officer on behalf
of a subrecipient or to be involved in the negotiation of an Interconnection Service Agreement between the subrecipient and
EPA.
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                                                   EPA Funding Information
            FUNDS                                   FORMER AWARD                                THIS ACTION                       AMENDED TOTAL
EPA Amount This Action                                     $1,114,000                              $822,194                                 $1,936,194
EPA In-Kind Amount                                                    $0                                   $0                                        $0
Unexpended Prior Year Balance                                         $0                                   $0                                        $0
Other Federal Funds                                                   $0                                   $0                                        $0
Recipient Contribution                                                $0                                   $0                                        $0
State Contribution                                                    $0                                   $0                                        $0
Local Contribution                                                    $0                                   $0                                        $0
Other Contribution                                                    $0                                   $0                                        $0
Allowable Project Cost                                     $1,114,000                              $822,194                                 $1,936,194



Assistance Program (CFDA)                     Statutory Authority                                 Regulatory Authority
66.817 - State and Tribal Response Program    CERCLA: Sec. 128(a) & Infrastructure Investment     2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR 35
Grants                                        and Jobs Act (IIJA) (PL 117-58)                     Subpart A




                                                                     Fiscal
           Site Name                Req No    FY     Approp.          Budget        PRC       Object    Site/Project      Cost            Obligation /
                                                      Code          Oganization               Class                    Organization       Deobligation
-                                2305QEX059    23        E1SD              05Q1   000D24X90      4113    G525HC00                     -       $822,194
                                                                                                                                              $822,194
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                         Attachment 1 - Project Description
The primary objectives of EPA's CERCLA Section 128(a) State and Tribal Response
Program grants are to provide financial support to States, US Territories, and Tribal Nations
to (1) establish or enhance the four statutory elements of an effective state or Tribal
response program, as specified in CERCLA Section 128(a)(2), (2) maintain and update, at
least annually, a public record of sites, pursuant to CERCLA § 128(b), that includes the
name and location of sites at which response actions have been completed during the
previous year and the name and location of sites at which response actions are planned to
be addressed in the next year, and (3) conduct a limited number of brownfield site
assessments or cleanups that will help establish or enhance the state response program.
The Infrastructure Investment and Jobs Act (“IIJA”) provided additional funding to carry out
the Section 128(a) grant program. The purpose of this award is to enhance the capacity of
Illinois Environmental Protection Agency's (Illinois EPA's) brownfields response program to
meet the Section 128(a) elements. Illinois EPA will oversee and perform planning,
assessment, and cleanup of brownfields sites throughout the state of Illinois.

This Supplemental amendment obligates federal funding in the amount of $822,194.00 and
increases total project costs to $1,936,195.00. The supplemental funding supports the
elements of an effective state or tribal response program, as specified in CERCLA Section
128, and to ensure that states and tribes maintain a public record of sites included in their
programs. The Infrastructure Investment and Jobs Act (“IIJA”) provided additional funding to
carry out the Section 128(a) grant program. The purpose of this award is to enhance the
capacity of The State of Illinois' brownfields response program to meet the Section 128(a)
elements. Illinois Environmental Protection Agency will oversee and perform planning,
assessment, and cleanup of brownfields sites throughout the State of Illinois. Fiscal year
23/24 funds are being added to the original cooperative agreement, in addition to an
extension of the project and budget periods.

The revised workplan activities are in accordance with CERCLA: Sec. 128(a) &
Infrastructure Investment and Jobs Act (IIJA) (PL 117-58) guidelines.
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                                  Administrative Conditions
THE FOLLOWING TERM AND CONDITON HAS BEEN UPDATED:

Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the
following email addresses:

·Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and Kimberly Houston houston-
williams.kimberly@epa.gov

·MBE/WBE reports (EPA Form 5700-52A):region5closeouts@epa.gov

·All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the
Budget and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to
recipient information (including email addresses, changes in contact information or changes in authorized
representatives) and other notifications: cragan.keary@epa.gov and houston-
williams.kimberly@epa.gov

·Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
deliverables: Keary Cragan cragan.keary@epa.gov

ALL OTHER ADMINISTRATIVE TERMS AND CONDITIONS REMAIN UNCHANGED.




                                   Programmatic Conditions
CERCLA SECTION 128(a) STATE AND TRIBAL RESPONSE PROGRAM
FY23 INFRASTRUCTURE INVESTMENT AND JOBS ACT (“IIJA”) FUNDING
GRANT-SPECIFIC PROGRAMMATIC
TERMS AND CONDITIONS
Due to the budget accounting, tracking, and reporting requirements for the
Infrastructure Investment and Jobs Act (“IIJA”) funding, Section 128(a) cooperative
agreements funded with IIJA money must be awarded separately from Section 128(a)
cooperative agreements with annual appropriated funds. In the same vein, Section
128(a) IIJA funds are not eligible to be included in Performance Partnership Grants
(“PPGs”) under 40 CFR Part 35 Subparts A and B. This restriction is intended to
ensure that Section 128 Cooperative Agreement Recipients (“CARs”) can effectively
track, account for, and report on the use of IIJA funding.
If a CAR has two FY23 Section 128(a) Cooperative Agreements (one with annual
appropriated funds and one with IIJA funds), the two awards must clearly delineate
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what activities will utilize annual appropriation funds versus IIJA funds. CARs must
work closely with EPA Project Officers to ensure that there is no duplication of work
funded by the two sources of funding.
I. Response Program Elements: Throughout the duration of this agreement the CAR must
remain a party to the Voluntary Response Program Memorandum of Agreement with EPA,
dated 4/6//1996.
II. Substantial Involvement: This is a cooperative agreement that will entail substantial
involvement by EPA to the extent Agency resources permit. Substantial EPA involvement
includes:
A. Consultation and collaboration on technical and policy matters at the CAR’s request.
EPA’s Project Officer or designee may provide data, advice, and information that will help
the CAR carry out the agreement effectively;
B. EPA’s Project Officer may review the substantive terms of professional services
contracts or subawards the CAR enters into to carry out specific elements of the scope of
work. Neither EPA’s Project Officer nor any other EPA employee will direct, recommend, or
suggest that the CAR enter into a contract or subaward with a specific entity. EPA approval
is not required for contracts for supplies, equipment, information technology and other
administrative support services;
C. EPA’s Project Officer may review the qualifications of key staff hired by the CAR or
consultants with whom the CAR contracts to carry out specific elements of the scope of work
when those staff or contractors are paid by the grant funds. Neither EPA’s Project Officer nor
any other EPA employee will direct, recommend, or suggest that the CAR hire a particular
individual or enter into a consulting contract with a specific entity;
D. Monitoring by EPA of the CAR's performance under the agreement;
III. Public Record System: The CAR must establish a public record system pursuant to
CERCLA Section 128(b)(1)(C). The public record must be maintained and updated at least
annually and include the requirements listed below.
A. For sites where response actions were completed in the previous grant project year,
include the following:
1. Date the response action was completed;
2. Site name, name of owner at time of cleanup, and type of site (e.g., petroleum,
methamphetamine laboratory, mine scarred lands);
3. Location of the site (street address, latitude and longitude);
4. Explanation of whether or not the site will be suitable for unrestricted use upon
completion of the response action. If not, the public record must identify and describe the
institutional control(s) in place or relied on for the remedy (e.g., deed restriction);
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5. Nature of the contamination at the site (e.g., hazardous substances, contaminants,
pollutants, petroleum contamination, etc.); and
6. Size of the site in acres.
B. A list of sites planned to be addressed in the next year by the state or tribal response
program including:
1. Site name, name of owner at time of cleanup, and type of site (e.g., petroleum,
methamphetamine laboratory, mine scarred lands);
2. Location of the site (street address, latitude and longitude);
3. To the extent known, whether an institutional control is in place. If so, describe the type of
institutional control in place (e.g., deed restriction);
4. To the extent known, the nature of the contamination at the site (e.g., hazardous
substances, contaminants, pollutants, petroleum contamination, etc.); and
5. Size of the site in acres.
C. Once a public record is established in a manner consistent with CERCLA Section
128(b)(1)(C), CARs must maintain the public record throughout the duration of this
agreement.
IV. Site-Specific Assessment and Cleanup Activities:
A. Consistent with CERCLA Section 128(a)(2)(C)(iii), EPA guidance, and to the extent
authorized by the scope of work for this agreement, the CAR may conduct assessments or
cleanups at sites that meet the definition of a “brownfield” site as defined at CERCLA
Section 101(39) in response to a request by a person who is or may be affected by a release
or threatened release of a hazardous substance, pollutant, contaminant, or petroleum at a
brownfield located in the community in which the person works or resides. Assessments and
cleanups must comply with all applicable laws and are subject to the following restrictions:
1. Absent approval by EPA’s Project Officer, no more than $250,000 per site can be funded
for assessments, and no more than $250,000 per brownfield site can be funded for
cleanups.
2. Absent approval by EPA’s Project Officer, the CAR may not use funds awarded under
this agreement to assess and/or cleanup brownfields owned by the CAR or held in trust by
the United States Government for the CAR.
3. Assessments and cleanups may not be conducted at brownfields where the CAR is a
potentially responsible party (“PRP”) pursuant to CERCLA Section 107, except when the
CAR acquired the property before January 11, 2002, and has not caused or contributed to a
release or threatened release of a hazardous substance at the property.\
4. The CAR must produce and maintain in their records a site-specific community
involvement plan and site-specific cleanup plan, which includes an abbreviated analysis of
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cleanup alternatives.
a) The documents’ detail and length should be commensurate with the complexity of the
proposed cleanup action (i.e., the larger and more complex the cleanup, the more detailed
the community involvement plan and cleanup plan, while small cleanups may have a
shorter, simpler set of documents).
b) If the CAR’s environmental response program produces equivalent documentation in its
regular course of business that satisfy this requirement, duplicative documentation is not
required.
c) These documents do not require EPA approval but must be made available if the EPA
Project Officer, or members of the community, requests them.
d) CARS can ask their EPA Project Officers for examples of a site-specific community
involvement plan or site-specific cleanup plan. For more information, CARs can also review
the Brownfields Roadmap and Cleaning Up Brownfield Sites factsheet.
5. The CAR agrees to clearly reference EPA investments in site-specific activities outlined
in the CAR’s EPA-approved workplan during all phases of community outreach.
a) If any documents, fact sheets, and/or web materials are developed as part of this
cooperative agreement, then they shall comply with the Acknowledgement Requirements for
Non-ORD Assistance Agreements in the General Terms and Conditions of this agreement.
b) If a sign is developed as part of a project funded by this cooperative agreement, then the
sign shall include either a statement (e.g., this project has been funded, wholly or in part, by
EPA) and/or EPA's logo acknowledging that EPA is a source of funding for the project. The
EPA logo may be used on project signage when the sign can be placed in a visible location
with a direct linkage to site activities. Use of the EPA logo must follow the sign specifications
available at https://www.epa.gov/grants/epa-logo-seal-specifications-signage-produced-epa-
assistance-agreement-recipients.
B. Consistent with CERCLA Section 128(a)(2)(B)(ii), and to the extent authorized by the
scope of work for this agreement, the CAR may use funds awarded under this agreement to
complete the necessary response activities, including assessments and cleanups, if the
person conducting a response action overseen by the CAR fails to complete the necessary
response activities, including operation and maintenance or long-term monitoring activities.
Assessments and cleanups under this provision must comply with all applicable laws and
are subject to the following restrictions:
1. Absent approval by EPA’s Project Officer, the CAR may not use funds awarded under
this agreement to assess and cleanup sites owned by the CAR.
2. The CAR may not use funds awarded under this agreement to assess or cleanup sites
for which the CAR is a potentially responsible party (pursuant to CERCLA Section 107), with
the exception of sites contaminated by a controlled substance as defined in CERCLA
Section 101(39)(D)(ii)(I).
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C. For the site-specific activities under paragraphs III.A. and III.B., the CAR must maintain
documentation supporting the CAR’s conclusion that the site meets the brownfield definition
in CERCLA Section 101(39). For those sites which are excluded from the brownfield
definition, pursuant to CERCLA Section 101(39)(B), but are eligible for a property-specific
funding determination pursuant to CERCLA Section 101(39)(C), the CAR must comply with
paragraph V below. NOTE: To the extent authorized in the scope of work for this agreement,
the CAR may conduct oversight of cleanups at sites other than brownfields. Records must
be maintained per 2 CFR 200.334.
D. For site-specific activities at petroleum-only brownfields sites (CERCLA Section
101(39)(D)(ii)(II)), the requirements listed below apply.
1. The CAR must determine and maintain supporting documentation that:
a) There is no viable responsible party for the site;
b) The site will not be assessed, investigated, or cleaned up by a person that is potentially
liable for cleaning up the site; and
c) The site is not subject to any order issued under Section 9003(h) of the Solid Waste
Disposal Act.
2. The supporting documentation must identify the state official who made the
determinations identified in D.1., the date the CAR obtained the determinations, and a
summary of each conclusion.
CARs are encouraged to reach out to their EPA regional brownfields contacts with questions
on petroleum brownfield site eligibility and where to get additional information. Also check
out resources on EPA’s Brownfields website, such as Community Visions for Abandoned
Gas Stations and EPA’s Petroleum Contact List for Tribes and EPA’s Office of Underground
Storage Tank’s (“OUST’s”) Petroleum Brownfields webpage.
E. Site-specific Activity Funding Limit: The amount requested for site-specific
assessments and cleanups may not exceed 75% of the total amount of Section 128(a)
funding awarded to the CAR during FY 2023. This 75% cap includes the total funding that
the CAR received from both the FY23 Section 128(a) Annual Appropriation funds and FY23
Section 128(a) IIJA funds. [Note: Oversight of assessment and cleanup activities performed
by responsible parties (other than the state or tribe) does not count toward the 75% limit.
The 75% cap also does not include personnel or supplies/equipment purchased in support
of site-specific work.]
A CAR may submit to the EPA Project Officer a written request for a waiver to exceed the
75% of annual funding for site-specific activities, as described under Section III A-D. The
EPA Project Officer will review the waiver request and make a recommendation to EPA’s
Office of Brownfields and Land Revitalization, who will determine if the requested waiver is
approved. The EPA Project Officer will notify the CAR of EPA’s determination.
The CAR’s written waiver request submitted to the EPA Project Officer must include a brief
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justification describing the reason(s) for spending more than 75% of their FY23 total annual
appropriation and IIJA allocation on site-specific activities and must include the following
information:
1. Provide the percentage of the eligible brownfield site-specific activities (assuming waiver
is approved) in the CAR’s total FY23 budget;
2. List all site-specific activities that will be covered by this funding. If known, provide site-
specific information and a description of how work on each site contributes to the
establishment or enhancement of your state/tribal response program. EPA encourages
states and tribes to use site-specific funding to perform assessment and cleanup activities
that will expedite the reuse and redevelopment of sites, and prioritize sites based on need.
Further explain how the community will be (or has been) involved in prioritization of site work
and especially those sites where there is a potential or known significant environmental
impact to the community;
3. Explain how this shift in funding will not negatively impact the core programmatic capacity
(i.e., the ability to establish/enhance the four elements of a response program) and how it
will be maintained in spite of an increase in site-specific work. Grantees must demonstrate
that they have adequate funding from other sources to effectively carry out work on the four
elements for EPA to grant a waiver of the 75% limit on using 128(a) funds for site-specific
activities;
4. Describe how this shift in funding towards site-specific work is appropriate for your
response program; and
5. Explain whether the sites to be addressed are those for which the affected community/ies
has/have requested work be conducted.
V. Property-Specific Funding Determinations:
A. If a CAR plans to use funds for site-specific activities at a site that is excluded from the
definition of a brownfield in CERCLA Section 101(39)(A) and (B) but is eligible for a
property-specific funding determination, then the CAR must provide information sufficient for
EPA’s Regional Approval Official, as delegated by Delegation 14-44 and 14-45, to make a
property-specific funding determination. Sites eligible for property-specific funding are
defined in CERCLA Section 101(39)(C). The CAR must comply with the following
requirements:
1. The CAR must not incur any site-specific costs for those sites which require a property-
specific funding determination under this agreement (other than those necessary to provide
information to EPA) until EPA’s Approval Official makes a property-specific funding
determination.
2. The CAR must submit to EPA’s Project Officer a written request for a property-specific
funding determination. The request must include information about the site (e.g., name,
location, owners) and explain how the financial assistance will:
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a) Protect human health and the environment, and
b) Either promote economic development or enable the creation of, preservation of, or
addition to parks, greenways, undeveloped property, other recreational property or other
property used for nonprofit purposes.
B. Any property-specific funding determination granted by EPA does not obviate the CAR’s
responsibility to incur only costs that meet the terms and conditions of the agreement and
are allowable under 2 CFR Parts 200 and 1500 for governmental entities.
VI. Institutional Controls: To the extent authorized by the scope of work for this
agreement, the CAR may use funding under this agreement to maintain and monitor
institutional controls.
VII. Investing in America Signage Required Term and Condition (Updated May 11,
2023)
A. Signage Requirements
1. Investing in America Emblem: The recipient will ensure that a sign is placed at
construction sites supported in whole or in part by this award displaying the official Investing
in America emblem and must identify the project as a “project funded by President Biden’s
Bipartisan Infrastructure Law” or “project funded by President Biden’s Inflation Reduction
Act” as applicable. The sign must be placed at construction sites in an easily visible location
that can be directly linked to the work taking place and must be maintained in good condition
throughout the construction period.
The recipient will ensure compliance with the guidelines and design specifications provided
by EPA for using the official Investing in America emblem available at:
https://www.epa.gov/invest/investing-america-signage.
2. Procuring Signs: Consistent with section 6002 of RCRA, 42 U.S.C. 6962, and 2 CFR
200.323, recipients are encouraged to use recycled or recovered materials when procuring
signs. Signage costs are considered an allowable cost under this assistance agreement
provided that the costs associated with signage are reasonable. Additionally, to increase
public awareness of projects serving communities where English is not the predominant
language, recipients are encouraged to translate the language on signs (excluding the
official Investing in America emblem or EPA logo or seal) into the appropriate non-English
language(s). The costs of such translation are allowable, provided the costs are reasonable.
B. Public or Media Events
EPA encourages the recipient to notify the EPA Project Officer listed in this award document
of public or media events publicizing the accomplishment of significant events related to
construction projects as a result of this agreement and provide the opportunity for
attendance and participation by federal representatives with at least ten (10) working days’
notice.
VIII. Grant Performance Reporting Requirements:
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A. Performance Reporting Requirements for Program Activity Levels (“PALs”)
CARs must report Program Activity Levels (“PALs”) once annually when the Section 128(a)
funding request is due to the appropriate EPA Regional Office in mid-December. PALs
summarize the work from the previous federal fiscal year, therefore, CAR’s responses to the
PALs questions should reflect activities for the period covering the last federal fiscal year
(October 1 – September 30), including:
1. Environmental programs where CERCLA 128(a) funds are used to support capacity
building [general program support, non-site-specific work]. Specify which programs were
supported with 128(a) funds from the following: Brownfields, Underground Storage
Tanks/Leaking Underground Storage Tanks, Federal Facilities, Solid Waste Superfund,
Hazardous Waste Facilities, VCP (Voluntary Cleanup Program, Independent Cleanup
Program, etc.), and Other;
2. Number of properties (or sites) enrolled in a response program during previous federal
fiscal year;
3. Number of properties (or sites) where documentation indicates that cleanup work is
complete AND either (a) all required institutional controls (IC’s) are in place, or (b) the
cleanup does not require ICs;
4. Total number of acres associated with properties (or sites) in the previous question
(Question #3);
5. OPTIONAL: Number of properties (or sites) where assistance was provided, but the
property was not enrolled in a response program;
6. Date that the public record was last updated;
7. Number of audits/inspections/reviews/other conducted to ensure engineering controls
and institutional controls are still protective; and
8. Did you develop or revise legislation, regulations, codes, guidance documents or policies
related to establishing or enhancing your Voluntary Cleanup Program/Response Program
during FY22? If yes, please indicate the type and whether it was new or revised.
Beginning in FY23, CARs will only be able to provide PALs information directly into
EPA’s Assessment, Cleanup and Redevelopment Exchange System (“ACRES”)
database.
For detailed instructions on how to report PALs in ACRES, please see the quick
reference guide at https://www.epa.gov/brownfields/brownfields-grantee-reporting-
using-assessment-cleanup-and-redevelopment-exchange. For technical support,
contact 703-284-8212 or email acres_help@epa.gov. For questions specific to your grant
data, contact your EPA Regional Representative.
B. Semi-Annual Performance Reporting Requirements: CAR agrees to provide semi-
annual performance reports. The reports will be due no later than 30 calendar days after the
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reporting period.
1. All interim and final progress reports must prominently display the following three relevant
Essential Elements as reflected in the current EPA strategic plan:
a) Strategic Plan Goal 6: Safeguard and Revitalize Communities
b) Strategic Plan Objective 6.1: Clean Up and Restore Land for Productive Uses and
Healthy Communities
c) Work plan Commitments and Timeframes: See work plan for specifics.
2. The CAR will report on milestones, activities, and outputs achieved under this agreement.
Examples of items to include:
a) The completion of significant site planning, assessment, cleanup, or redevelopment
activities, including any relevant information regarding whether such activities anticipated or
otherwise considered the impacts of climate change and/or benefited a community with
environmental justice concerns. [The EPA describes environmental justice (“EJ”) as the fair
treatment and meaningful involvement of all people regardless of race, color, national origin,
or income with respect to the development, implementation and enforcement of
environmental laws, regulations, and policies. For example, an “underserved community”
refers to a community with environmental justice concerns and/or vulnerable populations,
including low-income citizens, communities of color, and tribal and Indigenous peoples.];
b) Information regarding significant outreach, meeting, or training events, including whether
such outreach engaged communities with environmental justice concerns;
c) Significant updates to a website or tracking system or improvements to the process;
d) For site-specific work, details such as where and when the activity was conducted and
why, who was involved or impacted, and what was accomplished, including whether site-
specific work anticipated or otherwise considered the impacts of climate change and/or
benefited a community with environmental justice concerns. The narrative may range in
length between a paragraph and one page in length for a specific site. Provide before and
after photos of site work and photos of events, unless the site assessment report already
has been provided to EPA as a deliverable.
e) A budget summary table which may include the following information: current approved
project budget; costs incurred during the reporting quarter; costs incurred to date
(cumulative expenditures); and total remaining funds.
3. All CARs must report information relating to establishing and maintaining the public
record described in paragraph II above and provide the date of the last update. (NOTE: For
this requirement, CARs can refer to their already existing public record, such as a website or
other public database).
4. CARs with work plans that include funding for other site-related activities must include a
description of the activities and provide the number of sites at which the activities were
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conducted. For example:
a) Number and frequency of oversight reviews (internal audits) of licensed site professional
certified cleanups.
b) Number and frequency of state/tribal oversight reviews (internal audits) conducted.
c) Number of sites where staff conducted reviews (internal audits), provided technical
assistance, or conducted other oversight activities.
d) Number of staff conducting oversight reviews (internal audits), providing technical
assistance, or conducting other oversight activities.
C. Significant Developments: As required by 2 CFR 200.329(e), the CAR must inform
EPA and report on significant impacts to grant-supported activities when they occur between
the scheduled reporting dates. Significant developments to report may include problems or
delays (such as staff vacancies or travel restrictions) as well as favorable developments or
successes associated with milestones and activities as listed under section VII.B above.
D. Reporting Requirements Related to Site Assessment and Cleanup Work: The
CARs must report on interim progress (e.g., assessment started) and any final
accomplishments (e.g., assessment completed, cleanup required, contaminants, Institutional
Controls, Engineering Controls) by submitting information into the Brownfields online
reporting system, known as the Assessment, Cleanup and Redevelopment Exchange
System (“ACRES”). The CAR must enter this data into ACRES within 30 days of the end of
the next reporting period or sooner at EPA’s request. EPA will provide the CARs with
training, which
E. Final Report: The CAR must submit a final performance report at the end of the period
of performance in order to finalize the closeout of the grant. This final report must capture
the work that was performed during the period of performance, explain how the funding was
utilized, and may include a summary of activities as is listed under VI.B. above. The final
report is due within 120 days of the end of the period of performance and, with approval from
the EPA Project Officer, may be submitted in lieu of a final quarterly or semi-annual report.
F. Updating the State Brownfields and Voluntary Response Programs Report in
ACRES
State CARs must update their state response program information in ACRES at least once a
year (and may update more frequently if changes in their response program warrant an
additional update), so that EPA has accurate, up-to-date information to share with the public
in the form of a State Brownfields and Voluntary Response Program Report. EPA expects
that this annual update will occur when states are already in the ACRES database
performing other required ACRES reporting, thereby reducing the administrative burden.
For detailed instructions on how to update your state brownfields information in ACRES,
please see the quick reference guide at https://www epa gov/brownfields/brownfields-
grantee-reporting-using-assessment-cleanup-and-redevelopment-exchange.
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IX. General Federal Requirements: The CAR must comply with federal cross-cutting
requirements. These requirements include, but are not limited to, EPA’s disadvantaged
business enterprise requirements found at 40 CFR Part 33; nondiscrimination statutes,
including Title VI of the Civil Rights Act of 1964, and EPA’s implementing regulations found
at 40 C.F.R. Parts 5 and 7; OSHA Worker Health & Safety Standards in 29 CFR 1910.120;
the Uniform Relocation Act; National Historic Preservation Act; Endangered Species Act;
Permits required by Section 404 of the Clean Water Act; Executive Order 11246, Equal
Employment Opportunity, and implementing regulations at 41 CFR 60-4; Contract Work
Hours and Safety Standards Act, as amended (40 USC 327-333); the Anti-Kickback Act (40
USC 276c); and Section 504 of the Rehabilitation Act of 1973, as implemented by Executive
Orders 11914 and 11250. EPA provides additional information on cross-cutting
requirements in EPA Subaward Cross Cutter Requirements.
X. Program Income: In accordance with 2 CFR 1500.8, the CAR is authorized to add
program income generated under this agreement to the funds committed by EPA. The CAR
can use this program income to carry out activities described in the scope of work for this
agreement and under the same terms and conditions of the agreement. Program income is
defined generally at 2 CFR 200.1. For the purposes of this agreement, program income
includes fees paid by participants in the CAR's voluntary cleanup program or other fees for
services (only to the extent that these fees recover costs charged to this agreement). Costs
the CAR recovers for cleanups and site assessments are program income to the same
extent that the recovered costs represent costs charged to this agreement. The CAR must
provide as part of its semi-annual and final performance report, a description of how
program income is being used. In addition, a report on the amount of program income
earned during the award period must be submitted with the Annual and Final Federal
Financial Report, Standard Form 425.
The CAR will maintain records adequate to document the extent to which transactions
generate program income and the disposition of program income. As required by 2 CFR
200.305(b)(5), tribal CARs will disburse program income before requesting additional
payments under this agreement. State CARs are subject to 2 CFR 200.305(a).
XI. Quality Assurance
Authority: Quality Assurance applies to all assistance agreements involving environmental
information (including environmental data collection, production, or use) as defined in 2 CFR
§ 1500.12, Quality Assurance.
The CAR shall ensure that subawards involving environmental information issued under this
agreement include appropriate quality requirements for the work. The CAR shall ensure sub-
award recipients develop and implement [a/the] Quality Assurance (“QA”) planning
document[s] in accordance with this term and condition; and/or ensure sub-award recipients
implement all applicable approved QA planning documents.
A. QUALITY ASSURANCE PROJECT PLAN (“QAPP”)
1. Prior to beginning environmental information operations, the CAR must:
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a. Submit a previously EPA-approved QAPP proposed to ensure the collected, produced,
evaluated, or used environmental information is of known and documented quality for the
intended use(s).
b. The QAM will notify the CAR and EPA PO in writing if the previously EPA-approved
QAPP is acceptable for this agreement.
For Reference:
* Quality Management Plan (QMP) Standard (Directive No: CIO 2105-S-01.0) and EPA
QA/R-5: EPA Requirements for Quality Assurance Project Plans; contain quality
specifications for EPA and non-EPA organizations and definitions applicable to these
terms and conditions.
* EPA QA/G-5: Guidance for Quality Assurance Project Plans, Appendix C provides a
QAPP Checklist.
* EPA’s Quality Program website has a list of QA managers, and Quality
Specifications for non-EPA Organizations to do business with EPA.
* The Office of Grants and Debarment Quality Assurance Requirements.
XII. Competency of Organizations Generating Environmental Measurement Data: In
accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the
Competency of Organizations Generating Environmental Measurement Data under Agency-
Funded Assistance Agreements, CAR agrees, by entering into this agreement, that it has
demonstrated competency prior to award, or alternatively, where a pre-award demonstration
of competency is not practicable, the CAR agrees to demonstrate competency prior to
carrying out any activities under the award involving the generation or use of environmental
data. The CAR shall maintain competency for the duration of the agreement’s period of
performance, and this will be documented during the annual reporting process. A copy of
the Policy is available online at http://www.epa.gov/fem/lab_comp.htm, or a copy may also
be requested by contacting the EPA project officer for this award.
XIII. Geospatial Data Standards: All geospatial data created must be consistent with
Federal Geographic Data Committee (“FGDC”) endorsed standards. Information on these
standards may be found at https://www.fgdc.gov/.
XIV. Cybersecurity Grant Condition
A. The CAR agrees that when collecting and managing environmental data under this
assistance agreement, it will protect the data by following all applicable State law
cybersecurity requirements.
B. (1) EPA must ensure that any connections between the CAR’s network or information
system and EPA networks used by the CAR to transfer data under this agreement, are
secure.
For purposes of this Section, a connection is defined as a dedicated persistent interface
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between an Agency IT system and an external IT system for the purpose of transferring
information. Transitory, user-controlled connections such as website browsing are excluded
from this definition.
If the CAR’s connections, as defined above, do not go through the Environmental
Information Exchange Network or EPA’s Central Data Exchange, the CAR agrees to contact
the EPA Project Officer (PO) and work with the designated Regional/Headquarters
Information Security Officer to ensure that the connections meet EPA security requirements,
including entering into Interconnection Service Agreements as appropriate. This condition
does not apply to manual entry of data by the CAR into systems operated and used by
EPA’s regulatory programs for the submission of reporting and/or compliance data.
(2) The CAR agrees that any subawards it makes under this agreement will require the
subrecipient to comply with the requirements in (b)(1) if the subrecipient’s network or
information system is connected to EPA networks to transfer data to the Agency using
systems other than the Environmental Information Exchange Network or EPA’s Central Data
Exchange. The CAR will be in compliance with this condition: by including this requirement
in subaward agreements; and during subrecipient monitoring deemed necessary by the CAR
under 2 CFR 200.332(d), by inquiring whether the subrecipient has contacted the EPA
Project Officer. Nothing in this condition requires the CAR to contact the EPA Project Officer
on behalf of a subrecipient or to be involved in the negotiation of an Interconnection Service
Agreement between the subrecipient and EPA.
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                                                       EPA Funding Information
            FUNDS                                       FORMER AWARD                              THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                    $0                           $733,568                                  $733,568
EPA In-Kind Amount                                                        $0                                  $0                                        $0
Unexpended Prior Year Balance                                             $0                                  $0                                        $0
Other Federal Funds                                                       $0                                  $0                                        $0
Recipient Contribution                                                    $0                                  $0                                        $0
State Contribution                                                        $0                                  $0                                        $0
Local Contribution                                                        $0                                  $0                                        $0
Other Contribution                                                        $0                                  $0                                        $0
Allowable Project Cost                                                    $0                           $733,568                                  $733,568



Assistance Program (CFDA)                         Statutory Authority                                Regulatory Authority
66.920 - Solid Waste Infrastructure Financing -   33 USC 4282 & Infrastructure Investment and        2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR 35
Save Our Seas Act Grants                          Jobs Act (IIJA) (PL 117-58)                        Subpart A




                                                                         Fiscal
           Site Name                   Req No     FY     Approp.          Budget        PRC       Object   Site/Project      Cost            Obligation /
                                                          Code          Oganization               Class                   Organization       Deobligation
-                                   2305QCX027     22        E1SD              05Q1   000D11X81    4183               -                  -       $733,568
                                                                                                                                                 $733,568
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                         Attachment 1 - Project Description
EPA's Solid Waste Infrastructure for Recycling (SWIFR) grants for states and territories will
fund activities that support long-term planning and data collection needs to demonstrate
progress toward the National Recycling Goal and Food Loss and Waste Reduction Goal and
advance a Circular Economy for materials, as well as support the state-led implementation
of plans to advance post-consumer materials management. The purpose of this award is to
enhance the Illinois Environmental Protection Agency's efforts to meet the SWIFR grants
elements. Illinois EPA will conduct a statewide waste characterization study that identifies
the annualized volume of individual materials generated in Illinois and the end-of-life
handling methods of those materials by geographic region of the state. Illinois EPA will
procure a contractor to conduct a comprehensive statewide generation and waste
characterization study in order to develop a detailed report. Illinois EPA will utilize a
combination of existing full-time employees and an outside contractor. The objective of this
project is to produce a report detailing the tons of municipal solid waste generated by
material type in Illinois and how those materials are handled at the end of their life. These
data will be presented in terms of statewide generation and disposal, as well as county-by-
county generation and disposal. The primary outcome from the use of these funds will be
providing Illinois EPA with contemporary, accurate data reflecting the statewide materials
generation profile. These data will enable Illinois EPA to identify specific materials streams
and generation locations to target for landfill diversion efforts. Depending on the results of
the waste characterization, those efforts may include regulatory amendments to afford
composting facilities flexibility to accept additional food scraps or targeted uses of state
funds appropriated by the General Assembly to focus on materials generated at a high rate
that are otherwise recoverable given the state’s existing infrastructure. Other expected
outcomes include: temporary or permanent jobs created; identify viable landfill diversion
options for materials generated in the state and the maximal reasonable volume of those
materials that could be reasonably diverted; review and provide interpretation of State laws
and regulations to ensure effective implementation of the SWIFR program; maintain effective
work force to meet work plan commitments; and identify the possible volume of GHGs that
could be reduced (in MTCO2e) from enhanced collection, recycling, composting, or
management via other management pathways in the state. No subawards are included in
this assistance agreement.
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                                   Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2022-or-later.

These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at:
https://www.epa.gov/grants/grant-terms-and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the
following email addresses:

Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and young.robert@epa.gov
MBE/WBE reports (EPA Form 5700-52A): region5closeouts@epa.gov and Robert Young at
young.robert@epa.gov
All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the
Budget and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to
recipient information (including email addresses, changes in contact information or changes in authorized
representatives) and other notifications: Ethel Crisp at crisp.ethel@epa.gov and Robert Young at
young.robert@epa.gov
Payment requests (if applicable): Ethel Crisp at crisp.ethel@epa.gov
Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
deliverables: [Ethel Crisp at crisp.ethel@epa.gov


                                   Programmatic Conditions
Grant Programmatic Terms and Conditions

A. PERFORMANCE REPORTING AND FINAL PERFORMANCE REPORT

Performance Reports – Content

In accordance with 2 CFR 200.329, the recipient agrees to submit performance reports that include brief
information on each of the following areas: 1) A comparison of actual accomplishments to the
outputs/outcomes established in the assistance agreement work plan for the period; 2) The reasons why
established outputs/outcomes were not met; and 3) Additional pertinent information, including, when
appropriate, analysis and explanation of cost overruns or high-unit costs.

Additionally, the recipient agrees to inform EPA as soon as problems, delays, or adverse conditions which
will materially impair the ability to meet the outputs/outcomes specified in the assistance agreement work
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plan are known.

Performance Reports - Frequency

Semi-annual performance reports are required and they are to be submitted electronically to the EPA
Project Officer within 30 days after the reporting period (every six-month period). The reporting periods
span from 04/01 to 10/01 respectively. The recipient must submit a final performance report no later than
120 calendar days after the end date of the period of performance.

B. Cybersecurity Condition

State Grant Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient’s network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the recipient’s connections as defined above do not go through the Environmental Information
Exchange Network or EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to ensure
that the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by EPA’s regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient to
comply with the requirements in (b)(1) if the subrecipient’s network or information system is connected to
EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA’s Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring
deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA
Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the subrecipient and EPA.

Competency of Organizations Generating Environmental Measurement Data

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements,

Recipient agrees, by entering into this agreement, that it has demonstrated competency prior to award, or
alternatively, where a pre-award demonstration of competency is not practicable, Recipient agrees to
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demonstrate competency prior to carrying out any activities under the award involving the generation or
use of environmental data. Recipient shall maintain competency for the duration of the project period of
this agreement and this will be documented during the annual reporting process. A copy of the Policy is
available online at https://www.epa.gov/sites/production/files/2015-03/documents/competency-policy-aaia-
new.pdf or a copy may also be requested by contacting the EPA Project Officer for this award.

C. Quality Assurance

Authority: Quality Assurance applies to all assistance agreements involving environmental information as
defined in 2 C.F.R. § 1500.12 Quality Assurance.

The recipient shall ensure that subawards involving environmental information issued under this
agreement include appropriate quality requirements for the work. The recipient shall ensure sub-award
recipients develop and implement a Quality Assurance (QA) planning document in accordance with this
term and condition; and/or ensure sub-award recipients implement all applicable approved QA planning
documents.

Since the recipient has an EPA-approved Quality Management Plan and a current EPA delegation to
review and approve QAPPs, the recipient must submit the QAPPs to EPA according to the
timeframe within the current, approved QMP.
The recipient must review their approved QMP at least annually. These documented reviews shall be
made available to the sponsoring EPA organization if requested. When necessary, the recipient shall
revise its QMP to incorporate minor changes and notify the EPA PO and QAM of the changes. If
significant changes have been made to the Quality Program that affect the performance of environmental
information operations, it may be necessary to re-submit the entire QMP for re-approval. In general, a
copy of any QMP revision(s) made during the year should be submitted to the EPA PO and QAM in
writing when such changes occur. Conditions requiring the revision and resubmittal of an approved QMP
can be found in section 6 of EPA’s Quality Management Plan (QMP) Standard.
D. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach
materials, or reports, it must not be prominently displayed to imply that any of the recipient or
subrecipient’s activities are being conducted by the EPA. Instead, the EPA logo should be accompanied
with a statement indicating that the MPCA received financial support from the EPA under an Assistance
Agreement. More information is available at: https://www.epa.gov/stylebook/using-epa-seal-and-
logo#policy

E. Paperwork Reduction Act

Notwithstanding any references to collection of information in the recipient’s application or proposal for
EPA funding, the scope of work for this cooperative agreement does not include a survey or other
information collection of identical information from 10 or more parties. No EPA funds (directly paid by
EPA or from the recipient’s cost share) may be used for the design or administration of such an
information collection, and EPA personnel may not participate in such activities. Reasonable costs for
analyzing independently collected information and publishing the results of such information collections
are allowable to the extent authorized in the EPA approved budget for this agreement.
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F. Substantial Involvement

EPA will be substantially involved in this agreement. Substantial involvement by the EPA Project Officer
may include (but is not limited to):

1.) monthly or quarterly telephone calls and other monitoring (or meeting on an alternate schedule
suggested by EPA’s Project Officer),

2.) reviewing project phases and providing approval to continue to the next phase,

3.) reviewing and commenting on any documents, web content, or other materials developed under this
agreement (the recipient will make final decisions on these matters),

4.) approving substantive terms included in contracts or subawards (EPA’s Project Officer will not
suggest, recommend or direct the recipient to select any particular contractor or subrecipient except to the
extent permitted in Section 10 of EPA’s Subaward Policy).

5.) reviewing and commenting on the programmatic progress reports

6.) Consultation with EPA regarding the selection of key personnel (EPA’s involvement is limited to
reviewing the technical qualifications of key personnel and the recipient will make the final decisions on
selection. EPA’s Project Officer will not suggest, recommend or direct the recipient to select any
individual).

7.) Joint operational involvement, participation, and/or collaboration between EPA and the recipient.
EPA’s Project Officer or designee may provide data, advice, and information that will help the grantee
carry out the agreement effectively.
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                                                           EPA Funding Information
              FUNDS                                        FORMER AWARD                                   THIS ACTION                          AMENDED TOTAL
EPA Amount This Action                                                       $0                            $ 40,675,000                             $ 40,675,000
EPA In-Kind Amount                                                           $0                                        $0                                     $0
Unexpended Prior Year Balance                                                $0                                        $0                                     $0
Other Federal Funds                                                          $0                                        $0                                     $0
Recipient Contribution                                                       $0                                        $0                                     $0
State Contribution                                                           $0                                        $0                                     $0
Local Contribution                                                           $0                                        $0                                     $0
Other Contribution                                                           $0                                        $0                                     $0
Allowable Project Cost                                                       $0                            $ 40,675,000                             $ 40,675,000



Assistance Program (CFDA)                             Statutory Authority                                    Regulatory Authority
66.442 - Water Infrastructure Improvements for the    Safe Drinking Water Act: Sec. 1459A &                  2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR
Nation Small and Underserved Communities              Infrastructure Investment and Jobs Act (IIJA) (PL      40
Emerging Contaminants Grant Program                   117-58)




                                                                              Fiscal
                                                             Approp.          Budget                      Object                       Cost         Obligation /
          Site Name                  Req No           FY                                     PRC                   Site/Project
                                                              Code          Organization                  Class                     Organization    Deobligation
-                                 2405PKX012         23     E4SD            05P1           000BL8X87      4101     -                -               $ 20,337,500
-                                 2405PKX012         22     E4SD            05P1           000BL8X87      4101     -                -               $ 20,337,500
                                                                                                                                                    $ 40,675,000
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Budget Summary Page
                                       Table A - Object Class Category                             Total Approved Allowable
                                             (Non-Construction)                                       Budget Period Cost
 1. Personnel                                                                                                                   $0
 2. Fringe Benefits                                                                                                             $0
 3. Travel                                                                                                                      $0
 4. Equipment                                                                                                                   $0
 5. Supplies                                                                                                                    $0
 6. Contractual                                                                                                                 $0
 7. Construction                                                                                                                 $0
 8. Other                                                                                                              $ 40,675,000
 9. Total Direct Charges                                                                                               $ 40,675,000
 10. Indirect Costs: 0.00 % Base                                                                                                 $0
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                              $ 40,675,000
 12. Total Approved Assistance Amount                                                                                  $ 40,675,000
 13. Program Income                                                                                                              $0
 14. Total EPA Amount Awarded This Action                                                                              $ 40,675,000
 15. Total EPA Amount Awarded To Date                                                                                  $ 40,675,000
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                                Attachment 1 - Project Description
This agreement provides funding under the Infrastructure Investment and Jobs Act (IIJA) to the State of
Illinois to implement resources and priorities to help address Per- and polyfluoroalkyl substances (PFAS)
and emerging contaminant challenges; target resources to communities most in need of assistance to
ensure that no community is left behind with unsafe, inadequate water; and advance the priorities of
equity and environmental justice. Illinois will implement projects such as emerging contaminant
treatment, planning/design, and technical assistance with the use of this award funding.The activities
include projects and activities to address emerging contaminants in small or disadvantaged communities,
including but not limited to research and testing; planning and design to address emerging contaminates;
treatment of emerging contaminants; source water activities related to emerging contaminants; storage;
water system restructuring; providing households access to drinking water services; technical assistance;
outreach and education; and workforce or training support to public water systems in addressing
emerging contaminants.This agreement is to an eligible state or territory to implement a program to
provide assistance to address emerging contaminants in drinking water to small or disadvantaged
communities. Funds are to carry out projects and activities needed for public water systems to comply
with the Safe Drinking Water Act, programs to provide household water quality testing, activities for a
state to respond to a drinking water contaminants, and activities that benefit the impacted communities.
Specific deliverables, outcomes, and intended beneficiaries will be determined once projects have been
selected from Illinois' 2025 IUP.Grants to eligible water systems to address emerging contaminants
through remediation infrastructure projects.
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                                   Administrative
                                                e Conditions
Generall Termss and
                  d Conditions

The recipient agrees to comply with the current EPA general terms and conditions available
at: https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2023-or-
later.

These terms and conditions are in addition to the assurances and certifications made as a part of
the award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.
epa.gov/grants/grant-terms-and-conditions#general.

A.. Correspondence
                 e Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be
sent to the following email addresses:

       Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and young.robert@epa.gov
       MBE/WBE reports (EPA Form 5700-52A): Michaell Tukess att tukes.michael@epa.gov and
       Robertt Young g att young.robert@epa.gov
       All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for
       Extensions of the Budget and Project Period, Amendment Requests, Requests for other
       Prior Approvals, updates to recipient information (including email addresses, changes in
       contact information or changes in authorized representatives) and other notifications:
       Patrickk Gilvaryy att Gilvary.Patrick@epa.gov and d Robertt Youngg att young.robert@epa.gov
       Payment requests (if applicable): Patrickk Gilvaryy att Gilvary.Patrick@epa.gov
       Quality Assurance documents, workplan revisions, equipment lists, programmatic reports
       and deliverables: Patrickk Gilvaryy att Gilvary.Patrick@epa.gov

B.. INTERGOVERNMENTAL
                    L REVIEW
                           W PERIOD

In accordance with 40 CFR Part 29, EPA must allow for an intergovernmental review comment
period on this grant program. Accordingly, the recipient may incur costs at its own risk but shall
not draw down any funds associated with this award until the process is completed. This includes
successful resolution of any issues identified during the comment period. The recipient must
provide evidence of submission of the project for intergovernmental review.

This submission must be sent by email to the EPA Grants Specialist with a courtesy copy to the
Project Officer. The comment period will end 60 days from the aforementioned submission.
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C. Pre-award Costs

In accordance with 2 CFR 1500.9, the grantee may charge pre-award costs (both Federal and
non-Federal matching shares) incurred from 1/1/24 to the actual award date provided that such
costs were contained in the approved application and all costs are incurred within the approved
budget period.
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                                                    Programmatic Conditions
Grant Programmatic Terms and Conditions

A. PERFORMANCE REPORTING AND FINAL PERFORMANCE REPORT

Work Plan

The recipient agrees to perform the activities identified and specified in the approved work plan, which is made part of this Assistance
Agreement. The recipient shall provide or make available to the EPA Project Officer copies of the work plans associated with grants and
contracts that it may enter into with other agencies and organizations related to activities conducted under this grant. The recipient agrees
to notify EPA of modifications or challenges as they arise through the development and progress of the projects and related activities in
order to modify workplans or budgets as appropriate to meet the obligations of the project receiving funding. The recipient must
submit modifications for EPA approval prior to continued project progress, and related activities. Recipient will meet with EPA regional
programmatic and technical point of contact routinely, during the length of the performance period, to review workplan progress and
expenditures, challenges to progress of project progress, and public outreach to the communities and stakeholders that are beneficiaries of
the grant project and/or activities. EPA's Program and Project Officer will provide recipient(s) with additional instructions and information
pertaining to reporting no more than 30 days after receipt of award. Remedies for delinquency on report may result in actions as described
in 2 CFR 200.339 such as (a) temporarily withhold cash payments pending correction of the deficiency by the non-Federal entity or more
severe enforcement action by the Federal awarding agency or pass-through entity or (b) wholly or partly suspend or terminate the Federal
award. If the non-Federal entity does not submit all reports in accordance with this section within one year of the period of performance end
date, the Federal awarding agency must report the non Federal entity's material failure to comply with the terms and conditions of the award
with the OMB-designated integrity and performance system (currently FAPIIS). Federal awarding agencies may also pursue other
enforcement actions per § 200.339.

Performance Reports – Content

In accordance with 2 CFR 200.329, the recipient agrees to submit performance reports to the EPA's Office of Water's State
Revolving Fund data system, with review from the EPA Project Officer, after the end of each reporting period that include
brief information on each of the following areas: 1) A comparison of actual accomplishments to the outputs/outcomes
established in the assistance agreement work plan for the period; 2) The reasons why established outputs/outcomes were
not met; and 3) Additional pertinent information, including, when appropriate, analysis and explanation of cost overruns or
high-unit costs. 4). Data and details on outreach, training, and technical assistance activities, as described in the project's
workplan, that occurred during the reporting period. This may include, but are not limited to: a. Amount, type, name,
number of participants, and other pertinent details on outreach and training activities, including a list of communities that
were contacted as part of the outreach; b. Difficulties with any outreach and training activities; c. Projected number of
outreach and training activities for the next performance period; d. information on workforce development and training,
including (1) on-the-job training; (2) Skills development; (4) advanced training or certification in the water utility sector
relating to construction, utility operations treatment and distribution, green infrastructure, customer service, maintenance,
and engineering.

Additionally, the recipient agrees to inform EPA as soon as problems, delays, or adverse conditions which will materially
impair the ability to meet the outputs/outcomes specified in the assistance agreement work plan are known.

The report will reflect information pertaining to the state and its agency with oversight and the work performed to meet
the objectives of the program and the grant activity during the period of performance. Reporting must provide a
comprehensive review of the small or disadvantaged communities receiving assistance; the type of assistance provided /
activities performed; and the breakdown of financial and direct grant assistance which subsidized the activities performed
during the reporting cycle. The recipient will coordinate with the appropriate EPA regional office on reporting elements
after the application has been approved for award. These performance reports shall cover work status, work progress,
difficulties encountered, preliminary data results and a statement of activity anticipated during the subsequent reporting
period, a discussion of expenditures along with a comparison of the percentage of the project completed to the project
schedule and an explanation of significant discrepancies shall be included in the report. The report shall also include any
changes of key personnel concerned with the project.

The following information is to be included as part of each performance report, as well as in the final report as a
cumulative total of completed work. The information will also be the following:

1) Grant ID number.


2) Indicate the semi-annual performance period [date] to [date].
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3) PWS Number(s) (if applicable):

4) The report summary will describe the progress of the project and/or activity provided during the reporting period. It also
identifies the following information:

           Census tract/block of benefitting communities

           Project start date/completion date

           Awarded amount

           Amount of awarded federal funds spent during the reported performance period

           Total Project Cost

                     [If project includes more than the funded amount, breakdown project by funding amounts and identify
                    types of funding, e.g. state funding, other federal funding, private funding, etc.

           List of emerging contaminants being addressed:

                     [INSERT List of Contaminants being addressed]

           Community Type (indicate and describe the community, including census tract information):

                     Small

                     Disadvantaged

                     Both small and disadvantaged

           Does the project address climate resiliency?

                     Yes, it meets the XXXXX Standards

                     Provide detailed information regarding the resiliency component of the project, including percentage of
                    the grant directed to also address climate resiliency]

           Project Type (multiple selections allowed):

                     Treatment

                                Include description of project

                     Transmission and Distribution

                                Include description of project

                     Source

                                Include description of project

                     Storage

                                Include description of project

                     Creation of New Systems
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                              Include description of project

                    Consolidation

                              Include description of project

                    Household water quality testing, including for unregulated contaminants

                              Include description of project

                    Assistance to increase technical, managerial, and financial (TMF) capacity

                              Did the project or activities include information on the removal of emerging contaminants

                    Drinking water contamination response efforts

                              Include description of project

                    Other (includes space for a narrative description)

          Public Health Impact Description (narrative)

          Population served (either by Project or by the System)

Interim performance and final progress reports must prominently display the three Essential Elements for state work
plans: 1) Strategic Plan Goal; (2) Strategic Plan Objective; and (3) Workplan Commitments plus time frame/schedule.

(See Grants Policy Issuance 11-03 State Grant Workplans and Progress Reports for more information)

Performance Reports - Frequency

The recipient will submit semi-annual performance reports, which are required. They are to be submitted electronically to
the EPA Project Officer within 30 days after the reporting period (every six-month period). The reporting periods
are January 1 through June 30 (report due July 31) and July 1 through December 31 (report due Jan 31).

The annual reporting period is from January 1 through December 31. Annual reports are to be submitted electronically
within 90 days after the annual reporting period ends (report due by March 31).

The semi-annual and annual reports must include progress towards the outcomes and outputs of the performance period.

In accordance with 2CFR 200.329, the recipient must submit a final performance report no later than 120 days after the
end date of the period of performance. The recipient must submit the final performance report no later than 120 calendar
days after the end date of the period of performance, or the project is completion date and/or when all funding is
expended.

Remedies for delinquency on report may result in actions as described in 2 CFR 200.339 such as (a) temporarily withhold
cash payments pending correction of the deficiency by the non-Federal entity or more severe enforcement action by the
Federal awarding agency or pass-through entity or (b) wholly or partly suspend or terminate the Federal award.

Subaward Performance Reporting

The recipient must report on its subaward activities and monitoring activities under 2 CFR 200.332(d). Examples of items that must be
reported if the pass-through entity has the information available are:

1. Summaries of results of reviews of financial and programmatic reports.

2. Summaries of findings from site visits and/or desk reviews to ensure effective subrecipient performance.
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3. Environmental results the subrecipient achieved.

4. Summaries of audit findings and related pass-through entity management decisions.

5. Actions the pass-through entity has taken to correct deficiencies such as those specified at 2 CFR 200.332(e), 2 CFR 200.208 and the 2
CFR Part 200.339 Remedies for Noncompliance.

B. Cybersecurity Condition

State Grant Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance agreement, it will protect the data by
following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient's network or information system and EPA networks used by the
recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an Agency IT system and an external IT
system for the purpose of transferring information. Transitory, user-controlled connections such as website browsing are excluded from this
definition.

If the recipient's connections as defined above do not go through the Environmental Information Exchange Network or EPA's Central Data
Exchange, the recipient agrees to contact the EPA Project Officer (PO) and work with the designated Regional/Headquarters Information
Security Officer to ensure that the connections meet EPA security requirements, including entering into Interconnection Service Agreements
as appropriate. This condition does not apply to manual entry of data by the recipient into systems operated and used by EPA's regulatory
programs for the submission of reporting and/or compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient to comply with the requirements in
(b)(1) if the subrecipient's network or information system is connected to EPA networks to transfer data to the Agency using systems other
than the Environmental Information Exchange Network or EPA's Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring deemed necessary by the recipient
under 2 CFR 200.332(d), by inquiring whether the subrecipient has contacted the EPA Project Officer. Nothing in this condition requires the
recipient to contact the EPA Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection Service
Agreement between the subrecipient and EPA.

C. Conditional Award

EPA has conditionally approved the workplan to allow the recipient to proceed to work on approved workplan components. As all the costs
($40,675,000) are associated with the selection of subrecipients, Illinois Environmental Protection Agency (IL EPA) should not incur costs
until a final revised workplan has been approved by EPA. The final revised workplan should contain information confirming all BIL EC SDS
requirements are met. Until a final revised workplan has been approved by EPA:

    1.    The recipient should not request payments and EPA will not make payments for unapproved work; and
    2.    Any costs incurred for unapproved work by the recipient are at its own risk.


D. Signage Required

1. Signage Requirements

a. Investing in America Emblem: The recipient will ensure that a sign is placed at construction sites supported in whole or in part by this
award displaying the official Investing in America emblem and must identify the project as a “project funded by President Biden's Bipartisan
Infrastructure Law” or “project funded by President Biden's Inflation Reduction Act” as applicable. The sign must be placed at construction
sites in an easily visible location that can be directly linked to the work taking place and must be maintained in good condition throughout the
construction period. The recipient will ensure compliance with the guidelines and design specifications provided by EPA for using the official
Investing in America emblem available at: https://www.epa.gov/invest/investingamerica-signage.

b. Procuring Signs: State agencies and agencies of political subdivisions of states must comply with 2 CFR 200.323, Procurement of
recovered materials when procuring signage for projects funded by EPA assistance agreement. EPA encourages other recipients to use
recycled or recovered materials when procuring signs. Signage costs are considered an allowable cost under this assistance agreement
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provided that the costs associated with signage are reasonable. Additionally, to increase public awareness of projects serving communities
where English is not the predominant language, recipients are encouraged to translate the language on signs (excluding the official
Investing in America emblem or EPA logo or seal) into the appropriate non-English language(s). The costs of such translation are allowable,
provided the costs are reasonable.

2. Public or Media Events

The Recipient agrees to notify the EPA Project Officer listed in this award document of public or media events publicizing the
accomplishment of significant events related to construction projects as a result of this agreement, and provide the opportunity for
attendance and participation by federal representatives with at least ten (10) working days' notice.

E. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach materials, or reports, it must not be
prominently displayed to imply that any of the recipient or subrecipient's activities are being conducted by the EPA. Instead, the EPA logo
should be accompanied with a statement indicating that the IEPA received financial support from the EPA under an Assistance Agreement.
More information is available at: https://www.epa.gov/stylebook/using-epa-seal-and-logo#policy
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                                                       EPA Funding Information
              FUNDS                                    FORMER AWARD                                THIS ACTION                          AMENDED TOTAL
EPA Amount This Action                                                   $0                          $ 3,500,000                              $ 3,500,000
EPA In-Kind Amount                                                       $0                                     $0                                     $0
Unexpended Prior Year Balance                                            $0                                     $0                                     $0
Other Federal Funds                                                      $0                                     $0                                     $0
Recipient Contribution                                                   $0                                     $0                                     $0
State Contribution                                                       $0                                     $0                                     $0
Local Contribution                                                       $0                                     $0                                     $0
Other Contribution                                                       $0                                     $0                                     $0
Allowable Project Cost                                                   $0                          $ 3,500,000                              $ 3,500,000



Assistance Program (CFDA)                         Statutory Authority                                 Regulatory Authority
66.818 - Brownfields Multipurpose, Assessment,    CERCLA: Secs. 104(k)(3) & 104(k)(5)(E) & 104(k)       2 CFR 200, 2 CFR 1500 and 40 CFR 33
Revolving Loan Fund, and Cleanup Cooperative      (10)(B)(iii) & Infrastructure Investment and Jobs Act
Agreements                                        (IIJA) (PL 117-58)




                                                                          Fiscal
                                                         Approp.          Budget                   Object                       Cost         Obligation /
          Site Name                 Req No        FY                                     PRC                Site/Project
                                                          Code          Organization               Class                     Organization    Deobligation
-                                2405QEX069      24     E4SD            05Q1AG7        000D79X89   4114     -                -                $ 3,500,000
                                                                                                                                              $ 3,500,000
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Budget Summary Page
                                       Table A - Object Class Category                             Total Approved Allowable
                                             (Non-Construction)                                       Budget Period Cost
 1. Personnel                                                                                                              $ 63,050
 2. Fringe Benefits                                                                                                        $ 59,535
 3. Travel                                                                                                                 $ 14,000
 4. Equipment                                                                                                                     $0
 5. Supplies                                                                                                                 $ 2,500
 6. Contractual                                                                                                                   $0
 7. Construction                                                                                                                  $0
 8. Other                                                                                                               $ 3,308,500
 9. Total Direct Charges                                                                                                $ 3,447,585
 10. Indirect Costs: 0.00 % Base SEE TABLE B                                                                               $ 52,415
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                               $ 3,500,000
 12. Total Approved Assistance Amount                                                                                   $ 3,500,000
 13. Program Income                                                                                                              $0
 14. Total EPA Amount Awarded This Action                                                                               $ 3,500,000
 15. Total EPA Amount Awarded To Date                                                                                   $ 3,500,000
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Table B Budget Worksheet #1
                                   Table B - Program Element Classification                         Total Approved Allowable
                                              (Non-construction)                                       Budget Period Cost
 1. 42.76% Salary and Fringe-Valid-- 07/1/24-06/30/25                                                                          $0
 2.                                                                                                                            $0
 3.                                                                                                                            $0
 4.                                                                                                                            $0
 5.                                                                                                                            $0
 6.                                                                                                                            $0
 7.                                                                                                                            $0
 8.                                                                                                                            $0
 9.                                                                                                                            $0
 10.                                                                                                                           $0
 11. Total (Share: Recip   % Fed      %)                                                                                       $0
 12. Total Approved Assistance Amount                                                                                          $0
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                                 Attachment 1 - Project Description
Brownfields are real property, the expansion, development or reuse of which may be complicated by the
presence or potential presence of a hazardous substance, pollutant, or contaminant. This agreement will
provide funding under the Infrastructure Investment and Jobs Act (IIJA) for the Illinois Environmental
Protection Agency to re-capitalize a revolving loan fund as authorized by CERCLA 104(k)(5)(A)(ii) in the
state of Illinois. Specifically, this agreement will provide funding for the recipient to re-capitalize a
revolving loan fund from which to make loans and subgrants to clean up brownfield site(s) and conduct
other necessary activities to prudently manage the RLF. Additionally, the recipient will competitively
procure (as needed) and direct a Qualified Environmental Professional to oversee the environmental site
activities, will create a community involvement plan and administrative record for each site that is
remediated, and will report on program income, interim progress, and final accomplishments by
completing and submitting relevant portions of the Property Profile Form and Brownfields RLF Form
using EPA’s Assessment, Cleanup and Redevelopment Exchange System (ACRES). Further, the
recipient will issue loans to remediate brownfield site(s) and enroll sites in the state response program;
anticipates holding community meetings, finalizing Analysis of Brownfield Cleanup Alternatives, and
submitting quarterly reports throughout the project period. Work conducted under this agreement will
benefit the residents, business owners, and stakeholders in the state of Illinois. The Illinois
Environmental Protection Agency will execute subawards in the form of brownfields remediation loans
and subgrants for remediating brownfield sites in the State of Illinois.
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                                     Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at: https:
//www.epa.gov/system/files/documents/2023-
09/fy_2023_epa_general_terms_and_conditions_effective_october_1_2023_or_later.pdf These terms
and conditions are in addition to the assurances and certifications made as a part of the award and the
terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.epa.
gov/grants/grant-terms-and-conditions#general

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the
following email addresses:

       Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and Donna Stingley, Grant
       Specialist at stingley.donna@epa.gov
       MBE/WBE reports (EPA Form 5700-52A): Karen Sykes at Sykes.Karen@epa.gov and
       region5closeouts@epa.gov
        All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for
       Extensions of the Budget and Project Period, Amendment Requests, Requests for other Prior
       Approvals, updates to recipient information (including email addresses, changes in contact
       information or changes in authorized representatives) and other notifications: Donna Stingley,
       Grant Specialist at stingley.donna@epa.gov and : Riley Jenkins, Project Officer at jenkins.
       riley@epa.gov
       Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
       deliverables: Riley Jenkins, Project Officer at jenkins.riley@epa.gov
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                                      Programmatic Conditions
 FY24 Brownfields Revolving Loan Fund (RLF) Cooperative Agreement Infrastructure Investment and
                           Jobs Act Funds (IIJA) Terms and Conditions

I. GENERAL FEDERAL REQUIREMENTS

Note: For the purposes of complying with certain provisions of the Uniform Grant Guidance (UGG), 2
CFR Part 200, loans made by RLF recipients are Subawards as that term is defined at 2 CFR § 200.1.
The term subaward also encompasses “grants” made by the RLF recipient under CERCLA § 104(k)(3)
(B)(ii). The UGG requirements for subawards in the form of loans and subawards in the form of grants
are different. For clarity, these T&Cs refer to “loans” to describe subawards that generate program
income from repayments of principal, interest charges and loan processing fees paid by “borrowers.” The
T&Cs refer to “subgrants” to describe subawards the RLF recipient provides to an eligible entity or
nonprofit organization (“subgrantees”) under terms that do not require repayment.

A. Federal Policy and Guidance

1. Cooperative Agreement Recipients: By awarding this cooperative agreement, the Environmental
Protection Agency (EPA) has approved the application for the Cooperative Agreement Recipient (CAR).
These T&Cs are effective for activities occurring after the date of award of this cooperative agreement.

2. In implementing this agreement, the CAR shall comply with and require that work done by borrowers
and subgrantees with cooperative agreement funds comply with the requirements of CERCLA § 104(k).
The CAR shall also ensure that cleanup activities supported with cooperative agreement funding comply
with all applicable federal and state laws and regulations. The CAR must ensure cleanups are protective
of human health and the environment.

3. The CAR must consider whether it is required to have borrowers or subgrantees conduct cleanups
through a State or Tribal response program. If the CAR chooses not to require borrowers and
subgrantees to participate in a State or Tribal response program, then the CAR is required to consult with
the EPA Project Officer on each loan or subgrant to ensure the proposed cleanup is protective of human
health and the environment.

If the State or Tribe does not have a promulgated response program that is applicable to the planned
brownfield activity, then the CAR is required to consult with the EPA Project Officer to ensure the
protectiveness of human health and the environment.

4. A term and condition or other legally binding provision shall be included in all loan and subgrant
agreements entered into with the funds awarded under this agreement, or when funds awarded under
this agreement are used in combination with non-federal sources of funds, to ensure that the CAR
complies with all applicable federal and state laws and requirements. In addition to CERCLA § 104(k),
applicable federal laws and requirements include 2 CFR Part 200.

5. The CAR must comply with federal cross-cutting requirements. These requirements include, but are
not limited to, DBE requirements found at 40 CFR Part 33; OSHA Worker Health & Safety Standard 29
CFR § 1910.120; Uniform Relocation Act (40 USC § 61); National Historic Preservation Act (16 USC §
470); Endangered Species Act (P.L. 93-205); Permits required by Section 404 of the Clean Water Act;
Executive Order 11246, Equal Employment Opportunity, and implementing regulations at 41 CFR § 60-4;
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Contract Work Hours and Safety Standards Act, as amended (40 USC §§ 327-333); the Anti-Kickback
Act (40 USC § 3145); and Section 504 of the Rehabilitation Act of 1973 as implemented by Executive
Orders 11914 and 11250. For additional information on cross-cutting requirements visit https://www.epa.
gov/grants/epa-subaward-cross-cutter-requirements.

6. The CAR must comply with Davis-Bacon Act prevailing wage requirements and associated U.S.
Department of Labor (DOL) regulations for all construction, alteration, and repair contracts and
subcontracts awarded with funds provided under this agreement by operation of CERCLA § 104(g). For
more detailed information on complying with Davis-Bacon, please see the Contract Provisions for Davis-
Bacon and Related Acts and the Brownfields Davis-Bacon terms and conditions.

7. For funding added after May 14, 2022, refer to the General Term & Conditions for Buy America
Sourcing requirements under the Build America, Buy America (BABA) provisions of the Infrastructure
Investment and Jobs Act (IIJA; also known as Bipartisan Infrastructure Law or BIL) (P.L. 117-58,
§§70911-70917). An adjustment period waiver may apply to funding awarded between May 14, 2022 and
February 28, 2023. The CAR can also refer to EPA's Frequently Asked Questions for BABA for more
information.

8. The recipient agrees to have financial management and programmatic management systems in place
to:

a. Track and report on expenditures of IIJA funds.

b. Track and report outputs and outcomes achieved with IIJA funds.

9. RLF supplemental funding is generally awarded on an annual basis to high-performing CARs who
meet specific criteria. The CAR can find additional information on the timing and procedures for
supplemental funding requests on the EPA Brownfields Program website (https://www.epa.
gov/brownfields/brownfields-revolving-loan-fund-rlf-grants).



II. SITE/BORROWER/SUBGRANTEE ELIGIBILITY REQUIREMENTS

All brownfield sites that will be addressed using RLF funds must be located within the geographic
boundary described in the scope of work for this cooperative agreement (i.e., the EPA-approved
workplan).

A. Brownfield Site Eligibility

1. Prior to performing site work, the CAR must provide information to the EPA Project Officer about each
site that will be addressed under this cooperative agreement. The CAR may use cooperative agreement
funds to prepare information that is provided to the EPA Project Officer. The information that must be
provided includes whether the site meets the definition of a brownfield site as defined in § 101(39) of
CERCLA and whether the CAR is the potentially responsible party under CERCLA § 107, is exempt from
CERCLA liability, or has defenses to CERCLA liability.

2. If the site is excluded from the general definition of a brownfield site but is eligible for a property-
specific funding determination, then the CAR may request a property-specific funding determination from
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the EPA Project Officer. In its request, the CAR must provide information sufficient for EPA to make a
property-specific funding determination on how financial assistance will protect human health and the
environment, and either promote economic development or enable the creation of, preservation of, or
addition to parks, greenways, undeveloped property, other recreational property, or other property used
for nonprofit purposes. The CAR must not incur costs for cleaning up sites requiring a property-specific
funding determination by EPA until the EPA Project Officer has advised the CAR that EPA has
determined that the property is eligible.

3. Brownfield Sites Contaminated with Petroleum

a. For any petroleum-contaminated brownfield site that is not included in the CAR's EPA-approved
workplan, the CAR shall provide sufficient documentation to EPA prior to incurring costs under this
cooperative agreement which documents that:

       i. the State determines there is “no viable responsible party” for the site;

       ii. the State determines that the person assessing, investigating, or cleaning up the site is a
       person who is not potentially liable for cleaning up the site; and

       iii. the site is not subject to any order issued under Section 9003(h) of the Solid Waste Disposal
       Act.

This documentation must be prepared by the CAR or the State, following contact and discussion with the
appropriate state petroleum program official. Please contact the EPA Project Officer for additional
information.

b. Documentation must include:

       i. the identity of the State program official contacted;

       ii. the State official's telephone number;

       iii. the date of the contact; and

       iv. a summary of the discussion relating to the State's determination that there is no viable
       responsible party and that the person assessing, investigating, or cleaning up the site is not
       potentially liable for cleaning up the site.

Other documentation provided by a State to the recipient relevant to any of the determinations by the
State must also be provided to the EPA Project Officer.

c. If the State chooses not to make the determinations described in Section II.A.3. above, the CAR must
contact the EPA Project Officer and provide the information necessary for EPA to make the requisite
determinations.

d. EPA will make all determinations on the eligibility of petroleum-contaminated brownfield sites located
on tribal lands (i.e., reservation lands or lands otherwise in Indian country, as defined at 18 U.S.C. §
1151). Before incurring costs for these sites, the CAR must contact the EPA Project Officer and provide
the information necessary for EPA to make the determinations.
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B. Borrower and Subgrantee Eligibility

1. The CAR may provide loans to an eligible entity, a site owner, a site developer, or another person
without regard to whether the borrower is a for-profit organization. Borrowers do not have to own the
property throughout the term of the loan unless ownership is required for the purpose of securing
collateral or the CAR otherwise determines that borrower site ownership is necessary.

2. The CAR may only provide cleanup subgrants to an eligible entity or nonprofit organization to clean up
sites owned by the eligible entity or nonprofit organization at the time of the award of the subgrant.
Eligible subgrantees include eligible entities as defined under CERCLA § 104(k)(1), which includes
nonprofit organizations exempt from taxation under Section 501(c)(3) of the Internal Revenue Code, and
other nonprofit organizations as defined at 2 CFR § 200.70. Nonprofit institutions of higher education as
defined at 2 CFR § 200.55 are also eligible for cleanup subgrants. Nonprofit organizations described in
Section 501(c)(4) of the Internal Revenue Code that do not engage in lobbying activities with the federal
government as defined in Section 3 of the Lobbying Disclosure Act of 1995 are eligible for loans and
subgrants. Nonprofit organizations with 501(c)(4) tax exemption status that lobby the federal government
are not eligible for loans and subgrants.

3. The subgrantee must retain ownership of the site throughout the period of performance of the
subgrant. The subgrantee must consult with the CAR, who in turn must consult with the EPA Project
Officer prior to transferring title or otherwise conveying the real property comprising the site during the
period of performance of the subgrant. Once the subgrant ends, the statutory ownership requirement is
extinguished. For the purposes of this agreement, the term “owns” means fee simple title unless the EPA
Project Officer approves a different ownership arrangement.

4. The CAR shall not provide a subgrant to itself or another component of its own unit of government or
organization.

5. The CAR may discount loans, also referred to as the practice of forgiving a portion of loan principal.
For an individual loan, the amount of principal discounted may be any percentage of the total loan
amount up to 50%, provided that the total amount of the principal forgiven for that loan shall not exceed
$500,000 of the CAR's total award amount (EPA funds + cost share, if applicable – see Section IV.A.1.
and IV.B.3.). Eligible entities and nonprofit organizations described in Section II.B.1. are eligible for
discounted loans. Private, for-profit entities are not eligible for discounted loans. In addition to these
terms, a discounted loan shall not be used in combination with a subgrant at the same site. The
discounted amount in a discounted loan shall apply towards non-loan costs in the 50/50 split rule
described in Section IV.B.4. (i.e., the discounted amount cannot apply towards the 50% of EPA funds +
cost share, if applicable – see Section IV.A.1., that must be spent on loans and associated eligible
programmatic expenses). The CAR may request a waiver of the discounted amount, discounted
percentage, or the minimum 50/50 split by consulting with the EPA Project Officer for information about
the waiver process. In general, a loan may not be discounted after it has already been executed. Any
post-execution discounting has to be approved by the EPA Project Officer.

6. The CAR shall not loan or subgrant funds that will be used to pay for cleanup activities at a site for
which a borrower or subgrantee is potentially liable under CERCLA § 107. In addition, the borrower or
subgrantee may not be affiliated with a potentially liable person as described in CERCLA §§ 101(40)(H)
and 107(q)(1)(A)(ii). The CAR may rely on its own investigation which can include an opinion from the
borrower's or subgrantee's counsel. However, the CAR must advise the borrower or subgrantee that the
investigation and/or opinion of its subgrantee counsel is not binding on the Federal Government.
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7. For approved eligible petroleum-contaminated brownfield sites, the borrower or subgrantee cleaning
up the site must not be potentially liable for cleaning up the site. For brownfield grant purposes, an entity
generally will not be considered potentially liable for petroleum contamination if it has not dispensed or
disposed of petroleum or petroleumproduct at the site, has not exacerbated the contamination at the
site, and taken reasonable steps with regard to the contamination at the site.

8. The CAR shall maintain sufficient documentation supporting and demonstrating the eligibility of the
sites, borrowers, and subgrantees.

9. A borrower or subgrantee must submit information regarding its overall environmental compliance
history including any penalties resulting from environmental non-compliance at the site subject to the
loan or subgrant. The CAR, in consultation with EPA, must consider this history in its analysis of the
borrower or subgrantee as a cleanup and business risk.

10. An entity that is currently suspended, debarred, or otherwise declared ineligible cannot be a borrower
or subgrantee.

C. Obligations for CARs, Borrowers, or Subgrantees

1. CARs, borrowers, or subgrantees who are eligible, or seek to become eligible, to receive a loan or
subgrant must provide information indicating that cooperative agreement funds will not be used to pay for
a response cost at a site for which the CAR, borrower, or subgrantee is potentially liable under CERCLA
§ 107. The CAR, borrower, or subgrantee must demonstrate that it meets the requirements for one of the
Landowner Liability Protections as either a Bona Fide Prospective Purchaser (BFPP), Contiguous
Property Owner (CPO), or Innocent Landowner (ILO). These requirements include certain threshold
criteria and continuing obligations that must be met in order for the CAR, borrower, or subgrantee to
maintain its eligible status. If the CAR, borrower, or subgrantee fails to meet these obligations, EPA may
disallow the costs incurred under this cooperative agreement for cleaning up the site under CERCLA §
104(k)(8)(C). The Landowner Liability Protection requirements include:

a. Performing “all appropriate inquiries” into the previous ownership and uses of the property before
acquiring the property.

b. Not being potentially liable or affiliated with any other person who is potentially liable for response
costs at the site through: any direct or indirect familial relationship, any contractual, corporate, or financial
relationship, or through the result of a reorganized business entity that was potentially liable.

While not necessary to obtain ILO protection, the CAR, borrower, or subgrantee must still establish by a
preponderance of the evidence that the act or omission that caused the release or threat of release of
hazardous substances and any resulting damages were caused by a third party with whom the person
does not have an employment, agency, or contractual relationship.

c. Demonstrating that no disposal of hazardous substances occurred at the facility after acquisition by
the landowner (does not specifically apply for the CPO protection).

d. Taking “reasonable steps” with respect to hazardous substance releases by stopping any continuing
releases, preventing any threatened future releases, and preventing or limiting human, environmental, or
natural resource exposure to any previously released hazardous substance.
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e. Complying with any land use restrictions established or relied on in connection with the response
action at the site and not impeding the effectiveness or integrity of institutional controls employed in
connection with the response action.

f. Providing full cooperation, assistance, and access to persons that are authorized to conduct response
actions or natural resource restoration at the site from which there has been a release or threatened
release.

g. Complying with information requests and administrative subpoenas (does not specifically apply for the
ILO protection).

h. Providing all legally required notices with respect to the discovery or release of any hazardous
substances at the site (does not specifically apply for the ILO protection).

Notwithstanding the CAR's, borrower's, and subgrantee's continuing obligations under this agreement,
the CAR, borrower, and subgrantee are subject to the applicable liability provisions of CERCLA
governing its status as a BFPP, CPO, or ILO. CERCLA requires additional obligations to maintain the
liability limitations for BFPP, CPO, and ILO; the relevant provisions for these obligations include §§ 101
(35), 101(40), 107(b), 107(q) and 107(r).

CARs, borrowers, and subgrantees that are exempt from CERCLA liability or do not have to meet the
requirements for asserting an affirmative defense to CERCLA liability must also comply with continuing
obligation items c.-h.



III. GENERAL COOPERATIVE AGREEMENT ADMINISTRATIVE REQUIREMENTS

A. Sufficient
Progress
1. This condition supplements the requirements of the Termination and Sufficient Progress Conditions in
the General Terms and Conditions.

The EPA Project Officer will assess whether the recipient is making sufficient progress in implementing
its cooperative agreement 2 years from the date of award and on an annual basis thereafter. If EPA
determines that the CAR has not made sufficient progress in implementing its cooperative agreement,
the CAR, if directed to do so, must implement a corrective action plan concurred on by the EPA Project
Officer and approved by the Grants Management Officer or Award Official. Alternatively, EPA may
terminate this agreement under 2 CFR § 200.340. for material non-compliance with its terms, or with the
consent of the CAR as provided at 2 CFR § 200.340, depending on the circumstances. Sufficient
progress at 2 years and annually thereafter is indicated by the CAR having made a loan(s) and/or grant
(s), but may also be demonstrated by a combination of all the following: hiring of all key personnel, the
establishment and advertisement of the RLF, the development of one or more potential loans/subgrants,
or other documented activities that demonstrate to EPA's satisfaction that the CAR will successfully
perform the cooperative agreement.

2. Partial termination can occur if a CAR fails to complete the initial round of lending in the time schedule
provided in the cooperative agreement. In this situation, as provided at 2 CFR §§ 200.340(a)(1) and (5)
or 2 CFR § 200.340(a)(3), as appropriate, the agreement may be partially terminated and the following
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actions may occur:

a. Unused cooperative agreement funds will be deobligated by EPA;

b. The cooperative agreement award may be amended to reflect the reduced amount of the cooperative
agreement;

c. EPA may determine whether sufficient funds remain to permit effective RLF operation; or

d. EPA may terminate the agreement and recover the federal share of its assets if it determines that the
purpose of the cooperative agreement cannot be met.

B. Substantial Involvement

1. The EPA Project Officer will be substantially involved in overseeing and monitoring this cooperative
agreement. Substantial involvement, includes, but is not limited to:

a. Close monitoring of the CAR's performance to verify compliance with the EPA-approved workplan and
achievement of environmental results.

b. Participation in periodic telephone conference calls to share ideas, project successes and challenges,
etc., with EPA.

c. Reviewing and commenting on quarterly and annual reports prepared under the cooperative
agreement (the final decision on the content of reports rests with the recipient or subrecipients receiving
pass-through awards).

d. Verifying sites meet applicable site eligibility criteria (including property-specific funding determinations
described in Section II.A.2.) and when the CAR awards a subaward. The CAR must obtain technical
assistance from the EPA Project Officer, or his/her designee, on which sites qualify as a brownfield site
and determine whether the statutory prohibitions found in CERCLA § 104(k)(5)(B)(i)-(iv) apply. (Note, the
prohibition does not allow a subrecipient to use EPA cooperative agreement funds to clean up a site for
which the subrecipient is potentially liable under CERCLA § 107.)

e. Reviewing and approving Quality Assurance Project Plans and related documents or verifying that
appropriate Quality Assurance requirements have been met where quality assurance activities are being
conducted pursuant to an EPA-approved Quality Assurance Management Plan.

f. Monitoring the use of program income after the cooperative agreement project period ends.

Substantial involvement may also include, depending on the direction of the EPA Project Officer:

g. Collaboration during the performance of the scope of work including participation in project activities,
to the extent permissible under EPA policies. Examples of collaboration include:

        i. Consultation between EPA staff and the CAR on effective methods of carrying out the scope of
        work provided the CAR makes the final decision on how to perform authorized activities.

        ii. Advice from EPA staff on how to access publicly available information on EPA or other federal
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       agency websites.

       iii. With the consent of the CAR, EPA staff may provide technical advice to the CAR's contractors
       or subrecipients provided the CAR approves any expenditures of funds necessary to follow
       advice from EPA staff. (The CAR remains accountable for performing contract and subaward
       management as specified in 2 CFR § 200.318 and 2 CFR § 200.332 as well as the terms of the
       EPA cooperative agreement.)

       iv. EPA staff participation in meetings, webinars, and similar events upon the request of the CAR
       or in connection with a co-sponsorship agreement.

h. Reviewing and approving that the Analysis of Brownfield Cleanup Alternatives (ABCA), or equivalent
state Brownfields program document, meets the Brownfields Program's requirements for an ABCA.

i. Reviewing proposed procurements in accordance with 2 CFR § 200.325, as well as the substantive
terms of proposed contracts or subawards (i.e., both subgrants and loans) as appropriate and discussing
compliance with 50/50 split rule. If applicable, the EPA Project Officer may review the substantive terms
of intra-governmental loans. The EPA Project Officer may review requests for proposals, invitations for
bid, scopes of work and/or plans and specifications for contracts over $250,000 prior to advertising for
bids.

j. Reviewing the qualifications of key personnel. (EPA does not have the authority to select employees or
contractors, including consultants, employed by the CAR or subrecipients receiving pass-through
awards.)

k. Reviewing information in performance reports to ensure all costs incurred by the CAR, borrower,
subgrantee, and/or its contractor(s) if needed to ensure appropriate expenditure of grant funds.

EPA may waive any of the provisions in Section III.B.1., except for property-specific funding
determinations. The EPA Project Officer will provide waivers to provisions a. – f. in Section III.B.1. in
writing.

2. Effects of EPA's substantial involvement include:

a. EPA's review of any project phase, document, or cost incurred under this cooperative agreement will
not have any effect upon CERCLA § 128 Eligible Response Site determinations or rights, authorities, and
actions under CERCLA or any federal statute.

b. The CAR remains responsible for ensuring that all cleanups are protective of human health and the
environment and comply with all applicable federal and state laws. If changes to the expected cleanup
become necessary based on public comment or other reasons, the CAR must consult with the EPA
Project Officer and the State.

c. The CAR and its subrecipients remain responsible for ensuring costs are allowable under 2 CFR Part
200, Subpart E.



C. Cooperative Agreement Recipient Roles and Responsibilities
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1. All additional sites selected for eligible activities throughout the period of performance (i.e., sites that
were not identified in the workplan) must be located within the geographic boundary(ies) identified by the
CAR in the workplan.

If the CAR has another open RLF cooperative agreement that was funded by IIJA and awarded in FY23
or later, consistent with the FY23 or later RLF Grant Guidelines and FY23 or later RLF Supplemental
Funding Instructions, criteria for selecting additional sites must at least consider whether the site is
located within an underserved community[1] or disadvantaged census tract, as identified through the
Climate and Economic Justice Screening Tool (CEJST) in addition to considering the prioritization criteria
identified in the FY23 or later application, FY23 or later RLF Supplemental Funding request, the
workplan, or developed during implementation of the workplan. Note, subgrant criteria developed during
the implementation of the workplan must lead to the CAR addressing sites in areas with similar
characteristics as the areas discussed in the FY23 or later application or FY23 or later Supplemental
Funding request.

2. CARs, other than state entities, that procure a contractor(s) (including consultants) where the contract
will be more than the micro-purchase threshold in 2 CFR § 200.320(a)(1) ($10,000 for most CARs) must
select the contractor(s) in compliance with the fair and open competition requirements in 2 CFR Part 200
and 2 CFR Part 1500. This requirement also applies to procurement processes that were completed
before the award of this cooperative agreement. See the Brownfields Grants: Guidance on Competitively
Procuring a Contractor for additional information.

CARs may procure multiple contractors to ensure the appropriate expertise is in place to perform work
under the agreement (e.g., expertise to provide oversight on site cleanup activities vs. community
engagement) and to allow the ability for work be performed concurrently at multiple sites within the
defined and approved geographic boundary.

3. The CAR is responsible for establishing an RLF team that will implement the program and assign a
Program Manager for coordinating the team's activities as outlined below.

4. The CAR must acquire the services of a Qualified Environmental Professional(s) as defined in 40 CFR
§ 312.10, if it does not have such a professional on staff, to provide technical assistance, advice, and
expertise to the CAR while the borrower or subgrantee and their cleanup contractor direct the cleanup at
a given site.

5. The CAR shall act as or appoint a qualified “fund manager” to carry out responsibilities that relate to
financial management of the loan and/or subgrant program. However, the CAR remains accountable to
EPA for the proper expenditure of cooperative agreement funds. Any funding arrangements between the
CAR and the fund manager must be consistent with 2 CFR Parts 200 and 1500 and EPA's Subaward
Policy. Additional information is available in EPA's Best Practice Guide for Procuring Services, Supplies,
and Equipment Under EPA Assistance Agreements.

6. The CAR shall appoint appropriate legal counsel if counsel is not already available. Counsel must
review all loan/subgrant agreements prior to execution unless the EPA Project Officer waives this
requirement.

7. The CAR is responsible for ensuring that borrowers and subgrantees comply with the terms of their
agreements with the CAR, and that agreements between the CAR and borrowers and subgrantees are
consistent with the terms and conditions of this agreement.
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8. When the CAR makes loans and subgrants under this agreement, they become a pass-through entity
for the purposes of the subrecipient oversight and management requirements of 2 CFR §§ 200.331
through 200.332. Requirements for oversight and management of subgrantees are supplemented in
EPA's National Term and Condition for Subawards which is included in the General Terms and
Conditions of this Cooperative Agreement.

9. The following requirements apply when a pass-through entity (CAR) makes loans. These requirements
apply to loans and borrowers in lieu of those specified in EPA's National Term and Condition for
Subawards.

a. Pass-through entities must establish and follow a system that ensures all loan agreements are in
writing and contain all of the elements required by 2 CFR § 200.332(a) with the exception of the indirect
cost provision of 2 CFR § 200.332(a)(4). EPA has developed an optional template for subaward
agreements that is available in Appendix D of EPA's Subaward Policy which may also be used for loan
agreements.

b. Borrowers must comply with the internal control requirements specified at 2 CFR § 200.303 and are
subject to the 2 CFR Part 200, Subpart F, Audit Requirements. The pass-through entity (CAR) must
include a condition in all loans that requires borrowers to comply with this requirement. No other
provisions of the Uniform Grant Guidance, including the Procurement Standards, apply directly to
borrowers.

c. Prior to making loans or subgrants, the pass-through entity (CAR) must ensure that each borrower or
subgrantee has a “unique entity identifier.” This identifier is required for registering in the System for
Award Management (SAM) and by 2 CFR Part 25 and 2 CFR § 200.332(a)(1), but based on 2 CFR §
25.300, borrowers and subgrantees do not have to register in SAM. The unique entity identifier (UEI) is
generated when an entity registers in SAM. Information on registering in SAM and obtaining a UEI is
available in the General Condition of the pass-through entity's (CAR's) agreement with EPA entitled
“System for Award Management and Universal Identifier Requirements.”

d. The pass-through entity (CAR) must ensure that the terms of all loan agreements and subgrants
require that borrowers and subgrantees comply with 2 CFR Part 170, Reporting Subaward and Executive
Compensation under Federal Funding Accountability and Transparency Act (FFATA) set forth in the
General Condition of the pass-through entity's (CAR's) agreement with EPA entitled “Reporting
Subawards and Executive Compensation.”

e. In addition to other prudent lending practices described, in Section VI. below, pass-through entities
(CARs) must comply with EPA's General T&Cs (Establishing and Managing Subawards).

10. As the pass-through entity, the CAR must report to EPA on its borrower and subgrantee monitoring
activities under 2 CFR § 200.332(d), including the following information as part of the CAR's quarterly
performance reporting:

a. Summaries of results of reviews of financial and programmatic reports;

b. Summaries of findings from site visits and/or desk reviews to ensure effective borrower or subgrantee
performance;

c. Environmental results the borrower or subgrantee achieved;
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d. Summaries of audit findings and related pass-through entity management decisions, if any; and

e. Actions the pass-through entity has taken to correct any deficiencies such as those specified at 2 CFR
§ 200.332(e), 2 CFR § 200.208, Specific conditions, and the 2 CFR § 200.339, Remedies for
Noncompliance.

12. Cybersecurity – The recipient agrees that when collecting and managing environmental data under
this cooperative agreement, it will protect the data by following all applicable State law cybersecurity
requirements.

a. EPA must ensure that any connections between the recipient's network or information system and
EPA networks used by the recipient to transfer data under this agreement are secure. For purposes of
this section, a connection is defined as a dedicated persistent interface between an Agency IT system
and an external IT system for the purpose of transferring information. Transitory, user-controlled
connections such as website browsing are excluded from this definition.

If the recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the recipient agrees to contact the EPA Project
Officer and work with the designated Regional/ Headquarters Information Security Officer to ensure that
the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by EPA's regulatory programs for the submission of reporting and/or
compliance data.

b.The recipient agrees that any subawards it makes under this agreement will require the subrecipient to
comply with the requirements in Cybersecurity Section a. above if the subrecipient's network or
information system is connected to EPA networks to transfer data to the Agency using systems other
than the Environmental Information Exchange Network or EPA's Central Data Exchange. The recipient
will be in compliance with this condition: by including this requirement in subaward agreements; and
during subrecipient monitoring deemed necessary by the recipient under 2 CFR § 200.332(d), by
inquiring whether the subrecipient has contacted the EPA Project Officer. Nothing in this condition
requires the recipient to contact the EPA Project Officer on behalf of a subrecipient or to be involved in
the negotiation of an Interconnection Service Agreement between the subrecipient and EPA.

13. All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at www.fgdc.gov.

D. Quarterly Performance Reports

1. In accordance with EPA regulations 2 CFR Parts 200 and 1500 (specifically, § 200.329, Monitoring
and Reporting Program Performance), the CAR agrees to submit quarterly performance reports to the
EPA Project Officer within 30 days after each reporting period. Initially, quarterly performance reports will
be submitted via email or via the optional Quarterly Reporting function tool within the Assessment,
Cleanup and Redevelopment Exchange System (ACRES). However, once EPA has developed and
incorporated the updated Quarterly Performance Reporting tool into ACRES, the CAR agrees to use this
tool to input quarterly performance reports directly into ACRES within 30 days after each reporting period
(the EPA Project Officer will notify the CAR when use of this tool in ACRES is required). The reporting
periods are October 1 – December 31 (1st quarter); January 1 – March 31 (2nd quarter); April 1 – June 30
(3rd quarter); and July 1 – September 30 (4th quarter). If a due date falls on a weekend or holiday, the
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report will be due on the next business day.

These reports shall cover work status, work progress, difficulties encountered, preliminary data results
and a statement of activity anticipated during the subsequent reporting period, including a description of
equipment, techniques, and materials to be used or evaluated. A discussion of expenditures and
financial status for each workplan task, along with a comparison of the percentage of the project
completed to the project schedule and an explanation of significant discrepancies from the EPA-
approved workplan and budget shall be included in the report. The report shall also include any changes
of key personnel concerned with the project that were approved by the EPA Grants Management Officer
or Award Official. (Note, as provided at 2 CFR § 200.308, Revision of budget and program, the CAR
must seek prior approval from the EPA Grants Management Officer or Award Official for a change in a
key person.)

2. The CAR must submit performance reports on a quarterly basis in ACRES using the Revolving Loan
Fund Quarterly Report function. Quarterly performance reports must include:

a. A summary that clearly differentiates between activities completed with EPA funds provided under the
Brownfield RLF cooperative agreement, including the required cost share, if applicable – see Section IV.
A.1., and related activities completed with other sources of leveraged funding.

b. A summary and status of approved activities performed during the reporting quarter; a summary of the
performance outputs/outcomes achieved during the reporting quarter; and a description of problems
encountered during the reporting quarter that may affect the project schedule.

c. A comparison of actual accomplishments to the anticipated outputs/outcomes specified in the EPA-
approved workplan and reasons why anticipated outputs/outcomes were not met.

d. An update on the project schedule and milestones, including an explanation of any discrepancies from
the EPA-approved workplan.

e. A list of the loans and/or subgrants during the reporting quarter.

f. The amount of the cooperative agreement's total award amount (EPA funds + cost share, if applicable
– see Section IV.A.1.) that has been committed thus far on loan costs and non-loan costs, respectively,
and whether the cooperative agreement is expected to meet the 50/50 split by the end of the cooperative
agreement project period for the cooperative agreement's current total award amount.

g. A budget summary table with the following information: current approved project budget; EPA funds
drawn down during the reporting quarter; costs drawn down to date (cumulative expenditures); cost
share contributions, if applicable – see Section IV.A.1.; program income generated and used (e.g.,
program income received and disbursed during the reporting quarter and during the entire cooperative
agreement, and the amount of program income remaining); and total remaining funds. The budget
summary table must include costs that are charged to the “other” budget object class category (e.g.,
subawards, etc.).

The CAR shall include an explanation of any discrepancies in the budget from the EPA-approved
workplan, cost overruns or high unit costs, and other pertinent information. Program income accounting
records must differentiate program income generated from interest and fees, versus program income
generated from principal repayments. The CAR shall include a statement on funding transfers[2] among
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direct budget categories or programs, functions and activities that occurred during the quarter and
cumulatively during the period of performance.

Note: ACRES reporting requirements can change over time, based on expansion of EPA's information
collection authority, and the CAR is responsible for complying with the latest ACRES reporting
requirements at the time of each quarterly performance report. The EPA Project Officer will notify the
CAR when ACRES reporting requirements, specific to Brownfields RLF, change.

h. For local governments that are using RLF funding for health monitoring, the quarterly report must also
include the specific budget, the quarterly expenditure, and cumulative expenditures to demonstrate that
10% of federal funding is not exceeded.

Note: Each property where cleanup activities were performed and/or completed must have its
corresponding information updated in ACRES (or via the Property Profile Form with prior approval from
the EPA Project Officer) prior to submitting the quarterly performance report (see Section III.E. below).

3. For the loans executed by the CAR under this agreement, the CAR must also report on the following
items as part of the CAR's quarterly performance reporting:

a. Summaries of results of reviews of borrower financial and programmatic reports.

b. Environmental results achieved by the borrower.

4. The CAR must maintain records that will enable it to report to EPA on the amount of funds direct EPA
funding, cost share, if applicable – see Section IV.A.1., and program income) disbursed by the CAR to
clean up specific properties under this cooperative agreement.

5. In accordance with 2 CFR § 200.329(e)(1), the CAR agrees to inform the EPA Project Officer as soon
as problems, delays, or adverse conditions become known which will materially impair the ability to meet
the outputs/outcomes specified in the EPA-approved workplan.

E. ACRES Data Submission

1. Property Profile Form: The CAR must report on interim progress (e.g., loan signed, clean up started)
and any final accomplishments (e.g., clean up completed, contaminants removed, institutional controls
required, engineering controls required) by completing and submitting relevant portions of the electronic
Property Profile Form using the Assessment, Cleanup and Redevelopment Exchange System (ACRES).
The CAR must enter the data in ACRES as soon as the interim action or final accomplishment has
occurred, or within 30 days after the end of each reporting quarter. The CAR must enter any new data
into ACRES prior to submitting the quarterly performance report to the EPA Project Officer. The CAR
must utilize the electronic version of the Property Profile Form in ACRES unless approval is obtained
from the EPA Project Officer to use the hardcopy version of the Property Profile Form or its use is
included in the approved workplan.

2. Brownfields RLF Form: Additionally, the CAR must also report program income details quarterly on the
Brownfields RLF Form, which is located on the CAR's RLF cooperative agreement homepage in ACRES.

F. Final Cooperative Agreement Performance Report with Environmental Results
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1. In accordance with EPA regulations 2 CFR Parts 200 and 1500 (specifically, § 200.329 Monitoring and
Reporting Program Performance and 2 CFR § 200.344(a), Closeout), the CAR agrees to submit to the
EPA Project Officer within 120 days after the expiration or termination of the approved project period a
final performance report on the cooperative agreement via email, unless the EPA Project Officer agrees
to accept a paper copy of the report. The final performance report shall document and summarize the
elements listed in Section III.D.2., as appropriate, for activities that occurred over the entire project
period. In addition, when applicable, the CAR must include required documentation associated with an
EPA-approved waiver for not meeting the minimum 50/50 split by the end of the cooperative agreement's
project period.



IV. FINANCIAL ADMINISTRATION REQUIREMENTS

A. Cost Share Requirement

1. As provided in IIJA, no cost share is required for this agreement. However, the CAR may have an
open non-IIJA funded RLF cooperative agreement where cost share is required as part of its overall RLF
program. Therefore, any references to cost share in these Terms and Conditions are related to the
overall RLF program (i.e., cost share associated with a non-IIJA funded RLF cooperative agreement).

B. Eligible Uses of the Funds for the Cooperative Agreement Recipient, Borrower, and/or Subgrantee

1. To the extent allowable under the EPA-approved workplan, the CAR may use cooperative agreement
funds to capitalize a revolving loan fund to be used for loans or subgrants for cleanup and for eligible
programmatic expenses. Eligible programmatic expenses may include activities described in Section V.
of these Terms and Conditions. In addition, eligible programmatic expenses may include:

a. Determining whether RLF cleanup activities at a particular site are authorized by CERCLA § 104(k).

b. Ensuring that an RLF cleanup complies with applicable requirements under federal and state laws, as
required by CERCLA § 104(k).

c. Ensuring the adequacy of each RLF cleanup as it is implemented, including overseeing the borrowers
and/or subgrantees activities to ensure compliance with applicable federal and state environmental
requirements.

d. Preparing and updating an Analysis of Brownfield Cleanup Alternatives (ABCA) which will include
information about the site and contamination issues, cleanup standards, applicable laws, alternatives
considered, and the proposed cleanup.

e. Developing a Quality Assurance Project Plan (QAPP) as required by 2 CFR § 1500.12. The specific
requirement for a QAPP is outlined in Implementation of Quality Assurance Requirements for
Organizations Receiving EPA Financial Assistance available at https://www.epa.
gov/grants/implementation-quality-assurance-requirements-organizations-receiving-epa-financial.

f. Performing limited site characterization to confirm the effectiveness of the proposed cleanup design or
the effectiveness of a cleanup once an action has been completed.
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g. Ensuring that public participation requirements are met. This includes preparing a Community
Involvement Plan which will include reasonable notice, opportunity for public involvement and comment
on the proposed cleanup, and response to comments.

h. Establishing an Administrative Record for each site.

i. Ensuring that the site is secure if a borrower or subgrantee is unable or unwilling to complete a
brownfield site cleanup.

j. Using a portion of a loan or subgrant to purchase environmental insurance for the site. [The loan or
subgrant shall not be used to purchase insurance intended to provide coverage for any of the ineligible
uses under Section IV., Ineligible Uses of the Funds for the Cooperative Agreement Recipient, Borrower,
and/or Subgrantees.]

k. Any other eligible programmatic costs, including costs incurred by the recipient in making and
managing a loan or subgrant; obtaining RLF fund manager services; quarterly reporting to EPA including
preparation of Property Profiles; awarding, managing and monitoring loans and subgrants as required by
the terms of this agreement implementing 2 CFR § 200.332 and the “Establishing and Managing
Subawards” General Term and Condition; and carrying out outreach pertaining to the loan and subgrant
program to potential borrowers and subgrantees.

l. Borrower and subgrantee progress reporting to the CAR.

2. The CAR must maintain records that will enable it to report to EPA on the amount of costs incurred by
the CAR, borrowers, or subgrantees at brownfield sites.

3. Each site being remediated via an RLF subgrant is limited to a total of $500,000 of the CAR's total
award amount (i.e., funds EPA awards directly to the CAR for all open RLF grants and any associated
cost share, if applicable – see Section IV.A.1.). The term “CAR's total award amount” is used to
represent the EPA funds + cost share (if applicable – see Section IV.A.1.) from all of the CAR's open
RLF grants (i.e., the term considers the RLF program as a single, unified program rather than separate
open RLF cooperative agreements; it does not include any funding from cooperative agreements that the
CAR has already closed out). The total award amount also never includes program income earned while
the cooperative agreement is open or retained and post-closeout program income. For the purposes of
determining compliance with the subgrant cap, the value of any technical assistance the CAR provides to
the subgrantee (e.g., an ABCA paid for with EPA funds or cost share, if applicable – see Section IV.A.1.)
would not be included in the subgrant and does not count towards the $500,000 per site cap. However,
any expenses charged to the subgrant by the subgrantee (e.g., including the cost of an ABCA) would
count towards the $500,000 subgrant cap. Private, for-profit entities are not eligible for subgrants.

4. At least 50% of each open cooperative agreement's total award amount (i.e., EPA funds + cost share,
if applicable – see Section IV.A.1.) must be used by the CAR to provide loans for the cleanup of eligible
brownfield sites and associated eligible programmatic costs by the end of the cooperative agreement
project period. The remaining EPA funding and cost share, if applicable – see Section IV.A.1, may be
used for all other eligible programmatic costs that are not associated with loans, such as subgrants,
forgiven principal in discounted loans, and eligible programmatic costs to manage/market the RLF. This
is referred to as the 50/50 split rule, which addresses the minimum ratio of loan costs to non-loan costs
required for the cooperative agreement's total award amount by the end of the cooperative agreement
project period. CARs are not required to meet the 50/50 split rule “proportionally” when drawing down
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funds, but the EPA Project Officer will monitor to confirm the CAR is on track to meet the minimum 50/50
split by the end of the cooperative agreement.

The CAR may request a waiver of the $500,000 subgrant limit or the minimum 50/50 split by seeking a
waiver through the EPA Project Officer who can provide information on the waiver process. However, a
waiver is not required for either requirement when only program income is used, since subgrants that are
funded with 100% program income are not limited in amount and do not contribute to this 50% limitation.
A waiver is also not required for the discounted amount of a loan if the loan is funded with 100% program
income. Furthermore, if program income and/or post-closeout program income are combined with EPA
funds and/or cost share (if applicable – see Section IV.A.1.) the program income and post-closeout
program income must not be included in the total subgrant or loan amount for the purposes of
determining compliance with the subgrant cap, discounted loan limits, or 50/50 split rule.

If the CAR has more than one open RLF cooperative agreement and would like to close out the older
cooperative agreement more quickly, the CAR has the option of:

a. Submitting a waiver request to the EPA Project Officer requesting to apply the 50/50 split rule to the
CAR's RLF program as a whole for all open RLF cooperative agreements, rather than to each open RLF
cooperative agreement individually, on one condition: if one of those open RLF grants closes out (i.e.,
project period ends) and that closing cooperative agreement does not meet the 50/50 split requirement
on its own due to excessive non-loan costs, the CAR must continue to include that cooperative
agreement in the 50/50 split calculation for the other open cooperative agreement going forward. This
allows the 50/50 split rule to be honored for the entire open RLF program.

b. Requesting that the EPA Project Officer and Grants Management Officer allow shifting of
programmatic costs (loan and non-loan costs) between the two open cooperative agreements, in
accordance with 2 CFR § 200.405(c), to better achieve the CAR's RLF program priorities. Once the
oldest cooperative agreement closes out, the workplan and budget for the remaining open cooperative
agreement would need to be amended to include programmatic costs.

5. To determine whether a cleanup subgrant is appropriate, the CAR must consider the following as
required by CERCLA § 104(k)(3)(C):

a. The extent to which the subgrant will facilitate the creation of, preservation of, or addition to a park,
greenway, undeveloped property, recreational property, or other property used for nonprofit purposes;

b. The extent to which the subgrant will meet the needs of a community that has the inability to draw on
other sources of funding for environmental remediation and subsequent redevelopment of the area in
which a brownfield site is located because of the small population or low income of the community;

c. The extent to which the subgrant will facilitate the use or reuse of existing infrastructure; and

d. The benefit of promoting the long-term availability of funds from a revolving loan fund for brownfield
remediation.

The CAR must maintain sufficient records to support and document these determinations.

6. Local Governments Only. If authorized in the EPA-approved workplan and budget narrative, up to 10%
of the funds awarded by this agreement may be used by the CAR itself as a programmatic cost for
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Brownfield Program development and implementation of monitoring health conditions and institutional
controls. The health monitoring activities must be associated with brownfield sites at which at least a
Phase II environmental site assessment is conducted, and the assessment indicates that the sites are
contaminated with hazardous substances. The CAR must maintain records on funds that will be used to
carry out this task to ensure compliance with this requirement.

7. If the CAR makes a subgrant to a local government that includes an amount (not to exceed 10% of the
subgrant) for Brownfields Program development and implementation, the terms and conditions of that
agreement must include a provision that ensures that the local government subgrantee maintains
records adequate to ensure compliance with the limits on the amount of subgrant funds that may be
expended for this purpose.

8. Under CERCLA § 104(k)(5)(E), CARs and subgrantees may use up to 5% of the direct EPA funding
plus the CAR's cost share, if applicable – see Section IV.A.1., for this cooperative agreement for
administrative costs, including indirect costs under 2 CFR § 200.414. The limit on administrative costs for
the CAR under this agreement is $175,000. The total amount of indirect costs and any direct costs for
cooperative agreement administration by the CAR paid for by EPA under the cooperative agreement, or
used to meet the recipient's cost share, if applicable – see Section IV.A.1., shall not exceed this amount.
Note that additional administrative costs may be allowed when using program income received under this
cooperative agreement during the period of performance (see Section IV.D.2.). Subgrantees and
borrowers may use up to 5% of the amount of Federal funds (direct EPA funding, cost share – if
applicable – see Section IV.A.1, and program income) in their subawards for administrative costs. As
required by 2 CFR § 200.403(d), the CAR and subgrantees must classify administrative costs as
direct or indirect consistently and shall not classify the same types of costs in both categories. [Note:
Borrowers may charge direct administrative costs to their loan, but borrowers cannot charge indirect
costs.]

The term “administrative costs” does not include:

       a. Investigation and identification of the extent of contamination of a brownfield site;

       b. Design and performance of a response action; or

       c. Monitoring of a natural resource.

Eligible cooperative agreement and subgrant administrative costs subject to the 5% limitation include
direct costs for:

a. Costs incurred to comply with the following provisions of the Uniform Administrative Requirements for
Cost Principles and Audit Requirements for Federal Awards at 2 CFR Parts 200 and 1500 other than
those identified as programmatic.

       i. Record-keeping associated with equipment purchases required under 2 CFR § 200.313;

       ii. Preparing revisions and changes in the budgets, scopes of work, program plans and other
       activities required under 2 CFR § 200.308;

       iii. Maintaining and operating financial management systems required under 2 CFR § 200.302;
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       iv. Preparing payment requests and handling payments under 2 CFR § 200.305;

       v. Financial reporting under 2 CFR § 200.328;

       vi. Non-federal audits required under 2 CFR Part 200, Subpart F; and

       vii. Closeout under 2 CFR § 200.344 with the exception of preparing the recipient's final
       performance report. Costs for preparing this report are programmatic and are not subject to the
       5% limitation on direct administrative costs.

b. Pre-award costs for preparation of the proposal and application for this cooperative agreement
(including the final workplan) or applications for subgrants are not allowable as direct costs but may be
included in the CAR's or subrecipient's indirect cost pool to the extent authorized by 2 CFR § 200.460.

c. Borrowers may use up to 5% of the amount of the Federal funds in the loan for loan administration
costs. Eligible administrative costs for borrowers include direct costs for:

       i. Salaries, benefits, and other compensation for persons who are not directly engaged in the
       cleanup of the site (e.g., marketing and human resource personnel), but only to the extent to
       which these persons activities support the cleanup and subsequent re-use of the site;

       ii. Facility costs such as depreciation, utilities, and rent on the borrower's administrative offices;
       and

       iii. Supplies and equipment not used directly for cleanup at the site.

d. Eligible direct costs for loan administration include expenses for:

       i. Preparing revisions and changes in the budget, workplans, and other documents required
       under the loan agreement;

       ii. Maintaining and operating financial management and personnel systems;

       iii. Preparing payment requests and handling payments; and

       iv. Audits including non-federal audits required under 2 CFR Part 200, Subpart F.

e. Borrowers shall not use loan funds for indirect costs even if the borrower has an indirect cost rate
approved by a cognizant Federal agency.

C. Ineligible Uses of the Funds for the Cooperative Agreement Recipient, Borrower, and/or Subgrantee

1. Cooperative agreement funds shall not be used by the CAR, borrower and/or subgrantee for any of
the following activities:

a. Pre-cleanup Phase I and Phase II environmental site assessment activities with the exception of site
monitoring activities that are reasonable and necessary during the cleanup process, including
determination of the effectiveness of a cleanup;
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b. Monitoring and data collection necessary to apply for, or comply with, environmental permits under
other federal and state laws, unless such a permit is required as a component of the cleanup action;

c. Construction, demolition, and site development activities that are not cleanup actions (e.g., marketing
of property (activities or products created specifically to attract buyers or investors), construction of a new
facility, or addressing public or private drinking water supplies that have deteriorated through ordinary
use);

d. Job training activities unrelated to performing a specific cleanup at a site covered by a loan or
subgrant;

e. To pay for a penalty or fine;

f. To pay a federal cost share requirement (e.g., a cost share required by another federal grant) unless
there is specific statutory authority;

g. To pay for a response cost at a brownfield site for which the CAR or recipient of the subgrant or loan is
potentially liable under CERCLA § 107;

h. To pay a cost of compliance with any federal law, excluding the cost of compliance with laws
applicable to the cleanup; and

i. Unallowable costs (e.g., lobbying and purchases of alcoholic beverages) under 2 CFR Part 200,
Subpart E.

2. Cooperative agreement funds shall not be used for any of the following properties:

a. Facilities listed, or proposed for listing, on the National Priorities List (NPL);

b. Facilities subject to unilateral administrative orders, court orders, and administrative orders on consent
or judicial consent decree issued to or entered by parties under CERCLA;

c. Facilities that are subject to the jurisdiction, custody, or control of the United States government except
for land held in trust by the United States government for an Indian Tribe; or

d. A site excluded from the definition of a brownfield site for which EPA has not made a property-specific
funding determination.

D. Use of Program Income – During the Performance Period

1. Program income for the RLF shall be defined as the gross income received by the recipient, directly
generated by the cooperative agreement award or earned during the period of the award. Program
income shall include principal repayments, interest earned on outstanding loan principal, interest earned
on accounts holding RLF program income not needed for immediate lending, all loan fees and loan-
related charges received from borrowers and other income generated from RLF operations including
proceeds from the sale, collection, or liquidations of assets acquired through defaults of loans.

2. In accordance with 2 CFR § 200.307 and 2 CFR § 1500.8, during the performance period of the
cooperative agreement the CAR is authorized to add program income to the funds awarded by EPA and
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use the program income under the same terms and conditions of this agreement unless otherwise
specified (e.g., Section IV.B.4. regarding the minimum 50/50 split). Accordingly, program income may be
used for administrative costs, including any applicable indirect costs, provided that the total amount of
funds used for administrative costs does not exceed 5% of the sum of direct EPA funding plus the cost
share, if applicable – see Section IV.A.1., and program income the CAR generates. CARs that intend to
use program income for cost share for any other Brownfield Grants under 2 CFR § 200.307(c)(3) must
obtain prior approval from the EPA Grant Management Officer or Award Official unless the cost share
method for using program income was approved at time of award. Note that repayments of principal for
loans made all or in part with cooperative agreement funds shall not be used for cost share for any other
Brownfield Grants. These repayments of principal must be returned to the CAR's Brownfields Revolving
Loan Fund.

3. In accordance with 2 CFR § 1500.8(c), to continue the mission of the Brownfields Revolving Loan
Fund, recipients may use cooperative agreement funding prior to using program income funds generated
by the revolving loan fund.

4. The CAR that elects to use program income to cover all or part of an RLF's programmatic costs shall
maintain adequate accounting records and source documentation to substantiate the amount and
percent of program income expended for eligible RLF programmatic costs, and comply with OMB cost
principles at 2 CFR Part 200, Subpart E when charging costs against program income. For any cost
determined by EPA to have been an ineligible or unallowable use of program income, the recipient shall
reimburse the RLF or refund the amount to EPA as directed by the EPA Action Official in its disallowance
determination. EPA will notify the recipient of the time period allowed for reimbursement or refund.

5. Loans or subgrants made with a combination of program income, post-closeout program income, cost
share, if applicable – see Section IV.A.1., and/or direct funding from EPA are subject to the same terms
and conditions as those applicable to this agreement. Loans and subgrants made with direct funding
from EPA and/or cost share, if applicable – see Section IV.A.1., in combination with non-federal sources
of funds are also subject to the same terms and conditions of this agreement.

6. The CAR must obtain the EPA Project Officer approval of the substantive terms of loans and
subgrants made entirely with program income unless this requirement is waived by the EPA Project
Officer.

E. Interest-Bearing Accounts

1. The CAR must deposit advances of cooperative agreement funds (as described in Section VII.A.,
Methods of Disbursement) and program income (as defined earlier) in an interest-bearing account
unique to this cooperative agreement [i.e., separate from funds for another open RLF cooperative
agreement, and separate from post-closeout program income governed under a Closeout Agreement
(COA) since separate reporting of funds is required under a COA]. Consistent with 2 CFR 200.305(d)(7)
as well as the unique accounting requirements for states under 2 CFR 200.302(a) and 200.305(a), the
CAR does not have to establish entirely separate bank accounts for EPA funds. The CAR does,
however, have to be able to account for EPA funds (including cost share, if applicable – see Section IV.
A.1., and program income) received, obligated, and expended, and Federal funds must be deposited and
maintained in insured accounts whenever possible as required by the regulation. Subaccounts are
allowed, as long as the interest earned and all funds for each of the CAR's open and post-closeout RLF
grants can be accounted for accurately by the CAR.
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2. Advances of EPA funds (and other Federal funds as well) must also be placed in interest bearing
accounts as provided in 2 CFR § 200.305(b)(8) for CARs other than states which are subject to
applicable Treasury regulations. Advances of EPA funds must be maintained in an account that is
separate from the post-closeout program income in the RLF. While interest earned by CARs on
advances of EPA funds should be minimal given the regulatory and T&C requirements for prompt
disbursement of drawn down funds, any interest the CAR does earn on advanced Federal funds is
subject to 2 CFR § 200.305(b)(9). This regulation generally requires that interest on advanced Federal
funds in excess of $500 must be transmitted annually to the U.S. Department of Health and Human
Services.

3. Interest earned on program income is considered additional program income.

F. Closeout Agreement and Use of Post Cooperative Agreement (i.e., Post-Closeout) Program Income

1. As provided at 2 CFR § 200.307(f) and 2 CFR § 1500.8(c) after the end of the period of performance
of the cooperative agreement, the CAR may keep and use program income at the end of the cooperative
agreement (retained program income) and use program income earned after the cooperative agreement
period of performance (post-closeout program income) in accordance with terms of a COA. At the end of
the cooperative agreement period of performance, the CAR shall comply with the attached COA. This
award is contingent upon the CAR signing and returning the attached COA to the EPA Project Officer no
later than 30 days of award. The EPA Project Officer may grant an extension to the 30 days based on a
CAR's request for extenuating circumstances. However, the CAR cannot draw down funds if the CAR
has not submitted a signed FY22 COA that includes this assistance agreement number to the EPA
Project Officer. The COA goes into effect for this assistance agreement number the day after the
cooperative agreement period of performance ends unless otherwise designated by the EPA Grants
Management Officer or Award Official. The period of performance is identified as the project period in the
Notice of Award.

2. This COA is based on the FY22 RLF COA template. EPA plans to modify RLF COA templates every
five years. EPA reserves the right to renegotiate the terms of this RLF COA every five years, in
conjunction with the template change (e.g., next change will be in FY27). If the CAR agrees to continue
to operate the RLF under a COA past FY27, the CAR shall work with the EPA Project Officer to update
to the latest COA template. Otherwise, the Project Officer and CAR will negotiate a mutually acceptable
disposition of unused program income, and an Authorized EPA Official (e.g., Grants Management Officer
or Award Official) will modify the COA accordingly.



V. RLF REQUIREMENTS

A. Authorized RLF Cleanup Activities

1. The CAR, or borrower/subgrantee with CAR concurrence, shall prepare an ABCA, or equivalent state
Brownfields program document, which will include information about the site and contamination issues (i.
e., exposure pathways, identification of contaminant sources, etc.); cleanup standards; applicable laws;
alternatives considered; and the proposed cleanup. The evaluation of alternatives must include
effectiveness, ability to implement, and the cost of the response proposed. The evaluation of alternatives
must also consider the resilience of the remedial options to address potential adverse impacts caused by
extreme weather events and changing climate conditions (e.g., sea level rise, drought, increased
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frequency and intensity of flooding, etc.). The alternatives may additionally consider the degree to which
they reduce greenhouse gas discharges, reduce energy use or employ alternative energy sources,
reduce volume of wastewater generated/disposed of, reduce volume of materials taken to landfills, and
recycle and re-use materials generated during the cleanup process to the maximum extent practicable.
The evaluation will include an analysis of reasonable alternatives including no action. The cleanup
method chosen must be based on this analysis and documented in a decision document upon
completion of the public comment period. The CAR, or borrower/subgrantee with CAR concurrence,
must consult with the relevant state program (or EPA if there is not a state program that covers the site)
to determine if the selected cleanup requires formal modification based on public comments or new
information.

2. Prior to conducting or engaging in any on-site activity with the potential to impact historic properties
(such as invasive sampling or cleanup), the CAR shall consult with the EPA Project Officer regarding
potential applicability of the National Historic Preservation Act (NHPA) (16 USC § 470) and, if applicable,
shall assist EPA in complying with any requirements of the NHPA and implementing regulations.

B. Quality Assurance (QA) Requirements

Authority: Quality Assurance applies to all assistance agreements involving environmental information as
defined in 2 C.F.R. § 1500.12 Quality Assurance.

When environmental data are collected as part of the brownfield cleanup (e.g., cleanup verification
sampling, post-cleanup confirmation sampling), the CAR shall comply with 2 CFR § 1500.12
requirements to develop and implement quality assurance practices sufficient to produce data adequate
to meet project objectives and to minimize data loss. State law may impose additional QA requirements.

The recipient shall ensure that subawards involving environmental information issued under this
agreement include appropriate quality requirements for the work. The recipient shall ensure sub-award
recipients develop and implement Quality Assurance (QA) planning document[s] in accordance with this
term and condition; and/or ensure sub-award recipients implement all applicable approved QA planning
documents.

1. Quality Assurance Project Plan (QAPP)

a. Prior to beginning environmental information operations, the recipient must:

i. Provide EPA a copy of the recipient-approved QAPP if the recipient has an EPA-approved Quality
Management Plan and a current EPA delegation to review and approve QAPPs.

b. The recipient must submit the QAPP 90 days after grant award, and/or no more than 180 days after
grant award.

c. The recipient shall notify the EPA Project Officer and the EPA Quality Assurance Manager or designee
(hereafter referred to as QAM) when substantive changes are needed to the QAPP. EPA may require the
QAPP be updated and re-submitted for approval.

d. The recipient must review their approved QAPP at least annually. The results of the QAPP review and
any revisions must be submitted to the EPA Project Officer and the QAM at least annually and may also
be submitted when changes occur.
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e. The recipient must submit a QAPP Checklist with the QAPP.

For Reference:

• Quality Management Plan (QMP) Standard and EPA's Quality Assurance Project Plan (QAPP)
Standard; contain quality specifications for EPA and non-EPA organizations and definitions applicable to
these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans.

• (QAM and/or PO may insert QA references that inform or assist the recipient here).

• EPA's Quality Program website has a list of QA managers, and Specifications for EPA and Non-EPA
Organizations.

• The Office of Grants and Debarment Implementation of Quality Assurance Requirements for
Organizations Receiving EPA Financial Assistance.

3. Competency of Organizations Generating Environmental Measurement Data: In accordance with
Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of Organizations
Generating Environmental Measurement Data under Agency-Funded Assistance Agreements, the CAR
agrees, by entering into this agreement, that it has demonstrated competency prior to award, or
alternatively, where a pre-award demonstration of competency is not practicable, the CAR agrees to
demonstrate competency prior to carrying out any activities under the award involving the generation or
use of environmental data. The CAR shall maintain competency for the duration of the project period of
this agreement and this will be documented during the annual reporting process. A copy of the Policy is
available online at https://www.epa.gov/measurements-modeling/documents-about-measurement-
competency-under-assistance-agreements or a copy may also be requested by contacting the EPA
Project Officer for this award.

C. Public Involvement and Community Outreach

1. All RLF loan and subgrant cleanup activities require a site-specific Community Involvement Plan that
includes providing reasonable notice, and the opportunity for public involvement and comment on the
proposed cleanup options under consideration for the site. All information, including responses to public
comments and administrative records, may be made available to the public to the extent consistent with
2 CFR § 200.338 and applicable state, tribal, or local law.

D. Public Awareness

1. The CAR agrees to clearly reference EPA investments in the project during all phases of community
outreach outlined in the EPA-approved workplan which may include the development of any post-project
summary or success materials that highlight achievements to which this project contributed.

a. If any documents, fact sheets, and/or web materials are developed as part of this cooperative
agreement, then they shall comply with the Acknowledgement Requirements for Non-ORD Assistance
Agreements in the General Terms and Conditions of this agreement.

b. If the EPA logo is displayed along with logos from other participating entities on websites, outreach
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materials, or reports, it must not be prominently displayed to imply that any of the recipient or
subrecipient's activities are being conducted by the EPA. Instead, the EPA logo should be accompanied
with a statement indicating that the Illinois Environmental Protection Agency received financial support
from the EPA under an Assistance Agreement per the term and condition described in Section V.D.1.a.
above. More information is available at https://www.epa.gov/stylebook/using-epa-seal-and-logo.

c. Investing in America Emblem: The recipient will ensure that a sign is placed at construction sites
supported in whole or in part by this award displaying the official Investing in America emblem and must
identify the project as a “project funded by President Biden's Bipartisan Infrastructure Law.” The sign
must be placed at construction sites in an easily visible location that can be directly linked to the work
taking place and must be maintained in good condition throughout the construction period.

The recipient will ensure compliance with the guidelines and design specifications provided by EPA for
using the official Investing in America emblem available at https://www.epa.gov/invest/investing-america-
signage.

d. Procuring Signs: Consistent with section 6002 of RCRA, 42 U.S.C. 6962, and 2 CFR 200.323,
recipients are encouraged to use recycled or recovered materials when procuring signs. Signage costs
are considered an allowable cost under this assistance agreement provided that the costs associated
with signage are reasonable. Additionally, to increase public awareness of projects serving communities
where English is not the predominant language, recipients are encouraged to translate the language on
signs (excluding the official Investing in America emblem or EPA logo or seal) into the appropriate non-
English language(s). The costs of such translation are allowable, provided the costs are reasonable.

3. The CAR agrees to notify the EPA Project Officer listed in this award document of public or media
events publicizing the accomplishment of significant events related to construction and/or site reuse
projects as a result of this agreement, and provide the opportunity for attendance and participation by
federal representatives with at least ten (10) working days' notice.

4. To increase public awareness of projects serving communities where English is not the predominant
language, CARs are encouraged to include in their outreach strategies communication in non-English
languages. Translation costs for this purpose are allowable, provided the costs are reasonable.

5. All public awareness activities conducted with EPA funding are subject to the provisions in the General
Terms and Conditions on compliance with section 504 of the Americans with Disabilities Act.

E. Administrative Record

1. The CAR shall establish an Administrative Record that contains the documents that form the basis for
the selection of a cleanup plan. Documents in the Administrative Record shall include the ABCA; site
investigation reports; the cleanup plan (or the contractor solicitation if it includes the cleanup plan);
cleanup standards used; responses to public comments; and verification that shows that cleanups are
complete. The CAR shall keep the Administrative Record available at a location convenient to the public
and make it available for inspection. The Administrative Record must be retained for three (3) years after
the termination of the cooperative agreement subject to any requirements for maintaining records of site
cleanups ongoing at the time of termination contained in the CAR's COA.

F. Implementation of RLF Cleanup Activities
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1. The CAR shall ensure the adequacy of each RLF cleanup in protecting human health and the
environment as it is implemented. Each loan and subgrant agreement shall contain terms and conditions,
subject to any required approvals by the state or tribal regulatory oversight authority, that allow the CAR
to change cleanup activities as necessary based on comments from the public or any new information
acquired.

2.. If the borrower or subgrantee is unable or unwilling to complete the RLF cleanup, the CAR shall
ensure that the site is secure. The CAR shall notify the appropriate state agency and EPA to ensure an
orderly transition should additional activities become necessary.

G. Completion of RLF Cleanup Activities

1. The CAR shall ensure that the successful completion of an RLF cleanup is properly documented. This
must be done through a final report or letter from a Qualified Environmental Professional, or other
documentation provided by a State or Tribe that shows cleanups are complete (including No Further
Action letters, institutional controls, etc.). This documentation must be included as part of the
Administrative Record.



VI. REVOLVING LOAN FUND REQUIREMENTS

A. Prudent Lending and Subgranting Practices

1. The CAR is expected to establish economically sound structures and day-to-day management and
processing procedures to maintain the RLF and meet longterm brownfield cleanup lending/subgranting
objectives. These include establishing: underwriting principles that can include the establishment of
interest rates, repayment terms, fee structure, and collateral requirements sufficient to recover, as a
minimum, the principal amount of the loan less any repayment discounts; and, lending/subgranting
practices that can include loan/subgrant processing, documentation, approval, servicing, administrative
procedures, collection, and recovery actions. Intra-governmental loans may be made consistent with
EPA's guidance with the approval of the EPA Project Officer. Governmental recipients may not make
intra-governmental subgrants. Nonprofit recipients may not make intra-entity loans and subgrants
without EPA Project Officer approval of a waiver.

2. The CAR shall not incur costs under this cooperative agreement for loans subgrants or other eligible
costs until an RLF cooperative agreement workplan has been submitted to and approved by the EPA
Project Officer or program manager. The CAR shall ensure that the objectives of the workplan are met
through its or the fund manager's selection and structuring of individual loans/subgrants and
lending/subgranting practices. These activities shall include, but not be limited to the following:

a. Considering awarding subgrants on a competitive basis. If the CAR decides not to award any such
subgrants competitively, it must document the basis for that decision and inform the EPA Project Officer
in the first quarterly performance report. The CAR must inform the EPA Project Officer if the CAR
subsequently decides to award subgrants competitively in the quarterly performance report immediately
following the decision.

b. Establishing appropriate project selection criteria consistent with federal and state requirements, the
intent of the RLF program, and the cooperative agreement entered into with EPA.
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c. Establishing threshold eligibility requirements whereby only eligible borrowers or subgrantees receive
RLF financing.

d. Developing a formal protocol for potential borrowers or subgrantees to demonstrate eligibility, based
on the procedures described in the initial RLF application proposal and cooperative agreement
application. Such a protocol shall include descriptions of projects that will be funded, how loan monies
will be used, and qualifications of the borrower or subgrantee to make legitimate use of the funds.
Additionally, CARs shall ask borrowers or subgrantees for an explanation of how a project, if selected,
would be consistent with RLF program objectives, statutory requirements and limitations, and protect
human health and the environment.

e. Requiring that borrowers or subgrantees submit information describing the borrower's or subgrantee's
environmental compliance history. The CAR shall consider this history in an analysis of the borrower or
subgrant recipient as a cleanup and business risk.

f. Establishing procedures for handling the day-to-day management and processing of loans and
repayments.

g. Establishing standardized procedures for the disbursement of funds to the borrower or subgrantee.

B. Inclusion of Additional Terms and Conditions in RLF Loan and Subgrant Documents

1. All loans and subgrants must include the information required by 2 CFR § 200.332(a). EPA has
developed an optional template to use in creating this agreement that is available on EPA's Subaward
Policy internet page. EPA does not require CARs to use the template.

2. The CAR shall ensure that the borrower or subgrantee meets the cleanup and other program
requirements of the RLF cooperative agreement by including the following special terms and conditions
in RLF loan agreements and subgrants:

a. Borrowers or subgrantees shall use funds only for eligible activities and in compliance with the
requirements of CERCLA § 104(k) and applicable federal and state laws and regulations. (See Section I.
A.2. and Section II.)

b. Borrowers or subgrantees shall ensure that the cleanup protects human health and the environment.

c. Borrowers or subgrantees shall document how funds are used.

d. Borrowers or subgrantees shall maintain records for a minimum of three (3) years following completion
of the cleanup financed all or in part with RLF funds unless one of the conditions described at 2 CFR §
200.334 is present. Borrowers or subgrantees shall obtain written approval from the CAR prior to
disposing of records, so that the CAR can maintain the records, if necessary, for complying with the
CAR's obligations under 2 CFR § 200.334. CARs shall also require that the borrower or subgrantee
provide access to records relating to loans and subgrants supported with RLF funds to authorized
representatives of the federal government. As stated in the attached COA, records related to the COA
must be retained by the CAR for the duration of the COA and retained for a period of three (3) years
following termination or discontinuation of the COA.

e. Borrowers or subgrantees shall certify that they are not currently, nor have they been, subject to any
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penalties resulting from environmental noncompliance at the site subject to the loan or subgrant.

f. Borrowers or subgrantees shall certify that they are not potentially liable under CERCLA § 107 for the
site or that, if they are, they qualify for a limitation or defense to liability under CERCLA. If asserting a
limitation or defense to liability, the borrower or subgrantee must state the basis for that assertion. When
using cooperative agreement funds for petroleum-contaminated brownfield sites, borrowers or
subgrantees shall certify that they are not a viable responsible party or potentially liable for the petroleum
contamination at the site. The CAR may consult with EPA for assistance with this matter.

g. Borrowers or subgrantees shall conduct cleanup activities as required by the CAR.

h. Subgrantees, other than borrowers, shall comply with all applicable EPA assistance regulations (2
CFR Parts 200 and 1500). All procurements conducted with subgrant funds, but not loans, must comply
with Procurement Standards of 2 CFR §§ 200.317 through 200.327, as applicable.

i. Borrowers must comply with the internal control requirements specified at 2 CFR § 200.303 and are
subject to the 2 CFR Part 200, Subpart F, Audit Requirements. The CAR must oversee and manage
loans as required by 2 CFR §§ 200.330 through 200.332. No other provisions of the Uniform Grant
Guidance apply directly to borrowers.

j. A term and condition or other legally binding provision shall be included in all loans and subgrants
entered into with the funds under this agreement, or when funds awarded under this agreement are used
in combination with non-federal sources of funds, to ensure that borrowers and subgrantees comply with
all applicable federal and state laws and requirements. In addition to CERCLA § 104(k), federal
applicable laws and requirements include 2 CFR Parts 200 and 1500.

k. EPA provides general information on statutes, regulations and Executive Orders that apply to EPA
grants on the Grants internet site at www.epa.gov/grants. Many federal requirements are agreement or
program specific and EPA encourages CARs to review the terms of their cooperative agreement
carefully and consult with their EPA Project Officer for advice if necessary.

C. Default

1. In the event of a loan default, the CAR shall make reasonable efforts to enforce the terms of the loan
agreement including proceeding against the assets pledged as collateral to cover losses to the loan. If
the cleanup is not complete at the time of default, the CAR is responsible for:

a. documenting the nexus between the amount paid to the borrower (bank or other financial institution)
and the cleanup that took place prior to the default; and

b. securing the site (e.g., ensuring public safety) and informing the EPA Project Officer and the State.

D. Conflict of Interest

1. The CAR shall establish and enforce conflict of interest provisions that prevent the award of
subawards that create real or apparent personal conflicts of interest, or the CAR's appearance of lack of
impartiality. Such situations include, but are not limited to, situations in which an employee, official,
consultant, contractor, or other individual associated with the CAR (affected party) approves or
administers a grant or subaward to a subaward recipient in which the affected party has a financial or
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other interest. Such a conflict of interest or appearance of lack of impartiality may arise when:

a. The affected party,

b. Any member of his immediate family,

c. His or her partner, or

d. An organization which employs, or is about to employ, any of the above, has a financial or other
interest in the subrecipient.

Affected employees will neither solicit nor accept gratuities, favors, or anything of monetary value from
subrecipients. Recipients may set minimum rules where the financial interest is not substantial or the gift
is an unsolicited item of nominal intrinsic value. To the extent permitted by State or local law or
regulations, such standards of conduct will provide for penalties, sanctions, or other disciplinary actions
for violations of such standards by affected parties.



VII. DISBURSEMENT, PAYMENT, AND CLOSEOUT

For the purposes of these Terms and Conditions, the following definitions apply: “payment” is

EPA's transfer of funds to the CAR; the CAR incurs an “obligation” when it enters into an agreement with
a borrower or a subgrantee; “disbursement” is the transfer of funds from the CAR to the borrower or
subgrantee. The CAR may also disburse funds to a contractor or to pay an allowable cost (e.g. personnel
compensation) as provided in 2 CFR § 200.305(b)(1). “Closeout” refers to the process EPA follows to
both ensure that all administrative actions and work required under the cooperative agreement have
been completed and to establish a COA to govern the use of retained and post-closeout program
income.

A. Methods of Disbursement

1. The CAR may choose to disburse funds to the borrower or subgrantee by means of ‘actual expense'
or ‘schedule.' If the schedule method is used, the recipient must ensure that the schedule is designed to
reasonably approximate the borrower's or subgrantee's incurred costs.

a. An ‘actual expense' disbursement approach requires the borrower or subgrantee to submit
documentation of the borrower's or subgrantee's expenditures (e.g., invoices) to the CAR prior to
requesting payment from EPA.

b. A ‘schedule' disbursement is one in which all, or an agreed upon portion, of the obligated funds are
disbursed to the borrower or subgrantee on the basis of an agreed upon schedule (e.g., progress
payments) provided the schedule minimizes the time elapsing between disbursement by the CAR and
the borrower or subgrantee's payment of costs incurred in carrying out the loan/subgrant. In unusual
circumstances, disbursement may occur upon execution of the loan or subgrant. The CAR shall submit
documentation of disbursement schedules to EPA.

c. If the disbursement schedule of the loan/subgrant agreement calls for disbursement of the entire
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amount of the loan/subgrant upon execution, the CAR shall demonstrate to the EPA Project Officer that
this method of disbursement is necessary for purposes of cleaning up the site covered by the
loan/subgrant. Further, the CAR shall include an appropriate provision in the loan/subgrant agreement
which ensures that the borrower/subgrantee uses funds promptly for costs incurred in connection with
the cleanup and that interest accumulated on schedule disbursements is applied to the cleanup.

B. Schedule for Closeout

1. Assuming any applicable cost share requirement has been satisfied (see Section IV.A.1.), there are
two fundamental criteria for closeout:

a. Final payment of funds from EPA to the CAR following the end date for the project and budget period
of the cooperative agreement as part of the closeout process or prior to the end date when the CAR has
disbursed all of the EPA funding of the funds awarded; and

b. Completion of all workplan and cleanup activities funded completely, or in part, by direct EPA funding
from the amount of the award.

2. The first criterion of cooperative agreement closeout is met when the CAR receives all payments from
EPA. The second closeout criterion is met when all workplan and cleanup activities funded by the
cooperative agreement are complete.

3. The CAR must follow the attached COA for any retained and future program income generated after
closeout (i.e., post-closeout program income). Eligible uses include continuing to operate an RLF for
brownfield site cleanup and/or other brownfield site activities as identified in the attached COA.

C. Compliance with Closeout Schedule

1. If the CAR fails to comply with the closeout schedule, any funds attributable to the cooperative
agreement, including retained program income not obligated under loan agreement to a borrower or
subgrantee, may be subject to federal recovery.

D. Final Requirements

1. The CAR must submit the following documentation:

a. The Final Cooperative Agreement Performance Report as described in Section III.F. of these Terms
and Conditions.

b. Administrative and Financial Reports as described in the General Terms and Conditions of this
agreement.

2. The CAR must ensure that all appropriate data have been entered into ACRES or all hardcopy
Property Profile Forms are submitted to the EPA Project Officer.

E. Recovery of RLF Assets

1. In case of termination, the CAR shall return to EPA its fair share of the value of the RLF assets
consisting of cash, receivables, personal and real property, and notes or other financial instruments
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developed through use of the funds. EPA's fair share is the amount computed by applying the
percentage of EPA participation in the total capitalization of the RLF to the current fair market value of
the assets thereof. EPA also has remedies under Remedies for Noncompliance at 2 CFR §§ 200.339
through 200.342 and CERCLA § 104(k) when EPA determines that the value of such assets has been
reduced by improper/illegal use of cooperative agreement funding. In such instances, the CAR may be
required to compensate EPA over and above the EPA's share of the current fair market value of the
assets. Nothing in this agreement limits EPA's authorities under CERCLA to recover response costs from
a potentially responsible party.

F. Loan Guarantees

1. If the CAR chooses to use the RLF funds to support a loan guarantee approach, the following terms
and conditions apply:

a. The CAR shall:

       i. Document the relationship between the expenditure of CERCLA § 104(k) funds and cleanup
       activities;

       ii. Maintain an escrow account expressly for the purpose of guaranteeing loans, by following the
       payment requirement described under the Escrow Requirements term and condition below; and

       iii. Ensure that cleanup activities guaranteed by RLF funds are carried out in accordance with
       CERCLA § 104(k), CERCLA § 104(g) relating to compliance with the Davis-Bacon Act, and
       applicable federal and state laws and will protect human health and the environment.

b. Payment of funds to a CAR shall not be made until a guaranteed loan has been issued by a
participating financial institution. Loans guaranteed with RLF funds shall be made available as needed
for specified cleanup activities on an “actual expense” or “schedule” basis to the borrower. (See Section
VII.A., Methods of Disbursement). The CAR's escrow arrangement shall be structured to ensure that the
CERCLA § 104(k) funds are properly “disbursed” by the recipient for the purposes of the cooperative
agreement as required by 2 CFR § 200.305. If the funds are not properly disbursed, the CERCLA § 104
(k) funds that the recipient places in an escrow account will be subject to the interest recovery provisions
of 2 CFR § 200.305.

c. To ensure that funds transferred to the CAR are disbursements of assisted funds, the escrow account
shall be structured to ensure that:

       i. The recipient does not retain the funds;

       ii. The recipient does not have access to the escrow funds on demand;

       iii. The funds remain in escrow unless there is a default of a guaranteed loan;

       iv. The organization holding the escrow (i.e., the escrow agency), shall be a bank or similar
       financial institution that is independent of the recipient; and

       v. There must be an agreement with the financial institution participating in the guaranteed loan
       program which documents that the financial institution has made a guaranteed loan to clean up a
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       brownfield site in exchange for access to funds held in escrow in the event of a default by the
       borrower or subgrantee.

d. Federal Obligation to the Loan Guarantee Program - Any obligations that the CAR incurs for loan
guarantees in excess of the amount awarded under the cooperative agreement are the CAR's
responsibility. This limitation on the extent of the Federal Government's financial commitment to the
CAR's loan guarantee program shall be communicated to all participating banks and borrower or
subgrantee.

e. Repayment of Guaranteed Loans - Upon repayment of a guaranteed loan and release of the escrow
amount by the participating financial institution, the CAR shall return the cooperative agreement funds
placed in escrow to EPA based on disposition instructions provided by the EPA Project Officer.
Alternatively, the CAR may, with EPA approval:

       i. Guarantee additional loans under the terms and conditions of the agreement; or

       ii. Amend the terms and conditions of the agreement to provide for another disposition of funds
       that will redirect the funds for other brownfield sites' related activities authorized by the terms of
       the cooperative agreement or, if applicable, a COA.


[1] When EPA uses the term “underserved communities” it has the meaning defined in Executive Order

13985: Advancing Racial Equity And Support For Underserved Communities Through The Federal
Government, which defines “underserved communities” as “populations sharing a particular
characteristic, as well as geographic communities, that have been systematically denied a full
opportunity to participate in aspects of economic, social, and civic life as exemplified in the preceding
definition of equity.” As described in the Executive Order, the term “equity” means the consistent and
systematic fair, just, and impartial treatment of all individuals, including individuals who belong to
underserved communities that have been denied such treatment, which may include Black, Latino, and
Indigenous and Native American persons, Asian Americans and Pacific Islanders and other persons of
color; members of religious minorities; lesbian, gay, bisexual, transgender, and queer (LGBTQ+)
persons; persons with disabilities; persons who live in rural areas; and persons otherwise adversely
affected by persistent poverty or inequality. It also includes “communities environmentally overburdened,”
that is, a community adversely and disproportionately affected by environmental and human health
harms or risks, and “disadvantaged, communities” as referenced in Executive Order 14008, Tackling the
Climate Crisis at Home and Abroad, and defined in Office of Management and Budget's Memo M-21-28:
Interim Implementation Guidance for the Justice40 Initiative.
[2] Per EPA's General Term and Condition, the CAR must obtain prior approval from the EPA Grants

Management Officer or Award Official for cumulative transfers of funds in excess of 10% of the total
budget.



                           Davis-Bacon Labor Standards Term and Condition

1. Program Applicability

       a. Program Name: Brownfields Program
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     b. Statute requiring compliance with Davis-Bacon: Brownfields Direct Cleanup and Revolving
     Loan Fund Grants authorized by 42 U.S.C. 9604(k) are subject to Davis-Bacon and Related Acts
     (DBRA) as provided in 42 U.S.C. 9604(g)

     c. Activities subject to Davis-Bacon

1.   Brownfield Sites Contaminated with Hazardous Substances: All construction, alteration, and
     repair activity involving the remediation of hazardous substances is subject to DBRA. This
     includes:

     Excavation of contaminated soil;
     Construction of caps, barriers, and structures which permanently house treatment equipment;
     Installation of water supply wells/piping/connections;
     Abatement of contamination in buildings; and
     Demolition (if followed by new construction).

2.   Brownfield Sites Contaminated with Petroleum: DBRA prevailing wage requirements apply when
     the project includes:

     Excavation of contaminated soil and/or tank removal if followed by paving and concrete
     replacement, or if it is an extensive soil excavation project;
     Construction of caps, barriers, and structures which permanently house treatment equipment;
     and
     Installation of water supply wells/piping/connections and related excavation and replacement of
     contaminated soil.

     d. Prevailing Wage Classification (e.g. Heavy Construction, Building, Residential, Highway) (if
     available)



     Heavy Construction: EPA has determined the “Heavy Construction” classification should be used
     when soliciting competitive contracts or issuing ordering instruments to existing contractors for:
             Excavation and removal of contaminated soil;
             Construction of caps or barriers;
             Replacement of paving and concrete; and
             Installation of water supply wells/piping/connections.
     Building Construction: EPA has determined the “Building Construction” classification should be
     used when soliciting competitive contracts or issuing ordering instruments for the construction of:
             Demolition (if followed by new construction);
             Construction of structures which permanently house treatment equipment; and
             Abatement of contamination in buildings (other than residential structures less than 4
             stories in height).
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       Residential Construction: EPA has determined the “Residential Construction” classification
       should be used when soliciting competitive contracts or issuing ordering instruments for the
       abatement of contamination in residential structures less than 4 stories in height.

       e. The recipient must work with the appropriate authorities to determine wage classifications for
       the specific project(s) or activities subject to Davis Bacon under this grant (or cooperative
       agreement).

[NPMs, POs, or GSs should not modify any information below this text.]

2. Davis-Bacon and Related Acts

Davis-Bacon and Related Acts (DBRA) is a collection of labor standards provisions administered by the
Department of Labor, that are applicable to grants involving construction. These labor standards include
the:

       Davis-Bacon Act, which requires payment of prevailing wage rates for laborers and mechanics on
       construction contracts of $2,000 or more
       Copeland “Anti-Kickback” Act, which prohibits a contractor or subcontractor from inducing an
       employee into giving up any part of the compensation to which he or she is entitled; and
       Contract Work Hours and Safety Standards Act, which requires overtime wages to be paid for
       over 40 hours of work per week, under contracts in excess of $100,000

3. Recipient Responsibilities When Entering Into and Managing Contracts:

       a. Solicitation and Contract Requirements:

               i. Include the Correct Wage Determinations in Bid Solicitations and Contracts: Recipients
               are responsible for complying with the procedures provided in 29 CFR 1.6 when soliciting
               bids and awarding contracts.

               ii. Include DBRA Requirements in All Contracts: Include the following text on all contracts
               under this grant:

               “By accepting this contract, the contractor acknowledges and agrees to the terms
               provided in the DBRA Requirements for Contractors and Subcontractors Under EPA
               Grants.”

       b. After Award of Contract:

               i. Approve and Submit Requests for Additional Wages Rates: Work with contractors to
               request additional wage rates if required for contracts under this grant, as provided in 29
               CFR 5.5(a)(1)(iii).

               ii. Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure
               contractor compliance with the terms of the contract, as required by 29 CFR 5.6.

4. Recipient Responsibilities When Establishing and Managing Additional Subawards:
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       a. Include DBRA Requirements in All Subawards (including Loans):

       Include the following text on all subawards under this grant:

       “By accepting this award, the EPA subrecipient acknowledges and agrees to the terms and
       conditions provided in the DBRA Requirements for EPA Subrecipients.”

       b. Provide Oversight to Ensure Compliance with DBRA Provisions: Recipients are responsible for
       oversight of subrecipients and must ensure subrecipients comply with the requirements in 29
       CFR 5.6.

5. The contract clauses set forth in this Term & Condition, along with the correct wage determinations,
will be considered to be a part of every prime contract covered by Davis-Bacon and Related Acts (see 29
CFR5.1), and will be effective by operation of law, whether or not they are included or incorporated by
reference into such contract, unless the Department of Labor grants a variance, tolerance, or exemption.
Where the clauses and applicable wage determinations are effective by operation of law under this
paragraph, the prime contractor must be compensated for any resulting increase in wages in accordance
with applicable law.
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                                                      EPA Funding Information
            FUNDS                                      FORMER AWARD                              THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                   $0                        $80,494,000                               $80,494,000
EPA In-Kind Amount                                                       $0                                  $0                                        $0
Unexpended Prior Year Balance                                            $0                                  $0                                        $0
Other Federal Funds                                                      $0                                  $0                                        $0
Recipient Contribution                                                   $0                         $8,049,400                                $8,049,400
State Contribution                                                       $0                                  $0                                        $0
Local Contribution                                                       $0                                  $0                                        $0
Other Contribution                                                       $0                                  $0                                        $0
Allowable Project Cost                                                   $0                        $88,543,400                               $88,543,400



Assistance Program (CFDA)                        Statutory Authority                                Regulatory Authority
66.458 - Capitalization Grants for Clean Water   Clean Water Act: Title VI & Infrastructure         2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR 35
State Revolving Funds                            Investment and Jobs Act (IIJA) (PL 117-58)         Subpart K




                                                                        Fiscal
           Site Name                  Req No     FY     Approp.          Budget        PRC       Object   Site/Project      Cost            Obligation /
                                                         Code          Oganization               Class                   Organization       Deobligation
-                                  2205PWX010     22        E2SD              05P1   000B80X70    4111            22CA                  -    $80,494,000
                                                                                                                                             $80,494,000
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                                 Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2021-or-later
. These terms and conditions are in addition to the assurances and certifications made as a part of
the award and the terms, conditions, or restrictions cited throughout the award. The EPA repository
for the general terms and conditions by year can be found at: https://www.epa.gov/grants/grant-
terms-and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent
to the following email addresses:

   ● Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and Dianne Reyes at
     reyes.dianne@epa.gov;
   ● MBE/WBE reports (EPA Form 5700-52A): region5closeouts@epa.gov and DBE Coordinator,


     Dianne Reyes at reyes.dianne@epa.gov;
   ● All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for


     Extensions of the Budget and Project Period, Amendment Requests, Requests for other Prior
     Approvals, updates to recipient information (including email addresses, changes in contact
     information or changes in authorized representatives) and other notifications: Project Officer,
     Andrew Bielanski at bielanski.andrew@epa.gov and Grants Specialist, Dianne Reyes at
     reyes.dianne@epa.gov;
   ● Payment requests (if applicable): Project Officer, Andrew Bielanski at


     bielanski.andrew@epa.gov and Grants Specialist, Dianne Reyes at reyes.dianne@epa.gov;
   ● Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and


     deliverables: Project Officer, Andrew Bielanski at bielanski.andrew@epa.gov

B. Pre-Award Costs

In accordance with 2 CFR 1500.9, the recipient may charge otherwise allowable pre-award costs
(both Federal and non-Federal matching shares) incurred from 07/01/2022 to the actual award date
provided that such costs were contained in the approved application and all costs are incurred within
the approved budget period.



                                  Programmatic Conditions
  FFY 2022 BIL/IIJA CWSRF General Supplemental Programmatic Terms
                           and Conditions
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A. Payment Schedule

The recipient agrees to accept grant funds that will be released by EPA utilizing the ASAP payment
method. Access to these funds will be in accordance with the following schedule:

Payment Quarter          Payment Date Payment Amount

FFY2023/Quarter 1        10/1/2022        $80,494,000

B. State Match

The recipient agrees to deposit into its State Revolving Fund (SRF) a match equal to at least 10
percent of the amount awarded in the capitalization grant.

C. Intended Use Plan and Operating Agreement

The entire contents of the Bipartisan Infrastructure Law (BIL)/Infrastructure Investments and Jobs Act
(IIJA) SFY 2023 Intended Use Plan (IUP) and (if applicable) the Operating Agreement (OA) are
incorporated hereto by reference and made a part of this Assistance Agreement.

D. Travel

EPA approves the use of Federal funds for travel budgeted in capitalization grants for implementing
the Clean Water SRF (CWSRF) program. The recipient agrees to use CWSRF funds to participate in
training and professional development activities integral to the effective implementation and
management of the CWSRF program.

E. SRF Data System and Environmental Benefits Reporting

The recipient agrees to input data, as required by EPA, into the SRF Data System. The recipient of
funds for the State Revolving Funds (SRF) from the BIL, also known as the IIJA, 2021, P.L. 117-58,
agrees to comply with all requests for data related to the use of the funds under Title VI of the Clean
Water Act (CWA), and to report all uses of the funds no less than quarterly, as the Environmental
Protection Agency specifies for the SRF Data System. This reporting shall include, but not be limited
to, data with respect to compliance with the Green Project Reserve and additional subsidization
requirements as specified in P.L. 117-103 (the Consolidated Appropriations Act, 2022), and P.L. 117-
58, respectively. EPA agrees to provide technical assistance to the state in its use of the SRF Data
System.

F. Annual Reporting

In accordance with 2 CFR 200.328 and 40 CFR 35.3165 the recipient agrees to provide in its Annual
Report information regarding key project characteristics, milestones, and environmental/public health
protection results in the following areas: 1) achievement of the outputs and outcomes established in
the IUP; 2) the reasons for delays if established outputs or outcomes were not met; 3) any additional
pertinent information on environmental results; 4) compliance with the Green Project Reserve
requirement; and 5) use of additional subsidization.

G. Program Income from Administrative Fees
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Program income earned during the grant period may be used for the specific purposes identified in 2
CFR 200.307 and 2 CFR 1500-7. The recipient agrees to comply with EPA's "Guidance on Fees
Charged by States to Recipients of Clean Water State Revolving Fund Program Assistance" issued
October 20, 2005, as amended by subsequent guidance. Specifically, the State has agreed: 1) to
maintain records which account for fees separate from the CWSRF project fund, 2) to identify in the
IUP all types of fees charged on loans, including the fee rate, and the amount of fees available, and
3) to include in the annual report the types of fees charged on loans, the amount of fees collected,
and how those amounts were used.

H. Signage

The recipient agrees to comply with the SRF Signage Guidelines in order to enhance public
awareness of EPA assistance agreements nationwide. (See “Guidelines for Enhancing Public
Awareness of SRF Assistance Agreements,” June 3, 2015.)

I. Green Project Reserve

The recipient agrees to make a timely and concerted good faith solicitation for projects that address
green infrastructure, water or energy efficiency improvements, or other environmentally innovative
activities. A good faith solicitation must be open to all GPR eligible projects in each of the four GPR
categories. The State’s annual open solicitation for projects will be deemed sufficient for these
purposes as long as that solicitation was open to all GPR eligible projects in each of the four GPR
categories. The recipient agrees to include in its IUP such qualified projects, or components of
projects, that total an amount equal to at least 10 percent of its capitalization grant. The state must
document the GPR solicitation process in its IUP and Annual Report and explain, if applicable, why
GPR projects totaling at least 10 percent of the capitalization grant were not able to be funded. Any
State not meeting the 10 percent requirement must outline in the Annual Report how they will expand
their GPR solicitation for the following year.

J. Additional Subsidization

The recipient agrees to use 49 percent of the funds made available in the capitalization grant to
provide additional subsidy to eligible recipients or project types as described in section 603(i) of the
CWA in the form of forgiveness of principal or grants (or any combination of these), which shall be
used only where such funds are provided as initial financing for an eligible recipient or to buy,
refinance, or restructure the debt obligations of eligible recipients only where such debt was incurred
after November 15, 2021.

K. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at www.fgdc.gov.

 L. American Iron and Steel (AIS)

(a) Definitions. As used in this award term and condition—

       (1) “iron and steel products” mean the following products made primarily of iron or steel: lined
       or unlined pipes and fittings, manhole covers and other municipal castings, hydrants, tanks,
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       flanges, pipe clamps and restraints, valves, structural steel, reinforced precast concrete, and
       construction materials.

       (2) “steel” means an alloy that includes at least 50 percent iron, between .02 and 2 percent
       carbon, and may include other elements.

(b) Domestic preference.

       (1) This award term and condition implements Title VI of the CWA by requiring that all iron
       and steel products used for a project for the construction, alteration, maintenance or repair of
       a public water system or treatment work are produced in the United States except as
       provided in paragraph (b)(2) of this section and condition.

       (2) This requirement shall not apply in any case or category of cases in which the
       Administrator of the Environmental Protection Agency finds that—

       (i) applying the requirement would be inconsistent with the public interest;

               (ii) iron and steel products are not produced in the United States in sufficient and
               reasonably available quantities and of a satisfactory quality; or

               (iii) inclusion of iron and steel products produced in the United States will increase the
               cost of the overall project by more than 25 percent.

       (3) The Build America, Buy America (BABA) Act requirement does not supersede the AIS
       requirement, and both provisions still apply and work in conjunction.

(c) Request for a Waiver under (b)(2) of this section

       (1) Any recipient request to use foreign iron or steel products in accordance with paragraph

       (b)(2) of this section shall include adequate information for Federal Government evaluation of
       the request, including—

       (A) A description of the foreign and domestic iron, steel, and/or manufactured goods;

       (B) Unit of measure;

       (C) Quantity;

       (D) Cost;

       (E) Time of delivery or availability;

       (F) Location of the project;

       (G) Name and address of the proposed supplier; and

               (H) A detailed justification of the reason for use of foreign iron or steel products cited
               in accordance with paragraph (b)(2) of this section.

       (2) If the Administrator receives a request for a waiver under this section, the waiver request
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       shall be made available to the public for at least 15 days prior to making a finding based on
       the request.

       (3) Unless the Administrator issues a waiver of this term, use of foreign iron and steel
       products is noncompliant with Title VI of the CWA.

(d) This term and condition shall be applied in a manner consistent with United States obligations
under international agreements.

M. State Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this
assistance agreement, it will protect the data by following all applicable State law cybersecurity
requirements.

(b) (1) EPA must ensure that any connections between the recipient’s network or information system
and EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory,
user-controlled connections such as website browsing are excluded from this definition.

If the recipient’s connections as defined above do not go through the Environmental Information
Exchange Network or EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to
ensure that the connections meet EPA security requirements, including entering into Interconnection
Service Agreements as appropriate. This condition does not apply to manual entry of data by the
recipient into systems operated and used by EPA’s regulatory programs for the submission of
reporting and/or compliance data.

(2) The recipient agrees that any sub-awards it makes under this agreement will require the
subrecipient to comply with the requirements in (b)(1) if the sub-recipient’s network or information
system is connected to EPA networks to transfer data to the Agency using systems other than the
Environmental Information Exchange Network or EPA’s Central Data Exchange. The recipient will be
in compliance with this condition: by including this requirement in sub-award agreements; and during
subrecipient monitoring deemed necessary by the recipient under 2 CFR 200.331(d), by inquiring
whether the subrecipient has contacted the EPA Project Officer. Nothing in this condition requires the
recipient to contact the EPA Project Officer on behalf of a subrecipient or to be involved in the
negotiation of an Interconnection Service Agreement between the subrecipient and EPA.

N. Internal Controls for Financial Transactions

The recipient agrees to use procedures consistent with “zero-trust” (never trust, always verify) for all
financial transactions with SRF funds. These procedures must include verbal verification with a
trusted recipient representative of all financial account information both initially and prior to any
changes in financial account information.

O. Wage Rate Requirements
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The recipient agrees to include in all agreements to provide assistance for the construction of
treatment works carried out in whole or in part with such assistance made available by a State water
pollution control revolving fund as authorized by Title VI of the Federal Water Pollution Control Act,
also known as the CWA, (33 U.S.C. 1381 et seq.), or with such assistance made available under
section 205(m) of that Act (33 U.S.C. 1285(m)), or both, a term and condition requiring compliance
with the requirements of section 513 of that Act (33 U.S.C. 1372) in all procurement contracts and
sub-grants, and require that loan recipients, procurement contractors and sub-grantees include such
a term and condition in subcontracts and other lower tiered transactions. All contracts and
subcontracts for the construction of treatment works carried out in whole or in part with assistance
made available as stated herein shall insert in full in any contract in excess of $2,000 the contract
clauses as attached hereto entitled “Wage Rate Requirements Under The Clean Water Act, Section
513.” This term and condition applies to all agreements to provide assistance under the authorities
referenced herein, whether in the form of a loan, bond purchase, grant, or any other vehicle to
provide financing for a project, where such agreements are executed on or after October 30, 2009.



Preamble

With respect to the CWSRF program, EPA provides capitalization grants to each State which in turn
provides sub grants or loans to eligible entities within the State. Typically, the sub recipients are
municipal or other local governmental entities that manage the funds. For these types of recipients,
the provisions set forth under Roman numeral I, below, shall apply. Although EPA and the State
remain responsible for ensuring sub recipients’ compliance with the wage rate requirements set forth
herein, those sub recipients shall have the primary responsibility to maintain payroll records as
described in Section I-3(ii)(A), below and for compliance as described in Section I-5.

Occasionally, the sub recipient may be a private for profit or not for profit entity. For these types of
recipients, the provisions set forth in Roman Numeral II, below, shall apply. Although EPA and the
State remain responsible for ensuring sub recipients’ compliance with the wage rate requirements
set forth herein, those sub recipients shall have the primary responsibility to maintain payroll records
as described in Section II-3(ii)(A), below and for compliance as described in Section II-5.
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                                         ATTACHMENT 1


I. Requirements Under Title VI of the Clean Water Act (CWA) For Sub recipients That Are
Governmental Entities:

The following terms and conditions specify how recipients will assist EPA in meeting its Davis-Bacon
(DB) responsibilities when DB applies to EPA awards of financial assistance under Title VI of the
CWA - with respect to State recipients and sub recipients that are governmental entities. If a sub
recipient has questions regarding when DB applies, obtaining the correct DB wage determinations,
DB provisions, or compliance monitoring, it may contact the State recipient. If a State recipient
needs guidance, the recipient may contact EPA’s Suzanne Hersh at Hersh.Suzanne@epa.gov or
202-564-3361 for guidance. The recipient or sub recipient may also obtain additional guidance from
the U.S. Department of Labor’s (DOL) website at http://www.dol.gov/whd/

1. Applicability of the DB prevailing wage requirements.

Under Title VI of the CWA, DB prevailing wage requirements apply to the construction, alteration,
and repair of treatment works carried out in whole or in part with assistance made available by a
State water pollution control revolving fund. If a sub recipient encounters a unique situation at a site
that presents uncertainties regarding DB applicability, the sub recipient must discuss the situation
with the recipient State before authorizing work on that site.

2. Obtaining Wage Determinations.

(a) Sub recipients shall obtain the wage determination for the locality in which a covered activity
subject to DB will take place prior to issuing requests for bids, proposals, quotes or other methods for
soliciting contracts (solicitation) for activities subject to DB. These wage determinations shall be
incorporated into solicitations and any subsequent contracts. Prime contracts must contain a
provision requiring that subcontractors follow the wage determination incorporated into the prime
contract.

           (i)        While the solicitation remains open, the sub recipient shall monitor
           https://sam.gov/ weekly to ensure that the wage determination contained in the solicitation
           remains current. The sub recipients shall amend the solicitation if DOL issues a
           modification more than 10 days prior to the closing date (i.e. bid opening) for the
           solicitation. If DOL modifies or supersedes the applicable wage determination less than
           10 days prior to the closing date, the sub recipients may request a finding from the State
           recipient that there is not a reasonable time to notify interested contractors of the
           modification of the wage determination. The State recipient will provide a report of its
           findings to the sub recipient.

           (ii)      If the sub recipient does not award the contract within 90 days of the closure of
           the solicitation, any modifications or supersedes DOL makes to the wage determination
           contained in the solicitation shall be effective unless the State recipient, at the request of
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           the sub recipient, obtains an extension of the 90-day period from DOL pursuant to 29
           CFR 1.6(c)(3)(iv). The sub recipient shall monitor https://sam.gov/ on a weekly basis if it
           does not award the contract within 90 days of closure of the solicitation to ensure that
           wage determinations contained in the solicitation remain current.

(b) If the sub recipient carries out activity subject to DB by issuing a task order, work assignment or
similar instrument to an existing contractor (ordering instrument) rather than by publishing a
solicitation, the sub recipient shall insert the appropriate DOL wage determination from
https://sam.gov/ into the ordering instrument.

(c) Sub recipients shall review all subcontracts subject to DB entered into by prime contractors to
verify that the prime contractor has required its subcontractors to include the applicable wage
determinations.

(d) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to a sub
recipient’s contract after the award of a contract or the issuance of an ordering instrument if DOL
determines that the sub recipient has failed to incorporate a wage determination or has used a wage
determination that clearly does not apply to the contract or ordering instrument. If this occurs, the
sub recipient shall either terminate the contract or ordering instrument and issue a revised solicitation
or ordering instrument or incorporate DOL’s wage determination retroactive to the beginning of the
contract or ordering instrument by change order. The sub recipient’s contractor must be
compensated for any increases in wages resulting from the use of DOL’s revised wage
determination.

3. Contract and Subcontract provisions.

(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in excess of
$2,000 which is entered into for the actual construction, alteration and/or repair, including painting
and decorating, of a treatment work under the CWSRF - financed in whole or in part from Federal
funds or in accordance with guarantees of a Federal agency or financed from funds obtained by
pledge of any contract of a Federal agency to make a loan, grant or annual contribution (except
where a different meaning is expressly indicated), and which is subject to the labor standards
provisions of any of the acts listed in § 5.1 or Title VI of the CWA, the following clauses:

(1) Minimum wages.

(i) All laborers and mechanics employed or working upon the site of the work will be paid
unconditionally and not less often than once a week, and without subsequent deduction or rebate on
any account (except such payroll deductions as are permitted by regulations issued by the Secretary
of Labor under the Copeland Act (29 CFR part 3)), the full amount of wages and bona fide fringe
benefits (or cash equivalents thereof) due at time of payment computed at rates not less than those
contained in the wage determination of the Secretary of Labor which is attached hereto and made a
part hereof, regardless of any contractual relationship which may be alleged to exist between the
contractor and such laborers and mechanics.

Contributions made or costs reasonably anticipated for bona fide fringe benefits under section 1(b)(2)
of the DB Act on behalf of laborers or mechanics are considered wages paid to such laborers or
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mechanics, subject to the provisions of paragraph (a)(1)(iv) of this section; also, regular contributions
made or costs incurred for more than a weekly period (but not less often than quarterly) under plans,
funds, or programs which cover the particular weekly period, are deemed to be constructively made
or incurred during such weekly period. Such laborers and mechanics shall be paid the appropriate
wage rate and fringe benefits on the wage determination for the classification of work actually
performed, without regard to skill, except as provided in § 5.5(a)(4). Laborers or mechanics
performing work in more than one classification may be compensated at the rate specified for each
classification for the time actually worked therein: Provided that the employer's payroll records
accurately set forth the time spent in each classification in which work is performed. The wage
determination (including any additional classification and wage rates conformed under paragraph
(a)(1)(ii) of this section) and the DB poster (WH-1321) shall be posted at all times by the contractor
and its subcontractors at the site of the work in a prominent and accessible place where it can be
easily seen by the workers.

Sub recipients may obtain wage determinations from DOL’s website, https://sam.gov/.

(ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or mechanics,
including helpers, which is not listed in the wage determination and which is to be employed under
the contract shall be classified in conformance with the wage determination. The State award official
shall approve a request for an additional classification and wage rate and fringe benefits therefore
only when the following criteria have been met:

(1) The work to be performed by the classification requested is not performed by a classification in
the wage determination; and

(2) The classification is utilized in the area by the construction industry; and

(3) The proposed wage rate, including any bona fide fringe benefits, bears a reasonable relationship
to the wage rates contained in the wage determination.

(B) If the contractor and the laborers and mechanics to be employed in the classification (if known),
or their representatives, and the sub recipient(s) agree on the classification and wage rate (including
the amount designated for fringe benefits where appropriate), documentation of the action taken and
the request, including the local wage determination shall be sent by the sub recipient (s) to the State
award official. The State award official will transmit a completed conformance request form (SF-
1444 or similar) and supporting materials to WHD-CBACONFORMANCE INCOMING@dol.gov and
to the EPA DB Regional Coordinator concurrently. The DOL Administrator, or an authorized
representative, will approve, modify, or disapprove every additional classification request within 30
days of receipt and so advise the State award official or will notify the State award official within the
30-day period that additional time is necessary.

(C) In the event the contractor, the laborers or mechanics to be employed in the classification or their
representatives, and the sub recipient(s) do not agree on the proposed classification and wage rate
(including the amount designated for fringe benefits, where appropriate), documentation of the action
taken and the request, including the local wage determination shall be sent by the sub recipient (s) to
the State award official. The State award official will transmit a completed conformance request form
(SF-1444 or similar) which indicates the State award official’s disagreement and supporting materials
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to WHD-CBACONFORMANCE INCOMING@dol.gov, and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will issue a determination
within 30 days of receipt of the request and so advise the contracting officer or will notify the
contracting officer within the 30-day period that additional time is necessary.

(D) The wage rate (including fringe benefits where appropriate) determined pursuant to paragraphs
(a)(1)(ii)(B) or (C) of this section, shall be paid to all workers performing work in the classification
under this contract from the first day on which work is performed in the classification.

(iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers or mechanics
includes a fringe benefit which is not expressed as an hourly rate, the contractor shall either pay the
benefit as stated in the wage determination or shall pay another bona fide fringe benefit or an hourly
cash equivalent thereof.

(iv) If the contractor does not make payments to a trustee or other third person, the contractor may
consider as part of the wages of any laborer or mechanic the amount of any costs reasonably
anticipated in providing bona fide fringe benefits under a plan or program, Provided, That the
Secretary of Labor has found, upon the written request of the contractor, that the applicable
standards of the DB Act have been met. The Secretary of Labor may require the contractor to set
aside assets in a separate account for the meeting of obligations under the plan or program.

(2) Withholding. The sub recipient(s), shall upon written request of the EPA Award Official or an
authorized representative of the DOL, withhold or cause to be withheld from the contractor under
this contract or any other Federal contract with the same prime contractor, or any other federally-
assisted contract subject to DB prevailing wage requirements, which is held by the same prime
contractor, so much of the accrued payments or advances as may be considered necessary to pay
laborers and mechanics, including apprentices, trainees, and helpers, employed by the contractor or
any subcontractor the full amount of wages required by the contract. In the event of failure to pay any
laborer or mechanic, including any apprentice, trainee, or helper, employed or working on the site of
the work, all or part of the wages required by the contract, the EPA may, after written notice to the
contractor, sponsor, applicant, or owner, take such action as may be necessary to cause the
suspension of any further payment, advance, or guarantee of funds until such violations have
ceased.

(3) Payrolls and basic records.

(i) Payrolls and basic records relating thereto shall be maintained by the contractor during the course
of the work and preserved for a period of three years thereafter for all laborers and mechanics
working at the site of the work. Such records shall contain the name, address, and social security
number of each such worker, his or her correct classification, hourly rates of wages paid (including
rates of contributions or costs anticipated for bona fide fringe benefits or cash equivalents thereof of
the types described in section 1(b)(2)(B) of the DB Act), daily and weekly number of hours worked,
deductions made and actual wages paid. Whenever the Secretary of Labor has found under 29 CFR
5.5(a)(1)(iv) that the wages of any laborer or mechanic include the amount of any costs reasonably
anticipated in providing benefits under a plan or program described in section 1(b)(2)(B) of the DB
Act, the contractor shall maintain records which show that the commitment to provide such benefits
is enforceable, that the plan or program is financially responsible, and that the plan or program has
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been communicated in writing to the laborers or mechanics affected, and records which show the
costs anticipated or the actual cost incurred in providing such benefits. Contractors employing
apprentices or trainees under approved programs shall maintain written evidence of the registration
of apprenticeship programs and certification of trainee programs, the registration of the apprentices
and trainees, and the ratios and wage rates prescribed in the applicable programs.

(ii)(A) The contractor shall submit weekly, for each week in which any contract work is performed, a
copy of all payrolls to the sub recipient, that is, the entity that receives the sub-grant or loan from the
State capitalization grant recipient. Such documentation shall be available on request of the State
recipient or EPA. As to each payroll copy received, the sub recipient shall provide written
confirmation in a form satisfactory to the State indicating whether or not the project is in compliance
with the requirements of 29 CFR 5.5(a)(1) based on the most recent payroll copies for the specified
week. The payrolls shall set out accurately and completely all of the information required to be
maintained under 29 CFR 5.5(a)(3)(i), except that full social security numbers and home addresses
shall not be included on the weekly payrolls. Instead, the payrolls shall only need to include an
individually identifying number for each employee (e.g., the last four digits of the employee's social
security number). The required weekly payroll information may be submitted in any form desired.
Optional Form WH-347 is available for this purpose from the Wage and Hour Division website at
http://www.dol.gov/whd/forms/wh347instr.htm or its successor site.

The prime contractor is responsible for the submission of copies of payrolls by all subcontractors.
Contractors and subcontractors shall maintain the full social security number and current address of
each covered worker and shall provide them upon request to the sub recipient(s) for transmission to
the State or EPA if requested by EPA, the State, the contractor, or the Wage and Hour Division of
the DOL for purposes of an investigation or audit of compliance with prevailing wage requirements. It
is not a violation of this section for a prime contractor to require a subcontractor to provide addresses
and social security numbers to the prime contractor for its own records, without weekly submission to
the sub recipient(s).

(B) Each payroll submitted shall be accompanied by a “Statement of Compliance,” signed by the
contractor or subcontractor or his or her agent who pays or supervises the payment of the persons
employed under the contract and shall certify the following:

(1) That the payroll for the payroll period contains the information required to be provided under § 5.5
(a)(3)(ii) of Regulations, 29 CFR part 5, the appropriate information is being maintained under § 5.5
(a)(3)(i) of Regulations, 29 CFR part 5, and that such information is correct and complete;

(2) That each laborer or mechanic (including each helper, apprentice, and trainee) employed on the
contract during the payroll period has been paid the full weekly wages earned, without rebate, either
directly or indirectly, and that no deductions have been made either directly or indirectly from the full
wages earned, other than permissible deductions as set forth in Regulations, 29 CFR part 3;

(3) That each laborer or mechanic has been paid not less than the applicable wage rates and fringe
benefits or cash equivalents for the classification of work performed, as specified in the applicable
wage determination incorporated into the contract.

(C) The weekly submission of a properly executed certification set forth on the reverse side of
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Optional Form WH-347 shall satisfy the requirement for submission of the “Statement of Compliance”
required by paragraph (a)(3)(ii)(B) of this section.

(D) The falsification of any of the above certifications may subject the contractor or subcontractor to
civil or criminal prosecution under section 1001 of title 18 and section 231 of title 31 of the United
States Code.

(iii) The contractor or subcontractor shall make the records required under paragraph (a)(3)(i) of this
section available for inspection, copying, or transcription by authorized representatives of the State,
EPA or the DOL, and shall permit such representatives to interview employees during working hours
on the job. If the contractor or subcontractor fails to submit the required records or to make them
available, the EPA or State may, after written notice to the contractor, sponsor, applicant, or owner,
take such action as may be necessary to cause the suspension of any further payment, advance, or
guarantee of funds. Furthermore, failure to submit the required records upon request or to make
such records available may be grounds for debarment action pursuant to 29 CFR 5.12.

(4) Apprentices and trainees

(i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate for the work
they performed when they are employed pursuant to and individually registered in a bona fide
apprenticeship program registered with the DOL, Employment and Training Administration, Office of
Apprenticeship Training, Employer and Labor Services, or with a State Apprenticeship Agency
recognized by the Office, or if a person is employed in his or her first 90 days of probationary
employment as an apprentice in such an apprenticeship program, who is not individually registered
in the program, but who has been certified by the Office of Apprenticeship Training, Employer and
Labor Services or a State Apprenticeship Agency (where appropriate) to be eligible for probationary
employment as an apprentice. The allowable ratio of apprentices to journeymen on the job site in any
craft classification shall not be greater than the ratio permitted to the contractor as to the entire work
force under the registered program. Any worker listed on a payroll at an apprentice wage rate, who is
not registered or otherwise employed as stated above, shall be paid not less than the applicable
wage rate on the wage determination for the classification of work actually performed. In addition,
any apprentice performing work on the job site in excess of the ratio permitted under the registered
program shall be paid not less than the applicable wage rate on the wage determination for the work
actually performed. Where a contractor is performing construction on a project in a locality other than
that in which its program is registered, the ratios and wage rates (expressed in percentages of the
journeyman's hourly rate) specified in the contractor's or subcontractor's registered program shall be
observed. Every apprentice must be paid at not less than the rate specified in the registered program
for the apprentice's level of progress, expressed as a percentage of the journeymen hourly rate
specified in the applicable wage determination. Apprentices shall be paid fringe benefits in
accordance with the provisions of the apprenticeship program. If the apprenticeship program does
not specify fringe benefits, apprentices must be paid the full amount of fringe benefits listed on the
wage determination for the applicable classification. If the Administrator determines that a different
practice prevails for the applicable apprentice classification, fringes shall be paid in accordance with
that determination. In the event the Office of Apprenticeship Training, Employer and Labor Services,
or a State Apprenticeship Agency recognized by the Office, withdraws approval of an apprenticeship
program, the contractor will no longer be permitted to utilize apprentices at less than the applicable
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predetermined rate for the work performed until an acceptable program is approved.

(ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at less than
the predetermined rate for the work performed unless they are employed pursuant to and individually
registered in a program which has received prior approval, evidenced by formal certification by the
DOL, Employment and Training Administration. The ratio of trainees to journeymen on the job site
shall not be greater than permitted under the plan approved by the Employment and Training
Administration. Every trainee must be paid at not less than the rate specified in the approved
program for the trainee's level of progress, expressed as a percentage of the journeyman hourly rate
specified in the applicable wage determination. Trainees shall be paid fringe benefits in accordance
with the provisions of the trainee program. If the trainee program does not mention fringe benefits,
trainees shall be paid the full amount of fringe benefits listed on the wage determination unless the
Administrator of the Wage and Hour Division determines that there is an apprenticeship program
associated with the corresponding journeyman wage rate on the wage determination which provides
for less than full fringe benefits for apprentices. Any employee listed on the payroll at a trainee rate
who is not registered and participating in a training plan approved by the Employment and Training
Administration shall be paid not less than the applicable wage rate on the wage determination for the
classification of work actually performed. In addition, any trainee performing work on the job site in
excess of the ratio permitted under the registered program shall be paid not less than the applicable
wage rate on the wage determination for the work actually performed. In the event the Employment
and Training Administration withdraws approval of a training program, the contractor will no longer be
permitted to utilize trainees at less than the applicable predetermined rate for the work performed
until an acceptable program is approved.

(iii) Equal employment opportunity. The utilization of apprentices, trainees and journeymen under this
part shall be in conformity with the equal employment opportunity requirements of Executive Order
11246, as amended and 29 CFR part 30.

(5) Compliance with Copeland Act requirements. The contractor shall comply with the requirements
of 29 CFR part 3, which are incorporated by reference in this contract.

(6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses
contained in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA determines may by
appropriate, and also a clause requiring the subcontractors to include these clauses in any lower tier
subcontracts. The prime contractor shall be responsible for the compliance by any subcontractor or
lower tier subcontractor with all the contract clauses in 29 CFR 5.5.

(7) Contract termination; debarment. A breach of the contract clauses in 29 CFR 5.5 may be grounds
for termination of the contract, and for debarment as a contractor and a subcontractor as provided in
29 CFR 5.12.

(8) Compliance with DB and Related Act requirements. All rulings and interpretations of the DB and
Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by reference in this
contract.

(9) Disputes concerning labor standards. Disputes arising out of the labor standards provisions of
this contract shall not be subject to the general disputes clause of this contract. Such disputes shall
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be resolved in accordance with the procedures of the DOL set forth in 29 CFR parts 5, 6, and 7.
Disputes within the meaning of this clause include disputes between the contractor (or any of its
subcontractors) and sub recipient(s), State, EPA, DOL, or the employees or their representatives.

(10) Certification of eligibility.

(i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor any person
or firm who has an interest in the contractor's firm is a person or firm ineligible to be awarded
Government contracts by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).

(ii) No part of this contract shall be subcontracted to any person or firm ineligible for award of a
Government contract by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).

(iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18 U.S.C. 1001.

4. Contract Provision for Contracts in Excess of $100,000.

(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the following
clauses set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any contract in an
amount in excess of $100,000 and subject to the overtime provisions of the Contract Work Hours
and Safety Standards Act. These clauses shall be inserted in addition to the clauses required by Item
3, above or 29 CFR 4.6. As used in this paragraph, the terms laborers and mechanics include
watchmen and guards.

(1) Overtime requirements. No contractor or subcontractor contracting for any part of the contract
work which may require or involve the employment of laborers or mechanics shall require or permit
any such laborer or mechanic in any workweek in which he or she is employed on such work to work
in excess of forty hours in such workweek unless such laborer or mechanic receives compensation
at a rate not less than one and one-half times the basic rate of pay for all hours worked in excess of
forty hours in such workweek.

(2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of the clause
set forth in paragraph (a)(1) of this section the contractor and any subcontractor responsible
therefore shall be liable for the unpaid wages. In addition, such contractor and subcontractor shall be
liable to the United States (in the case of work done under contract for the District of Columbia or a
territory, to such District or to such territory), for liquidated damages. Such liquidated damages shall
be computed with respect to each individual laborer or mechanic, including watchmen and guards,
employed in violation of the clause set forth in paragraph (a)(1) of this section, in the sum of $29 for
each calendar day on which such individual was required or permitted to work in excess of the
standard workweek of forty hours without payment of the overtime wages required by the clause set
forth in paragraph (a)(1) of this section.

(3) Withholding for unpaid wages and liquidated damages. The sub recipient, upon written request of
the EPA Award Official or an authorized representative of the DOL, shall withhold or cause to be
withheld, from any moneys payable on account of work performed by the contractor or subcontractor
under any such contract or any other Federal contract with the same prime contractor, or any other
federally-assisted contract subject to the Contract Work Hours and Safety Standards Act, which is
held by the same prime contractor, such sums as may be determined to be necessary to satisfy any
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liabilities of such contractor or subcontractor for unpaid wages and liquidated damages as provided
in the clause set forth in paragraph (a)(2) of this section.

(4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses set
forth in paragraph (a)(1) through (4) of this section and also a clause requiring the subcontractors to
include these clauses in any lower tier subcontracts. The prime contractor shall be responsible for
compliance by any subcontractor or lower tier subcontractor with the clauses set forth in paragraphs
(a)(1) through (4) of this section.


(b) In addition to the clauses contained in Item 3, above, in any contract subject only to the Contract
Work Hours and Safety Standards Act and not to any of the other statutes cited in 29 CFR 5.1, the
Sub recipient shall insert a clause requiring that the contractor or subcontractor shall maintain
payrolls and basic payroll records during the course of the work and shall preserve them for a period
of three years from the completion of the contract for all laborers and mechanics, including guards
and watchmen, working on the contract. Such records shall contain the name and address of each
such employee, social security number, correct classifications, hourly rates of wages paid, daily and
weekly number of hours worked, deductions made, and actual wages paid. Further, the Sub recipient
shall insert in any such contract a clause providing that the records to be maintained under this
paragraph shall be made available by the contractor or subcontractor for inspection, copying, or
transcription by authorized representatives of the EPA and the DOL, and the contractor or
subcontractor will permit such representatives to interview employees during working hours on the
job.

5. Compliance Verification

(a) The sub recipient shall periodically interview a sufficient number of employees entitled to DB
prevailing wages (covered employees) to verify that contractors or subcontractors are paying the
appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be conducted in
confidence. The sub recipient must use Standard Form 1445 (SF 1445) or equivalent documentation
to memorialize the interviews. Copies of the SF 1445 are available from EPA on request.

(b) The sub recipient shall establish and follow an interview schedule based on its assessment of the
risks of noncompliance with DB posed by contractors or subcontractors and the duration of the
contract or subcontract. Sub recipients must conduct more frequent interviews if the initial interviews
or other information indicated that there is a risk that the contractor or subcontractor is not complying
with DB.

Sub recipients shall immediately conduct interviews in response to an alleged violation of the
prevailing wage requirements. All interviews shall be conducted in confidence.

(c) The sub recipient shall periodically conduct spot checks of a representative sample of weekly
payroll data to verify that contractors or subcontractors are paying the appropriate wage rates. The
sub recipient shall establish and follow a spot check schedule based on its assessment of the risks of
noncompliance with DB posed by contractors or subcontractors and the duration of the contract or
subcontract. At a minimum, if practicable, the sub recipient should spot check payroll data within two
weeks of each contractor or subcontractor’s submission of its initial payroll data and two weeks prior
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to the completion date the contract or subcontract. Sub recipients must conduct more frequent spot
checks if the initial spot check or other information indicates that there is a risk that the contractor or
subcontractor is not complying with DB. In addition, during the examinations the sub recipient shall
verify evidence of fringe benefit plans and payments there under by contractors and subcontractors
who claim credit for fringe benefit contributions.

(d) The sub recipient shall periodically review contractor’s and subcontractor’s use of apprentices
and trainees to verify registration and certification with respect to apprenticeship and training
programs approved by either the U.S DOL or a state, as appropriate, and that contractors and
subcontractors are not using disproportionate numbers of, laborers, trainees and apprentices. These
reviews shall be conducted in accordance with the schedules for spot checks and interviews
described in Item 5(b) and (c) above.

(e) Sub recipients must immediately report potential violations of the DB prevailing wage
requirements to the EPA DB contact listed above and to the appropriate DOL Wage and Hour District
Office listed at https://www.dol.gov/agencies/whd/contact/local-offices.



II. Requirements Under Title VI of the CWA - For Sub recipients That Are Not Governmental
Entities:

The following terms and conditions specify how recipients will assist EPA in meeting its DB
responsibilities when DB applies to EPA awards of financial assistance under Title VI of the CWA
with respect to sub recipients that are not governmental entities. If a sub recipient has questions
regarding when DB applies, obtaining the correct DB wage determinations, DB provisions, or
compliance monitoring, it may contact the State recipient for guidance. If a State recipient needs
guidance, the recipient may contact Suzanne Hersh at Hersh.Suzanne@epa.gov or 202-564-3361,
EPA Office of Grants and Debarment for guidance. The recipient or sub recipient may also obtain
additional guidance from DOL’s website at http://www.dol.gov/whd/

Under these terms and conditions, the sub recipient must submit its proposed DB wage
determinations to the State recipient for approval prior to including the wage determination in
any solicitation, contract task orders, work assignments, or similar instruments to existing
contractors.

1. Applicability of the DB prevailing wage requirements.

Under Title VI of the CWA, DB prevailing wage requirements apply to the construction, alteration,
and repair of treatment works carried out in whole or in part with assistance made available by a
State water pollution control revolving fund. If a sub recipient encounters a unique situation at a site
that presents uncertainties regarding DB applicability, the sub recipient must discuss the situation
with the recipient State before authorizing work on that site.

2. Obtaining Wage Determinations.

(a) Sub recipients must obtain proposed wage determinations for specific localities at
https://sam.gov/. After the sub recipient obtains its proposed wage determination, it must submit the
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wage determination to the State recipeint for approval prior to inserting the wage determination into a
solicitation, contract or issuing task orders, work assignments or similar instruments to existing
contractors (ordering instruments unless subsequently directed otherwise by the State recipient
Award Official.)

(b) Sub recipients shall obtain the wage determination for the locality in which a covered activity
subject to DB will take place prior to issuing requests for bids, proposals, quotes or other methods for
soliciting contracts (solicitation) for activities subject to DB. These wage determinations shall be
incorporated into solicitations and any subsequent contracts. Prime contracts must contain a
provision requiring that subcontractors follow the wage determination incorporated into the prime
contract.

           (i)        While the solicitation remains open, the sub recipient shall monitor
           https://sam.gov/. on a weekly basis to ensure that the wage determination contained in
           the solicitation remains current. The sub recipients shall amend the solicitation if DOL
           issues a modification more than 10 days prior to the closing date (i.e. bid opening) for the
           solicitation. If DOL modifies or supersedes the applicable wage determination less than
           10 days prior to the closing date, the sub recipients may request a finding from the State
           recipient that there is not a reasonable time to notify interested contractors of the
           modification of the wage determination. The State recipient will provide a report of its
           findings to the sub recipient.

           (ii)      If the sub recipient does not award the contract within 90 days of the closure of
           the solicitation, any modifications or supersedes DOL makes to the wage determination
           contained in the solicitation shall be effective unless the State recipient, at the request of
           the sub recipient, obtains an extension of the 90-day period from DOL pursuant to 29
           CFR 1.6(c)(3)(iv). The sub recipient shall monitor https://sam.gov/ on a weekly basis if it
           does not award the contract within 90 days of closure of the solicitation to ensure that
           wage determinations contained in the solicitation remain current.

(c) If the sub recipient carries out activity subject to DB by issuing a task order, work assignment or
similar instrument to an existing contractor (ordering instrument) rather than by publishing a
solicitation, the sub recipient shall insert the appropriate DOL wage determination from sam.gov into
the ordering instrument.

(d) Sub recipients shall review all subcontracts subject to DB entered into by prime contractors to
verify that the prime contractor has required its subcontractors to include the applicable wage
determinations.

(e) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to a sub
recipient’s contract after the award of a contract or the issuance of an ordering instrument if DOL
determines that the sub recipient has failed to incorporate a wage determination or has used a wage
determination that clearly does not apply to the contract or ordering instrument. If this occurs, the
sub recipient shall either terminate the contract or ordering instrument and issue a revised solicitation
or ordering instrument or incorporate DOL’s wage determination retroactive to the beginning of the
contract or ordering instrument by change order. The sub recipient’s contractor must be
compensated for any increases in wages resulting from the use of DOL’s revised wage
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determination.



3. Contract and Subcontract provisions.

   a. The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in excess
      of $2,000 which is entered into for the actual construction, alteration and/or repair, including
      painting and decorating, of a treatment work under the CWSRF - or in accordance with
      guarantees of a Federal agency or financed from funds obtained by pledge of any contract of a
      Federal agency to make a loan, grant or annual contribution (except where a different meaning
      is expressly indicated), and which is subject to the labor standards provisions of any of the acts
      listed in § 5.1 or Title VI of the CWA, the following clauses:

(1) Minimum wages.

(i) All laborers and mechanics employed or working upon the site of the work, will be paid
unconditionally and not less often than once a week, and without subsequent deduction or rebate on
any account (except such payroll deductions as are permitted by regulations issued by the Secretary
of Labor under the Copeland Act (29 CFR part 3) ), the full amount of wages and bona fide fringe
benefits (or cash equivalents thereof) due at time of payment computed at rates not less than those
contained in the wage determination of the Secretary of Labor which is attached hereto and made a
part hereof, regardless of any contractual relationship which may be alleged to exist between the
contractor and such laborers and mechanics.

Contributions made or costs reasonably anticipated for bona fide fringe benefits under section 1(b)(2)
of the DB Act on behalf of laborers or mechanics are considered wages paid to such laborers or
mechanics, subject to the provisions of paragraph (a)(1)(iv) of this section; also, regular contributions
made or costs incurred for more than a weekly period (but not less often than quarterly) under plans,
funds, or programs which cover the particular weekly period, are deemed to be constructively made
or incurred during such weekly period. Such laborers and mechanics shall be paid the appropriate
wage rate and fringe benefits on the wage determination for the classification of work actually
performed, without regard to skill, except as provided in § 5.5(a)(4). Laborers or mechanics
performing work in more than one classification may be compensated at the rate specified for each
classification for the time actually worked therein: Provided, that the employer's payroll records
accurately set forth the time spent in each classification in which work is performed. The wage
determination (including any additional classification and wage rates conformed under paragraph
(a)(1)(ii) of this section) and the DB poster (WH-1321) shall be posted at all times by the contractor
and its subcontractors at the site of the work in a prominent and accessible place where it can be
easily seen by the workers.

Sub recipients may obtain wage determinations from DOL’s website, https://sam.gov/.

(ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or mechanics,
including helpers, which is not listed in the wage determination and which is to be employed under
the contract shall be classified in conformance with the wage determination. The State award official
shall approve a request for an additional classification and wage rate and fringe benefits therefore
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only when the following criteria have been met:

(1) The work to be performed by the classification requested is not performed by a classification in
the wage determination; and

(2) The classification is utilized in the area by the construction industry; and

(3) The proposed wage rate, including any bona fide fringe benefits, bears a reasonable relationship
to the wage rates contained in the wage determination.

(B) If the contractor and the laborers and mechanics to be employed in the classification (if known),
or their representatives, and the sub recipient(s) agree on the classification and wage rate (including
the amount designated for fringe benefits where appropriate), documentation of the action taken and
the request, including the local wage determination shall be sent by the sub recipient(s) to the State
award official. The State award official will transmit a completed conformance request form (SF-
1444 or similar) and supporting materials to WHD-CBACONFORMANCE_INCOMING@dol.gov and
to the EPA DB Regional Coordinator concurrently. The DOL Administrator, or an authorized
representative, will approve, modify, or disapprove every additional classification request within 30
days of receipt and so advise the State award official or will notify the State award official within the
30-day period that additional time is necessary.

(C) In the event the contractor, the laborers or mechanics to be employed in the classification or their
representatives, and the sub recipient(s) do not agree on the proposed classification and wage rate
(including the amount designated for fringe benefits, where appropriate), documentation of the action
taken and the request, including the local wage determination shall be sent by the sub recipient (s) to
the State award official. The State award official will transmit a completed conformance request form
(SF-1444 or similar) which indicates the State award official’s disagreement and supporting materials
to WHD-CBACONFORMANCE INCOMING@dol.gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will issue a determination
within 30 days of receipt of the request and so advise the contracting officer or will notify the
contracting officer within the 30-day period that additional time is necessary.

(D) The wage rate (including fringe benefits where appropriate) determined pursuant to paragraphs
(a)(1)(ii)(B) or (C) of this section, shall be paid to all workers performing work in the classification
under this contract from the first day on which work is performed in the classification.

(iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers or mechanics
includes a fringe benefit which is not expressed as an hourly rate, the contractor shall either pay the
benefit as stated in the wage determination or shall pay another bona fide fringe benefit or an hourly
cash equivalent thereof.

(iv) If the contractor does not make payments to a trustee or other third person, the contractor may
consider as part of the wages of any laborer or mechanic the amount of any costs reasonably
anticipated in providing bona fide fringe benefits under a plan or program, Provided, That the
Secretary of Labor has found, upon the written request of the contractor, that the applicable
standards of the DB Act have been met. The Secretary of Labor may require the contractor to set
aside assets in a separate account for the meeting of obligations under the plan or program.
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(2) Withholding. The sub recipient(s) shall upon written request of the EPA Award Official or an
authorized representative of the DOL, withhold or cause to be withheld from the contractor under this
contract or any other Federal contract with the same prime contractor, or any other federally-assisted
contract subject to DOL prevailing wage requirements, which is held by the same prime contractor,
so much of the accrued payments or advances as may be considered necessary to pay laborers and
mechanics, including apprentices, trainees, and helpers, employed by the contractor or any
subcontractor the full amount of wages required by the contract. In the event of failure to pay any
laborer or mechanic, including any apprentice, trainee, or helper, employed or working on the site of
the work, all or part of the wages required by the contract, the EPA may, after written notice to the
contractor, sponsor, applicant, or owner, take such action as may be necessary to cause the
suspension of any further payment, advance, or guarantee of funds until such violations have
ceased.

(3) Payrolls and basic records.

(i) Payrolls and basic records relating thereto shall be maintained by the contractor during the course
of the work and preserved for a period of three years thereafter for all laborers and mechanics
working at the site of the work. Such records shall contain the name, address, and social security
number of each such worker, his or her correct classification, hourly rates of wages paid (including
rates of contributions or costs anticipated for bona fide fringe benefits or cash equivalents thereof of
the types described in section 1(b)(2)(B) of the DB Act), daily and weekly number of hours worked,
deductions made and actual wages paid. Whenever the Secretary of Labor has found under 29 CFR
5.5(a)(1)(iv) that the wages of any laborer or mechanic include the amount of any costs reasonably
anticipated in providing benefits under a plan or program described in section 1(b)(2)(B) of the DB
Act, the contractor shall maintain records which show that the commitment to provide such benefits
is enforceable, that the plan or program is financially responsible, and that the plan or program has
been communicated in writing to the laborers or mechanics affected, and records which show the
costs anticipated or the actual cost incurred in providing such benefits. Contractors employing
apprentices or trainees under approved programs shall maintain written evidence of the registration
of apprenticeship programs and certification of trainee programs, the registration of the apprentices
and trainees, and the ratios and wage rates prescribed in the applicable programs.

(ii)(A) The contractor shall submit weekly, for each week in which any contract work is performed, a
copy of all payrolls to the sub recipient, that is, the entity that receives the sub-grant or loan from the
State capitalization grant recipient. Such documentation shall be available on request of the State
recipient or EPA. As to each payroll copy received, the sub recipient shall provide written
confirmation in a form satisfactory to the State indicating whether or not the project is in compliance
with the requirements of 29 CFR 5.5(a)(1) based on the most recent payroll copies for the specified
week. The payrolls shall set out accurately and completely all of the information required to be
maintained under 29 CFR 5.5(a)(3)(i), except that full social security numbers and home addresses
shall not be included on the weekly payrolls. Instead, the payrolls shall only need to include an
individually identifying number for each employee (e.g., the last four digits of the employee's social
security number). The required weekly payroll information may be submitted in any form desired.
Optional Form WH-347 is available for this purpose from the Wage and Hour Division website at
http://www.dol.gov/whd/forms/wh347instr.htm or its successor site.
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The prime contractor is responsible for the submission of copies of payrolls by all subcontractors.
Contractors and subcontractors shall maintain the full social security number and current address of
each covered worker and shall provide them upon request to the sub recipient(s) for transmission to
the State or EPA if requested by EPA, the State, the contractor, or the Wage and Hour Division of
the DOL for purposes of an investigation or audit of compliance with prevailing wage requirements. It
is not a violation of this section for a prime contractor to require a subcontractor to provide addresses
and social security numbers to the prime contractor for its own records, without weekly submission to
the sub recipient(s).

(B) Each payroll submitted shall be accompanied by a “Statement of Compliance,” signed by the
contractor or subcontractor or his or her agent who pays or supervises the payment of the persons
employed under the contract and shall certify the following:

(1) That the payroll for the payroll period contains the information required to be provided under § 5.5
(a)(3)(ii) of Regulations, 29 CFR part 5, the appropriate information is being maintained under § 5.5
(a)(3)(i) of Regulations, 29 CFR part 5, and that such information is correct and complete;

(2) That each laborer or mechanic (including each helper, apprentice, and trainee) employed on the
contract during the payroll period has been paid the full weekly wages earned, without rebate, either
directly or indirectly, and that no deductions have been made either directly or indirectly from the full
wages earned, other than permissible deductions as set forth in Regulations, 29 CFR part 3;

(3) That each laborer or mechanic has been paid not less than the applicable wage rates and fringe
benefits or cash equivalents for the classification of work performed, as specified in the applicable
wage determination incorporated into the contract.

(C) The weekly submission of a properly executed certification set forth on the reverse side of
Optional Form WH-347 shall satisfy the requirement for submission of the “Statement of Compliance”
required by paragraph (a)(3)(ii)(B) of this section.

(D) The falsification of any of the above certifications may subject the contractor or subcontractor to
civil or criminal prosecution under section 1001 of title 18 and section 231 of title 31 of the United
States Code.

(iii) The contractor or subcontractor shall make the records required under paragraph (a)(3)(i) of this
section available for inspection, copying, or transcription by authorized representatives of the State,
EPA or the DOL, and shall permit such representatives to interview employees during working hours
on the job. If the contractor or subcontractor fails to submit the required records or to make them
available, the EPA or State may, after written notice to the contractor, sponsor, applicant, or owner,
take such action as may be necessary to cause the suspension of any further payment, advance, or
guarantee of funds. Furthermore, failure to submit the required records upon request or to make
such records available may be grounds for debarment action pursuant to 29 CFR 5.12.

(4) Apprentices and trainees--

(i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate for the work
they performed when they are employed pursuant to and individually registered in a bona fide
apprenticeship program registered with the DOL, Employment and Training Administration, Office of
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Apprenticeship Training, Employer and Labor Services, or with a State Apprenticeship Agency
recognized by the Office, or if a person is employed in his or her first 90 days of probationary
employment as an apprentice in such an apprenticeship program, who is not individually registered
in the program, but who has been certified by the Office of Apprenticeship Training, Employer and
Labor Services or a State Apprenticeship Agency (where appropriate) to be eligible for probationary
employment as an apprentice. The allowable ratio of apprentices to journeymen on the job site in any
craft classification shall not be greater than the ratio permitted to the contractor as to the entire work
force under the registered program. Any worker listed on a payroll at an apprentice wage rate, who is
not registered or otherwise employed as stated above, shall be paid not less than the applicable
wage rate on the wage determination for the classification of work actually performed. In addition,
any apprentice performing work on the job site in excess of the ratio permitted under the registered
program shall be paid not less than the applicable wage rate on the wage determination for the work
actually performed. Where a contractor is performing construction on a project in a locality other than
that in which its program is registered, the ratios and wage rates (expressed in percentages of the
journeyman's hourly rate) specified in the contractor's or subcontractors registered program shall be
observed. Every apprentice must be paid at not less than the rate specified in the registered program
for the apprentice's level of progress, expressed as a percentage of the journeymen hourly rate
specified in the applicable wage determination. Apprentices shall be paid fringe benefits in
accordance with the provisions of the apprenticeship program. If the apprenticeship program does
not specify fringe benefits, apprentices must be paid the full amount of fringe benefits listed on the
wage determination for the applicable classification. If the Administrator determines that a different
practice prevails for the applicable apprentice classification, fringes shall be paid in accordance with
that determination. In the event the Office of Apprenticeship Training, Employer and Labor Services,
or a State Apprenticeship Agency recognized by the Office, withdraws approval of an apprenticeship
program, the contractor will no longer be permitted to utilize apprentices at less than the applicable
predetermined rate for the work performed until an acceptable program is approved.

(ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at less than
the predetermined rate for the work performed unless they are employed pursuant to and individually
registered in a program which has received prior approval, evidenced by formal certification by the
DOL, Employment and Training Administration. The ratio of trainees to journeymen on the job site
shall not be greater than permitted under the plan approved by the Employment and Training
Administration. Every trainee must be paid at not less than the rate specified in the approved
program for the trainee's level of progress, expressed as a percentage of the journeyman hourly rate
specified in the applicable wage determination. Trainees shall be paid fringe benefits in accordance
with the provisions of the trainee program. If the trainee program does not mention fringe benefits,
trainees shall be paid the full amount of fringe benefits listed on the wage determination unless the
Administrator of the Wage and Hour Division determines that there is an apprenticeship program
associated with the corresponding journeyman wage rate on the wage determination which provides
for less than full fringe benefits for apprentices. Any employee listed on the payroll at a trainee rate
who is not registered and participating in a training plan approved by the Employment and Training
Administration shall be paid not less than the applicable wage rate on the wage determination for the
classification of work actually performed. In addition, any trainee performing work on the job site in
excess of the ratio permitted under the registered program shall be paid not less than the applicable
wage rate on the wage determination for the work actually performed. In the event the Employment
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and Training Administration withdraws approval of a training program, the contractor will no longer be
permitted to utilize trainees at less than the applicable predetermined rate for the work performed
until an acceptable program is approved.

(iii) Equal employment opportunity. The utilization of apprentices, trainees and journeymen under this
part shall be in conformity with the equal employment opportunity requirements of Executive Order
11246, as amended and 29 CFR part 30.

(5) Compliance with Copeland Act requirements. The contractor shall comply with the requirements
of 29 CFR part 3, which are incorporated by reference in this contract.

(6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses
contained in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA determines may by
appropriate, and also a clause requiring the subcontractors to include these clauses in any lower tier
subcontracts. The prime contractor shall be responsible for the compliance by any subcontractor or
lower tier subcontractor with all the contract clauses in 29 CFR 5.5.

(7) Contract termination: debarment. A breach of the contract clauses in 29 CFR 5.5 may be grounds
for termination of the contract, and for debarment as a contractor and a subcontractor as provided in
29 CFR 5.12.

(8) Compliance with DB and Related Act requirements. All rulings and interpretations of the DB and
Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by reference in this
contract.

(9) Disputes concerning labor standards. Disputes arising out of the labor standards provisions of
this contract shall not be subject to the general disputes clause of this contract. Such disputes shall
be resolved in accordance with the procedures of the DOL set forth in 29 CFR parts 5, 6, and 7.
Disputes within the meaning of this clause include disputes between the contractor (or any of its
subcontractors) and Sub recipient(s), State, EPA, DOL, or the employees or their representatives.

(10) Certification of eligibility.

(i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor any person
or firm who has an interest in the contractor's firm is a person or firm ineligible to be awarded
Government contracts by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).

(ii) No part of this contract shall be subcontracted to any person or firm ineligible for award of a
Government contract by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).

(iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18 U.S.C. 1001.

4. Contract Provision for Contracts in Excess of $100,000.

(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the following
clauses set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any contract in an
amount in excess of $100,000 and subject to the overtime provisions of the Contract Work Hours
and Safety Standards Act. These clauses shall be inserted in addition to the clauses required by Item
3, above or 29 CFR 4.6. As used in this paragraph, the terms laborers and mechanics include
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watchmen and guards.

(1) Overtime requirements. No contractor or subcontractor contracting for any part of the contract
work which may require or involve the employment of laborers or mechanics shall require or permit
any such laborer or mechanic in any workweek in which he or she is employed on such work to work
in excess of forty hours in such workweek unless such laborer or mechanic receives compensation
at a rate not less than one and one-half times the basic rate of pay for all hours worked in excess of
forty hours in such workweek.

(2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of the clause
set forth in paragraph (b)(1) of this section the contractor and any subcontractor responsible
therefore shall be liable for the unpaid wages. In addition, such contractor and subcontractor shall be
liable to the United States (in the case of work done under contract for the District of Columbia or a
territory, to such District or to such territory), for liquidated damages. Such liquidated damages shall
be computed with respect to each individual laborer or mechanic, including watchmen and guards,
employed in violation of the clause set forth in paragraph (b)(1) of this section, in the sum of $29 for
each calendar day on which such individual was required or permitted to work in excess of the
standard workweek of forty hours without payment of the overtime wages required by the clause set
forth in paragraph (b)(1) of this section.

(3) Withholding for unpaid wages and liquidated damages. The sub recipient shall upon the request
of the EPA Award Official or an authorized representative of the DOL, withhold or cause to be
withheld, from any moneys payable on account of work performed by the contractor or subcontractor
under any such contract or any other Federal contract with the same prime contractor, or any other
federally-assisted contract subject to the Contract Work Hours and Safety Standards Act, which is
held by the same prime contractor, such sums as may be determined to be necessary to satisfy any
liabilities of such contractor or subcontractor for unpaid wages and liquidated damages as provided
in the clause set forth in paragraph (a)(2) of this section.

(4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses set
forth in paragraph (a)(1) through (4) of this section and also a clause requiring the subcontractors to
include these clauses in any lower tier subcontracts. The prime contractor shall be responsible for
compliance by any subcontractor or lower tier subcontractor with the clauses set forth in paragraphs
(a)(1) through (4) of this section.


(c) In addition to the clauses contained in Item 3, above, in any contract subject only to the Contract
Work Hours and Safety Standards Act and not to any of the other statutes cited in 29 CFR 5.1, the
Sub recipient shall insert a clause requiring that the contractor or subcontractor shall maintain
payrolls and basic payroll records during the course of the work and shall preserve them for a period
of three years from the completion of the contract for all laborers and mechanics, including guards
and watchmen, working on the contract. Such records shall contain the name and address of each
such employee, social security number, correct classifications, hourly rates of wages paid, daily and
weekly number of hours worked, deductions made, and actual wages paid. Further, the Sub recipient
shall insert in any such contract a clause providing that the records to be maintained under this
paragraph shall be made available by the contractor or subcontractor for inspection, copying, or
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transcription by authorized representatives of the EPA and the DOL, and the contractor or
subcontractor will permit such representatives to interview employees during working hours on the
job.



5. Compliance Verification

(a) The sub recipient shall periodically interview a sufficient number of employees entitled to DB
prevailing wages (covered employees) to verify that contractors or subcontractors are paying the
appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be conducted in
confidence. The sub recipient must use Standard Form 1445 (SF 1445) or equivalent documentation
to memorialize the interviews. Copies of the SF 1445 are available from EPA on request.

(b) The sub recipient shall establish and follow an interview schedule based on its assessment of the
risks of noncompliance with DB posed by contractors or subcontractors and the duration of the
contract or subcontract. Sub recipients must conduct more frequent interviews if the initial interviews
or other information indicated that there is a risk that the contractor or subcontractor is not complying
with DB. Sub recipients shall immediately conduct interviews in response to an alleged violation of
the prevailing wage requirements. All interviews shall be conducted in confidence.

(c). The sub recipient shall periodically conduct spot checks of a representative sample of weekly
payroll data to verify that contractors or subcontractors are paying the appropriate wage rates. The
sub recipient shall establish and follow a spot check schedule based on its assessment of the risks of
noncompliance with DB posed by contractors or subcontractors and the duration of the contract or
subcontract. At a minimum, if practicable the sub recipient should spot check payroll data within two
weeks of each contractor or subcontractor’s submission of its initial payroll data and two weeks prior
to the completion date the contract or subcontract. Sub recipients must conduct more frequent spot
checks if the initial spot check or other information indicates that there is a risk that the contractor or
subcontractor is not complying with DB. In addition, during the examinations the sub recipient shall
verify evidence of fringe benefit plans and payments there under by contractors and subcontractors
who claim credit for fringe benefit contributions.

(d). The sub recipient shall periodically review contractors and subcontractors use of apprentices
and trainees to verify registration and certification with respect to apprenticeship and training
programs approved by either the U.S DOL or a state, as appropriate, and that contractors and
subcontractors are not using disproportionate numbers of, laborers, trainees and apprentices. These
reviews shall be conducted in accordance with the schedules for spot checks and interviews
described in Item 5(b) and (c) above.

(e) Sub recipients must immediately report potential violations of the DB prevailing wage
requirements to the EPA DB contact listed above and to the appropriate DOL Wage and Hour District
Office listed at https://www.dol.gov/agencies/whd/contact/local-offices.
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                      EXHIBIT B
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                                                     EPA Funding Information
            FUNDS                                      FORMER AWARD                           THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                  $0                         $859,213                                  $859,213
EPA In-Kind Amount                                                      $0                                $0                                        $0
Unexpended Prior Year Balance                                           $0                                $0                                        $0
Other Federal Funds                                                     $0                                $0                                        $0
Recipient Contribution                                                  $0                                $0                                        $0
State Contribution                                                      $0                                $0                                        $0
Local Contribution                                                      $0                                $0                                        $0
Other Contribution                                                      $0                                $0                                        $0
Allowable Project Cost                                                  $0                         $859,213                                  $859,213



Assistance Program (CFDA)                       Statutory Authority                              Regulatory Authority
66.034 - Surveys-Studies-Investigations-        Clean Air Act: Sec. 103                          2 CFR 200, 2 CFR 1500 and 40 CFR 33
Demonstrations and Special Purpose Activities
relating to the Clean Air Act




                                                                       Fiscal
           Site Name                 Req No     FY      Approp.         Budget      PRC       Object   Site/Project      Cost            Obligation /
                                                         Code         Oganization             Class                   Organization       Deobligation
-                                  2305LBX054   2231     E1SFX               05L1 000A04XM6    4183               -                  -       $859,213
                                                                                                                                             $859,213
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                                        Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2022-or-later.

These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at:
https://www.epa.gov/grants/grant-terms-and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the
following email addresses:

Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and young.robert@epa.gov
MBE/WBE reports (EPA Form 5700-52A): tukes.michael@epa.gov and Robert Young at
young.robert@epa.gov
All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the
Budget and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to
recipient information (including email addresses, changes in contact information or changes in authorized
representatives) and other notifications: Lisa Holscher at Holscher.Lisa@epa.gov and Robert Young at
young.robert@epa.gov
Payment requests (if applicable): Lisa Holscher at Holscher.Lisa@epa.gov
Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
deliverables: Lisa Holscher at Holscher.Lisa@epa.gov
B. Pre-award Costs

In accordance with 2 CFR 1500.9, the grantee may charge pre-award costs (both Federal and non-
Federal matching shares) incurred from 8/1/23 to the actual award date provided that such costs were
contained in the approved application and all costs are incurred within the approved budget period.



                                        Programmatic Conditions
Grant Programmatic Terms and Conditions

A. PERFORMANCE REPORTING AND FINAL PERFORMANCE REPORT

Performance Reports – Content

In accordance with 2 CFR 200.329, the recipient agrees to submit performance reports that include brief information on
each of the following areas: 1) A comparison of actual accomplishments to the outputs/outcomes established in the
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assistance agreement work plan for the period; 2) The reasons why established outputs/outcomes were not met; and 3)
Additional pertinent information, including, when appropriate, analysis and explanation of cost overruns or high-unit costs.

Additionally, the recipient agrees to inform EPA as soon as problems, delays, or adverse conditions which will materially
impair the ability to meet the outputs/outcomes specified in the assistance agreement work plan are known.

(See Grants Policy Issuance 11-03 State Grant Workplans and Progress Reports for more information)

Performance Reports - Frequency

The recipient agrees to submit semi-annual performance reports electronically to the EPA Project Officer within 30 days
after the reporting periods end (every six-month period). The reporting periods are August 1 - January 31; February 1 - July
31.

The recipient must submit the final performance report no later than 120 calendar days after the end date of the period of
performance.

B. State Grant Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance agreement, it will
protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient’s network or information system and EPA networks
used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an Agency IT system and
an external IT system for the purpose of transferring information. Transitory, user-controlled connections such as website
browsing are excluded from this definition.

If the recipient’s connections as defined above do not go through the Environmental Information Exchange Network or
EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project Officer (PO) and work with the designated
Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security requirements,
including entering into Interconnection Service Agreements as appropriate. This condition does not apply to manual entry of
data by the recipient into systems operated and used by EPA’s regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient to comply with the
requirements in (b)(1) if the subrecipient’s network or information system is connected to EPA networks to transfer data to
the Agency using systems other than the Environmental Information Exchange Network or EPA’s Central Data Exchange.
The recipient will be in compliance with this condition: by including this requirement in subaward agreements; and during
subrecipient monitoring deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the subrecipient
has contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA Project Officer on
behalf of a subrecipient or to be involved in the negotiation of an Interconnection Service Agreement between the
subrecipient and EPA.
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                                                     EPA Funding Information
            FUNDS                                      FORMER AWARD                           THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                  $0                       $3,000,000                                $3,000,000
EPA In-Kind Amount                                                      $0                                $0                                        $0
Unexpended Prior Year Balance                                           $0                                $0                                        $0
Other Federal Funds                                                     $0                                $0                                        $0
Recipient Contribution                                                  $0                                $0                                        $0
State Contribution                                                      $0                                $0                                        $0
Local Contribution                                                      $0                                $0                                        $0
Other Contribution                                                      $0                                $0                                        $0
Allowable Project Cost                                                  $0                       $3,000,000                                $3,000,000



Assistance Program (CFDA)                       Statutory Authority                              Regulatory Authority
66.046 - Climate Pollution Reduction Grants     Clean Air Act: Sec. 137                          2 CFR 200, 2 CFR 1500 and 40 CFR 33




                                                                       Fiscal
           Site Name                  Req No    FY      Approp.         Budget      PRC       Object   Site/Project      Cost            Obligation /
                                                         Code         Oganization             Class                   Organization       Deobligation
-                                  2305LQX005   2231     E4SFX               05L1 000ACGXJ1    4132               -                  -     $3,000,000
                                                                                                                                           $3,000,000
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                         Attachment 1 - Project Description
This agreement provides funding under the Inflation Reduction Act (IRA) to the Illinois
Environmental Protection Agency (IEPA) to develop a comprehensive, economy-wide
climate mitigation plan that will support actions to reduce greenhouse gases (GHG) and
harmful air pollutants and to conduct meaningful engagement with low-income and
disadvantaged communities. Specifically, the recipient will develop climate action plans that
focus on equity and substantial stakeholder engagement. In general, activities include the
development, updating, and evaluation of plans to reduce climate pollution (i.e., to reduce
GHG emissions and/or enhance carbon sinks). Specific activities include: the development
of a state GHG emissions inventory, analysis of GHG emissions targets and projections, and
quantification of GHG reduction measures. Three key deliverables will be produced and
submitted over the course of the four-year program period, including: a Priority Climate
Action Plan (PCAP), due March 1, 2024; a Comprehensive Climate Action Plan (CCAP), due
two years from the date of the award; and a Status Report, due at the close of the grant
period.
The expected outcomes include a PCAP and CCAP that identifies: tons of pollution (GHGs
and co-pollutants) reduced over the lifetime of the measures; tons of pollution (GHGs and
co-pollutants) reduced annually; and tons of pollution (GHGs and co-pollutants) reduced with
respect to low-income and disadvantaged communities.
The intended beneficiaries include residents of Illinois and the environment. No subawards
are included in this assistance agreement.
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                                   Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2022-or-later

These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at:
https://www.epa.gov/grants/grant-terms-and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the
following email addresses:

·Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and Kimberly Houston houston-
williams.kimberly@epa.gov

·MBE/WBE reports (EPA Form 5700-52A): region5closeouts@epa.gov

·All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the
Budget and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to
recipient information (including email addresses, changes in contact information or changes in authorized
representatives) and other notifications: morales.juan@epa.gov and houston-
williams.kimberly@epa.gov

·Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
deliverables: Juan Morales morales.juan@epa.gov

B. Pre-Award Costs

In accordance with 2 CFR 1500.9, the recipient may charge otherwise allowable pre-award costs
(both Federal and non-Federal matching shares) incurred from [6/1/2023] to the actual award date
provided that such costs were contained in the approved application and all costs are incurred within
the approved budget period.




                                   Programmatic Conditions
Climate Pollution Reduction Grants Specific Programmatic Terms and Conditions

A. PERFORMANCE REPORTING AND FINAL PERFORMANCE REPORT

Performance Reports – Content
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In accordance with 2 CFR 200.329, the recipient agrees to submit performance reports that include brief
information on each of the following areas: 1) A comparison of actual accomplishments to the
outputs/outcomes established in the assistance agreement work plan for the period; 2) The reasons why
established outputs/outcomes were not met; and 3) Additional pertinent information, including, when
appropriate, analysis and explanation of cost overruns or high-unit costs.

Additionally, the recipient agrees to inform EPA as soon as problems, delays, or adverse conditions which
will materially impair the ability to meet the outputs/outcomes specified in the assistance agreement work
plan are known.

Performance Reports - Frequency

Quarterly performance reports are required to be submitted electronically to the EPA Project Officer within
30 calendar days after the reporting period. Quarterly reports are due according to the following schedule.
If a due date falls on a weekend or holiday, the report will be due on the next business day. If a project
start date falls within a defined reporting period, the recipient must report for that period by the given due
date unless otherwise noted. This quarterly reporting schedule shall be repeated for the duration of the
award agreement.

June 1 – August 31 Reporting Period: report due date September 30

September 1 – November 30 Reporting Period: report due date December 30

December 1 – February 28 Reporting Period: report due date March 30

March 1 – May 31 Reporting Period: report due date June 30

The recipient must submit the final performance report no later than 120 calendar days after the
end date of the period of performance.

B. DELIVERABLES AND REQUIREMENTS

States that accept an award are required to produce and electronically submit the following three
deliverables by the date specified:

1.) By March 1, 2024, a Priority Climate Action Plan (PCAP), which is a narrative report that includes a
focused list of near-term, high-priority, implementation ready measures to reduce Greenhouse Gas (GHG)
pollution and an analysis of GHG emissions reductions that would be achieved through implementation.
These initial plans can focus on a specific sector or selected sectors, and do not need to comprehensively
address all sources of GHG emissions and sinks in the jurisdiction. The PCAP must include: a GHG
inventory; quantified GHG reduction measures; a low-income and disadvantaged communities benefits
analysis; and a review of authority to implement.

2.) A Comprehensive Climate Action Plan (CCAP), due 2 years from the date of the award. The CCAP is
a narrative report that should touch on all significant GHG sources/sinks and sectors present in a state or
metropolitan area, establish near-term and long-term GHG emission reduction goals, and provide
strategies and identify measures to achieve those goals. Each CCAP must include: a GHG inventory;
GHG emissions projections; GHG reduction targets; quantified GHG reduction measures; a benefits
analysis for the full geographic scope and population covered by the plan; a low-income and
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disadvantaged communities benefits analysis; a review of authority to implement; a plan to leverage other
federal funding; and, a workforce planning analysis.

3.) A Status Report, due at the closeout of the 4-year grant period. This report should include the
implementation status of the quantified GHG reduction measures included in the CCAP; any relevant
updated analyses or projections supporting CCAP implementation; and, next steps and future
budget/staffing needs to continue CCAP implementation.

States must coordinate with municipalities and air pollution control agencies within their state to include
priority measures that are implementable by those entities. States are further encouraged to similarly
coordinate with tribes. In all cases, the lead organization for a state or metropolitan area PCAP funded
through the CPRG program must make the PCAP available to other entities by March 1, 2024 for their
use in developing an implementation grant application.

State lead organizations must involve stakeholder groups and the public in the process for developing the
PCAP and CCAP. Potential stakeholders include urban, rural, and underserved or disadvantaged
communities as well as the general public, governmental entities, federally recognized tribes, Port
Authorities, labor organizations, community and faith-based organizations, and private sector and industry
representatives.

C. Cybersecurity Condition

State Grant Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient’s network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the recipient’s connections as defined above do not go through the Environmental Information
Exchange Network or EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to ensure
that the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by EPA’s regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient to
comply with the requirements in (b)(1) if the subrecipient’s network or information system is connected to
EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA’s Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring
deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the subrecipient has
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contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA
Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the subrecipient and EPA.

D. Competency Policy

Competency of Organizations Generating Environmental Measurement Data

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements,

Recipient agrees, by entering into this agreement, that it has demonstrated competency prior to award, or
alternatively, where a pre-award demonstration of competency is not practicable. Recipient agrees to
demonstrate competency prior to carrying out any activities under the award involving the generation or
use of environmental data. Recipient shall maintain competency for the duration of the project period of
this agreement and this will be documented during the annual reporting process. A copy of the Policy is
available online at https://www.epa.gov/sites/production/files/2015-03/documents/competency-policy-aaia-
new.pdf or a copy may also be requested by contacting the EPA Project Officer for this award.

E. Public or Media Events

The Recipient agrees to notify the EPA Project Officer listed in this award document of public or media
events related to activities accomplished as a result of this agreement, and provide the opportunity for
attendance and participation by federal representatives with at least ten (10) working days’ notice.

F. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at https://www.fgdc.gov/.

G. Quality Assurance

Authority: Quality Assurance applies to all assistance agreements involving environmental information as
defined in 2 C.F.R. § 1500.12 Quality Assurance.

The recipient shall ensure that subawards involving environmental information issued under this
agreement include appropriate quality requirements for the work. The recipient shall ensure sub-award
recipients develop and implement a Quality Assurance (QA) planning document in accordance with this
term and condition; and/or ensure sub-award recipients implement all applicable approved QA planning
documents.

Quality Assurance Project Plan (QAPP)

a. Prior to beginning environmental information operations, the recipient must:

i. Develop a QAPP (for existing environmental information),

ii. Prepare QAPP in accordance with the current version of EPA QA/R-5: EPA Requirements for Quality
Assurance Project Plans,
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iii. Submit the document for EPA review, and

iv. Obtain EPA Quality Assurance Manager or designee (hereafter referred to as QAM) approval.

For Reference:

• Quality Management Plan (QMP) Standard and EPA QA/R-5: EPA Requirements for Quality Assurance
Project Plans; contain quality specifications for EPA and non-EPA organizations and definitions applicable
to these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans, Appendix C provides a QAPP Checklist.

• (QAM and/or PO may insert QA references that inform or assist the recipient here).

• EPA’s Quality Program website has a list of QA managers, and Non-EPA Organizations Quality
Specifications.

• The Office of Grants and Debarment Implementation of Quality Assurance Requirements for
Organizations Receiving EPA Financial Assistance.

H. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach
materials, or reports, it must not be prominently displayed to imply that any of the recipient or
subrecipient’s activities are being conducted by the EPA. Instead, the EPA logo should be accompanied
with a statement indicating that the Illinois Environmental Protection Agency (IEPA) received financial
support from the EPA under an Assistance Agreement. More information is available at:
https://www.epa.gov/stylebook/using-epa-seal-and-logo#policy
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                                                 EPA Funding Information
              FUNDS                                FORMER AWARD               THIS ACTION                     AMENDED TOTAL
EPA Amount This Action                                    $ 3,000,000                  $0                          $ 3,000,000
EPA In-Kind Amount                                                  $0                 $0                                  $0
Unexpended Prior Year Balance                                       $0                 $0                                  $0
Other Federal Funds                                                 $0                 $0                                  $0
Recipient Contribution                                              $0                 $0                                  $0
State Contribution                                                  $0                 $0                                  $0
Local Contribution                                                  $0                 $0                                  $0
Other Contribution                                                  $0                 $0                                  $0
Allowable Project Cost                                    $ 3,000,000                  $0                          $ 3,000,000



Assistance Program (CFDA)                     Statutory Authority               Regulatory Authority
66.046 - Climate Pollution Reduction Grants   Clean Air Act: Sec. 137           2 CFR 200, 2 CFR 1500 and 40 CFR 33
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Budget Summary Page
                                       Table A - Object Class Category                             Total Approved Allowable
                                             (Non-Construction)                                       Budget Period Cost
 1. Personnel                                                                                                             $ 230,500
 2. Fringe Benefits                                                                                                       $ 182,400
 3. Travel                                                                                                                       $0
 4. Equipment                                                                                                                    $0
 5. Supplies                                                                                                                     $0
 6. Contractual                                                                                                         $ 2,460,670
 7. Construction                                                                                                                 $0
 8. Other                                                                                                                        $0
 9. Total Direct Charges                                                                                                $ 2,873,570
 10. Indirect Costs: 0.00 % Base SEE TABLE B                                                                              $ 126,430
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                               $ 3,000,000
 12. Total Approved Assistance Amount                                                                                   $ 3,000,000
 13. Program Income                                                                                                              $0
 14. Total EPA Amount Awarded This Action                                                                                        $0
 15. Total EPA Amount Awarded To Date                                                                                   $ 3,000,000
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Table B Budget Worksheet #1
                            Table B - Program Element Classification                          Total Approved Allowable
                                       (Non-construction)                                        Budget Period Cost
 1. SUMMARY INDIRECT COST RATE                                                                                           $0
 2. 7/1/23-6/30/24 @37.04%                                                                                               $0
 3.                                                                                                                      $0
 4.                                                                                                                      $0
 5.                                                                                                                      $0
 6.                                                                                                                      $0
 7.                                                                                                                      $0
 8.                                                                                                                      $0
 9.                                                                                                                      $0
 10.                                                                                                                     $0
 11. Total (Share: Recip   % Fed   %)                                                                                    $0
 12. Total Approved Assistance Amount                                                                                    $0
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                                  Administrative Conditions
THE FOLLOWING TERM AND CONDITION HAS BEEN UPDATED:

General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2023-or-later

These terms and conditions are in addition to the assurances and certifications made as a part of
the award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.
epa.gov/grants/grant-terms-and-conditions#general.

ALL OTHER ADMINISTRATIVE TERMS AND CONDITONS REMAIN UNCHANGED.
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                                    Programmatic Conditions

THE FOLLOWING TERM AND CONDITION IS UPDATED:

A. PERFORMANCE REPORTING AND FINAL PERFORMANCE REPORT

Performance Reports - Content

In accordance with 2 CFR 200.329, the recipient agrees to submit performance reports that
include brief information on each of the following areas: 1) A comparison of actual
accomplishments to the outputs/outcomes established in the assistance agreement work plan for
the period; 2) The reasons why established outputs/outcomes were not met; and 3) Additional
pertinent information, including, when appropriate, analysis and explanation of cost overruns or
high-unit costs.

Additionally, the recipient agrees to inform EPA as soon as problems, delays, or adverse
conditions which will materially impair the ability to meet the outputs/outcomes specified in the
assistance agreement work plan are known.

Performance Reports - Frequency

Quarterly performance reports are required to be submitted electronically to the EPA Project
Officer within 30 calendar days after the reporting period (every three-month period). Quarterly
reports are due according to the following schedule. If a due date falls on a weekend or holiday,
the report will be due on the next business day. If a project start date falls within a defined
reporting period, the recipient must report for that period by the given due date unless otherwise
noted. This quarterly report schedule shall be repeated for the duration of the award agreement.

July 1 - September 30 Reporting Period: report due date October 30 (note, in year 1, this
reporting period should begin at the project start date)

October 1 - December 31 Reporting Period: report due date January 30

January 1 - March 31 Reporting Period: report due date April 30

April 1 - June 30 Reporting Period: report due date July 30

The recipient must submit the final performance report no later than 120 calendar days after the
end date of the period of performance.

Subaward Performance Reporting

The recipient must report on its subaward monitoring activities under 2 CFR 200.332(d).
Examples of items that must be reported if the pass-through entity has the information available
are:
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1. Summaries of results of reviews of financial and programmatic reports.

2. Summaries of findings from site visits and/or desk reviews to ensure effective subrecipient
performance.

3. Environmental results the subrecipient achieved.

4. Summaries of audit findings and related pass-through entity management decisions.

5. Actions the pass-through entity has taken to correct deficiencies such as those specified at 2
CFR 200.332(e), 2 CFR 200.208 and the 2 CFR Part 200.339 Remedies for Noncompliance.


ALL OTHER PREVIOUSLY CITED PROGRAMMATIC TERMS AND CONDITIONS REMAIN
UNCHANGED.
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                                                      EPA Funding Information
              FUNDS                                   FORMER AWARD                             THIS ACTION                          AMENDED TOTAL
EPA Amount This Action                                                 $0                      $ 430,251,378                             $ 430,251,378
EPA In-Kind Amount                                                     $0                                   $0                                     $0
Unexpended Prior Year Balance                                          $0                                   $0                                     $0
Other Federal Funds                                                    $0                                   $0                                     $0
Recipient Contribution                                                 $0                                   $0                                     $0
State Contribution                                                     $0                                   $0                                     $0
Local Contribution                                                     $0                                   $0                                     $0
Other Contribution                                                     $0                                   $0                                     $0
Allowable Project Cost                                                 $0                      $ 430,251,378                             $ 430,251,378



Assistance Program (CFDA)                       Statutory Authority                               Regulatory Authority
66.046 - Climate Pollution Reduction Grants     Clean Air Act: Sec. 137                           2 CFR 200, 2 CFR 1500 and 40 CFR 33




                                                                        Fiscal
                                                        Approp.         Budget                 Object                       Cost         Obligation /
          Site Name                  Req No     FY                                     PRC              Site/Project
                                                         Code         Organization             Class                     Organization    Deobligation
-                                 2405LQX001   2226    E4SF5          05L1           000ACGXJ2 4132     -                -               $ 430,251,378
                                                                                                                                         $ 430,251,378
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Budget Summary Page
                                       Table A - Object Class Category                             Total Approved Allowable
                                             (Non-Construction)                                       Budget Period Cost
 1. Personnel                                                                                                            $ 7,351,699
 2. Fringe Benefits                                                                                                      $ 1,626,534
 3. Travel                                                                                                                 $ 155,963
 4. Equipment                                                                                                                     $0
 5. Supplies                                                                                                                      $0
 6. Contractual                                                                                                        $ 25,500,003
 7. Construction                                                                                                                  $0
 8. Other                                                                                                             $ 392,467,815
 9. Total Direct Charges                                                                                              $ 427,102,014
 10. Indirect Costs: 37.04 % Base See Table B                                                                            $ 3,149,364
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                             $ 430,251,378
 12. Total Approved Assistance Amount                                                                                  $ 430,251,378
 13. Program Income                                                                                                               $0
 14. Total EPA Amount Awarded This Action                                                                              $ 430,251,378
 15. Total EPA Amount Awarded To Date                                                                                  $ 430,251,378
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Table B Budget Worksheet #1
                                    Table B - Program Element Classification                                 Total Approved Allowable
                                                 (Non-construction)                                             Budget Period Cost
 1. Fixed Carryforward Base: Total direct salaries and wages, including fringe benefits at 37.04%                                       $0
 2. Valid 7/1/24 to 6/30/25                                                                                                             $0
 3.                                                                                                                                     $0
 4.                                                                                                                                     $0
 5.                                                                                                                                     $0
 6.                                                                                                                                     $0
 7.                                                                                                                                     $0
 8.                                                                                                                                     $0
 9.                                                                                                                                     $0
 10.                                                                                                                                    $0
 11. Total (Share: Recip    % Fed     %)                                                                                                $0
 12. Total Approved Assistance Amount                                                                                                   $0
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                                  Attachment 1 - Project Description
The purpose of this award is to provide funding under the Inflation Reduction Act to Illinois Environmental
Protection Agency. The recipient will implement greenhouse gas reduction programs, policies, projects,
and measures identified in a Priority Climate Action Plan developed under a Climate Pollution Reduction
Grants planning grant. Activities conducted through this grant will benefit all residents and visitors to the
State of Illinois through four main objectives: implementation of ambitious measures that will achieve
significant cumulative GHG reductions by 2030 and beyond; pursuit of measures that will achieve
substantial community benefits, particularly in low-income and disadvantaged communities;
complementing other funding sources to maximize these GHG reductions and community benefits; and,
pursuit of innovative policies and programs that are replicable and can be “scaled up” across multiple
jurisdictions. The activities include expanding existing residential grant programs for energy efficiency
and electrification; developing a Navigator program to educate residential customers about energy
efficiency and implementing projects; developing a portal connecting Illinois agencies clean buildings
initiatives; conducting contractor training on clean jobs; providing technical assistance to mid-sized
commercial buildings on energy efficiency; conducting a grant program for community geothermal
projects; supporting local governments in implementing the latest state energy codes; expanding medium
and heavy duty vehicle charging infrastructure; conducting a grant program for trackside power at traffic
locomotive hubs and for mobile source electrification projects; establishing a clean freight concierge;
conducting air monitoring at targeted environmental justice communities; developing workforce training
for fleet and freight operators and heavy-duty charging infrastructure maintenance; establishing an
interagency work group to address barriers in clean freight initiatives; establishing a clean industry
concierge to assist industry in implementing decarbonization measures and provide guidance on best
practices; developing an incentive program to support the substitution of F-gases with lower carbon
alternatives; expanding deployment and improving efficiency of low-till, no-till, and cover crop practices;
conducting a grant program for community-based organizations to coordinate distribute biomethane
utilization systems; developing a rebate program for all electric landscaping equipment; performing
statewide clean energy modeling to address resources concerns; and developing technical resources to
help municipalities and co-op utilities to adopt renewable energy.The anticipated deliverables include
retrofitting residential housing units and commercial space; training individuals on building
decarbonization and supporting development of new building decarbonization contractors in target
communities; deploying community geothermal to residential units; municipalities adopting the Illinois
Stretch Energy Code; electrifying heavy diesel vehicles and installing chargers; deploying trackside
power supply systems at high traffic train stations; deploying indoor and ambient air quality monitors at
high traffic freight hubs; retrofitting industrial facilities; replacing industrial refrigerant systems; adding
acres of cover crops planted to existing programs and converting acres to no-till agriculture; funding
biomethane projects; creating a statewide energy modeling study; and developing technical assistance
resources for municipal utilities to replace fossil fuels with renewable energy. The anticipated outcomes
include reduction in greenhouse gas emissions and criteria air pollutants, particularly in disadvantaged
communities. The intended beneficiaries include residents and visitors to the state of Illinois.

Illinois Environmental Protection Agency will provide the following subawards: Illinois Climate Bank to
develop and implement new and existing funding programs to implement energy and electrification in
buildings, adoption of zero-emissions vehicles and charging stations, and supporting municipal and
cooperative utility power systems and generation plans. Illinois Department of Commerce and Economic
Opportunity to operate workforce development and outreach programs for clean buildings and clean
transportation initiatives. The Illinois Department of Agriculture to expand incentives for cover crop
integration, no-till farming practices, and sustainable agriculture enhancement. The Illinois Power
Authority for statewide energy modeling.
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                                          Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available
at: https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2024-or-
later.

These terms and conditions are in addition to the assurances and certifications made as a part of
the award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.
epa.gov/grants/grant-terms-and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for approval, or
notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the following email
addresses:

        Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and young.robert@epa.gov
        MBE/WBE reports (EPA Form 5700-52A): region5closeouts@epa.gov and Robert Young at young.
        robert@epa.gov
        All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the
        Budget and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to
        recipient information (including email addresses, changes in contact information or changes in authorized
        representatives) and other notifications: Camden Ogletree at Ogletree.Camden@epa.gov and Robert
        Young at young.robert@epa.gov
        Payment requests (if applicable): Camden Ogletree at Ogletree.Camden@epa.gov
        Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
        deliverables: Camden Ogletree at Ogletree.Camden@epa.gov


B. Pre-award Costs

In accordance with 2 CFR 1500.9, the grantee may charge pre-award costs (both Federal and non-Federal
matching shares) incurred from 10/1/24 to the actual award date provided that such costs were contained in the
approved application and all costs are incurred within the approved budget period.
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                                         Programmatic Conditions
Climate Pollution Reduction Implementation Grants Programmatic Terms and Conditions

A. Deliverables

The first phase of the Climate Pollution Reduction Grants (CPRG) program provided funding for
designing Priority Climate Action Plans (PCAPs) that incorporate a variety of measures (i.e., programs,
policies, measures, and projects) that reduce greenhouse gas (GHG) emissions. The purpose of this
CPRG Implementation assistance agreement is to implement proposed measures within a specified
PCAP identified in the CPRG Implementation Grant General Competition application. All programs,
policies, measures, and projects contained in the final, approved CPRG implementation assistance
agreement workplan are required deliverables.

The recipient agrees to implement GHG reduction programs, policies, projects, and measures
(collectively referred to as “GHG reduction measures,” or “measures”) identified in a PCAP developed
under a CPRG planning grant and included in the CPRG implementation grant workplan. The recipient
agrees to ensure that each is successfully implemented before the end of the grant project period. The
recipient agrees to successful project implementation, which includes the process of putting a decision or
plan into effect; executing the program, policies, projects and/or measures, not just planning or designing
the programs, policies, projects and/or measures. The recipient agrees to adequately describe the actual
environmental outputs and outcomes achieved, including actual GHG emissions reduced, not just the
expected outputs and outcomes of the proposed measures. Clean Air Act (CAA) section 137 also
requires that CPRG Implementation grant recipients address the degree to which a grant reduces GHG
emissions in total and with respect to low-income and disadvantaged communities, where “greenhouse
gas” refers to the air pollutants carbon dioxide (CO2), hydrofluorocarbons (HFCs), methane (CH4), nitrous
oxide (N2O), perfluorocarbons (PFCs), and sulfur hexafluoride (SF6).

To the best of their ability, the recipient agrees to:

        implement GHG emission reduction programs, policies, measures, and projects that are expected
        to reduce GHG emissions (or enhance GHG removals) by the estimated cumulative total GHG
        emission reductions from the final approved workplan;
        only report emission reductions occurring as a result of CPRG funding; and
        only report emission reduction data in units of million metric tons of carbon dioxide equivalent
        (MMTCO2e) where appropriate, calculated using the global warming potentials (GWP) in the
        International Panel on Climate Change's (IPCC) Fifth Assessment Report.

Refer to the Notice of Funding Opportunity, EPA-R-OAR-CPRGI-23-07 (https://www.epa.
gov/system/files/documents/2023-09/CPRG General Competition NOFO.pdf), Appendix B, Global
Warming Potentials for GHGs, for details about how to apply GWP values for different gases.

For the measures included in the final, approved assistance agreement work plan, the recipient agrees to
provide transparent GHG emission reduction estimates based on high-quality, thorough, reasonable, and
comprehensive methodologies, assumptions, and calculations. Examples of tools that could be used to
assist in these GHG quantifications can be found at: https://www.epa.gov/inflation-reduction-act/climate-
pollution-reduction-grants.
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B. Final Approved Work Plan and Modifications

The recipient agrees to implement the measures in the EPA-approved work plan that will achieve
significant cumulative GHG reductions by 2030 and beyond.

Recipient agrees to carry out the project in accordance with the final approved workplan. Recipients are
required to report deviations from budget or project scope or objective, and must request prior written
approval from the EPA:

       For any change in the scope or objective of the project or program (even if there is no associated
       budget revision requiring prior written approval);
       For change in key personnel (including employees and contractors) that are identified by name or
       position in the Federal award;
       For the disengagement from a project for more than three months, or a 25% reduction in time and
       effort devoted to the Federal award over the course of the period of performance, by the
       approved project director or principal investigator;
       For the inclusion of costs that require prior approval in accordance with 2 CFR Part 200 Subpart
       E—Cost Principles or 48 CFR part 31, “Contract Cost Principles and Procedures,” as applicable;
       For the transfer of funds budgeted for participant support costs as defined in 2 CFR Section
       200.1 Definitions to other budget categories;
       For the subawarding, transferring or contracting out of any work under the award;
               Changes in the total approved cost-sharing amount
               When the need arises for additional Federal funds to complete the project.

Proposed modifications to the approved work plan or budget, including additions, deletions, or changes
in the schedule, shall be submitted in a timely manner to the EPA Project Officer for approval. Depending
on the type or scope of changes, a formal amendment to the award may be necessary. Major project
modifications may include but are not limited to: changes to the approved environmental results, outputs
or outcomes, types and number of affected devices or equipment, the approved types of emission
reduction technologies to be implemented, specific programs or policies to be adopted, or changes to the
approved project location(s). Any change that would significantly alter the cumulative GHG reductions
achieved by 2030 and beyond and affect the achievement of community benefits, especially in low-
income and disadvantaged communities, may not be allowed. The recipient shall not make changes to
the proposed activities in the EPA-approved work plan without prior written approval from the EPA. The
recipient shall contact the EPA Project Officer with the proposed changes; however, depending on the
type of change, the Agency Award Official or Grant Management Officer may need to make the final
determination. If issues regarding proposed measures arise that cannot be resolved, the EPA may elect
to terminate the assistance agreement, and/or if applicable, recover ineligible expenditures from the
recipient. Any significant changes to the approved work plan that would result in undermining the integrity
of the award competition will not be approved.

For grants that are awarded to a recipient that is serving as the lead for a coalition under the CPRG
program, the recipient agrees to abide by the terms set out in the Memorandum of Agreement (MOA),
including the roles, responsibilities, and commitments that each partner will provide to ensure project
success, the operating model for the coalition, and the resources that each partner will contribute to the
project. As established in the CPRG coalition's MOA, the lead applicant is accountable to the EPA and
accepts full responsibility for effectively carrying out the full scope of work and proper financial
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management of the grant. Coalition members who are grant subrecipients are accountable to the lead
applicant for proposed use of EPA funding and successful project implementation. The recipient shall not
make changes to the signed MOA without prior written approval from the EPA.

C. Performance Reporting and Final Performance Report

1. Performance Reports - Content

The recipient agrees to inform the EPA as soon as it is aware of problems, delays, or adverse conditions
that will materially impair the recipient's ability to meet the outputs/outcomes specified in the final,
approved assistance agreement work plan. The recipient agrees to inform the EPA immediately rather
than waiting until the next performance report is due.

The recipient agrees to adequately describe the actual environmental outputs and outcomes achieved,
not just the expected outputs and outcomes of the proposed measures. The recipient agrees to report
out on each performance measures that will be the mechanism to track, measure, and report progress
toward achieving the expected outputs and outcomes for each GHG reduction measure. The recipient
agrees to track and report separately on the work conducted and GHG emissions reductions for each
measure (program, policy, measure, or project) specified in the final, approved assistance agreement
work plan. Recipients also agree to track and report separately on the budgets for each measure.

In accordance with 2 CFR 200.329, the recipient agrees to submit semi-annual, one-year, and final
performance progress reports that include brief information on each of the areas specified below. To
ensure the EPA can effectively monitor progress towards the achievement of measures, the recipient
also agrees to report progress for each measure identified in the final, approved assistance agreement
work plan as soon as work is completed and information is available.

a. Semi-Annual: The recipient agrees to submit semi-annual performance reports that include brief
information on each of the following areas:

(1) a comparison of actual technical progress and milestones achieved during the reporting period to the
outputs/outcomes and performance measures established in the final, approved assistance agreement
work plan, which may include technical changes made to the project, public events conducted, websites
published, release of public-facing documents or tools, or other reportable activities described in the work
plan;

(2) a consolidated budget update with separate tracking for each measure (that is, how much was spent
on equipment, supplies, contractors, subgrants, etc., during the reporting period and cumulatively) and,
when appropriate, additional pertinent information such as analysis and explanation of cost overruns,
high-unit costs, cost-share expenditures, program income, infrastructure costs subject to Buy America,
Build America (BABA) compliance, or requested budget modifications (for example, when the recipient is
requesting to move funding from one budget category to another);

(3) if necessary, a description of the reasons why any implementation timeline milestones or
outputs/outcomes were missed for each measure established in the final, approved assistance
agreement work plan, including the recipient's strategy to address challenges faced and/or the recipient's
approach to ensure that the approved outputs/outcomes for each measure will be achieved within the
period of performance;
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(4) documentation of community engagement activities conducted in low-income and disadvantaged
communities for each measure, which describes how the activities were publicized, categorizes
respondents/attendees (e.g., the number of people from Tribal governments, federal government, state
government, local government, nonprofits, for profits, universities, and the public), explains how input
from participants was considered in decisions for implementing the measure, and details how meaningful
engagement with low-income and disadvantaged communities will be continuously included in the
development and implementation of the measure;

(5) as applicable, strategies for mitigating environmental risks;

(6) a description of any climate resiliency planning, siting, design, and operation of the project.

(7) as applicable, updates to individuals, including those from coalition members, who serve as key
contacts and/or any changes to the roles and responsibilities of key contacts involved in each measure
and the reason(s) for the change(s);

(8) as applicable, updates regarding which organizations have the authority to implement each measure
and the reason(s) for the change(s);

(9) as applicable, updates regarding changes to contracts, subgrants, and participant support costs;

(10) as applicable, progress on generating high-quality jobs with a diverse, highly skilled workforce and
support of strong labor standards; and

(11) summary of anticipated activities for the next 6-month reporting period.

b. One-year report: As part of the second semi-annual progress report (i.e. the more detailed one-year
report), the recipient agrees to report the additional data to the EPA. The reporting template will be made
available to grant recipients through an electronic data interface to be specified by EPA upon approval of
the Information Collection Request. This includes co-pollutant emissions reductions of each pollutant
impacted by each measure, the sector impacted, and the county in which the emissions change. In
addition, the recipient agrees to report the Climate and Economic Justice Screening Tool (CEJST)
Census tract IDs or the EPA's EJScreen Census block group IDs for areas affected by GHG reduction
measures, consistent with the EPA's definition of low-income and disadvantaged communities for the
CPRG program.

c. Final Report: The recipient also agrees to submit a detailed final report and to report certain data
associated with the final report to the EPA. The reporting template will be made available to grant
recipients through an electronic data interface to be specified by EPA upon approval of the Information
Collection Request.

d. Subaward Performance Reporting

Subawards establish a financial assistance relationship under which the subrecipient's employees and
contractors implement programs and projects to accomplish the goals and objectives of the grant.
Subrecipients (which includes Coalition members) are subject to the same federal requirements as the
pass-through entity. (For more details, see General Terms and Conditions 8. Establishing and Managing
Subawards, applicable provisions of 2 CFR Part 200, the EPA's Subaward Policy). The recipient must
report on its subaward monitoring activities under 2 CFR 200.332(d). Examples of items that must be
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reported if the pass-through entity has the information available are:

(1) Summaries of results of reviews of financial and programmatic reports.

(2) Summaries of findings from site visits and/or desk reviews to ensure effective subrecipient
performance.

(3) Environmental results the subrecipient achieved.

(4) Summaries of audit findings and related pass-through entity management decisions.

(5) Actions the pass-through entity has taken to correct deficiencies such as those specified at 2 CFR
200.332(e), 2 CFR 200.208 and the 2 CFR Part 200.339 Remedies for Noncompliance.

2. Performance Reports - Frequency

The recipient agrees to submit semi-annual performance reports electronically to the EPA Project Officer
within 30 days after the six-month reporting period ends. Semi-annual reports are due according to the
following schedule. If a due date falls on a weekend or holiday, the report will be due on the next
business day. If a project start date falls within a defined reporting period, the recipient must report for
that period by the given due date unless otherwise noted. This semi-annual reporting schedule shall be
repeated for the duration of the award agreement.

       October 1 – March 31 Reporting Period: report due April 30

       April 1 – September 30 Reporting Period: report due October 30

As part of the second semi-annual performance report that is submitted one year after the grant award,
the recipient agrees to submit the one-year performance report that includes the additional details
specified above in section C.1.b.

The recipient must submit the final performance report no later than 120 calendar days after the end date
of the period of performance.

D. Allowable and Unallowable Activities

The recipient agrees to only use this CPRG Implementation grant award funding to implement measures
in the EPA approved workplan for this CPRG Implementation grant and follow the grant Terms and
Conditions.

All costs charged to the award to support these activities must meet the requirements for allowability
under 2 CFR Part 200, Subpart E as well as applicable provisions of 2 CFR Part 1500. In addition, the
recipient agrees to obtain prior approval from the EPA Award Official prior to the expenditure of the
award for financial assistance as well as other activities that involve acquiring real property, including
related equipment purchases, if not already in the EPA approved work plan.

The recipient agrees to not use the award for the following unallowable activities: (a) activities that are
not in the EPA approved work plan; (b) costs of acquiring “intangible property,” as defined in 2 CFR
200.1; (c) activities that support measures, activities or projects outside the boundaries of the ten EPA
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regions. The recipient also agrees not to use this CPRG award to replace existing program federal
funding, but the recipient may use CPRG funds to supplement or expand existing programs. The
recipient also agrees not to use the award for activities associated with defending against, settling, or
satisfying a claim by a private litigant, except when either (a) the claim stems from the recipient's
compliance with the terms and conditions of the award agreement or (b) the recipient has obtained prior
written approval from the EPA Project Officer.

The recipient agrees to not use the award to aid regulated entities to comply with EPA regulatory
requirements.

E. Davis-Bacon Related Act Term and Condition

1. Program Applicability

a. Climate Pollution Reduction Implementation Grants.

b. Section 314 of the Clean Air Act.

c. Construction activities conducted under a Climate Pollution Reduction Implementation Grant.

d. The recipient must work with the appropriate authorities to determine wage classifications for the
specific project(s) or activities subject to Davis Bacon under this grant.

2. Davis-Bacon and Related Acts

Davis-Bacon and Related Acts (DBRA) (https://www.dol.gov/agencies/whd/government-
contracts/construction) is a collection of labor standards provisions administered by the Department of
Labor, that are applicable to grants involving construction. These labor standards include the:

a. Davis-Bacon Act, which requires payment of prevailing wage rates for laborers and mechanics on
construction contracts of $2,000 or more;

b. Copeland “Anti-Kickback” Act, which prohibits a contractor or subcontractor from inducing an
employee into giving up any part of the compensation to which he or she is entitled; and

c. Contract Work Hours and Safety Standards Act, which requires overtime wages to be paid for over 40
hours of work per week, under contracts in excess of $100,000.

3. Recipient Responsibilities When Entering Into and Managing Contracts

a. Solicitation and Contract Requirements:

       (1) Include the Correct Wage Determinations in Bid Solicitations and Contracts: Recipients are
       responsible for complying with the procedures provided in 29 CFR 1.6 when soliciting bids and
       awarding contracts.

       (2) Include DBRA Requirements in All Contracts: Include the following text on all contracts under
       this grant:
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       “By accepting this contract, the contractor acknowledges and agrees to the terms provided in the
       DBRA Requirements for Contractors and Subcontractors Under EPA Grants (https://www.epa.
       gov/grants/contract-provisions-davis-bacon-and-related-acts).”

b. After Award of Contract:

       (1) Approve and Submit Requests for Additional Wages Rates: Work with contractors to request
       additional wage rates if required for contracts under this grant, as provided in 29 CFR 5.5(a)(1)
       (iii).

       (2) Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure
       contractor compliance with the terms of the contract, as required by 29 CFR 5.6.

4. Recipient Responsibilities When Establishing and Managing Additional Subawards

a. Include DBRA Requirements in All Subawards (including Loans): Include the following text on all
subawards under this grant:

       “By accepting this award, the EPA subrecipient acknowledges and agrees to the terms and
       conditions provided in the DBRA Requirements for EPA Subrecipients (https://www.epa.
       gov/grants/contract-provisions-davis-bacon-and-related-acts).”

b. Provide Oversight to Ensure Compliance with DBRA Provisions: Recipients are responsible for
oversight of subrecipients and must ensure subrecipients comply with the requirements in 29 CFR 5.6.

5. Consideration as Part of Every Prime Contract Covered by DBRA

The contract clauses set forth in this Term & Condition, along with the correct wage determinations, will
be considered to be a part of every prime contract covered by Davis-Bacon and Related Acts (see 29
CFR 5.1), and will be effective by operation of law, whether or not they are included or incorporated by
reference into such contract, unless the Department of Labor grants a variance, tolerance, or exemption.
Where the clauses and applicable wage determinations are effective by operation of law under this
paragraph, the prime contractor must be compensated for any resulting increase in wages in accordance
with applicable law.

F. Cybersecurity Condition

1. State Grant Cybersecurity

a. The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

b. (1) The EPA must ensure that any connections between the recipient's network or information system
and EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.
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If the recipient's connections as defined above do not go through the Environmental Information
Exchange Network or the EPA's Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to ensure
that the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by the EPA's regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient
to comply with the requirements in (b)(1) if the subrecipient's network or information system is connected
to EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or the EPA's Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring
deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA
Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the subrecipient and the EPA.

G. Climate Resilience:

To the extent practicable, the recipient agrees to incorporate current and future climate change risk in
planning, siting, design, and operation of the project. Approaches for incorporating climate change risk
may make use of climate change data and information (e.g., projections and emission scenarios) that are
reflective of the project's anticipated lifespan. This includes consideration of the climate change risks
posed to the individuals, communities, local governments, organizations, or other entities served by the
project over its anticipated lifespan.

H. Subawards

Refer to the General Terms and Condition, 8. “Establishing and Managing Subawards” and EPA
Subaward Policy webpage (https://www.epa.gov/grants/grants-policy-issuance-gpi-16-01-epa-subaward-
policy-epa-assistance-agreement-recipients) for access to additional information, including a subaward
agreement template found in Appendix D.

The recipient must include the Build America, Buy America terms in any subawards, request for
proposals, or solicitations for bids, and in all contracts.

I. Equipment Disposition for Recipients

State agencies may dispose of equipment acquired under a Federal award by the state in accordance
with state laws and procedures.

1. Procurement of Systems, Equipment and Devices

When purchasing replacement systems, equipment and/or devices, the recipient agrees the replacement
systems, equipment or device:

a. will continue to perform a similar function and operation as the system, equipment or device that is
being permanently rendered inoperable;
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b. will achieve the estimated emission reductions included in the EPA-approved work plan; and

c. is consistent in its intended use, operation and location as described in the EPA-approved work plan.

The procurement of systems, equipment or devices should follow the EPA's Best Practice Guide for
Procuring Services, Supplies, and Equipment Under EPA Assistance Agreements (https://www.epa.
gov/grants/best-practice-guide-procuring-services-supplies-and-equipment-under-epa-assistance).

2. Operation and Maintenance

The recipient will assure the continued proper operation and maintenance of systems, equipment and
devices funded under this agreement. Such practices shall be operated and maintained for the expected
lifespan of the specific measure and in accordance with commonly accepted design standards and
specifications. The recipient shall include a provision in every applicable sub-agreement (subaward or
contract) awarded under this grant requiring that the management practices for the project be properly
operated and maintained. Likewise, the sub-agreement will assure that similar provisions are included in
any sub-agreements that are awarded by the sub-recipient.

3. Equipment Use and Management

Equipment is defined as tangible personal property having a useful life of more than one year and a per-
unit acquisition cost which equals or exceeds the lesser of the capitalization level established by the non-
Federal entity for financial statement purposes (see Capital assets at 2 CFR 200.1 Definitions), or the
amount specified in Equipment at 2 CFR 200.1. Under 2 CFR 200.313, if the CPRG grant recipient
purchases equipment with CPRG federally-awarded funds, title to the equipment vests in the grant
recipient and there will be no ongoing requirements for the grant recipient for the purchased equipment
after the end of the grant period.

These conditions must be met by the grant recipient for equipment use and management during the
grant period:

a. Use the equipment for the authorized purposes of the project during the period of performance or until
the property is no longer needed for the purposes of the project.

b. Not encumber the property without approval of the Federal awarding agency or pass-through entity.

c. Use and dispose of the property as described below. Equipment use and management instructions are
applicable to assistance agreement recipients and subrecipients acquiring equipment under this award.
Per 2 CFR 200.313(b), state agencies may use and manage equipment acquired through a Federal
award by the state in accordance with state laws and procedures. Per 2 CFR 200.313(b), Indian Tribes
must use, manage, and dispose of equipment acquired under a Federal award in accordance with tribal
laws and procedures.

Recipient agrees that at the end of the project period the recipient will continue to use the equipment
purchased under this assistance agreement in the project or program for which it was acquired as long
as needed, whether or not the project or program continues to be supported by the Federal award. After
the end of the grant period, equipment purchased under this award that is no longer needed, may be
retained, sold, or otherwise disposed of with no further obligation to the Federal awarding agency.
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Consistent with 2 CFR 200.313, unless instructed otherwise, a grant recipient may keep the equipment
and continue to use it on the project originally funded through this assistance agreement or on other
federally funded projects whether or not the project or program continues to be supported by Federal
funds. When acquiring replacement equipment, the non-Federal entity may use the equipment to be
replaced as a trade-in or sell the property and use the proceeds to offset the cost of the replacement
property.

Subrecipients are subject to the same federal requirements as the grant recipient (also known as the
“pass-through entity”) and they must comply with applicable subaward provisions of 2 CFR Part 200, the
EPA Subaward Policy, and the EPA's General Term and Condition for Subawards.

Under 2 CFR 200.313, if the CPRG grant recipient purchases equipment with CPRG federally-awarded
funds, title to the equipment vests with the grant recipient and there will be no ongoing requirements for
the grant recipient for the purchased equipment after the end of the grant period.

In this case, equipment includes systems, equipment and devices.

J. QUALITY ASSURANCE

Authority: Quality Assurance applies to all assistance agreements involving environmental information as
defined in 2 C.F.R. § 1500.12 Quality Assurance.

The recipient shall ensure that subawards involving environmental information issued under this
agreement include appropriate quality requirements for the work. The recipient shall ensure sub-award
recipients develop and implement the Quality Assurance (QA) planning documents in accordance with
this term and condition; and/or ensure sub-award recipients implement all applicable approved QA
planning documents.

1. Quality Management Plan (QMP)

a. Prior to beginning environmental information operations, the recipient must:

i. Submit a previously EPA-approved and current QMP,

ii. The EPA Quality Assurance Manager or designee (hereafter referred to as QAM) will notify the
recipient and EPA Project Officer (PO) in writing if the QMP is acceptable for this agreement.

b. The recipient must submit the QMP no more than 120 days after grant award.

c. The recipient must review their approved QMP at least annually. These documented reviews shall be
made available to the sponsoring EPA organization if requested. When necessary, the recipient shall
revise its QMP to incorporate minor changes and notify the EPA PO and QAM of the changes. If
significant changes have been made to the Quality Program that affect the performance of environmental
information operations, it may be necessary to re-submit the entire QMP for re-approval. In general, a
copy of any QMP revision(s) made during the year should be submitted to the EPA PO and QAM in
writing when such changes occur. Conditions requiring the revision and resubmittal of an approved QMP
can be found in section 6 of EPA's Quality Management Plan (QMP) Standard.

2. Quality Assurance Project Plan (QAPP)
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a. Prior to beginning environmental information operations, the recipient must:

i. Develop a QAPP,

ii. Prepare QAPP in accordance with the current version of EPA's Quality Assurance Project Plan
(QAPP) Standard,

iii. Submit the document for EPA review, and

iv. Obtain EPA Quality Assurance Manager or designee (hereafter referred to as QAM) approval.

b. The recipient must submit a QAPP to the EPA Project Officer for implementation projects identified by
the Program Office at least 90 days prior to the initiation of data collection or data compilation activities.

c. The recipient shall notify the PO and QAM when substantive changes are needed to the QAPP. EPA
may require the QAPP be updated and re-submitted for approval.

d. The recipient must review their approved QAPP at least annually. The results of the QAPP review and
any revisions must be submitted to the PO and the QAM at least annually and may also be submitted
when changes occur

For Reference:

• Quality Management Plan (QMP) Standard and EPA's Quality Assurance Project Plan (QAPP)
Standard; contain quality specifications for EPA and non-EPA organizations and definitions applicable to
these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans.

• EPA's Quality Program website has a list of QA managers, and Specifications for EPA and Non-EPA
Organizations.

• The Office of Grants and Debarment Implementation of Quality Assurance Requirements for
Organizations Receiving EPA Financial Assistance.

K. Retention / Required Documentation

In accordance with 2 CFR 200.334, the recipient must retain all Federal award records, including but not
limited to, financial records, supporting documents, and statistical records for at least three years from
the date of submission of the final financial report. The records must be retained until all litigation, claims,
or audit findings have been resolved and final action has been taken if any litigation, claim, or audit is
started before the expiration of the three-year period. Examples of the required records include: (1) time
and attendance records and supporting documentation; and (2) documentation of compliance with
statutes and regulations that apply to the project.

In accordance with 2 CFR 200.337, the EPA, the Inspector General, the Comptroller General, and the
pass-through entity, or any of their authorized representatives, have the right of access to any
documents, papers or records of the recipient which are pertinent to the grant award. The rights of
access are not limited to the required retention period, but last as long as the records are retained.
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If the demonstration projects or activities, device and/or the device components are to be sold, the
recipient must comply with the program income requirements (see the Program Income section below).

L. Program Audit

The EPA will conduct random reviews of recipients to protect against waste, fraud, and abuse. As part of
this process, the EPA, or its authorized representatives may request documentation from current
recipients to verify statements made on the application and reporting documents. Recipients may be
selected for advanced monitoring, including a potential site visit to confirm project details. The EPA, or its
authorized representatives, may also conduct site visits to confirm documentation is on hand and that the
project is completed as agreed upon, as well as confirm applicable infrastructure adheres to Build
America, Buy America (BABA) requirements. Recipients are expected to comply with site visit requests
and recordkeeping requirements and must supply the EPA with any requested documents for three years
from the date of submission of the final expenditure report, or risk cancellation of an active grant
application or other enforcement action.

M. Use of Submitted Information

Applications and reporting materials submitted under this competition may be released in part or in whole
in response to a Freedom of Information Act (FOIA) request. The EPA recommends that applications and
reporting materials not include trade secrets or commercial or financial information that is confidential or
privileged, or sensitive information that, if disclosed, would invade another individual's personal privacy
(e.g., an individual's salary, personal email addresses, etc.). However, if such information is included, it
will be treated in accordance with 40 CFR 2.203. (Review EPA clause IV.a, Confidential Business
Information, under EPA Solicitation Clauses (https://www.epa.gov/grants/epa-solicitation-clauses)).

The EPA may make publicly available on the EPA's website or another public website copies or portions
of CPRG grant project information.

The EPA reserves a royalty-free, nonexclusive and irrevocable right to reproduce, publish, or otherwise
use, and to authorize others to use, for federal purposes, submitted project photos, including use in
program materials.

N. Program Income

In accordance with 2 CFR Part 200.307(b) and 2 CFR 1500.8(b), the recipient is hereby authorized to
retain program income earned during the project period.

The program income shall be used in one of the following ways:

1. Added to funds committed to the project by the EPA and used for the purposes and under the
conditions of the assistance agreement.

program income earned during the award period must be submitted with the Federal Financial Report,
Standard Form 425.

In accordance with 2 CFR 200.307(b) costs incidental to the generation of program income may be
deducted from gross income to determine program income, provided these costs have not been charged
to the EPA award. The recipient must retain adequate accounting records to document that any costs
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deducted from program income comply with regulatory requirements.

O. Participant Support Costs

Participant support costs include rebates, subsidies, stipends, or other payments to program
beneficiaries. Participant support costs are not subawards as defined by 2 CFR §200.1 and should not
be treated as such. Program beneficiaries may be individual owner/operators or private or public fleet
owners, however program beneficiaries cannot be employees, contractors or subrecipients of the grant
recipient. The recipient may provide financial assistance and project-deployment technical assistance to
enable low-income and disadvantaged communities to deploy and benefit from eligible zero emissions
technologies in the form of participant support costs.

The recipient agrees to the following eligibility, restrictions, timelines, and other programmatic
requirements on participant support costs:

1. Participant support costs must be reasonable, incurred within the project period and otherwise
allocable to the EPA assistance agreement. Participant support costs for rebates must be supported by
guidelines issued by the recipient and approved by the EPA's Award Official or Grants Management
Officer, defining the rules, restrictions, timelines, programmatic requirements, reporting and transaction
documentation requirements, eligibility, and funding levels that rebate beneficiaries must follow.

2. Recipient must abide by EPA Participant Support Cost regulation(s) and guidelines including but not
limited to “Interim EPA Guidance on Participant Support Costs” (https://www.epa.gov/grants/rain-2018-
g05-r1). “The EPA Guidance on Participant Support Costs” specifies requirements for rebate program
approval by Authorized EPA Officials.

3. Recipient must enter into a written agreement with the program beneficiary that receives participant
support costs. Such agreement should not be structured as a subaward agreement, and the
administrative grant regulations under 2 CFR Part 200 and 2 CFR Part 1500, as well as the EPA's
general terms and conditions do not flow down to program beneficiaries receiving participant support
costs. Such written agreement is also required if a subrecipient or contractor intends to issue participant
support costs to a program beneficiary. The written agreement must:

       a. describe the activities that will be supported by rebates, stipends, subsidies or other payments;

       b. specify the amount of the rebate, subsidy, stipend, or other payment;

       c. identify which party will have title to equipment (if any) purchased with a rebate or subsidy or
       other payment;

       d. specify any reporting required by the program beneficiary and the length of time for such
       reporting;

       e. establish source documentation requirements (e.g., invoices) for accounting records; and

       f. describe purchasing controls to ensure that the amount of the participant support cost is
       determined in a commercially reasonable manner as required by 2 CFR 200.404.

4. Recipient must obtain prior written approval from the EPA's Award Official if recipient wants to transfer
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funds budgeted for participant support costs to other budget categories. If the recipient's request would
result in undermining the integrity of the competition this grant or cooperative agreement was awarded
under, the EPA will not approve the request.

Rebates, subsidies, and similar one-time, lump-sum payments to program beneficiaries for the purchase
of eligible emissions control technologies and vehicle replacements are eligible participant support costs
under this award when the program participant rather than the recipient owns the equipment, per 2 CFR
1500.1(a)(1). Engine replacements, marine and locomotive shorepower projects, and most electrified
parking space technology projects are not eligible as participant support costs. Rebates can only fund a
participating fleet owner's equipment purchase and installation costs (i.e. parts and labor, including costs
incurred to scrap the existing vehicle); if a participating fleet owner requires funding for project
administration, travel, extensive design/engineering, construction, etc., in order to carry out the project a
subaward is the more appropriate option. Questions regarding the use of rebates under this award
should be directed to the EPA Project Officer. Rebates are not considered subawards/subgrants as
defined in 2 CFR Part 200 and should not be treated as such under this award.

P. SIGNAGE REQUIREMENTS

1. Investing in America Emblem

The recipient will ensure that a sign is placed at construction sites supported in whole or in part by this
award displaying the official Investing in America emblem and must identify the project as a “project
funded by President Biden's Inflation Reduction Act” as applicable. The sign must be placed at
construction sites in an easily visible location that can be directly linked to the work taking place and
must be maintained in good condition throughout the construction period.

The recipient will ensure compliance with the guidelines and design specifications provided by the EPA
for using the official Investing in America emblem available at: https://www.epa.gov/invest/investing-
america-signage

2. Procuring Signs

Consistent with section 6002 of RCRA, 42 U.S.C. 6962, and 2 CFR 200.323, recipients are encouraged
to use recycled or recovered materials when procuring signs. Signage costs are considered an allowable
cost under this assistance agreement provided that the costs associated with signage are reasonable.
Additionally, to increase public awareness of projects serving communities where English is not the
predominant language, recipients are encouraged to translate the language on signs (excluding the
official Investing in America emblem or the EPA logo or seal) into the appropriate non-English language
(s). The costs of such translation are allowable, provided the costs are reasonable.

Q. USE OF LOGOS

If the EPA logo is appearing along with logos from other participating entities on websites, outreach
materials, or reports, it must not be prominently displayed to imply that any of the recipient or
subrecipient's activities are being conducted by the EPA. Instead, the EPA logo should be accompanied
with a statement indicating that the Illinois Environmental Protection Agency received financial support
from the EPA under an Assistance Agreement. More information is available at: https://www.epa.
gov/stylebook/using-epa-seal-and-logo#policy
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R. Public or Media Events

The EPA encourages the recipient to notify the EPA Project Officer listed in this award document of
public or media events publicizing the accomplishment of significant events related to construction
projects as a result of this agreement and provide the opportunity for attendance and participation by
federal representatives with at least ten (10) working days' notice.

S. Competency of Organizations Generating Environmental Measurement Data

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements,

Recipient agrees, by entering into this agreement, that it has demonstrated competency prior to award,
or alternatively, where a pre-award demonstration of competency is not practicable, Recipient agrees to
demonstrate competency prior to carrying out any activities under the award involving the generation or
use of environmental data. Recipient shall maintain competency for the duration of the project period of
this agreement and this will be documented during the annual reporting process. A copy of the Policy is
available online at https://www.epa.gov/sites/production/files/2015-03/documents/competency-policy-
aaia-new.pdf or a copy may also be requested by contacting the EPA Project Officer for this award.

T. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at https://www.fgdc.gov/.

U. Health and Safety Plan

Before beginning field work, the recipient must have a health and safety plan in place providing for the
protection of on-site personnel and area residents, unless specifically waived by the award official. This
plan need not be submitted to the EPA but must be made available to the EPA upon request. The
recipient's health and safety plan must comply with Occupational Safety and Health Administration
(OSHA) 29 CFR 1910.120, entitled “Hazardous Waste Operations and Emergency Response.”

V. Foreign Entity of Concern

The recipient agrees to not directly transfer EPA funds through a subaward, contract, or participant
support costs to a foreign entity of concern (FEOC). The EPA considers FEOCs to include foreign
entities that are owned by, controlled by, or subject to the jurisdiction or direction of a government of a
foreign country that is a covered nation as defined by Congress in Section 40207 of the Infrastructure
Investment and Jobs Act. The EPA uses the proposed interpretive rule from the U.S. Department of
Energy (DOE) to provide additional guidance in determining FEOCs. See 88 Fed. Reg. 84,082 (Dec. 4,
2023). If DOE finalizes an interpretive rule that differs in material respects from the proposal, the EPA
may amend the award agreement accordingly.

Additionally, the recipient agrees to develop and implement internal controls that ensure EPA funds are
not directly transferred to FEOCs, including through subawards, contractors, and participant support
costs.
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W. Historic Preservation

National Historic Preservation Act (NHPA)

Section 106 of the NHPA requires all federal agencies to consider the effects of their undertakings,
including the act of awarding a grant or cooperative agreement, on historic properties, and to provide the
Advisory Council on Historic Preservation (ACHP) a reasonable opportunity to comment on such
undertakings. The recipient must assist the EPA Project Officer in complying with NHPA if any activities
funded under this grant impact a historic property. Historic properties include: (a) land or buildings listed
in or eligible for listing on the National Register of Historic Places; (b) archaeologically sensitive areas or
in an area where traditional cultural properties are located; and (c) properties that are associated with
significant historic events, are associated with significant people, embody distinctive characteristics, and
contain important precontact information.

The recipient should work with their Project Officer to ensure that subrecipients are available to work with
EPA on any required consultation process with the State or Tribal Historic Preservation Office prior to
commencing the project to ensure compliance with Section 106 of the NHPA.

If NHPA compliance is required, necessary Section 106 consultation activities, such as historic or
architectural surveys, structural engineering analysis of buildings, public meetings, and archival
photographs, can be considered allowable and allocable grant costs.

Archeological and Historic Preservation Act (AHPA)

This law applies if archeologically significant artifacts or similar items are discovered after an EPA-funded
construction project has begun, and compliance may be coordinated with the NHPA, discussed above.
The AHPA requires federal agencies to identify relics, specimens, and other forms of scientific,
prehistorical, historical, or archaeologic data that may be lost during the construction of federally-
sponsored projects to ensure that these resources are not inadvertently transferred, sold, demolished or
substantially altered, or allowed to deteriorate significantly. The recipient must ensure that subrecipients
performing construction projects are aware of this requirement, and the recipient must notify EPA if the
AHPA is triggered.

X. Other Federal Requirements

In addition to the statutes outlined in the Labor and Equitable Workforce Programmatic Term and
Condition, Build America, Buy America Programmatic Act Term and Condition, Historic Preservation
Programmatic Term and Condition, the recipient must comply with all federal cross-cutting requirements.
These requirements include, but are not limited to:

• Endangered Species Act, as specified in 50 CFR Part 402: Non-Federal entities must identify any
impact or activities that may involve a threatened or endangered species. Federal agencies have the
responsibility to ensure that no adverse effects to a protected species or habitat occur from actions under
Federal assistance awards and conduct the reviews required under the Endangered Species Act, as
applicable.

• Federal Funding Accountability and Transparency Act: Recipients of financial assistance awards must
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comply with the requirements outlined in 2 CFR Part 170, Reporting Subaward and Executive
Compensation and in the General Term and Condition “Reporting Subawards and Executive
Compensation.”

• Farmland Protection Policy Act: This statute requires EPA to use criteria developed by the Natural
Resources Conservation Service (NRCS) to identify the potential adverse effects of Federal programs on
farmland and its conversion to nonagricultural uses, to mitigate these effects, and to ensure that
programs are carried out in a manner that is compatible with the farmland preservation policies of state
and local governments, and private organizations. Recipients may need to work with EPA or NRCS, as
appropriate, to ensure compliance.

• Coastal Zone Management Act: Projects funded under federal financial assistance agreements must be
consistent with a coastal State's approved management program

for the coastal zone.



For additional information on cross-cutting requirements visit https://www.epa.gov/grants/epa-subaward-
cross-cutter-requirements.
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                                                       EPA Funding Information
              FUNDS                                    FORMER AWARD                             THIS ACTION                          AMENDED TOTAL
EPA Amount This Action                                                  $0                        $ 1,110,081                              $ 1,110,081
EPA In-Kind Amount                                                      $0                                   $0                                     $0
Unexpended Prior Year Balance                                           $0                                   $0                                     $0
Other Federal Funds                                                     $0                                   $0                                     $0
Recipient Contribution                                                  $0                                   $0                                     $0
State Contribution                                                      $0                                   $0                                     $0
Local Contribution                                                      $0                                   $0                                     $0
Other Contribution                                                      $0                                   $0                                     $0
Allowable Project Cost                                                  $0                        $ 1,110,081                              $ 1,110,081



Assistance Program (CFDA)                        Statutory Authority                               Regulatory Authority
66.034 - Surveys-Studies-Investigations-         Inflation Reduction Act: Sec. 60105b              2 CFR 200, 2 CFR 1500 and 40 CFR 33
Demonstrations and Special Purpose Activities
relating to the Clean Air Act                    Clean Air Act: Sec. 103




                                                                         Fiscal
                                                         Approp.         Budget                 Object                       Cost         Obligation /
          Site Name                 Req No       FY                                     PRC              Site/Project
                                                          Code         Organization             Class                     Organization    Deobligation
-                                2405LBX015     2231    E1SFX          05L1           000AMTXM2 4183     -                -                $ 1,110,081
                                                                                                                                           $ 1,110,081
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Budget Summary Page
                                        Table A - Object Class Category                             Total Approved Allowable
                                              (Non-Construction)                                       Budget Period Cost
 1. Personnel                                                                                                                    $0
 2. Fringe Benefits                                                                                                               $0
 3. Travel                                                                                                                        $0
 4. Equipment                                                                                                            $ 1,195,000
 5. Supplies                                                                                                                      $0
 6. Contractual                                                                                                                   $0
 7. Construction                                                                                                                  $0
 8. Other                                                                                                                         $0
 9. Total Direct Charges                                                                                                 $ 1,195,000
 10. Indirect Costs: 0.00 % Base Not Applicable                                                                                   $0
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                                $ 1,195,000
 12. Total Approved Assistance Amount                                                                                    $ 1,195,000
 13. Program Income                                                                                                               $0
 14. Total EPA Amount Awarded This Action                                                                                $ 1,110,081
 15. Total EPA Amount Awarded To Date                                                                                    $ 1,110,081
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                                    Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available
at: https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2023-or-
later.

These terms and conditions are in addition to the assurances and certifications made as a part of
the award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.
epa.gov/grants/grant-terms-and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be
sent to the following email addresses:

       • Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and kozak.kendra@epa.gov

       • MBE/WBE reports (EPA Form 5700-52A): region5closeouts@epa.gov and kozak.
       kendra@epa.gov

       • All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for
       Extensions of the Budget and Project Period, Amendment Requests, Requests for other
       Prior Approvals, updates to recipient information (including email addresses, changes in
       contact information or changes in authorized representatives) and other
       notifications: holscher.lisa@epa.gov and kozak.kendra@epa.gov

       • Quality Assurance documents, workplan revisions, equipment lists, programmatic
       reports and deliverables: holscher.lisa@epa.gov

B. Contingent Funding

EPA is funding this agreement incrementally. There is no guarantee of funding beyond the first
year. The Total Approved Assistance Amount identified on Line 12 of the budget table of this
award is contingent upon the availability of appropriated funds, EPA funding priorities, and
satisfactory progress in carrying out the activities described in the scope of work. If EPA informs
the recipient that the amount on Line 12 will be reduced, the recipient agrees to provide an
updated workplan and budget information, as needed, to amend the agreement.

C. Pre-Award Costs

In accordance with 2 CFR 1500.9, the recipient may charge otherwise allowable pre-award costs
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(both Federal and non-Federal matching shares) incurred from June 1, 2024 to the actual award
date provided that such costs were contained in the approved application and all costs are
incurred within the approved budget period
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                                    Programmatic Conditions
A. PERFORMANCE REPORTING AND FINAL PERFORMANCE REPORT

Performance Reports – Content

In accordance with 2 CFR 200.329, the recipient agrees to submit performance reports that
include brief information on each of the following areas: 1) A comparison of actual
accomplishments to the outputs/outcomes established in the assistance agreement work plan for
the period; 2) The reasons why established outputs/outcomes were not met; and 3) Additional
pertinent information, including, when appropriate, analysis and explanation of cost overruns or
high-unit costs.

Additionally, the recipient agrees to inform EPA as soon as problems, delays, or adverse
conditions which will materially impair the ability to meet the outputs/outcomes specified in the
assistance agreement work plan are known.

Interim performance and final progress reports must prominently display the three Essential
Elements for state work plans: 1) Strategic Plan Goal; (2) Strategic Plan Objective; and (3)
Workplan Commitments plus time frame.

(See Grants Policy Issuance 11-03 State Grant Workplans and Progress Reports for more
information)

Performance Reports - Frequency

The recipient agrees to submit semi-annual performance reports electronically to the EPA
Project Officer within 30 days after the semi-annual reporting period ends November 30 and May
31. The recipient must submit the final performance report no later than 120 calendar days after
the end date of the period of performance.

1. Semi-annual performance reports are required; they are to be submitted electronically to the
EPA Project Officer within 30 days after the reporting period (every six-month period). The
reporting periods are:

June 1 – November 30 (report due December 30)

December 1 – May 31 (report due June 30)

B. State Grant Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this
assistance agreement, it will protect the data by following all applicable State law cybersecurity
requirements.

(b) (1) EPA must ensure that any connections between the recipient's network or information
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system and EPA networks used by the recipient to transfer data under this agreement, are
secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between
an Agency IT system and an external IT system for the purpose of transferring information.
Transitory, user-controlled connections such as website browsing are excluded from this
definition.

If the recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the recipient agrees to contact the EPA
Project Officer (PO) and work with the designated Regional/Headquarters Information Security
Officer to ensure that the connections meet EPA security requirements, including entering into
Interconnection Service Agreements as appropriate. This condition does not apply to manual
entry of data by the recipient into systems operated and used by EPA's regulatory programs for
the submission of reporting and/or compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the
subrecipient to comply with the requirements in (b)(1) if the subrecipient's network or information
system is connected to EPA networks to transfer data to the Agency using systems other than
the Environmental Information Exchange Network or EPA's Central Data Exchange. The
recipient will be in compliance with this condition: by including this requirement in subaward
agreements; and during subrecipient monitoring deemed necessary by the recipient under 2
CFR 200.332(d), by inquiring whether the subrecipient has contacted the EPA Project Officer.
Nothing in this condition requires the recipient to contact the EPA Project Officer on behalf of a
subrecipient or to be involved in the negotiation of an Interconnection Service Agreement
between the subrecipient and EPA.

C. Data Reporting

Data and/or related observations must be shared publicly and in a practicable amount of time
throughout the lifetime of the project and not only after the project is at or near completion.

D. Competency Policy

Competency of Organizations Generating Environmental Measurement Data

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the
Competency of Organizations Generating Environmental Measurement Data under Agency-
Funded Assistance Agreements, Recipient agrees, by entering into this agreement, that it has
demonstrated competency prior to award, or alternatively, where a pre-award demonstration of
competency is not practicable, Recipient agrees to demonstrate competency prior to carrying out
any activities under the award involving the generation or use of environmental data. Recipient
shall maintain competency for the duration of the project period of this agreement and this will be
documented during the annual reporting process. A copy of the Policy is available online at
https://www.epa.gov/sites/production/files/2015-03/documents/competency-policy-aaianew. pdf
or a copy may also be requested by contacting the EPA Project Officer for this award.
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                                                    EPA Funding Information
              FUNDS                                 FORMER AWARD                               THIS ACTION                          AMENDED TOTAL
EPA Amount This Action                                               $0                          $ 2,997,998                              $ 2,997,998
EPA In-Kind Amount                                                   $0                                     $0                                     $0
Unexpended Prior Year Balance                                        $0                                     $0                                     $0
Other Federal Funds                                                  $0                                     $0                                     $0
Recipient Contribution                                               $0                                     $0                                     $0
State Contribution                                                   $0                                     $0                                     $0
Local Contribution                                                   $0                                     $0                                     $0
Other Contribution                                                   $0                                     $0                                     $0
Allowable Project Cost                                               $0                          $ 2,997,998                              $ 2,997,998



Assistance Program (CFDA)                     Statutory Authority                                 Regulatory Authority
66.051 - Clean Ports Program                  Clean Air Act: Sec. 133                             2 CFR 200, 2 CFR 1500 and 40 CFR 33
                                              Inflation Reduction Act: Sec. 60102




                                                                      Fiscal
                                                      Approp.         Budget                   Object                       Cost         Obligation /
          Site Name               Req No      FY                                     PRC                Site/Project
                                                       Code         Organization               Class                     Organization    Deobligation
-                               2505LBX002   2227    E4SF6          05L1           000AVFXY3   4166     -                -                $ 2,997,998
                                                                                                                                          $ 2,997,998
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Budget Summary Page
                                       Table A - Object Class Category                             Total Approved Allowable
                                             (Non-Construction)                                       Budget Period Cost
 1. Personnel                                                                                                                    $0
 2. Fringe Benefits                                                                                                              $0
 3. Travel                                                                                                                       $0
 4. Equipment                                                                                                                    $0
 5. Supplies                                                                                                                     $0
 6. Contractual                                                                                                                  $0
 7. Construction                                                                                                                 $0
 8. Other                                                                                                               $ 2,997,998
 9. Total Direct Charges                                                                                                $ 2,997,998
 10. Indirect Costs: 0.00 % Base N/A                                                                                             $0
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                               $ 2,997,998
 12. Total Approved Assistance Amount                                                                                   $ 2,997,998
 13. Program Income                                                                                                              $0
 14. Total EPA Amount Awarded This Action                                                                               $ 2,997,998
 15. Total EPA Amount Awarded To Date                                                                                   $ 2,997,998
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                                Attachment 1 - Project Description
The purpose of this award is to provide funding under the Inflation Reduction Act to the Illinois
Environmental Protection Agency. Specifically, IEPA, in partnership with CALSTART and regional port
commissions, will develop "Decarbonization and Climate Resiliency Plans" for seven rural and regional
ports in Illinois. This project aims to reduce transportation-related emissions, combat climate change,
support local economies, and improve quality of life for residents in underserved communities. The plans
will provide a roadmap for the Illinois Waterway Commission, Mid-America Intermodal Authority Port
District, and Upper Mississippi River International Port District to achieve net-zero emissions, while
addressing air quality concerns in 23 counties along 470 river miles.

The activities to be performed under this project include conducting a baseline greenhouse gas inventory
and developing a Carbon Inventory Model to track emissions and assess impacts of transitioning to zero-
emission operations, establishing emissions reduction goals and strategies (including analysis of
alternative fuels and electrification opportunities), coordinating stakeholder engagement, conducting a
resiliency assessment and developing mitigation plans to address climate vulnerabilities and improve
port operations’ resilience to future climate impacts, outlining workforce development strategies to
support green job growth and prepare the workforce for emerging technologies, and publishing
comprehensive Decarbonization and Climate Resiliency Plans that detail actionable steps for achieving
sustainability goals.

The anticipated deliverables include greenhouse gas inventories and a Carbon Inventory Model for each
port, emissions reduction strategies and electrification roadmaps for transitioning equipment, resiliency
and mitigation plans tailored to address climate risks for port operations, and publicly accessible
Decarbonization and Climate Resiliency Plans summarizing key activities and findings.

The expected outcomes include improved air quality and reduced transportation-related emissions
across all seven ports, increased community and stakeholder engagement, enhanced understanding of
steps required to transition to net-zero emissions, and a strengthened capacity to address climate
vulnerabilities and improve operational resilience.

The intended beneficiaries include IEPA, regional port authorities, local governments, port workforces,
and residents of the affected counties in Illinois.

CALSTART, a non-profit subaward, will manage all aspects of the project detailed within the work plan.
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                                     Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current Environmental Protection Agency (EPA) general terms
and conditions available at: https://www.epa.gov/system/files/documents/2024-
10/fy_2025_epa_general_terms_and_conditions_effective_october_1_2024_or_later.pdf

These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.epa.
gov/grants/grant-terms-and-conditions#general.



A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the
following email addresses:

       Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and Lena Dreves, Grant Specialist -
       dreves.lena@epa.gov

       MBE/WBE reports (EPA Form 5700-52A): Lena Dreves, Grant Specialist - dreves.lena@epa.gov

       All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for
       Extensions of the Budget and Project Period, Amendment Requests, Requests for other Prior
       Approvals, updates to recipient information (including email addresses, changes in contact
       information or changes in authorized representatives) and other notifications: Lena Dreves, Grant
       Specialist - dreves.lena@epa.gov and Carter Cranberg, Project Officer - cranberg.carter@epa.
       gov

       Payment requests (if applicable): Lena Dreves, Grant Specialist - dreves.lena@epa.
       gov and Carter Cranberg, Project Officer - cranberg.carter@epa.gov

       Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
       deliverables: Carter Cranberg, Project Officer - cranberg.carter@epa.gov
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                                      Programmatic Conditions
CLEAN PORTS CLIMATE AND AIR QUALITY PLANNING (CAQP) GRANTS PROGRAMMATIC
TERMS AND CONDITIONS

A. Final Approved Workplan and Modifications

1. Recipient agrees to carry out the project in accordance with the final approved workplan.

2. Recipients are required to report deviations from budget or project scope or objective, and must
request prior written approval from EPA:

       a. for any change in the scope or objective of the project or program (even if there is no
       associated budget revision requiring prior written approval);

       b. any change in key personnel (including employees and contractors) that are identified by name
       or position in the Federal award specified in the application or workplan;

       c. the disengagement from the project for more than three months, or a 25% reduction in time
       and effort devoted to the Federal award over the course of the period of performance, by the
       approved project director or project manager;

       d. the inclusion of costs that require prior approval in accordance with 2 CFR Part 200 Subpart
       E—Cost Principles or 48 CFR part 31, “Contract Cost Principles and Procedures,” as applicable;

       e. the transfer of funds budgeted for participant support costs to other budget categories as
       defined in 2 CFR Section 200.1 Definitions to other categories of expense;

       f. unless described in the final approved workplan and budget, the subawarding, transferring or
       contracting out of any work under the award;

       g. for changes in the total approved cost-sharing by the recipient; or

       h. the need arises for additional Federal funds to complete the project.

Requests for modifications to the approved workplan or budget, including additions, deletions, or
changes in the schedule, must be submitted in a timely manner to the EPA Project Officer for approval,
to minimize project delays. Depending on the type or scope of changes, a formal amendment to the
award may be necessary. Major project modifications which include changes to the approved types and
number of partners and equipment, or to the approved project partners and location(s) may not be
allowed.

B. Performance Reporting and Final Performance Report

B1. Performance Reports – Content

In accordance with 2 CFR 200.329, the recipient agrees to complete and submit electronic performance
reports using reporting template(s), including the approved Clean Ports Project Reporting Template (EPA
Form Number: 5900-690 or future revisions, as applicable), which will be provided by the project officer.
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The purpose of semi-annual performance reports is to provide updates on implementation of each
project, including brief information on each of the following areas:

1. A comparison of accomplishments to the outputs/outcomes established in the assistance agreement
work plan for the reporting period;

2. The reasons why any established outputs/outcomes were not met;

3. Additional information, , analysis and explanation of cost overruns or higher-than-expected unit costs. .

Additionally, the recipient agrees to notify the EPA when a significant development occurs that could
impact the award. Significant developments include events that enable meeting milestones and
objectives sooner or at less cost than anticipated or that produce different beneficial results than
originally planned. Significant developments also include problems, delays, or adverse conditions which
will impact the ability to meet the milestones or objectives of the award, including outputs/outcomes
specified in the assistance agreement work plan. If the significant developments negatively impact the
award, the recipient must include information on their plan for corrective action and any assistance
needed to resolve the situation.

The final project report will include all categories of information required for semi-annual reporting,
including a final description of all climate and air quality planning activities completed for each port, and
how the documents were shared publicly. The final project report will also include a narrative summary of
the project, the successes and lessons learned for the entire project.

B2. Performance Reports - Frequency

Throughout the 3-year performance period of the grant, the recipient agrees to submit semi-annual
performance reports electronically to the EPA Project Officer by the due date following the conclusion of
each semi-annual reporting period. The reporting periods are:

       January 1 – June 30: Report due date July 30.

       July 1 – December 31: Report due date January 30.

The recipient must submit the final performance report no later than 120 calendar days after the end date
of the period of performance. Per the reporting form guidance, additional reporting may be required if the
grant is extended or at the discretion of the EPA Project Officer.

B3. Subaward Performance Reporting

The recipient must report on its subaward monitoring activities under 2 CFR 200.332(e). Examples of
items that must be reported are:

1. Summaries of results of reviews of financial and programmatic reports.

2. Summaries of findings from site visits and/or desk reviews to ensure effective subrecipient
performance.

3. Environmental results the subrecipient achieved.
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4. Summaries of audit findings and related pass-through entity management decisions.

5. Actions the pass-through entity has taken to correct deficiencies such as those specified at 2 CFR
200.332(f), 2 CFR 200.208 and the 2 CFR Part 200.339 Remedies for Noncompliance.

If the recipient is unable to obtain this information, the recipient must report to EPA why the information is
not available.

C. Cybersecurity Condition

State Grant Cybersecurity

1. The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

2.a. The EPA must ensure that any connections between the recipient's network or information system
and the EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the recipient's connections as defined above do not go through the Environmental Information
Exchange Network or the EPA's Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to ensure
that the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by the EPA's regulatory programs for the submission of reporting and/or
compliance data.

b. The recipient agrees that any subawards it makes under this agreement will require the subrecipient to
comply with the requirements in 2.a if the subrecipient's network or information system is connected to
EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or the EPA's Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring
deemed necessary by the recipient under 2 CFR 200.332(e), by inquiring whether the subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA
Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the subrecipient and the EPA.

D. Procurement Procedures

As provided in 2 CFR 200.317, with limited exceptions, states and Indian Tribes must follow the same
policies and procedures they follow for procurements financed with non-Federal funds. If such policies
and procedures do not exist, States and Indian Tribes must follow the procurement standards in §§
200.318 through 200.327. In addition to its own policies and procedures, a State or Indian Tribe must
also comply with the following procurement standards: §§ 200.321, 200.322, 200.323, and 200.327. All
other recipients and subrecipients, including subrecipients of a State or Indian Tribe, must follow the
procurement standards in §§ 200.318 through 200.327.
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The recipient must follow applicable procurement procedures. The EPA will not be a party to these
transactions. If EPA funds will be used to purchase goods or services, recipient agrees to compete the
contracts for those goods and services and conduct cost and price analyses to the extent required by the
fair and open competition for procurement provisions of 2 CFR 200.318 through 2 CFR 200.327.
Approval of a funding application does not relieve recipients of their obligations to compete service
contracts and conduct cost and price analyses.

E. Project Transparency

The recipient agrees to engage with near-port communities about the project during the performance
period and provide documentation that a detailed written summary of the results of the project (e.g.,
emissions inventory, emissions reduction targets or other planning activities) have been made available
to the public, such as via a webpage, for all activities included in the final workplan. Examples of
appropriate community engagement during the project period are outlined on pg. 34 of the Notice of
Funding Opportunity. Community engagement activities conducted as part of the final approved workplan
should be reported in performance reporting described in Programmatic Term and Condition B
(Performance Reporting and Final Performance Report).

F. Program Audit

In addition to audit requirements listed in the EPA General Terms and Conditions which relate to audits
and access to records, the recipient agrees to comply with random EPA reviews of the recipient to
protect against waste, fraud, and abuse. As part of this process, the EPA, or its authorized
representatives, may request copies of grant documents from prior recipients who have received grants,
or may request documentation from current recipients and subrecipients, to verify statements made on
the application and reporting documents. Recipients may be selected for advanced monitoring, including
a potential site visit to confirm project details. Recipients are expected to comply with site visit requests
and recordkeeping requirements and must supply the EPA with any requested documents for as long as
the records are retained, or risk cancellation of an active grant application or other enforcement action.

G. Record Retention

As required by 2 CFR 200.334-338, the recipient must keep all financial records, supporting documents,
accounting books and other evidence of Grant Program activities for three years from the date of
submission of the final financial report. If any litigation, claim, or audit is started before the expiration of
the three-year period, the recipient must maintain all appropriate records until these actions are
completed and all issues resolved.

H. Public or Media Events

The recipient agrees to notify the EPA Project Officer listed in this award document of public or media
events publicizing the accomplishment of significant events related to construction projects as a result of
this agreement and provide the opportunity for attendance and participation by federal representatives
with at least ten (10) working days' notice.

I. Emissions Inventories

Emissions inventories must follow the EPA's Port Emissions Inventory Guidance. This guidance may be
found at: https://www.epa.gov/ports-initiative/port-and-goods-movement-emission-inventories.
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J. Quality Assurance

Quality Assurance Project Plan (QAPP)

a. Prior to beginning environmental information operations, the recipient must:

Option 1

i. Develop a QAPP,

ii. Prepare QAPP in accordance with the current version of the EPA's Quality Assurance Project Plan
(QAPP) Standard,

iii. Submit the document for EPA review, and

iv. Obtain the EPA Quality Assurance Manager or designee (hereafter referred to as QAM) approval.

OR

Option 2

i. Submit a previously EPA-approved QAPP proposed to ensure the collected, produced, evaluated, or
used environmental information is of known and documented quality for the intended use(s).

ii. The EPA Quality Assurance Manager or designee (hereafter referred to as QAM) will notify the
recipient and the EPA Project Officer (PO) in writing if the previously EPA-approved QAPP is acceptable
for this agreement.

b. The recipient must submit the QAPP 90 days after grant award, or 90 days prior to anticipated data
collection.

c. The recipient shall notify the PO and QAM when substantive changes are needed to the QAPP. The
EPA may require the QAPP be updated and re-submitted for approval.

d. The recipient must review their approved QAPP at least annually. The results of the QAPP review and
any revisions must be submitted to the PO and the QAM at least annually and may also be submitted
when changes occur (QAM or PO may add additional specifications).

For Reference:

• Quality Management Plan (QMP) Standard and EPA's Quality Assurance Project Plan (QAPP)
Standard; contain quality specifications for the EPA and non-EPA organizations and definitions
applicable to these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans.

• (QAM and/or PO may insert QA references that inform or assist the recipient here).

• The EPA's Quality Program website has a list of QA managers, and Specifications for EPA and Non-
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EPA Organizations

• The Office of Grants and Debarment Implementation of Quality Assurance Requirements for
Organizations Receiving EPA Financial Assistance.

K. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach
materials, or reports, the EPA logo must not be prominently displayed in a way that may imply that any of
the recipient or subrecipient's activities are being conducted by the EPA. Instead, the EPA logo should
be accompanied with a statement indicating that the Illinois Environmental Protection Agency received
financial support from the EPA under an Assistance Agreement. More information is available at: https:
//www.epa.gov/stylebook/using-epa-seal-and-logo#policy

L. Automated Standard Application Payments (ASAP) and Proper Payment Draw Down

The recipient is subject to the Automated Standard Application Payments (ASAP) and Proper Payment
Draw Down General Term and Condition. See the “Financial Information” section of the General Terms
and Conditions.

The recipient is required to notify the EPA Project Officer of draws from ASAP in excess of 50% of the
award within a 24-hour period. The recipient is required to provide such notification within 3 business
days of the draw amount being surpassed.

The recipient is subject to the Management Fees General Term and Condition, which includes the
following requirements that prohibit profit on the part of the grantee:

1. Management fees or similar charges in excess of the direct costs and approved indirect rates are not
allowable.

2. Management fees or similar charges may not be used to improve or expand the project funded under
this agreement, except to the extent authorized as a direct cost of carrying out the scope of work. See
the “Selected Items of Cost” section of the General Terms and Conditions.

M. Ineligible Project Costs

The recipient must not include the following activities or costs in the project:

1. Activities that are not focused on one or more ports. For purposes of this assistance program, a port is
either a water port or a dry port, as defined below:

a. Water port: places on land alongside navigable water (e.g., oceans, rivers, or lakes) with one or more
facilities in close proximity for the loading and unloading of passengers or cargo from ships, ferries, and
other commercial vessels. This includes facilities that support non-commercial Tribal fishing operations.

b. Dry port: an intermodal truck-rail facility that is included in the 2024 Federal Highway Administration's
(FHWA) Intermodal Connector Database based on meeting the criteria set in 23 CFR 470. These criteria
include having more than 50,000 TEUs (20-foot equivalent units) per year or other units measured that
would convert to more than 100 trucks per day, or comprising more than 20 percent of freight volumes
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handled by any mode within a State.

2. Planning exercises related to emissions or emissions reductions where vehicles, vessels, and other
mobile source port equipment are not included.

3. Development of an EJ mapping tool (applicants should instead rely on existing tools) Revised April 10,
2024

4. Vulnerability assessments not related to impacts from extreme weather and other climate-related
events and conditions

5. Resiliency measure implementation (construction, equipment, purchase, information systems, etc.)

6. Emissions reduction strategy implementation (e.g., the purchase of ZE mobile source equipment,
which is eligible for funding under Funding Opportunity Number EPA-R-OAR-CPP-24-04).

7. As proscribed in Section 825 of the National Defense Authorization Act, the EPA may not award funds
to an entity that uses in part or in whole: the national transportation logistics public information platform
(commonly referred to as ‘LOGINK'); any national transportation logistics information platform provided
by or sponsored by the People's Republic of China, or a controlled commercial entity; or a similar system
provided by Chinese state-affiliated entities.

N. Competency Policy

Competency of Organizations Generating Environmental Measurement Data

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements,

Recipient agrees, by entering into this agreement, that it has demonstrated competency prior to award,
or alternatively, where a pre-award demonstration of competency is not practicable, Recipient agrees to
demonstrate competency prior to carrying out any activities under the award involving the generation or
use of environmental data. Recipient shall maintain competency for the duration of the project period of
this agreement and this will be documented during the annual reporting process. A copy of this policy is
available online at https://www.epa.gov/sites/production/files/2015-03/documents/competency-policy-
aaia-new.pdf or a copy may also be requested by contacting the EPA Project Officer for this award.

O. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at https://www.fgdc.gov/
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                                                    EPA Funding Information
              FUNDS                                 FORMER AWARD                               THIS ACTION                          AMENDED TOTAL
EPA Amount This Action                                               $0                         $ 92,058,008                              $ 92,058,008
EPA In-Kind Amount                                                   $0                                     $0                                     $0
Unexpended Prior Year Balance                                        $0                                     $0                                     $0
Other Federal Funds                                                  $0                                     $0                                     $0
Recipient Contribution                                               $0                         $ 12,074,461                              $ 12,074,461
State Contribution                                                   $0                                     $0                                     $0
Local Contribution                                                   $0                                     $0                                     $0
Other Contribution                                                   $0                                     $0                                     $0
Allowable Project Cost                                               $0                        $ 104,132,469                             $ 104,132,469



Assistance Program (CFDA)                     Statutory Authority                                 Regulatory Authority
66.051 - Clean Ports Program                  Clean Air Act: Sec. 133                             2 CFR 200, 2 CFR 1500 and 40 CFR 33
                                              Inflation Reduction Act: Sec. 60102




                                                                      Fiscal
                                                      Approp.         Budget                   Object                       Cost         Obligation /
          Site Name               Req No      FY                                     PRC                Site/Project
                                                       Code         Organization               Class                     Organization    Deobligation
-                               2505LBX001   2227    E4SF6          05L1           000AVFXY3   4166     -                -                $ 92,058,008
                                                                                                                                          $ 92,058,008
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Budget Summary Page
                                       Table A - Object Class Category                             Total Approved Allowable
                                             (Non-Construction)                                       Budget Period Cost
 1. Personnel                                                                                                              $ 328,096
 2. Fringe Benefits                                                                                                        $ 246,072
 3. Travel                                                                                                                  $ 27,180
 4. Equipment                                                                                                                     $0
 5. Supplies                                                                                                                      $0
 6. Contractual                                                                                                          $ 4,375,000
 7. Construction                                                                                                                  $0
 8. Other                                                                                                              $ 97,090,641
 9. Total Direct Charges                                                                                              $ 102,066,989
 10. Indirect Costs: 0.00 % Base SEE TABLE B                                                                             $ 2,065,480
 11. Total (Share: Recipient ______
                               11.60 % Federal ______
                                                 88.40 %)                                                             $ 104,132,469
 12. Total Approved Assistance Amount                                                                                  $ 92,058,008
 13. Program Income                                                                                                              $0
 14. Total EPA Amount Awarded This Action                                                                              $ 92,058,008
 15. Total EPA Amount Awarded To Date                                                                                  $ 92,058,008
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Table B Budget Worksheet #1
                                    Table B - Program Element Classification                                                 Total Approved Allowable
                                                 (Non-construction)                                                             Budget Period Cost
 1. Fixed Carryforward Base: Total direct salaries and wages, including fringe benefits at 36.36% Valid 7/1/24 to
                                                                                                                                                        $0
 6/30/25
 2.                                                                                                                                                     $0
 3.                                                                                                                                                     $0
 4.                                                                                                                                                     $0
 5.                                                                                                                                                     $0
 6.                                                                                                                                                     $0
 7.                                                                                                                                                     $0
 8.                                                                                                                                                     $0
 9.                                                                                                                                                     $0
 10.                                                                                                                                                    $0
 11. Total (Share: Recip   % Fed      %)                                                                                                                $0
 12. Total Approved Assistance Amount                                                                                                                   $0
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                                   Attachment 1 - Project Description
The purpose of this award is to provide funding under the Inflation Reduction Act to the Illinois
Environmental Protection Agency. Specifically, this project will reduce GHG and diesel emissions,
improve air quality, and enhance the sustainability of port operations in nine Illinois counties. This
initiative will emphasize environmental justice by prioritizing disadvantaged communities with high
ambient diesel pollution levels.

The activities under this project include: deployment of 44 zero-emission vehicles and equipment,
installation of 57 electric vehicle chargers, installation of a hydrogen fueling station, implementation of
renewable energy systems, establishment of new baseline emissions inventories and emissions
reduction plans for collaborating ports, conducting community engagement activities, and workforce
development initiatives to train workers in the operation and maintenance of zero emission technologies.

The anticipated deliverables include a fleet of 44 zero-emission vehicles and associated charging
equipment, comprehensive emissions inventories and reduction plans for collaborating entities,
renewable energy installations, and community engagement reports and workforce training programs.

The expected outcomes include significant reductions in GHG emissions and particulate matter from port
operations, enhanced air quality and reduced noise pollution for surrounding communities, increased
capacity for clean energy infrastructure and zero emission technology at Illinois ports, and improved
operational efficiency and resilience of port facilities to climate impacts.

The intended beneficiaries include residents of disadvantaged communities in Cook and St. Clair
counties, Illinois port operators and collaborating entities, and more broadly, the citizens of Illinois.

Subawards will be issued to Illinois ports to procure contracts and equipment needed to meet the
milestones of the project work plan (e.g., purchase electric vehicles, purchase chargers, etc.)
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                                          Administrative Conditions

General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available
at: https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2024-or-
later.

These terms and conditions are in addition to the assurances and certifications made as a part of
the award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.
epa.gov/grants/grant-terms-and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for approval, or
notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the following email
addresses:

        Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and young.robert@epa.gov
        MBE/WBE reports (EPA Form 5700-52A): region5closeouts@epa.gov and Robert Young at young.
        robert@epa.gov
        All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the
        Budget and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to
        recipient information (including email addresses, changes in contact information or changes in authorized
        representatives) and other notifications: Carter Cranberg at Cranberg.Carter@epa.gov and Robert Young
        at young.robert@epa.gov
        Payment requests (if applicable): Carter Cranberg at Cranberg.Carter@epa.gov
        Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
        deliverables: Carter Cranberg at Cranberg.Carter@epa.gov
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                                      Programmatic Conditions
Clean Ports Zero-Emission Technology Deployment Competition Programmatic Terms and Conditions

A. Final Approved Workplan and Modifications

1. Recipient agrees to carry out the project in accordance with the final approved workplan.

2. Recipients are required to report deviations from budget or project scope or objective, and must
request prior written approval from the EPA for:

       a. any change in the scope or objective of the project (even if there is no associated budget
       revision requiring prior written approval);

       b. any change in a key personnel (including employees and contractors) that are identified by
       name or position in the Federal award specified in the application or workplan; the
       disengagement from the project for more than three months, or a 25% reduction in time and effort
       devoted to the Federal award over the course of the period of performance, by the approved
       project director or project manager;

       c. The inclusion of costs that require prior approval in accordance with 2 CFR Part 200 Subpart
       E—Cost Principles or 48 CFR part 31, “Contract Cost Principles and Procedures,” as applicable;

       d. the transfer of funds budgeted for participant support costs to other budget categories as
       defined in 2 CFR Section 200.1 Definitions to other categories of expense;

       e. unless described in the final approved workplan and budget, the subawarding, transferring or
       contracting out of any work under the award;

       f. changes in the total approved cost-sharing provided by the recipient; or the need arises for
       additional Federal funds to complete the project.

Requests for proposed modifications to the approved workplan or budget, including additions, deletions,
or changes in the schedule, must be submitted in a timely manner to the EPA Project Officer for
approval, to minimize project delays. Depending on the type or scope of changes, a formal amendment
to the award may be necessary. Major project modifications which include changes to the approved
types and number of partners and equipment, or to the approved project partners and location(s) may
not be allowed.

B. Performance Reporting and Final Performance Report

B1. Performance Reports – Content

In accordance with 2 CFR 200.329, the recipient agrees to complete and submit electronic performance
reports using reporting template(s), including the approved Clean Ports Project Reporting Template (EPA
Form Number: 5900-690 or future revisions, as applicable), which will be provided by the project officer.
The purpose of performance reports is to provide updates on implementation of each project, including
information on each of the following areas:
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1. A comparison of accomplishments to the outputs/outcomes established in the assistance agreement
work plan for the reporting period, including detailed technical information on new mobile equipment and
electric charging and hydrogen fueling infrastructure deployed, and the retirement of older equipment, as
appropriate;

2. The reasons why any established outputs/outcomes were not met;

3. Additional information, analysis and explanation of cost overruns or higher than-expected-unit costs;
and

4. As applicable, information related to good jobs metrics and workforce training outcomes in accordance
with information collection instrument through General Performance Reporting for Assistance Programs
(EPA ICR Number 2802.01, OMB Control Number 2090-NEW).

Additionally, the recipient agrees to notify the EPA when a significant development occurs that could
impact the award. Examples of significant developments can include:

       events that enable meeting milestones and objectives sooner or at less cost than anticipated;
       events that produce different beneficial results than originally planned; or
       problems, delays, or adverse conditions which will impact the ability to meet the milestones or
       objectives of the award, including outputs/outcomes specified in the assistance agreement work
       plan.

If a significant development negatively impacts the award, the recipient must include information on their
plan for corrective action and any assistance needed to resolve the situation.

The final project report will include all categories of information required for semi-annual reporting,
including a final, detailed description of all zero-emission technology deployment activities completed at
each project location. The final project report will also include a narrative summary of the project and the
successes and lessons learned for the entire project.

B2. Performance Reports - Frequency

Throughout the 4-year performance period, the recipient agrees to submit semi-annual performance
reports electronically to the EPA Project Officer by the due date following the conclusion of each semi-
annual reporting period. The semi-annual reporting periods are:

       January 1 – June 30: Report due date July 30.

       July 1 – December 31: Report due date January 30

Additional reporting may be required if the grant is extended or at the discretion of the EPA Project
Officer. The recipient must submit the final performance report no later than 120 calendar days after the
end date of the period of performance.

B3. Subaward Performance Reporting

The recipient must report on its subaward monitoring activities under 2 CFR 200.332(e). Examples of
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items that must be reported are:

1. Summaries of results of reviews of financial and programmatic reports.

2. Summaries of findings from site visits and/or desk reviews to ensure effective subrecipient
performance.

3. Environmental results the subrecipient achieved.

4. Summaries of audit findings and related pass-through entity management decisions.

5. Actions the pass-through entity has taken to correct deficiencies such as those specified at 2 CFR
200.332(f), 2 CFR 200.208, and the 2 CFR Part 200.339 Remedies for Noncompliance.

If the recipient is unable to obtain this information, the recipient must report to EPA why the information is
not available.

C. Cybersecurity Condition

State Grant Cybersecurity

1. The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

2.a. The EPA must ensure that any connections between the recipient's network or information system
and EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the recipient's connections as defined above do not go through the Environmental Information
Exchange Network or the EPA's Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to ensure
that the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by the EPA's regulatory programs for the submission of reporting and/or
compliance data.

b. The recipient agrees that any subawards it makes under this agreement will require the subrecipient to
comply with the requirements in 2.a if the subrecipient's network or information system is connected to
EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or the EPA's Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring
deemed necessary by the recipient under 2 CFR 200.332(e), by inquiring whether the subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA
Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the subrecipient and the EPA.
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D. Project Transparency

The recipient agrees to engage with near-port communities about the project during the performance
period. Examples of appropriate community engagement during the project period are outlined on pg. 45
of the Notice of Funding Opportunity. Community engagement activities conducted as part of the final
approved workplan should be reported in performance reporting described in Programmatic Term and
Condition B (Performance Reporting and Final Performance Report).

1. The recipient agrees to publicly share, such as on a webpage, a detailed written summary of the
results of the emissions inventory and/or emission reduction plan included in the final workplan.

E. Automated Standard Application Payments (ASAP) and Proper Payment Draw Down

The recipient is subject to the Automated Standard Application Payments (ASAP) and Proper Payment
Draw Down General Term and Condition. See the “Financial Information” section of the General Terms
and Conditions.

The recipient is required to notify the EPA Project Officer of draws from ASAP in excess of 50% of the
award within a 24-hour period. The recipient is required to provide such notification within 3 business
days of the draw amount being surpassed.

The recipient is subject to the Management Fees General Term and Condition, which includes the
following requirements that prohibit profit on the part of the recipient:

       1. Management fees or similar charges in excess of the direct costs and approved indirect rates
       are not allowable.

       2. Management fees or similar charges may not be used to improve or expand the project funded
       under this agreement, except to the extent authorized as a direct cost of carrying out the scope of
       work. See the “Selected Items of Cost” section of the General Terms and Conditions.

F. Public or Media Events

The recipient agrees to notify the EPA Project Officer listed in this award document of public or media
events publicizing the accomplishment of significant events related to construction projects as a result of
this agreement and provide the opportunity for attendance and participation by federal representatives
with at least ten (10) working days' notice.

G. Program Beneficiary

Program beneficiaries must abide by requirements to ensure that the funds are used only for authorized
purposes.

H. Procurement Procedures

As provided in 2 CFR 200.317, with limited exceptions, states and Indian Tribes must follow the same
policies and procedures they follow for procurements financed with non-Federal funds. If such policies
and procedures do not exist, States and Indian Tribes must follow the procurement standards in §§
200.318 through 200.327. In addition to its own policies and procedures, a State or Indian Tribe must
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also comply with the following procurement standards: §§ 200.321, 200.322, 200.323, and 200.327. All
other recipients and subrecipients, including subrecipients of a State or Indian Tribe, must follow the
procurement standards in §§ 200.318 through 200.327.

The recipient must follow applicable procurement procedures. The EPA will not be a party to these
transactions. If the EPA funds are used to purchase goods or services, recipient agrees to compete the
contracts for those goods and services and conduct cost and price analyses to the extent required by the
fair and open competition for procurement provisions of 2 CFR §§200.318 – 327. Approval of a funding
application does not relieve recipients of their obligations to compete service contracts and conduct cost
and price analyses.

I. Quality Assurance

Quality Assurance Project Plan (QAPP)

a. Prior to beginning environmental information operations, the recipient must:

Option 1

i. Develop a QAPP,

ii. Prepare QAPP in accordance with the current version of the EPA's Quality Assurance Project Plan (QAPP) Standard,

iii. Submit the document for EPA review, and

iv. Obtain the EPA Quality Assurance Manager or designee (hereafter referred to as QAM) approval.

OR

Option 2

i. Submit a previously EPA-approved QAPP proposed to ensure the collected, produced, evaluated, or used environmental
information is of known and documented quality for the intended use(s).

ii. The EPA Quality Assurance Manager or designee (hereafter referred to as QAM) will notify the recipient and the EPA
Project Officer (PO) in writing if the previously EPA-approved QAPP is acceptable for this agreement.

b. The recipient must submit the QAPP 90 days after grant award, or 90 days prior to anticipated data collection.

c. The recipient shall notify the PO and QAM when substantive changes are needed to the QAPP. The EPA may require the
QAPP be updated and re-submitted for approval.

d. The recipient must review their approved QAPP at least annually. The results of the QAPP review and any revisions must
be submitted to the PO and the QAM at least annually and may also be submitted when changes occur (QAM or PO may
add additional specifications).

For Reference:

• Quality Management Plan (QMP) Standard and EPA's Quality Assurance Project Plan (QAPP) Standard; contain quality
specifications for the EPA and non-EPA organizations and definitions applicable to these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans.

• (QAM and/or PO may insert QA references that inform or assist the recipient here).
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• The EPA's Quality Program website has a list of QA managers, and Specifications for EPA and Non-EPA Organizations

• The Office of Grants and Debarment Implementation of Quality Assurance Requirements for Organizations Receiving EPA
Financial Assistance.


J. Climate Resilience

To the extent practicable, the recipient agrees to incorporate current and future climate change risk in
planning, siting, design, and operation of the project. Approaches for incorporating climate change risk
may make use of climate change data and information (e.g., projections and emission scenarios) that are
reflective of the project's anticipated lifespan. This includes consideration of the climate change risks
posed to the individuals, communities, local governments, organizations, or other entities served by the
project over its anticipated lifespan.

K. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach
materials, or reports, the EPA logo must not be prominently displayed in a way that may imply that any of
the recipient or subrecipient's activities are being conducted by the EPA. Instead, the EPA logo should
be accompanied with a statement indicating that the Illinois Environmental Protection Agency received
financial support from the EPA under an Assistance Agreement. More information is available at: https:
//www.epa.gov/stylebook/using-epa-seal-and-logo#policy

L. Build America, Buy America (BABA) Requirements

All projects under this competition are subject to the domestic sourcing requirements under the Build
America, Buy America (BABA) provisions of the Infrastructure Investment and Jobs Act (IIJA) (P.L. 117-
58, §§ 70911-70917) when using federal funds for the purchase of goods, products, and materials on
any form of construction, alteration, maintenance, or repair of infrastructure in the United States. The Buy
America preference requirement applies to all of the iron and steel, manufactured products, and
construction materials used for the infrastructure project under an award for identified EPA financial
assistance funding programs.

These sourcing requirements require that all iron, steel, manufactured products, and construction
materials used in Federally funded infrastructure projects must be produced in the United States, as
defined in P.L 117-58 § 70912(6). The recipient must implement these requirements in its procurements,
and this article must flow down to all subawards and contracts. For legal definitions and sourcing
requirements, the recipient must consult EPA's Build America, Buy America website.

Clean Ports Program grants are subject to the requirements of BABA, which requires applicants to
comply with Buy America preference requirements or apply for a waiver for each infrastructure project.
The following potentially eligible projects under this competition meet the definition of “infrastructure” and
are subject to Buy America preference requirements under BABA:

         • Structures, facilities, and equipment that generate, transport, and distribute energy - including
         electric vehicle (EV) charging equipment.

         • Any other permanent public structure that meets the qualifies as “infrastructure” as addressed in
         OMB Memorandum M-24-02 and 2 C.F.R. section 184.4(c).
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Questions regarding BABA applicability to specific Clean Ports Program projects should be submitted to
BABA-OTAQ@epa.gov.

When necessary and supported by rationale provided in P.L 117-58 § 70914, the recipient may submit a
project-specific waiver request to EPA or notify EPA when using an existing waiver. The recipient should
request guidance on submitting a BABA waiver request from the EPA Project Officer. A list of existing
approved EPA waivers is available on the EPA Build America, Buy America website (including a waiver
specific to the Clean Ports Program) at: https://www.epa.gov/cwsrf/build-america-buy-america-baba-
approved-waivers. Please continue to monitor this website for further BABA guidance or any future EPA
waivers that may impact the Clean Ports grants program.

See EPA's “Build America, Buy America” general term and condition for additional requirements: https:
//www.epa.gov/grants/grant-terms-and-conditions.

M. Eligible and Ineligible Project Costs

1. Project Implementation Costs: Eligible project costs include those costs directly related to the
implementation, management, and oversight of the project, including the proportion of recipient and
subrecipient personnel and benefit costs expended in relation to the award, equipment, contractual,
travel, supplies, subgrants and rebates, and indirect costs. See 2 C.F.R. Part 200, Sections 200.412-
200.415.

2. Zero-Emissions (ZE) Mobile Equipment Costs.

a. Recipient shall only use assistance funding to purchase ZE mobile equipment that will directly serve at
least one port for a minimum of three years.

b. For purposes of this assistance program, a port is either a water port or a dry port, as defined below:

       i. Water port: places on land alongside navigable water (e.g., oceans, rivers, or lakes) with one or
       more facilities in close proximity for the loading and unloading of passengers or cargo from ships,
       ferries, and other commercial vessels. This includes facilities that support non-commercial Tribal
       fishing operations.

       ii. Dry port: an intermodal truck-rail facility that is included in the 2024 Federal Highway
       Administration's (FHWA) Intermodal Connector Database based on meeting the criteria set in 23
       C.F.R. Part 470. These criteria include having more than 50,000 TEUs (20-foot equivalent units)
       per year or other units measured that would convert to more than 100 trucks per day, or
       comprising more than 20 percent of freight volumes handled by any mode within a State.

c. For purposes of this assistance program, zero emission mobile equipment is that which can move to a
different location by means of an onboard powertrain as part of normal operations and produces zero
tailpipe emissions of any criteria pollutant, air toxics, or greenhouse gas other than water vapor. Eligible
zero emission mobile equipment is limited to electric and hydrogen fuel cell technologies.

d. Eligible project costs include the purchase and deployment of new eligible battery-electric or hydrogen
fuel cell vehicles, vessels, powertrains, and other mobile equipment that directly serve at least one port
for a minimum of three years according to the following minimum parameters for each mobile equipment
category.
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       i. Cargo handling equipment (terminal tractors, forklifts, top handlers, side picks, straddle carriers,
       etc.): at least 90% of annual usage (hours) will take place at the port(s) identified in the award.

       ii. Drayage Trucks: at least 100 visits/year will take place at the port(s) identified in the award.

       iii. Locomotives (switchers, railcar movers): (1) at least 75% of its annual usage (hours) will take
       place at the port(s) identified in the application, (2) shall visit the port(s) identified in the award on
       a minimum of 200 days per year, and (3) must exclusively perform short-haul runs between the
       port(s) identified in the award and a second point of rest, e.g., a terminal, interchange, or yard.

       iv. Harbor craft and other vessels (commercial and Tribal fishing vessels, tugs, ferries, patrol
       boats, workboats, dredges, pilot boats, barges, etc.): at least 60% of its annual usage (hours and
       port visits) will take place at the port(s) identified in the award.

       v. Other eligible mobile source equipment: at least 90% of annual usage (hours and operating
       days) must take place at the port(s) identified in the award.

e. Mobile equipment must be human-operated and human-maintained.

f. Recipient shall not use assistance funding for any of the following types of equipment or activities.

       i. Equipment which uses a non-ZE powertrain, including hybrid technologies powered in part by
       internal combustion engines, unless the non-ZE power source is mandated by safety regulations,
       and functions solely as a source of emergency backup power.

       ii. First-of-a-kind demonstration and pilot projects designed to determine the technical feasibility
       and economic potential of technologies at either a pilot or prototype stage.

       iii. Research and development projects. Research is defined as a systematic study directed
       toward fuller scientific knowledge or understanding of the subject studied. Development is defined
       as the systematic use of knowledge and understanding gained from research, and directed
       toward the production of technologies, devices, systems, or methods, including design and
       development of prototypes and processes.

       iv. Ship modifications to allow vessels to accept shore-based electrical power, unless the
       modification is part of a project to replace the internal combustion engine(s) of a marine vessel
       with a ZE powertrain.

       v. Light-duty vehicles.

       vi. Expenses related to repowering and/or replacing engines for existing onroad vehicles.

       vii. Expenses related to replacing internal combustion engines in existing nonroad equipment,
       locomotives, and marine vessels with ZE powertrains where the updated nonroad equipment,
       locomotive, or marine vessel includes a non-ZE powertrain, unless the non-ZE power source is
       mandated by safety regulations, and functions solely as a source of emergency backup power.

       viii. Expenses related to replacing cabs, axles, paint, brakes, mufflers, or any other parts or
       materials that are not required to ensure the effective installation and functioning of the
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       replacement of an internal combustion engine in existing nonroad equipment, locomotives, or
       marine vessels with a ZE powertrain.

3. Fueling Infrastructure Costs:

a. Recipient agrees that any infrastructure purchased or installed using EPA assistance funding may only
be used to purchase or install infrastructure which will directly serve at least one port, as defined above
in M.2.b. for a minimum of three years and according to the following parameters:

       i. All infrastructure (except for vessel shore power) must directly serve eligible ZE mobile
       equipment purchased as part of the award. However, equipment not purchased as part of the
       grant may also utilize the fueling infrastructure.

       ii. Infrastructure serving any mobile equipment (besides drayage trucks and locomotives) must be
       located on-site or in close proximity to port facilities identified in the award.

       iii. Infrastructure serving drayage trucks or locomotives must be located on-site or in close
       proximity to port facilities identified in the applications, or at the first point of rest from the port
       facilities identified in the award (i.e., a terminal, depot, interchange, or yard where an eligible ZE
       mobile equipment purchased as part of the grant will fuel).

b. Infrastructure must be human-operated and human maintained.

c. For shore power projects, shore power-capable vessels docked at a berth where shore power is
available must be required to turn off the vessel's engines and use the shore power system, with limited
exceptions for extreme circumstances.

d. Electric charging infrastructure must be located at or behind the meter (on the customer side) except
for minor grid upgrades in front of the meter (utility side) if the work is necessary to connect an eligible
charging station to the electric distribution network.

e. Alternating Current (AC) Level 2 charging infrastructure must be EPA ENERGY STAR certified at the
time of purchase.

f. Electric charging infrastructure must meet the following installation requirements: Electricians installing,
operating, or maintaining electric charging infrastructure purchased through this program are required to
be certified under the Electric Vehicle Infrastructure Training Program or another program approved by
the EPA in consultation with the Department of Labor and Department of Transportation, as will be
reflected in the terms of this grant award. For projects requiring more than one electrician, at least one of
the electricians performing each phase of the infrastructure work should meet the requirements above.

g. Recipient agrees not to use EPA assistance funding for any of the following ineligible infrastructure
costs:

       i. Front of the meter costs related to purchase or installation of electric infrastructure. This
       includes but is not limited to: major grid upgrades to utility-owned power distribution equipment
       (such as longer power line extensions, improvements to offsite power generation, bulk power
       transmission, or substations); transformers located on the utility side of the meter and their
       installation; and operation and maintenance performed on utility systems.
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        ii. Infrastructure which relies on air polluting components (e.g., backup generators or auxiliary
        power units), unless the non-ZE component is mandated by safety regulations, and functions
        solely as an emergency backup power source.

        iii. Power generation systems (including non-renewable powered backup generators), except for
        solar and wind power generation systems that primarily power mobile equipment and which are
        located on land.

        iv. Hydrogen production systems (e.g., electrolyzers, conversion facilities), associated
        infrastructure, and their installation.

        v. Transmission (e.g., piping and pipelines) and/or transportation of hydrogen outside of the port.

h. Marine shore power projects must meet applicable international shore power design standards
(IEC/ISO/IEEE 80005-1:2019/AMD 2:2023 High Voltage Shore Connection Systems or the IEC/PAS
80005-3:2014 Low Voltage Shore Connection Systems).

i. Solar or wind power generation systems must be located on land in close proximity to the port facilities
identified in the award; or at the first point of rest from the port facilities for infrastructure serving drayage
trucks or locomotives. Offshore wind and floating solar/wind infrastructure purchases and installation are
not permitted.

4. Ineligible Technology Deployment Support Costs: The recipient may not use EPA assistance funding
for the following purposes:

a. Feasibility assessment of ZE technology. Technology feasibility assessment is a preliminary
exploration of a candidate technology to determine its merits and viability for successful deployment in
regular service. A feasibility assessment can include the evaluation of key technical, operational, labor,
economic, legal/regulatory, and deployment (timeline/schedule) issues. Feasibility assessment results
are used to create a realistic project plan, schedule, and budget. [These activities are eligible for funding
in the separate NOFO for Climate and Air Quality Planning projects under Funding Opportunity Number
EPA-R-OAR-CPP-24-05. However, please note that applicants requesting funding for technology
deployment under this ZE Technology Deployment Competition are expected to have conducted
necessary feasibility assessments prior to applying and should not be planning to conduct further
feasibility assessments prior to deployment.]

b. Costs for resiliency measures not directly related to protecting equipment purchased as part of the
grant award from extreme weather events.

c. Leasing vehicles or equipment. If financing is necessary, the purchase should be financed with a
conventional purchase loan.

d. Fuel and electricity expenses.

5. Other Ineligible Costs: As proscribed in Section 825 of the National Defense Authorization Act, no
funds may be awarded to an entity that uses in part or in whole: the national transportation logistics
public information platform (commonly referred to as ‘LOGINK'); any national transportation logistics
information platform provided by or sponsored by the People's Republic of China, or a controlled
commercial entity; or a similar system provided by Chinese state-affiliated entities.
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N. Program Audit

In addition to the provisions of EPA's General Terms and Conditions which relate to audits and access to
records, the recipient agrees to comply with random EPA reviews of the recipient to protect against
waste, fraud, and abuse. As part of this process, EPA, or its authorized representatives, may request
copies of grant documents from prior recipients who have received grants, or may request
documentation from current recipients and sub-awardees, to verify statements made on the application
and reporting documents. Recipients may be selected for advanced monitoring, including a potential site
visit to confirm project details. EPA, or its authorized representatives, may also conduct site visits to
confirm documentation is on hand and that purchased equipment and infrastructure is in service at the
ports named in the award, as well as confirm applicable infrastructure adheres to Build America, Buy
America (BABA) requirements (see BABA Programmatic Term and Condition for more details).
Recipients are expected to comply with site visit requests and recordkeeping requirements and must
supply EPA with any requested documents for as long as the records are retained, or risk cancellation of
an active grant application or other enforcement action.

O. Record Retention

Recipients must keep all financial records, supporting documents, accounting books and other evidence
of Grant Program activities for three years from the date of submission of the final financial report. If any
litigation, claim, or audit is started before the expiration of the three-year period, the recipient must
maintain all appropriate records until these actions are completed and all issues resolved.

P. Operation and Maintenance

The recipient will ensure the continued proper operation and maintenance of equipment and devices
funded under this agreement. Such equipment and infrastructure shall be operated and maintained for
the expected lifespan of the specific measure and in accordance with commonly accepted design
standards and specifications. The recipient shall include a provision in every applicable sub-agreement
(subgrant or contract) awarded under this grant requiring that the equipment and devices funded under
this agreement be properly operated and maintained. Likewise, the sub-agreement will assure that
similar provisions are included in any sub-agreements that are awarded by the sub-recipient.

Q. Foreign Entity of Concern

1. As part of carrying out this award, recipient agrees that they are not:

       a. an entity owned by, controlled by, or subject to the direction of a government of a “covered
       nation” as defined at 10 U.S.C. § 4872(d);

       b. an entity headquartered in a “covered nation” as defined at 10 U.S.C. § 4872(d); or

       c. a subsidiary of an entity described in (A) or (B).

Note: Paragraph 1 applies to the recipient of this award only and not subrecipients.

2. Additionally, awarded funds may not be used by the recipient or subrecipients for the purchase of a
crane manufactured by (A) any entity owned by, controlled by, or subject to the direction of a government
of a covered nation “covered nation” as defined at 10 U.S.C. § 4872(d); or (B) any entity headquartered
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in a covered nation “covered nation” as defined at 10 U.S.C. § 4872(d).

As of the date these terms and conditions become effective, covered nations under 10 U.S.C. § 4872(d)
are the Democratic People's Republic of North Korea; the People's Republic of China; the Russian
Federation; and the Islamic Republic of Iran.

R. Emissions Inventories

The recipient agrees to follow the EPA's Port Emissions Inventory Guidance, when developing the
emissions inventories included in the workplan. This guidance may be found at: https://www.epa.
gov/ports-initiative/port-and-goods-movement-emission-inventories.

S. Competency Policy

Competency of Organizations Generating Environmental Measurement Data

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements, Recipient agrees, by entering into this agreement, that it has demonstrated competency
prior to award, or alternatively, where a pre-award demonstration of competency is not practicable,
Recipient agrees to demonstrate competency prior to carrying out any activities under the award
involving the generation or use of environmental data. Recipient shall maintain competency for the
duration of the project period of this agreement and this will be documented during the annual reporting
process. A copy of the policy is available online at https://www.epa.gov/sites/default/files/2017-
05/documents/policy_to_assure_the_competency_of_organizations.pdf or a copy may also be requested
by contacting the EPA Project Officer for this award.

Reference: https://www.epa.gov/sites/default/files/2017-
05/documents/policy_to_assure_the_competency_of_organizations.pdf

T. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at https://www.fgdc.gov/.

U. Mandatory Cost Share Requirement

This award and the resulting federal funding share (as shown under “Notice of Award” in the award
document) is based on estimated costs requested in the recipient's final approved workplan. While actual
total costs may differ than those estimates, the recipient is required to provide no less than the cost-
share percentages outlined below, as applicable, of the final Zero-Emission (ZE) Technology
Deployment Grant Competition costs. The EPA's participation shall not exceed the total amount of
federal funds awarded or the maximum federal cost-share percentages outlined below, as applicable, of
the final equipment costs. Recipients must satisfy any applicable cost share requirements with allowable
costs as set forth in 2 CFR § 200.306. The cost share requirement is as follows:

Tier B (Water or Dry Ports): EPA Share of Total Project Cost (Maximum) = 90%, Mandatory Cost Share
of Total Project Costs = 10%
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Total Project cost refers to total allowable costs incurred under a Federal award and all required cost
sharing and voluntary committed cost sharing, including third-party contributions.

V. Voluntary Cost Share

This award and the resulting federal funding of $104,132,469.00 is based on estimated costs requested
in the recipient's application at the later of (a) the time this funding opportunity closed on May 28, 2024,
or (b) when negotiations concluded. Included in these costs is a voluntary cost-share contribution of
$1,661,214.1 by the recipient in the form of a voluntary cost-share or overmatch (providing more than
any minimum mandatory cost-share) that the recipient included in its proposal dated 12/2/2024. The
recipient must provide this voluntary cost-share contribution during performance of this award unless the
EPA agrees otherwise in a modification to this agreement. While actual total costs may differ from the
estimates in the recipient's application, the EPA's participation shall not exceed the total amount of
federal funds awarded.

If the recipient fails to provide the voluntary cost-share contribution during the period of award
performance, and the EPA does not agree to modify the agreement to reduce the cost share, the
recipient is in violation of the terms of the agreement. In addition to other remedies available under 2
CFR Part 200, the Agency may consider this factor in evaluating future proposals from the recipient. In
addition, if the voluntary cost-share contribution does not materialize during the period of award
performance then the EPA may reconsider the legitimacy of the award; if the EPA determines that the
recipient knowingly or recklessly provided inaccurate information regarding the voluntary cost-share or
overmatch the recipient described in its proposal dated 12/2/2024. The EPA may take action as
authorized by 2 CFR Part 200 and/or 2 CFR Part 180 as applicable.

W. Leveraged Resources for Complementary Initiatives

Leveraging: The recipient agrees to provide the proposed leveraged funding, including any voluntary
cost-share contribution or overmatch, that is described in its proposal dated 12/2/2024. If the proposed
leveraging does not materialize during the period of award performance, and the recipient does not
provide a satisfactory explanation, the Agency may consider this factor in evaluating future proposals
from the recipient. In addition, if the proposed leveraging does not materialize during the period of award
performance then the EPA may reconsider the legitimacy of the award; if the EPA determines that the
recipient knowingly or recklessly provided inaccurate information regarding the leveraged funding the
recipient described in its proposal dated 12/2/2024 the EPA may take action as authorized by 2 CFR Part
200 and/or 2 CFR Part 180 as applicable.

X. Davis-Bacon and Related Acts (DBRA) Term and Condition

1. Program Applicability

a. Program Name – Clean Ports Program

b. Statute requiring compliance with Davis-Bacon – Clean Air Act Section 314

c. Activities subject to Davis-Bacon – any construction activities funded by this grant.

d. The recipient must work with the appropriate authorities to determine wage classifications for the
specific project(s) or activities subject to Davis Bacon under this grant (or cooperative agreement).
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2. Davis-Bacon and Related Acts

Davis-Bacon and Related Acts (DBRA) (https://www.dol.gov/agencies/whd/government-
contracts/construction) is a collection of labor standards provisions administered by the Department of
Labor, that are applicable to grants involving construction. These labor standards include the:

       • Davis-Bacon Act, which requires payment of prevailing wage rates for laborers and mechanics
       on construction contracts of $2,000 or more

       • Copeland “Anti-Kickback” Act, which prohibits a contractor or subcontractor from inducing an
       employee into giving up any part of the compensation to which he or she is entitled; and

       • Contract Work Hours and Safety Standards Act, which requires overtime wages to be paid for
       over 40 hours of work per week, under contracts in excess of $100,000.

3. Recipient Responsibilities When Entering Into and Managing Contracts:

a. Solicitation and Contract Requirements:

       i. Include the Correct Wage Determinations in Bid Solicitations and Contracts: Recipients are
       responsible for complying with the procedures provided in 29 CFR 1.6 when soliciting bids and
       awarding contracts.

       ii. Include DBRA Requirements in All Contracts: Include the following text on all contracts under
       this grant:

               “By accepting this contract, the contractor acknowledges and agrees to the terms
               provided in the DBRA Requirements for Contractors and Subcontractors Under EPA
               Grants.”

b. After Award of Contract:

       i. Approve and Submit Requests for Additional Wages Rates: Work with contractors to request
       additional wage rates if required for contracts under this grant, as provided in 29 CFR 5.5(a)(1)
       (iii).

       ii. Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure
       contractor compliance with the terms of the contract, as required by 29 CFR 5.6.

4. Recipient Responsibilities When Establishing and Managing Additional Subawards: a. Include DBRA
Requirements in All Subawards (including Loans):

Include the following text on all subawards under this grant:

       “By accepting this award, the EPA subrecipient acknowledges and agrees to the terms and
       conditions provided in the DBRA Requirements for EPA Subrecipients.”

Provide Oversight to Ensure Compliance with DBRA Provisions: Recipients are responsible for oversight
of subrecipients and must ensure subrecipients comply with the requirements in 29 CFR 5.6.
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5. Consideration as Part of Every Prime Contract Covered by DBRA

The contract clauses set forth in this Term & Condition, along with the correct wage determinations, will
be considered to be a part of every prime contract covered by Davis-Bacon and Related Acts (see 29
CFR 5.1), and will be effective by operation of law, whether or not they are included or incorporated by
reference into such contract, unless the Department of Labor grants a variance, tolerance, or exemption.
Where the clauses and applicable wage determinations are effective by operation of law under this
paragraph, the prime contractor must be compensated for any resulting increase in wages in accordance
with applicable law.

Y. Voluntary Scrappage

1. Recipient must provide, in the semi-annual and final reports, evidence of appropriate scrappage and
evidence of appropriate disposal for all internal combustion engine equipment or vehicles identified for
scrappage in the final workplan, and in accordance with scrappage plans described in the proposal dated
May 28, 2024.

2. Participating fleet owners must attest to the appropriate disposal in a signed scrappage statement. A
sample scrappage statement (EPA Form 5900-684) may be found at https://www.epa.
gov/system/files/documents/2024-02/2024-clean-ports-sample-scrappage-stmt-2024-02.pdf. The
scrappage statement must include: vehicle owner's name and address; vehicle make, vehicle model,
vehicle model year, VIN, odometer/usage meter reading, engine make, engine model, engine model
year, engine horsepower, engine ID or serial number, as applicable; Name, address, and signature of
dismantler; Date engine and/or vehicle/equipment was scrapped. Recipients must include or attach the
following photos with the scrappage statement according to guidance provided by Project Officer, to
demonstrate compliance with scrappage requirements: side profile of the vehicle, prior to disabling; VIN
tag or equipment serial number; Engine label (showing serial number, engine family number, and engine
model year); Engine block, prior to hole; Engine block, after hole; and Cut frame rails.

a. If the recipient for any reason does not scrap the vehicle/piece of equipment described in the
application project narrative dated May 28, 2024, or listed on the Supplemental Application Template
(“4b. Scrappage Information” tab), an equivalent vehicle/piece of equipment or must be scrapped
instead, with approval of the project officer.

b. Equipment identified for scrappage may not be resold or donated instead of being scrapped.

3. The existing vehicle/equipment must be scrapped or rendered permanently disabled within two years
of delivery of the equivalent new zero-emissions vehicle/equipment, or before the end of the project
performance period, whichever comes first.

a. Cutting a three-inch-by-three-inch hole in the engine block (the part of the engine containing the
cylinders) is the preferred method for scrappage. Other acceptable scrappage methods may be
considered and will require prior EPA approval.

b. Disabling the chassis may be completed by cutting through the frame or frame rails on each side at a
point located between the front and rear axles.

c. Recipients seeking approval for alternate scrappage methods must submit an alternative scrappage
plan to the EPA project officer detailing how the method will destroy and/or disable the engine and must,
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if approved, comply with the evidence requirements listed below, including digital photographs.

4. Equipment and vehicle components that are not part of the engine or chassis may be salvaged from
the unit being scrapped (e.g., seats, tires, etc.).

a. If disabled engines, disabled vehicles, disabled equipment, or parts are to be sold, program income
requirements apply.

5. Equipment to be scrapped must meet ownership, usage, and remaining life criteria defined in 5.a.
through 5.f.:

a. The existing equipment being scrapped must be fully operational. Operational equipment must be able
to start, move, and have all necessary parts to perform its function.

b. The participating fleet owner must currently own and operate the existing equipment and have owned
and operated it during the two years prior to upgrade.

c. The existing equipment bing scrapped must have at least three years of remaining life at the time of
scrappage. Remaining life is the owner's estimate of the number of years until the unit would have been
retired from service if the unit were not being scrapped because of the grant funding. The remaining life
estimate includes years of service expected after being rebuilt or sold to another fleet. Remaining life
depends on the current age and condition of the vehicle at the time of upgrade, as well as factors like
usage, maintenance, and climate.

d. Equivalent Replacement: The existing engine/equipment being scrapped must have similar
horsepower as the new engine/equipment being purchased (within 40%).

e. Highway Usage:

       i. To be eligible, the existing certified highway vehicle must have accumulated at least 7,000
       miles/year during the two years prior to scrappage.

       ii. Exception: If an applicant can demonstrate that a certified highway vehicle is being used in a
       predominately nonroad application (e.g., those that idle for long periods to power an auxiliary
       apparatus), the definition below under “Nonroad Usage” of engine operating hours may be used if
       approved by the project officer. The EPA will review and approve this exception on a case-by-
       case basis.

       iii. The mileage of two or more units may be combined to reach the thresholds above, where two
       or more units will be scrapped and replaced with a single unit.

f. Nonroad Usage:

       i. To be eligible, nonroad engines should operate at least 500 hours/year during the two years
       prior to scrappage.

       ii. The engine operating hours of two or more units may be combined to reach the thresholds
       above where two or more units will be scrapped and replaced with a single unit.
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6. Locomotive and Marine Usage:

a. Existing locomotive and marine engines to be scrapped must operate at least 1,000 hours/year during
the two years prior to scrappage.

b. The engine operating hours of two or more units may be combined to reach the thresholds above
where two or more units will be scrapped and replaced with a single unit.

c. Participating fleet owners must attest to each of the above criterion in a signed eligibility statement
which includes each equipment make, model, year, vehicle or other unique identification number,
odometer/usage meter reading, engine make, model, year, horsepower, engine ID or serial number, and
vehicle/equipment/vessel registration/licensing number and state.

7. This documentation must be submitted as part of the grantee's programmatic reporting to the EPA.

Z. Historic Preservation

National Historic Preservation Act (NHPA)

Section 106 of the NHPA requires all federal agencies to consider the effects of their undertakings,
including the act of awarding a grant or cooperative agreement, on historic properties, and to provide the
Advisory Council on Historic Preservation (ACHP) a reasonable opportunity to comment on such
undertakings. The recipient must assist the EPA Project Officer in complying with NHPA if any activities
funded under this grant impact a historic property. Historic properties include: (a) land or buildings listed
in or eligible for listing on the National Register of Historic Places; (b) archaeologically sensitive areas or
in an area where traditional cultural properties are located; and (c) properties that are associated with
significant historic events, are associated with significant people, embody distinctive characteristics, and
contain important precontact information.

The recipient should work with their Project Officer to ensure that subrecipients are available to work with
EPA on any required consultation process with the State or Tribal Historic Preservation Office prior to
commencing the project to ensure compliance with Section 106 of the NHPA.

If NHPA compliance is required, necessary Section 106 consultation activities, such as historic or
architectural surveys, structural engineering analysis of buildings, public meetings, and archival
photographs, can be considered allowable and allocable grant costs.

Archeological and Historic Preservation Act (AHPA)

This law applies if archeologically significant artifacts or similar items are discovered after an EPA-funded
construction project has begun, and compliance may be coordinated with the NHPA, discussed above.
The AHPA requires federal agencies to identify relics, specimens, and other forms of scientific,
prehistorical, historical, or archaeologic data that may be lost during the construction of federally-
sponsored projects to ensure that these resources are not inadvertently transferred, sold, demolished or
substantially altered, or allowed to deteriorate significantly. The recipient must ensure that subrecipients
performing construction projects are aware of this requirement, and the recipient must notify EPA if the
AHPA is triggered.

AA. Other Federal Requirements
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In addition to other statutes outlined in these programmatic terms and conditions, the recipient must
comply with all federal cross-cutting requirements. These requirements include, but are not limited to:

       • Endangered Species Act, as specified in 50 CFR Part 402: Non-Federal entities must identify
       any impact or activities that may involve a threatened or endangered species. Federal agencies
       have the responsibility to ensure that no adverse effects to a protected species or habitat occur
       from actions under Federal assistance awards and conduct the reviews required under the
       Endangered Species Act, as applicable.

       • Federal Funding Accountability and Transparency Act: Recipients of financial assistance
       awards must comply with the requirements outlined in 2 CFR Part 170, Reporting Subaward and
       Executive Compensation and in the General Term and Condition “Reporting Subawards and
       Executive Compensation.”

       • Farmland Protection Policy Act: This statute requires EPA to use criteria developed by the
       Natural Resources Conservation Service (NRCS) to identify the potential adverse effects of
       Federal programs on farmland and its conversion to nonagricultural uses, to mitigate these
       effects, and to ensure that programs are carried out in a manner that is compatible with the
       farmland preservation policies of state and local governments, and private organizations.
       Recipients may need to work with EPA or NRCS, as appropriate, to ensure compliance.

       • Coastal Zone Management Act: Projects funded under federal financial assistance agreements
       must be consistent with a coastal State's approved management program for the coastal zone.

BB. Equipment Disposition
In accordance with 2 CFR 200.313, when original or replacement equipment acquired under this
agreement is no longer needed for the original project or program or for other activities currently or
previously supported by the EPA, the recipient must request disposition instructions from the EPA
Project Officer. Disposition instructions will be one of the following:


1. Equipment with a current fair market value of $10,000 or less (per unit) may be retained, sold, or
otherwise disposed of with no further obligation to the EPA or pass-through entity.


2. Except as provided in 2 CFR 200.312(b), or if EPA or the pass-through entity fails to provide
requested disposition instructions within 120 days, items of equipment with a current fair market value in
excess of $10,000 (per unit) may be retained or sold by the recipient or subrecipient. EPA is entitled to
an amount calculated by multiplying the percentage of the EPA's contribution towards the original
purchase by the current market value or proceeds from the sale. If the equipment is sold, EPA or the
pass-through entity may permit the recipient or subrecipient to retain, from the Federal share $1,000 of
the proceeds, to cover expenses associated with the selling and handling of the equipment.


3. The recipient or subrecipient may transfer title to the property to the Federal Government or to an
eligible third party provided that the recipient or subrecipient must be entitled to compensation for its
attributable percentage of the current fair market value of the property.


4. In cases where a recipient or subrecipient fails to take appropriate disposition actions, EPA or the
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pass-through entity may direct the recipient to take disposition actions.
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                                    SENSITIVE BUT UNCLASSIFIED



                                                                                       Date: 01/28/2025
                                    Account Balance Inquiry                               Time: 2:21 PM



ALC/Region:           Agency Short Name:               Account ID:
68128933              RTP-Grants                       N/A
Recipient ID:         Requestor ID:                    Account Status:          As of Date:
                      N/A                              Open                     Jan 27, 2025

Inquiry Results:

 Recipient      Short Name   Account ID       Cumulative          Cumulative     Current Available
    ID                                      Authorizations       Draws/RP/BE         Balance
             ILEPA                            $40,675,000.00               $0.00    $40,675,000.00
             ILEPA                             $3,500,000.00               $0.00     $3,500,000.00
             ILEPA                            $80,494,000.00     -$80,494,000.00              $0.00
             ILEPA                            $94,270,000.00     -$83,580,159.37    $10,689,840.63
             ILEPA                           $102,852,000.00     -$27,321,641.49    $75,530,358.51
             ILEPA                            $67,885,000.00     -$67,885,000.00              $0.00
             ILEPA                            $63,895,000.00     -$63,599,956.86       $295,043.14
             ILEPA                            $69,753,000.00     -$31,963,758.28    $37,789,241.72
             ILEPA                            $32,734,000.00     -$24,805,954.81     $7,928,045.19
             ILEPA                            $32,999,000.00               $0.00    $32,999,000.00
             ILEPA                             $1,713,333.00      -$1,496,895.33       $216,437.67
             ILEPA                                      $0.00              $0.00              $0.00
             ILEPA                           $106,964,000.00      -$5,851,002.93   $101,112,997.07
             ILEPA                           $239,745,000.00               $0.00   $239,745,000.00
             ILEPA                             $1,936,194.00      -$1,495,763.89       $440,430.11
             ILEPA                               $733,568.00          -$2,000.00       $731,568.00
             ILEPA                               $859,213.00         -$63,488.91       $795,724.09
             ILEPA                             $3,000,000.00        -$338,537.04     $2,661,462.96
             ILEPA                           $430,251,378.00               $0.00   $430,251,378.00
             ILEPA                             $1,110,081.00               $0.00     $1,110,081.00
             ILEPA                             $2,997,998.00               $0.00     $2,997,998.00
             ILEPA                            $92,058,008.00               $0.00    $92,058,008.00
             ILEPA                               $270,626.00        -$230,169.83        $40,456.17
             ILEPA                               $171,097.00         -$45,000.00       $126,097.00
             ILEPA                             $8,450,000.00      -$7,166,805.00     $1,283,195.00
             ILEPA                            $23,880,678.00     -$19,951,534.30     $3,929,143.70
             ILEPA                               $726,000.00         -$53,355.68       $672,644.32
             ILEPA                             $1,385,000.00         -$59,393.41     $1,325,606.59
             ILEPA                             $1,392,000.00               $0.00     $1,392,000.00
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      ILEPA                          $1,509,000.00            $0.00     $1,509,000.00
      ILEPA                          $6,748,000.00   -$3,809,969.31     $2,938,030.69
      ILEPA                          $6,930,000.00   -$4,245,367.72     $2,684,632.28
      ILEPA                          $6,930,000.00   -$1,392,579.40     $5,537,420.60
      ILEPA                          $6,930,000.00            $0.00     $6,930,000.00
      ILEPA                          $6,685,600.00            $0.00     $6,685,600.00
      ILEPA                            $308,824.00     -$281,428.84        $27,395.16
      ILEPA                         $52,330,000.00 -$52,330,000.00              $0.00
      ILEPA                         $33,926,000.00 -$33,926,000.00              $0.00
      ILEPA                         $36,922,000.00 -$36,922,000.00              $0.00
      ILEPA                            $749,115.00            $0.00       $749,115.00
      ILEPA                            $935,220.00            $0.00       $935,220.00
      ILEPA                         $42,014,000.00 -$41,505,000.00        $509,000.00
      ILEPA                         $26,439,000.00 -$26,434,397.00          $4,603.00
      ILEPA                         $14,957,128.00 -$14,757,128.00        $200,000.00
      ILEPA                         $14,143,000.00 -$13,377,280.00        $765,720.00
      ILEPA                            $179,977.00     -$152,986.63        $26,990.37
      ILEPA                            $297,395.00      -$17,311.77       $280,083.23
      ILEPA                            $177,175.00            $0.00       $177,175.00
      ILEPA                          $2,260,000.00            $0.00     $2,260,000.00
      ILEPA                          $1,893,296.00            $0.00     $1,893,296.00
      ILEPA                            $200,000.00      -$74,347.94       $125,652.06
      ILEPA                            $300,000.00            $0.00       $300,000.00
      ILEPA                            $190,000.00            $0.00       $190,000.00
      ILEPA                            $675,007.00     -$530,061.91       $144,945.09
      ILEPA                            $781,924.00            $0.00       $781,924.00
      ILEPA                          $1,803,000.00            $0.00     $1,803,000.00
      ILEPA                          $2,389,000.00            $0.00     $2,389,000.00
      ILEPA                          $1,042,000.00            $0.00     $1,042,000.00
      ILEPA                            $121,277.00      -$75,001.58        $46,275.42
      ILEPA                          $1,220,269.00   -$1,083,290.10       $136,978.90
      ILEPA                            $350,000.00     -$227,528.53       $122,471.47
      ILEPA                          $1,681,556.00   -$1,573,257.00       $108,299.00
      ILEPA                          $5,890,000.00   -$4,319,442.42     $1,570,557.58
      ILEPA                             $73,095.00      -$13,165.24        $59,929.76
      ILEPA                            $750,212.00      -$37,309.36       $712,902.64
      ILEPA                             $71,635.00      -$57,284.15        $14,350.85
      ILEPA                             $25,000.00            $0.00        $25,000.00
      ILEPA                            $543,322.00     -$270,955.39       $272,366.61
      ILEPA                            $251,083.00     -$160,699.82        $90,383.18
      ILEPA                            $112,500.00      -$32,221.04        $80,278.96
      ILEPA                             $57,189.00      -$37,750.86        $19,438.14
                                 $1,788,493,973.00 -$654,048,181.14 $1,134,445,791.86


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                                                                               GRANT NUMBER (FAIN): 00E02954
                                                                               MODIFICATION NUMBER: 0              DATE OF AWARD
                             U.S. ENVIRONMENTAL                                PROGRAM CODE:        V              10/29/2020
                             PROTECTION AGENCY                                 TYPE OF ACTION                      MAILING DATE
                                                                               New                                 11/05/2020
                                 Cooperative Agreement                         PAYMENT METHOD:                     ACH#
                                                                               ASAP                                50183
 RECIPIENT TYPE:                                                        Send Payment Request to:
 State                                                                  Research Triangle Park Finance Center
 RECIPIENT:                                                             PAYEE:
 Illinois Environmental Protection Agency                               Illinois Environmental Protection Agency
 1021 North Grand Avenue East, P.O. Box 19276                           1021 North Grand Avenue East, P.O. Box 19276
 Springfield, IL 62794-9276                                             Springfield, IL 62794-9276
 EIN: XX-XXXXXXX
PROJECT MANAGER                                EPA PROJECT OFFICER                              EPA GRANT SPECIALIST
Brian Conrath                                  Bertanna Lewis                                   Donna Stingley
1021 North Grand Avenue East, P.O. Box 19276   77 West Jackson Blvd., SR-6J                     Assistance Section, MA-10J
Springfield, IL 62794-9276                     Chicago, IL 60604-3507                           E-Mail: Stingley.Donna@epa.gov
E-Mail: brian.conrath@illinois.gov             E-Mail: lewis.bertanna@epa.gov                   Phone: 312-353-1677
Phone: 217-557-8155                            Phone: 312-886-2838
PROJECT TITLE AND DESCRIPTION
Southeast Rockford Source Area 7 Long-Term Remedial Action (LTRA)

This Cooperative Agreement funds the recipient's program to conduct Long-Term Remedial Action which includes groundwater (GW) containment and
treatment, multi-phase extraction wells and treatment of the GW and soil gas, monitoring, restrictions on GW usage, and reporting at the Southeast Rockford
Source Area 7 hazardous waste site, which is listed on the National Priorities List of the National Oil and Hazardous Substances Contingency Plan .

BUDGET PERIOD                            PROJECT PERIOD                        TOTAL BUDGET PERIOD COST               TOTAL PROJECT PERIOD COST
11/01/2020 - 10/31/2030                  11/01/2020 - 10/31/2030               $14,742,182.00                         $14,742,182.00

                                                               NOTICE OF AWARD
Based on your Application dated 10/05/2020 including all modifications and amendments, the United States acting by and through the US Environmental
Protection Agency (EPA) hereby awards $640,000. EPA agrees to cost-share 90.00% of all approved budget period costs incurred, up to and not exceeding
total federal funding of $640,000. Recipient's signature is not required on this agreement. The recipient demonstrates its commitment to carry out this award
by either: 1) drawing down funds within 21 days after the EPA award or amendment mailing date; or 2) not filing a notice of disagreement with the award terms
and conditions within 21 days after the EPA award or amendment mailing date. If the recipient disagrees with the terms and conditions specified in this award,
the authorized representative of the recipient must furnish a notice of disagreement to the EPA Award Official within 21 days after the EPA award or
amendment mailing date. In case of disagreement, and until the disagreement is resolved, the recipient should not draw down on the funds provided by this
award/amendment, and any costs incurred by the recipient are at its own risk. This agreement is subject to applicable EPA regulatory and statutory provisions,
all terms and conditions of this agreement and any attachments.
          ISSUING OFFICE (GRANTS MANAGEMENT OFFICE)                                                      AWARD APPROVAL OFFICE
 ORGANIZATION / ADDRESS                                                            ORGANIZATION / ADDRESS
  U.S. EPA Region 5                                                               U.S. EPA, Region 5
  Mail Code MA-10J                                                                Superfund & Emergency Management Division, S-6J
  77 West Jackson Blvd.                                                           77 West Jackson Blvd.
  Chicago, IL 60604-3507                                                          Chicago, IL 60604-3507
                              THE UNITED STATES OF AMERICA BY THE U.S. ENVIRONMENTAL PROTECTION AGENCY
 Digital signature applied by EPA Award Official William Massie - Chief, Acquisition and Assistance Branch                                DATE
                                                                                                                                          10/29/2020
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                                           EPA Funding Information                                       V - 00E02954 - 0   Page 2

              FUNDS                                          FORMER AWARD                      THIS ACTION                  AMENDED TOTAL
  EPA Amount This Action                                                $                         $ 640,000                       $ 640,000

  EPA In-Kind Amount                                                           $                          $                                 $ 0

  Unexpended Prior Year Balance                                                $                          $                                  $0

  Other Federal Funds                                                          $                          $                                  $0

  Recipient Contribution                                                       $                 $ 1,474,218                         $ 1,474,218

  State Contribution                                                           $                          $                                  $0

  Local Contribution                                                           $                          $                                  $0

  Other Contribution                                                           $                          $                                  $0

  Allowable Project Cost                                                    $0                   $ 2,114,218                         $ 2,114,218




Assistance Program (CFDA)                            Statutory Authority                         Regulatory Authority
66.802 - Superfund State Political Subdivision and    CERCLA: Sec. 104(d)(1)                     2 CFR 200
Indian Tribe Site Specific Cooperative Agreements                                               2 CFR 1500
                                                                                                40 CFR 33 and 40 CFR 35 Subpart O




                                                                       Fiscal
           Site Name                Req No       FY       Approp.       Budget       PRC    Object Site/Project    Cost      Obligation /
                                                           Code       Organization          Class               Organization Deobligation
 SE ROCK                          215ASCX001         21             T        5AF0R   000DD2   4185    05DKLR03          C002        640,000




                                                                                                                                         640,000
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Budget Summary Page
                      Table A - Object Class Category                   Total Approved Allowable
                            (Non-construction)                             Budget Period Cost
1. Personnel                                                                              $189,625
2. Fringe Benefits                                                                        $383,479
3. Travel                                                                                  $11,240
4. Equipment                                                                                    $0
5. Supplies                                                                                 $1,500
6. Contractual                                                                         $13,958,388
7. Construction                                                                                 $0
8. Other                                                                                        $0
9. Total Direct Charges                                                                $14,544,232
10. Indirect Costs: % Base SEE TABLE B                                                    $197,950
11. Total (Share: Recipient 10.00 % Federal 90.00 %.)                                  $14,742,182
12. Total Approved Assistance Amount                                                   $13,267,964
13. Program Income                                                                              $0
14. Total EPA Amount Awarded This Action                                                  $640,000
15. Total EPA Amount Awarded To Date                                                      $640,000

    Southeast Rockford Source Area 7 Long-Term Remedial Action (LTRA)
                    Table B - Program Element Classification               Total Approved Allowable
                               (Non-construction)                             Budget Period Cost
      1. 34.54% Salary & Fringe --Valid 7/1/20-6/30/21                                               $
      2.                                                                                             $
      3.                                                                                             $
      4.                                                                                             $
      5.                                                                                             $
      6.                                                                                             $
      7.                                                                                             $
      8.                                                                                             $
      9.                                                                                             $
     10.                                                                                             $
     11. Total (Share: Recip % Fed %)                                                                $
     12. Total Approved Assistance Amount                                                            $
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                                  Administrative Conditions

National Administrative Terms and Conditions
General Terms and Conditions
The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2020-or-later.
These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at:
https://www.epa.gov/grants/grant-terms-and-conditions#general.

A. Correspondence Condition
The terms and conditions of this agreement require the submittal of reports, specific requests for approval,
or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the following
email addresses:
            ·   Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and Donna Stingley at
                stingley.donna@epa.gov
            ·   MBE/WBE reports (EPA Form 5700-52A): Donna Stingley at
                stingley.donna@epa.gov and region5closeouts@epa.gov
            ·   All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for
                Extensions of the Budget and Project Period, Amendment Requests, Requests for other
                Prior Approvals, updates to recipient information (including email addresses, changes in
                contact information or changes in authorized representatives) and other notifications:
                Donna Stingley, Grant Specialist at stingley.donna@epa.gov and Bertanna Lewis,
                Project Officer at lewis.bertanna@epa.gov
            ·   Payment requests (if applicable): rtpfc-grants@epa.gov and Bertanna Lewis, Project
                Officer at lewis.bertanna@epa.gov
            ·   Quality Assurance documents, workplan revisions, equipment lists, programmatic reports
                and deliverables: Bertanna Lewis, Project Officer at lewis.bertanna@epa.gov

B. Disadvantaged Business Enterprise (DBEs)
UTILIZATION OF SMALL, MINORITY AND WOMEN'S BUSINESS ENTERPRISES

GENERAL COMPLIANCE, 40 CFR, Part 33
The recipient agrees to comply with the requirements of EPA's Disadvantaged Business Enterprise (DBE)
Program for procurement activities under assistance agreements, contained in 40 CFR, Part 33 except as
described below based upon the associated class deviation.

EPA MBE/WBE CERTIFICATION, 40 CFR, Part 33, Subpart B
A class exception to the following provisions of Subpart B of 40 CFR Part 33 has been issued suspending
the EPA MBE/WBE certification program: §33.204(a)(3) providing that an entity may apply to EPA MBE or
WBE certification after unsuccessfully attempting to obtain certification as otherwise described in §33.204;
and §33.205 through and including §33.211. The class exception was authorized pursuant to the authority
in 2 CFR 1500.3(b).

SIX GOOD FAITH EFFORTS, 40 CFR, Part 33, Subpart C
Pursuant to 40 CFR, Section 33.301, the recipient agrees to make the following good faith efforts
whenever procuring construction, equipment, services and supplies under an EPA financial assistance
agreement, and to require that sub-recipients, loan recipients, and prime contractors also comply.
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Records documenting compliance with the six good faith efforts shall be retained:

        (a) Ensure DBEs are made aware of contracting opportunities to the fullest extent practicable
        through outreach and recruitment activities. For Indian Tribal, State and Local and Government
        recipients, this will include placing DBEs on solicitation lists and soliciting them whenever they are
        potential sources.

        (b) Make information on forthcoming opportunities available to DBEs and arrange time frames for
        contracts and establish delivery schedules, where the requirements permit, in a way that
        encourages and facilitates participation by DBEs in the competitive process. This includes,
        whenever possible, posting solicitations for bids or proposals for a minimum of 30 calendar days
        before the bid or proposal closing date.

        (c) Consider in the contracting process whether firms competing for large contracts could
        subcontract with DBEs. For Indian Tribal, State and local Government recipients, this will include
        dividing total requirements when economically feasible into smaller tasks or quantities to permit
        maximum participation by DBEs in the competitive process.

        (d) Encourage contracting with a consortium of DBEs when a contract is too large for one of these
        firms to handle individually.

        (e) Use the services and assistance of the SBA and the Minority Business Development Agency
        of the Department of Commerce.

        (f) If the prime contractor awards subcontracts, require the prime contractor to take the steps in
        paragraphs (a) through (e) of this section.


CONTRACT ADMINISTRATION PROVISIONS, 40 CFR, Section 33.302
The recipient agrees to comply with the contract administration provisions of 40 CFR, Section 33.302
(a)-(d) and (i).

BIDDERS LIST, 40 CFR, Section 33.501(b) and (c)
Recipients of a Continuing Environmental Program Grant or other annual reporting grant, agree to create
and maintain a bidders list. Recipients of an EPA financial assistance agreement to capitalize a revolving
loan fund also agree to require entities receiving identified loans to create and maintain a bidders list if the
recipient of the loan is subject to, or chooses to follow, competitive bidding requirements. Please see 40
CFR, Section 33.501 (b) and (c) for specific requirements and exemptions.

FAIR SHARE OBJECTIVES, 40 CFR, Part 33, Subpart D
A class exception to the entire Subpart D of 40 CFR Part 33 has been authorized pursuant to the authority
in 2 CFR 1500.3(b). Notwithstanding Subpart D of 40 CFR Part 33, recipients are not required to negotiate
or apply fair share objectives in procurements under assistance agreements.

MBE/WBE REPORTING- SPECIFIC CHANGES PURSUANT TO CLASS DEVIATION, 40 CFR, Part 33,
Subpart E
When required, the recipient agrees to complete and submit a “MBE/WBE Utilization Under Federal
Grants and Cooperative Agreements” report (EPA Form 5700-52A) on an annual basis. The current EPA
Form 5700-52A can be found at the EPA Grantee Forms Page at
https://www.epa.gov/grants/epa-grantee-forms.

Reporting is required for assistance agreements where funds are budgeted for procuring construction,
equipment, services and supplies (including funds budgeted for direct procurement by the recipient or
procurement under subawards or loans in the “Other” category) with a cumulative total that exceed the
threshold amount of $250,000, including amendments and/or modifications. When reporting is required,
all procurement actions are reportable, not just that portion which exceeds $250,000.
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Annual reports are due by October 30th of each year. Final reports are due by October 30th or 90 days
after the end of the project period, whichever comes first.

This provision represents an approved deviation from the MBE/WBE reporting requirements as described
in 40 CFR, Part 33, Section 33.502.

C. Intergovernmental Review Period

In accordance with 40 CFR Part 29, EPA must allow for an intergovernmental review comment period on
this grant program. Accordingly, the Grantee may incur costs at its own risk but shall not draw down any
funds associated with this award until the process is completed. This includes successful resolution of any
issues identified during the comment period, which ends 11/05/2020.

D. Contingent Funding
EPA is funding this agreement incrementally. There is no guarantee of funding beyond the first year. The
Total Approved Assistance Amount identified on Line 12 of the budget table of this award is contingent
upon the availability of appropriated funds, EPA funding priorities, and satisfactory progress in carrying out
the activities described in the scope of work. If EPA informs the recipient that the amount on Line 12 will
be reduced, the recipient agrees to provide an updated workplan and budget information, as needed, to
amend the agreement.

Partial Obligation
This action approves the workplan and anticipated total budget of $14,742,182 proposed in the application
dated 10/05/2020.. Federal funds obligated to date, in the amount of $640,000, represent less than the full
federal share, $13,267,964 of the anticipated total budget. Subject to appropriations and availability of
federal funds, the balance of the federal share will be awarded at a later date. Should additional federal
funds not be available or reductions of obligated amounts be required, the federal and nonfederal shares
as well as the approved workplan will be adjusted accordingly in a future agreement amendment.



                                   Programmatic Conditions
National Programmatic Terms and Conditions

A. PERFORMANCE REPORTING AND FINAL PERFORMANCE REPORT
Performance Reports – Content

In accordance with 2 CFR 200.328, the recipient agrees to submit performance reports that include brief
information on each of the following areas: 1) A comparison of actual accomplishments to the
outputs/outcomes established in the assistance agreement work plan for the period; 2) The reasons why
established outputs/outcomes were not met; and 3) Additional pertinent information, including, when
appropriate, analysis and explanation of cost overruns or high-unit costs.

Additionally, the recipient agrees to inform EPA as soon as problems, delays, or adverse conditions which
will materially impair the ability to meet the outputs /outcomes specified in the assistance agreement work
plan are known.

For State Categorical Program Grants Only: Interim performance and final progress reports must
prominently display the three Essential Elements for state work plans: 1) Strategic Plan Goal; (2)
Strategic Plan Objective; and (3) Workplan Commitments plus time frame.
(See Grants Policy Issuance 11-03 State Grant Workplans and Progress Reports for more information)
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Performance Reports - Frequency

The recipient agrees to submit annual performance reports electronically to the EPA Project Officer within
90 days after the annual reporting period ends on October 31, 2021. The final project report is due within
90 days of the budget/project period end date.

1. If quarterly or semi-annual performance reports are required, they are to be submitted electronically
   to the EPA Project Officer within 30 days after the reporting period (every three- or six-month period).
   The reporting periods are October 1 – March 31 & April 1 – September 30


B. Cybersecurity Condition

State Grant Cybersecurity
(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.
(b) (1) EPA must ensure that any connections between the recipient’s network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure.
For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory,
user-controlled connections such as website browsing are excluded from this definition.
If the recipient’s connections as defined above do not go through the Environmental Information Exchange
Network or EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project Officer (PO)
and work with the designated Regional/Headquarters Information Security Officer to ensure that the
connections meet EPA security requirements, including entering into Interconnection Service Agreements
as appropriate. This condition does not apply to manual entry of data by the recipient into systems
operated and used by EPA’s regulatory programs for the submission of reporting and/or compliance data.
(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient to
comply with the requirements in (b)(1) if the subrecipient’s network or information system is connected to
EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA’s Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring
deemed necessary by the recipient under 2 CFR 200.331(d), by inquiring whether the subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA
Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the subrecipient and EPA.

C. Competency Policy

        Competency of Organizations Generating Environmental Measurement Data
        In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the
        Competency of Organizations Generating Environmental Measurement Data under
        Agency-Funded Assistance Agreements,
        Recipient agrees, by entering into this agreement, that it has demonstrated competency prior to
        award, or alternatively, where a pre-award demonstration of competency is not practicable,
        Recipient agrees to demonstrate competency prior to carrying out any activities under the award
        involving the generation or use of environmental data. Recipient shall maintain competency for the
        duration of the project period of this agreement and this will be documented during the annual
        reporting process. A copy of the Policy is available online at
        https://www.epa.gov/sites/production/files/2015-03/documents/competency-policy-aaia-new.pdf
        https://www.epa.gov/sites/production/files/2015-03/documents/competency-policy-aaia-new.pdf or
        a copy may also be requested by contacting the EPA Project Officer for this award.
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D. Signage Required

   The signage required T&C is available at:
   https://www.epa.gov/sites/production/files/2015-01/documents/signage required tc.pdf

      Signage Required Term and Condition


      1.       Signage Requirements
      The recipient is required to place a sign at construction sites supported under this award
      displaying the EPA logo in a manner that informs the public that the project is funded in part or
      wholly by the EPA. The sign must be placed in a visible location that can be directly linked to the
      work taking place and must be maintained in good condition throughout the construction period .

      Recipients are required to comply with the sign specifications provided by the EPA Office of Public
      Affairs (OPA) available at:
      https://www.epa.gov/grants/epa-logo-seal-specifications-signage-produced-epa-assistance-agree
      ment-recipients
      https://www.epa.gov/grants/epa-logo-seal-specifications-signage-produced-epa-assistance-agree
      ment-recipients. If the EPA logo is displayed along with the logos of other participating entities, the
      EPA logo must not be displayed in a manner that implies that EPA itself is conducting the project.
      Instead, the EPA logo must be accompanied with a statement indicating that the recipient
      received financial assistance from EPA for the project. As provided in the sign specifications from
      OPA, the EPA logo is the preferred identifier for assistance agreement projects and use of the
      EPA seal requires prior approval from the EPA. To obtain the appropriate EPA logo or seal
      graphic file, the recipient should send a request directly to OPA and include the EPA Project
      Officer in the communication. Instructions for contacting OPA is available at:
      https://www.epa.gov/stylebook/using-epa-seal-and-logo.

      State agencies and agencies of political subdivisions of states must comply with 2 CFR 200.322,
      Procurement of recovered materials when procuring signage for projects funded by EPA
      assistance agreement. EPA encourages other recipients to use recycled or recovered materials
      when procuring signs.

      Signage costs are considered an allowable cost under this assistance agreement provided that
      the costs associated with signage are reasonable. Additionally, to increase public awareness of
      projects serving communities where English is not the predominant language, recipients are
      encouraged to translate the language on signs (excluding the EPA logo or seal) into the
      appropriate non-English language(s). The costs of such translation are allowable, provided the
      costs are reasonable.

      2.       Public or Media Events
      The Recipient agrees to notify the EPA Project Officer listed in this award document of public or
      media events publicizing the accomplishment of significant events related to construction projects
      as a result of this agreement, and provide the opportunity for attendance and participation by
      federal representatives with at least ten (10) working days’ notice.



E. Geospatial Data Standards

   All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
   endorsed standards. Information on these standards may be found at https://www.fgdc.gov/.
F. QUALITY ASSURANCE
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Quality Assurance System

Scope:
Quality assurance (QA) applies to all agreements that involve environmental data operations, including
environmental or scientific data and information collection, production or use. Environmental data
operations include the acquisition, generation, compilation or use of environmental data and technology.
These terms and conditions apply to all environmental programs included in the agreement’s workplan
that contain environmental data operations.

Sub-awards will include appropriate quality requirements for the work conducted through sub-agreements
with other organizations. The prime recipient is accountable for all work performed on the project or
program award including any portion of the external agreement work that the recipient awards to a
sub-recipient.

Definitions applicable to these terms and conditions are in the following locations: EPA QA/R-2: EPA
Requirements for Quality Management Plans and EPA QA R-5: EPA Requirements for Quality Assurance
Project Plans, Appendix A.

Examples are included in the definitions of Environmental Data, Environmental Programs, and
Environmental Technology and on the internet at: Quality Specifications for non-EPA Organizations to do
business with EPA in the Example Activities Section.

Authorities, in accordance with:
    · 2 CFR §1500.11;
    · 40 CFR 35;
    · Policy and Program Requirements for the Mandatory Agency-wide Quality System , May 2000 CIO
         2105.0;
    · EPA Quality Manual for Environmental Programs, May 2000 CIO 2105-P-01-0;
    · EPA QA/R-2: EPA Requirements for Quality Management Plans;
    · EPA QA/R-5: EPA Requirements for Quality Assurance Project Plans; and
    · and as described by the Office of Grants and Debarment Quality Assurance Requirements

Communications:
The EPA Project Officer will provide the recipient with the EPA QA contact upon EPA’s award issuance or
upon request by recipient for pre-submittal questions and other communications regarding QA system
document(s). A list of QA managers is posted on EPA’s Quality Program website.

The recipient agrees to include the EPA Project Officer on all written communications with the EPA QA
contact.


QUALITY MANAGEMENT PLAN

Quality Management Plan

The recipient shall continue to implement and adhere to the Quality Management Plan (QMP), based on
the EPA QA/R-2: EPA Requirements for Quality Management Plans, submitted to EPA.

        February 28, 2018         Approval Date

         A17-001                  Version

In accordance with EPA QA/R-2 Section 2.7: Recipient must review its QMP at least annually to reconfirm
the suitability and effectiveness of the approved quality management practices. QMP review results and/or
revisions made must be submitted to EPA Project Officer and QA contact at least annually but may be
submitted when the changes occur.
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Significant changes made to the quality system that affect the performance of work for the Agency
requiring the revision of an approved QMP are listed in EPA QA/R-2 Section 2.6.

QUALITY ASSURANCE PROJECT PLAN

Quality Assurance Project Plan

The recipient shall continue to implement and adhere to the approved Quality Assurance Project Plan
(QAPP) based on the EPA QA/R-5: EPA Requirements for Quality Assurance Project Plans, submitted to
EPA.

          June 22, 2018           Approval Date

            June 2016             Version

Recipient must review its QAPP at least annually to reconfirm its suitability and effectiveness. QAPP
review results and/or revisions made must be submitted to EPA Project Officer and QA contact at least
annually but may be submitted when the changes occur.

In accordance with EPA QA/R-5 Section 2.7: When substantive change is warranted, the recipient must
modify the QAPP and submit the revision for EPA approval. Only after the revision has been received and
approved shall the change be implemented.

G. Substantial Involvement

EPA will be substantially involved in this agreement. Substantial involvement by the EPA Project Officer
may include:
1.) monthly telephone calls and other monitoring,
2.) reviewing project phases and providing approval to continue to the next phase,
3.) reviewing and commenting on any documents, web content, or other materials developed under this
agreement (the recipient will make final decisions on these matters),
4.) approving substantive terms included in contracts or subawards (EPA’s Project Officer will not suggest,
recommend or direct the recipient to select any particular contractor or subrecipient except to the extent
permitted in Section 10 of EPA’s Subaward Policy).
5.) reviewing and commenting on the programmatic progress reports
6) Consultation with EPA regarding the selection of key personnel (EPA’s involvement is limited to
reviewing the technical qualifications of key personnel and the recipient will make the final decisions on
selection. EPA’s Project Officer will not suggest, recommend or direct the recipient to select any
individual).
7.) Joint operational involvement, participation, and/or collaboration between EPA and the recipient.

H. General Provisions
Region 5 awards this Cooperative Agreement in accordance with the Federal Grant and Cooperative
Agreement Act of 1977 and its implementing regulations, the United States Environmental Protection and
Local Governments. The Cooperative Agreement Recipient (CAR) warrants, represents, and agrees that
it, and all its contractors, employees and representatives, will comply with all applicable provisions of 40
CFR Chapter 1, Subchapter B, INCLUDING BUT NOT LIMITED TO the provisions of 40 CFR Part 35
Subpart O.

   1.   Prompt Payment Act Provisions

        In accordance with 5 C.F.R. Section 1315.15, federal funds may not be used by the CAR for the
        payment of interest penalties to contractors when bills are paid late, nor may interest penalties be
        used to satisfy cost sharing requirements. Obligations to pay such interest penalties will not be
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        obligations of the United States.

    2. Disclaimer of Agency Relationship
       Nothing contained in this Agreement shall be construed to create, either expressly or by
       implication, the relationship of agency between EPA and Cooperative Agreement Recipient
       (CAR). Any standards, procedures, or protocol prescribed in this Agreement are to be followed by
       CAR during the performance of its obligations under final product of the actions contemplated by
       this Agreement, and do not constitute a right to control the actions of CAR. EPA (including its
       employees and contractors) is not authorized to represent or act on behalf of CAR in any matter
       relating to the subject matter of this Agreement, and CAR (including its employees and
       contractors) is not authorized to represent or act on behalf of EPA in any matter related to the
       subject matter of this Agreement. Neither EPA nor CAR shall be liable for the contracts acts,
       errors, or omissions or the agents, employees, or contractors, or the other party entered into,
       committed, or performed with respect to or in the performance of, this Agreement.

I. Programmatic Terms and Conditions:

         1. Authority: All activities conducted under this Cooperative Agreement shall be consistent with
the revised National Contingency Plan (NCP), 40 CFR 300, dated December           23, 1988, (53 Federal
         Register 51962).

        The CAR acknowledges that this Cooperative Agreement has been entered into pursuant to the
        following authorities and the CAR agrees to comply with the applicable requirements contained in
        such authorities:

            (a) Comprehensive Environmental Response, Compensation, and Liability Act of 1980, 42
            U.S.C. Section 9601 et seq., as amended "CERCLA").
            (b) 31 U.S.C. Section 6301 et seq.

        2. Permits and Approvals: CAR agrees to satisfy all federal, state, and local requirements,
including permits and approvals, necessary for implementing activities addressed in this Cooperative
        Agreement.

        3. Amendments: Any change in this Cooperative Agreement must be agreed to by both parties
    in writing.
        4. Budget: In accordance with 2CFR 200, the CAR agrees that it will notify EPA of problems,
    delays, or adverse conditions which materially impair the ability to meet the outputs/outcomes
    specified in the assistance agreement work plan
        5. Confidentiality of Documents: The CAR will make best efforts to retain information
    generated under this award and designated as confidential by EPA as confidential under applicable
    state law. EPA will make best efforts to retain information under this award and designated as
    confidential by the CAR as confidential under applicable federal law. If the CAR and/or EPA cannot
    retain       these documents as confidential, they should inform the other party so that other
    arrangements relating to this work can be made.
        6. Health and Safety Plan: Before beginning field work, the CAR must have a health and safety
    plan in place providing for the protection of on-site personnel and area residents. This plan need not
    be submitted to EPA, but must be made available to EPA upon request. The CAR’s health and
    safety plan must comply with Occupational Safety and Health Administration (OSHA) 29 CFR
    1910.120, entitled “Hazardous Waste Operations and Emergency Response.”
        7. Quality Assurance: The CAR must comply with the quality assurance requirements
    described in 2 CFR 200. The CAR must have an EPA approved non-site-specific quality assurance
    plan in            place before beginning field work. The CAR must submit the plan to EPA in
    adequate time (generally 45 days) for approval to be granted before beginning field work. The quality
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    assurance plan             must comply with the requirements regarding split sampling described in
    section 104(e)(4)(B) of CERCLA, as amended.
         8. Site Access: To the extent allowable under state law, CAR will provide access to the sites, as
    well as all right-of-way and easements necessary to complete the response actions . STATE will
         provide access to EPA employees and contractors at all reasonable times to the extent allowable
    under state law. “As provided in CERCLA Section 104(e)(1), the Cooperative Agreement
    Recipient (CAR) is authorized under this Cooperative Agreement to take actions under CERCLA
    Sections 104)(e)(3) and 104(e)(4), as amended, for entry, inspection and sampling. These
         authorities may be exercised only if there is a reasonable basis to believe there may be a release
    or threat of release of a hazardous substance or pollutant or contaminant. These authorities may be
         exercised only for the purposes of determining the need for response, or choosing or taking any
    response actions under CERCLA or enforcing the provisions of CERCLA” cleanup), the CAR shall
    consult with EPA regarding potential applicability of the National Historic Preservation Act and, if
    applicable, shall assist EPA in complying with any requirements of the Act and implementing
    regulations.
        10. Electronic Copies of Reports and Attachments: The CAR is responsible for providing a
    transferrable electronic copy of the draft report and the approved final report, inclusive of attachments.
        This is to facilitate public accessibility of this information from our Superfund Documents
    Management System. Electronic copies may be provided via EPA’s Environmental Science
    Connector or on CD.
        11. 10 Year Term: The Cooperative Agreement (CA) is intended to cover a 10 year time frame
    and an estimated 10 year funding amount unless an existing CA has been extended. The work plan
        approved to date contains work for the project period of November 1, 2020 to October 31, 2030.
        12. Semi-Annual Reporting: Semi-Annual technical performance reports must be submitted
    within 30 days following the end of each six month period. A final technical performance report must
    be          submitted 90 days after then of the budget and project periods. All technical performance
    reports must be submitted to the EPA Project Officer.
                 Environmental Results – Recipient Performance Reporting: As stated in the
         Government Performance Results Act (EPA Order 5700.7). The CAR is responsible for
         reporting outcomes    and results accomplished as a part of this cooperative agreement.
                 Reporting requirements are specified in 2CFR 200. Each report submitted by the CAR
         will contain the following:
            ·   An explanation of work accomplished (outputs and outcomes) established in the reporting
                period,
            ·   Reasons, if any, why anticipated outputs/outputs were not met and a description of the
                corrective measures which are planned.
            ·   A comparison of the percentage of the project completed to the project schedule, and an
                explanation of significant discrepancies.
            ·   A comparison of the estimated funds spent to date to the planned aggregated
                expenditures and an explanation of significant discrepancies.
            ·   An estimate of the time and funds needed to complete the work required in the
                cooperative agreement, a comparison of that estimate to the time and funds remaining,
                and justification for any increase.
            ·   Other pertinent information, including, when appropriate, analysis and explanations of
                cost overruns or high unit costs.

J. Electronic And Information Technology Accessibility

Recipients and sub-recipients are subject to the program accessibility provisions of Section 504 of the
Rehabilitation Act, codified in 40 CFR Part 7, which includes an obligation to provide individuals with
disabilities reasonable accommodations and an equal and effective opportunity to benefit from or
participate in a program, including those offered through electronic and information technology (“EIT”). In
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compliance with Section 504, EIT systems or products funded by this award must be designed to meet the
diverse needs of users (e.g., U.S. public, recipient personnel) without barriers or diminished function or
quality. Systems shall include usability features or functions that accommodate the needs of persons with
disabilities, including those who use assistive technology. At this time, the EPA will consider a recipient’s
websites, interactive tools, and other EIT as being in compliance with Section 504 if such technologies
1194. While Section 508 does not apply directly to grant recipients, we encourage recipients to follow
either the 508 guidelines or other comparable guidelines that concern accessibility to EIT for individuals
with disabilities. Recipients may wish to consult the latest Section 508 guidelines issued by the US
Access Board or W3C’s Web Content Accessibility Guidelines (WCAG) 2.0 (see
http://www.access-board.gov/sec508/guide/index.htm).

K. Overpayments

Overpayments by the recipient (State) will not be reimbursed but State may request credit by submitting a
credit claim to EPA. The credit work is limited to the State’s site-specific expenses that U.S. EPA
determines to be reasonable, documented, direct, out-of-pocket expenditures of non-Federal funds for
remedial action as defined in CERCLA section 101(24) that are consistent with a permanent remedy at the
site. Excess credit will not be reimbursed, but excess credit may be applied to the State’s cost share at
another operable unit or another site pursuant to a State Superfund Contract.


L. Community Relations
 The recipient must comply with the community relations requirements described in EPA policy and
 guidance, and in the National Contingency Plan (40 CFR § 300.155 – Public information and community
 relations).


M. Accounting requirements
The recipient's system must track expenses by site, activity, and, operable unit, as applicable, according
to object class. The system must also provide control, accountability, and an assurance that funds,
property, and other assets are used only for their authorized purposes. The recipient must allow an EPA
review of the adequacy of the financial management system as described in 2 CFR § 200.302. The
recipient's systems must comply with the appropriate allowable cost principles described in 2 CFR part
200 Subpart E—Cost Principles. The accounting system must use actual costs as the basis of all reports
of direct site charges.


N. Third-Party Benefits
This Agreement is intended to benefit only the recipient and the EPA. It extends no benefit or rights to
any part not a signatory to this Agreement. In addition, EPA does not assume any rights to third parties
with respect to losses due to bodily injury or property damages that exceed the limitations contained in
the provisions of 28 U.S.C. Section 1346(b), 2671-2680. To the extent permitted by State law, the
recipient does not assume liability to any third parties with respect to losses due to bodily injury or
property damage.


O. CERCLA Assurances and Other Requirements
1. Cost Share
Per 40 CFR § 35.6285, the State may pay for the following share of response costs using cash, credit,
in-kind/ donated services. Tribes are not required to provide cost share per CERCLA § 104(c)(3)(C)(ii).
Documented excess credit cannot be reimbursed to the State but may be used to satisfy cost share
requirements at another site. In-kind services/donations are not credit and cannot be reimbursed to the
State nor used to satisfy cost share requirements at another site.
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The recipient assures cost sharing as follows:

This Site was not operated by the State or political subdivision thereof, either directly or through a
contractual relationship or otherwise, at the time of any disposal of hazardous substances at the facility.
Therefore, the State’s cost share for the and long-term response action” provided under this Cooperative
Agreement is 10 percent of the total costs of the remedial action.

 2. Waste Capacity
The recipient recognizes EPA’s expectation that there will be adequate national hazardous treatment and
disposal capacity during the 20-year period following signature of this cooperative agreement pursuant to
CERCLA §104(c)(9).

EPA’s 2019 National Capacity Assessment shows that there is adequate national capacity for the
treatment and disposal of hazardous waste through calendar year 2044. This assessment included data
provided by the State for the 2017 National Biennial RCRA Hazardous Waste Report.
 3. Out-of-state waste transfer
The state or tribe must provide written notification of off-site shipments of CERCLA waste from a site to an
out-of-State or out-of-an-Indian-Tribal-area-of-Indian-country waste management facility to: (1) The
appropriate State environmental official for the State in which the waste management facility is located;
and/or (2) An appropriate official of an Indian Tribe in whose area of Indian country the waste
management facility is located; and (3) The EPA Award Official.
4. Off-site disposal
If off-site storage, destruction, treatment, or disposal is required, the State must assure the availability of a
hazardous waste disposal facility that complies subtitle C of the Solid Waste Disposal Act and is
acceptable to EPA. The lead agency of the State must provide the notification required at 40 CFR
§35.6120, if applicable.
5. Operational and Functional

The completion of the joint State/EPA pre-final inspection marks the point in time when construction of
each remedial action is considered complete for purposes of this Cooperative Agreement. It is used to
document the beginning of the up to one-year O&F period. Consistent with 40 CFR 300.435(f)(2), the
“remedy becomes operational and functional (O&F) either one year after construction is complete, or
when the remedy is determined concurrently by EPA and the State to be functioning properly and
performing as designed, whichever is earlier.” The State will schedule and conduct a joint State/EPA final
inspection within one year of the completion of the joint State/EPA pre-final inspection. The completion
date of the State/EPA final inspection, assuming it is done within one year of the pre-final inspection, will
be used as the date of the O&F determination. In the event that the joint State/EPA inspection and does
not occur within one year, the NCP (40 CFR § 300.435(f)) provides EPA the discretion to make an O&F
determination without this inspection. As discussed in §300.435(f)(2) of the NCP, “EPA may grant
extensions to the one-year O&F period, as appropriate.” When the O&F determination has been made,
EPA will provide written notification to the State documenting the O&F determination. Since the O&F time
period is part of the remedial action, the State cost share is applicable.

In accordance with 40 CFR §300.435(f)(1), the O&F determination results in the transfer of each remedial
action to the State for O&M or initiation of the long-term response action (LTRA), as described in the
Ground and Surface Water Restoration Provision.

The State and its contractor will prepare the Remedial Action Report once each remedial action is O&F.
EPA will have the opportunity to comment on the Remedial Action Report. After EPA approves the
Remedial Action Report, EPA will provide a copy to the State.
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                                                          EPA Funding Information
            FUNDS                                          FORMER AWARD                            THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                              $640,000                            $832,500                            $1,472,500
EPA In-Kind Amount                                                           $0                                $0                                    $0
Unexpended Prior Year Balance                                                $0                                $0                                    $0
Other Federal Funds                                                          $0                                $0                                    $0
Recipient Contribution                                            $1,474,218                                 ($1)                           $1,474,217
State Contribution                                                           $0                                $1                                    $1
Local Contribution                                                           $0                                $0                                    $0
Other Contribution                                                           $0                                $0                                    $0
Allowable Project Cost                                            $2,114,218                            $832,500                            $2,946,718



Assistance Program (CFDA)                            Statutory Authority                              Regulatory Authority
66.802 - Superfund State Political Subdivision and   CERCLA: Sec. 104(d)(1)                           2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR 35
Indian Tribe Site Specific Cooperative                                                                Subpart O
Agreements




                                                                            Fiscal
           Site Name                  Req No         FY     Approp.          Budget       PRC      Object   Site/Project      Cost        Obligation /
                                                             Code          Oganization             Class                   Organization   Deobligation
05DKLR03                           215ASCX005         21              T           5AF0R   000DD2    4185     05DKLR03             C002        $832,500
                                                                                                                                              $832,500
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                               Administrative Conditions
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award date of this amendment. The General Terms and Conditions cited in the original
award or prior funded amendments remain in effect for funds disbursed by the recipient prior
to the award date of this amendment.
The recipient agrees to comply with the current EPA general terms and conditions available
at: https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-november-12-
2020-or-later.
These terms and conditions are binding for disbursements and are in addition to or modify
the assurances and certifications made as a part of the award and the terms, conditions, or
restrictions cited throughout the award.
The EPA repository for the general terms and conditions by year can be found at:
https://www.epa.gov/grants/grant-terms-and-conditions#general.
D.    Contingent Funding
EPA is funding this agreement incrementally. There is no guarantee of funding beyond the
first year. The Total Approved Assistance Amount identified on Line 12 of the budget table of
this award is contingent upon the availability of appropriated funds, EPA funding priorities,
and satisfactory progress in carrying out the activities described in the scope of work. If EPA
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  Case 1:25-cv-00039-JJM-PAS             Document 68-56 Filed 02/07/25       Page 517 of 566
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                                   Programmatic Conditions
All Previous Cited Programmatic Terms and Conditions Remain the Same
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                                                          EPA Funding Information
            FUNDS                                          FORMER AWARD                            THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                            $1,472,500                          $1,472,500                            $2,945,000
EPA In-Kind Amount                                                           $0                                $0                                    $0
Unexpended Prior Year Balance                                                $0                                $0                                    $0
Other Federal Funds                                                          $0                                $0                                    $0
Recipient Contribution                                            $1,474,218                                   $0                           $1,474,218
State Contribution                                                           $0                                $0                                    $0
Local Contribution                                                           $0                                $0                                    $0
Other Contribution                                                           $0                                $0                                    $0
Allowable Project Cost                                            $2,946,718                          $1,472,500                            $4,419,218



Assistance Program (CFDA)                            Statutory Authority                              Regulatory Authority
66.802 - Superfund State Political Subdivision and   CERCLA: Sec. 104(d)(1)                           2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR 35
Indian Tribe Site Specific Cooperative                                                                Subpart O
Agreements




                                                                            Fiscal
           Site Name                  Req No         FY     Approp.          Budget       PRC      Object   Site/Project      Cost        Obligation /
                                                             Code          Oganization             Class                   Organization   Deobligation
05DKLR03                           225ASCX001         22              T           5AF0R   000DD2    4185     05DKLR03             C002      $1,472,500
                                                                                                                                            $1,472,500
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     Case 1:25-cv-00039-JJM-PAS                   Document 68-56 Filed 02/07/25                      Page 521 of 566
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award or prior funded amendments remain in effect for funds disbursed by the recipient prior to the award date of this
amendment.

The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2021-or-later

These terms and conditions are binding for disbursements and are in addition to or modify the assurances and certifications
made as a part of the award and the terms, conditions, or restrictions cited throughout the award.




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informs the recipient that the amount on Line 12 will be reduced, the recipient agrees to provide an updated workplan and
budget information, as needed, to amend the agreement.

All Other Previously Cited Administrative Conditions Remain the Same
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                                   Programmatic Conditions
All Previously Cited Programmatic Terms and Conditions Remain the Same
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                                                          EPA Funding Information
            FUNDS                                          FORMER AWARD                           THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                            $2,945,000                         $1,472,500                            $4,417,500
EPA In-Kind Amount                                                           $0                               $0                                    $0
Unexpended Prior Year Balance                                                $0                               $0                                    $0
Other Federal Funds                                                          $0                               $0                                    $0
Recipient Contribution                                            $1,474,218                                  $0                           $1,474,218
State Contribution                                                           $0                               $0                                    $0
Local Contribution                                                           $0                               $0                                    $0
Other Contribution                                                           $0                               $0                                    $0
Allowable Project Cost                                            $4,419,218                         $1,472,500                            $5,891,718



Assistance Program (CFDA)                            Statutory Authority                             Regulatory Authority
66.802 - Superfund State Political Subdivision and   CERCLA: Sec. 104(d)(1)                          2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR 35
Indian Tribe Site Specific Cooperative                                                               Subpart O
Agreements




                                                                            Fiscal
           Site Name                  Req No         FY     Approp.          Budget      PRC      Object   Site/Project      Cost        Obligation /
                                                             Code          Oganization            Class                   Organization   Deobligation
05DKLR03                            235ASEX008        22         TSD            5AF0R    000DD2    4185     05DKLR03             C002      $1,334,357
05F00DK                             235ASEX008        23         TR2          05F00DK    000DD2    4185     05DKLR03             C002         $11,500
05F00DK                             235ASEX008        23        TR2B          05F00DK    000DD2    4185     05DKLR03             C002        $126,643
                                                                                                                                           $1,472,500
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                                         Administrative Conditions
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and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for approval, or notifications
to EPA. Unless otherwise noted, all such correspondence should be sent to the following email addresses:

   ●   Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and Donna Stingley, Grant Specialist at
       stingley.donna@epa.gov
   ●   MBE/WBE reports (EPA Form 5700-52A): Karen Sykes at sykes.karen@epa.gov and region5closeouts@epa.gov
   ●   All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the Budget and
       Project Period, Amendment Requests, Requests for other Prior Approvals, updates to recipient information (including
       email addresses, changes in contact information or changes in authorized representatives) and other notifications:
       Donna Stingley, Grant Specialist at stingley.donna@epa.gov and Bertanna Lewis, Project Officer at
       lewis.bertanna@epa.gov
   ●   Quality Assurance documents, workplan revisions, equipment lists, programmatic reports, and deliverables:
       Bertanna Lewis, Project Officer at lewis.bertanna@epa.gov

All Other Previously Cited Administrative Terms & Conditions Remain the Same.




                                          Programmatic Conditions
All Previously Cited Programmatic Terms and Conditions Remain the Same.
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                                                           EPA Funding Information
              FUNDS                                        FORMER AWARD                             THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                            $ 4,417,500                         $ 1,472,500                            $ 5,890,000
EPA In-Kind Amount                                                           $0                                $0                                     $0
Unexpended Prior Year Balance                                                $0                                $0                                     $0
Other Federal Funds                                                          $0                                $0                                     $0
Recipient Contribution                                            $ 1,474,218                                  $0                            $ 1,474,218
State Contribution                                                           $0                                $0                                     $0
Local Contribution                                                           $0                                $0                                     $0
Other Contribution                                                           $0                                $0                                     $0
Allowable Project Cost                                            $ 5,891,718                         $ 1,472,500                            $ 7,364,218



Assistance Program (CFDA)                             Statutory Authority                              Regulatory Authority
66.802 - Superfund State Political Subdivision and    CERCLA: Sec. 104(d)(1)                           2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR
Indian Tribe Site Specific Cooperative Agreements                                                      35 Subpart O




                                                                              Fiscal
                                                             Approp.          Budget                Object                     Cost         Obligation /
          Site Name                  Req No           FY                                     PRC             Site/Project
                                                              Code          Organization            Class                   Organization    Deobligation
05DKLR03                          245ASEX019         22     TSD             5AF1R          000DD2   4185     05DKLR03       C002             $ 1,472,500
                                                                                                                                             $ 1,472,500
                Case 1:25-cv-00039-JJM-PAS                    Document 68-56 Filed 02/07/25       Page 529 of 566
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Budget Summary Page
                                       Table A - Object Class Category                                Total Approved Allowable
                                             (Non-Construction)                                          Budget Period Cost
 1. Personnel                                                                                                                $ 189,625
 2. Fringe Benefits                                                                                                          $ 383,479
 3. Travel                                                                                                                    $ 11,240
 4. Equipment                                                                                                                        $0
 5. Supplies                                                                                                                    $ 1,500
 6. Contractual                                                                                                           $ 13,958,388
 7. Construction                                                                                                                    $0
 8. Other                                                                                                                           $0
 9. Total Direct Charges                                                                                                  $ 14,544,232
 10. Indirect Costs: 0.00 % Base SEE TABLE B                                                                                 $ 197,950
 11. Total (Share: Recipient ______
                               10.00 % Federal ______
                                                 90.00 %)                                                                 $ 14,742,182
 12. Total Approved Assistance Amount                                                                                     $ 13,267,964
 13. Program Income                                                                                                                 $0
 14. Total EPA Amount Awarded This Action                                                                                  $ 1,472,500
 15. Total EPA Amount Awarded To Date                                                                                      $ 5,890,000
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SUMMARY OF INDIRECT COST RATES
                                   Table B - Program Element Classification                            Total Approved Allowable
                                              (Non-construction)                                          Budget Period Cost
 1. 34.54% Salary and Fringe--Valid 07/1/20-06/30/21                                                                              $0
 2. 32.80% Salary and Fringe--Valid 07/1/21-06/30/22                                                                              $0
 3. 31.78% Salary and Fringe--Valid 07/1/22-06/30/23                                                                              $0
 4. 31.78% Salary and Fringe--Valid 07/1/22-06/30/23                                                                              $0
 5. 42.12% Salary and Fringe--Valid 07/1/23-06/30/24                                                                              $0
 6.                                                                                                                               $0
 7.                                                                                                                               $0
 8.                                                                                                                               $0
 9.                                                                                                                               $0
 10.                                                                                                                              $0
 11. Total (Share: Recip   % Fed   %)                                                                                             $0
 12. Total Approved Assistance Amount                                                                                             $0
        Case 1:25-cv-00039-JJM-PAS         Document 68-56 Filed 02/07/25          Page 531 of 566
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                                      Administrative Conditions
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for funds disbursed by the recipient prior to the award date of this amendment.

The recipient agrees to comply with the current EPA general terms and conditions available at: https:
//www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2023-or-later.

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throughout the award.

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gov/grants/grant-terms-and-conditions#general

https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2023-or-later.

All Other Previously Cited Administrative Terms & Conditions Remain the Same.
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                                   Programmatic Conditions
All Previously Cited Programmatic Terms and Conditions Remain the Same.
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                                                          EPA Funding Information
            FUNDS                                          FORMER AWARD                           THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                                       $0                        $200,000                              $200,000
EPA In-Kind Amount                                                           $0                               $0                                    $0
Unexpended Prior Year Balance                                                $0                               $0                                    $0
Other Federal Funds                                                          $0                               $0                                    $0
Recipient Contribution                                                       $0                               $0                                    $0
State Contribution                                                           $0                               $0                                    $0
Local Contribution                                                           $0                               $0                                    $0
Other Contribution                                                           $0                               $0                                    $0
Allowable Project Cost                                                       $0                        $200,000                              $200,000



Assistance Program (CFDA)                            Statutory Authority                             Regulatory Authority
66.802 - Superfund State Political Subdivision and   CERCLA: Secs. 104(d)(1) & 104(c)(3)(C)          2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR 35
Indian Tribe Site Specific Cooperative                                                               Subpart O
Agreements




                                                                            Fiscal
           Site Name                  Req No         FY     Approp.          Budget      PRC      Object   Site/Project      Cost        Obligation /
                                                             Code          Oganization            Class                   Organization   Deobligation
-                                   2305SEX002        23        TR2B          05F00DK    000DD2    4185    05DKRD03              C005        $200,000
                                                                                                                                             $200,000
Case 1:25-cv-00039-JJM-PAS   Document 68-56 Filed 02/07/25   Page 535 of 566
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  Case 1:25-cv-00039-JJM-PAS               Document 68-56 Filed 02/07/25               Page 536 of 566
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                                     Administrative Conditions
General Terms and Conditions

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   ●   MBE/WBE reports (EPA Form 5700-52A): region5closeouts@epa.gov and Robert Young at
       young.robert@epa.gov
   ●   All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of
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       to recipient information (including email addresses, changes in contact information or changes in
       authorized representatives) and other notifications: Bertanna Lewis at lewis.bertanna@epa.gov
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   ●   Payment requests (if applicable): Bertanna Lewis at lewis.bertanna@epa.gov
   ●   Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
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B. Contingent Funding

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to amend the agreement.



                                     Programmatic Conditions
Superfund Remedial Response Cooperative Agreement Terms and Conditions

A. Health and Safety Plan
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Before beginning field work, the recipient must have a health and safety plan in place providing for the
protection of on-site personnel and area residents, unless specifically waived by the award official. This
plan need not be submitted to EPA but must be made available to EPA upon request. The recipient’s
health and safety plan must comply with Occupational Safety and Health Administration (OSHA) 29CFR §
1910.120, entitled “Hazardous Waste Operations and Emergency Response.”

B. Quality Assurance

Authority: Quality Assurance applies to all assistance agreements involving environmental information as
defined in 2 C.F.R. § 1500.12 Quality Assurance.

The recipient shall ensure that subawards involving environmental information issued under this
agreement include appropriate quality requirements for the work. The recipient shall ensure sub-award
recipients develop and implement the Quality Assurance (QA) planning document in accordance with this
term and condition; and/or ensure sub-award recipients implement all applicable approved QA planning
documents.

1. Quality Management Plan (QMP)

a. Prior to beginning environmental information operations, the recipient must:

i. Submit a previously EPA-approved and current QMP,

ii. The EPA Quality Assurance Manager or designee (hereafter referred to as QAM) will notify the
recipient and EPA Project Officer (PO) in writing if the QMP is acceptable for this agreement.

b. The recipient must submit the QMP within 60 days after grant award.

c. The recipient must review their approved QMP at least annually. These documented reviews shall be
made available to the sponsoring EPA organization if requested. When necessary, the recipient shall
revise its QMP to incorporate minor changes and notify the EPA PO and QAM of the changes. If
significant changes have been made to the Quality Program that affect the performance of environmental
information operations, it may be necessary to re-submit the entire QMP for re-approval. In general, a
copy of any QMP revision(s) made during the year should be submitted to the EPA PO and QAM in
writing when such changes occur. Conditions requiring the revision and resubmittal of an approved QMP
can be found in section 6 of EPA’s Quality Management Plan (QMP) Standard.

2. Quality Assurance Project Plan (QAPP)

a. Prior to beginning environmental information operations, the recipient must:

i. Provide EPA a copy of the recipient-approved QAPP if the recipient has an EPA-approved Quality
Management Plan and a current EPA delegation to review and approve QAPPs.

b. The recipient must submit the QAPP no more than 180 days after grant award.

c. The recipient shall notify the PO and QAM when substantive changes are needed to the QAPP. EPA
may require the QAPP be updated and re-submitted for approval.

For Reference:
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• Quality Management Plan (QMP) Standard and EPA QA/R-5: EPA Requirements for Quality Assurance
Project Plans; contain quality specifications for EPA and non-EPA organizations and definitions applicable
to these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans, Appendix C provides a QAPP Checklist.

• (QAM and/or PO may insert QA references that inform or assist the recipient here).

• EPA’s Quality Program website has a list of QA managers, and Non-EPA Organizations Quality
Specifications.

• The Office of Grants and Debarment Implementation of Quality Assurance Requirements for
Organizations Receiving EPA Financial Assistance.

C. Community Relations

The recipient must comply with the community relations requirements described in EPA policy and
guidance, and in the National Contingency Plan (40 CFR § 300.155 – Public information and community
relations).

D. Accounting requirements

The recipient's system must track expenses by site, activity, and, operable unit, as applicable, according
to object class. The system must also provide control, accountability, and an assurance that funds,
property, and other assets are used only for their authorized purposes. The recipient must allow an EPA
review of the adequacy of the financial management system as described in 2 CFR § 200.302. The
recipient's systems must comply with the appropriate allowable cost principles described in 2 CFR part
200 Subpart E—Cost Principles. The accounting system must use actual costs as the basis of all reports
of direct site charges.

E. Reports

1. Progress

Recipient agrees to provide the following progress reports:

Semi-Annual progress reports and a final progress report on all activities identified in the workplan in
accordance with 40 CFR 35.6650. These reports will contain at a minimum:

        a) an explanation of work accomplished during the reporting period, delays, or other problems, if
        any, and a description of the corrective measures that are planned. The recipient agrees to inform
        the EPA Project Officer as soon as problems, delays or adverse conditions become known which
        will materially impair the ability to meet the outputs/outcomes specified in the assistance
        agreement work plan. This notification shall include a statement of the action taken or
        contemplated, and any assistance needed to resolve the situation.

        b) a comparison of the percentage of the project completed to the project schedule, and an
        explanation of significant discrepancies.

        c) a comparison of the estimated funds spent to date to planned expenditures and an explanation
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       of significant discrepancies per task. The semi-annually progress reports shall be due within 60
       days of the reporting period; the final progress report is due 90 days after the expiration or
       termination of the cooperative agreement. The progress reports are to be submitted electronically
       to the EPA Project Officer via e-mail.

       d) Reporting Periods: the reporting periods shall be defined according to the federal fiscal cycle.

       Semi-annual reports shall cover the periods:

       October 1 – March 31

       April 1 – September 30

       The first report shall cover the period from the start date of the award to the end of the first
       reporting cycle.

2. Inventory

       a. CERCLA-funded property.

               (1) Content. The report must contain the following information:

                        (a) Classification and value of remaining supplies.

                        (b) Description of all equipment purchased with CERCLA funds, including its
                        current condition.

                        (c) Verification of the current use and continued need for the equipment by site,
                        activity,

                        and operable unit, as applicable.

                        (d) Notification of any property which has been stolen or vandalized.

                        (e) A request for disposition instructions for any equipment no longer needed on
                        the project.

               (2) Reporting frequency. The recipient must submit an inventory report to EPA at the
               following

               times:

                        (a) Within 90 days after completing any CERCLA-funded project or any response
                        activity at a site.

                        (b) When the equipment is no longer needed for any CERCLA-funded project or
                        any response activity at a site.

       b. Federally owned property.

               (1) Content. The recipient must include the following information for each federally owned
               item in the inventory report:
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                       (a) Description.

                       (b) Decal number.

                       (c) Current condition.

                       (d) Request for disposition instructions.

               (2) Reporting frequency. The recipient must submit an inventory report to the appropriate
               EPA property accountable officer at the following times:

                       (a) Annually, due to EPA on the anniversary date of the award.

                       (b) When the property is no longer needed.

                       (c) Within 90 days after the end of the project period.

F. Cybersecurity

State Grant Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient’s network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure. For purposes of
this Section, a connection is defined as a dedicated persistent interface between an Agency IT system
and an external IT system for the purpose of transferring information. Transitory, user-controlled
connections such as website browsing are excluded from this definition. If the recipient’s connections as
defined above do not go through the Environmental Information Exchange Network or EPA’s Central Data
Exchange, the recipient agrees to contact the EPA Project Officer (PO) and work with the designated
Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security
requirements, including entering into Interconnection Service Agreements as appropriate. This condition
does not apply to manual entry of data by the recipient into systems operated and used by EPA’s
regulatory programs for the submission of reporting and/or compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient to
comply with the requirements in (b)(1) if the subrecipient’s network or information system is connected to
EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA’s Central Data Exchange. The recipient will be in compliance with this
condition: by including this requirement in subaward agreements; and during subrecipient monitoring
deemed necessary by the recipient under 2 CFR 200.331(d), by inquiring whether the subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA
Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the subrecipient and EPA.

G. Closeout

In addition to Agency requirements, closeout of a Cooperative Agreement, or an activity under a
Cooperative Agreement, can take place in the following situations:
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       1. After the completion of all work for a response activity at a site.

       2. After all activities under a Cooperative Agreement have been completed.

       3. Upon termination of the Cooperative Agreement.

The recipient must comply with the closeout requirements described in 2 CFR § 200.344 and §200.345.
After closeout, EPA may monitor the recipients’ compliance required by CERCLA §104(c) and addressed
in 40 CFR § 300.510(c)(1) of the NCP.

H. Third-Party Benefits

This Agreement is intended to benefit only the recipient and the EPA. It extends no benefit or rights to any
part not a signatory to this Agreement. In addition, EPA does not assume any rights to third parties with
respect to losses due to bodily injury or property damages that exceed the limitations contained in the
provisions of 28 U.S.C. Section 1346(b), 2671-2680. To the extent permitted by State law, the recipient
does not assume liability to any third parties with respect to losses due to bodily injury or property
damage.

I. Records Management

1. Project records

The lead agency for the response action must compile and maintain an administrative record consistent
with CERCLA § 113, the National Contingency Plan, and relevant EPA policy and guidance. In addition,
recipients of assistance (whether lead or support agency) are responsible for maintaining project files
described as follows. The recipient must maintain project records by site, activity, and operable unit, as
applicable.

       a. Financial records. The recipient must maintain records which support the following items:

               (1) Amount of funds received and expended; and

               (2) Direct and indirect project cost.

       b. Property records. The recipient must maintain records which support the following items:

               (1) Description of the property;

               (2) Manufacturer's serial number, model number, or other identification number;

               (3) Source of the property, including the assistance identification number;

               (4) Information regarding whether the title is vested in the recipient or EPA;

               (5) Unit acquisition date and cost;

               (6) Percentage of EPA's interest;

               (7) Location, use and condition (by site, activity, and operable unit, as applicable) and the
               date this information was recorded; and
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               (8) Ultimate disposition data, including the sales price or the method used to determine
               the price, or the method used to determine the value of EPA's interest for which the
               recipient compensates EPA in accordance with section J7.

       c. Procurement records.

               (1) General. The recipient must maintain records which support the following items and
               must make them available to the public:

                       (i) The reasons for rejecting any or all bids; and

                       (ii) The justification for a procurement made on a noncompetitively negotiated
                       basis.

               (2) Procurements in excess of the simplified acquisition threshold. The recipient's records
               and files for procurements in excess of the simplified acquisition threshold must include
               the following information:

                       (i) The basis for contractor selection;

                       (ii) A written justification for selecting the procurement method;

                       (iii) A written justification for use of any specification which does not provide for
                       maximum free and open competition;

                       (iv) A written justification for the choice of contract type; and

                       (v) The basis for award cost or price, including a copy of the cost or price analysis
                       made in accordance with 40 CFR §35.6585 and documentation of negotiations.

       d. Other records. The recipient must maintain records which support the following items:

               (1) Time and attendance records and supporting documentation;

               (2) Documentation of compliance with statutes and regulations that apply to the project.

2. Retention

       a. This requirement applies to all financial and programmatic records, supporting documents,
       statistical records, and other records which are required to be maintained by the terms, program
       regulations, or the Cooperative Agreement, or are otherwise reasonably considered as pertinent
       to program regulations or the Cooperative Agreement.

       b. Length of retention period. The recipient must maintain all records for 10 years following
       submission of the final Financial Status Report unless otherwise directed by the EPA award
       official and must obtain written approval from the EPA award official before destroying any
       records. If any litigation, claim, negotiation, audit, cost recovery, or other action involving the
       records has been started before the expiration of the ten-year period, the records must be
       retained until completion of the action and resolution of all issues which arise from it, or until the
       end of the regular ten-year period, whichever is later.
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       c. Substitution of an unalterable electronic format. An unalterable electronic format, acceptable to
       EPA, may be substituted for the original records. The copying of any unalterable electronic format
       must be performed in accordance with the technical regulations concerning Federal Government
       records (36 CFR parts 1220 through 1234) and EPA records management requirements.

       d. Starting date of retention period. The recipient must comply with the requirements regarding the
       starting dates for records retention described in 2 CFR §1500.7.

3. Access

       a. The recipient must comply with the requirements regarding records access described in 2
       CFR§ 200.337.

       b. Availability of records. The recipient must, with the exception of certain policy, deliberative, and
       enforcement documents which may be held confidential, ensure that all files are available to the
       public.

       c. Contractor requirements. The recipient must require its contractor to comply with
       the requirements regarding records access described in 2 CFR § 200.337.

J. Property Requirements

1. General Acquisition and Use Requirements

The recipient must acquire the property during the approved project period. The recipient must:

       a. Charge property costs by site, activity, and operable unit, as applicable.

       b. Document the use of the property by site, activity, and operable unit, as applicable

       Solicit and follow EPA's instructions on the disposal of any property (see section J7)

2. Supplies and Equipment

The recipient must agree to comply with the requirements in the sections below.

3. Alternative Methods for Obtaining Property

       a. Purchase equipment with recipient funds. The recipient may purchase equipment with the
       recipient's own funds and may charge EPA a fee for using equipment on a CERCLA-funded
       project. The fee must be based on a usage rate, subject to the usage rate requirements in Section
       J4 (40 CFR § 35.6320).

       b. Borrow federally owned property. The recipient may borrow federally owned property, except
       for motor vehicles, for use on CERCLA-funded projects. The loan of the federally owned property
       may only extend through the project period. At the end of the project period, or when the federally
       owned property is no longer needed for the project, the recipient must return the property to the
       Federal Government.

       c. Lease, use contractor services, or purchase with CERCLA funds. To acquire equipment
       through lease, use of contractor services, or purchase with CERCLA funds, the recipient must
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       conduct and document a cost comparison analysis to determine which of these methods of
       obtaining equipment is the most cost effective. To obtain the equipment, the recipient must submit
       documentation of the cost comparison analysis to EPA for approval. The recipient must obtain the
       equipment through the most cost-effective method, subject to the following requirements:

                 (1) Lease or rent equipment. If it is the most cost-effective method of acquisition, the
                 recipient may lease or rent equipment, subject only to the requirements in L. (40 CFR §
                 35.6300).

                 (2) Use contractor services.

                        (i) If it is the most cost-effective method of acquisition, the recipient may hire the
                        services of a contractor.

                        (ii) The recipient must obtain award official approval before authorizing the
                        contractor to purchase equipment with CERCLA funds. (See Section J5 regarding
                        the title and vested interest of equipment purchased with CERCLA funds). This
                        does not apply for recipients who have used the sealed bids method of
                        procurement.

                        (iii) The recipient must require the contractor to allocate the cost of the contractor
                        services by site, activity, and operable unit, as applicable.

                 (3) Purchase equipment with CERCLA funds. If equipment purchase is the most cost-
                 effective method of obtaining the equipment, the recipient may purchase the equipment
                 with CERCLA funds. To purchase equipment with CERCLA funds, the recipient must
                 comply with the following requirements:

                        (i) The recipient must include in the Cooperative Agreement application a list of all
                        items of equipment to be purchased with CERCLA funds, with the price of each
                        item.

                        (ii) If the equipment is to be used on sites, the recipient must allocate the cost of
                        the equipment by site, activity, and operable unit, as applicable, by applying a
                        usage rate subject to the usage

                        rate requirements (see section J4).

                        (iii) The recipient may not use CERCLA funds to purchase a transportable or
                        mobile treatment system.

4. Usage rate.

       a. Usage rate approval. To charge EPA a fee for use of equipment purchased with recipient funds
       or to allocate the cost of equipment by site, activity, and operable unit, as applicable, the recipient
       must apply a usage rate. The recipient must submit documentation of the usage rate computation
       to EPA. The EPA-approved usage rate must be included in the Cooperative Agreement before the
       recipient incurs these equipment costs.
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       b. Usage rate application. The recipient must record the use of the equipment by site, activity, and
       operable unit, as applicable, and must apply the usage rate to calculate equipment charges by
       site, activity, and operable unit, as applicable.

5. Title and EPA interest in CERCLA-funded Property and Federally Owned Property

       a. EPA's interest in CERCLA-funded property. EPA has an interest (the percentage of EPA's
       participation in the total award) in both equipment and supplies purchased with CERCLA funds.

       b. Title in CERCLA-funded property. Title in both equipment and supplies purchased with

       CERCLA funds vests in the recipient.

       c. Right to transfer title. EPA retains the right to transfer title of all property purchased with
       CERCLA funds to the Federal Government or a third party within 120 calendar days after project
       completion or at the time of disposal.

       d. Equipment used as all or part of the remedy. The following requirements apply to equipment
       used as all or part of the remedy:

               (1) Fixed in-place equipment. EPA no longer has an interest in fixed in-place equipment
               once the equipment is installed.

               (2) Equipment that is an integral part of services to individuals. EPA no longer has an
               interest in equipment that is an integral part of services to individuals, such as pipes, lines,
               or pumps providing hookups for homeowners on an existing water distribution system,
               once EPA certifies that the remedy is operational and functional.

       e. Title to all federally owned property vests in the Federal Government and when is no longer
       needed, the recipient must inform EPA that the property is available for return. EPA will send
       disposition instructions.

6. Property Management Standards

The recipient must comply with the following property management standards for property purchased with
CERCLA funds. The recipient may use its own property management system if it meets the following
standards.

       a. Property records for CERCLA-funded property which include the contents specified in Section
       I.1.b.

       b. A control system that ensures adequate safeguards for prevention of loss, damage, or theft of
       the property. The recipient must make provisions for the thorough investigation and
       documentation of any loss, damage, or theft.

       c. Procedures to ensure maintenance of the property are in good condition and
       periodic calibration of the instruments used for precision measurements.

       d. Sales procedures to ensure the highest possible return, if the recipient is authorized to sell the
       property
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       e. Provisions for financial control and accounting in the financial management system of all
       equipment.

       f. Identification of all federally owned property.

7. Disposal of CERCLA funded property and Federally owned property

       a. Equipment: For equipment that is no longer needed, or at the end of the project period,
       whichever is earlier, the recipient must:

               (1) Analyze two alternatives: The cost of leaving the equipment in place, and the cost of
               removing the equipment and disposing of it in another manner.

               (2) Document the analysis of the two alternatives in the inventory report. See section E2.
               regarding requirements for the inventory report. If it is most cost-effective to remove the
               equipment and dispose of it in another manner. If the equipment has a residual fair market
               value of $5,000 or more, the recipient must request disposition instructions from EPA in
               the inventory report. If the equipment has a residual fair market value of less than $5,000,
               the recipient may retain the equipment for the recipient's use on another CERCLA site. If,
               however, there is any remaining residual value at the time of final disposition, the recipient
               must reimburse the Hazardous Substance Superfund for EPA's vested interest in the
               current fair market value of the equipment at the time of disposition. If it is most cost-
               effective to leave the equipment in place, recommend in the inventory report that the
               equipment be left in place.

               (3) Submit the inventory report to EPA, even if EPA has stopped supporting the project.

               (4) The following disposal options are available: (i) Use the equipment on another
               CERCLA project and reimburse the original project for the fair market value of the
               equipment; (ii) If both the recipient and EPA concur, keep the equipment and reimburse
               the Hazardous Substance Superfund for EPA's interest in the current fair market value of
               the equipment; (iii) Sell the equipment and reimburse the Hazardous Substance
               Superfund for EPA's interest in the current fair market value of the equipment, less any
               reasonable selling expenses; or (iv) Return the equipment to EPA and if applicable, EPA
               will reimburse the recipient for the recipient's proportionate share in the current fair market
               value of the equipment.

       b. Supplies: If supplies have an aggregate fair market value of $5,000 or more at the end of the
       project period, the recipient must take one of the following actions at the direction of EPA:

               (1) Use the supplies on another CERCLA project and reimburse the original project for the
               fair market value of the supplies.

               (2) If both the recipient and EPA concur, keep the supplies and reimburse the
               Hazardous Substance Superfund for EPA's interest in the current fair market value of the
               supplies.

               (3) Sell the supplies and reimburse the Hazardous Substance Superfund for EPA's
               interest in the current fair market value of the supplies, less any reasonable selling
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               expenses.

               (4) If the supplies remaining at the end of the project period have an aggregate fair market
               value of less than $5,000, the recipient may keep the supplies to use on another CERCLA
               project. If the recipient cannot use the supplies on another CERCLA project, then the
               recipient may keep or sell the supplies without reimbursing the Hazardous Substance
               Superfund.

       c. When federally owned property is no longer needed, or at the end of the project, the recipient
       must inform EPA that the property is available for return to the Federal Government. EPA will
       send disposition instructions to the recipient.

8. Acquisition and Transfer of Real Property

A recipient may acquire an interest in real property only with prior approval of EPA.

       a. If the recipient acquires real property in order to conduct the response, the recipient with
       jurisdiction over the property must agree to hold the necessary property interest.

       b. The recipient must comply with applicable Federal regulations for real property acquisition
       under assistance agreements contained in 40 CFR § 4 “Uniform Relocation Assistance and Real
       Property Acquisition for Federal and Federally Assisted Programs.”

       c. The recipient must comply with the requirements regarding real property described in 2 CFR §
       200.311. If EPA determines in the remedy selection process that EPA must acquire an interest in
       real property in order to conduct a response action, such acquisition may be funded under a
       Cooperative Agreement. EPA may acquire an interest in real estate for the purpose of conducting
       a remedial action only if the State provides assurance that it will accept transfer of such interest in
       accordance with 40 CFR §300.510(f) of the NCP. The State must provide this assurance even if it
       intends to transfer this interest to a third party, or to allow a political subdivision to accept transfer
       on behalf of the State. If the political subdivision is accepting the transferred interest in real
       property, the State must guarantee that it will accept transfer of such interest in the event of
       default by the political subdivision. If the State or political subdivision disposes of the transferred
       real property, it shall comply with the requirements for real property in 2 CFR § 200.311.

K. CERCLA Assurances and Other Requirements

       1. Operation and Maintenance

       The recipient assures that it will assume responsibility for all future operation and maintenance of
       CERCLA-funded remedial actions for the expected life of each such action as required by
       CERCLA §104(c) and 40 CFR § 300.510(c)(1) of the NCP. In addition, if a political subdivision is
       designated as being responsible for operation and maintenance, the State must guarantee that it
       will assume any or all operation and maintenance activities in the event of default by the political
       subdivision.

       2. Waste Capacity

       The recipient recognizes EPA’s expectation that there will be adequate national hazardous
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   treatment and disposal capacity during the 20-year period following signature of this cooperative
   agreement pursuant to CERCLA §104(c)(9). EPA’s 2019 National Capacity Assessment shows
   that there is adequate national capacity for the treatment and disposal of hazardous waste
   through calendar year 2044. This assessment included data provided by the State for the 2017
   National Biennial RCRA Hazardous Waste Report.

   3. Out-of-state or out of an Indian tribe waste transfer The state or tribe must provide written
   notification of off-site shipments of CERCLA waste from a site to an out-of-State or out-of-an-
   Indian-Tribal-area-of-Indian-country waste management facility to:

          (1) The appropriate State environmental official for the State in which the waste
        management facility is located; and/or

           (2) An appropriate official of an Indian Tribe in whose area of Indian country the waste
           management facility is located; and

           (3) The EPA Award Official.

   4. Off-site disposal

   If off-site storage, destruction, treatment, or disposal is required, the State must assure the
   availability of a hazardous waste disposal facility that complies subtitle C of the Solid Waste
   Disposal Act and is acceptable to EPA. The lead agency of the State must provide the notification
   required at 40 CFR §35.6120, if applicable.

   5. Inspection of the Remedy

           a. Joint State/EPA Pre-Final Inspection

           A joint State/EPA pre-final inspection will be conducted at the conclusion of construction of
           each remedial action addressed by this Cooperative Agreement. This inspection is
           separate from the construction contract pre-final inspection, although both inspections
           may be conducted concurrently. The joint State/EPA pre-final inspection will be led by the
           State Project Manager (SPM) accompanied by the Remedial Project Manager (RPM). The
           joint State/EPA pre-final inspection generally will consist of a walk-through inspection of
           the constructed remedial action. This inspection will determine whether each element of
           work is complete and consistent with the contract documents and the EPA approved
           remedy. Jointly, the State and EPA will determine if there are any outstanding construction
           items. An attempt shall be made to determine resolutions for all remaining items. The
           State will provide an inspection report to the EPA for review and comment. If the
           State/EPA pre-final inspection results in significant outstanding items, the State may
           choose to delay the determination that construction of the remedial action is complete until
           the significant items have been resolved.

           b. Joint State/EPA Final Inspection

           A joint State/EPA final inspection will be conducted to determine that each remedial action
           addressed under this Cooperative Agreement is functioning properly and performing as
           designed. The joint State/EPA final inspection will be led by the SPM, accompanied by the
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              RPM and other parties, where appropriate,

              from the State/EPA pre-final inspection. The State/EPA final inspection generally will
              consist of a walk-through inspection of the constructed remedial action, with the inspection
              focusing on the items necessary to ensure the remedial action is operating properly and
              performing as designed. The SPM and the RPM will also confirm that all outstanding items
              from the State/EPA pre-final inspection have been resolved.

      6. Operational and Functional

      The completion of the joint State/EPA pre-final inspection marks the point in time when
      construction of each remedial action is considered complete for purposes of this Cooperative
      Agreement. It is used to document the beginning of the up to one-year O&F period. Consistent
      with 40 CFR 300.435(f)(2), the “remedy becomes operational and functional (O&F) either one
      year after construction is complete, or when the remedy is determined concurrently by EPA and
      the State to be functioning properly and performing as designed, whichever is earlier.” The State
      will schedule and conduct a joint State/EPA final inspection within one year of the completion of
      the joint State/EPA pre-final inspection. The completion date of the State/EPA final inspection,
      assuming it is done within one year of the pre-final inspection, will be used as the date of the O&F

      determination. In the event that the joint State/EPA inspection and does not occur within one year,
      the NCP (40 CFR § 300.435(f)) provides EPA the discretion to make an O&F determination
      without this inspection. As discussed in §300.435(f)(2) of the NCP, “EPA may grant extensions to
      the one-year O&F period, as appropriate.” When the O&F determination has been made, EPA will
      provide written notification to the State documenting the O&F determination. Since the O&F time
      period is part of the remedial action, the State cost share is applicable. In accordance with 40
      CFR §300.435(f)(1), the O&F determination results in the transfer of each remedial action to the
      State for O&M or initiation of the long-term response action (LTRA), as described in the Ground
      and Surface Water Restoration Provision. The State and its contractor will prepare the Remedial
      Action Report once each remedial action is O&F. EPA will have the opportunity to comment on
      the Remedial Action Report. After EPA approves the Remedial Action Report, EPA will provide a
      copy to the State.

L. Procurement

      1. The recipient shall comply with procurement standards described in 2 CFR §200.317 through
      200.327 and 2 CFR § 1500.

      2. The recipient must require each prospective contractor to provide with its bid or proposal:
       Information on its financial and business relationship with all potentially responsible parties
      (PRPs) at the site and with the contractor's parent companies, subsidiaries, affiliates,
      subcontractors, or current clients at the site. This disclosure requirement encompasses past
      financial and business relationships, including services related to any proposed or pending
      litigation, with such parties.

      3. The recipient must require its contractor to comply with the requirements in D. regarding
      accounting standards, J4. regarding usage rate, J6. regarding property management standards,
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       and I1-I2. regarding project records and retention.

       4. Per 40 CFR § 35.6565, the recipient must obtain the award official's approval to use a
       procurement method other than the sealed bid method.

       5. Use of the same engineer during subsequent phases of response: Per 40 CFR § 35.6570, if the
       public notice clearly stated the possibility that the firm or individual selected could be awarded a
       contract for follow-on services and initial procurement complied with the procurement
       requirements, the recipient of a CERCLA remedial Cooperative Agreement may use the engineer
       procured to conduct any or all of the follow-on engineering activities without going through the
       public notice and evaluation procedures. The recipient may also use the same engineer during
       subsequent phases of the project in the following cases:

               a. Where the recipient conducted the remedial investigation (RI), feasibility study (FS), or
               design activities without EPA assistance but is using CERCLA funds for follow-on
               activities, the recipient may use the engineer for subsequent work provided the recipient
               certifies:

                       (1) That it complied with the procurement requirements in 40 CFR §35.6565 when
                       it selected the engineer and the code of conduct requirements described in 2 CFR
                       200.318(c)(1).

                       (2) That any CERCLA-funded contract between the engineer and the recipient
                       meets all of the other provisions as described in the procurement requirements in
                       this subpart.

                       (3) Where EPA conducted the RI, FS, or design activities but the recipient will
                       assume the responsibility for subsequent phases of remedial action under this
                       Cooperative Agreement, the recipient may use, with the award official's approval,
                       EPA's engineer contractor without further public notice or evaluation provided the
                       recipient follows the rest of the procurement requirements to award the contract.

M. Competency Policy

Competency of Organizations Generating Environmental Measurement Data

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements, Recipient agrees, by entering into this agreement, that it has demonstrated competency
prior to award, or alternatively, where a pre-award demonstration of competency is not practicable.
Recipient agrees to demonstrate competency prior to carrying out any activities under the award involving
the generation or use of environmental data. Recipient shall maintain competency for the duration of the
project period of this agreement and this will be documented during the annual reporting process. A copy
of the Policy is available online at https://www.epa.gov/sites/production/files/2015-
03/documents/competency-policy-aaia-new.pdf or a copy may also be requested by contacting the EPA
Project Officer for this award.

N. Substantial Involvement
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EPA will be substantially involved in this agreement. Substantial involvement may include:

1. monthly telephone calls and other monitoring,

2. reviewing project phases and providing approval to continue to the next phase,

3. reviewing and commenting on any documents, web content, or other materials developed under this
agreement (the recipient will make final decisions on these matters),

4. approving substantive terms included in contracts or subawards (EPA will not suggest, recommend or
direct the recipient to select any particular contractor or subrecipient except to the extent permitted in
Section 10 of EPA’s Subaward Policy).

5. reviewing and commenting on the programmatic progress reports

6. consultation with EPA regarding the selection of key personnel (EPA’s involvement is limited to
reviewing the technical qualifications of key personnel and the recipient will make the final decisions on
selection. EPA will not suggest, recommend or direct the recipient to select any individual).

7. joint operational involvement, participation, and/or collaboration between EPA and the recipient.

O. Geospatial Data Standards

      All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
      endorsed standards. Information on these standards may be found at www.fgdc.gov.
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                                                          EPA Funding Information
            FUNDS                                          FORMER AWARD                            THIS ACTION                        AMENDED TOTAL
EPA Amount This Action                                              $200,000                            $550,212                              $750,212
EPA In-Kind Amount                                                           $0                                $0                                    $0
Unexpended Prior Year Balance                                                $0                                $0                                    $0
Other Federal Funds                                                          $0                                $0                                    $0
Recipient Contribution                                                       $0                                $0                                    $0
State Contribution                                                           $0                                $0                                    $0
Local Contribution                                                           $0                                $0                                    $0
Other Contribution                                                           $0                                $0                                    $0
Allowable Project Cost                                              $200,000                            $550,212                              $750,212



Assistance Program (CFDA)                            Statutory Authority                              Regulatory Authority
66.802 - Superfund State Political Subdivision and   CERCLA: Secs. 104(d)(1) & 104(c)(3)(C)           2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR 35
Indian Tribe Site Specific Cooperative                                                                Subpart O
Agreements




                                                                            Fiscal
           Site Name                  Req No         FY     Approp.          Budget       PRC      Object   Site/Project      Cost        Obligation /
                                                             Code          Oganization             Class                   Organization   Deobligation
05DKRD03                            235ASEX026        23              T           5AF1P   000DD2    4185    05DKRD03              C005        $550,212
                                                                                                                                              $550,212
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                                         Administrative Conditions
THE FOLLOWING ADMINISTRATIVE TERM AND CONDITION HAS BEEN SATISFIED AND IS
NO LONGER APPLICABLE

CONTINGENT FUNDING



THE FOLLOWING TERM AND CONDITION HAS BEEN UPDATED:


General Terms and Conditions
The General Terms and Conditions of this agreement are updated in accordance with the link below. However, these
updated conditions apply solely to the funds added with this amendment and any previously awarded funds not yet
disbursed by the recipient as of the award date of this amendment. The General Terms and Conditions cited in the original
award or prior funded amendments remain in effect for funds disbursed by the recipient prior to the award date of this
amendment.

The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2022-or-later.

These terms and conditions are binding for disbursements and are in addition to or modify the assurances and certifications
made as a part of the award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.epa.gov/grants/grant-terms-
and-conditions#general.

ALL OTHER ADMINISTRATIVE TERMS AND CONDITIONS REMAIN THE SAME




National Administrative Terms and Conditions
NOTE: All instructions will be in RED. Delete all instructional red text before award.

NOTE: All text requiring grant specific information will be in [BRACKETS and ITALICIZED]. Fill in any grant
specific text before award.

NOTE: All T&Cs following the "General Terms and Conditions" must be listed alphabetically.




NOTE: The General T&C and T&C A is mandatory. Select the appropriate version of the required terms and
conditions below.
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General Terms and Conditions: Insert one of the two “General Terms and Conditions” below. **Updated
10/01/2022**

General Terms and Conditions

Use for All New Awards

The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2022-or-later.

These terms and conditions are in addition to the assurances and certifications made as a part of the award and the terms,
conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at:
https://www.epa.gov/grants/grant-terms-and-conditions#general.




A. Correspondence Condition

Edit this condition in accordance with your Grant Management Office’s processes and points of contact.

The terms and conditions of this agreement require the submittal of reports, specific requests for approval, or notifications
to EPA. Unless otherwise noted, all such correspondence should be sent to the following email addresses:

       • Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and [Insert GS or local email box (if local copy
       desired)]

       • MBE/WBE reports (EPA Form 5700-52A): [Insert name and contact information of the appropriate DBE
       coordinator and Grants Specialist (optional)/or local email box.]

       • All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the Budget
       and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to recipient information
       (including email addresses, changes in contact information or changes in authorized representatives) and other
       notifications: [Insert name and contact information of regional point of contact (the GS, PO, and/or local
       email box]

       • Payment requests (if applicable): [Insert name and contact information of the GS and PO/or local email box]

       • Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and deliverables:
       [Insert name and contact information of the PO]




Terms and Conditions B-J are case-specific. Include if applicable.
B. Budget Detail

Enter this condition if sufficient budget detail was not provided prior to award.
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Within 30 days of receipt of this agreement, the grantee shall submit to the EPA, additional budget support information to
support costs proposed in the application for this agreement. Costs incurred cannot be charged to this agreement until the
budget support information is submitted and approved by EPA.

C. Intergovernmental Review Period
In accordance with 40 CFR Part 29, EPA must allow for an intergovernmental review comment period on this grant
program. Accordingly, the Grantee may incur costs at its own risk but shall not draw down any funds associated with this
award until the process is completed. This includes successful resolution of any issues identified during the comment
period, which ends       [INSERT DATE]   .

D. Contingent Funding

Insert for incrementally funded agreements

EPA is funding this agreement incrementally. There is no guarantee of funding beyond the first year. The Total Approved
Assistance Amount identified on Line 12 of the budget table of this award is contingent upon the availability of
appropriated funds, EPA funding priorities, and satisfactory progress in carrying out the activities described in the scope of
work. If EPA informs the recipient that the amount on Line 12 will be reduced, the recipient agrees to provide an updated
workplan and budget information, as needed, to amend the agreement.

E. Pre-Award Costs
In accordance with 2 CFR 1500.9, the recipient may charge otherwise allowable pre-award costs (both Federal and non-
Federal matching shares) incurred from [INSERT START DATE] to the actual award date provided that such costs were
contained in the approved application and all costs are incurred within the approved budget period.

F. Special Payment/Reimbursement

Note: This Reimbursement T&C may be customized to reflect the terms of the reimbursement determination, the
degree of risk the recipient poses, and GMO practices. For example, if the 2 CFR 200.206 risk finding indicates
that only the recipient’s procurement policies, procedures and practices are non-compliant then the 2 CFR 200.208
reimbursement specific condition may limit the cost category subject to reimbursement to procurement.

As indicated in the determination dated, [Insert date of 2 CFR 200.208 reimbursement decision] EPA has decided that
[name of recipient] will be paid on a reimbursement basis. In accordance with 2 CFR 200.208 , EPA hereby imposes the
following restrictions on payment of funds under this assistance agreement: Payments (draw-downs) will be made on a
reimbursement basis only. All payment requests must be accompanied by supporting documentation clearly showing how
much was disbursed, for what reason(s), and to whom.

Each reimbursement request must include adequate documentation for all costs claimed, including copies of authorization
documents, vouchers, verification of receipt of equipment, supplies, or services, checks paid, and a written certification that
items or services have been received and placed in service. Only those costs so documented and verified will be paid by
EPA.

Specific documentation to be included with each reimbursement request is as follows:

1. Personnel Services - (for both EPA-funded and non-EPA funded employees whose services will count towards the
recipient’s cost share
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A. Schedule

       • names of employees charging time to this agreement;

       • number of hours charged by each employee, multiplied by the employee's hourly rate, giving total amount
       charged.

B. Acceptable documentation includes time sheets or equivalent records that meet the requirements in 2 CFR 200.430(i)
for producing accurate information regarding actual hours an employee worked performing the EPA agreement.

       • Records must reflect 100% of actual hours worked daily and the projects, programs or activities worked, not
       estimated amounts or percentages. They must also reflect non-working hours used during the pay period.

       • certification by an appropriate recipient manager that the hours shown as worked in support of the EPA assistance
       agreements were actually spent on activities approved and eligible under the agreements for which the costs are
       claimed.

2. Fringe Benefits

       • A schedule or report showing the fringe benefit cost calculations per employee, per pay period being claimed for
       reimbursement and charged to the assistance agreement. Individual items included in fringe benefit rate must be
       identified.

3. Indirect Costs

       • A schedule or report showing the indirect costs calculations and amounts claimed and charged to the assistance
       agreement, including the applicable rates and cost basis for the periods used in the calculations.

4. Non-working Hours

       • A schedule or report showing the non-working hour cost calculations and amounts claimed and charged to the
       assistance agreement, including the applicable accruals and distribution methodologies for the periods used in the
       calculations.

5. Travel

       • listing of trips taken, trip dates, location, purpose and actual costs incurred;

       • copy of signed and dated authorization documents for each trip;

       • written certification by employee's supervisor or other authorized official that the trip took place;

       • copy of signed and dated travel vouchers showing actual expenditures reimbursed to the employee;

       • copy of check or other proof of payment (e.g. documentation of electronic transfers) showing amount paid. No
       amounts in excess of actual travel expenditures will be reimbursed by EPA.

6. Contracts including contracts with individual consultants

       • copy of signed and dated contract agreements unless the agreements were provided to EPA in connection with a
       previous reimbursement request;
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       • copy of dated invoices;

       • copy of purchase orders and other forms required for the recipient’s procurement process;

       • financial records documenting the disbursement of payments to the contractor

7. Equipment, Supplies and Other

       • listing of expenditures;

       • Copy of procurement requests;

       • Statement of acceptance of goods/services;

       • Certification by the Chief Financial Officer that each item of equipment, supplies and other services were received
       and put into use by the program for which they were intended;

       • copy of vendor invoices;

       • copy of documents certifying receipt;

       • copy of checks or other appropriate proof of payment;

8. Other Direct Costs

A. Subawards (Refer to EPA’s Subaward Policy for guidance on distinguishing between subawards and procurement
contracts).

       • Copies of subaward agreements unless previously provided to EPA in connection with a prior reimbursement
       request.

       • Copies of payment requests from subrecipients and documentation the subrecipient provided to support the
       amount of the payment(s). EPA may request additional documentation if necessary to verify that subaward costs
       are eligible and allowable.

B. Participant Support Costs.

Note: Participant support costs include payments to individuals who are not recipient employees for training stipends,
travel, focus group fees, and similar expenses. For some EPA programs, participant support costs may include rebates or
subsidies paid to individuals or businesses to enable them to participate in EPA funded pollution abatement programs.

       • Copies of policies and procedures for determining the eligibility and allowability of participant support costs unless
       previously provided to EPA in connection with a prior reimbursement request.

       • Documentation of payments to program participants (including checks or electronic payment records) sufficient to
       determine the purpose of the payment, the amount, and receipt by the program participant. Cash payments must
       be accompanied by signed receipts.

C. Equipment and Office Space Leases.

       • Copies of procedures for allocating lease payments to EPA assistance agreements unless previously provided in
       connection with a prior reimbursement request.
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       • Copies of leases unless previously provided to EPA in connection with a prior reimbursement request.

       • Documentation of payments to lessors such as checks and electronic payment records and a calculation of the
       amount allocable to the EPA agreement.

D. Miscellaneous

Note: Examples of miscellaneous expenses include document reproduction at commercial centers, telephone and utility
charges (if not included in the indirect cost base), payments to Federal agencies for authorized services, and third party in-
kind contributions towards cost share.

       • Documentation of payments for other expenses and an explanation of why the expense is necessary to perform
       the agreement.

       • Calculations demonstrating that the costs are appropriately allocated to the EPA assistance agreement.

Electronic copies of the requests and supporting documentation are to be emailed to:

The grant specialist and project officer identified on the award document

As provided at 2 CFR 200.305(b)(3) EPA will pay properly supported payment requests within 30 days of receipt. EPA will
not make payment unless the documentation provided fully supports the request for payment as shown on the payment
request form unless EPA makes partial payments based on the amount of the request that is properly supported.

Resubmissions must be made to EPA within 30 calendar days of the date the rejected payment request is received by the
recipient. If requests are not resubmitted within 30 days, EPA may suspend the assistance agreement as authorized by 2
CFR 200.339(c). The effect of suspension is that costs incurred by the recipient during the period of suspension are not
allowable.

G. Payment

Choose for Reimbursement for TAGs Only

The approved method of payment for this grant is the Reimbursement method. Payment requests are to be submitted on
Form SF-270 ("Request for Advance or Reimbursement") on a quarterly basis. Payment requests for costs incurred
greater than $500 may be submitted monthly. The recipient may request payment only for costs which have been properly
incurred, are due, payable and are included in the approved budget.

Documentation for amounts requested must be provided with each request for reimbursement, including copies of receipts
for purchases made by the recipient, timesheets or equivalent documentation that produces accurate data on the actual
time personnel (or volunteers) spend performing the agreement and bills/invoices from the technical advisor, along with a
description of services rendered, time spent, and charges. Documentation for any in-kind contributions must include copies
of timesheets for paid staff and volunteers, lists of supplies purchased and their cost, documentation of usage of office
equipment or other items (if included in the approved budget). In order for any in-kind contributions included for volunteer
technical advisors to be allowable as part of the recipient's matching share, the volunteer technical advisor must meet the
qualifications for technical advisors that are described in the regulations at 40 CFR 35.4190, and acceptable documentation
of these qualifications must be provided to the EPA Grants Office. The recipient understands that cash contributions are
not considered as part of the matching share unless they have been expended on documented grant-eligible expenditures.

H. Method of Payment
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Choose for SAAP Grants on reimbursement

In accordance with EPA regulations, the recipient is authorized to receive advance payments. Payment Requests are to be
completed on Standard Form 270, "Request for Advance or Reimbursement" and submitted to the EPA Grants Office. This
form can be found at https://www.epa.gov/grants/epa-grantee-forms. The requests will report cumulative expenditures both
(Federal and Non-Federal) incurred under the grant. EPA will make payments for allowable expenditures at the ratio
shown in the latest Agreement.

Under this payment mechanism, the recipient submits an EPA Payment Requests Form to EPA for approval. EPA will pay
the recipient for 55% of the costs shown on the payment request (i.e., the Federal share). Therefore, each payment
request must include the recipient's share. Documentation for amounts requested must be provided with each request for
reimbursement, including copies of bills (vouchers, invoices, etc.), along with a description of services rendered, time spent,
and charges. Approved funds are credited to the recipient organization at its designated financial institution.

I.   Tribal Council Costs

With regard to payments to members of the Tribal Council, 2 CFR 200.444, provides that general costs of government are
unallowable, and subparagraph (a)(2) specifically includes in this prohibition salaries and expenses of tribal councils
whether incurred for purposes of legislation or executive direction.

At the same time, however, the guidance includes other provisions which may or may not allow payment of grant funds to
Council members:

(a) 2 CFR 200.422 Advisory Councils – Costs incurred by advisory councils or committees are unallowable unless
authorized by statute or the awarding agency.

(b) 2 CFR 200.459 Professional Service Costs – Costs of professional and consultant services rendered by persons who
are members of a particular profession or possess a special skill, and who are not officers or employees of the
governmental unit, are allowable.

(c) 2 CFR 200.432 Conferences – Allowable conference costs paid by the non-Federal entity as a sponsor or host of the
conference may include rental of facilities, speakers’ fees, costs of meals and refreshments, local transportation, and other
items incidental to such conferences unless further restricted by the terms and conditions of the awarding agency.

(d) 2 CFR 200.444(b) General Costs of Government – For federally recognized Indian tribal governments, the portion of
salaries and expenses directly attributable to managing and operating Federal programs by the chief executive and his or
her staff is allowable.

Any costs pertaining to the Tribal Council must be in accordance with 2 CFR Part 200, Subpart E and the terms of this
award. The recipient should refer to the entire paragraphs cited above and 2 CFR Part 200 in its entirety, 2 CFR Part 1500
and 40 CFR Part 35, as applicable, for additional requirements because the passages above are excerpts only, and other
provisions could affect the allowability of costs. In accordance with 2 CFR 200.403, costs charged to the grant must be
adequately documented. The recipient agrees to keep documentation as to how any Tribal Council costs charged to this
grant fit with the above mentioned paragraphs and how the costs relate to the work plan components.

J. Reduced Match Requirement
In accordance with 40 CFR Part 35, Subpart B Tribal grants match requirements, the Approval Official has increased the
maximum Federal share as requested in the application dated [Enter Date]. The Award Official approved the hardship
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letter dated [Enter Date]. The recipient and federal shares are reflected in the approved budget.

K. Pre-Award Administrative Capability (Added 5/19/2023)

Insert for assistance agreements over $200,000 to non-profit organizations whose Administrative Capability
Assessment review has not been completed prior to award.

[Insert recipient name]'s pre-award certification review was initiated, but is not completed. EPA's policy for awarding
financial assistance in excess of $200,000 to non-profit organizations requires an Administrative Capability Assessment
review of the recipient's administrative and financial managment systems to be completed prior to the recipient drawing
down any EPA funds per EPA Order 5700.8. Because EPA has not yet completed the review, [insert recipient name] is
precluded from drawing down funds under this assistance agreement until EPA provides written confirmation of the
completion of the assessment with satisfactory results. Please note, any costs incurred prior to EPA approval are at [insert
recipient name]'s own risk. If [insert recipient name] fails to respond or is unable to satisfactorily address all identified
deficiences within 90 days of the award date of this assistance agreement or within any extension of time granted by EPA,
the agreement may be terminated. Noncompliance with this term and condition may result in adverse action by EPA per 2
CFR 200.339.

L. Prior Approval of Payments for EPA Community Grants (Updated 6/13/23)

Payment Requests are to be completed on Standard Form 270, "Request for Advance or Reimbursement" and submitted to
the EPA Grants Office with a copy to the EPA Project Officer. This form and instructions for completing it can be found at
https://www.epa.gov/grants/epa-grantee-forms. The requests will report cumulative expenditures both (federal and non-
federal) incurred under the grant. EPA will approve payments for allowable expenditures at the ratio shown in the latest
Agreement.

Under this payment mechanism, the recipient submits for EPA approval the Standard Form 270 along with supporting cost
documentation via email to [Enter central email box if applicable], the EPA Project Officer and the EPA Grants
Management Specialist listed on this award document. Attachments must be submitted in pdf or other acceptable software
format (e.g., DocuSign) and the Standard Form 270 must be electronically or digitally signed by your organization’s
authorized representative or their designee in accordance with EPA’s Recipient/Applicant Information Notice (RAIN),
Establishment of Standards for Submission of Administrative and Financial Assistance Agreement Forms/Documents with
Electronic or Digital Signatures by Email. Documentation to support costs claimed for reimbursement include copies of bills
(vouchers, invoices, etc.), along with a description of services rendered, time spent, and charges. The table below provides
examples of acceptable documentation. Also, as a reminder, please refer to the Grant-Specific Programmatic Terms and
Conditions of this award for additional information regarding procurement documentation submission requirements.

After review and written notification of EPA's approval, the recipient will request funds via the U.S. Treasury's Automated
Standard Application for Payment (ASAP) system for [Insert federal share as shown on line 11 of the award budget]%
of the total allowable expenditures shown on the Standard Form 270 (i.e., the Federal share) for the period covered by the
request. EPA may pay 100% of the allowable expenditures reported for the period of the request for grants for which the
cost share requirement has been waived by EPA. Payment for costs approved by EPA and authorized for drawdown by the
recipient via the ASAP System will be credited to the recipient’s designated financial institution (See Financial Information in
the EPA General Terms and Conditions applicable to this award). Any questioned or disallowed costs will be detailed in
writing by EPA’s Grants Management Officer.
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                                   SUPPORTING DOCUMENTATION BY BUDGET CATEGORY

                       BUDGET CATEGORY                                                 ACCEPTABLE DOCUMENTATION

1. PERSONNEL (for both EPA-funded and non-EPA funded
employees whose services will count towards the recipient’s cost
share) Records must:

• meet the requirements in 2 CFR 200.430(i) for producing accurate
information regarding actual hours an employee worked performing
the EPA agreement.

• reflect 100% of actual hours worked daily and the projects,
programs or activities worked, not estimated amounts or
percentages. They must also reflect non-working hours used during
the pay period.

• be certified by an appropriate recipient manager indicating that the
hours shown as worked in support of the EPA assistance
agreement were actually spent on activities approved and eligible
under the agreement for which the costs are claimed

• contain names of employees charging time to the agreement, with
explicit indication of number of hours charged, the hourly rate, and
the total amount thereof charged.

1a. Working Hours                                                        • Copies of time sheets or equivalent records

1b. Non-Working Hours (e.g., sick leave, annual leave, holiday      • A schedule or report showing the non-working hour cost
pay, etc.) being charged to the agreement if not covered by a leave calculations and amounts claimed, including the applicable
rate or included in fringe benefits.                                accruals and distribution methodologies for the periods used in
                                                                    the calculations.

2. FRINGE BENEFITS – if applicable, approved fringe rate or actual• A schedule or report showing the fringe benefit cost
costs per employee.                                               calculations per employee, per pay period being claimed for
                                                                  payment and charged to the assistance agreement. Individual
                                                                  items included in approved fringe benefit rates must be
                                                                  identified.

3. INDIRECT COSTS – either an approved indirect cost rate           • A schedule or report showing the indirect costs calculations
agreement covering the period for the indirect costs being claimed, and amounts claimed and charged to the assistance
or otherwise approved to use the 10% de minimis rate. See the       agreement, including the applicable rates and cost basis for
General Terms and Conditions for additional information.            the periods used in the calculations.




4. TRAVEL                                                                • listing of trips taken, trip dates, location, purpose, and actual
                                                                         costs incurred.
Note: First class/business class travel costs are not allowable.
                                                                         • copy of signed and dated authorization documents for each
                                                                         trip.

                                                                         • written certification by employee's supervisor or other
                                                                         authorized official that the trip took place.

                                                                         • copy of signed and dated travel vouchers showing actual
                                                                         expenditures

5. EQUIPMENT – records must show equipment items, quantity,              • copy of procurement requests
unit cost, and total amount consistent with the PO and RFP.
                                                                         • copy of vendor invoices
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                                                                       • quotes or bid announcements as required

6. SUPPLIES                                                            • invoices showing supply items, quantity, unit cost, and total
                                                                       amount consistent with the Purchase Order.

                                                                       • copy of procurement requests

                                                                       • copy of vendor invoices

                                                                       • quotes or bid announcements as required


7. CONTRACTUAL                                                         • documents showing quotes or bid announcements as
                                                                       required.
The contract agreement must include all applicable clauses
stipulated at 2 CFR Part 200.327 and Appendix II. NOTE: per the • evidence of the selection decision and a cost and price
grant-specific programmatic Terms and Conditions of the award, all analysis
contracts should have already been reviewed and approved by the
project officer.                                                   • copy of contractor invoices

Contracts for Architectural and Engineering services are included in
this category.

The costs for consultant compensation that are charged to the EPA
assistance agreement (including cost shares) must not exceed the
consultant cap (Level IV of the Executive Schedule) as described at
2 CFR 1500.10

8. CONSTRUCTION                                                        • documents showing quotes or bid announcements as
                                                                       applicable.
This category includes contracts for general construction and other
contractor costs for activities described in EPA’s Small and        • evidence of the selection decision and a cost and price
Disadvantaged Business (DBE) rule at 40 CFR 33.103.                 analysis

                                                                       • copy of contractor and vendor invoices


9. OTHER                                                               • invoices showing items, quantity, unit cost, and total amount.
                                                                       As applicable ensure there are:
If subaward costs are being claimed, a copy of the executed
subaward agreement must be provided. The subaward agreement • copies of procurement requests
must comply with the requirements of the subaward term and
condition of the EPA award and 2 CFR 200.331 and 200.332.   • copy of vendor invoices

                                                                       • quotes or bid announcements as required

                                                                       • documentation of participant support cost payments
                                                                       approved in the budget

                                                                       • cost Calculations/Allocations of shared costs like rent,
                                                                       utilities, etc.




                                         Programmatic Conditions
ALL PROGRAMMATIC TERMS AND CONDITIONS REMAIN THE SAME
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                     EXHIBIT G
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From:           Lewis, Bertanna
To:             Lake, Paul; Hill, Christopher
Cc:             Paller, Max
Subject:        [External] SE Rockford Drawdowns
Date:           Thursday, January 30, 2025 1:01:15 PM
Importance:     High



Good afternoon Chris and Paul,

As you know, there has been a pause in funding actions related to the Infrastructure
Investment and Jobs Act (IIJA). With that being said, there should be no drawdowns from the
following CAs.

Southeast Rockford Area 7 LTRA V-00E02954
Southeast Rockford Area 11 V-00E01229

I will keep you posted when we know more.

Thank you!

Bertanna M. Lewis
State Project Officer – Illinois
Superfund & Emergency Management Division
U.S. EPA Region 5
lewis.bertanna@epa.gov
(312) 886-2838
